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                            EXHIBIT 2
                                                                                                                    Case 1:03-md-01570-GBD-SN                                   Document 9716-2                                  Filed 04/23/24            Page 2 of 171
                                                                                                                                                                                EXHIBIT B-1
                                                                                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                              Claimant                                                                                9/11 Decedent                                                                  Claim Information                                                   Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                               Claimant                                                                                                        Date of                                           Amendments &                        Document
#        First           Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle           Last         Suffix                               9/11 Site       Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                        Death                                              Substitutions                        ation

                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
1                                                           Elaine                            Abate                       States          Andrew                 Anthony       Abate                          States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3572       Parent                      3666 at 1        $        8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3573,
                                                                                                                          United                                                                              United                                                            8393-1, at 84,
2                                                           Elaine                            Abate                       States          Vincent                              Abate                          States         9/11/01     NY (WTC)    03-cv-9849                 8487                Parent                      5061 at 4        $        8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P4040,
                                                                                                                          United                                                                              United                                                            8393-1, at 3,
3                                                           Carolyn                           Crutchfield                 States          Andrew                 Anthony       Abate                          States         9/11/01     NY (WTC)    03-cv-9849                 8487                Spouse                      5848 at 3        $       12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                155, at P2811,
                                                                                                                          United                                                                              United                                                            8393-1, at 87,
4                                                           Ann               Michele         Abrahamson                  States          William                F.            Abrahamson                     States         9/11/01     NY (WTC)    03-cv-9849                 8487                Spouse                      5087 at 5        $       12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                155, at P2811,
                                                                                                                          United                                                                              United                                                            8393-1, at 87,
5                                                           Erik              A.              Abrahamson                  States          William                F.            Abrahamson                     States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5087 at 5        $        8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                          United                                                                              United                                                            1, at 24, 8397-1,
6    Josephine   M.                 Acquaviva               Alfred            Thomas          Acquaviva                   States          Paul                   Andrew        Acquaviva                      States         9/11/01     NY (WTC)    03-cv-9849                 at 1, 8433          Parent                      3666 at 1        $        8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                305, at P4102,
                                                                                                                          United                                                                              United                                                            8393-1, at 63,
7                                                           Courtney          Lizabeth        Acquaviva                   States          Paul                   Andrew        Acquaviva                      States         9/11/01     NY (WTC)    03-cv-9849                 8487                Spouse                      5061 at 3        $       12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
8                                                           Josephine         M.              Acquaviva                   States          Paul                   Andrew        Acquaviva                      States         9/11/01     NY (WTC)    03-cv-9849                 1, at 26            Parent                      3666 at 1        $        8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                305, at P4102,
                                                                                                                          United                                                                              United                                                            8393-1, at 63,
9                                                           Paul              Andrew          Acquaviva       Jr.         States          Paul                   Andrew        Acquaviva                      States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5087 at 5        $        8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                305, at P4102,
                                                                                                                          United                                                                              United                                                            8393-1, at 63,
10                                                          Sarah             Lizabeth        Acquaviva                   States          Paul                   Andrew        Acquaviva                      States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5061 at 3        $        8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                            1:02-cv-01616,
11                                                          Kara                              Hadfield                    Unknown         Paul                   Andrew        Acquaviva                      States         9/11/01     NY (WTC)    03-cv-9849                 1, at 27            Sibling                     3666 at 1        $        4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                432, at P4766,
                                                                                                                          United                                                                              United                                                            8397-1, at 1,
12   Lawrence    Scott              Adams                   Anne              Berg            Adams                       States          Stephen                George        Adams                          States         9/11/01     NY (WTC)    03-cv-9849                 8433                Parent                      515 at 4         $        8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
13                                                          Jean                              Adams                       States          Donald                 L.            Adams                          States         9/11/01     NY (WTC)    03-cv-9849                 3, at 864           Parent                      5848 at 3        $        8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
14                                                          Lawrence          Scott           Adams                       States          Stephen                George        Adams                          States         9/11/01     NY (WTC)    03-cv-9849                 432, at P4767       Sibling                     7188 at 4        $        4,250,000.00 $   12,750,000.00
                                                                                              Murrow-                     United                                                                              United                                                            1:02-cv-01616,
15                                                          Jessica                           Adams                       States          Stephen                George        Adams                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 30            Spouse                      5061 at 3        $       12,500,000.00 $   37,500,000.00

                                                                                                                          United                                                                              United                                                            1:02-CV-01616,
16                                                          Affiong           Japhet          Adanga                      States          Ignatius               Udo           Adanga                         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2535     Spouse                      5087 at 5        $       12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-CV-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2535,
                                                                                                                          United                                                                              United                                                            8393-1, at 464,
17                                                          Emem              Udo             Adanga                      States          Ignatius               Udo           Adanga                         States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5356 at 1        $        8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-CV-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2535,
                                                                                                                          United                                                                              United                                                            8393-1, at 465,
18                                                          Esang             Udo             Adanga                      States          Ignatius               Udo           Adanga                         States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5087 at 5        $        8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-CV-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2535,
                                                                                                                          United                                                                              United                                                            8393-1, at 466,
19                                                          Nene              Udo             Adanga                      States          Ignatius               Udo           Adanga                         States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5087 at 5        $        8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
20                                                          Dawn              Marie           Addamo                      States          Christy                A.            Addamo                         States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4105       Sibling                     4023 at 4        $        4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                305, at P4103,
                                                                                                                          United                                                                              United                                                            8393-1, at 12,
21                                                          Gregory           Michael         Addamo                      States          Christy                A.            Addamo                         States         9/11/01     NY (WTC)    03-cv-9849                 8487                Parent                      4023 at 4        $        8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                305, at P4104,
                                                                                                                          United                                                                              United                                                            8393-1, at 12,
22                                                          Rita                              Addamo                      States          Christy                A.            Addamo                         States         9/11/01     NY (WTC)    03-cv-9849                 8487                Parent                      4023 at 4        $        8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                            1:02-cv-01616,
23                                                          Alice             Fay             Adler                       Unknown         Lee                    Alan          Adler                          States         9/11/01     NY (WTC)    03-cv-9849                 232, at P4041       Spouse                                  5985 $       12,500,000.00 $   37,500,000.00




                                                                                                                                                                                              Page 1 of 170
                                                                                                         Case 1:03-md-01570-GBD-SN                                  Document 9716-2                                   Filed 04/23/24             Page 3 of 171
                                                                                                                                                                    EXHIBIT B-1
                                                                                                                                                 SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
             Personal Representative                                             Claimant                                                                                  9/11 Decedent                                                                Claim Information                                                   Solatium Damages




                                                                                                                 Nationality




                                                                                                                                                                                                    Nationality
                                                                                                                  on 9/11




                                                                                                                                                                                                     on 9/11
                                                                                                    Claimant                                                                                                        Date of                                            Amendments &                        Document
#    First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle            Last         Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                      Suffix                                                                                                        Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                      1:02-CV-01616,
                                                                                                                                                                                                                                                                      26, 29, at 2540,
                                                                                                               United                                                                              United                                                             8393-1, at 240,
24                                               Daniel            Thomas          Afflitto        Jr.         States          Daniel                Thomas        Afflitto            Sr.         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       7188 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-CV-01616,
                                                                                                                                                                                                                                                                      26, 29, at 2540,
                                                                                                               United                                                                              United                                                             8393-1, at 241,
25                                               Joseph            Daniel          Afflitto                    States          Daniel                Thomas        Afflitto            Sr.         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       7188 at 4       $         8,500,000.00 $   25,500,000.00

                                                                                                               United                                                                              United                                                             1:02-CV-01616,
26                                               Stacey                            Afflitto-Wain               States          Daniel                Thomas        Afflitto            Sr.         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2540     Spouse                      5061 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                      1:03-md-01570,
                                                                                                                                                                                                                                                                      3477, at 38;
                                                                                                                                                                                                   United                                                             8679-1, at 1,
27                                               Antonio                           Agnello                     Unknown         Joseph                              Agnello                         States         9/11/01     NY (Other)   03-cv-9849                 8696                Sibling                     4126 at 4       $         4,250,000.00 $   12,750,000.00

                                                                                                               United                                                                              United                                                             1:02-CV-01616,
28                                               Rita                              Agnello                     States          Joseph                              Agnello                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2544     Parent                      3666 at 1       $         8,500,000.00 $   25,500,000.00

                                                                                                               United                                                                              United                                                             1:02-CV-01616,
29                                               Salvatore                         Agnello                     States          Joseph                              Agnello                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2543     Parent                      3666 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-CV-01616,
                                                                                                                                                                                                                                                                      26, 29, at 2542,
                                                                                                               United                                                                              United                                                             8393-1, at 41,
30                                               Salvatore         Ralph           Agnello                     States          Joseph                              Agnello                         States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5356 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-CV-01616,
                                                                                                                                                                                                                                                                      26, 29, at 2542,
                                                                                                               United                                                                              United                                                             8393-1, at 41,
31                                               Vincent           Joseph          Agnello                     States          Joseph                              Agnello                         States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-CV-01616,
                                                                                                                                                                                                                                                                      26, 29, at 2542,
                                                                                                               United                                                                              United                                                             8393-1, at 41,
32                                               VinnieCarla                       Agnello                     States          Joseph                              Agnello                         States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5087 at 5       $        12,500,000.00 $   37,500,000.00

                                                                                                               United                                                                              United                                                             1:02-CV-01616,
33                                               Rosaria                           Martingano                  States          Joseph                              Agnello                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2545     Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      232, at P3575,
                                                                                                               United                                                                              United                                                             8393-1, at 35,
34                                               Diane             Bottrill        Aguiar                      States          Joao                  A.            Aguiar              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 4       $         8,500,000.00 $   25,500,000.00
                                                                   Alberto Da                                                                                                                      United                                                             1:02-cv-01616,
35                                               Joao              Fonseca         Aguiar          Sr.         Portugal        Joao                  A.            Aguiar              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3576       Parent                      5087 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                               United                                                                              United                                                             1:02-cv-01616,
36                                               Taciana           Bottrill        Aguiar                      States          Joao                  A.            Aguiar              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3577       Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                               United                                                                              United                                                             8679-1, at 2,
37                                               Monique           Bottrill        Bird                        States          Joao                  A.            Aguiar              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                               United                                                                              United                                                             1, at 33, 8393-1,
38                                               Dante                             Alario                      States          Margaret                            Alario                          States         9/11/01     NY (WTC)     03-cv-9849                 at 51, 8487         Child                       5356 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                               United                                                                              United                                                             1, at 33, 8393-1,
39                                               James             Michael         Alario          Jr.         States          Margaret                            Alario                          States         9/11/01     NY (WTC)     03-cv-9849                 at 51, 8487         Child                       5356 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                   United                                                             1, at 33, 8393-1,
40                                               James                             Alario          Sr.         Unknown         Margaret                            Alario                          States         9/11/01     NY (WTC)     03-cv-9849                 at 51, 8487         Spouse                      5356 at 1       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   United                                                             1:02-cv-01616,
41                                               Catherine         Frances         Jezycki                     Unknown         Margaret                            Alario                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 34            Parent                      3666 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                   United                                                             1:02-cv-01616,
42                                               Michael           John            Jezycki                     Unknown         Margaret                            Alario                          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 867           Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                   United                                                             1:02-cv-01616,
43                                               Stephen           Frank           Jezycki         Jr.         Unknown         Margaret                            Alario                          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 868           Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00
                                                                                                               United                                                                              United                                                             1:02-cv-01616,
44                                               Elizabeth         R.              Alderman                    States          Peter                 Craig         Alderman                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 20            Parent                      5848 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                               United                                                                              United                                                             1:02-cv-01616,
45                                               Stephen           J.              Alderman                    States          Peter                 Craig         Alderman                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 18            Parent                      5848 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                               United                                                                              United                                                             1:02-cv-01616,
46                                               Judith            Marie           Aiken                       States          Richard               Dennis        Allen                           States         9/11/01     NY (Other)   03-cv-9849                 3, at 875           Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                               United                                                                              United                                                             1:02-cv-01616,
47                                               Luke              Christopher     Allen                       States          Richard               Dennis        Allen                           States         9/11/01     NY (Other)   03-cv-9849                 3, at 873           Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                               United                                                                              United                                                             3, at 871, 8393-
48                                               Madelyn           Gail            Allen                       States          Richard               Dennis        Allen                           States         9/11/01     NY (Other)   03-cv-9849                 1, at 67, 8487      Parent                      4023 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                               United                                                                              United                                                             1:02-cv-01616,
49                                               Marguerite        Gail            Allen                       States          Richard               Dennis        Allen                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 1803     Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                               United                                                                              United                                                             1:02-cv-01616,
50                                               Matthew           J.              Allen                       States          Richard               Dennis        Allen                           States         9/11/01     NY (Other)   03-cv-9849                 3, at 872           Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00




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                                                                                                                                                                            EXHIBIT B-1
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                              Claimant                                                                                   9/11 Decedent                                                                Claim Information                                                  Solatium Damages




                                                                                                                         Nationality




                                                                                                                                                                                                            Nationality
                                                                                                                          on 9/11




                                                                                                                                                                                                             on 9/11
                                                                                                            Claimant                                                                                                        Date of                                            Amendments &                       Document
#       First          Middle            Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle            Last         Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                              Suffix                                                                                                        Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                       United                                                                              United                                                             3, at 870, 8397-
51   Madelyn    Gail             Allen                   Richard           D.              Allen                       States          Richard               Dennis        Allen                           States         9/11/01     NY (Other)   03-cv-9849                 1, at 1, 8433      Parent                      4023 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
52                                                       Lynn              Patricia        Heeran                      States          Richard               Dennis        Allen                           States         9/11/01     NY (Other)   03-cv-9849                 3, at 874          Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3578,
                                                                                                                       United                                                                              United                                                             8393-1, at 11,
53                                                       Christopher       T.              Allingham                   States          Christopher           Edward        Allingham                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5138 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3578,
                                                                                                                                                                                                           United                                                             8393-1, at 11,
54                                                       Donna             Mary            Allingham                   Unknown         Christopher           Edward        Allingham                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5138 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
55                                                       James             Joseph          Allingham                   Unknown         Christopher           Edward        Allingham                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1807    Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3578,
                                                                                                                       United                                                                              United                                                             8393-1, at 11,
56                                                       Kyle              P.              Allingham                   States          Christopher           Edward        Allingham                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5138 at 3       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                           United                                                             1:02-CV-01616,
57                                                       Patricia          Cleary          Allingham                   Unknown         Christopher           Edward        Allingham                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2556    Parent                      3666 at 1       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                           United                                                             1:02-CV-01616,
58                                                       William           J.              Allingham       Sr.         Unknown         Christopher           Edward        Allingham                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2555    Parent                      3666 at 1       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                           United                                                             1:02-CV-01616,
59                                                       William           John            Allingham       Jr.         Unknown         Christopher           Edward        Allingham                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2557    Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                           United                                                             1:02-CV-01616,
60                                                       Peggy             Allingham       Ciccarelli                  Unknown         Christopher           Edward        Allingham                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2558    Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                           United                                                             1:02-CV-01616,
61                                                       Katharine         Allingham       Clark                       Unknown         Christopher           Edward        Allingham                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2559    Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              155, at P2812,
                                                                                                                       United                                                                              United                                                             8393-1, at 4,
62                                                       V.                Blake           Allison                     States          Anna                  S.W.          Allison                         States         9/11/01     NY (AA11)    03-cv-9849                 8487               Spouse                      5848 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
63                                                       Christopher       Fernandez       Alviar                      Philippines     Cesar                 A.            Alviar                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1813    Child                       8233 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
64                                                       Grace             Fernandez       Alviar                      States          Cesar                 A.            Alviar                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1812    Spouse                      8233 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
65                                                       Gemma             Alviar          Clemente                    Philippines     Cesar                 A.            Alviar                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1814    Child                       8233 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
66                                                       Gianina           Alviar          Tan                         Philippines     Cesar                 A.            Alviar                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1815    Child                       8233 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              313, at P4588,
                                                                                                                       United                                                                              United                                                             8393-1, at 79,
67                                                       Mehr              Afroze          Tariq                       States          Tariq                               Amanullah                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5062 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:03-cv-9849,
                                                                                                                                                                                                                                                                              HAND FILED, at
                                                                                                                       United                                                                              United                                                             P4987, 8393-1,
68                                                       Kenneth           Paul            Ambrose                     States          Paul                  Wesley        Ambrose                         States         9/11/01     VA (AA77)    03-cv-9849                 at 65, 8487        Parent                      6035 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:03-cv-9849,
                                                                                                                                                                                                                                                                              HAND FILED, at
                                                                                                                       United                                                                              United                                                             P4988, 8393-1,
69                                                       Sharon            Norwood         Ambrose                     States          Paul                  Wesley        Ambrose                         States         9/11/01     VA (AA77)    03-cv-9849                 at 65, 8487        Parent                      6035 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3579,
                                                                                                                       United                                                                              United                                                             8393-1, at 7,
70                                                       Brandon           Michael         Anaya                       States          Calixto                             Anaya               Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5061 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3579,
                                                                                                                       United                                                                              United                                                             8393-1, at 8,
71                                                       Kristina-Marie                    Anaya                       States          Calixto                             Anaya               Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3579,
                                                                                                                                                                                                           United                                                             8393-1, at 7,
72                                                       Marie             Laure           Anaya                       Morocco         Calixto                             Anaya               Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5087 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3579,
                                                                                                                       United                                                                              United                                                             8393-1, at 7,
73                                                       Rebecca           Rose            Anaya                       States          Calixto                             Anaya               Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5061 at 3       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                           Page 3 of 170
                                                                                                                 Case 1:03-md-01570-GBD-SN                                   Document 9716-2                                Filed 04/23/24             Page 5 of 171
                                                                                                                                                                             EXHIBIT B-1
                                                                                                                                                          SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                               Claimant                                                                                9/11 Decedent                                                               Claim Information                                                   Solatium Damages




                                                                                                                          Nationality




                                                                                                                                                                                                          Nationality
                                                                                                                           on 9/11




                                                                                                                                                                                                           on 9/11
                                                                                                             Claimant                                                                                                     Date of                                            Amendments &                       Document
#        First        Middle            Last   Suffix     Claimant First   Claimant Middle Claimant Last                                          First            Middle         Last         Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award             Amount            Treble          Notes
                                                                                                               Suffix                                                                                                     Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            232, at P3580,
                                                                                                                        United                                                                           United                                                             8393-1, at 42,
74                                                      Christine          A.               Anchundia                   States          Joseph                P.            Anchundia                    States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      4023 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            232, at P3581,
                                                                                                                        United                                                                           United                                                             8393-1, at 42,
75                                                      Elias              A.               Anchundia                   States          Joseph                P.            Anchundia                    States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      4023 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            232, at P3582,
                                                                                                                        United                                                                           United                                                             8397-1, at 1,
76   Marlyn      Lyssand          Anchundia             Elias              Joseph           Anchundia                   States          Joseph                P.            Anchundia                    States         9/11/01     NY (WTC)     03-cv-9849                 8433               Sibling                     7188 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                           United                                                             1:02-cv-01616,
77                                                      Elizabeth          R.               Castellano                  States          Joseph                P.            Anchundia                    States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3583      Sibling                     4023 at 4        $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                            1:03-md-01570,
                                                                                                                                                                                                                                                                            3477, at 78,
                                                                                                                                                                                                                                                                            4311-1 at 2,;
                                                                                                                        United                                                                           United                                                             8679-1, at 4,
78                                                      Deborah            Jane             Anderson                    States          Kermit                C.            Anderson                     States         9/11/01     NY (WTC)     03-cv-9849                 8696 4318          Child                       4126 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            305, at P4107,
                                                                                                                        United                                                                           United                                                             8393-1, at 46,
79                                                      Jill               Elva Grashof     Anderson                    States          Kermit                C.            Anderson                     States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5061 at 3        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                         United                                                             1:02-cv-01616,
80                                                      Selma              Ann              Verse                       Unknown         Kermit                C.            Anderson                     States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4768      Sibling                     3666 at 1        $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                            1:03-md-01570,
                                                                                                                                                                                                                                                                            3477, at 78,
                                                                                                                                                                                                                                                                            4311-1 at 2,
                                                                                                                        United                                                                           United                                                             4318; 8679-1, at
81                                                      Barbara            Louise           Werner                      States          Kermit                C.            Anderson                     States         9/11/01     NY (WTC)     03-cv-9849                 3, 8696            Child                       4126 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            232, at P4042,
                                                                                                                                                                                                                                                                            8397-1, at 1,
                                                                                                                                                                                                         United                                                             8433, 8393-1, at
82   Mary        Elizabeth        Andrews               Edward             S.               Andrews                     Unknown         Michael               Rourke        Andrews                      States         9/11/01     NY (WTC)     03-cv-9849                 59, 8487           Parent                      4126 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                           United                                                             8679-1, at 9,
83                                                      Edward             Joseph           Andrews                     States          Michael               Rourke        Andrews                      States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                           United                                                             8679-1, at 7,
84                                                      Mary               Elizabeth        Andrews                     States          Michael               Rourke        Andrews                      States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                           United                                                             8679-1, at 8,
85                                                      Paul               M.               Andrews                     States          Michael               Rourke        Andrews                      States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                           United                                                             8679-1, at 6,
86                                                      Jeanne             Marie            Jamin                       States          Michael               Rourke        Andrews                      States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                           United                                                             8679-1, at 5,
87                                                      Marianne                            Salisbury                   States          Michael               Rourke        Andrews                      States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            305, at P4108,
                                                                                                                        United                                                                           Malaysi                                                            8393-1, at 1222,
88                                                      Jeanee                              Lee                         States          Siew-Nya                            Ang                          a       9/11/01            NY (WTC)     03-cv-9849                 8487               Child                       3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            305, at P4108,
                                                                                                                        United                                                                           Malaysi                                                            8393-1, at 1221,
89                                                      Winnee                              Lee                         States          Siew-Nya                            Ang                          a       9/11/01            NY (WTC)     03-cv-9849                 8487               Child                       3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                           United                                                             1:02-cv-01616,
90                                                      Donna              L.               Angelini                    States          Joseph                John          Angelini         Jr.         States 9/11/01             NY (Other)   03-cv-9849                 26, 29, at 1818    Spouse                      5087 at 5        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            26, 29, at 1818,
                                                                                                                        United                                                                           United                                                             8393-1, at 660,
91                                                      Jacqueline                          Angelini                    States          Joseph                John          Angelini         Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5848 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            26, 29, at 1818,
                                                                                                                        United                                                                           United                                                             8393-1, at 661,
92                                                      Jennifer                            Angelini                    States          Joseph                John          Angelini         Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            26, 29, at 1818,
                                                                                                                        United                                                                           United                                                             8393-1, at 662,
93                                                      Joseph             John             Angelini       III          States          Joseph                John          Angelini         Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5848 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                           United                                                             1:02-cv-01616,
94                                                      Claire             Angell           Miller                      States          David                 Lawrence      Angell                       States         9/11/01     NY (AA11)    03-cv-9849                 305, at P4110      Sibling                     3389-1 at 2      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                           United                                                             1:02-cv-01616,
95                                                      Alberto                             Angilletta                  States          Laura                               Angilletta                   States         9/11/01     NY (WTC)     03-cv-9849                 1, at 889          Sibling                     4023 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                        United                                                                           United                                                             1, at 890, 8393-
96                                                      Carmelo                             Angilletta                  States          Laura                               Angilletta                   States         9/11/01     NY (WTC)     03-cv-9849                 1, at 48, 8487     Parent                      4023 at 4        $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                         Page 4 of 170
                                                                                                                           Case 1:03-md-01570-GBD-SN                                  Document 9716-2                                  Filed 04/23/24             Page 6 of 171
                                                                                                                                                                                      EXHIBIT B-1
                                                                                                                                                                   SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                          Personal Representative                                                Claimant                                                                                    9/11 Decedent                                                               Claim Information                                                   Solatium Damages




                                                                                                                                   Nationality




                                                                                                                                                                                                                     Nationality
                                                                                                                                    on 9/11




                                                                                                                                                                                                                      on 9/11
                                                                                                                      Claimant                                                                                                       Date of                                            Amendments &                        Document
 #           First           Middle              Last   Suffix     Claimant First   Claimant Middle Claimant Last                                          First            Middle           Last         Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                        Suffix                                                                                                       Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                 United                                                                             United                                                             1, at 891, 8393-
97                                                               Dorotea                            Angilletta                   States          Laura                               Angilletta                     States         9/11/01     NY (WTC)     03-cv-9849                 1, at 48, 8487      Parent                      4023 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                             United                                                             1:02-cv-01616,
98                                                               Maria                              Garbarino                    States          Laura                               Angilletta                     States         9/11/01     NY (WTC)     03-cv-9849                 1, at 892           Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       313, at P4589,
                                                                                                                                                                                                                                                                                       8393-1, at 20,
                                                                                                                                 United                                                                             United                                                             8487, 8397-1, at
99    Gina           Laura              Giovanniello             Irene              T.              Angrisani                    States          Doreen                J.            Angrisani                      States         9/11/01     NY (WTC)     03-cv-9849                 1, 8433             Parent                      5136 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                             United                                                             1:02-cv-01616,
100                                                              Ralph                              Angrisani                    States          Doreen                J.            Angrisani                      States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4590       Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       232, at P3584,
                                                                                                                                 United                                                                             United                                                             8393-1, at 66,
101                                                              Cecile             M.              Apollo                       States          Peter                 Paul          Apollo                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       232, at P3585,
                                                                                                                                                                                                                                                                                       8397-1, at 1,
                                                                                                                                 United                                                                             United                                                             8433, 8393-1, at
102 Cecile           M.                 Apollo                   Peter                              Apollo           Jr.         States          Peter                 Paul          Apollo                         States         9/11/01     NY (WTC)     03-cv-9849                 66, 8487            Parent                      4126 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                             United                                                             1:02-cv-01616,
103                                                              Lisa               M               Consiglio                    States          Peter                 Paul          Apollo                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3587       Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                             United                                                             1:02-cv-01616,
104                                                              Denise             K.              Mauthe                       States          Peter                 Paul          Apollo                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3586       Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00

                                                                                                                                 United                                                                             United                                                             1:02-CV-01616,
105                                                              Carol              Ann             Aquilino                     States          Frank                 Thomas        Aquilino                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2571     Parent                      5062 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       26, 29, at 1822,
                                                                                                                                 United                                                                             United                                                             8393-1, at 26,
106                                                              Frank              John            Aquilino                     States          Frank                 Thomas        Aquilino                       States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      5062 at 3       $         8,500,000.00 $   25,500,000.00

                                                                                                                                 United                                                                             United                                                             1:02-CV-01616,
107                                                              Tara               Leigh           Chiari                       States          Frank                 Thomas        Aquilino                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2572     Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00

                                                                                                                                 United                                                                             United                                                             1:02-CV-01616,
108                                                              Jill                               Walton                       States          Frank                 Thomas        Aquilino                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2573     Sibling                     5061 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                       1:02-CV-01616,
                                                                                                                                                                                                                                                                                       26, 29, at 2580,
                                                                                                                                 United                                                                                                                                                8393-1, at 914,
109                                                              Michael            Steel           Arczynski                    States          Michael               G.            Arczynski                      Canada 9/11/01             NY (Other)   03-cv-9849                 8487                Child                       6035 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       305, at P4112,
                                                                                                                                 United                                                                             United                                                             8393-1, at 805,
110                                                              Joseph             Anthony         Arena                        States          Louis                               Arena                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       7188 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       305, at P4112,
                                                                                                                                 United                                                                             United                                                             8393-1, at 804,
111                                                              Nina               Louise          Arena                        States          Louis                               Arena                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       7188 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       305, at P4112,
                                                                                                                                 United                                                                             United                                                             8393-1, at 50,
112                                                              Wandalee           M.              Arena                        States          Louis                               Arena                          States 9/11/01             NY (WTC)     03-cv-9849                 8487                Spouse                      7188 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                                 United                                                                             Unknow                                                             1:02-cv-01616,
113                                                              Andrew             David           Arias                        States          Adam                  P.            Arias                          n      9/11/01             NY (WTC)     03-cv-9849                 3, at 883           Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                             Unknow                                                             1:02-cv-01616,
114                                                              Donald             Charles         Arias                        States          Adam                  P.            Arias                          n      9/11/01             NY (WTC)     03-cv-9849                 3, at 882           Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                       1:18-cv-11582,
                                                                                                                                 United                                                                             Unknow                                                             1, at 2; 8679-1,
115 Lauren           Arias              Lucchini                 Theresa                            Arias                        States          Adam                  P.            Arias                          n      9/11/01             NY (WTC)     03-cv-9849                 at 10, 8696         Parent                      5136 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                             Unknow                                                             1:02-cv-01616,
116                                                              Thomas             Vincent         Arias                        States          Adam                  P.            Arias                          n      9/11/01             NY (WTC)     03-cv-9849                 3, at 881           Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                       1:18-cv-; 8679-1,
                                                                                                                                                                                                                                                                                       at 11,
                                                                                                                                 United                                                                             Unknow                                                             869611582, 1, at
117 Thomas           Vincent            Arias                    Thomas             Sydney          Arias                        States          Adam                  P.            Arias                          n      9/11/01             NY (WTC)     03-cv-9849                 1                   Parent                      5104 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                 United                                                                             Unknow                                                             3, at 885, 8397-
118 Adrianna         J.                 Desio                    Lorraine           Marie           Arias-Beliveau               States          Adam                  P.            Arias                          n      9/11/01      NY (WTC)            03-cv-9849                 1, at 1, 8433       Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                             United                                                             1:02-cv-01616,
119                                                              Lauren             Arias           Lucchini                     States          Adam                  P.            Arias                          States      9/11/01 NY (WTC)            03-CV-9849                 3, at 884           Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       313, at P4594,
                                                                                                                                 United                                                                             United                                                             8397-1, at 1,
120 Mary             Ellen              Armstrong                Gabriel                            Armstrong                    States          Michael               Joseph        Armstrong                      States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      5138 at 3       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                                    Page 5 of 170
                                                                                                                    Case 1:03-md-01570-GBD-SN                                       Document 9716-2                                  Filed 04/23/24            Page 7 of 171
                                                                                                                                                                                   EXHIBIT B-1
                                                                                                                                                                SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                        Personal Representative                                                 Claimant                                                                                  9/11 Decedent                                                               Claim Information                                                  Solatium Damages




                                                                                                                                Nationality




                                                                                                                                                                                                                   Nationality
                                                                                                                                 on 9/11




                                                                                                                                                                                                                    on 9/11
                                                                                                                   Claimant                                                                                                        Date of                                           Amendments &                       Document
 #         First         Middle                Last     Suffix    Claimant First   Claimant Middle Claimant Last                                        First             Middle           Last         Suffix                               9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                     Suffix                                                                                                        Death                                              Substitutions                       ation

                                                                                                                              United                                                                              United                                                            1:02-cv-01616,
121                                                              Gerard            James           Armstrong                  States          Michael               Joseph         Armstrong                      States         9/11/01     NY (WTC)    03-cv-9849                 313, at P4595      Sibling                     4126 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                              United                                                            1:02-cv-01616,
122                                                              Marian            R.              Armstrong                  States          Michael               Joseph         Armstrong                      States         9/11/01     NY (WTC)    03-cv-9849                 313, at P4597      Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                  United                                                            313, at P4592,
123                                                              Mary              Ellen           Armstrong                  Ireland         Michael               Joseph         Armstrong                      States         9/11/01     NY (WTC)    03-cv-9849                 8393-1, at 58,     Parent                      4126 at 4       $         8,500,000.00 $   25,500,000.00

                                                                                                   Armstrong-                 United                                                                              United                                                            1:02-cv-01616,
124                                                              Laura             A.              Weaver                     States          Michael               Joseph         Armstrong                      States         9/11/01     NY (WTC)    03-cv-9849                 313, at P4596      Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00

                                                                                                                              United                                                                              United                                                            1:02-cv-01616,
125                                                              Catherine         M.              Nolan                      States          Michael               Joseph         Armstrong                      States         9/11/01     NY (WTC)    03-cv-9849                 313, at P4593      Spouse                      5951 at 7       $        12,500,000.00 $   37,500,000.00

                                                                                                                              United                                                                              Unknow                                                            1:02-cv-01616,
126                                                              Ruth              Green           Aron                       States          Joshua                Todd           Aron                           n      9/11/01             NY (WTC)    03-cv-9849                 313, at P4598      Parent                      3666 at 1       $         8,500,000.00 $   25,500,000.00

                                                                                                                              United                                                                              United                                                            Pending Motion
127                                                              Gil                               Aronow                     States          Richard               A.             Aronow                         States         9/11/01     NY          03-cv-9849                 at ECF No. 9533    Sibling                     5139 at 3       $         4,250,000.00 $   12,750,000.00

                                                                                                                              United                                                                              United                                                            Pending Motion
128 Vera           K.                 Aronow                     Grace             S.              Aronow                     States          Richard               A.             Aronow                         States         9/11/01     NY          03-cv-9849                 at ECF No. 9533    Parent                      5139 at 3       $         8,500,000.00 $   25,500,000.00

                                                                                                                              United                                                                              United                                                            Pending Motion
129 Vera           K.                 Aronow                     Martin            L.              Aronow                     States          Richard               A.             Aronow                         States         9/11/01     NY          03-cv-9849                 at ECF No. 9533    Parent                      5139 at 3       $         8,500,000.00 $   25,500,000.00

                                                                                                                              United                                                                              United                                                            Pending Motion
130                                                              Vera              K.              Aronow                     States          Richard               A.             Aronow                         States         9/11/01     NY          03-cv-9849                 at ECF No. 9533    Sibling                     5139 at 3       $         4,250,000.00 $   12,750,000.00

                                      Weinberg (legal                                                                         United                                                                              United                                                            Pending Motion
131 Laura                             guardian)                  William           J.              Aronow                     States          Richard               A.             Aronow                         States         9/11/01     NY          03-cv-9849                 at ECF No. 9533    Child                       5139 at 3       $         8,500,000.00 $   25,500,000.00

                                                                                                                              United                                                                              United                                                            Pending Motion
132                                                              Laura                             Weinberg                   States          Richard               A.             Aronow                         States         9/11/01     NY          03-cv-9849                 at ECF No. 9533    Spouse                      5139 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    313, at P4600,
                                                                                                                              United                                                                              United                                                            8393-1, at 60,
133                                                              Jules             Phelan          Aronson                    States          Myra                  Joy            Aronson                        States         9/11/01     NY (AA11)   03-cv-9849                 8487               Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                                                                                                1:02-cv-01616,
134                                                              Ayitey                            Aryee                      States          Japhet                               Aryee                          Ghana          9/11/01     NY (WTC)    03-cv-9849                 305, at P4115      Child                       5087 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    305, at P4113,
                                                                                                                              United                                                                                                                                                8393-1, at 32,
135                                                              Maria             Celeste         Aryee                      States          Japhet                               Aryee                          Ghana          9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5087 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    305, at P4113,
                                                                                                                              United                                                                                                                                                8393-1, at 518,
136                                                              Nii Anteh         John            Aryee                      States          Japhet                               Aryee                          Ghana          9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                                                                                                1:02-cv-01616,
137                                                              Nii Teiko                         Aryee                      States          Japhet                               Aryee                          Ghana          9/11/01     NY (WTC)    03-cv-9849                 305, at P4114      Child                       5087 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                                                                                                1:02-cv-01616,
138                                                              Ayikaile                          Davy                       States          Japhet                               Aryee                          Ghana          9/11/01     NY (WTC)    03-cv-9849                 305, at P4116      Child                       5087 at 5       $         8,500,000.00 $   25,500,000.00

                                                                                                                              United                                                                              United                                                            1:02-CV-01616,
139                                                              Elaine            V.              Asciak                     States          Michael                              Asciak                         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2585    Spouse                      5356 at 1       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                    1:02-CV-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 2585,
                                                                                                                              United                                                                              United                                                            8393-1, at 892,
140                                                              Loren                             Asciak                     States          Michael                              Asciak                         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5356 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-CV-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 2586,
                                                                                                                              United                                                                              United                                                            8397-1, at 1,
141 Elaine         V.                 Asciak                     Vivian            Rose            Asciak                     States          Michael                              Asciak                         States         9/11/01     NY (WTC)    03-cv-9849                 8433               Parent                      4023 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    305, at P4117,
                                                                                                                              United                                                                              United                                                            8393-1, at 56,
142                                                              Dana              Jill            Asher                      States          Michael               Edward         Asher                          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5848 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                    1:03-md-01570,
                                                                                                                                                                                                                                                                                    3477, at 12;
                                                                                                                                                                                                                  United                                                            8679-1, at 12,
143                                                              Jeremy            Ross            Asher                      Unknown         Michael               Edward         Asher                          States         9/11/01     NY (WTC)    03-cv-9849                 86965              Child                       5848 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    305, at P4117,
                                                                                                                              United                                                                              United                                                            8393-1, at 903,
144                                                              Rachel            Marin           Asher                      States          Michael               Edward         Asher                          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5848 at 3       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                                  Page 6 of 170
                                                                                                                Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                   Filed 04/23/24            Page 8 of 171
                                                                                                                                                                               EXHIBIT B-1
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                               Claimant                                                                               9/11 Decedent                                                                  Claim Information                                                  Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                               Claimant                                                                                                        Date of                                           Amendments &                       Document
 #       First          Middle               Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle            Last         Suffix                               9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                        Death                                              Substitutions                       ation

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3588,
                                                                                                                          United                                                                              United                                                            8397-1, at 1,
145 Marlene      Rita               Asher                    Stuart                            Asher                      States          Michael               Edward        Asher                           States         9/11/01     NY (WTC)    03-cv-9849                 8433               Sibling                     5087 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                          United                                                                              United                                                            1, at 797, 5284-
146                                                          Carol             Ann             Ashley                     States          Janice                Marie         Ashley                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 1, 5296      Parent                      4023 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                          United                                                                              United                                                            3, at 756, 5284-
147                                                          Michael           William         Ashley                     States          Janice                Marie         Ashley                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 1, 5296      Sibling                     4126 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                          United                                                                              United                                                            1, at 798, 5284-
148                                                          William           Lewis           Ashley                     States          Janice                Marie         Ashley                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 1, 5296      Parent                      4023 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                313, at P4606,
                                                                                                                          United                                                                              United                                                            8397-1, at 2,
149 Gerald                          Atwood                   Elaine            M.              Atwood                     States          Gerald                T.            Atwood                          States         9/11/01     NY (WTC)    03-cv-9849                 8433               Sibling                     5087 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                              United                                                            1:02-cv-01616,
150                                                          Gerald                            Atwood                     Unknown         Gerald                T.            Atwood                          States         9/11/01     NY (WTC)    03-cv-9849                 313, at P4601      Parent                      4023 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
151                                                          Gregory           Paul            Atwood                     States          Gerald                T.            Atwood                          States         9/11/01     NY (WTC)    03-cv-9849                 313, at P4603      Sibling                     4126 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
152                                                          John              Gerald          Atwood                     States          Gerald                T.            Atwood                          States         9/11/01     NY (WTC)    03-cv-9849                 313, at P4605      Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                313, at P4604,
                                                                                                                          United                                                                              United                                                            8397-1, at 2,
153 Gerald                          Atwood                   Raymond           J.              Atwood                     States          Gerald                T.            Atwood                          States         9/11/01     NY (WTC)    03-cv-9849                 8433               Sibling                     7188 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                               Atwood                     United                                                                              United                                                            1:02-cv-01616,
154                                                          Elaine            Marie           (parent)                   States          Gerald                T.            Atwood                          States         9/11/01     NY (WTC)    03-cv-9849                 313, at P4602      Parent                      4023 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
155                                                          Jane              Marie           Duffy                      States          Gerald                T.            Atwood                          States         9/11/01     NY (WTC)    03-cv-9849                 313, at P4607      Sibling                     4126 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
156                                                          Carla             Nicole          Bacchus                    States          Eustace               P.            Bacchus                         States         9/11/01     NY (WTC)    03-cv-9849                 77, at P2528       Child                       5061 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                77, at P2529,
                                                                                               Bacchus-                   United                                                                              United                                                            8393-1, at 24,
157                                                          Juana             Maria           Kearney                    States          Eustace               P.            Bacchus                         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      515 at 4        $        12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                              United                                                            8679-1, at 13,
158                                                          Humberto          Tomas           Tous                       States          Eustace               P.            Bacchus                         States         9/11/01     NY (WTC)    03-cv-9849                 8696               Child                       8310 at 4       $         8,500,000.00 $   25,500,000.00

                                                                                                                          United                                                                              Unknow                                                            1:02-CV-01616,
159                                                          Grace             Marie           Badagliacca                States          John                  J.            Badagliacca                     n      9/11/01             NY (WTC)    03-cv-9849                 26, 29, at 2591    Parent                      3666 at 1       $         8,500,000.00 $   25,500,000.00

                                                                                                                          United                                                                              Unknow                                                            1:02-CV-01616,
160                                                          John              Edward          Badagliacca                States          John                  J.            Badagliacca                     n      9/11/01             NY (WTC)    03-cv-9849                 26, 29, at 2590    Parent                      3666 at 1       $         8,500,000.00 $   25,500,000.00

                                                                                                                          United                                                                              Unknow                                                            1:02-CV-01616,
161                                                          Jodi                              Scolaro                    States          John                  J.            Badagliacca                     n      9/11/01             NY (WTC)    03-cv-9849                 26, 29, at 2592    Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
162                                                          John              P.              Baeszler                   States          Jane                  Ellen         Baeszler                        States 9/11/01             NY (WTC)    03-cv-9849                 1, at 48           Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                            8679-1, at 14,
163                                                          Rita                              Baeszler                   States          Jane                  Ellen         Baeszler                        States 9/11/01             NY (WTC)    03-cv-9849                 8696               Parent                      7188 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                77, at P2530,
                                                                                                                          United                                                                              United                                                            8393-1, at 7,
164                                                          Judith            A.              Bailey                     States          Brett                 T.            Bailey                          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Parent                      4023 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                155, at P2814,
                                                                                                                          United                                                                                                         NY                                     8393-1, at 26,
165                                                          Katherine         Agnes           Bailey                     States          Garnet                              Bailey                          Canada 9/11/01             (UA175)     03-cv-9849                 8487               Spouse                      5062 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                77, at P2531,
                                                                                                                          United                                                                              United                                                            8397-1, at 2,
166 Judith       A.                 Bailey                   Kevin             James           Bailey                     States          Brett                 T.            Bailey                          States         9/11/01     NY (WTC)    03-cv-9849                 8433               Parent                      5848 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                                         NY                                     1:02-cv-01616,
167                                                          Todd              Garnet          Bailey                     States          Garnet                              Bailey                          Canada 9/11/01             (UA175)     03-cv-9849                 155, at P2815      Child                       4023 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
168                                                          Yarah             Heather         Bailey                     States          Brett                 T.            Bailey                          States 9/11/01             NY (WTC)    03-cv-9849                 232, at P3590      Sibling                     5848 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
169                                                          Yuriah            Daniel          Bailey                     States          Brett                 T.            Bailey                          States 9/11/01             NY (WTC)    03-cv-9849                 155, at P2813      Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00

                                                                                                                          United                                                                              United                                                            1:02-CV-01616,
170                                                          Marina                            Bakalinskaya               States          Tatyana                             Bakalinskaya                    States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2598    Child                       5087 at 5       $         8,500,000.00 $   25,500,000.00

                                                                                                                          United                                                                              United                                                            1:02-CV-01616,
171                                                          Anatoliy                          Bakalinskiy                States          Tatyana                             Bakalinskaya                    States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2597    Spouse                      5087 at 5       $        12,500,000.00 $   37,500,000.00




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                                                                                                                        Case 1:03-md-01570-GBD-SN                                    Document 9716-2                                   Filed 04/23/24             Page 9 of 171
                                                                                                                                                                                    EXHIBIT B-1
                                                                                                                                                                 SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                                  Claimant                                                                                  9/11 Decedent                                                                   Claim Information                                                   Solatium Damages




                                                                                                                                 Nationality




                                                                                                                                                                                                                     Nationality
                                                                                                                                  on 9/11




                                                                                                                                                                                                                      on 9/11
                                                                                                                    Claimant                                                                                                         Date of                                            Amendments &                        Document
 #         First        Middle               Last      Suffix    Claimant First   Claimant Middle Claimant Last                                          First             Middle            Last         Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                      Suffix                                                                                                         Death                                               Substitutions                        ation



                                                                                                                               United                                                                               United                                                             1:02-CV-01616,
172                                                             Natalie                           Malacaria                    States          Tatyana                              Bakalinskaya                    States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2599     Child                       5356 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                    United                                                             1:02-cv-01616,
173                                                             Anna              M.              Paolino                      Unknown         Walter                               Baran                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 891           Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
    Jacqueline;                                                                                                                United                                                                               United                                                             3, at 896, 8397-
174 Thomas         A.; Nicholas     Venezia; Barbaro            Carol                             Barbaro                      States          Paul                  Vincent        Barbaro                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 2, 8433       Parent                      5087 at 5       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                               United                                                                               United                                                             3, at 894, 8393-
175                                                             Joseph            Nicholas        Barbaro                      States          Paul                  Vincent        Barbaro                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1039, 8487    Child                       5848 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                               United                                                             1:02-cv-01616,
176                                                             Kim               Elizabeth       Barbaro                      States          Paul                  Vincent        Barbaro                         States         9/11/01     NY (WTC)     03-cv-9849                 3, at 894           Spouse                      5848 at 3       $        12,500,000.00 $   37,500,000.00

                                                                                                                               United                                                                               United                                                             1:02-CV-01616,
177                                                             Nicholas                          Barbaro         Jr.          States          Paul                  Vincent        Barbaro                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2610     Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                               United                                                                               United                                                             3, at 894, 8393-
178                                                             Paul              William         Barbaro                      States          Paul                  Vincent        Barbaro                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1040, 8487    Child                       5848 at 3       $         8,500,000.00 $   25,500,000.00

                                                                                                                               United                                                                               United                                                             1:02-CV-01616,
179                                                             Thomas            Nicholas        Barbaro                      States          Paul                  Vincent        Barbaro                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2611     Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00

                                                                                                                               United                                                                               United                                                             1:02-CV-01616,
180                                                             Jacqueline        A.              Venezia                      States          Paul                  Vincent        Barbaro                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2612     Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       26, 29, at 1832,
                                                                                                                               United                                                                               United                                                             8393-1, at 1357,
181                                                             Sael                              Barbosa                      States          Victor                Daniel         Barbosa                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       7188 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       26, 29, at 1833,
                                                                                                                               United                                                                               United                                                             8393-1, at 84,
182                                                             Nancy                             Santana                      States          Victor                Daniel         Barbosa                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                               United                                                             1:02-cv-01616,
183                                                             Daryl             Joseph          Meehan                       States          Colleen               Ann            Barkow                          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 900           Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00
                                                                                                                               United                                                                               United                                                             1:02-cv-01616,
184                                                             JoAnn                             Meehan                       States          Colleen               Ann            Barkow                          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 899           Parent                      3666 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                               United                                                             1:02-cv-01616,
185                                                             Thomas            Joseph          Meehan          III          States          Colleen               Ann            Barkow                          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 898           Parent                      3666 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                               VA                                      77, at P2666,
                                                                                                                               United                                                                               United                     (Pentagon                               8393-1, at 55,
186                                                             Alan              M.              Mennie                       States          Melissa               Rose           Barnes                          States         9/11/01     )            03-cv-9849                 8487                Parent                      5087 at 5       $         8,500,000.00 $   25,500,000.00

                                                                                                                               United                                                                               United                                                             1:02-CV-01616,
187                                                             Audriene          Gertrude        Barry                        States          Arthur                T.             Barry                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2620     Parent                      4023 at 4       $         8,500,000.00 $   25,500,000.00

                                                                                                                               United                                                                               United                                                             1:02-CV-01616,
188                                                             Bertrand          Francis         Barry                        States          Arthur                T.             Barry                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2619     Parent                      4023 at 4       $         8,500,000.00 $   25,500,000.00

                                                                                                                               United                                                                               United                                                             1:02-CV-01616,
189                                                             Bertrand          Arthur          Barry                        States          Arthur                T.             Barry                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2622     Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                               United                                                                               United                                                             1:02-cv-01616,
190                                                             Brian             Michael         Barry                        States          Diane                                Barry                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 904           Child                       4023 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                               United                                                                               United                                                             3, at 902, 8393-
191                                                             Edmund            William         Barry                        States          Diane                                Barry                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 19, 8487      Spouse                      5061 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                               United                                                                               United                                                             1:02-cv-01616,
192                                                             Kevin             William         Barry                        States          Diane                                Barry                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 54            Child                       3666 at 1       $         8,500,000.00 $   25,500,000.00

                                                                                                                               United                                                                               United                                                             1:02-CV-01616,
193                                                             Patricia          Ann             Barry                        States          Arthur                T.             Barry                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2625     Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00

                                                                                                                               United                                                                               United                                                             1:02-CV-01616,
194                                                             Kathleen          Megan           Poss                         States          Arthur                T.             Barry                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2624     Sibling                     4023 at 4       $         4,250,000.00 $   12,750,000.00

                                                                                                                               United                                                                               United                                                             1:02-CV-01616,
195                                                             Clare             Ellen           Skarda                       States          Arthur                T.             Barry                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2623     Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                               United                                                                               United                                                             1, at 58, 8397-1,
196 Gila                            Barzvi                      Arie                              Barzvi                       States          Guy                                  Barzvi                          States         9/11/01     NY (WTC)     03-cv-9849                 at 2, 8433          Parent                      4126 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                               United                                                             1:02-cv-01616,
197                                                             Gila                              Barzvi                       States          Guy                                  Barzvi                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 57            Parent                      4023 at 5       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                                    Page 8 of 170
                                                                                                                 Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                   Filed 04/23/24             Page 10 of 171
                                                                                                                                                                                EXHIBIT B-1
                                                                                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                                 Claimant                                                                                   9/11 Decedent                                                                Claim Information                                                  Solatium Damages




                                                                                                                             Nationality




                                                                                                                                                                                                                Nationality
                                                                                                                              on 9/11




                                                                                                                                                                                                                 on 9/11
                                                                                                                Claimant                                                                                                        Date of                                            Amendments &                       Document
 #       First       Middle                Last     Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle            Last         Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                  Suffix                                                                                                        Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                           United                                                                              United                                                             1, at 880, 5284-
198                                                          Lori              Sara            Barzvi                      States          Guy                                 Barzvi                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1, 5296      Sibling                     4023 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                              United                                                             1:02-cv-01616,
199                                                          Anisia            Capito          Abarabar                    States          Marlyn                Capito        Bautista                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1841    Sibling                     4023 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                              United                                                             1:02-cv-01616,
200                                                          Rameses           Garcia          Bautista                    States          Marlyn                Capito        Bautista                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1838    Spouse                      5848 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 1839,
                                                                                                                           United                                                                              United                                                             8397-1, at 5,
201 Rufina       Capito           Coquia                     Narcisa           Gemino          Capito                      States          Marlyn                Capito        Bautista                        States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      7188 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                              United                                                             1:02-cv-01616,
202                                                          Rufina            Capito          Coquia                      States          Marlyn                Capito        Bautista                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1840    Sibling                     4023 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                               United                     NY                                      1:02-cv-01616,
203                                                          John              Michael         Bavis                       Unknown         Mark                  Lawrence      Bavis                           States         9/11/01     (UA175)      03-cv-9849                 305, at P4127      Sibling                     4023 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  232, at P4043,
                                                                                                                                                                                                                                                                                  8397-1, at 2,
                                                                                                                           United                                                                              United                     NY                                      8433, 8393-1, at
204 Michael      Thomas           Bavis                      Mary              T.              Bavis                       States          Mark                  Lawrence      Bavis                           States         9/11/01     (UA175)      03-cv-9849                 52, 8487           Parent                      4023 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                              United                     NY                                      1:02-cv-01616,
205                                                          Michael           Thomas          Bavis                       States          Mark                  Lawrence      Bavis                           States         9/11/01     (UA175)      03-cv-9849                 232, at P4044      Sibling                     4023 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                              United                     NY                                      1:02-cv-01616,
206                                                          Patrick           Joseph          Bavis                       States          Mark                  Lawrence      Bavis                           States         9/11/01     (UA175)      03-cv-9849                 232, at P4045      Sibling                     4023 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                              United                     NY                                      1:02-cv-01616,
207                                                          Mary              Ellen           Moran                       States          Mark                  Lawrence      Bavis                           States         9/11/01     (UA175)      03-cv-9849                 232, at P4046      Sibling                     4023 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                              United                     NY                                      1:02-cv-01616,
208                                                          Kelly             Bavis           Morrissey                   States          Mark                  Lawrence      Bavis                           States         9/11/01     (UA175)      03-cv-9849                 232, at P4047      Sibling                     4023 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                              United                     NY                                      1:02-cv-01616,
209                                                          Kathleen          M.              Sylvester                   States          Mark                  Lawrence      Bavis                           States         9/11/01     (UA175)      03-cv-9849                 305, at P4128      Sibling                     4023 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                              United                                                             1:02-cv-01616,
210                                                          Dennis                            Baxter                      States          Jasper                              Baxter                          States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4134      Sibling                     4023 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  305, at P4135,
                                                                                                                           United                                                                              United                                                             8397-1, at 2,
211 Jedelle                       Baxter          Jr.        Diane                             Baxter                      States          Jasper                              Baxter                          States         9/11/01     NY (WTC)     03-cv-9849                 8433               Sibling                     4023 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  305, at P4131,
                                                                                                                                                                                                               United                                                             8397-1, at 2,
212 Dennis                        Baxter                     Donald                            Baxter                      Unknown         Jasper                              Baxter                          States         9/11/01     NY (WTC)     03-cv-9849                 8433               Sibling                     4023 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                              United                                                             1:02-cv-01616,
213                                                          Jedelle                           Baxter          Jr.         States          Jasper                              Baxter                          States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4132      Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                              United                                                             1:02-cv-01616,
214                                                          Lawrence                          Baxter                      States          Jasper                              Baxter                          States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4133      Sibling                     4023 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  305, at P4129,
                                                                                                                                                                                                               United                                                             8393-1, at 32,
215                                                          Lillian                           Baxter                      Unknown         Jasper                              Baxter                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5061 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  305, at P4130,
                                                                                                                                                                                                               United                                                             8397-1, at 2,
216 Dennis                        Baxter                     Mattie            L.              Baxter                      Unknown         Jasper                              Baxter                          States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      4023 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                              United                                                             1:02-cv-01616,
217                                                          Juanita                           Whatley                     States          Jasper                              Baxter                          States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4136      Sibling                     4023 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:03-md-01570,
                                                                                                                                                                                                               United                                                             602, at P5471,
                                                                                                                           United                                                                              Kingdo                                                             8393-1, at 32,
218                                                          Robert            W.              Beatty                      States          Jane                                Beatty                          m              9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5087 at 5       $        12,500,000.00 $   37,500,000.00

                                                                                                                           United                                                                              United                                                             1:02-CV-01616,
219                                                          Theodore          S.              Beck                        States          Lawrence              I.            Beck                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2640    Parent                      4023 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  232, at P3592,
                                                                                                                           United                                                                              United                                                             8393-1, at 816,
220                                                          Brandice                          Williams                    States          Manette               M.            Beckles                         States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                              United                                                             1:02-cv-01616,
221                                                          Dolores                           Bedigian                    States          Carl                                Bedigian                        States         9/11/01     NY (Other)   03-cv-9849                 305, at P4137      Parent                      5062 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                              United                                                             1:02-cv-01616,
222                                                          Joseph            J.              Bedigian                    States          Carl                                Bedigian                        States         9/11/01     NY (Other)   03-cv-9849                 305, at P4138      Sibling                     5848 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
223                                                          Robert            James           Bedigian                    Unknown         Carl                                Bedigian                        States         9/11/01     NY (Other)   03-cv-9849                 305, at P4139      Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  232, at P3593,
                                                                                                                           United                                                                              United                                                             8393-1, at 899,
224                                                          Michael           E.              Beekman         Jr.         States          Michael               E.            Beekman             Sr.         States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 5       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                               Page 9 of 170
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                                                                                                                                                                            EXHIBIT B-1
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                            Claimant                                                                                 9/11 Decedent                                                                Claim Information                                                   Solatium Damages




                                                                                                                         Nationality




                                                                                                                                                                                                           Nationality
                                                                                                                          on 9/11




                                                                                                                                                                                                            on 9/11
                                                                                                            Claimant                                                                                                       Date of                                            Amendments &                        Document
#          First       Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle          Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                              Suffix                                                                                                       Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             232, at P3593,
                                                                                                                       United                                                                             United                                                             8393-1, at 55,
225                                                       Theodora                          Beekman                    States          Michael               E.            Beekman            Sr.         States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5087 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             232, at P3593,
                                                                                                                       United                                                                             United                                                             8393-1, at 898,
226                                                       Theresa           N.              Beekman                    States          Michael               E.            Beekman            Sr.         States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             8679-1, at 17,
227                                                       Carlos            Pio             Behr                       States          Maria                               Behr                           States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             United                                                             8679-1, at 15,
228                                                       Edith             del Mar         Behr                       States          Maria                               Behr                           States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             United                                                             8679-1, at 16,
229                                                       Gabriel           Michael         Behr                       States          Maria                               Behr                           States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             305, at P4140,
                                                                                                                                                                                                          United                                                             8393-1, at 52,
230                                                       George                            Behr                       Unknown         Maria                               Behr                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      5848 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
231                                                       Inmaculada                        Behr                       Unknown         Maria                               Behr                           States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4141       Parent                      5848 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                          United                                                             1, at 75, 8393-1,
232                                                       Boris                             Belilovsky                 Ukraine         Helen                               Belilovsky                     States         9/11/01     NY (WTC)     03-cv-9849                 at 28, 8487         Spouse                      5087 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                       United                                                                             United                                                             1, at 75, 8393-1,
233                                                       Eugene                            Belilovsky                 States          Helen                               Belilovsky                     States         9/11/01     NY (WTC)     03-cv-9849                 at 451, 8487        Child                       5087 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
234                                                       Emma              Ovsey           Tisnovsky                  Belarus         Helen                               Belilovsky                     States         9/11/01     NY (WTC)     03-cv-9849                 1, at 76            Parent                      3666 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                          United                                                             1, at 77, 8397-1,
235 Ross           Leonid           Tisnovsky             Leonid                            Tisnovsky                  Ukraine         Helen                               Belilovsky                     States         9/11/01     NY (WTC)     03-cv-9849                 at 27, 8433         Parent                      5138 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
236                                                       Ross              Leonid          Tisnovsky                  Ukraine         Helen                               Belilovsky                     States         9/11/01     NY (WTC)     03-cv-9849                 1, at 78            Sibling                     4023 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
237                                                       Suzanne                           Abenmoha                   States          Debbie                              Bellows                        States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2823       Parent                      3666 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
238                                                       Sean              Kenneth         Bellows                    States          Debbie                              Bellows                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2647     Spouse                      5061 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                       United                                                                             United                                                             1, at 62, 8397-1,
239 Michael                         Giordano              Maria             Alexandra       Giordano                   States          Denise                Lenore        Benedetto                      States         9/11/01     NY (WTC)     03-cv-9849                 at 11, 8433         Parent                      5138 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
240                                                       Michael                           Giordano                   States          Denise                Lenore        Benedetto                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 63            Sibling                     5087 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                       United                                                                             United                                                             1, at 59, 8393-1,
241                                                       Dina              Marie           Morton                     States          Denise                Lenore        Benedetto                      States         9/11/01     NY (WTC)     03-cv-9849                 at 277, 8487        Child                       5087 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             1, at 59, 8393-1,
                                                                                                                                                                                                                                                                             at 278, 8487,
                                                                                                                       United                                                                             United                                                             8393-1, at 17,
242                                                       Marina            Denise          Paulie                     States          Denise                Lenore        Benedetto                      States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
243                                                       Rina                              Rabinowitz                 States          Denise                Lenore        Benedetto                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 60            Sibling                     5087 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
244                                                       Ondina                            Bennett                    Cuba            Bryan                 Craig         Bennett                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 66            Parent                      5087 at 6       $         8,500,000.00 $   25,500,000.00

                                                                                                                       United                                                                             United                                                             1:03-md-01570,
245                                                       Lourdes           Bennett         O'Connor                   States          Bryan                 Craig         Bennett                        States         9/11/01     NY (WTC)     03-cv-9849                 432, at P5319       Sibling                     5061 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             United                                                             8679-1, at 18,
246                                                       Lillian           Maria           O'Malley                   States          Bryan                 Craig         Bennett                        States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                       United                                                                             United                                                             3, at 908, 8393-
247                                                       Alexander         Michael         Berger                     States          James                 P.            Berger                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 500, 8487     Child                       5061 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                       United                                                                             United                                                             3, at 908, 8393-
248                                                       Christian         Daniel          Berger                     States          James                 P.            Berger                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 501, 8487     Child                       5061 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
249                                                       Gary              Mark            Berger                     Unknown         Steven                Howard        Berger                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2653     Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                       United                                                                             United                                                             3, at 908, 8393-
250                                                       Nicholas          James           Berger                     States          James                 P.            Berger                         States 9/11/01             NY (WTC)     03-cv-9849                 1, at 502, 8487     Child                       5061 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
251                                                       Suzanne           Jacqueline      Berger                     States          James                 P.            Berger                         States 9/11/01             NY (WTC)     03-cv-9849                 3, at 908           Spouse                      5061 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                       United                                                                             Unknow                                                             1:02-cv-01616,
252                                                       Agnes             Theresa         Bergin                     States          John                  P.            Bergin                         n      9/11/01             NY (Other)   03-cv-9849                 26, 29, at 1850     Parent                      4126 at 4       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                         Page 10 of 170
                                                                                                                    Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                   Filed 04/23/24             Page 12 of 171
                                                                                                                                                                                   EXHIBIT B-1
                                                                                                                                                                SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                        Personal Representative                                                Claimant                                                                                9/11 Decedent                                                                   Claim Information                                                  Solatium Damages




                                                                                                                                Nationality




                                                                                                                                                                                                                   Nationality
                                                                                                                                 on 9/11




                                                                                                                                                                                                                    on 9/11
                                                                                                                   Claimant                                                                                                        Date of                                            Amendments &                       Document
#          First           Middle              Last   Suffix     Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                     Suffix                                                                                                        Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     26, 29, at 1849,
                                                                                                                              United                                                                              Unknow                                                             8397-1, at 2,
253 Agnes          Theresa            Bergin                   George             R.              Bergin                      States          John                  P.            Bergin                          n      9/11/01             NY (Other)   03-cv-9849                 8433               Parent                      4126 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                              Unknow                                                             1:02-cv-01616,
254                                                            George             Michael         Bergin                      States          John                  P.            Bergin                          n      9/11/01             NY (Other)   03-cv-9849                 26, 29, at 1851    Sibling                     4126 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                              Unknow                                                             1:02-cv-01616,
255                                                            Mary Ellen                         O'Rourke                    States          John                  P.            Bergin                          n      9/11/01             NY (Other)   03-cv-9849                 26, 29, at 1852    Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     305, at P4142,
                                                                                                                              United                                                                              United                                                             8393-1, at 30,
256                                                            Harris             I.              Bergsohn                    States          Alvin                               Bergsohn                        States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5848 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     77, at P2534,
                                                                                                                              United                                                                              United                                                             8397-1, at 2,
257 Renee          Ann                Hoffman                  Kenneth            Morris          Bergsohn                    States          Alvin                               Bergsohn                        States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      3666 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     305, at P4142,
                                                                                                                              United                                                                              United                                                             8393-1, at 2,
258                                                            Michele            Zapken          Bergsohn                    States          Alvin                               Bergsohn                        States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5356 at 1       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     305, at P4142,
                                                                                                                              United                                                                              United                                                             8393-1, at 31,
259                                                            Samuel             Charles         Bergsohn                    States          Alvin                               Bergsohn                        States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5356 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                              United                                                             1:02-cv-01616,
260                                                            Renee              Ann             Hoffman                     States          Alvin                               Bergsohn                        States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2633       Sibling                     5848 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                              United                                                             1:02-cv-01616,
261                                                            David              W.              Bernard         Jr.         States          David                 William       Bernard                         States         12/11/01    NY (WTC)     03-cv-9849                 1, at 855          Child                       4023 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                              United                                                                              United                                                             1, at 856, 5284-
262                                                            Mark               Andrew          Bernard                     States          David                 William       Bernard                         States         12/11/01    NY (WTC)     03-cv-9849                 1, at 1, 5296      Child                       4023 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                              United                                                                              United                                                             1, at 854, 5284-
263                                                            Nancy              M.              Bernard                     States          David                 William       Bernard                         States         12/11/01    NY (WTC)     03-cv-9849                 1, at 1, 5296      Spouse                      5356 at 1       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                              United                                                                              United                                                             1, at 857, 5284-
264                                                            Jill               Ellen           Ludmar                      States          David                 William       Bernard                         States         12/11/01    NY (WTC)     03-cv-9849                 1, at 1, 5296      Child                       4023 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                              United                                                             1:02-cv-01616,
265                                                            David              M.              Bernstein                   States          William               H.            Bernstein                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 914          Sibling                     4023 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                              United                                                                              United                                                             3, at 912, 8397-
266 Robert         J.                 Bernstein                Murray                             Bernstein                   States          William               H.            Bernstein                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 2, 8433      Parent                      5138 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                              United                                                                              United                                                             3, at 913, 8397-
267 Robert         J.                 Bernstein                Norma                              Bernstein                   States          William               H.            Bernstein                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 2, 8433      Parent                      5138 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                  United                                                             1:02-cv-01616,
268                                                            Robert             J.              Bernstein                   Unknown         William               H.            Bernstein                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 911          Sibling                     4023 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                              United                                                             8679-1, at 19,
269                                                            Steven             A.              Bernstein                   States          William               H.            Bernstein                       States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     232, at P3595,
                                                                                                                              United                                                                              United                                                             8393-1, at 41,
270                                                            Evelyn                             Berry                       States          Joseph                John          Berry                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5087 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                              United                                                                              United                                                             1:02-cv-01616,
271                                                            Joseph             Scott           Berry                       States          Joseph                John          Berry                           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3596      Child                       5062 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                              United                                                             1:02-cv-01616,
272                                                            Todd               Patrick         Berry                       States          Joseph                John          Berry                           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3598      Child                       5062 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                              United                                                             1:02-cv-01616,
273                                                            Kimberly           Berry           Haisch                      States          Joseph                John          Berry                           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3597      Child                       5062 at 3       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                              United                                                                              United                                                             3, at 917, 8393-
274                                                            Christine          Noel            Betterly                    States          Timothy               D.            Betterly                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1327, 8487   Child                       5061 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                              United                                                             8679-1, at 20,
275                                                            Christopher        D.              Betterly                    States          Timothy               D.            Betterly                        States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                  United                                                             1:02-cv-01616,
276                                                            Donald             Austin          Betterly        Jr.         Unknown         Timothy               D.            Betterly                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2662    Sibling                     3666 at 1       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     26, 29, at 2659,
                                                                                                                              United                                                                              United                                                             8397-1, at 2,
277 Joan           Carol              Betterly                 Donald             A.              Betterly                    States          Timothy               D.            Betterly                        States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      5087 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                  United                                                             1:02-cv-01616,
278                                                            Joan               Carol           Betterly                    Unknown         Timothy               D.            Betterly                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2660    Parent                      3666 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                  United                                                             1:02-cv-01616,
279                                                            Joanne             F.              Betterly                    Unknown         Timothy               D.            Betterly                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 917          Spouse                      5062 at 3       $        12,500,000.00 $   37,500,000.00




                                                                                                                                                                                                 Page 11 of 170
                                                                                                             Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                   Filed 04/23/24             Page 13 of 171
                                                                                                                                                                            EXHIBIT B-1
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                                 Claimant                                                                                9/11 Decedent                                                                Claim Information                                                    Solatium Damages




                                                                                                                          Nationality




                                                                                                                                                                                                            Nationality
                                                                                                                           on 9/11




                                                                                                                                                                                                             on 9/11
                                                                                                             Claimant                                                                                                       Date of                                            Amendments &                        Document
 #      First           Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                       First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                               Suffix                                                                                                       Death                                               Substitutions                        ation

                                                                                                                                                                                                           United                                                             1:02-cv-01616,
280                                                        Mark              Christian       Betterly                   Unknown         Timothy              D.            Betterly                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2661     Sibling                     3666 at 1        $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                        United                                                                             United                                                             3, at 917, 8393-
281                                                        Samantha          Rose            Betterly                   States          Timothy              D.            Betterly                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1328, 8487    Child                       5061 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                             United                                                             1:02-cv-01616,
282                                                        Indira                            Bhukhan                    States          Bella                J.            Bhukhan                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P4048       Parent                      4023 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4049,
                                                                                                                        United                                                                             United                                                             8393-1, at 5,
283                                                        Jagdish                           Bhukhan                    States          Bella                J.            Bhukhan                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                             United                                                             1:02-cv-01616,
284                                                        Irene             Alice           Bilcher                    States          Brian                              Bilcher                         States         9/11/01     NY (Other)   03-cv-9849                 1, at 73            Parent                      4126 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                        United                                                                             United                                                             1, at 72, 8397-1,
285 Irene       Alice            Bilcher                   Miles             B.              Bilcher                    States          Brian                              Bilcher                         States         9/11/01     NY (Other)   03-cv-9849                 at 3, 8433          Parent                      5138 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
286                                                        Alice                             Hoagland                   Unknown         Mark                 K.            Bingham                         States         9/11/01     PA (UA93)    03-cv-9849                 26, 29, at 1855     Parent                      3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                        United                                                                             United                                                             3, at 919, 8397-
287 Rosemarie                    Corvino                   Lillian                           Bini                       States          Carl                               Bini                            States         9/11/01     NY (Other)   03-cv-9849                 1, at 3, 8433       Parent                      3666 at 2        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 1857,
                                                                                                                        United                                                                             United                                                             8397-1, at 3,
288 Rosemarie                    Corvino                   Raymond                           Bini                       States          Carl                               Bini                            States         9/11/01     NY (Other)   03-cv-9849                 8433                Parent                      8310 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                             United                                                             1:02-cv-01616,
289                                                        Rosemarie                         Corvino                    States          Carl                               Bini                            States         9/11/01     NY (Other)   03-cv-9849                 3, at 920           Sibling                     3666 at 2        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                      VA
                                                                                                                        United                                                                             United                     (Pentagon                               1:02-cv-01616,
290                                                        Basmattie                         Bishundat                  States          Kris                 Romeo         Bishundat                       States         9/11/01     )            03-cv-9849                 1, at 81            Parent                      4023 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                      VA
                                                                                                                        United                                                                             United                     (Pentagon                               1:02-cv-01616,
291                                                        Bhola             P.              Bishundat                  States          Kris                 Romeo         Bishundat                       States         9/11/01     )            03-cv-9849                 1, at 83            Parent                      4023 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                             United                                                             1:02-cv-01616,
292                                                        Hyacinth                          Blackman                   States          Albert               Balewa        Blackman            Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2676     Parent                      4126 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:03-cv-9849,
                                                                                                                                                                                                                                                                              HAND FILED, at
                                                                                                                        United                                                                             United                                                             P5000, 8393-1,
293                                                        Alexandra         Ann             Blackwell                  States          Christopher                        Blackwell                       States         9/11/01     NY (Other)   03-cv-9849                 at 165, 8487        Child                       5356 at 1        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:03-cv-9849,
                                                                                                                                                                                                                                                                              HAND FILED, at
                                                                                                                        United                                                                             United                                                             P5000, 8393-1,
294                                                        Jane              Elizabeth       Blackwell                  States          Christopher                        Blackwell                       States         9/11/01     NY (Other)   03-cv-9849                 at 10, 8487         Spouse                      5061 at 3        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:03-cv-9849,
                                                                                                                                                                                                                                                                              HAND FILED, at
                                                                                                                        United                                                                             United                                                             P5000, 8393-1,
295                                                        Ryan              Christopher     Blackwell                  States          Christopher                        Blackwell                       States         9/11/01     NY (Other)   03-cv-9849                 at 166, 8487        Child                       5356 at 1        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:03-cv-9849,
                                                                                                                                                                                                                                                                              HAND FILED, at
                                                                                                                        United                                                                             United                                                             P5000, 8393-1,
296                                                        Samantha          Lee             Blackwell                  States          Christopher                        Blackwell                       States         9/11/01     NY (Other)   03-cv-9849                 at 164, 8487        Child                       5356 at 1        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              313, at P4610,
                                                                                                                                                                                                           United                                                             8393-1, at 79,
297                                                        Leslie            R.              Blair                      Unknown         Susan                L.            Blair                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Sibling                     4023 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                             United                                                             1:02-cv-01616,
298                                                        Sally             T.              White                      States          Susan                L.            Blair                           States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4143       Parent                      4023 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                             United                                                             1:02-cv-01616,
299 Keith       Andrew           Blass                     Barbara           Lynn            Blass                      States          Craig                Michael       Blass                           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3600       Parent                      4023 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                             United                                                             1:02-cv-01616,
300                                                        Keith             Andrew          Blass                      States          Craig                Michael       Blass                           States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4611       Sibling                     4023 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                             United                                                             1:02-cv-01616,
301                                                        Ira               Scott           Blau                       States          Rita                               Blau                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2691     Spouse                      4023 at 5        $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                             United                                                             1:02-cv-01616,
302                                                        Nicole                            Effress                    States          Rita                               Blau                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2693     Child                       4023 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                             United                                                             1:02-cv-01616,
303                                                        Michele                           Morris                     States          Rita                               Blau                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2692     Child                       4023 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              313, at P4612,
                                                                                                                                                                                                                                                                              8393-1, at 19,
                                                                                                                        United                                                                             United                                                             8487, 8397-1, at
304 Nancy       Lee              Mangum                    Derrill           George          Bodley                     States          Deora                Frances       Bodley                          States         9/11/01     PA (UA93)    03-cv-9849                 3, 8433             Parent                      8233 at 5        $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                          Page 12 of 170
                                                                                                        Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                Filed 04/23/24            Page 14 of 171
                                                                                                                                                                       EXHIBIT B-1
                                                                                                                                                    SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                Personal Representative                                            Claimant                                                                                9/11 Decedent                                                                Claim Information                                                  Solatium Damages




                                                                                                                    Nationality




                                                                                                                                                                                                     Nationality
                                                                                                                     on 9/11




                                                                                                                                                                                                      on 9/11
                                                                                                       Claimant                                                                                                      Date of                                           Amendments &                       Document
 #      First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First             Middle        Last          Suffix                               9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                         Suffix                                                                                                      Death                                              Substitutions                       ation

                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      77, at P2538,
                                                                                                                  United                                                                            United                                                            8393-1, at 18,
305                                                 Deborah           Ann             Borza                       States          Deora                 Frances        Bodley                       States         9/11/01     PA (UA93)   03-cv-9849                 8487               Parent                      4023 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                            United                                                            1:02-cv-01616,
306                                                 Erin              Marie           Boland                      States          Vincent               M.             Boland           Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3602      Sibling                     5848 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                  United                                                                            United                                                            1:02-cv-01616,
307                                                 Gregory           Frank           Boland                      States          Vincent               M.             Boland           Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3603      Sibling                     5848 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                  United                                                                            United                                                            1:02-cv-01616,
308                                                 Joyce             Rosemary        Boland                      States          Vincent               M.             Boland           Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3604      Parent                      5848 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      232, at P3605,
                                                                                                                  United                                                                            United                                                            8393-1, at 85,
309                                                 Vincent                           Boland          Sr.         States          Vincent               M.             Boland           Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Parent                      5848 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      305, at AP251,
                                                                                                                  United                                                                            Unknow                     NY                                     5284-1, at 1,
310                                                 Neda                              Bolourchi                   States          Touri                 Hamzavi        Bolourchi                    n      9/11/01             (UA175)     03-cv-9849                 5296               Child                       4023 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                            United                                                            1:02-cv-01616,
311                                                 Joseph            Michael         Bondarenko                  States          Alan                                 Bondarenko                   States 9/11/01             NY (WTC)    03-cv-9849                 232, at P3606      Child                       4023 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                  United                                                                            United                                                            1, at 815, 5284-
312                                                 Julia             Ann             Bondarenko                  States          Alan                                 Bondarenko                   States         9/11/01     NY (WTC)    03-cv-9849                 1, at 1, 5296      Spouse                      5356 at 1       $        12,500,000.00 $   37,500,000.00
                                                                                                                  United                                                                            United                                                            1:02-cv-01616,
313                                                 William           Alan            Bondarenko                  States          Alan                                 Bondarenko                   States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3607      Child                       5356 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      232, at P3608,
                                                                                                                  United                                                                            United                                                            8393-1, at 33,
314                                                 Alysha            Audrey          Bonheur                     States          Andre                                Bonheur          Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5356 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      232, at P3608,
                                                                                                                  United                                                                            United                                                            8393-1, at 34,
315                                                 Marcus            Paul            Bonheur                     States          Andre                                Bonheur          Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5356 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      232, at P3608,
                                                                                                                                                                                                    United                                                            8393-1, at 3,
316                                                 Roxane                            Bonheur                     Haiti           Andre                                Bonheur          Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5356 at 1       $        12,500,000.00 $   37,500,000.00
                                                                                                                  United                                                                            United                                                            1:02-cv-01616,
317                                                 George            John            Bonomo                      States          Yvonne                L.             Bonomo                       States         9/11/01     NY (WTC)    03-cv-9849                 3, at 925          Sibling                     5356 at 1       $         4,250,000.00 $   12,750,000.00
                                                                                                                  United                                                                            United                                                            1:02-cv-01616,
318                                                 Sonia             Esperanza       Bonomo                      States          Yvonne                L.             Bonomo                       States         9/11/01     NY (WTC)    03-cv-9849                 3, at 924          Parent                      7188 at 4       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                  United                                                                            United                                                            3, at 928, 8393-
319                                                 Danielle          Marie           Booker                      States          Sean                                 Booker                       States         9/11/01     NY (WTC)    03-cv-9849                 1, at 1205, 8487   Child                       5087 at 6       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                  United                                                                            United                                                            3, at 928, 8393-
320                                                 Denzel            Cameron         Booker                      States          Sean                                 Booker                       States         9/11/01     NY (WTC)    03-cv-9849                 1, at 1204, 8487   Child                       5087 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                    United                                                            1:02-cv-01616,
321 Stacey                    Booker                Rose              Ann             Booker                      Unknown         Sean                                 Booker                       States         9/11/01     NY (WTC)    03-cv-9849                 3, at 929          Parent                      3666 at 2       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                  United                                                                            United                                                            3, at 928, 8393-
322                                                 Sean                              Booker          Jr.         States          Sean                                 Booker                       States         9/11/01     NY (WTC)    03-cv-9849                 1, at 1206, 8487   Child                       5087 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                            United                                                            1:02-cv-01616,
323                                                 Sharon                            Booker                      States          Sean                                 Booker                       States         9/11/01     NY (WTC)    03-cv-9849                 3, at 928          Spouse                      5087 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                  United                                                                            United                                                            8679-1, at 22,
324                                                 Matthew           H.              Booms                       States          Kelly                 Ann            Booms                        States         9/11/01     NY (AA11)   03-cv-9849                 8696               Sibling                     5061 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                      1:03-cv-09849,
                                                                                                                  United                                                                            United                                                            838, at 2; 8679-
325                                                 Nancy             Joan            Booms                       States          Kelly                 Ann            Booms                        States         9/11/01     NY (AA11)   03-cv-9849                 1, at 21, 8696     Parent                      4126 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      432, at P4773,
                                                                                                                  United                                                                            United                                                            8393-1, at 45,
326                                                 Richard           Lavern          Booms                       States          Kelly                 Ann            Booms                        States         9/11/01     NY (AA11)   03-cv-9849                 8487               Parent                      4023 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                            United                                                            8679-1, at 24,
327                                                 Richard           Lavern          Booms           Jr.         States          Kelly                 Ann            Booms                        States         9/11/01     NY (AA11)   03-cv-9849                 8696               Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                  United                                                                            United                                                            8679-1, at 23,
328                                                 Thomas            Edward          Booms                       States          Kelly                 Ann            Booms                        States         9/11/01     NY (AA11)   03-cv-9849                 8696               Sibling                     5061 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                               VA
                                                                                                                  United                                                                            United                     (Pentagon                              1:02-cv-01616,
329                                                 Andrew                            Boone                       States          Canfield              D.             Boone                        States         9/11/01     )           03-cv-9849                 155, at P2826      Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                               VA
                                                                                                                  United                                                                            United                     (Pentagon                              1:02-cv-01616,
330                                                 Christopher       Adam            Boone                       States          Canfield              D.             Boone                        States         9/11/01     )           03-cv-9849                 155, at P2827      Child                       5848 at 3       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                   Page 13 of 170
                                                                                                               Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                   Filed 04/23/24            Page 15 of 171
                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                              Claimant                                                                               9/11 Decedent                                                                   Claim Information                                                   Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                              Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                               on 9/11
                                                                                                              Claimant                                                                                                        Date of                                           Amendments &                       Document
#       First         Middle               Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                               9/11 Site       Case       Complaint                        Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                Suffix                                                                                                        Death                                              Substitutions                       ation

                                                                                                                                                                                                                                        VA
                                                                                                                         United                                                                              United                     (Pentagon                              1:02-cv-01616,
331                                                        Jason                             Boone                       States          Canfield              D.            Boone                           States         9/11/01     )           03-cv-9849                 155, at P2828      Child                       5087 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                        VA                                     155, at P2829,
                                                                                                                         United                                                                              United                     (Pentagon                              8397-1, at 3,
332 Jason                          Boone                   Linda             Kay             Boone                       States          Canfield              D.            Boone                           States         9/11/01     )           03-cv-9849                 8433               Spouse                      5138 at 3        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                        VA
                                                                                                                         United                                                                              United                     (Pentagon                              1:02-cv-01616,
333                                                        Deanna            G.              Demotte                     States          Canfield              D.            Boone                           States         9/11/01     )           03-cv-9849                 432, at P4774      Sibling                     5087 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:18-cv-11582,
                                                                                                                                                                                                             United                                                            1, at 3; 8679-1,
334                                                        Maureen           Frances         Bosco                       Unknown         Richard               E.            Bosco                           States         9/11/01     NY (WTC)    03-cv-9849                 at 25, 8696        Parent                      4880 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                             United                                                            1:02-cv-01616,
335                                                        William           James           Bosco           Jr.         Unknown         Richard               E.            Bosco                           States         9/11/01     NY (WTC)    03-cv-9849                 432, at P4775      Parent                      3666 at 2        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
336                                                        Frederick         Earl            Bouchard        Jr.         States          Carol                 Marie         Bouchard                        States         9/11/01     NY (AA11)   03-cv-9849                 26, 29, at 2700    Spouse                      5061 at 3        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               26, 29, at 2701,
                                                                                                                         United                                                                              United                                                            8397-1, at 7,
337 Kenneth     E.                 DelleFemine             Hope              Louise          DelleFemine                 States          Carol                 Marie         Bouchard                        States 9/11/01             NY (AA11)   03-cv-9849                 8433               Parent                      5087 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                             United                                                            1:02-cv-01616,
338                                                        Kenneth           E.              DelleFemine                 Unknown         Carol                 Marie         Bouchard                        States 9/11/01             NY (AA11)   03-cv-9849                 26, 29, at 2702    Sibling                     3666 at 2        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
339                                                        Richard           Edward          DelleFemine     Sr.         States          Carol                 Marie         Bouchard                        States 9/11/01             NY (AA11)   03-cv-9849                 26, 29, at 2703    Sibling                     4023 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                             United                                                            1:02-cv-01616,
340                                                        Kathryn           C.              Bowden                      Unknown         Thomas                H.            Bowden              Jr.         States 9/11/01             NY (WTC)    03-cv-9849                 313, at P4615      Sibling                     3387             $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
341                                                        Matthew           A.              Bowden                      States          Thomas                H.            Bowden              Jr.         States 9/11/01             NY (WTC)    03-cv-9849                 313, at P4613      Sibling                     5969 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
342                                                        Paul                              Bowden                      States          Thomas                H.            Bowden              Jr.         States 9/11/01             NY (WTC)    03-cv-9849                 77, at P2539       Sibling                     3387             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                             United                                                            1:02-cv-01616,
343                                                        Sheilah           L.              Bowden                      Unknown         Thomas                H.            Bowden              Jr.         States 9/11/01             NY (WTC)    03-cv-9849                 313, at P4614      Parent                      3387             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                             United                                                            1:02-cv-01616,
344                                                        Thomas            H.              Bowden          Sr.         Unknown         Thomas                H.            Bowden              Jr.         States 9/11/01             NY (WTC)    03-cv-9849                 313, at P4613      Parent                      3387             $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              Unknow                                                            1:02-cv-01616,
345                                                        Ruth              Bowman          White                       States          Larry                               Bowman                          n      9/11/01             NY (WTC)    03-cv-9849                 432, at P4776      Parent                      4023 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
346                                                        Kevin             Lewis           Bowser                      States          Kevin                 Leah          Bowser                          States 9/11/01             NY (WTC)    03-cv-9849                 77, at P2540       Child                       5087 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
347                                                        Pharr             Ayn             Bowser                      States          Kevin                 Leah          Bowser                          States 9/11/01             NY (WTC)    03-cv-9849                 77, at P2541       Child                       5087 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               77, at P2542,
                                                                                                                         United                                                                              United                                                            8393-1, at 46,
348                                                        Stephanie         Ayn             Bowser                      States          Kevin                 Leah          Bowser                          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5061 at 3        $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
349                                                        Bella                             Boyarsky                    States          Gennady                             Boyarsky                        States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 1862    Parent                      3666 at 2        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
350                                                        Vladimir                          Boyarsky                    States          Gennady                             Boyarsky                        States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 1861    Parent                      3666 at 2        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               432, at P4777,
                                                                                                                         United                                                                              United                                                            8393-1, at 62,
351                                                        Laura             Maria           Alessi                      States          Pamela                              Boyce                           States         9/11/01     NY (WTC)    03-cv-9849                 8487               Parent                      5848 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
352                                                        Gina              Marie           Grassi                      States          Pamela                              Boyce                           States         9/11/01     NY (WTC)    03-cv-9849                 432, at P4778      Sibling                     5848 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
353                                                        Christopher       Jonathan        Braca                       States          Alfred                J.            Braca                           States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4147      Child                       5976 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
354                                                        David             John            Braca                       States          Alfred                J.            Braca                           States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4146      Child                       4023 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
355                                                        Christina                         Cambeis                     States          Alfred                J.            Braca                           States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4149      Child                       4023 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
356                                                        Deanna                            Wirth                       States          Alfred                J.            Braca                           States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4148      Child                       4023 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
357                                                        Nelly             Avramovna       Braginsky                   States          Alexander                           Braginsky                       States         9/11/01     NY (WTC)    03-cv-9849                 1, at 92           Parent                      4023 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
358                                                        Jason             Michael         Brandemarti                 States          Nicholas              W.            Brandemarti                     States         9/11/01     NY (WTC)    03-cv-9849                 313, at P4619      Sibling                     5062 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
359                                                        Nancy             Patricia        Brandemarti                 States          Nicholas              W.            Brandemarti                     States         9/11/01     NY (WTC)    03-cv-9849                 313, at P4618      Parent                      4023 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               313, at P4616,
                                                                                                                         United                                                                              United                                                            8393-1, at 61,
360                                                        Nicholas          Michael         Brandemarti                 States          Nicholas              W.            Brandemarti                     States         9/11/01     NY (WTC)    03-cv-9849                 8487               Parent                      4023 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
361                                                        Nicole            Michele         Walsh                       States          Nicholas              W.            Brandemarti                     States         9/11/01     NY (WTC)    03-cv-9849                 313, at P4620      Sibling                     5061 at 3        $         4,250,000.00 $   12,750,000.00




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                                                                                                                                                                         EXHIBIT B-1
                                                                                                                                                      SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                  Personal Representative                                            Claimant                                                                               9/11 Decedent                                                                    Claim Information                                                  Solatium Damages




                                                                                                                      Nationality




                                                                                                                                                                                                         Nationality
                                                                                                                       on 9/11




                                                                                                                                                                                                          on 9/11
                                                                                                         Claimant                                                                                                        Date of                                            Amendments &                       Document
#         First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle        Last              Suffix                              9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                           Suffix                                                                                                        Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           432, at P4779,
                                                                                                                    United                                                                              United                     NY                                      8393-1, at 15,
362                                                   David             Benjamin        Brandhorst                  States          Daniel                Raymond       Brandhorst                      States         9/11/01     (UA175)      03-cv-9849                 8487               Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
363                                                   Christopher       B.              Bratton                     States          Michelle              Renee         Bratton                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3609      Sibling                     6038 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
364                                                   Mary              E.              Bratton                     States          Michelle              Renee         Bratton                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3611      Parent                      6038 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           232, at P3612,
                                                                                                                    United                                                                              United                                                             8393-1, at 60,
365                                                   William           Joseph          Bratton         Jr.         States          Michelle              Renee         Bratton                         States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      6038 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           232, at P3614,
                                                                                                                    United                                                                              United                                                             8393-1, at 24,
366                                                   Barbara           H.              Brennan                     States          Francis               H.            Brennan                         States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5087 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
367                                                   Brian             Thomas          Brennan                     States          Michael               Emmett        Brennan                         States         9/11/01     NY (Other)   03-cv-9849                 77, at P2545       Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
368                                                   James             John            Brennan                     States          Michael               Emmett        Brennan                         States         9/11/01     NY (Other)   03-cv-9849                 77, at P2546       Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           77, at P2547,
                                                                                                                                                                                                                                                                           8397-1, at 3,
                                                                                                                    United                                                                              United                                                             8433, 8393-1, at
369 Mary Ann                    Brennan               Michael           F.              Brennan                     States          Michael               Emmett        Brennan                         States         9/11/01     NY (Other)   03-cv-9849                 56, 8487           Parent                      4126 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
370                                                   Veronica                          Brennan                     States          Michael               Emmett        Brennan                         States         9/11/01     NY (Other)   03-cv-9849                 77, at P2548       Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           77, at P2742,
                                                                                                                    United                                                                              United                                                             8393-1, at 56,
371                                                   Eileen                            Walsh                       States          Michael               Emmett        Brennan                         States         9/11/01     NY (Other)   03-cv-9849                 8487               Parent                      4126 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
372                                                   Margaret                          Walsh                       States          Michael               Emmett        Brennan                         States         9/11/01     NY (Other)   03-cv-9849                 77, at P2743       Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
373                                                   Mary              Margaret        Walsh                       States          Michael               Emmett        Brennan                         States         9/11/01     NY (Other)   03-cv-9849                 77, at P2744       Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
374                                                   Matthew           Joseph          Walsh                       States          Michael               Emmett        Brennan                         States         9/11/01     NY (Other)   03-cv-9849                 77, at P2745       Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
375                                                   Patricia                          Walsh                       States          Michael               Emmett        Brennan                         States         9/11/01     NY (Other)   03-cv-9849                 77, at P2746       Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:03-cv-9849,
                                                                                                                                                                                                                                                                           HAND FILED, at
                                                                                                                    United                                                                              United                                                             P5004, 8393-1,
376                                                   Carol             A.              Brethel                     States          Daniel                J.            Brethel                         States         9/11/01     NY (Other)   03-cv-9849                 at 14, 8487        Spouse                      5087 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                           1:03-cv-9849,
                                                                                                                                                                                                                                                                           HAND FILED, at
                                                                                                                    United                                                                              United                                                             P5004, 8393-1,
377                                                   Meghan            J.              Brethel                     States          Daniel                J.            Brethel                         States         9/11/01     NY (Other)   03-cv-9849                 at 227, 8487       Child                       5087 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 1870,
                                                                                                                    United                                                                              United                                                             8397-1, at 3,
378 Eva                         Brisman               Gerard                            Brisman                     States          Mark                                Brisman                         States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      4023 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
379                                                   Juliette                          Brisman                     States          Mark                                Brisman                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1869    Spouse                      5848 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
380                                                   Michelle          Ann             Brisman                     States          Mark                                Brisman                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1872    Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 1869,
                                                                                                                                                                                                        United                                                             8466-1, at 2,
381                                                   Rachael           Paulina         Brisman                     Unknown         Mark                                Brisman                         States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       7188 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
382                                                   Steven            A.              Brisman                     States          Mark                                Brisman                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1871    Sibling                     5848 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 1869,
                                                                                                                                                                                                        United                                                             8466-1, at 2,
383                                                   William           Eli             Brisman                     Unknown         Mark                                Brisman                         States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       7188 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
384                                                   Jacqueline        Gail            Iskols                      States          Mark                                Brisman                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1873    Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:03-cv-9849,
                                                                                                                                                                                                                                                                           HAND FILED, at
                                                                                                                    United                                                                              United                                                             P5006, 8393-1,
385                                                   Bernard           Curtis          Brown                       States          Bernard               Curtis        Brown             II            States         9/11/01     VA (AA77)    03-cv-9849                 at 6, 8487         Parent                      5062 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
386                                                   Everton           James           Brown                       States          Lloyd                               Brown                           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3615      Parent                      4023 at 6       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                     Page 15 of 170
                                                                                                               Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                     Filed 04/23/24             Page 17 of 171
                                                                                                                                                                               EXHIBIT B-1
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                        Personal Representative                                             Claimant                                                                                 9/11 Decedent                                                                   Claim Information                                                   Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                               Claimant                                                                                                          Date of                                            Amendments &                        Document
 #         First           Middle            Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle           Last             Suffix                              9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                          Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   432, at P4780,
                                                                                                                                                                                                                                                                                   8397-1, at 3,
                                                                                                                          United                                                                                United                                                             8433, 8393-1, at
387 Erin           Marie              Gresham                Michael           Everett         Brown                      States          Patrick               J.            Brown                             States         9/11/01     NY (Other)   03-cv-9849                 62, 8487            Sibling                     5061 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:03-cv-9849,
                                                                                                                                                                                                                                                                                   HAND FILED, at
                                                                                                                          United                                                                                United                                                             P5007, 8393-1,
388                                                          Sinita            Carter          Brown                      States          Bernard               Curtis        Brown               II            States         9/11/01     VA (AA77)    03-cv-9849                 at 6, 8487          Parent                      5062 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:03-cv-9849,
                                                                                                                                                                                                                                                                                   HAND FILED, at
                                                                                                                          United                                                                                United                                                             P5006, 8393-1,
389                                                          Courtney          I.              Rominiyi                   States          Bernard               Curtis        Brown               II            States         9/11/01     VA (AA77)    03-cv-9849                 at 90, 8487         Sibling                     5087 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                                United                                                             1:02-cv-01616,
390                                                          Carolyn           Marie           Shorthouse                 States          Patrick               J.            Brown                             States         9/11/01     NY (Other)   03-cv-9849                 432, at P4781       Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:03-cv-09849,
                                                                                                                          United                                                                                United                                                             838, at 3; 8679-
391                                                          Andrew            William         Brunn                      States          Andrew                C.            Brunn                             States         9/11/01     NY (Other)   03-cv-9849                 1, at 28, 8696      Parent                      5062 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2729,
                                                                                                                                                                                                                United                                                             8393-1, at 3,
392                                                          Sigalit                           Brunn                      Israel          Andrew                C.            Brunn                             States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5087 at 6       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                   1:03-cv-09849,
                                                                                                                          United                                                                                United                                                             838, at 17; 8679-
393                                                          Maria             F.              Losito                     States          Andrew                C.            Brunn                             States         9/11/01     NY (Other)   03-cv-9849                 1, at 26, 8696      Parent                      5062 at 3       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                   1:03-cv-09849,
                                                                                                                          United                                                                                United                                                             838, at 20; 8679-
394                                                          Christina         Brunn           Thomas                     States          Andrew                C.            Brunn                             States         9/11/01     NY (Other)   03-cv-9849                 1, at 27, 8696      Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                                United                                                             1:02-cv-01616,
395                                                          Charilyn          S.              Buchanan                   States          Brandon               J.            Buchanan                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3616       Parent                      4023 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                United                                                             8679-1, at 30,
396                                                          Kelsey            Coventry        Buchanan                   States          Brandon               J.            Buchanan                          States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                                United                                                             8679-1, at 29,
397                                                          Lindsay           S.              Buchanan                   States          Brandon               J.            Buchanan                          States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P3617,
                                                                                                                          United                                                                                United                                                             8393-1, at 6,
398                                                          Ronald            Bruce           Buchanan                   States          Brandon               J.            Buchanan                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
399                                                          Catherine         Morrison        Buck                       Unknown         Gregory               Joseph        Buck                              States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2736     Spouse                      5087 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                                United                                                             1:02-cv-01616,
400                                                          Eric              Ernst           Buck                       States          Gregory               Joseph        Buck                              States         9/11/01     NY (Other)   03-cv-9849                 1, at 96            Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                          United                                                                                United                                                             1, at 97, 8397-1,
401 Eric           Ernst              Buck                   Ernst             H.              Buck                       States          Gregory               Joseph        Buck                              States         9/11/01     NY (Other)   03-cv-9849                 at 3, 8433          Parent                      5138 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
402                                                          Josephine                         Buck                       Italy           Gregory               Joseph        Buck                              States         9/11/01     NY (Other)   03-cv-9849                 1, at 98            Parent                      4023 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                United                                                             1:02-cv-01616,
403                                                          John              C.              Buckley                    States          Dennis                              Buckley                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 938           Parent                      4023 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                          United                                                                                United                                                             3, at 939, 8397-
404 John           C.                 Buckley                Kathleen          M.              Buckley                    States          Dennis                              Buckley                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 3, 8433       Parent                      5062 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                United                                                             1:02-cv-01616,
405                                                          Kathleen          M.              Buckley                    States          Dennis                              Buckley                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 937           Spouse                      5848 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                          United                                                                                United                                                             3, at 937, 8393-
406                                                          Mary              Kathleen        Buckley                    States          Dennis                              Buckley                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 279, 8487     Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                          United                                                                                United                                                             3, at 937, 8393-
407                                                          Megan             Elizabeth       Buckley                    States          Dennis                              Buckley                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 280, 8487     Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                          United                                                                                United                                                             3, at 937, 8393-
408                                                          Michele           Anne            Buckley                    States          Dennis                              Buckley                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 281, 8487     Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                United                                                             1:02-cv-01616,
409                                                          Jane              Marie           Smithwick                  States          Dennis                              Buckley                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 940           Sibling                     3666 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:03-md-01570,
                                                                                                                                                                                                                                                                                   3477, at 410;
                                                                                                                          United                                                                                United                                                             8679-1, at 31,
410                                                          Charles           Gavin           McNulty                    States          Nancy                 Clare         Bueche                            States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     4126 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   313, at P4621,
                                                                                                                          United                                                                                United                                                             8397-1, at 19,
411 Charles        Gavin              McNulty                Helen             R.              McNulty                    States          Nancy                 Clare         Bueche                            States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      5138 at 3       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                             Page 16 of 170
                                                                                                          Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                      Filed 04/23/24             Page 18 of 171
                                                                                                                                                                         EXHIBIT B-1
                                                                                                                                                      SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                  Personal Representative                                            Claimant                                                                               9/11 Decedent                                                                       Claim Information                                                  Solatium Damages




                                                                                                                      Nationality




                                                                                                                                                                                                            Nationality
                                                                                                                       on 9/11




                                                                                                                                                                                                             on 9/11
                                                                                                         Claimant                                                                                                           Date of                                            Amendments &                       Document
 #      First       Middle            Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last              Suffix                              9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                           Suffix                                                                                                           Death                                               Substitutions                       ation

                                                                                                                    United                                                                                 United                                                             1:02-cv-01616,
412                                                   Martin            L.              McNulty                     States          Nancy                 Clare         Bueche                             States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4623      Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                                                                                                              432, at P5324,
                                                                                                                                                                                                           United                                                             8397-1, at 19,
413 Charles     Gavin           McNulty               Mary              Ellen           McNulty                     Unknown         Nancy                 Clare         Bueche                             States         9/11/01     NY (WTC)     03-cv-9849                 8433               Sibling                     5138 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                                 United                                                             1:02-cv-01616,
414                                                   Stephen           Joseph          McNulty                     States          Nancy                 Clare         Bueche                             States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4622      Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                                 United                                                             1:02-cv-01616,
415                                                   Frances           Marie           Bulaga                      States          John                  E.            Bulaga              Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4152      Parent                      4023 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                                 United                                                             1:02-cv-01616,
416                                                   Gail              Marie           Bulaga                      States          John                  E.            Bulaga              Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4153      Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                                 United                                                             1:02-cv-01616,
417                                                   John              E.              Bulaga          Sr.         States          John                  E.            Bulaga              Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4151      Parent                      4023 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4150,
                                                                                                                    United                                                                                 United                                                             8393-1, at 37,
418                                                   Michelle                          Bulaga                      States          John                  E.            Bulaga              Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      6035 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3618,
                                                                                                                                                                                                                                                                              8397-1, at 3,
                                                                                                                                                                                                           United                                                             8433, 8393-1, at
419 Susan                       Quigley               Aseneth                           Bunin                       Unknown         Stephen                             Bunin                              States         9/11/01     NY (WTC)     03-cv-9849                 76, 8487           Spouse                      5138 at 3       $        12,500,000.00 $   37,500,000.00

                                                                                                                    United                                                                                 United                                                             1:03-md-01570,
420                                                   Corinne           Loretta         Bunin                       States          Stephen                             Bunin                              States         9/11/01     NY (WTC)     03-cv-9849                 602, at P5473      Parent                      4126 at 4       $         8,500,000.00 $   25,500,000.00

                                                                                                                    United                                                                                 United                                                             1:03-md-01570,
421                                                   Kitty             Eileen          Bunin                       States          Stephen                             Bunin                              States         9/11/01     NY (WTC)     03-cv-9849                 602, at P5474      Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                                 United                                                             1:02-cv-01616,
422                                                   Alicia            Patricia        Burke                       States          Matthew               J.            Burke                              States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3619      Parent                      5062 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              77, at P2549,
                                                                                                                    United                                                                                 United                                                             8393-1, at 87,
423                                                   James             Martin          Burke                       States          William               F.            Burke               Jr.            States         9/11/01     NY (Other)   03-cv-9849                 8487               Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3620,
                                                                                                                    United                                                                                 United                                                             8393-1, at 54,
424                                                   John              Joseph          Burke                       States          Matthew               J.            Burke                              States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      5062 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                                 United                                                             8679-1, at 36,
425                                                   John              Joseph          Burke           Jr.         States          Matthew               J.            Burke                              States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                                 United                                                             8679-1, at 34,
426                                                   Kevin             Michael         Burke                       States          Matthew               J.            Burke                              States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                                 United                                                             8679-1, at 35,
427                                                   Paul              Kevin           Burke                       States          Matthew               J.            Burke                              States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                                 United                                                             8679-1, at 33,
428                                                   Terence           Patrick         Burke                       States          Matthew               J.            Burke                              States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                                 United                                                             8679-1, at 32,
429                                                   Alicia            Ann             Fitzgerald                  States          Matthew               J.            Burke                              States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              313, at P4624,
                                McDavitt-                                                                           United                                                                                 United                                                             8397-1, at 4,
430 Diane                       Burlingame            Bradley           M.              Burlingame                  States          Charles               F.            Burlingame          III            States         9/11/01     VA (AA77)    03-cv-9849                 8433               Sibling                     5087 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                                 United                                                             1:02-cv-01616,
431                                                   Debra             Ann             Burlingame                  States          Charles               F.            Burlingame          III            States         9/11/01     VA (AA77)    03-cv-9849                 305, at P4156      Sibling                     3666 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                                 United                                                             1:02-cv-01616,
432                                                   Mark              Wayne           Burlingame                  States          Charles               F.            Burlingame          III            States         9/11/01     VA (AA77)    03-cv-9849                 305, at P4155      Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
433                                                   Deena             Burnett         Bailey                      Unknown         Thomas                E.            Burnett             Jr.            States         9/11/01     PA (UA93)    03-cv-9849                 1, at 8            Spouse                      5062 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                    United                                                                                 United                                                             1, at 8, 8393-1,
434                                                   Anna              Clare           Burnett                     States          Thomas                E.            Burnett             Jr.            States         9/11/01     PA (UA93)    03-cv-9849                 at 1297, 8487      Child                       5061 at 3       $         8,500,000.00 $   25,500,000.00
    Mary                                                                                                            United                                                                                 United                                                             1:02-cv-01616,
435 Margaret                    Jurgens               Beverly                           Burnett                     States          Thomas                E.            Burnett             Jr.            States         9/11/01     PA (UA93)    03-cv-9849                 1, at 5            Parent                      3666 at 2       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                    United                                                                                 United                                                             1, at 8, 8393-1,
436                                                   Halley            Elizabeth       Burnett                     States          Thomas                E.            Burnett             Jr.            States         9/11/01     PA (UA93)    03-cv-9849                 at 1298, 8487      Child                       5061 at 3       $         8,500,000.00 $   25,500,000.00
    Mary                                                                                                            United                                                                                 United                                                             1:02-cv-01616,
437 Margaret                    Jurgens               Thomas            Edward          Burnett         Sr.         States          Thomas                E.            Burnett             Jr.            States         9/11/01     PA (UA93)    03-cv-9849                 1, at 4            Parent                      3666 at 2       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                    United                                                                                 United                                                             1, at 8, 8393-1,
438                                                   Madison           Margaret        Dettmer                     States          Thomas                E.            Burnett             Jr.            States         9/11/01     PA (UA93)    03-cv-9849                 at 1299, 8487      Child                       5061 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                                 United                                                             1:02-cv-01616,
439                                                   Mary Margaret                     Jurgens                     States          Thomas                E.            Burnett             Jr.            States         9/11/01     PA (UA93)    03-cv-9849                 1, at 9            Sibling                     3666 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                                 United                                                             1:02-cv-01616,
440                                                   Martha            Burnett         Pettee                      States          Thomas                E.            Burnett             Jr.            States         9/11/01     PA (UA93)    03-cv-9849                 1, at 10           Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                       Page 17 of 170
                                                                                                                Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                   Filed 04/23/24             Page 19 of 171
                                                                                                                                                                               EXHIBIT B-1
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                                 Claimant                                                                               9/11 Decedent                                                                    Claim Information                                                  Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                               Claimant                                                                                                        Date of                                            Amendments &                       Document
#       First          Middle            Last      Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                        Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                          United                                                                              United                                                             3, at 945, 8397-
441 Michael     John             Burns                      Agnes             Delores         Burns                       States          Keith                 James         Burns                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 4, 8433      Parent                      3666 at 2       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                              United                                                             3, at 944, 8397-
442 Michael     John             Burns                      Bernard           James           Burns                       Unknown         Keith                 James         Burns                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 4, 8433      Parent                      4126 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
443                                                         Jennifer          C.              Burns                       States          Keith                 James         Burns                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2745    Spouse                      5356 at 1       $        12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
444                                                         Michael           John            Burns                       States          Keith                 James         Burns                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 946          Sibling                     3666 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
445                                                         Maureen                           Burns-Dewland               States          Keith                 James         Burns                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 949          Sibling                     3666 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
446                                                         Colleen                           Cooper                      Unknown         Keith                 James         Burns                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 950          Sibling                     3666 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
447                                                         Linda                             Ellicott                    Unknown         Keith                 James         Burns                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 948          Sibling                     3666 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
448                                                         Diane             Marie           Shepherd                    Unknown         Keith                 James         Burns                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 947          Sibling                     3666 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
449 Thomas      Michael          Byrne                      Anne              P.              Byrne                       States          Patrick               D.            Byrne                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2755    Parent                      4023 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
450                                                         Francis           Xavier          Byrne                       States          Patrick               D.            Byrne                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2758    Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
451                                                         Garrett           Charles         Byrne                       States          Patrick               D.            Byrne                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2760    Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 2761,
                                                                                                                          United                                                                              United                                                             8397-1, at 4,
452 Robert      Jude             Stone                      Judith                            Byrne                       States          Patrick               D.            Byrne                           States         9/11/01     NY (Other)   03-cv-9849                 8433               Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 2759,
                                                                                                                          United                                                                              United                                                             8397-1, at 4,
453 Kasey       Leigh            Byrne-Lowenthal            Robert            Guy             Byrne           Jr.         States          Patrick               D.            Byrne                           States         9/11/01     NY (Other)   03-cv-9849                 8433               Sibling                     4126 at 4       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 2754,
                                                                                                                                                                                                                                                                                 8397-1, at 4,
                                                                                                                          United                                                                              United                                                             8433, 8393-1, at
454 Thomas      Michael          Byrne                      Robert            Guy             Byrne           Sr.         States          Patrick               D.            Byrne                           States         9/11/01     NY (Other)   03-cv-9849                 62, 8487           Parent                      4126 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
455                                                         Thomas            Michael         Byrne                       States          Patrick               D.            Byrne                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2756    Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
456                                                         William           James           Byrne                       States          Patrick               D.            Byrne                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2757    Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
457                                                         Joanne                            Finn                        States          Patrick               D.            Byrne                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2762    Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
458                                                         Catherine         Mary            Tolino                      States          Patrick               D.            Byrne                           States         9/11/01     NY (Other)   03-cv-9849                 155, at P2834      Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                             8679-1, at 38,
459                                                         Albert            E.              Caggiano        Jr.         States          Richard               M.            Caggiano                        States         9/11/01     NY (WTC)     03-cv-9849                 8696               Parent                      5087 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                             8679-1, at 37,
460                                                         Michael           Albert          Caggiano                    States          Richard               M.            Caggiano                        States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 77, at P2550,
                                                                                                                          United                                                                              United                                                             8393-1, at 68,
461                                                         Veronica                          Caggiano                    States          Richard               M.            Caggiano                        States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      4023 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at AP231,
                                                                                                                                                                                                              United                                                             5284-1, at 2,
462                                                         Antonio           Marella         Caguicla                    Philippines     Cecile                Marella       Caguicla                        States         9/11/01     NY (WTC)     03-cv-9849                 5296               Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at AP229,
                                                                                              Caguicla                                                                                                        United                                                             5284-1, at 2,
463                                                         Asuncion          Chona           Soriano                     Philippines     Cecile                Marella       Caguicla                        States         9/11/01     NY (WTC)     03-cv-9849                 5296               Sibling                     4126 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at AP232,
                                                                                                                                                                                                              United                                                             5284-1, at 2,
464                                                         Maria Mercedes Caguicla           Chavez                      Philippines     Cecile                Marella       Caguicla                        States         9/11/01     NY (WTC)     03-cv-9849                 5296               Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at AP228,
                                                                                                                                                                                                                                                                                 5284-1, at 2,
                                                                                                                                                                                                              United                                                             5296, 8393-1, at
465                                                         Natividad         Marella         Cruz                        Philippines     Cecile                Marella       Caguicla                        States         9/11/01     NY (WTC)     03-cv-9849                 8, 8487            Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at AP230,
                                                                                                                                                                                                              United                                                             5284-1, at 2,
466                                                         Bernardine        Gerie C.        Rana                        Australia       Cecile                Marella       Caguicla                        States         9/11/01     NY (WTC)     03-cv-9849                 5296               Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                             Page 18 of 170
                                                                                                          Case 1:03-md-01570-GBD-SN                                  Document 9716-2                                    Filed 04/23/24             Page 20 of 171
                                                                                                                                                                      EXHIBIT B-1
                                                                                                                                                   SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
              Personal Representative                                            Claimant                                                                                   9/11 Decedent                                                                  Claim Information                                                   Solatium Damages




                                                                                                                   Nationality




                                                                                                                                                                                                       Nationality
                                                                                                                    on 9/11




                                                                                                                                                                                                        on 9/11
                                                                                                      Claimant                                                                                                         Date of                                            Amendments &                        Document
#     First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle            Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                        Suffix                                                                                                         Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         232, at AP233,
                                                                                                                                                                                                      United                                                             5284-1, at 2,
467                                               Maria             Lourdes C.      Rodriguez                    Philippines     Cecile                Marella       Caguicla                         States         9/11/01     NY (WTC)     03-cv-9849                 5296                Sibling                     4023 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                         1:03-md-01570,
                                                                                                                                                                                                                                                                         432, at P5327,
                                                                                                                 United                                                                               United                                                             8393-1, at 55,
468                                               Colleen           Casey           Cahill                       States          Michael                             Cahill                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5848 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                         1:03-md-01570,
                                                                                                                                                                                                                                                                         432, at P5327,
                                                                                                                 United                                                                               United                                                             8393-1, at 896,
469                                               Conor             Michael         Cahill                       States          Michael                             Cahill                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00

                                                                                                                 United                                                                               United                                                             1:03-md-01570,
470                                               Evelyn            Mary            Cahill                       States          Michael                             Cahill                           States         9/11/01     NY (WTC)     03-cv-9849                 432, at P5329       Parent                      3666 at 2       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:03-md-01570,
                                                                                                                                                                                                                                                                         432, at P5327,
                                                                                                                 United                                                                               United                                                             8393-1, at 895,
471                                               Fiona                             Cahill                       States          Michael                             Cahill                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00

                                                                                                                 United                                                                               United                                                             1:03-md-01570,
472                                               James             Edward          Cahill                       States          Michael                             Cahill                           States         9/11/01     NY (WTC)     03-cv-9849                 432, at P5328       Parent                      3666 at 2       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         155, at P2836,
                                                                                                                 United                                                                               United                     NY                                      8393-1, at 36,
473                                               Sharon                            Cahill                       States          John                  B.            Cahill                           States         9/11/01     (UA175)      03-cv-9849                 8487                Spouse                      5087 at 6       $        12,500,000.00 $   37,500,000.00

                                                                                                                 United                                                                               United                                                             1:03-md-01570,
474                                               Denise            Marie           Troise                       States          Michael                             Cahill                           States         9/11/01     NY (WTC)     03-cv-9849                 432, at P5330       Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                         1:03-cv-09849,
                                                                                                                 United                                                                               United                                                             838, at 5; 8679-
475                                               Daniel            Aloysius        Cain            III          States          George                C.            Cain                             States         9/11/01     NY (Other)   03-cv-9849                 1, at 41, 8696      Sibling                     7188 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                         1:03-cv-09849,
                                                                                                                 United                                                                               United                                                             838, at 4; 8679-
476                                               Erin              Mary            Cain                         States          George                C.            Cain                             States         9/11/01     NY (Other)   03-cv-9849                 1, at 40, 8696      Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                 United                                                                               United                                                             1:02-cv-01616,
477                                               Rosemary                          Cain                         States          George                C.            Cain                             States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2773     Parent                      4023 at 6       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                         1:03-cv-09849,
                                                                                                                                                                                                      United                                                             838, at 18; 8679-
478                                               Nancy             Kathryn         Nee                          Unknown         George                C.            Cain                             States         9/11/01     NY (Other)   03-cv-9849                 1, at 39, 8696      Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         26, 29, at 2466,
                                                                                                                 United                                                                               United                                                             5284-1, at 2,
479                                               Deborah                           Calandrillo                  States          Joseph                M.            Calandrillo                      States         9/11/01     NY (WTC)     03-cv-9849                 5296                Spouse                      5061 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                         1:03-cv-9849,
                                                                                                                                                                                                                                 VA                                      HAND FILED, at
                                                                                    Calderon                                                                         Calderon-                        United                     (Pentagon                               P5012, 8393-1,
480                                               Gloria            Esperanza       Garcia                       Guatemala       Jose                  Orlando       Olmedo                           States         9/11/01     )            03-cv-9849                 at 40, 8487         Spouse                      5356 at 2       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                         1:03-cv-9849,
                                                                                                                                                                                                                                 VA                                      HAND FILED, at
                                                                                    Calderon                     United                                              Calderon-                        United                     (Pentagon                               P5012, 8393-1,
481                                               Vanessa           Aracely         Garcia                       States          Jose                  Orlando       Olmedo                           States         9/11/01     )            03-cv-9849                 at 649, 8487        Child                       5356 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:03-cv-9849,
                                                                                                                                                                                                                                 VA                                      HAND FILED, at
                                                                                    Calderon-                    United                                              Calderon-                        United                     (Pentagon                               P5012, 8393-1,
482                                               Jose              Orlando         Garcia                       States          Jose                  Orlando       Olmedo                           States         9/11/01     )            03-cv-9849                 at 650, 8487        Child                       5356 at 1       $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                               United                                                             8679-1, at 42,
483                                               Siobhan           Patricia        Berga                        States          Liam                                Callahan                         States         9/11/01     NY (Other)   03-cv-9849                 8696                Sibling                     7188 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         77, at P2554,
                                                                                                                 United                                                                               United                                                             8393-1, at 790,
484                                               Brian             J.              Callahan                     States          Liam                                Callahan                         States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                               United                                                             1:02-cv-01616,
485                                               Ellen             Elizabeth       Callahan                     States          Liam                                Callahan                         States         9/11/01     NY (Other)   03-cv-9849                 77, at P2552        Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                               United                                                             1:02-cv-01616,
486                                               James             J.              Callahan                     States          Liam                                Callahan                         States         9/11/01     NY (Other)   03-cv-9849                 77, at P2553        Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         77, at P2554,
                                                                                                                 United                                                                               United                                                             8393-1, at 49,
487                                               Joan              E.              Callahan                     States          Liam                                Callahan                         States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5848 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                 United                                                                               United                                                             1:02-cv-01616,
488                                               Bridget                           Gannello                     States          Liam                                Callahan                         States         9/11/01     NY (Other)   03-cv-9849                 77, at P2551        Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                     Page 19 of 170
                                                                                                                  Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                    Filed 04/23/24            Page 21 of 171
                                                                                                                                                                                 EXHIBIT B-1
                                                                                                                                                              SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                                 Claimant                                                                                9/11 Decedent                                                                   Claim Information                                                   Solatium Damages




                                                                                                                              Nationality




                                                                                                                                                                                                                  Nationality
                                                                                                                               on 9/11




                                                                                                                                                                                                                   on 9/11
                                                                                                                 Claimant                                                                                                         Date of                                           Amendments &                       Document
 #      First          Middle               Last     Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle            Last          Suffix                               9/11 Site       Case       Complaint                        Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                   Suffix                                                                                                         Death                                              Substitutions                       ation

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   432, at P4783,
                                                                                                                            United                                                                               United                                                            8393-1, at 79,
489                                                           Frank             Gerald          Jensen                      States          Suzanne               M.            Calley                           States         9/11/01     VA (AA77)   03-cv-9849                 8487               Spouse                      5951 at 7        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   305, at P4157,
                                                                                                                            United                                                                               United                                                            8397-1, at 14,
490 Scott       C.                 Calley                     Norma             Jean            Keleher                     States          Suzanne               M.            Calley                           States         9/11/01     VA (AA77)   03-cv-9849                 8433               Parent                      4023 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                               United                                                            1:02-cv-01616,
491                                                           Joseph            Michael         Cammarata       Sr.         States          Michael               F.            Cammarata                        States         9/11/01     NY (WTC)    03-cv-9849                 3, at 955          Parent                      5061 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                               United                                                            1:02-cv-01616,
492                                                           Joseph            Michael         Cammarata                   States          Michael               F.            Cammarata                        States         9/11/01     NY (WTC)    03-cv-9849                 3, at 958          Sibling                     5061 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                               United                                                            1:02-cv-01616,
493                                                           Kimberly          Dawn            Cammarata                   States          Michael               F.            Cammarata                        States         9/11/01     NY (WTC)    03-cv-9849                 3, at 959          Sibling                     5061 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                 United                                                            3, at 956, 8397-
494 Joseph      Michael            Cammarata       Sr.        Linda             Alice           Cammarata                   Unknown         Michael               F.            Cammarata                        States         9/11/01     NY (WTC)    03-cv-9849                 1, at 4, 8433      Parent                      5138 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                               United                                                            8679-1, at 43,
495                                                           Christopher       Randolph        Campbell                    States          David                 Otey          Campbell                         States         9/11/01     NY (WTC)    03-cv-9849                 8696               Child                       5356 at 2        $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                               United                                                            1:02-cv-01616,
496                                                           Cynthia           J.              Campbell                    States          David                 Otey          Campbell                         States         9/11/01     NY (WTC)    03-cv-9849                 3, at 962          Spouse                      5356 at 2        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                            United                                                                               United                                                            1, at 103, 8393-
497                                                           Jacob             Joseph          Campbell                    States          Jill                  Marie         Campbell                         States         9/11/01     NY (WTC)    03-cv-9849                 1, at 562, 8487    Child                       7188 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                            United                                                                               United                                                            3, at 962, 8393-
498                                                           Timothy           William         Campbell                    States          David                 Otey          Campbell                         States         9/11/01     NY (WTC)    03-cv-9849                 1, at 261, 8487    Child                       5356 at 2        $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                               United                                                            1:02-cv-01616,
499                                                           Jeanne            M.              Maurer                      States          Jill                  Marie         Campbell                         States         9/11/01     NY (WTC)    03-cv-9849                 1, at 104          Parent                      4023 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                            United                                                                               United                                                            1, at 106, 8397-
500 Jeanne      M.                 Maurer                     Joseph                            Maurer                      States          Jill                  Marie         Campbell                         States         9/11/01     NY (WTC)    03-cv-9849                 1, at 18, 8433     Parent                      7188 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                               United                                                            1:02-cv-01616,
501                                                           Linda             Ann             Maurer                      States          Jill                  Marie         Campbell                         States         9/11/01     NY (WTC)    03-cv-9849                 1, at 105          Sibling                     4023 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                               United                                                            1:02-cv-01616,
502                                                           Ciaran            Robert          Canavan                     States          Sean                  Thomas        Canavan                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 114          Sibling                     4023 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                               United                                                            1:02-cv-01616,
503                                                           Kathleen          A.              Canavan                     States          Sean                  Thomas        Canavan                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 113          Sibling                     4126 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                               United                                                            1:02-cv-01616,
504                                                           Margaret          Rose            Canavan                     States          Sean                  Thomas        Canavan                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 109          Parent                      4023 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                 United                                                            1, at 110, 8397-
505 Margaret    Rose               Canavan                    Thomas            Kieran          Canavan                     Ireland         Sean                  Thomas        Canavan                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 4, 8433      Parent                      4023 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                               United                                                            1:02-cv-01616,
506                                                           Claire            Teresa          McCaffery                   States          Sean                  Thomas        Canavan                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 112          Sibling                     4023 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                               United                                                            1:02-cv-01616,
507                                                           Rosemary          Celine          Traynor                     States          Sean                  Thomas        Canavan                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 111          Sibling                     4023 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                               United                                                            1:02-cv-01616,
508                                                           Helen             Jeffrey         Cangialosi                  States          Stephen               Jeffrey       Cangialosi                       States         9/11/01     NY (WTC)    03-cv-9849                 3, at 967          Parent                      5087 at 6        $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                            United                                                                               United                                                            3, at 965, 8393-
509                                                           Jeffrey           S.              Cangialosi                  States          Stephen               Jeffrey       Cangialosi                       States         9/11/01     NY (WTC)    03-cv-9849                 1, at 1240, 8487   Child                       5061 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                               United                                                            1:02-cv-01616,
510                                                           Karen             D.              Cangialosi                  States          Stephen               Jeffrey       Cangialosi                       States         9/11/01     NY (WTC)    03-cv-9849                 3, at 965          Spouse                      5061 at 4        $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                            United                                                                               United                                                            3, at 965, 8393-
511                                                           Peter             Thomas          Cangialosi                  States          Stephen               Jeffrey       Cangialosi                       States         9/11/01     NY (WTC)    03-cv-9849                 1, at 1241, 8487   Child                       5061 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                 United                                                            1:02-cv-01616,
512                                                           Thomas            Jerome          Cangialosi      Jr.         Unknown         Stephen               Jeffrey       Cangialosi                       States         9/11/01     NY (WTC)    03-cv-9849                 3, at 968          Sibling                     3666 at 2        $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                               United                                                            1:02-cv-01616,
513                                                           Thomas            Jerome          Cangialosi      Sr.         States          Stephen               Jeffrey       Cangialosi                       States         9/11/01     NY (WTC)    03-cv-9849                 3, at 966          Parent                      5087 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                               United                                                            1:02-cv-01616,
514                                                           Elizabeth         Anne            Dickey                      States          Stephen               Jeffrey       Cangialosi                       States         9/11/01     NY (WTC)    03-cv-9849                 3, at 969          Sibling                     3666 at 2        $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                               United                                                            1:02-cv-01616,
515                                                           Kathleen          Cangialosi      Rue                         States          Stephen               Jeffrey       Cangialosi                       States         9/11/01     NY (WTC)    03-cv-9849                 3, at 970          Sibling                     4023 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                               United                                                            1:02-cv-01616,
516                                                           Richard                           Cannava                     States          Lisa                                Cannava                          States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2786    Spouse                      5356 at 2        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                 United                                                            1:02-cv-01616,
517                                                           Antonio                           DiFato                      Unknown         Lisa                                Cannava                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 117          Parent                      3666 at 2, 4     $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                 United                                                            1:02-cv-01616,
518                                                           Teresa                            DiFato                      Unknown         Lisa                                Cannava                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 115          Parent                      3666 at 2, 4     $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                                Page 20 of 170
                                                                                                                  Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                   Filed 04/23/24             Page 22 of 171
                                                                                                                                                                                 EXHIBIT B-1
                                                                                                                                                              SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                        Personal Representative                                              Claimant                                                                                9/11 Decedent                                                                   Claim Information                                                  Solatium Damages




                                                                                                                              Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                               on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                                 Claimant                                                                                                        Date of                                            Amendments &                       Document
 #         First          Middle              Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                   Suffix                                                                                                        Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   432, at P4785,
                                                                                                                            United                                                                              United                                                             8397-1, at 4,
519 Simone                            Cannizzaro              Carol             A.              Cannizzaro                  States          Brian                               Cannizzaro                      States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      5061 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
520                                                           Charles                           Cannizzaro                  States          Brian                               Cannizzaro                      States         9/11/01     NY (Other)   03-cv-9849                 232, at P3621      Sibling                     5138 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
521                                                           Craig             Michael         Cannizzaro                  Unknown         Brian                               Cannizzaro                      States         9/11/01     NY (Other)   03-cv-9849                 432, at P4786      Sibling                     3666 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
522                                                           Simone                            Cannizzaro                  States          Brian                               Cannizzaro                      States         9/11/01     NY (Other)   03-cv-9849                 432, at P4784      Parent                      3666 at 2       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P2837,
                                                                                                                            United                                                                              United                                                             8393-1, at 59,
523 Peter          Matthew            Canty                   Edward            J.              Canty                       States          Michael               R.            Canty                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      5062 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P2838,
                                                                                                                            United                                                                              United                                                             8397-1, at 4,
524 Kristin        M.                 Canty                   James             E.              Canty                       States          Michael               R.            Canty                           States 9/11/01             NY (WTC)     03-cv-9849                 8433               Sibling                     5138 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
525                                                           John              William         Canty                       States          Michael               R.            Canty                           States 9/11/01             NY (WTC)     03-cv-9849                 232, at P3622      Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
526 Peter          Matthew            Canty                   Kathryn           Frey            Canty                       States          Michael               R.            Canty                           States 9/11/01             NY (WTC)     03-cv-9849                 155, at P2839      Parent                      5062 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
527                                                           Mary              Kathryn         Canty                       States          Michael               R.            Canty                           States 9/11/01             NY (WTC)     03-cv-9849                 155, at P2840      Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
528                                                           Peter             Matthew         Canty                       States          Michael               R.            Canty                           States 9/11/01             NY (WTC)     03-cv-9849                 155, at P2841      Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
529                                                           Thomas            Patrick         Canty                       States          Michael               R.            Canty                           States 9/11/01             NY (WTC)     03-cv-9849                 155, at P2842      Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
530                                                           Timothy           Martin          Canty                       States          Michael               R.            Canty                           States 9/11/01             NY (WTC)     03-cv-9849                 155, at P2843      Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
531                                                           William           J.              Canty                       States          Michael               R.            Canty                           States 9/11/01             NY (WTC)     03-cv-9849                 155, at P2844      Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
532                                                           Catherine                         Deasy                       States          Michael               R.            Canty                           States 9/11/01             NY (WTC)     03-cv-9849                 155, at P2846      Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              Unknow                                                             1:02-cv-01616,
533                                                           Frank             Louis           Caporicci                   States          Louis                 A.            Caporicci                       n      9/11/01             NY (WTC)     03-cv-9849                 3, at 976          Sibling                     3666 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              Unknow                                                             1:02-cv-01616,
534                                                           Joseph            Anthony         Caporicci                   States          Louis                 A.            Caporicci                       n      9/11/01             NY (WTC)     03-cv-9849                 3, at 975          Sibling                     3666 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              Unknow                                                             1:02-cv-01616,
535                                                           Nicholas          Francis         Caporicci                   States          Louis                 A.            Caporicci                       n      9/11/01             NY (WTC)     03-cv-9849                 3, at 972          Parent                      3666 at 2       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              Unknow                                                             1:02-cv-01616,
536                                                           Nicholas          Francis         Caporicci       Jr.         States          Louis                 A.            Caporicci                       n      9/11/01             NY (WTC)     03-cv-9849                 3, at 974          Sibling                     3666 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                            United                                                                              Unknow                                                             3, at 973, 8397-
537 Nicholas       Francis            Caporicci               Patricia          Ann             Caporicci                   States          Louis                 A.            Caporicci                       n      9/11/01             NY (WTC)     03-cv-9849                 1, at 5, 8433      Parent                      3666 at 2       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
538                                                           Claudia           Marie           Cappello                    States          Jonathan                            Cappello                        States 9/11/01             NY (WTC)     03-cv-9849                 232, at P3623      Parent                      4023 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
539                                                           James             Matthew         Cappello                    States          Jonathan                            Cappello                        States 9/11/01             NY (WTC)     03-cv-9849                 232, at P3624      Sibling                     7188 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P3625,
                                                                                                                            United                                                                              United                                                             8393-1, at 40,
540                                                           Robert            Emanuel         Cappello        Sr.         States          Jonathan                            Cappello                        States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      4023 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
541                                                           Robert            Emanuel         Cappello        Jr.         States          Jonathan                            Cappello                        States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3626      Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:03-md-01570,
                                                                                                                                                                                                                                                                                   432, at P5331,
                                                                                                                            United                                                                              United                                                             8393-1, at 30,
542                                                           Kathleen          Vieira          Pfitzer                     States          James                 C.            Cappers                         States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5848 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
543                                                           Dennis            M.              Carey           Jr.         Unknown         Dennis                M.            Carey                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2800    Child                       5087 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2799,
                                                                                                                            United                                                                              United                                                             8393-1, at 18,
544                                                           Jean                              Carey                       States          Dennis                M.            Carey                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5087 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2806,
                                                                                                                            United                                                                              United                                                             8397-1, at 5,
545 Lawrence                          Barry                   Phyllis                           Carlo                       States          Michael               Scott         Carlo                           States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      4023 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
546 Joni           Jane               Carlo                   Robert            D.              Carlo                       States          Michael               Scott         Carlo                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2805    Parent                      4023 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
547                                                           Robert            E.              Carlo                       States          Michael               Scott         Carlo                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2804    Sibling                     7188 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                     NY                                      8679-1, at 44,
548                                                           Jan               Mikael          Carstanjen                  States          Christoffer           Mikael        Carstanjen                      States         9/11/01     (UA175)      03-cv-9849                 8696               Sibling                     5087 at 6       $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                               Page 21 of 170
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                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                               Claimant                                                                                 9/11 Decedent                                                                  Claim Information                                                  Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                              Claimant                                                                                                         Date of                                           Amendments &                       Document
 #       First         Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First             Middle           Last          Suffix                               9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                Suffix                                                                                                         Death                                              Substitutions                       ation

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                305, at
                                                                                                                         United                                                                               United                     NY                                     P4160,8393-1, at
549                                                       Mikael            Christoffer     Carstanjen                   States          Christoffer           Mikael         Carstanjen                      States         9/11/01     (UA175)     03-cv-9849                 10, 8487           Parent                      4023 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                     NY                                     1:02-cv-01616,
550                                                       Mary              E.              Jones                        Unknown         Christoffer           Mikael         Carstanjen                      States         9/11/01     (UA175)     03-cv-9849                 432, at P4788      Parent                      4023 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                         VA
                                                                                                                                                                                                              United                     (Pentagon                              1:02-cv-01616,
551                                                       Arthur            O.              Carver                       Unknown         Sharon                Ann            Carver                          States         9/11/01     )           03-cv-9849                 305, at P4162      Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                         VA
                                                                                                                                                                                                              United                     (Pentagon                              1:02-cv-01616,
552                                                       Janet                             Carver                       Unknown         Sharon                Ann            Carver                          States         9/11/01     )           03-cv-9849                 305, at P4166      Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                         VA
                                                                                                                                                                                                              United                     (Pentagon                              1:02-cv-01616,
553                                                       Reginald                          Carver                       Unknown         Sharon                Ann            Carver                          States         9/11/01     )           03-cv-9849                 305, at P4164      Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                         VA                                     305, at P4161,
                                                                                                                                                                                                              United                     (Pentagon                              8393-1, at 75,
554                                                       Sylvia            Annette         Carver                       Unknown         Sharon                Ann            Carver                          States         9/11/01     )           03-cv-9849                 8487               Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                         VA
                                                                                                                                                                                                              United                     (Pentagon                              1:02-cv-01616,
555                                                       Veronica                          Carver                       Unknown         Sharon                Ann            Carver                          States         9/11/01     )           03-cv-9849                 305, at P4170      Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                         VA
                                                                                                                         United                                                                               United                     (Pentagon                              1:02-cv-01616,
556                                                       Tangela           Yvette          Wilkes                       States          Sharon                Ann            Carver                          States         9/11/01     )           03-cv-9849                 305, at P4168      Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                         United                                                                               United                                                            1, at 767, 8393-
557                                                       John              F.              Casazza                      States          John                  Francis        Casazza                         States         9/11/01     NY (WTC)    03-cv-9849                 1, at 601, 8487    Child                       4023 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                         United                                                                               United                                                            1, at 767, 5284-
558                                                       Patricia          D.              Casazza                      States          John                  Francis        Casazza                         States         9/11/01     NY (WTC)    03-cv-9849                 1, at 2, 5296      Spouse                      4023 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                313, at P4625,
                                                                                                                         United                                Anne                                           United                                                            8393-1, at 61,
559                                                       Michael           W.              Casey                        States          Neilie                Heffernan      Casey                           States         9/11/01     NY (AA11)   03-cv-9849                 8487               Spouse                      5848 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                313, at P4625,
                                                                                                                                                               Anne                                           United                                                            8393-1, at 983,
560                                                       Riley             Eileen          Casey                        Unknown         Neilie                Heffernan      Casey                           States         9/11/01     NY (AA11)   03-cv-9849                 8487               Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                Anne                                           United                                                            1:02-cv-01616,
561                                                       Anne              Theresa         Heffernan                    States          Neilie                Heffernan      Casey                           States         9/11/01     NY (AA11)   03-cv-9849                 313, at P4626      Parent                      4023 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                Anne                                           United                                                            8679-1, at 46,
562                                                       Eileen            Josephine       Heffernan                    States          Neilie                Heffernan      Casey                           States         9/11/01     NY (AA11)   03-cv-9849                 8696               Sibling                     7188 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                Anne                                           United                                                            8679-1, at 45,
563                                                       Lynsey            Marie           Heffernan                    States          Neilie                Heffernan      Casey                           States         9/11/01     NY (AA11)   03-cv-9849                 8696               Sibling                     7188 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                Anne                                           United                                                            8679-1, at 47,
564                                                       Neil              Thomas          Heffernan       III          States          Neilie                Heffernan      Casey                           States         9/11/01     NY (AA11)   03-cv-9849                 8696               Sibling                     7188 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                432, at P4790,
    Eileen;                                                                                                              United                                                                               Unknow                                                            8397-1, at 13,
565 Maureen      Ann              Mosca; Hunt             Mary              Ann             Hunt                         States          Kathleen              Ann Hunt       Casey                           n      9/11/01             NY (WTC)    03-cv-9849                 8433               Parent                      5087 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               Unknow                                                            1:02-cv-01616,
566                                                       Maureen                           Hunt                         States          Kathleen              Ann Hunt       Casey                           n      9/11/01             NY (WTC)    03-cv-9849                 432, at P4792      Sibling                     3666 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               Unknow                                                            1:02-cv-01616,
567                                                       Eileen            Ann             Mosca                        States          Kathleen              Ann Hunt       Casey                           n      9/11/01             NY (WTC)    03-cv-9849                 432, at P4791      Sibling                     3666 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2817,
                                                                                                                         United                                                                               United                                                            8397-1, at 5,
568 Maureen                       Keefe                   Margaret          Ann             Cashman                      States          William               Joseph         Cashman                         States         9/11/01     PA (UA93)   03-cv-9849                 8433               Spouse                      5087 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                         United                                                                               United                                                            1, at 860, 8397-
569 Janice       Lucille          Kurtz                   Charles           L.              Caspar          Jr.          States          William               Otto           Caspar                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 5, 8433      Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                         United                                                                               United                                                            1, at 861, 8397-
570 Janice       Lucille          Kurtz                   Madeline          Agnes           Caspar                       States          William               Otto           Caspar                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 5, 8433      Parent                      5062 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                         United                                                                               United                                                            1, at 859, 8393-
571                                                       Janice            Lucille         Kurtz                        States          William               Otto           Caspar                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 88, 8487     Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                         United                                                                               United                                                            1, at 858, 5284-
572                                                       Margaret          A.              Richardson                   States          William               Otto           Caspar                          States 9/11/01             NY (WTC)    03-cv-9849                 1, at 4, 5296      Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               Unknow                                                            1:02-cv-01616,
573                                                       Lynn              M.              Castrianno                   States          Leonard               M.             Castrianno                      n      9/11/01             NY (WTC)    03-cv-9849                 77, at P2556       Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                            1:02-cv-01616,
574                                                       Andrew            Scott           Cavalier                     States          Judson                               Cavalier                        States 9/11/01             NY (WTC)    03-cv-9849                 305, at P4174      Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                             Page 22 of 170
                                                                                                                   Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                  Filed 04/23/24             Page 24 of 171
                                                                                                                                                                                  EXHIBIT B-1
                                                                                                                                                               SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                         Personal Representative                                              Claimant                                                                                  9/11 Decedent                                                                Claim Information                                                   Solatium Damages




                                                                                                                               Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                                on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                                  Claimant                                                                                                       Date of                                            Amendments &                        Document
 #          First          Middle              Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle          Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                    Suffix                                                                                                       Death                                               Substitutions                        ation

                                                                                                                             United                                                                             United                                                             1:02-cv-01616,
575                                                            Bradford          Gerard          Cavalier                    States          Judson                              Cavalier                       States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4175       Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   305, at P4172,
                                                                                                                             United                                                                             United                                                             8393-1, at 44,
576                                                            Gerard            Charles         Cavalier        Jr.         States          Judson                              Cavalier                       States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                             United                                                             1:02-cv-01616,
577                                                            Linda             Alicia          Cavalier                    States          Judson                              Cavalier                       States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4173       Parent                      4023 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                             United                                                             1:02-cv-01616,
578                                                            Brendan           K.              Cawley                      States          Michael               Joseph        Cawley                         States         9/11/01     NY (Other)   03-cv-9849                 77, at P2557        Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2823,
                                                                                                                             United                                                                             United                                                             8393-1, at 58,
579 Brendan         K.                 Cawley                  John              J.              Cawley                      States          Michael               Joseph        Cawley                         States 9/11/01             NY (Other)   03-cv-9849                 8487                Parent                      4023 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                             United                                                             1:02-cv-01616,
580                                                            Kristin           Anne            Cawley                      States          Michael               Joseph        Cawley                         States 9/11/01             NY (Other)   03-cv-9849                 77, at P2558        Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                             United                                                             1:02-cv-01616,
581                                                            Margaret          M.              Cawley                      States          Michael               Joseph        Cawley                         States 9/11/01             NY (Other)   03-cv-9849                 26, 29, at 2824     Parent                      4023 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                             Unknow                                                             1:02-cv-01616,
582                                                            Jordan                            Cayne                       States          Jason                 David         Cayne                          n      9/11/01             NY (WTC)     03-cv-9849                 1, at 120           Parent                      4023 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                             Unknow                                                             1:02-cv-01616,
583                                                            Suzan                             Cayne                       States          Jason                 David         Cayne                          n      9/11/01             NY (WTC)     03-cv-9849                 1, at 119           Parent                      4023 at 7       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                             United                                                                             United                                                             3, at 1796, 5284-
584                                                            Alicia            Ruth            Bush                        States          Jeffrey               M.            Chairnoff                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 2, 5296       Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                             United                                                                             United                                                             3, at 1795, 8393-
585                                                            Benjamin          R.              Chairnoff                   States          Jeffrey               M.            Chairnoff                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 542, 8487     Child                       5356 at 2       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                             United                                                                             United                                                             3, at 1795, 5284-
586                                                            Helaine           Kaminsky        Chairnoff                   States          Jeffrey               M.            Chairnoff                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 2, 5296       Spouse                      5356 at 2       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                             United                                                                             United                                                             3, at 1795, 8393-
587                                                            Sarah             R.              Chairnoff                   States          Jeffrey               M.            Chairnoff                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 541, 8487     Child                       5356 at 2       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                             United                                                                             United                                                             3, at 1797, 5284-
588                                                            Deborah           Ellen           Sherman                     States          Jeffrey               M.            Chairnoff                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 2, 5296       Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                             United                                                             1:02-cv-01616,
589                                                            Brian             Kevin           Chalcoff                    States          William               Alexander     Chalcoff                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1885     Child                       6035 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                             United                                                             1:02-cv-01616,
590                                                            Eric              Jonathan        Chalcoff                    States          William               Alexander     Chalcoff                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1886     Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                             United                                                             1:02-cv-01616,
591                                                            Michelle          Ruth            Chalcoff                    States          William               Alexander     Chalcoff                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1884     Spouse                      6035 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                             United                                                                             United                                                             1:02-cv-01616,
592                                                            Christopher       J.              Chan                        States          Charles               L.            Chan                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2832     Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                             United                                                             1:02-cv-01616,
593                                                            Craig             Anthony         Chan                        States          Charles               L.            Chan                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2831     Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                             United                                                             1:02-cv-01616,
594                                                            John              Oland           Chan                        States          Charles               L.            Chan                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2830     Parent                      4023 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                             United                                                             1:02-cv-01616,
595                                                            Julia             Ann             Chan                        States          Charles               L.            Chan                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2829     Parent                      4023 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                             United                                                             1:02-cv-01616,
596                                                            Mark              A.              Chan                        States          Charles               L.            Chan                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2834     Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                             United                                                             1:02-cv-01616,
597                                                            Matthew           P.              Chan                        States          Charles               L.            Chan                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2833     Sibling                     4023 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2829,
                                                                                                                             United                                                                             United                                                             8393-1, at 141,
598                                                            Michael           J.              Chan                        States          Charles               L.            Chan                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Sibling                     4126 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                           VA                                      77, at P2559,
                                                                                                                             United                                                                             United                     (Pentagon                               8397-1, at 5,
599 Denise          Reid               Chapa                   John              J.              Chapa                       States          Rosa                  Marie         Chapa                          States         9/11/01     )            03-cv-9849                 8433                Child                       4126 at 4       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2837,
                                                                                                                                                                                                                                           VA                                      8397-1, at 5,
                                                                                                                                                                                                                United                     (Pentagon                               8433, 8393-1, at
600 Julie           A.                 Field                   Jose              Javier          Chapa                       Unknown         Rosa                  Marie         Chapa                          States         9/11/01     )            03-cv-9849                 73, 8487            Spouse                      5087 at 6       $        12,500,000.00 $   37,500,000.00




                                                                                                                                                                                               Page 23 of 170
                                                                                                         Case 1:03-md-01570-GBD-SN                                    Document 9716-2                                Filed 04/23/24            Page 25 of 171
                                                                                                                                                                       EXHIBIT B-1
                                                                                                                                                    SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                            Claimant                                                                            9/11 Decedent                                                                Claim Information                                                  Solatium Damages




                                                                                                                      Nationality




                                                                                                                                                                                                    Nationality
                                                                                                                       on 9/11




                                                                                                                                                                                                     on 9/11
                                                                                                         Claimant                                                                                                   Date of                                           Amendments &                       Document
#          First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                      First            Middle        Last          Suffix                               9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                           Suffix                                                                                                   Death                                              Substitutions                       ation

                                                                                                                                                                                                                              VA
                                                                                                                    United                                                                         United                     (Pentagon                              1:02-cv-01616,
601                                                    Roger             Anthony         Chapa                      States          Rosa                Marie         Chapa                        States         9/11/01     )           03-cv-9849                 77, at P2560       Child                       4023 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                              VA
                                                                                                                    United                                                                         United                     (Pentagon                              1:02-cv-01616,
602                                                    Grace             Elaine          Ellis                      States          Rosa                Marie         Chapa                        States         9/11/01     )           03-cv-9849                 77, at P2586       Child                       4023 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                              VA
                                                                                                                    United                                                                         United                     (Pentagon                              1:02-cv-01616,
603                                                    Julie             A.              Field                      States          Rosa                Marie         Chapa                        States         9/11/01     )           03-cv-9849                 26, 29, at 2838    Child                       4023 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                              VA
                                                                                                                    United                                                                         United                     (Pentagon                              1:02-cv-01616,
604                                                    Elza              Marie           McGowan                    States          Rosa                Marie         Chapa                        States         9/11/01     )           03-cv-9849                 77, at P2561       Child                       4023 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                     232, at P3631,
                                                                                                                    United                                                                         United                                                            8393-1, at 840,
605                                                    Andrew            Denton          Charette                   States          Mark                L.            Charette                     States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                         United                                                            8679-1, at 48,
606                                                    Donnalee          Margaret        Charette                   States          Mark                L.            Charette                     States         9/11/01     NY (WTC)    03-cv-9849                 8696               Parent                      7188 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                     232, at P3631,
                                                                                                                    United                                                                         United                                                            8393-1, at 841,
607                                                    Jonathan          Hunter          Charette                   States          Mark                L.            Charette                     States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                     232, at P3631,
                                                                                                                    United                                                                         United                                                            8393-1, at 842,
608                                                    Lauren            Casey           Charette                   States          Mark                L.            Charette                     States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                         United                                                            8679-1, at 49,
609                                                    Lawrence          Royal           Charette                   States          Mark                L.            Charette                     States         9/11/01     NY (WTC)    03-cv-9849                 8696               Parent                      7188 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                     232, at P3631,
                                                                                                                    United                                                                         United                                                            8393-1, at 52,
610                                                    Cheryl            Ann             Desmarais                  States          Mark                L.            Charette                     States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5087 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                     305, at P4176,
                                                                                                                    United                                                                         United                                                            8393-1, at 65,
611                                                    Marmily           Florence        Cabrera                    States          Pedro                             Checo                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5138 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                     305, at P4176,
                                                                                                                                                                                                   United                                                            8466-1, at 2,
612                                                    Franklin          George          Checo                      Unknown         Pedro                             Checo                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       7188 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                     305, at P4176,
                                                                                                                    United                                                                         United                                                            8393-1, at 1043,
613                                                    Jasen                             Checo                      States          Pedro                             Checo                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5138 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                     305, at P4176,
                                                                                                                    United                                                                         United                                                            8393-1, at 1044,
614                                                    Julian                            Checo                      States          Pedro                             Checo                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5138 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                     232, at P3634,
                                                                                                                    United                                                                         United                                                            8393-1, at 1243,
615                                                    Brett             Scott           Cherry                     States          Stephen             Patrick       Cherry                       States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                     232, at P3634,
                                                                                                                    United                                                                         United                                                            8393-1, at 1244,
616                                                    Colton            Patrick         Cherry                     States          Stephen             Patrick       Cherry                       States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                     232, at P3633,
                                                                                                                    United                                                                         United                                                            8397-1, at 5,
617 Brad                         Goldberg              Donald            Ross            Cherry                     States          Stephen             Patrick       Cherry                       States         9/11/01     NY (WTC)    03-cv-9849                 8433               Parent                      5138 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                         United                                                            8679-1, at 50,
618                                                    Jennifer          Joy             Cherry                     States          Stephen             Patrick       Cherry                       States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     7188 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                     232, at P3634,
                                                                                                                    United                                                                         United                                                            8393-1, at 77,
619                                                    Mary              Ellen           Cherry                     States          Stephen             Patrick       Cherry                       States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5061 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                     232, at P3634,
                                                                                                                    United                                                                         United                                                            8393-1, at 1245,
620                                                    Peter             Ross            Cherry                     States          Stephen             Patrick       Cherry                       States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                   United                                                            1:02-cv-01616,
621                                                    Shawn             R.              Cherry                     Unknown         Stephen             Patrick       Cherry                       States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3635      Sibling                     3666 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                         United                                                            1:02-cv-01616,
622                                                    Sharon            K.              Mullin                     States          Stephen             Patrick       Cherry                       States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3636      Parent                      4023 at 8       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                  Page 24 of 170
                                                                                                               Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                    Filed 04/23/24             Page 26 of 171
                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                               Claimant                                                                                  9/11 Decedent                                                                   Claim Information                                                    Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                                Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                                 on 9/11
                                                                                                              Claimant                                                                                                          Date of                                            Amendments &                        Document
 #       First          Middle           Last     Suffix    Claimant First   Claimant Middle Claimant Last                                         First             Middle            Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                Suffix                                                                                                          Death                                               Substitutions                        ation



                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                               United                                                             3, at 1817, 5284-
623                                                        Brittany          Sage            Chevalier                   Unknown         Swede                 Joseph         Chevalier                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 2, 5296       Sibling                     4023 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
624                                                        Mauricio                          Chevalier                   States          Nestor                Julio          Chevalier            Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3637       Sibling                     4023 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
625                                                        Nestor            J.              Chevalier       Sr.         States          Nestor                Julio          Chevalier            Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3638       Parent                      4126 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
626                                                        Vernon            F.              Chevalier       Jr.         States          Swede                 Joseph         Chevalier                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2842     Parent                      4023 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:03-md-01570,
                                                                                                                                                                                                                                                                                  602, at P5478,
                                                                                                                                                                                                               United                                                             8397-1, at 1,
627 Evelyn                        Diaz                     Irene             J.              Arguelles                   Unknown         Dorothy               J.             Chiarchiaro                      States         9/11/01     NY (WTC)     03-cv-9849                 8433                Sibling                     3666 at 2        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
628                                                        Nicholas          James           Chiarchiaro                 States          Dorothy               J.             Chiarchiaro                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 126           Child                       3666 at 2        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
629                                                        Nicholas          Mario           Chiarchiaro     Sr.         States          Dorothy               J.             Chiarchiaro                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 125           Spouse                      5848 at 4        $        12,500,000.00 $   37,500,000.00

                                                                                                                         United                                                                                United                                                             1:03-md-01570,
630                                                        Evelyn                            Diaz                        States          Dorothy               J.             Chiarchiaro                      States         9/11/01     NY (WTC)     03-cv-9849                 602, at P5477       Sibling                     3666 at 2        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
631                                                        Lisa              Maria           Dreher                      States          Dorothy               J.             Chiarchiaro                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 127           Child                       3666 at 2        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  155, at P2847,
                                                                                                                         United                                                                                United                                                             8393-1, at 61,
632 Nicholas     Paul             Chiofalo      Jr.        Joan              Nardello        Chiofalo                    States          Nicholas              Paul           Chiofalo                         States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5848 at 4        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  155, at P2847,
                                                                                                                         United                                                                                United                                                             8393-1, at 988,
633                                                        Nicholas          Paul            Chiofalo        Jr.         States          Nicholas              Paul           Chiofalo                         States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5062 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  232, at P3640,
                                                                                                                         United                                                                                United                                                             8393-1, at 38,
634                                                        Gerard            Michael         Chipura                     States          John                  G.             Chipura                          States         9/11/01     NY (Other)   03-cv-9849                 8487                Sibling                     4023 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
635                                                        Nancy             Jane            Chipura                     States          John                  G.             Chipura                          States         9/11/01     NY (Other)   03-cv-9849                 232, at P3641       Sibling                     4126 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
636                                                        Eileen            M               Chipura Cella               States          John                  G.             Chipura                          States         9/11/01     NY (Other)   03-cv-9849                 305, at P4177       Sibling                     4023 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  232, at P3642,
                                                                                                                         United                                                                                United                                                             8393-1, at 38,
637                                                        Susan             G.              Cohen                       States          John                  G.             Chipura                          States         9/11/01     NY (Other)   03-cv-9849                 8487                Sibling                     4023 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                               United                                                             1, at 689, 8466-
638                                                        N.                                C.                          Unknown         Peter                                Chirchirillo                     States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1, 8487       Child                       3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  77, at P2563,
                                                                                                                         United                                                                                United                                                             8393-1, at 8,
639                                                        David             S.              Chirls                      States          Catherine             Ellen          Chirls                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5848 at 4        $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
640                                                        Nicholas          Benjamin        Chirls                      States          Catherine             Ellen          Chirls                           States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2565        Child                       5979 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
641                                                        Sydney            Rose            Chirls                      States          Catherine             Ellen          Chirls                           States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2566        Child                       5087 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
642                                                        Jin               Hee             Cho                         States          Kyung                 Hee            Cho                              States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2567        Sibling                     4023 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
643                                                        Myung             Hee             Cho                         Korea           Kyung                 Hee            Cho                              States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2568        Sibling                     4023 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  77, at P2569,
                                                                                                                         United                                                                                United                                                             8393-1, at 48,
644                                                        Yuree                             Cho                         States          Kyung                 Hee            Cho                              States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
645                                                        Charles                           Christophe                  States          Kirsten               L.             Christophe                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2849     Spouse                      5061 at 4        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 2849,
                                                                                                                         United                                                                                United                                                             8393-1, at 760,
646                                                        Gretchen          Dagmar          Christophe                  States          Kirsten               L.             Christophe                       States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
647                                                        Pui               Lin             Chung                       China           Wai                   C.             Chung                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2854     Parent                      5087 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
648                                                        Richard           Wai             Chung                       States          Wai                   C.             Chung                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2852     Sibling                     4023 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
649                                                        Steve             Wai             Chung                       China           Wai                   C.             Chung                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2855     Sibling                     6035 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
650                                                        Winnie            Chingyee        Chung                       States          Wai                   C.             Chung                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2856     Sibling                     4023 at 8        $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                              Page 25 of 170
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                                                                                                                                                                               EXHIBIT B-1
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                               Claimant                                                                                   9/11 Decedent                                                                 Claim Information                                                  Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                                Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                                 on 9/11
                                                                                                               Claimant                                                                                                         Date of                                            Amendments &                       Document
#         First       Middle               Last    Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle            Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                         Death                                               Substitutions                       ation

                                                                                                                                                                                                               United                                                             1:02-cv-01616,
651                                                         Ying              Kwan            Chung                       China           Wai                   C.            Chung                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2853    Parent                      5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
652                                                         Julie             Man Yee         Tam                         States          Wai                   C.            Chung                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2857    Sibling                     5061 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  305, at P4178,
                                                                                                                          United                                                                               United                                                             8393-1, at 24,
653                                                         Theresa           A.              Wagner                      States          Frances                             Cilente                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Sibling                     4023 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
654                                                         Gary              J.              Cillo                       States          Elaine                              Cillo                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 132          Sibling                     4023 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                          United                                                                               United                                                             1, at 131, 8397-
655 Lynne         Marie            Cillo-Capaldo            Nunzio            C.              Cillo                       States          Elaine                              Cillo                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 6, 8433      Parent                      4126 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
656                                                         Lynne             Marie           Cillo-Capaldo               States          Elaine                              Cillo                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 130          Sibling                     4023 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
657                                                         Christopher       Jay             Cintron                     States          Nestor                A.            Cintron                          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 991          Sibling                     4023 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
658                                                         Fred                              Gonzalez        Jr.         States          Nestor                A.            Cintron                          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 992          Sibling                     4023 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
659                                                         Alicia            Armena          LeGuillow                   States          Nestor                A.            Cintron                          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 990          Parent                      7188 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  313, at P4627,
                                                                                                                                                                                                               United                                                             8466-1, at 2,
660                                                         Anthony           Robert          Cirri                       Unknown         Robert                D.            Cirri                Sr.         States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  313, at P4627,
                                                                                                                          United                                                                               United                                                             8393-1, at 69,
661                                                         Eileen            Mary            Cirri                       States          Robert                D.            Cirri                Sr.         States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      8233 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                               United                                                             8679-1, at 51,
662                                                         Maria             Barsanti        Cirri                       States          Robert                D.            Cirri                Sr.         States         9/11/01     NY (Other)   03-cv-9849                 8696               Parent                      8233 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
663                                                         Robert            Dominick        Cirri           Jr.         States          Robert                D.            Cirri                Sr.         States         9/11/01     NY (Other)   03-cv-9849                 155, at P2849      Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  313, at P4627,
                                                                                                                          United                                                                               United                                                             8393-1, at 1108,
664                                                         Bianca            Isabel          Jerez                       States          Robert                D.            Cirri                Sr.         States         9/11/01     NY (Other)   03-cv-9849                 8487               Step-Child                  8293 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  313, at P4627,
                                                                                                                          United                                                                               United                                                             8393-1, at 1109,
665                                                         Kara              Lydia           Jerez                       States          Robert                D.            Cirri                Sr.         States         9/11/01     NY (Other)   03-cv-9849                 8487               Step-Child                  5949 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  155, at P2848,
                                                                                                                          United                                                                               United                                                             8393-1, at 1111,
666                                                         Jessica                           Perez                       States          Robert                D.            Cirri                Sr.         States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  432, at P4794,
                                                                                                                          United                                                                               United                                                             8393-1, at 74,
667                                                         Tracey            Clark           Bourke                      States          Sarah                 Miller        Clark                            States         9/11/01     VA (AA77)    03-cv-9849                 8487               Child                       4023 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
668                                                         James             Patrick         Clarke                      States          Michael               John          Clarke                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 1888    Sibling                     4023 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 2865,
                                                                                                                          United                                                                               United                                                             8393-1, at 58,
669                                                         John              Francis         Clarke                      States          Michael               John          Clarke                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Parent                      4023 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
670                                                         Alan              Scott           Cleere                      States          James                 Durward       Cleere                           States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4184      Child                       4023 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  305, at P4186,
                                                                                                                          United                                                                               United                                                             8397-1, at 6,
671 Jan           Cleere           Peavy                    Betty             B.              Cleere                      States          James                 Durward       Cleere                           States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      5138 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  305, at P4183,
                                                                                                                          United                                                                               United                                                             8393-1, at 31,
672                                                         Jean              Lorraine        Cleere                      States          James                 Durward       Cleere                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5061 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
673                                                         Jeffrey           Keith           Cleere                      States          James                 Durward       Cleere                           States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4185      Child                       5062 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United          James                 Durward       Cleere                           United                     NY (WTC)                                8679-1, at 52,
674                                                         Rhonda                            McCleary                    States                                                                               States         9/11/01                  03-cv-9849                 8696               Step-Child                  5951 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
675                                                         Judy              Cleere          Otell                       Unknown         James                 Durward       Cleere                           States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4189      Sibling                     3666 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
676                                                         Jan               Cleere          Peavy                       States          James                 Durward       Cleere                           States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4188      Sibling                     4023 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
677                                                         Patricia          Cleere          Wilgus                      States          James                 Durward       Cleere                           States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4187      Sibling                     4126 at 4       $         4,250,000.00 $   12,750,000.00




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                                                                                                                Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                   Filed 04/23/24            Page 28 of 171
                                                                                                                                                                                EXHIBIT B-1
                                                                                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                               Claimant                                                                                9/11 Decedent                                                                  Claim Information                                                   Solatium Damages




                                                                                                                             Nationality




                                                                                                                                                                                                                Nationality
                                                                                                                              on 9/11




                                                                                                                                                                                                                 on 9/11
                                                                                                                Claimant                                                                                                        Date of                                           Amendments &                        Document
 #       First         Middle                Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                               9/11 Site       Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                  Suffix                                                                                                        Death                                              Substitutions                        ation



                                                                                                                                                                                                               United                                                            1:03-md-01570,
678                                                          Leslie                            Brown                       Unknown         Jeffrey               Alan          Coale                           States         9/11/01     NY (WTC)    03-cv-9849                 3477, at 655        Sibling                     3382 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3643,
                                                                                                                           United                                                                              United                                                            8397-1, at 6,
679 Marcia       Elaine             Cohen                    Barry                             Cohen                       States          Kevin                 Sanford       Cohen                           States         9/11/01     NY (WTC)    03-cv-9849                 8433                Parent                      4023 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3644,
                                                                                                                           United                                                                              United                                                            8393-1, at 47,
680                                                          Marcia            Elaine          Cohen                       States          Kevin                 Sanford       Cohen                           States         9/11/01     NY (WTC)    03-cv-9849                 8487                Parent                      4023 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                              United                                                            8679-1, at 53,
681                                                          Neil              Laurence        Cohen                       States          Kevin                 Sanford       Cohen                           States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     7188 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3646,
                                                                                                                           United                                                                              United                                                            8397-1, at 6,
682 Victor       J.                 Colaio                   Mary              Catherine       Colaio                      States          Mark                  J.            Colaio                          States         9/11/01     NY (WTC)    03-cv-9849                 8433                Parent                      5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3649,
                                                                                                                           United                                                                              United                                                            8397-1, at 6,
683 Victor       J.                 Colaio                   Mary              Catherine       Colaio                      States          Stephen               J.            Colaio                          States         9/11/01     NY (WTC)    03-cv-9849                 8433                Parent                      5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                              United                                                            1:02-cv-01616,
684                                                          Victor            J.              Colaio                      States          Mark                  J.            Colaio                          States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3647       Parent                      3666 at 2       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3650,
                                                                                                                           United                                                                              United                                                            8393-1, at 77,
685                                                          Victor            J.              Colaio                      States          Stephen               J.            Colaio                          States         9/11/01     NY (WTC)    03-cv-9849                 8487                Parent                      5349-1 at 2     $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3645,
                                                                                                                           United                                                                              United                                                            8393-1, at 839,
686                                                          Delaney                           Colaio-Coppola              States          Mark                  J.            Colaio                          States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3645,
                                                                                                                           United                                                                              United                                                            8393-1, at 838,
687                                                          Joseph                            Colaio-Coppola              States          Mark                  J.            Colaio                          States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3645,
                                                                                                                           United                                                                              United                                                            8393-1, at 52,
688                                                          June              Elizabeth       Coppola                     States          Mark                  J.            Colaio                          States         9/11/01     NY (WTC)    03-cv-9849                 8487                Spouse                      5061 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                           United                                                                              United                                                            1:02-cv-01616,
689                                                          Serena            Ann             Giovi                       States          Stephen               J.            Colaio                          States         9/11/01     NY (WTC)    03-cv-9849                 305, at AP260       Fiancee                     5949 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                           United                                                                              United                                                            1:02-cv-01616,
690                                                          Jean              Colaio          Steinbach                   States          Mark                  J.            Colaio                          States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3648       Sibling                     3666 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                              United                                                            1:02-cv-01616,
691                                                          Jean              Colaio          Steinbach                   States          Stephen               J.            Colaio                          States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3651       Sibling                     4023 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P4050,
                                                                                                                           United                                                                              United                                                            8393-1, at 10,
692                                                          Kelly             Ann             Colasanti                   States          Christopher           M.            Colasanti                       States         9/11/01     NY (WTC)    03-cv-9849                 8487                Spouse                      7188 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                               United                                                            3, at 995, 8397-
693 Stephen      J.                 McCurrie                 Raymond           Fernand         Colbert                     France          Michel                Paris         Colbert                         States         9/11/01     NY (WTC)    03-cv-9849                 1, at 6, 8433       Parent                      5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United                                                            1:02-cv-01616,
694                                                          Elizabeth         Jane            Todd-Colbert                Unknown         Michel                Paris         Colbert                         States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4190       Spouse                      5061 at 4       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                           United                                                                              United                                                            3, at 1832, 5284-
695                                                          Elodie                            Coleman                     States          Keith                 Eugene        Coleman                         States         9/11/01     NY (WTC)    03-cv-9849                 1, at 3, 5296       Spouse                      5138 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               United                                                            1:02-cv-01616,
696                                                          Jean                              Coleman                     Unknown         Keith                 Eugene        Coleman                         States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4192       Parent                      3666 at 2       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3652,
                                                                                                                                                                                                               United                                                            8393-1, at 74,
697                                                          Jean                              Coleman                     Unknown         Scott                 Thomas        Coleman                         States         9/11/01     NY (WTC)    03-cv-9849                 8487                Parent                      5061 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United                                                            1:02-cv-01616,
698                                                          Neil              Keith           Coleman                     Unknown         Keith                 Eugene        Coleman                         States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4191       Parent                      3666 at 2       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3653,
                                                                                                                                                                                                               United                                                            8393-1, at 74,
699                                                          Neil              Keith           Coleman                     Unknown         Scott                 Thomas        Coleman                         States         9/11/01     NY (WTC)    03-cv-9849                 8487                Parent                      5061 at 4       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                           United                                                                              United                                                            3, at 1832, 8393-
700                                                          Neva              Rae             Coleman                     States          Keith                 Eugene        Coleman                         States         9/11/01     NY (WTC)    03-cv-9849                 1, at 728, 8487     Child                       5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                              United                                                            1:02-cv-01616,
701                                                          Todd              Douglas         Coleman                     States          Keith                 Eugene        Coleman                         States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4193       Sibling                     3666 at 2       $         4,250,000.00 $   12,750,000.00




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                                                                                                                                                                                       EXHIBIT B-1
                                                                                                                                                                    SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                                      Claimant                                                                                   9/11 Decedent                                                                  Claim Information                                                   Solatium Damages




                                                                                                                                    Nationality




                                                                                                                                                                                                                        Nationality
                                                                                                                                     on 9/11




                                                                                                                                                                                                                         on 9/11
                                                                                                                       Claimant                                                                                                         Date of                                            Amendments &                        Document
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                                                                                                                         Suffix                                                                                                         Death                                               Substitutions                        ation

                                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
702                                                                Todd              Douglas         Coleman                      States          Scott                 Thomas        Coleman                          States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4629       Sibling                     4023 at 8       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                  United                                                                               United                                                             3, at 1832, 8393-
703                                                                Vaughn            McGwire         Coleman                      Kingdom         Keith                 Eugene        Coleman                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 727, 8487     Child                       5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                  United                                                                               United                                                             8679-1, at 54,
704                                                                Christine         Kathryn         Cochet                       States          Robert                Joseph        Coll               II            States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5138 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
705                                                                Edward            Aloysius        Coll            III          States          Robert                Joseph        Coll               II            States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2850       Sibling                     4023 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          155, at P2851,
    Suzanne;                                                                                                                      United                                                                               United                                                             8397-1, at 6,
706 Edward      Mary; Aloysius     Valentino; Coll, III            Edward                            Coll            Jr.          States          Robert                Joseph        Coll               II            States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          155, at P2853,
                                                                                                                                  United                                                                               United                                                             8393-1, at 70,
707                                                                Jennifer          Bailey          Coll                         States          Robert                Joseph        Coll               II            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      7188 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
708                                                                Margaret          Louise          Coll                         States          Robert                Joseph        Coll               II            States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2854       Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
709                                                                Mary              E.              Coll                         States          Robert                Joseph        Coll               II            States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2855       Parent                      4023 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          155, at P2853,
                                                                                                                                  United                                                                               United                                                             8393-1, at 1129,
710                                                                Megan             Bailey          Coll                         States          Robert                Joseph        Coll               II            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       7188 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          155, at P2853,
                                                                                                                                  United                                                                               United                                                             8393-1, at 1128,
711                                                                Robert            Joseph          Coll            III          States          Robert                Joseph        Coll               II            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       7188 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
712                                                                Mary              Jean            Turanica                     States          Robert                Joseph        Coll               II            States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2856       Sibling                     5087 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
713                                                                Suzanne           Mary            Valentino                    States          Robert                Joseph        Coll               II            States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2857       Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
714                                                                Elizabeth         C.              Weppner                      States          Robert                Joseph        Coll               II            States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2858       Sibling                     4023 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
715                                                                Patricia          Anne            Amo                          States          John                  Michael       Collins                          States         9/11/01     NY (Other)   03-cv-9849                 1, at 139           Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
716                                                                Eileen                            Byrne                        States          John                  Michael       Collins                          States         9/11/01     NY (Other)   03-cv-9849                 1, at 140           Sibling                     4023 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                  United                                                                               United                                                             3, at 998, 8397-
717 Martin      Joseph             Collins                         Anna              E.              Collins                      States          John                  Michael       Collins                          States         9/11/01     NY (Other)   03-cv-9849                 1, at 6, 8433       Parent                      5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
718                                                                Anne              M.              Collins                      States          John                  Michael       Collins                          States         9/11/01     NY (Other)   03-cv-9849                 1, at 141           Sibling                     4023 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                       United                                                             1:02-cv-01616,
719                                                                James             R.              Collins         Jr.          Unknown         Michael               L.            Collins                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3654       Parent                      3666 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          305, at P4195,
                                                                                                                                  United                                                                               United                                                             8393-1, at 58,
720                                                                Lissa             L.              Collins                      States          Michael               L.            Collins                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5356 at 2       $        12,500,000.00 $   37,500,000.00
                                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
721                                                                Martin            Joseph          Collins                      States          John                  Michael       Collins                          States         9/11/01     NY (Other)   03-cv-9849                 1, at 137           Parent                      4023 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
722                                                                Martin            J.              Collins         Jr.          States          John                  Michael       Collins                          States         9/11/01     NY (Other)   03-cv-9849                 1, at 138           Sibling                     4126 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          232, at P3655,
                                                                                                                                  United                                                                               United                                                             8397-1, at 6,
723 Richard     S.                 Collins                         Mary              Anne            Collins                      States          Michael               L.            Collins                          States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      3666 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
724                                                                Richard           S.              Collins                      States          Michael               L.            Collins                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3656       Sibling                     4023 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
725                                                                Nancy             Marie           Kasak                        States          Michael               L.            Collins                          States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4796       Sibling                     4023 at 8       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                  United                                                                               Unknow                                                             3, at 1001, 7257,
726                                                                Kathleen          Elizabeth       Comer                        States          Ronald                E.            Comer                            n      9/11/01             NY (WTC)     03-cv-9849                 at 1, 7267          Child                       515 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                  United                                                                               Unknow                                                             1:02-cv-01616,
727                                                                Lauren            Emily           Hansen                       States          Ronald                E.            Comer                            n      9/11/01             NY (WTC)     03-cv-9849                 3, at 1000          Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                       United                                                             1:02-cv-01616,
728                                                                Cornelius         Patrick         Clancy          III          Unknown         Susan                 Clancy        Conlon                           States 9/11/01             NY (WTC)     03-cv-9849                 1, at 143           Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                       United                                                             1:02-cv-01616,
729                                                                Kevin             Steven          Clancy                       Unknown         Susan                 Clancy        Conlon                           States 9/11/01             NY (WTC)     03-cv-9849                 1, at 144           Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                       United                                                             1:02-cv-01616,
730                                                                Vera                              Clancy                       Unknown         Susan                 Clancy        Conlon                           States 9/11/01             NY (WTC)     03-cv-9849                 1, at 145           Parent                      3666 at 3       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                                    Page 28 of 170
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                                                                                                                                                                            EXHIBIT B-1
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                              Claimant                                                                                 9/11 Decedent                                                               Claim Information                                                  Solatium Damages




                                                                                                                          Nationality




                                                                                                                                                                                                            Nationality
                                                                                                                           on 9/11




                                                                                                                                                                                                             on 9/11
                                                                                                             Claimant                                                                                                       Date of                                           Amendments &                       Document
 #      First         Middle               Last   Suffix    Claimant First   Claimant Middle Claimant Last                                       First             Middle          Last          Suffix                               9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                               Suffix                                                                                                       Death                                              Substitutions                       ation

                                                                                                                                                                                                                                                                             1:03-md-01570,
                                                                                                                                                                                                                                                                             3477, at 707;
                                                                                                                                                                                                           United                                                            8679-1, at 56,
731 Kimberly    Patrice            Conlon                  John              Patrick         Conlon                     Unknown         Susan                Clancy         Conlon                         States         9/11/01     NY (WTC)    03-cv-9849                 8696               Spouse                      5104 at 4       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                        United                                                                             United                                                            1, at 143, 8393-
732                                                        Kimberly          Patrice         Conlon                     States          Susan                Clancy         Conlon                         States         9/11/01     NY (WTC)    03-cv-9849                 1, at 1269, 8487   Child                       5104 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                             United                                                            1:02-cv-01616,
733                                                        Corrine           Elizabeth       Bounty                     States          Margaret             Mary           Conner                         States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4196      Child                       4023 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                             United                                                            1:02-cv-01616,
734                                                        Kevin             Francis         Burns                      States          Margaret             Mary           Conner                         States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4198      Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                             United                                                            1:02-cv-01616,
735                                                        Robert            Emmitt          Burns                      States          Margaret             Mary           Conner                         States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4197      Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             305, at P4200,
                                                                                             Burns-                     United                                                                             United                                                            8397-1, at 4,
736 Kevin       M.                 Burns                   Francine                          Christensen                States          Margaret             Mary           Conner                         States         9/11/01     NY (WTC)    03-cv-9849                 8433               Sibling                     4023 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             232, at P3658,
                                                                                                                                                                                                           United                                                            8393-1, at 51,
737 Joyce                          Conner                  Michael           Anthony         Conner                     Unknown         Margaret             Mary           Conner                         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      3666 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                             United                                                            1:02-cv-01616,
738                                                        Patricia          Kathleen        Cuozzo                     States          Margaret             Mary           Conner                         States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4199      Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             313, at P4631,
                                                                                                                        United                                                                             United                                                            8393-1, at 37,
739                                                        Dawn              A.              Connolly                   States          John                 E.             Connolly           Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5087 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             313, at P4631,
                                                                                                                        United                                                                             United                                                            8393-1, at 595,
740                                                        Dineen            Ann             Connolly                   States          John                 E.             Connolly           Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             313, at P4631,
                                                                                                                        United                                                                             United                                                            8393-1, at 596,
741                                                        John              Patrick         Connolly                   States          John                 E.             Connolly           Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           United                                                            1:02-cv-01616,
742                                                        Kevin                             Connolly                   Unknown         John                 E.             Connolly           Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1003         Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             313, at P4631,
                                                                                                                        United                                                                             United                                                            8393-1, at 597,
743                                                        Patrick           Liam Craig      Connolly                   States          John                 E.             Connolly           Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                             United                                                            1:02-cv-01616,
744                                                        Jaymel            Elizabeth       Connor                     States          James                Lee            Connor                         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 1893    Spouse                      8310 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                             1:03-md-01570,
                                                                                                                                                                                                                                                                             3477, at 15;
                                                                                                                        United                                                                             United                                                            8679-1, at 57,
745                                                        Cathleen                          Dodge                      States          James                Lee            Connor                         States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United          Kevin                P.             Connors                        United                     NY (WTC)                               8679-1, at 60,
746                                                        Davina                            Aryeh                      States                                                                             States         9/11/01                 03-cv-9849                 8696               Step-Child                  8293 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United          Kevin                P.             Connors                        United                     NY (WTC)                               8679-1, at 61,
747                                                        Karim                             Aryeh                      States                                                                             States         9/11/01                 03-cv-9849                 8696               Step-Child                  8293 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             432, at P4799,
                                                                                                                        United                                                                             United                                                            8397-1, at 6,
748 Emily                          Connors                 Christopher       Clifford        Connors                    States          Kevin                P.             Connors                        States         9/11/01     NY (WTC)    03-cv-9849                 8433               Sibling                     6205 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                             United                                                            1:02-cv-01616,
749                                                        Douglas                           Connors                    States          Kevin                P.             Connors                        States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4203      Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           United                                                            1:02-cv-01616,
750                                                        Sylvia            Loria           Connors                    Costa Rica      Kevin                P.             Connors                        States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1006         Spouse                      5138 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           United                                                            1:02-cv-01616,
751                                                        William           Kirk            Connors                    Unknown         Kevin                P.             Connors                        States         9/11/01     NY (WTC)    03-cv-9849                 432, at P4798      Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                             United                                                            8679-1, at 58,
752                                                        Sheila            Connors         LeDuc                      States          Kevin                P.             Connors                        States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     7188 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United          Kevin                P.             Connors                        United                     NY (WTC)                               8679-1, at 59,
753                                                        Daniella                          Peters-Nylen               States                                                                             States         9/11/01                 03-cv-9849                 8696               Step-Child                  8293 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             313, at P4632,
                                                                                                                        United                                                                             United                                                            8393-1, at 286,
754                                                        Lindsay           Judith          Cook                       States          Dennis               Michael        Cook                           States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             313, at P4632,
                                                                                                                        United                                                                             United                                                            8393-1, at 285,
755                                                        Sophia            Christine       Cook                       States          Dennis               Michael        Cook                           States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                             United                                                            1:02-cv-01616,
756                                                        Dana              Emily           Donohue                    States          Dennis               Michael        Cook                           States         9/11/01     NY (WTC)    03-cv-9849                 313, at P4632      Spouse                      5061 at 4       $        12,500,000.00 $   37,500,000.00




                                                                                                                                                                                          Page 29 of 170
                                                                                                                Case 1:03-md-01570-GBD-SN                                  Document 9716-2                                   Filed 04/23/24             Page 31 of 171
                                                                                                                                                                            EXHIBIT B-1
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                  Personal Representative                                              Claimant                                                                                9/11 Decedent                                                                    Claim Information                                                   Solatium Damages




                                                                                                                         Nationality




                                                                                                                                                                                                            Nationality
                                                                                                                          on 9/11




                                                                                                                                                                                                             on 9/11
                                                                                                            Claimant                                                                                                        Date of                                            Amendments &                        Document
#       First       Middle            Last     Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle        Last              Suffix                              9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                              Suffix                                                                                                        Death                                               Substitutions                        ation

                                                                                                                       United                                                                              United                                                             8679-1, at 64,
757                                                     Charles           Bunker          Coombs          III          States          Jeffrey               W.            Coombs                          States         9/11/01     NY (AA11)    03-cv-9849                 8696                Parent                      5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                              United                                                             8679-1, at 65,
758                                                     Charles           Bunker          Coombs          IV           States          Jeffrey               W.            Coombs                          States         9/11/01     NY (AA11)    03-cv-9849                 8696                Sibling                     7188 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                              United                                                             8679-1, at 63,
759                                                     Douglas           Glenn           Coombs                       States          Jeffrey               W.            Coombs                          States         9/11/01     NY (AA11)    03-cv-9849                 8696                Sibling                     7188 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4204,
                                                                                                                       United                                                                              United                                                             8393-1, at 550,
760                                                     Julia                             Coombs                       States          Jeffrey               W.            Coombs                          States         9/11/01     NY (AA11)    03-cv-9849                 8487                Child                       5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4204,
                                                                                                                       United                                                                              United                                                             8393-1, at 34,
761                                                     Mary              Christine       Coombs                       States          Jeffrey               W.            Coombs                          States         9/11/01     NY (AA11)    03-cv-9849                 8487                Spouse                      5087 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4204,
                                                                                                                       United                                                                              United                                                             8393-1, at 551,
762                                                     Matthew                           Coombs                       States          Jeffrey               W.            Coombs                          States         9/11/01     NY (AA11)    03-cv-9849                 8487                Child                       5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4204,
                                                                                                                       United                                                                              United                                                             8393-1, at 552,
763                                                     Meaghan                           Coombs                       States          Jeffrey               W.            Coombs                          States         9/11/01     NY (AA11)    03-cv-9849                 8487                Child                       5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                              United                                                             8679-1, at 62,
764                                                     William           Michael         Coombs                       States          Jeffrey               W.            Coombs                          States         9/11/01     NY (AA11)    03-cv-9849                 8696                Sibling                     7188 at 6       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                       United                                                                              United                                                             3, at 1011, 8393-
765                                                     Alison            Joy             Coppola                      States          Gerard                J.            Coppola                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 423, 8487     Child                       5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
766                                                     Cynthia           Louisa          Coppola                      Unknown         Gerard                J.            Coppola                         States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1013          Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
767                                                     George            Joseph          Coppola         Jr.          Unknown         Gerard                J.            Coppola                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2894     Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                           United                                                             3, at 1012, 8397-
768 George      Joseph          Coppola      Jr.        George            J.              Coppola         Sr.          Unknown         Gerard                J.            Coppola                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 6, 8433       Parent                      4126 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
769                                                     Pui Yee                           Coppola                      States          Gerard                J.            Coppola                         States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1011          Spouse                      5061 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
770                                                     Angela            Patricia        Rapoport                     States          Gerard                J.            Coppola                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2893     Child                       5061 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4208,
                                                                                                                       United                                                                              United                     NY                                      8393-1, at 609,
771                                                     John              James           Corcoran                     States          John                  J.            Corcoran         III            States         9/11/01     (UA175)      03-cv-9849                 8487                Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4208,
                                                                                                                       United                                                                              United                     NY                                      8393-1, at 610,
772                                                     Meghan            Lee             Corcoran                     States          John                  J.            Corcoran         III            States         9/11/01     (UA175)      03-cv-9849                 8487                Child                       5848 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4208,
                                                                                          Corcoran                     United                                                                              United                     NY                                      8393-1, at 38,
773                                                     Diann             Louise          DuBois                       States          John                  J.            Corcoran         III            States         9/11/01     (UA175)      03-cv-9849                 8487                Spouse                      6038 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
774                                                     James             Brendan         Corrigan                     States          James                 J.            Corrigan                        States         9/11/01     NY (Other)   03-cv-9849                 77, at P2571        Child                       4023 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              77, at P2572,
                                                                                                                       United                                                                              United                                                             8393-1, at 31,
775                                                     Marie             Ellen           Corrigan                     States          James                 J.            Corrigan                        States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      515 at 4        $        12,500,000.00 $   37,500,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
776                                                     Sean              Michael         Corrigan                     States          James                 J.            Corrigan                        States         9/11/01     NY (Other)   03-cv-9849                 77, at P2573        Child                       515 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                              United                                                             8679-1, at 70,
777                                                     Christine                         Brooks                       States          Kevin                 M.            Cosgrove                        States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                       United                                                                              United                                                             1, at 818, 8393-
778                                                     Brian             Matthew         Cosgrove                     States          Kevin                 M.            Cosgrove                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 747, 8487     Child                       5356 at 2       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                       United                                                                              United                                                             1, at 818, 8393-
779                                                     Claire            Marie           Cosgrove                     States          Kevin                 M.            Cosgrove                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 748, 8487     Child                       5356 at 2       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                              United                                                             8679-1, at 71,
780                                                     Edward            Augustine       Cosgrove                     States          Kevin                 M.            Cosgrove                        States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                       United                                                                              United                                                             1, at 818, 8393-
781                                                     Elizabeth         Michelle        Cosgrove                     States          Kevin                 M.            Cosgrove                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 749, 8487     Child                       5356 at 2       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                              United                                                             8679-1, at 67,
782                                                     Joseph            John            Cosgrove                     States          Kevin                 M.            Cosgrove                        States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 6       $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                       Page 30 of 170
                                                                                                         Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                   Filed 04/23/24            Page 32 of 171
                                                                                                                                                                         EXHIBIT B-1
                                                                                                                                                      SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                            Claimant                                                                                9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                      Nationality




                                                                                                                                                                                                         Nationality
                                                                                                                       on 9/11




                                                                                                                                                                                                          on 9/11
                                                                                                         Claimant                                                                                                        Date of                                           Amendments &                        Document
 #      First        Middle            Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle           Last          Suffix                               9/11 Site       Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                           Suffix                                                                                                        Death                                              Substitutions                        ation

                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                    United                                                                              United                                                            1, at 818, 5284-
783                                                    Wendy             Eve             Cosgrove                   States          Kevin                 M.            Cosgrove                        States         9/11/01     NY (WTC)    03-cv-9849                 1, at 3, 5296       Spouse                      5356 at 2       $        12,500,000.00 $   37,500,000.00
                                                                                         Cosgrove                   United                                                                              United                                                            8679-1, at 69,
784                                                    Susan             Elizabeth       Janssen                    States          Kevin                 M.            Cosgrove                        States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     7188 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                              United                                                            8679-1, at 68,
785                                                    Maryjane                          Jones                      States          Kevin                 M.            Cosgrove                        States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     7188 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                              United                                                            8679-1, at 66,
786                                                    Patricia          Paula           Schlosser                  States          Kevin                 M.            Cosgrove                        States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     7188 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                              United                                                            8679-1, at 72,
787                                                    Frank                             Barbosa                    States          Dolores               M.            Costa                           States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     7188 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                              United                                                            1:02-cv-01616,
788                                                    Charles           P.              Costa                      States          Dolores               M.            Costa                           States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1016          Spouse                      5087 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                    United                                                                              United                                                            1:02-cv-01616,
789 Nancy       Eileen           Costello              James             Peter           Costello                   States          Michael               S.            Costello                        States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3659       Parent                      4023 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          232, at P3660,
                                                                                                                    United                                                                              United                                                            8393-1, at 59,
790                                                    Nancy             Eileen          Costello                   States          Michael               S.            Costello                        States         9/11/01     NY (WTC)    03-cv-9849                 8487                Parent                      4023 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                              United                                                            1:02-cv-01616,
791                                                    Timothy           John            Costello                   States          Michael               S.            Costello                        States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3661       Sibling                     4023 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                              United                                                            8679-1, at 73,
792                                                    Isiah             RaShon          Batey                      States          Asia                  SiVon         Cottom                          States         9/11/01     VA (AA77)   03-cv-9849                 8696                Sibling                     5848 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                          1:03-cv-9849,
                                                                                                                                                                                                        United                                                            HAND FILED, at
793                                                    Clifton           Anthony         Cottom                     Unknown         Asia                  SiVon         Cottom                          States         9/11/01     VA (AA77)   03-cv-9849                 P5026               Parent                      3666 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:03-cv-9849,
                                                                                                                                                                                                                                                                          HAND FILED, at
                                                                                                                                                                                                        United                                                            P5027, 8393-1,
794                                                    Michelle          Antoinette      Cottom                     Unknown         Asia                  SiVon         Cottom                          States         9/11/01     VA (AA77)   03-cv-9849                 at 4, 8487          Parent                      3666 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                              United                                                            1:02-cv-01616,
795                                                    Orla              Mary            Bowie                      Kingdom         Martin                John          Coughlan                        States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1025          Child                       5061 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                        United                                                            1:02-cv-01616,
796                                                    Ailish                            Coughlan                   Ireland         Martin                John          Coughlan                        States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1024          Child                       5061 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                              United                                                            1:02-cv-01616,
797                                                    Catherine                         Coughlan                   States          Martin                John          Coughlan                        States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1021          Spouse                      7188 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                    United                                                                              United                                                            1:02-cv-01616,
798                                                    Denise                            Coughlan                   States          Martin                John          Coughlan                        States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1022          Child                       5062 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                        United                                                            8679-1, at 75,
799                                                    Finbarr           Mary            Coughlan                   Ireland         Martin                John          Coughlan                        States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     5848 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                        United                                                            8679-1, at 74,
800                                                    James                             Coughlan                   Ireland         Martin                John          Coughlan                        States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     5848 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                        United                                                            1:02-cv-01616,
801                                                    Sinead                            Coughlan                   Ireland         Martin                John          Coughlan                        States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1023          Child                       5061 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          77, at P2575,
                                                                                                                    United                                                                              United                                                            8393-1, at 26,
802                                                    Frederick         Osterhoudt      Cox                        States          Frederick             John          Cox                             States 9/11/01             NY (WTC)    03-cv-9849                 8487                Parent                      4023 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                        St.
                                                                                                                                                                                                        Vincent                                                           1:02-cv-01616,
                                                                                                                                                                                                        and the                                                           432, at P4800,
                                                                                                                    United                                                                              Grenadi                                                           8393-1, at 3,
803                                                    Nigel             Durnstan        Cox                        States          Andre                               Cox                             nes     9/11/01            NY (WTC)    03-cv-9849                 8487                Sibling                     4023 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                        St.
                                                                                                                                                                                                        Vincent
                                                                                                                                                                                                        and the
                                                                                                                    United                                                                              Grenadi                                                           1:02-cv-01616,
804                                                    Glenice           Bernadette      Cox-King                   States          Andre                               Cox                             nes     9/11/01            NY (WTC)    03-cv-9849                 432, at P4803       Sibling                     4023 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          77, at P2584,
                                                                                                                    United                                                                              United                                                            8393-1, at 26,
805                                                    Ann               Mason           Douglas                    States          Frederick             John          Cox                             States         9/11/01     NY (WTC)    03-cv-9849                 8487                Parent                      4023 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                        United                                                            1:02-cv-01616,
806                                                    Keith             Douglas         Cramer                     Unknown         Christopher           Seton         Cramer                          States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1031          Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                              United                                                            1:02-cv-01616,
807                                                    Marc              Seton           Cramer                     States          Christopher           Seton         Cramer                          States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1030          Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                              United                                                            1:02-cv-01616,
808                                                    Marilyn           Elizabeth       Cramer                     States          Christopher           Seton         Cramer                          States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1028          Parent                      5061 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                              United                                                            1:02-cv-01616,
809                                                    Walter            Henry           Cramer                     States          Christopher           Seton         Cramer                          States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1029          Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                    United                                                                              United                                                            3, at 1027, 8397-
810 Marilyn     Elizabeth        Cramer                Walter            Seton           Cramer                     States          Christopher           Seton         Cramer                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 6, 8433       Parent                      5062 at 3       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                       Page 31 of 170
                                                                                                    Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                    Filed 04/23/24             Page 33 of 171
                                                                                                                                                                   EXHIBIT B-1
                                                                                                                                                SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
              Personal Representative                                            Claimant                                                                              9/11 Decedent                                                                    Claim Information                                                   Solatium Damages




                                                                                                                 Nationality




                                                                                                                                                                                                    Nationality
                                                                                                                  on 9/11




                                                                                                                                                                                                     on 9/11
                                                                                                    Claimant                                                                                                        Date of                                            Amendments &                        Document
#     First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                       First            Middle            Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                      Suffix                                                                                                        Death                                               Substitutions                        ation



                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                               United                                                                              United                                                             3, at 1032, 8393-
811                                               Susan             Lynne           Kinney                     States          Christopher          Seton         Cramer                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 11, 8487      Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                               United                                                                              United                                                             1, at 875, 8393-
812                                               Colin             John            Creamer                    States          Tara                 Kathleen      Creamer                          States         9/11/01     NY (AA11)    03-cv-9849                 1, at 1282, 8487    Child                       5979 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                               United                                                                              United                                                             1, at 875, 5284-
813                                               John              J.              Creamer                    States          Tara                 Kathleen      Creamer                          States         9/11/01     NY (AA11)    03-cv-9849                 1, at 3, 5296       Spouse                      5979 at 3       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                               United                                                                              United                                                             1, at 875, 8393-
814                                               Nora              Anne            Creamer                    States          Tara                 Kathleen      Creamer                          States         9/11/01     NY (AA11)    03-cv-9849                 1, at 1283, 8487    Child                       5979 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                               United                                                                              United                                                             1:02-cv-01616,
815                                               Francesco                         Crifasi                    States          Lucy                               Crifasi                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2922     Sibling                     4023 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                               United                                                                              United                                                             1:02-cv-01616,
816                                               Maria                             Crifasi                    States          Lucy                               Crifasi                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2921     Sibling                     4023 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                               United                                                                              United                                                             1:02-cv-01616,
817                                               John              Joseph          Crisci                     States          John                 A.            Crisci                           States         9/11/01     NY (Other)   03-cv-9849                 432, at P4805       Child                       5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      432, at P4804,
                                                                                                               United                                                                              United                                                             8393-1, at 568,
818                                               Joseph            David           Crisci                     States          John                 A.            Crisci                           States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      432, at P4804,
                                                                                                               United                                                                              United                                                             8393-1, at 569,
819                                               Michael           Espedito        Crisci                     States          John                 A.            Crisci                           States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      432, at P4804,
                                                                                                               United                                                                              United                                                             8393-1, at 35,
820                                               Raffaella         Rita            Crisci                     States          John                 A.            Crisci                           States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5087 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      77, at P2642,
                                                                                                               United                                                                              United                                                             8393-1, at 29,
821                                               Kevin             F.              Kittle                     States          Helen                P.            Crossin-Kittle                   States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      515 at 4        $        12,500,000.00 $   37,500,000.00
                                                                                                               United                                                                              United                                                             8679-1, at 77,
822                                               Brian             George          Crotty                     States          Kevin                Raymond       Crotty                           States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 6       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      26, 29, at 1900,
                                                                                                                                                                                                                                                                      8466-1, at 2,
                                                                                                                                                                                                   United                                                             8487, 8466-1, at
823                                               Caroline          Frances         Crotty                     Unknown         Thomas               G.            Crotty                           States         9/11/01     NY (WTC)     03-cv-9849                 2, 8487             Child                       7188 at 6       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      26, 29, at 1900,
                                                                                                                                                                                                                                                                      8466-1, at 2,
                                                                                                                                                                                                   United                                                             8487, 8466-1, at
824                                               Catherine         Alice           Crotty                     Unknown         Thomas               G.            Crotty                           States         9/11/01     NY (WTC)     03-cv-9849                 2, 8487             Child                       515 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                               United                                                                              United                                                             8679-1, at 76,
825                                               David             Gerard          Crotty                     States          Kevin                Raymond       Crotty                           States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                               United                                                                              United                                                             1:02-cv-01616,
826                                               James             G.              Crotty                     States          Thomas               G.            Crotty                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1905     Sibling                     5061 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                               United                                                                              United                                                             1:02-cv-01616,
827                                               Joanne            C.              Crotty                     States          Thomas               G.            Crotty                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1900     Spouse                      5087 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                               United                                                                              United                                                             1:02-cv-01616,
828                                               John              Gerard          Crotty                     States          Thomas               G.            Crotty                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1904     Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                               United                                                                              United                                                             1:02-cv-01616,
829                                               Kenneth           Gerard          Crotty                     States          Thomas               G.            Crotty                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1903     Sibling                     5087 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                               United                                                                              United                                                             1, at 794, 8393-
830                                               Kyle              J.              Crotty                     States          Kevin                Raymond       Crotty                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 755, 8487     Child                       5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      1, at 794, 5284-
                                                                                                                                                                                                                                                                      1, at 3, 5296,
                                                                                                               United                                                                              United                                                             8393-1, at 47,
831                                               Lori              Ann             Crotty                     States          Kevin                Raymond       Crotty                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                               United                                                                              United                                                             1, at 794, 8393-
832                                               Megan             Anna            Crotty                     States          Kevin                Raymond       Crotty                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 754, 8487     Child                       5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                   United                                                             1:02-cv-01616,
833                                               Patricia          Marie           Crotty                     Unknown         Thomas               G.            Crotty                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1902     Parent                      3666 at 3       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                  Page 32 of 170
                                                                                                              Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                   Filed 04/23/24             Page 34 of 171
                                                                                                                                                                             EXHIBIT B-1
                                                                                                                                                          SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                               Claimant                                                                                9/11 Decedent                                                                   Claim Information                                                   Solatium Damages




                                                                                                                          Nationality




                                                                                                                                                                                                             Nationality
                                                                                                                           on 9/11




                                                                                                                                                                                                              on 9/11
                                                                                                             Claimant                                                                                                        Date of                                            Amendments &                        Document
 #       First          Middle            Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                               Suffix                                                                                                        Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                        United                                                                              United                                                             1, at 794, 8393-
834                                                       Sean              P.              Crotty                      States          Kevin                 Raymond       Crotty                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 756, 8487     Child                       5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               26, 29, at 1901,
                                                                                                                        United                                                                              United                                                             8397-1, at 6,
835 Patricia     Marie           Crotty                   Thomas            Michael         Crotty                      States          Thomas                G.            Crotty                          States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      5062 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
836                                                       Brian             Hanley          Crowe                       States          John                  R.            Crowe                           States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2859       Child                       4023 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
837                                                       Jeffrey           Reynolds        Crowe                       States          John                  R.            Crowe                           States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2860       Child                       4023 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                            United                                                             1:02-cv-01616,
838                                                       Maryann                           Crowe                       Unknown         John                  R.            Crowe                           States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2861       Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               155, at P2862,
                                                                                                                        United                                                                              United                                                             8393-1, at 39,
839                                                       Pamela            M.              Crowe                       States          John                  R.            Crowe                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                            United                                                             1:02-cv-01616,
840                                                       Margaret          Rita            Zoch                        Unknown         John                  R.            Crowe                           States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2863       Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
841                                                       Paige             Crowther        Charbonneau                 States          Welles                Remy          Crowther                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1911     Sibling                     4023 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               26, 29, at 1909,
                                                                                                                        United                                                                              United                                                             8393-1, at 86,
842                                                       Alison            Remy            Crowther                    States          Welles                Remy          Crowther                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               26, 29, at 1908,
                                                                                                                        United                                                                              United                                                             8397-1, at 7,
843 Alison       Remy            Crowther                 Jefferson         Hay             Crowther                    States          Welles                Remy          Crowther                        States 9/11/01      NY (WTC)            03-cv-9849                 8433                Parent                      4023 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
844                                                       Honor             Elizabeth       Fagan                       States          Welles                Remy          Crowther                        States 9/11/01      NY (WTC)            03-cv-9849                 26, 29, at 1910     Sibling                     4023 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                              Unknow                                                             1:02-cv-01616,
845                                                       Alfonso                           Cubas           Jr.         States          Kenneth               J.            Cubas                           n      9/11/01      NY (WTC)            03-cv-9849                 1, at 149           Sibling                     4023 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                            United                                                             1:02-cv-01616,
846                                                       Dorothy           Priscilla       Cubas                       Unknown         Kenneth               J.            Cubas                           States      9/11/01 NY (WTC)            03-CV-9849                 1, at 148           Parent                      3666 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                        United                                                                              Unknow                                                             1, at 147, 8397-
847 Heather      Angela          Cubas                    Lawrence          Mark            Cubas                       States          Kenneth               J.            Cubas                           n      9/11/01             NY (WTC)     03-cv-9849                 1, at 7, 8433       Sibling                     4126 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               155, at P2864,
                                                                                                                                                                                                                                                                               8397-1, at 7,
                                                                                                                        United                                                                              United                                                             8433, 8393-1, at
848 Cheryl       Lynn            O'Brien                  Albert            C.              Cuccinello                  States          Thelma                              Cuccinello                      States         9/11/01     NY (AA11)    03-cv-9849                 80, 8487            Spouse                      5061 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
849                                                       Laurie            Jean            Cuccinello                  States          Thelma                              Cuccinello                      States         9/11/01     NY (AA11)    03-cv-9849                 155, at P2866       Child                       4023 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
850                                                       Maria             Ann             Cuccinello                  States          Thelma                              Cuccinello                      States         9/11/01     NY (AA11)    03-cv-9849                 155, at P2865       Child                       4023 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               155, at P2867,
                                                                                                                        United                                                                              United                                                             8393-1, at 80,
851                                                       Cheryl            Lynn            O'Brien                     States          Thelma                              Cuccinello                      States         9/11/01     NY (AA11)    03-cv-9849                 8487                Child                       4023 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                            United                                                             1:02-cv-01616,
852                                                       Christopher       Charles         Cudina                      Unknown         Richard               J.            Cudina                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3662       Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               232, at P3663,
                                                                                                                        United                                                                              United                                                             8393-1, at 67,
853                                                       Georgia           Barbara         Cudina                      States          Richard               J.            Cudina                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5061 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               232, at P3664,
                                                                                                                        United                                                                              United                                                             8397-1, at 7,
854 Madeleine                    Cudina                   Marcus            N.              Cudina                      States          Richard               J.            Cudina                          States         9/11/01     NY (WTC)     03-cv-9849                 8433                Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                            United                                                             1:02-cv-01616,
855                                                       William           Anthony         Cudina                      Unknown         Richard               J.            Cudina                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3665       Sibling                     3666 at 3       $         4,250,000.00 $   12,750,000.00

                                                                                                                        Republic of                                                                                                                                            1:02-cv-01616,
                                                                                                                        Trinidad                                                                                                                                               432, at P4806,
                                                                                                                        and                                                                                 United                                                             8393-1, at 44,
856                                                       Mitchum           Kelvin          Cummings                    Tobago          Joyce                 Rose          Cummings                        States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       4023 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                            United                                                             1:02-cv-01616,
857                                                       Deborah           L.              Barrett                     Unknown         Brian                 T.            Cummins                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2932     Spouse                      5951 at 7       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                               1:03-cv-09849,
                                                                                                                        United                                                                              United                                                             838, at 10; 8679-
858                                                       Brendan           William         Cummins                     States          Brian                 T.            Cummins                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 81, 8696      Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                           Page 33 of 170
                                                                                                                          Case 1:03-md-01570-GBD-SN                                  Document 9716-2                                   Filed 04/23/24             Page 35 of 171
                                                                                                                                                                                      EXHIBIT B-1
                                                                                                                                                                   SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                        Personal Representative                                                  Claimant                                                                                    9/11 Decedent                                                                Claim Information                                                    Solatium Damages




                                                                                                                                   Nationality




                                                                                                                                                                                                                      Nationality
                                                                                                                                    on 9/11




                                                                                                                                                                                                                       on 9/11
                                                                                                                      Claimant                                                                                                        Date of                                            Amendments &                        Document
 #         First         Middle                 Last     Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                        Suffix                                                                                                        Death                                               Substitutions                        ation



                                                                                                                                                                                                                                                                                        1:03-cv-09849,
                                                                                                                                 United                                                                              United                                                             838, at 12; 8679-
859                                                               John              Lawrence        Cummins                      States          Brian                 T.            Cummins                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 80, 8696      Sibling                     5062 at 3        $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                        1:03-cv-09849,
                                                                                                                                 United                                                                              United                                                             838, at 13; 8679-
860 Martin         James              Cummins          III        Martin            James           Cummins         Jr.          States          Brian                 T.            Cummins                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 83, 8696      Parent                      5062 at 3        $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                        1:03-cv-09849,
                                                                                                                                 United                                                                              United                                                             838, at 11; 8679-
861                                                               Martin            James           Cummins         III          States          Brian                 T.            Cummins                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 82, 8696      Sibling                     5062 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                              United                                                             1:02-cv-01616,
862                                                               Maureen           Ellen           Cummins                      States          Brian                 T.            Cummins                         States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1044          Parent                      4023 at 9        $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                        1:03-cv-09849,
                                                                                                                                 United                                                                              United                                                             838, at 14; 8679-
863                                                               Michael           Joseph          Cummins                      States          Brian                 T.            Cummins                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 78, 8696      Sibling                     5062 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                              United                                                             1:02-cv-01616,
864                                                               Laurence          Edward          Cunningham                   Kingdom         Michael               J.            Cunningham                      States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3666       Parent                      3387             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                     United                                                             1:02-cv-01616,
865                                                               Anthony                           Curatolo        Sr.          Unknown         Robert                              Curatolo                        States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 1913     Parent                      3666 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                              United                                                             1:02-cv-01616,
866                                                               Anthony                           Curatolo                     States          Robert                              Curatolo                        States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 1918     Sibling                     4023 at 9        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 1915,
                                                                                                                                 United                                                                              United                                                             8393-1, at 69,
867                                                               Christine                         Curatolo                     States          Robert                              Curatolo                        States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5848 at 4        $        12,500,000.00 $   37,500,000.00
                                                                                                                                 United                                                                              United                                                             1:02-cv-01616,
868                                                               John                              Curatolo                     States          Robert                              Curatolo                        States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 1917     Sibling                     4023 at 9        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                     United                                                             1:02-cv-01616,
869                                                               Kathleen                          Curatolo                     Unknown         Robert                              Curatolo                        States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 1921     Sibling                     3666 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                              United                                                             1:02-cv-01616,
870                                                               William                           Curatolo                     States          Robert                              Curatolo                        States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 1916     Sibling                     3666 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                     United                                                             1:02-cv-01616,
871                                                               Christine                         Friscia                      Unknown         Robert                              Curatolo                        States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 1919     Sibling                     3666 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                     United                                                             1:02-cv-01616,
872                                                               Dena              Ann             Nelson                       Unknown         Robert                              Curatolo                        States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 1920     Sibling                     3666 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                     United                                                             1:02-cv-01616,
873                                                               Carolyn                           Piccirillo                   Unknown         Robert                              Curatolo                        States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 1922     Sibling                     3666 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 1925,
                                                                                                                                 United                                                                              Unknow                                                             8397-1, at 7,
874 Daniel         H.                 Curia                       Alice                             Curia                        States          Laurence              D.            Curia                           n      9/11/01             NY (WTC)     03-cv-9849                 8433                Parent                      4126 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                              Unknow                                                             1:02-cv-01616,
875                                                               Daniel            H.              Curia                        States          Laurence              D.            Curia                           n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 2936     Sibling                     4023 at 9        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 1924,
                                                                                                                                 United                                                                              Unknow                                                             8397-1, at 7,
876 Daniel         H.                 Curia                       Joseph                            Curia                        States          Laurence              D.            Curia                           n      9/11/01             NY (WTC)     03-cv-9849                 8433                Parent                      4126 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                              Unknow                                                             1:02-cv-01616,
877                                                               Alice             Elizabeth       Sciusco                      States          Laurence              D.            Curia                           n      9/11/01             NY (WTC)     03-cv-9849                 3, at 1046          Sibling                     4023 at 9        $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 4812,
                                                                                                                                                                                                                                                                                        5284-1, at 3,
                                                                                                                                 United                                                                              United                                                             5296, 8397-1, at
878 Paul           A.                 Curioli                     Kathi             S.              Curioli                      States          Paul                  Dario         Curioli                         States         9/11/01     NY (WTC)     03-cv-9849                 7, 8433             Spouse                      5138 at 4        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                     United                                                             1:02-cv-01616,
879                                                               Lawrence          Joseph          Curioli                      Unknown         Paul                  Dario         Curioli                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2938     Sibling                     3666 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 4812,
                                                                                                                                 United                                                                              United                                                             8393-1, at 1015,
880                                                               Nicholas          J.              Curioli                      States          Paul                  Dario         Curioli                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5356 at 2        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 4812,
                                                                                                                                 United                                                                              United                                                             8393-1, at 1016,
881                                                               Paul              A.              Curioli                      States          Paul                  Dario         Curioli                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 4813,
                                                                                                                                                                                                                     United                                                             5284-1, at 3,
882                                                               Geraldine         Marie           Sweeney                      Unknown         Paul                  Dario         Curioli                         States         9/11/01     NY (WTC)     03-cv-9849                 5296                Sibling                     3666 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                              United                                                             1:02-cv-01616,
883                                                               Genee             Marie           Chase                        States          Beverly               L.            Curry                           States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4213       Sibling                     3666 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                     United                                                             1:02-cv-01616,
884                                                               Deborah           Marshall        Crew-Johnson                 Unknown         Beverly               L.            Curry                           States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2576        Sibling                     3666 at 3        $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                                    Page 34 of 170
                                                                                                             Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                   Filed 04/23/24             Page 36 of 171
                                                                                                                                                                            EXHIBIT B-1
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                            Claimant                                                                                  9/11 Decedent                                                                 Claim Information                                                    Solatium Damages




                                                                                                                         Nationality




                                                                                                                                                                                                            Nationality
                                                                                                                          on 9/11




                                                                                                                                                                                                             on 9/11
                                                                                                            Claimant                                                                                                        Date of                                            Amendments &                        Document
 #      First         Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                              Suffix                                                                                                        Death                                               Substitutions                        ation

                                                                                                                                                                                                           United                                                             8679-1, at 84,
885                                                      Mischele          Ann             Crew-Williams               Unknown         Beverly               L.            Curry                           States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5848 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
886                                                      Dorothy           Laverne         Green                       States          Beverly               L.            Curry                           States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2617        Parent                      3666 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
887                                                      Sheila            Annette         Lollis                      States          Beverly               L.            Curry                           States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2653        Sibling                     3666 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                                                  Fiancé
888                                                      Susann            Carol           Brady                       States          Gavin                               Cushny                          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 934                                       5951 at 7        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                           United                                                             26, 29, at 4782,
                                                                                                                       United                                                                              Kingdo                                                             5284-1, at 3,
889                                                      Abigail           Jane            Carter                      States          Caleb                 Arron         Dack                            m              9/11/01     NY (WTC)     03-cv-9849                 5296                Spouse                      5356 at 2        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                           United                                                             26, 29, at 4782,
                                                                                                                       United                                                                              Kingdo                                                             8393-1, at 114,
890                                                      Carter            Alan            Dack                        States          Caleb                 Arron         Dack                            m              9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5356 at 2        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                           United                                                             26, 29, at 4782,
                                                                                                                       United                                                                              Kingdo                                                             8393-1, at 115,
891                                                      Olivia            Jane            Dack                        States          Caleb                 Arron         Dack                            m              9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5356 at 2        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 2957,
                                                                                                                                                                                                           United                                                             8466-1, at 2,
892                                                      Jason             Matthew         Dahl            Jr.         Unknown         Jason                 M.            Dahl                            States         9/11/01     PA (UA93)    03-cv-9849                 8487                Child                       5848 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
893                                                      Daniel                            D'Allara                    States          John                                D'Allara                        States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4796     Sibling                     3666 at 3        $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                       United                                                                              United                                                             3, at 1051, 8393-
894                                                      Frank                             D'Amadeo                    States          Vincent               Gerard        D'Amadeo                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1370, 8487    Child                       5087 at 7        $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                       United                                                                              United                                                             3, at 1051, 8393-
895                                                      Jerry                             D'Amadeo                    States          Vincent               Gerard        D'Amadeo                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1371, 8487    Child                       5087 at 7        $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                       United                                                                              United                                                             3, at 1051, 8393-
896                                                      Michael                           D'Amadeo                    States          Vincent               Gerard        D'Amadeo                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1372, 8487    Child                       5087 at 7        $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                       United                                                                              United                                                             3, at 1051, 8393-
897                                                      Raquel                            D'Amadeo                    States          Vincent               Gerard        D'Amadeo                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 85, 8487      Spouse                      5087 at 7        $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                       United                                                                              United                                                             3, at 1051, 8393-
898                                                      Vincent                           D'Amadeo                    States          Vincent               Gerard        D'Amadeo                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1373, 8487    Child                       5087 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4054,
                                                                                                                       United                                                                              United                                                             8393-1, at 80,
899                                                      Jennifer          Jeanne          Damaskinos                  States          Thomas                A.            Damaskinos                      States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 7        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4054,
                                                                                                                       United                                                                              United                                                             8393-1, at 1294,
900                                                      Matthew           Paul            Damaskinos                  States          Thomas                A.            Damaskinos                      States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4054,
                                                                                                                       United                                                                              United                                                             8393-1, at 1295,
901                                                      Jessica           Diana           Rogers                      States          Thomas                A.            Damaskinos                      States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
902                                                      Brian             Robert          Damiani                     Unknown         Jeannine                            Damiani-Jones                   States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2577        Sibling                     3666 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
903                                                      Catherine         Elizabeth       Damiani                     States          Jeannine                            Damiani-Jones                   States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2578        Parent                      3666 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
904                                                      Robert                            Damiani                     States          Jeannine                            Damiani-Jones                   States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2579        Parent                      3666 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              77, at P2636,
                                                                                                                       United                                                                              United                                                             8393-1, at 32,
905                                                      Shawn             M.              Jones                       States          Jeannine                            Damiani-Jones                   States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 7        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                   Danahy                                                                              United                                                                              United                                                             1, at 156, 8397-
906 Kathleen    A.                 Samuelson             Francis           L.              Danahy          Jr.         States          Patrick               William       Danahy                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 7, 8433       Parent                      3387             $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
907                                                      John              M.              Danahy                      States          Patrick               William       Danahy                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 160           Sibling                     3387             $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
908                                                      Mary              A.              Danahy                      States          Patrick               William       Danahy                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 159           Sibling                     3387             $         4,250,000.00 $   12,750,000.00




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                                                                                                                                                                           EXHIBIT B-1
                                                                                                                                                        SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                             Claimant                                                                                9/11 Decedent                                                                    Claim Information                                                   Solatium Damages




                                                                                                                        Nationality




                                                                                                                                                                                                            Nationality
                                                                                                                         on 9/11




                                                                                                                                                                                                             on 9/11
                                                                                                           Claimant                                                                                                         Date of                                            Amendments &                       Document
 #      First        Middle            Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle            Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award             Amount            Treble          Notes
                                                                                                             Suffix                                                                                                         Death                                               Substitutions                       ation

                                                                                                                                                                                                           United                                                             1:02-cv-01616,
909                                                    Mary-Anne         Dwyer           Danahy                       Unknown         Patrick               William       Danahy                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 157          Parent                      3387             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
910                                                    Michael           Francis         Danahy                       Unknown         Patrick               William       Danahy                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 158          Sibling                     3387             $         4,250,000.00 $   12,750,000.00
                                                                                         Danahy                                                                                                            United                                                             1:02-cv-01616,
911                                                    Kathleen          A.              Samuelson                    Unknown         Patrick               William       Danahy                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 161          Sibling                     3387             $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
912                                                    Denise                            Duffy                        States          Patrick               William       Danahy                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 162          Sibling                     3387             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              432, at P4807,
                                                                                                                      United                                                                               United                                                             8393-1, at 338,
913                                                    Anthony           Joseph          D'Atri                       States          Edward                A.            D'Atri                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5061 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              432, at P4807,
                                                                                                                      United                                                                               United                                                             8393-1, at 339,
914                                                    Michael           Edward          D'Atri                       States          Edward                A.            D'Atri                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5061 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              432, at P4807,
                                                                                                                      United                                                                               United                                                             8393-1, at 21,
915                                                    Linda                             D'Atri-Potenza               States          Edward                A.            D'Atri                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5061 at 4        $        12,500,000.00 $   37,500,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
916                                                    Nancy             B.              Cimei                        States          Michael                             D'Auria                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2948    Parent                      4023 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
917                                                    Carmen            Michael         D'Auria                      States          Michael                             D'Auria                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2949    Parent                      4023 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
918                                                    Christina                         Rinaldi                      States          Michael                             D'Auria                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2950    Sibling                     4023 at 9        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4214,
                                                                                                                      United                                                                               United                                                             8393-1, at 55,
919                                                    Ellen             R.              Davidson                     States          Michael               A.            Davidson                         States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      4023 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
920                                                    Jeffrey           S.              Davidson                     States          Michael               A.            Davidson                         States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4215      Sibling                     4023 at 9        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
921                                                    Michael           G.              Davidson                     Unknown         Scott                               Davidson                         States         9/11/01     NY (Other)   03-cv-9849                 1, at 168          Sibling                     5061 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
922                                                    Stephen           Martin          Davidson                     States          Scott                               Davidson                         States         9/11/01     NY (Other)   03-cv-9849                 1, at 166          Parent                      5062 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
923                                                    Carla             L.              Di Maggio                    States          Scott                               Davidson                         States         9/11/01     NY (Other)   03-cv-9849                 1, at 167          Parent                      4126 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                      VA
                                                                                                                      United                                                                               United                     (Pentagon                               1:02-cv-01616,
924                                                    Zenovia           M.              Cuyler                       States          Ada                   M.            Davis                            States         9/11/01     )            03-cv-9849                 432, at P4811      Child                       4023 at 9        $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                                                                                                              3477, at 78,
                                                                                                                                                                                                                                                                              4311 Exh. A
                                                                                                                      United                                                                               United                                                             Pg.8; 8679-1, at
925                                                    Clinton                           Davis            Jr.         States          Clinton                             Davis                Sr.         States         9/11/01     NY (Other)   03-cv-9849                 85, 8696           Child                       5087 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              155, at P2869,
                                                                                                                      United                                                                               United                                                             8393-1, at 13,
926                                                    Daphne            Rachell         Davis                        States          Clinton                             Davis                Sr.         States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5087 at 7        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                      VA
                                                                                                                      United                                                                               United                     (Pentagon                               1:02-cv-01616,
927                                                    Nolton            Christopher     Davis                        States          Ada                   M.            Davis                            States         9/11/01     )            03-cv-9849                 432, at P4808      Child                       5062 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                      VA                                      432, at P4812,
                                                                                                                      United                                                                               United                     (Pentagon                               8397-1, at 7,
928 Sheri       Latrice          Johnson               Phillip                           Davis                        States          Ada                   M.            Davis                            States         9/11/01     )            03-cv-9849                 8433               Sibling                     5087 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
929                                                    Priscilla         D.              Davis                        States          Clinton                             Davis                Sr.         States         9/11/01     NY (Other)   03-cv-9849                 155, at P2869      Child                       5087 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                      VA
                                                                                                                      United                                                                               United                     (Pentagon                               1:02-cv-01616,
930                                                    Rosslyn           D.              Davis                        States          Ada                   M.            Davis                            States         9/11/01     )            03-cv-9849                 432, at P4810      Child                       4023 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                      VA
                                                                                                                      United                                                                               United                     (Pentagon                               1:02-cv-01616,
931                                                    Yolanda           L.              Davis                        States          Ada                   M.            Davis                            States         9/11/01     )            03-cv-9849                 432, at P4809      Child                       4023 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                      VA
                                                                                                                      United                                                                               United                     (Pentagon                               1:02-cv-01616,
932                                                    Georgia           Darlene         Davis-Leggett                States          Ada                   M.            Davis                            States         9/11/01     )            03-cv-9849                 432, at P4815      Sibling                     3666 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                      VA
                                                                                         Davis-                       United                                                                               United                     (Pentagon                               1:02-cv-01616,
933                                                    Clementene        Sue             Westmoreland                 States          Ada                   M.            Davis                            States         9/11/01     )            03-cv-9849                 432, at P4817      Sibling                     3666 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                      VA
                                                                                                                      United                                                                               United                     (Pentagon                               1:02-cv-01616,
934                                                    Christine         Florence        Patterson                    States          Ada                   M.            Davis                            States         9/11/01     )            03-cv-9849                 432, at P4816      Sibling                     3666 at 4        $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                          Page 36 of 170
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                                                                                                                                                                        EXHIBIT B-1
                                                                                                                                                     SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                 Personal Representative                                             Claimant                                                                                9/11 Decedent                                                                  Claim Information                                                   Solatium Damages




                                                                                                                    Nationality




                                                                                                                                                                                                        Nationality
                                                                                                                     on 9/11




                                                                                                                                                                                                         on 9/11
                                                                                                       Claimant                                                                                                         Date of                                            Amendments &                        Document
 #       First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                                9/11 Site       Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                         Suffix                                                                                                         Death                                               Substitutions                        ation

                                                                                                                                                                                                       United                                                             1:02-cv-01616,
935                                                  Brigitte                          Day                        Unknown         Edward                 James         Day                             States         9/11/01     NY (Other)   03-cv-9849                 3, at 1056          Spouse                      8310 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                  United                                                                               United                     NY                                      1:02-cv-01616,
936                                                  Joaquim           Timotheo        de Araujo                  States          Dorothy                Alma          de Araujo                       States         9/11/01     (UA175)      03-cv-9849                 1, at 171           Child                       4023 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          232, at P3669,
                                                                                                                                                                                                       United                                                             8393-1, at 4,
937                                                  Diana                             de la Torre                Ecuador         Azucena                              de la Torre                     States              9/11/01 NY (WTC)    03-CV-9849                 8487                Sibling                     5138 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
938                                                  Christine         Marie           Caputo                     States          Thomas                 P.            DeAngelis                       States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 1935     Child                       4126 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          3, at 1772, 5284-
                                                                                                                                                                                                                                                                          1, at 3, 5296,
                                                                                                                  United                                                                               United                                                             8393-1, at 69,
939                                                  Denise                            DeAngelis                  States          Robert                 J.            DeAngelis           Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5061 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
940                                                  Thomas            James           DeAngelis                  States          Thomas                 P.            DeAngelis                       States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 1934     Child                       4126 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                       El
                                                                                                                  United                                                                               Salvado                    NY                                      1:02-cv-01616,
941                                                  Omar              Wilfredo        Pocasangre                 States          Ana                    Gloria        deBarrera                       r              9/11/01     (UA175)      03-cv-9849                 432, at P4821       Sibling                     4023 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
942                                                  Jacques           Dan-El          Debeuneure                 States          James                  D.            Debeuneure                      States         9/11/01     VA (AA77)    03-cv-9849                 26, 29, at 1938     Child                       4023 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                               United                                                             8679-1, at 86,
943                                                  Jalin             Danielle        Debeuneure                 States          James                  D.            Debeuneure                      States         9/11/01     VA (AA77)    03-cv-9849                 8696                Child                       5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          232, at P4055,
                                                                                                                  United                                                                               United                                                             8393-1, at 3,
944                                                  George                            Debin                      States          Anna                   M.            DeBin                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          232, at P4055,
                                                                                                                  United                                                                               United                                                             8393-1, at 51,
945                                                  Timothy                           DeBin                      States          Anna                   M.            DeBin                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          232, at P3672,
                                                                                                                  United                                                                               United                                                             8393-1, at 63,
946                                                  Virginia          Marie           Bowrosen                   States          Paul                                 DeCola                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5061 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
947                                                  Kola                              Dedvukaj                   States          Simon                  Marash        Dedvukaj                        States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4219       Sibling                     4023 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
948                                                  Linda                             Dedvukaj                   States          Simon                  Marash        Dedvukaj                        States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4224       Sibling                     4023 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
949                                                  Lisabeta                          Dedvukaj                   States          Simon                  Marash        Dedvukaj                        States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4223       Sibling                     4023 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
950                                                  Marash                            Dedvukaj                   States          Simon                  Marash        Dedvukaj                        States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4217       Parent                      4126 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
951                                                  Michael                           Dedvukaj                   States          Simon                  Marash        Dedvukaj                        States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4220       Sibling                     4023 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          155, at P2871,
                                                                                                                  United                                                                               United                                                             8393-1, at 76,
952                                                  Nik               M.              Dedvukaj                   States          Simon                  Marash        Dedvukaj                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Sibling                     4023 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
953                                                  Vitora                            Dedvukaj                   States          Simon                  Marash        Dedvukaj                        States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4218       Parent                      4126 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
954                                                  Drana             M               Vukaj                      States          Simon                  Marash        Dedvukaj                        States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4222       Sibling                     4023 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
955                                                  Joanna            Dedvukaj        Wirth                      States          Simon                  Marash        Dedvukaj                        States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4221       Sibling                     4023 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                       United                                                             1:02-cv-01616,
956                                                  James             Christopher     DeFazio                    Unknown         Jason                  Christopher   DeFazio                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 175           Parent                      3666 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                       United                                                             1, at 177, 8397-
957 Alexis                     DeFazio               Michael           J.              DeFazio                    Unknown         Jason                  Christopher   DeFazio                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 7, 8433       Sibling                     4126 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
958                                                  Rose              Ann             DeFazio                    States          Jason                  Christopher   DeFazio                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 176           Parent                      3666 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                               United                                                             1:02-cv-01616,
959                                                  Michele                           Pizzo                      States          Jason                  Christopher   DeFazio                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 174           Spouse                      5087 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          77, at P2685,
                                                                                                                                                                                                       United                                                             8466-1, at 2,
960                                                  Jacinda           Lynn            De Jesus                   Unknown         Jennifer                             DeJesus                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       8233 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                       United                                                             8679-1, at 87,
961                                                  Wilfred                           DeJesus                    Unknown         Jennifer                             DeJesus                         States         9/11/01     NY (WTC)     03-cv-9849                 8696                Parent                      515 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          77, at P2685,
                                                                                                                                                                                                       United                                                             8393-1, at 35,
962                                                  Luis                              Perez                      Unknown         Jennifer                             DeJesus                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Sibling                     515 at 4        $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                      Page 37 of 170
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                                                                                                                                                                         EXHIBIT B-1
                                                                                                                                                      SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                Personal Representative                                              Claimant                                                                                 9/11 Decedent                                                                      Claim Information                                                   Solatium Damages




                                                                                                                      Nationality




                                                                                                                                                                                                             Nationality
                                                                                                                       on 9/11




                                                                                                                                                                                                              on 9/11
                                                                                                         Claimant                                                                                                            Date of                                            Amendments &                        Document
#       First    Middle               Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First             Middle           Last              Suffix                              9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                           Suffix                                                                                                            Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               305, at P4225,
                                                                                                                    United                                                                                  United                                                             8393-1, at 51,
963                                                   Manuel                            Del Valle       Sr.         States          Manuel                               Del Valle           Jr.            States         9/11/01     NY (Other)   03-cv-9849                 8487                Parent                      4023 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               26, 29, at 1941,
                                                                                                                    United                                                                                  United                                                             8393-1, at 1378,
964                                                   Kassidy           Louise          DeLeo                       States          Vito                  Joseph         Deleo               Sr.            States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                                  United                                                             1:02-cv-01616,
965 Michael                   DeLeo                   Lillian                           DeLeo                       States          Vito                  Joseph         Deleo               Sr.            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2983     Parent                      3666 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                                  United                                                             1:02-cv-01616,
966                                                   Michael                           DeLeo                       States          Vito                  Joseph         Deleo               Sr.            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2984     Sibling                     5062 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                                  United                                                             1:02-cv-01616,
967                                                   Sally                             DeLeo                       States          Vito                  Joseph         Deleo               Sr.            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 1941     Spouse                      5087 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               26, 29, at 1941 ,
                                                                                                                    United                                                                                  United                                                             8393-1, at 1379,
968                                                   Vito              Joseph          DeLeo                       States          Vito                  Joseph         Deleo               Sr.            States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               432, at P4825,
                                                                                                                    United                                                                                  United                                                             8393-1, at 53,
969                                                   Joan                              DeMeo                       States          Martin                N.             DeMeo                              States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5087 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               432, at P4825,
                                                                                                                    United                                                                                  United                                                             8393-1, at 859,
970                                                   Nicholas                          DeMeo                       States          Martin                N.             DeMeo                              States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                                  United                                                             1:02-cv-01616,
971                                                   Kristen           Michelle        Lima                        States          Martin                N.             DeMeo                              States         9/11/01     NY (Other)   03-cv-9849                 432, at P4826       Child                       5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                                  United                                                             1:02-cv-01616,
972                                                   Brian             D.              Deming                      States          Francis                              Deming                             States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4828       Child                       5848 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                    United                                                                                  United                                                             HAND FILED, at
973                                                   Robert            Jay             Deming                      States          Francis                              Deming                             States         9/11/01     NY (WTC)     03-cv-9849                 P5035               Sibling                     5848 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                    United                                                                                  United                                                             432, at
974                                                   Rosemary          Maureen         Deming-Phalon               States          Francis                              Deming                             States 9/11/01             NY (WTC)     03-cv-9849                 P4829,P4830         Sibling                     5356 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                                  United                                                             1:02-cv-01616,
975                                                   Patricia          Mary            Bingley                     Kingdom         Kevin                                Dennis                             States 9/11/01             NY (WTC)     03-cv-9849                 155, at P2873       Parent                      4023 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                                  Unknow                                                             1:02-cv-01616,
976                                                   Michele                           Caviasco                    States          Jean                  C.             Depalma                            n      9/11/01             NY (WTC)     03-cv-9849                 305, at P4226       Sibling                     4023 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               26, 29, at 1946,
                                                                                                                    United                                                                                  United                                                             8393-1, at 342,
977                                                   Edward                            DeSimone        IV          States          Edward                               DeSimone            III            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5062 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                                  United                                                             1:02-cv-01616,
978                                                   Joanne                            DeSimone                    States          Edward                               DeSimone            III            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1946     Spouse                      5062 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               26, 29, at 1946,
                                                                                                                    United                                                                                  United                                                             8393-1, at 341,
979                                                   Stephanie         Concetta        DeSimone                    States          Edward                               DeSimone            III            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5062 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                                  United                                                             1:02-cv-01616,
980                                                   Angelina          Mary            Trimboli                    States          Edward                               DeSimone            III            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1948     Parent                      3666 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                            United                                                             1:02-cv-01616,
981                                                   Michele                           Young                       Unknown         Edward                               DeSimone            III            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1949     Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                    United                                                                                  United                                                             1, at 151, 8393-
982                                                   Ashley            May             D'Esposito                  States          Michael               Jude           D'Esposito                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 939, 8487     Child                       5061 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                                  United                                                             8679-1, at 88,
983                                                   Carol             Ann             D'Esposito                  States          Michael               Jude           D'Esposito                         States         9/11/01     NY (WTC)     03-cv-9849                 8696                Parent                      7188 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                                  United                                                             1:02-cv-01616,
984                                                   Ralph             Thomas          D'Esposito                  States          Michael               Jude           D'Esposito                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 152           Parent                      3666 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                                  United                                                             8679-1, at 89,
985                                                   Robert            Anthony         D'Esposito                  States          Michael               Jude           D'Esposito                         States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                    United                                                                                  United                                                             1, at 151, 8393-
986                                                   Grace             Elizabeth       Lieberman                   States          Michael               Jude           D'Esposito                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 58, 8487      Spouse                      5061 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                    United                                                                                  Unknow                                                             HAND FILED, at
987                                                   William           Gerard          Dewan                       States          Gerard                P.             Dewan                              n      9/11/01             NY (Other)   03-cv-9849                 P5039               Sibling                     4023 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                                  Unknow                                                             1:02-cv-01616,
988                                                   Marie                             Cirmia                      States          Debra                 Ann            Di Martino                         n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 3010     Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                                                                                                               HAND FILED, at
                                                                                                                                                                                                            United                                                             P5040, 8393-1,
989                                                   LaShawn                           Dickens                     Unknown         Rodney                Alonzo         Dickens                            States         9/11/01     VA (AA77)    03-cv-9849                 at 72, 8487         Parent                      3666 at 13      $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                        Page 38 of 170
                                                                                                           Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                 Filed 04/23/24             Page 40 of 171
                                                                                                                                                                           EXHIBIT B-1
                                                                                                                                                        SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                             Claimant                                                                               9/11 Decedent                                                                 Claim Information                                                    Solatium Damages




                                                                                                                        Nationality




                                                                                                                                                                                                         Nationality
                                                                                                                         on 9/11




                                                                                                                                                                                                          on 9/11
                                                                                                           Claimant                                                                                                      Date of                                            Amendments &                        Document
 #       First         Middle            Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle         Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                             Suffix                                                                                                      Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 3014,
                                                                                                                      United                                                                            United                                                             8393-1, at 778,
990                                                      Erin              R.              Dickinson                  States          Lawrence              Patrick       Dickinson                     States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
991 Deirdre      Dickinson        Sullivan               Helene            F.              Dickinson                  States          Lawrence              Patrick       Dickinson                     States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2875       Parent                      3666 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
992                                                      Joseph            Lawrence        Dickinson                  Unknown         Lawrence              Patrick       Dickinson                     States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2876       Sibling                     3666 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 3014,
                                                                                                                      United                                                                            United                                                             8393-1, at 779,
993                                                      Patrick           J.              Dickinson                  States          Lawrence              Patrick       Dickinson                     States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 3014,
                                                                                           Dickinson-                 United                                                                            United                                                             8393-1, at 49,
994                                                      Linda             M.              Pancila                    States          Lawrence              Patrick       Dickinson                     States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5061 at 5        $        12,500,000.00 $   37,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
995                                                      Deirdre           Dickinson       Sullivan                   States          Lawrence              Patrick       Dickinson                     States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2877       Sibling                     3666 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 3022,
                                                                                                                      United                                                                            United                                                             8393-1, at 592,
996                                                      Anthony                           DiFato                     States          John                                DiFato                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
997                                                      Antonio                           DiFato                     Unknown         John                                DiFato                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 181           Parent                      3666 at 2, 4     $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 3022,
                                                                                                                      United                                                                            United                                                             8393-1, at 591,
998                                                      John              Anthony         DiFato                     States          John                                DiFato                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 3022,
                                                                                                                      United                                                                            United                                                             8393-1, at 590,
999                                                      Nicole            Kristine        DiFato                     States          John                                DiFato                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
1000                                                     Susan                             DiFato                     States          John                                DiFato                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3022     Spouse                      5061 at 5        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
1001                                                     Teresa                            DiFato                     Unknown         John                                DiFato                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 182           Parent                      3666 at 2, 4     $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           305, at P4229,
                                                                                                                      United                                                                            United                                                             8393-1, at 1367,
1002                                                     Dana              Michelle        DiFazio                    States          Vincent               Francis       DiFazio                       States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           305, at P4229,
                                                                                                                      United                                                                            United                                                             8393-1, at 1368,
1003                                                     Gina              Marie           DiFazio                    States          Vincent               Francis       DiFazio                       States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           305, at P4229,
                                                                                                                      United                                                                            United                                                             8393-1, at 1369,
1004                                                     Joseph            Vincent         DiFazio                    States          Vincent               Francis       DiFazio                       States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       6035 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           305, at P4229,
                                                                                                                      United                                                                            United                                                             8393-1, at 84,
1005                                                     Patricia          Anne            DiFazio                    States          Vincent               Francis       DiFazio                       States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5848 at 5        $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                      United                                                                            United                                                             3, at 1063, 8397-
1006 Carole      May              DiFranco               Carmelo           Anthony         DiFranco                   States          Carl                  A.            DiFranco                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 7, 8433       Parent                      5062 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
1007                                                     Carole            May             DiFranco                   States          Carl                  A.            DiFranco                      States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1064          Parent                      4023 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
1008                                                     Nancy                             DiFranco                   States          Carl                  A.            DiFranco                      States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1066          Sibling                     4023 at 10       $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
1009                                                     Georgia           Rose            DiPasquale                 States          George                              DiPasquale                    States         9/11/01     NY (Other)   03-cv-9849                 77, at P2582        Child                       5848 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           77, at P2583,
                                                                                                                      United                                                                            United                                                             8393-1, at 27,
1010                                                     Melissa           M.              DiPasquale                 States          George                              DiPasquale                    States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5356 at 2        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 3030,
                                                                                                                                                                                                        United                                                             8393-1, at 19,
1011                                                     Marjorie          Alice           DiTullio                   Unknown         Donald                Americo       DiTullio                      States         9/11/01     NY (AA11)    03-cv-9849                 8487                Parent                      4023 at 10       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
1012                                                     Janice            Lee             Fleming                    States          Donald                Americo       DiTullio                      States         9/11/01     NY (AA11)    03-cv-9849                 26, 29, at 3032     Sibling                     4023 at 10       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                   VA
                                                                                                                      United                                                                            United                     (Pentagon                               1:03-md-01570,
1013                                                     Evon                              Arnold                     States          Johnnie                             Doctor            Jr.         States         9/11/01     )            03-cv-9849                 432, at P5344       Sibling                     3666 at 4        $         4,250,000.00 $   12,750,000.00




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                                                                                                                                                                               EXHIBIT B-1
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                              Claimant                                                                                 9/11 Decedent                                                                Claim Information                                                  Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                            Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                             on 9/11
                                                                                                               Claimant                                                                                                     Date of                                            Amendments &                       Document
 #      First         Middle             Last     Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle        Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                     Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                      VA                                      305, at P4230,
                                                                                                                          United                                                                           United                     (Pentagon                               8393-1, at 40,
1014                                                       Andrea            Gale            Doctor                       States          Johnnie                             Doctor           Jr.         States         9/11/01     )            03-cv-9849                 8487               Spouse                      5087 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                      VA
                                                                                                                          United                                                                           United                     (Pentagon                               1:03-md-01570,
1015                                                       Evelena                           Doctor                       States          Johnnie                             Doctor           Jr.         States         9/11/01     )            03-cv-9849                 432, at P5340      Parent                      3666 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                      VA
                                                                                                                          United                                                                           United                     (Pentagon                               1:03-md-01570,
1016                                                       JoAnn                             Doctor                       States          Johnnie                             Doctor           Jr.         States         9/11/01     )            03-cv-9849                 432, at P5343      Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                      VA
                                                                                                                          United                                                                           United                     (Pentagon                               1:03-md-01570,
1017                                                       Sheldon           Dewayne         Doctor                       States          Johnnie                             Doctor           Jr.         States         9/11/01     )            03-cv-9849                 432, at P5342      Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                      VA
                                                                                                                          United                                                                           United                     (Pentagon                               1:03-md-01570,
1018                                                       William           Lawrence        Doctor                       States          Johnnie                             Doctor           Jr.         States         9/11/01     )            03-cv-9849                 432, at P5341      Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                      VA
                                                                                                                          United                                                                           United                     (Pentagon                               1:02-cv-01616,
1019                                                       Lydeda                            Grant                        States          Johnnie                             Doctor           Jr.         States         9/11/01     )            03-cv-9849                 305, at P4231      Child                       5951 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                      VA
                                                                                                                          United                                                                           United                     (Pentagon                               1:03-md-01570,
1020                                                       Elaine            Doctor          McGraw                       States          Johnnie                             Doctor           Jr.         States         9/11/01     )            03-cv-9849                 432, at P5345      Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                      VA                                      305, at P4230,
                                                                                                                          United                                                                           United                     (Pentagon                               8393-1, at 638,
1021                                                       Anthony           Peter           Newsome                      States          Johnnie                             Doctor           Jr.         States         9/11/01     )            03-cv-9849                 8487               Child                       5951 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4232,
                                                                                                                          United                                                                           United                                                             8393-1, at 61,
1022                                                       Helen             Ann             Dollard                      States          Neil                  Matthew       Dollard                      States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                           United                                                             1:02-cv-01616,
1023                                                       Mary              Kathleen        Dollard                      States          Neil                  Matthew       Dollard                      States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4236      Sibling                     4126 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                           United                                                             1:02-cv-01616,
1024                                                       Michael           James           Dollard                      States          Neil                  Matthew       Dollard                      States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4234      Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                           United                                                             1:02-cv-01616,
1025                                                       Peter             Adam            Dollard                      States          Neil                  Matthew       Dollard                      States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4235      Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4233,
                                                                                                                          United                                                                           United                                                             8397-1, at 7,
1026 Donna      E.                 Dollard                 Robert            M.              Dollard                      States          Neil                  Matthew       Dollard                      States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      5061 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                           United                                                             1:02-cv-01616,
1027                                                       Diana             Eileen          Dollard-Hearns               States          Neil                  Matthew       Dollard                      States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4237      Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                           United                                                             1:02-cv-01616,
1028                                                       Megan             Alice           Fajardo                      States          Neil                  Matthew       Dollard                      States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4239      Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                           United                                                             1:02-cv-01616,
1029                                                       Anne              Lesley          Zucchi                       States          Neil                  Matthew       Dollard                      States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4238      Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                          United                                                                           United                                                             1, at 184, 8393-
1030                                                       Frank             Joseph          Dominguez                    States          Jerome                              Dominguez                    States         9/11/01     NY (Other)   03-cv-9849                 1, at 35, 8487     Sibling                     5138 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                           United                                                             1:02-cv-01616,
1031                                                       Mary                              Coughlin                     States          Kevin                 W.            Donnelly                     States         9/11/01     NY (Other)   03-cv-9849                 305, at P4242      Spouse                      5951 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                           United                                                             1:02-cv-01616,
1032                                                       Brian             J.              Donnelly                     States          Kevin                 W.            Donnelly                     States         9/11/01     NY (Other)   03-cv-9849                 155, at P2879      Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              432, at P4833,
                                                                                                                          United                                                                           United                                                             8397-1, at 8,
1033 Edward     Lawrence           Donnelly     Jr.        Cecilia           E.              Donnelly                     States          Kevin                 W.            Donnelly                     States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      4023 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              432, at P4832,
                                                                                                                          United                                                                           United                                                             8397-1, at 8,
1034 Edward     Lawrence           Donnelly     Jr.        Edward            Lawrence        Donnelly         Sr.         States          Kevin                 W.            Donnelly                     States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      4023 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              155, at P2880,
                                                                                                                          United                                                                           United                                                             8393-1, at 47,
1035                                                       Edward            Lawrence        Donnelly         Jr.         States          Kevin                 W.            Donnelly                     States         9/11/01     NY (Other)   03-cv-9849                 8487               Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                           United                                                             1:02-cv-01616,
1036                                                       Mary              C.              Martin                       States          Kevin                 W.            Donnelly                     States         9/11/01     NY (Other)   03-cv-9849                 155, at P2881      Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                      VA                                      155, at P2882,
                                                                                                                          United                                                                           United                     (Pentagon                               8393-1, at 1412,
1037                                                       Brady                             Donovan                      States          William               Howard        Donovan                      States         9/11/01     )            03-cv-9849                 8487               Child                       5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                      VA                                      155, at P2882,
                                                                                                                          United                                                                           United                     (Pentagon                               8393-1, at 87,
1038                                                       Elaine            Marie           Donovan                      States          William               Howard        Donovan                      States         9/11/01     )            03-cv-9849                 8487               Spouse                      5087 at 8       $        12,500,000.00 $   37,500,000.00




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                                                                                                                  Case 1:03-md-01570-GBD-SN                                    Document 9716-2                                   Filed 04/23/24             Page 42 of 171
                                                                                                                                                                                 EXHIBIT B-1
                                                                                                                                                              SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                                Claimant                                                                               9/11 Decedent                                                                   Claim Information                                                   Solatium Damages




                                                                                                                              Nationality




                                                                                                                                                                                                                Nationality
                                                                                                                               on 9/11




                                                                                                                                                                                                                 on 9/11
                                                                                                                 Claimant                                                                                                       Date of                                            Amendments &                        Document
 #       First         Middle               Last     Suffix    Claimant First   Claimant Middle Claimant Last                                         First           Middle           Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                   Suffix                                                                                                       Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                          VA                                      155, at P2882,
                                                                                                                            United                                                                             United                     (Pentagon                               8393-1, at 1413,
1039                                                          Kelsey            Elizabeth       Donovan                     States          William               Howard       Donovan                         States         9/11/01     )            03-cv-9849                 8487                Child                       5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                          VA                                      155, at P2882,
                                                                                                                            United                                                                             United                     (Pentagon                               8393-1, at 1414,
1040                                                          Megan             Lynn            Donovan                     States          William               Howard       Donovan                         States         9/11/01     )            03-cv-9849                 8487                Child                       5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                             United                                                             1:02-cv-01616,
1041                                                          Michael                           Donovan                     States          Jacqueline                         Donovan                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3678       Sibling                     5087 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                             United                                                             1:02-cv-01616,
1042                                                          Patrice                           Kelleher                    States          Jacqueline                         Donovan                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3679       Sibling                     5848 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                             United                                                             1:02-cv-01616,
1043                                                          Jeanine           Marie           Wiese                       States          Jacqueline                         Donovan                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3681       Sibling                     5356 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 2512,
                                                                                                                            United                                                                             United                                                             5284-1, at 4,
1044                                                          Rosaleen          Clare           Shea                        States          Mary                  Yolanda      Dowling                         States         9/11/01     NY (WTC)     03-cv-9849                 5296                Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                               United                                                             1, at 13, 8397-1,
1045 William     Henry              Doyle          Jr.        Camille                           Doyle                       Unknown         Joseph                Michael      Doyle                           States         9/11/01     NY (WTC)     03-cv-9849                 at 8, 8433          Parent                      5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                             United                                                             1:02-cv-01616,
1046                                                          William           Henry           Doyle           Jr.         States          Joseph                Michael      Doyle                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 14            Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  1, at 12, 8397-1,
                                                                                                                                                                                                               United                                                             at 8, 8433, 8393-
1047 William     Henry              Doyle          Jr.        William           H.              Doyle           Sr.         Unknown         Joseph                Michael      Doyle                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 42, 8487      Parent                      5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
1048                                                          Doreen                            Lutter                      Unknown         Joseph                Michael      Doyle                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 15            Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                            United                                                                             United                                                             3, at 1077, 8397-
1049 Pamela      Marie              Gould                     Adelaide          Maureen         Driscoll                    States          Patrick               Joseph       Driscoll                        States         9/11/01     PA (UA93)    03-cv-9849                 1, at 8, 8433       Spouse                      5848 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  305, at P4244,
                                                                                                                            United                                                                             United                                                             8393-1, at 77,
1050                                                          Ann               Patricia        Driscoll                    States          Stephen               Patrick      Driscoll                        States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5087 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  305, at P4244,
                                                                                                                            United                                                                             United                                                             8393-1, at 1246,
1051                                                          Barry             Patrick         Driscoll                    States          Stephen               Patrick      Driscoll                        States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                             United                                                             1:02-cv-01616,
1052                                                          Christopher       John            Driscoll                    States          Patrick               Joseph       Driscoll                        States         9/11/01     PA (UA93)    03-cv-9849                 3, at 1078          Child                       5062 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  77, at AP205,
                                                                                                                                                                                                               United                                                             5284-1, at 4,
1053                                                          Jean              Patricia        Driscoll                    Unknown         Stephen               Patrick      Driscoll                        States         9/11/01     NY (Other)   03-cv-9849                 5296                Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                            United                                                                             United                                                             3, at 1081, 8397-
1054 Helene      F.                 Driscoll                  John              M.              Driscoll                    States          Patrick               Joseph       Driscoll                        States         9/11/01     PA (UA93)    03-cv-9849                 1, at 8, 8433       Sibling                     4126 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  77, at AP203,
                                                                                                                                                                                                                                                                                  5284-1, at 4,
                                                                                                                                                                                                               United                                                             5296, 8397-1, at
1055 Joseph      A.                 Charbonneau               Letitia                           Driscoll                    Unknown         Stephen               Patrick      Driscoll                        States         9/11/01     NY (Other)   03-cv-9849                 8, 8433             Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  77, at AP204,
                                                                                                                            United                                                                             United                                                             5284-1, at 4,
1056                                                          Michael           Cornelius       Driscoll                    States          Stephen               Patrick      Driscoll                        States         9/11/01     NY (Other)   03-cv-9849                 5296                Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                             United                                                             1:02-cv-01616,
1057                                                          Patrick           Thomas          Driscoll                    States          Patrick               Joseph       Driscoll                        States         9/11/01     PA (UA93)    03-cv-9849                 3, at 1080          Child                       4023 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  77, at AP202,
                                                                                                                            United                                                                             United                                                             8397-1, at 8,
1058 Joseph      A.                 Charbonneau               Patrick           Joseph          Driscoll                    States          Stephen               Patrick      Driscoll                        States         9/11/01     NY (Other)   03-cv-9849                 8433                Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  77, at AP206,
                                                                                                                            United                                                                             United                                                             5284-1, at 4,
1059                                                          Sheila            Mary            Driscoll                    States          Stephen               Patrick      Driscoll                        States         9/11/01     NY (Other)   03-cv-9849                 5296                Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                             United                                                             1:02-cv-01616,
1060                                                          Stephen           Michael         Driscoll                    States          Patrick               Joseph       Driscoll                        States         9/11/01     PA (UA93)    03-cv-9849                 3, at 1079          Child                       4023 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                             United                                                             1:02-cv-01616,
1061                                                          Pamela            Marie           Gould                       States          Patrick               Joseph       Driscoll                        States         9/11/01     PA (UA93)    03-cv-9849                 3, at 1082          Child                       4023 at 10      $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                              Page 41 of 170
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                                                                                                                                                                                  EXHIBIT B-1
                                                                                                                                                               SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                                  Claimant                                                                                 9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                               Nationality




                                                                                                                                                                                                                  Nationality
                                                                                                                                on 9/11




                                                                                                                                                                                                                   on 9/11
                                                                                                                  Claimant                                                                                                        Date of                                            Amendments &                        Document
 #        First         Middle             Last       Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                    Suffix                                                                                                        Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    77, at AP207,
                                                                                                                             United                                                                              United                                                             5284-1, at 4,
1062                                                           Gail              Marie           Silke                       States          Stephen               Patrick       Driscoll                        States         9/11/01     NY (Other)   03-cv-9849                 5296                Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    77, at AP208,
                                                                                                                             United                                                                              United                                                             5284-1, at 4,
1063                                                           Michelle          Eileen          Tierney                     States          Stephen               Patrick       Driscoll                        States         9/11/01     NY (Other)   03-cv-9849                 5296                Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1064                                                           Jason             T.              Duffy                       States          Thomas                W.            Duffy                           States         9/11/01     NY (WTC)     03-cv-9849                 305, at AP252       Child                       4023 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1065                                                           Robert            M.              Duffy                       States          Gerard                J.            Duffy                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3070     Sibling                     5356 at 2       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                                                                                 1:02-cv-01616,
1066                                                           Megan             Michelle        Duger                       States          Antoinette                          Duger                           Italy          9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4789     Child                       5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 4789,
                                                                                                                             United                                                                                                                                                 5284-1, at 4,
1067                                                           Raymond                           Duger                       States          Antoinette                          Duger                           Italy          9/11/01     NY (WTC)     03-cv-9849                 5296                Spouse                      5087 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                 United                                                             1:02-cv-01616,
1068                                                           Mitchell          T.              Duggan                      Ireland         Jacqueline            Sayegh        Duggan                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3078     Spouse                      5061 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1069                                                           Diana             Jean            Sayegh                      States          Jacqueline            Sayegh        Duggan                          States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2698        Parent                      4023 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    77, at P2699,
                                    Sayegh; Sayegh,                                                                                                                                                              United                                                             8397-1, at 24,
1070 Diana; Geroge Jean; A.         Jr.                        George            A.              Sayegh          Sr.         Unknown         Jacqueline            Sayegh        Duggan                          States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                              United                                                             8679-1, at 90,
1071                                                           George            A.              Sayegh          Jr.         States          Jacqueline            Sayegh        Duggan                          States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1072                                                           Joel              Gary            Shapiro                     States          Sareve                              Dukat                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1956     Spouse                      5087 at 8       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                             United                                                                                                                                                 3, at 1085, 8393-
1073                                                           Christopher       Graham          Dunstan                     States          Richard               A.            Dunstan                         England 9/11/01            NY (WTC)     03-cv-9849                 1, at 1080, 8487    Child                       5848 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                                                                                                 1:02-cv-01616,
1074                                                           Janet             Arleen          Dunstan                     States          Richard               A.            Dunstan                         England 9/11/01            NY (WTC)     03-cv-9849                 3, at 1085          Spouse                      5848 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                             United                                                                                                                                                 1:02-cv-01616,
1075                                                           Laura             Diane           Fornuff                     States          Richard               A.            Dunstan                         England 9/11/01            NY (WTC)     03-cv-9849                 3, at 1086          Child                       5848 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                              Unknow                                                             1:02-cv-01616,
1076                                                           Johanna           L.              Kmetz                       States          Margaret              R.            Echtermann                      n       9/11/01            NY (WTC)     03-cv-9849                 313, at P4637       Sibling                     4126 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1077                                                           Audrey            Katherine       Economos                    States          Constantine                         Economos                        States 9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 1959     Spouse                      5061 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 1959,
                                                                                                                             United                                                                              United                                                             8393-1, at 209,
1078                                                           Constantine       Leon            Economos                    States          Constantine                         Economos                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 1959,
                                                                                                                             United                                                                              United                                                             8393-1, at 210,
1079                                                           Katherine         Audrey          Economos                    States          Constantine                         Economos                        States 9/11/01             NY (WTC)     03-cv-9849                 8487                Child                       5848 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                              German                                                             1:02-cv-01616,
1080                                                           Douglas           Craig           Edwards                     States          Barbara               Gollan        Edwards                         y      9/11/01             VA (AA77)    03-cv-9849                 155, at P2884       Child                       5062 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    155, at P2885,
                                                                                                                             United                                                                              German                                                             8393-1, at 5,
1081                                                           Frank             Michael         Edwards                     States          Barbara               Gollan        Edwards                         y      9/11/01             VA (AA77)    03-cv-9849                 8487                Child                       4023 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                              German                                                             1:02-cv-01616,
1082                                                           Scott             Christopher     Edwards                     States          Barbara               Gollan        Edwards                         y      9/11/01             VA (AA77)    03-cv-9849                 155, at P2886       Child                       4126 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1083                                                           Colleen           Michelle        D'Amato                     States          Martin                Joseph        Egan                Jr.         States 9/11/01             NY (Other)   03-cv-9849                 1, at 187           Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                             United                                                                              United                                                             1, at 186, 8393-
1084                                                           Diane                             Egan                        States          Martin                Joseph        Egan                Jr.         States         9/11/01     NY (Other)   03-cv-9849                 1, at 53, 848       Spouse                      5061 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                             United                                                                              United                                                             1, at 186, 8393-
1085                                                           Kerry             Ann             Egan                        States          Martin                Joseph        Egan                Jr.         States         9/11/01     NY (Other)   03-cv-9849                 1, at 853, 8487     Child                       5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1086                                                           Mark              C.              Egan                        States          Martin                Joseph        Egan                Jr.         States         9/11/01     NY (Other)   03-cv-9849                 1, at 189           Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                             United                                                                              United                                                             1, at 190, 8397-
1087 Patricia      Mary             Egan                       Martin            J.              Egan            Sr.         States          Martin                Joseph        Egan                Jr.         States         9/11/01     NY (Other)   03-cv-9849                 1, at 8, 8433       Parent                      5062 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1088                                                           Michael           Patrick         Egan                        States          Martin                Joseph        Egan                Jr.         States         9/11/01     NY (Other)   03-cv-9849                 1, at 188           Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1089                                                           Patricia          Mary            Egan                        States          Martin                Joseph        Egan                Jr.         States         9/11/01     NY (Other)   03-cv-9849                 1, at 191           Parent                      4023 at 10      $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                                Page 42 of 170
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                                                                                                                                                                             EXHIBIT B-1
                                                                                                                                                          SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                                 Claimant                                                                                  9/11 Decedent                                                                Claim Information                                                  Solatium Damages




                                                                                                                          Nationality




                                                                                                                                                                                                              Nationality
                                                                                                                           on 9/11




                                                                                                                                                                                                               on 9/11
                                                                                                             Claimant                                                                                                         Date of                                            Amendments &                       Document
 #       First       Middle                Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First             Middle           Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                               Suffix                                                                                                         Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                        United                                                                               United                                                             1, at 186, 8393-
1090                                                       Sean              Christopher     Egan                       States          Martin                Joseph         Egan                Jr.         States         9/11/01     NY (Other)   03-cv-9849                 1, at 854, 8487    Child                       5061 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             8679-1, at 91,
1091                                                       Adina             Debra           Eisenberg                  States          Eric                  Adam           Eisenberg                       States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             8679-1, at 92,
1092                                                       Carl              Jonas           Eisenberg                  States          Eric                  Adam           Eisenberg                       States         9/11/01     NY (WTC)     03-cv-9849                 8696               Parent                      7188 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             8679-1, at 93,
1093                                                       Russell           Marc            Eisenberg                  States          Eric                  Adam           Eisenberg                       States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                305, at P4250,
                                                                                                                        United                                                                               United                                                             8393-1, at 23,
1094                                                       Paula             Robin           Shapiro                    States          Eric                  Adam           Eisenberg                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      5062 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3682,
                                                                                                                        United                                                                               United                                                             8397-1, at 8,
1095 Josephine                   Elder                     Jimmy             Paul            Elder                      States          Daphne                Ferlinda       Elder                           States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      5061 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
1096                                                       Josephine                         Elder                      States          Daphne                Ferlinda       Elder                           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3683      Parent                      4023 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
1097                                                       Nancy             Frances         Chalmers                   States          Michael               J.             Elferis                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3101    Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
1098                                                       Joseph            E.              Elferis                    States          Michael               J.             Elferis                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3099    Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 3098,
                                                                                                                        United                                                                               United                                                             8397-1, at 8,
1099 Robert      George          Elferis                   Mary              E.              Elferis                    States          Michael               J.             Elferis                         States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      4023 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
1100                                                       Robert            E.              Elferis                    States          Michael               J.             Elferis                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3097    Parent                      4023 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
1101                                                       Robert            George          Elferis                    States          Michael               J.             Elferis                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3100    Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
1102                                                       Elizabeth         Ann             Wild                       States          Michael               J.             Elferis                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3102    Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             8679-1, at 96,
1103                                                       Brian             Keith           Emery                      States          Edgar                 Hendricks      Emery               Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8696               Child                       7188 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2469,
                                                                                                                                                                                                             United                                                             5284-1, at 4,
1104                                                       Elizabeth                         Emery                      Unknown         Edgar                 Hendricks      Emery               Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 5296               Spouse                      5848 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                               United                                                             8679-1, at 94,
1105                                                       Martha            Elizabeth       Emery                      States          Edgar                 Hendricks      Emery               Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8696               Parent                      7188 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             8679-1, at 97,
1106                                                       Richard           Lee             Emery                      States          Edgar                 Hendricks      Emery               Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             8679-1, at 98,
1107                                                       Wayne             Alan            Emery                      States          Edgar                 Hendricks      Emery               Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             8679-1, at 95,
1108                                                       Dona              Mae             Wallich                    States          Edgar                 Hendricks      Emery               Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                             United                                                             313, at P4639,
                                                                                                                        United                                                                               Kingdo                                                             8393-1, at 74,
1109                                                       Rogelio           R.              Escarcega                  States          Sarah                 Ali            Escarcega                       m      9/11/01             NY (WTC)     03-cv-9849                 8487               Spouse                      5848 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                               Unknow                                                             1:02-cv-01616,
1110                                                       Marlyse           Salome          Bosley                     States          Jose                                 Espinal                         n      9/11/01             NY (Other)   03-cv-9849                 1, at 193          Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
1111                                                       Catherine         M.              Esposito                   States          Francis                              Esposito                        States 9/11/01             NY (Other)   03-cv-9849                 1, at 199          Sibling                     4126 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
1112                                                       Craig             Steven          Esposito                   States          William               J.             Esposito                        States 9/11/01             NY (WTC)     03-cv-9849                 313, at P4640      Child                       5848 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                             United                                                             1:02-cv-01616,
1113                                                       Dominick          Anthony         Esposito                   Unknown         Francis                              Esposito                        States 9/11/01             NY (Other)   03-cv-9849                 1, at 198          Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                             United                                                             1:02-cv-01616,
1114                                                       Dorothy           Helen           Esposito                   Unknown         Francis                              Esposito                        States 9/11/01             NY (Other)   03-cv-9849                 1, at 195          Parent                      3666 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
1115                                                       Frank                             Esposito                   States          Michael                              Esposito                        States 9/11/01             NY (Other)   03-cv-9849                 1, at 208          Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
1116                                                       Joseph            Michael         Esposito                   States          Michael                              Esposito                        States 9/11/01             NY (Other)   03-cv-9849                 1, at 206          Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                             United                                                             1:02-cv-01616,
1117                                                       Michael           Anthony         Esposito                   Unknown         Francis                              Esposito                        States 9/11/01             NY (Other)   03-cv-9849                 1, at 196          Parent                      3666 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                155, at P2889,
                                                                                                                        United                                                                               United                                                             8393-1, at 7,
1118                                                       Michael           Anthony         Esposito                   States          Bridget               Ann            Esposito                        States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5087 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
1119                                                       Richard                           Esposito                   States          Francis                              Esposito                        States         9/11/01     NY (Other)   03-cv-9849                 1, at 197          Sibling                     4126 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
1120 Joseph      Michael         Esposito                  Salvatore                         Esposito                   States          Michael                              Esposito                        States         9/11/01     NY (Other)   03-cv-9849                 1, at 207          Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                            Page 43 of 170
                                                                                                                       Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                    Filed 04/23/24             Page 45 of 171
                                                                                                                                                                                      EXHIBIT B-1
                                                                                                                                                                   SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                        Personal Representative                                                   Claimant                                                                                 9/11 Decedent                                                                    Claim Information                                                   Solatium Damages




                                                                                                                                   Nationality




                                                                                                                                                                                                                        Nationality
                                                                                                                                    on 9/11




                                                                                                                                                                                                                         on 9/11
                                                                                                                      Claimant                                                                                                          Date of                                            Amendments &                        Document
 #        First           Middle              Last        Suffix    Claimant First   Claimant Middle Claimant Last                                         First             Middle            Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                        Suffix                                                                                                          Death                                               Substitutions                        ation

                                                                                                                                 United                                                                                United                                                             1:02-cv-01616,
1121                                                               Simone                            Esposito        Jr.         States          Michael                              Esposito                         States         9/11/01     NY (Other)   03-cv-9849                 1, at 205           Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                                United                                                             1:02-cv-01616,
1122                                                               Simone                            Esposito        Sr.         States          Michael                              Esposito                         States         9/11/01     NY (Other)   03-cv-9849                 1, at 202           Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          232, at P4056,
                                                                                                                                 United                                                                                United                                                             8393-1, at 88,
1123                                                               Stephanie         Lynn            Esposito                    States          William               J.             Esposito                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5061 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                 United                                                                                United                                                             1:02-cv-01616,
1124                                                               Vincent                           Esposito                    States          Francis                              Esposito                         States         9/11/01     NY (Other)   03-cv-9849                 1, at 200           Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                     Esposito-                   United                                                                                United                                                             1:02-cv-01616,
1125                                                               Susan             Britt           Lombardo                    States          William               J.             Esposito                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P4057       Child                       5062 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          26, 29, at 3110,
                                                                                                                                 United                                                                                United                                                             8393-1, at 24,
1126                                                               Dawn              Marie           Picciano                    States          Francis                              Esposito                         States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5848 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                 United                                                                                United                                                             8679-1, at 385,
1127                                                               Michael           Anthony         Thomas                      States          Bridget               Ann            Esposito                         States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                                United                                                             8679-1, at 99,
1128                                                               Yvette            Maria           Thomas-Huang                States          Bridget               Ann            Esposito                         States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                          1:03-md-01570,
                                                                                                                                                                                                                                                                                          432, at P5349,
                                                                                                                                 United                                                                                United                                                             8393-1, at 73,
1129                                                               Maria             Luisa           Bey                         States          Ruben                                Esquilin             Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                     Esquilin-                   United                                                                                United                                                             1:02-cv-01616,
1130                                                               Priscilla                         Hernandez                   States          Ruben                                Esquilin             Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3684       Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                 United                                                                                United                                                             3, at 1089, 8397-
1131 Gary; Charles Michael; Reggie    Evans; Evans, Jr.            Charles           R.              Evans           Sr.         States          Eric                  Brian          Evans                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 9, 8433       Parent                      5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                                United                                                             8679-1, at 103,
1132                                                               Charles           Reggie          Evans           Jr.         States          Eric                  Brian          Evans                            States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 7       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                 United                                                                                United                                                             3, at 1090, 8397-
1133 Gary; Charles Michael; Reggie    Evans; Evans, Jr.            Corinne           J.              Evans                       States          Eric                  Brian          Evans                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 9, 8433       Parent                      5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                                United                                                             8679-1, at 102,
1134                                                               Gary              Michael         Evans                       States          Eric                  Brian          Evans                            States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                                United                                                             8679-1, at 101,
1135                                                               Robert            Scott           Evans                       States          Eric                  Brian          Evans                            States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                                United                                                             1:02-cv-01616,
1136                                                               Diane             Dorothy         Fairben                     States          Keith                 George         Fairben                          States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2587        Parent                      4023 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          77, at P2588,
                                                                                                                                 United                                                                                United                                                             8393-1, at 45,
1137                                                               Kenneth           Bruce           Fairben                     States          Keith                 George         Fairben                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                  VA
                                                                                                                                 United                                                                                United                     (Pentagon                               1:02-cv-01616,
1138                                                               Patricia          A.              Fallon                      States          Jamie                 Lynn           Fallon                           States         9/11/01     )            03-cv-9849                 26, 29, at 3115     Parent                      5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                                United                     NY                                      1:02-cv-01616,
1139                                                               Deborah           Ann             Fangman                     States          Robert                John           Fangman                          States         9/11/01     (UA175)      03-cv-9849                 305, at P4259       Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                                United                     NY                                      1:02-cv-01616,
1140                                                               Michael           Wayne           Fangman                     States          Robert                John           Fangman                          States         9/11/01     (UA175)      03-cv-9849                 305, at P4255       Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          305, at P4254,
                                                                                                                                 United                                                                                United                     NY                                      8397-1, at 9,
1141 Kristine      Lee                Fangman                      Paul              Martin          Fangman                     States          Robert                John           Fangman                          States         9/11/01     (UA175)      03-cv-9849                 8433                Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          432, at P4835,
                                                                                                                                 United                                                                                United                     NY                                      8393-1, at 70,
1142 Carole        Lynn               Ricci                        Ruth              M.              Fangman                     States          Robert                John           Fangman                          States         9/11/01     (UA175)      03-cv-9849                 8487                Parent                      5062 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                                United                     NY                                      1:02-cv-01616,
1143                                                               Stephen           Gerard          Fangman                     States          Robert                John           Fangman                          States         9/11/01     (UA175)      03-cv-9849                 305, at P4256       Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                                United                     NY                                      1:02-cv-01616,
1144                                                               Theresa           Marie           Frakes                      States          Robert                John           Fangman                          States         9/11/01     (UA175)      03-cv-9849                 305, at P4257       Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          305, at P4258,
                                                                                                                                 United                                                                                United                     NY                                      8393-1, at 70,
1145                                                               Carole            Lynn            Ricci                       States          Robert                John           Fangman                          States         9/11/01     (UA175)      03-cv-9849                 8487                Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          305, at P4260,
                                                                                                                                 United                                                                                United                                                             8393-1, at 45,
1146                                                               Beth              Ann             Faragher                    States          Kathleen                             Faragher                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Sibling                     4023 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                                United                                                             1:02-cv-01616,
1147 Mary          F.                 Waterman                     Beverly           Ann             Faragher                    States          Kathleen                             Faragher                         States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4262       Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00




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                                                                                                                       Case 1:03-md-01570-GBD-SN                                   Document 9716-2                                   Filed 04/23/24             Page 46 of 171
                                                                                                                                                                                      EXHIBIT B-1
                                                                                                                                                                   SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                         Personal Representative                                                  Claimant                                                                                 9/11 Decedent                                                                Claim Information                                                   Solatium Damages




                                                                                                                                   Nationality




                                                                                                                                                                                                                    Nationality
                                                                                                                                    on 9/11




                                                                                                                                                                                                                     on 9/11
                                                                                                                      Claimant                                                                                                      Date of                                            Amendments &                        Document
 #          First          Middle               Last      Suffix    Claimant First   Claimant Middle Claimant Last                                         First          Middle           Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                        Suffix                                                                                                      Death                                               Substitutions                        ation

                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
1148                                                               James             A.              Faragher                    Unknown         Kathleen                          Faragher                        States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4263       Sibling                     5138 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                            United                                                             1:02-cv-01616,
1149                                                               William           Edward          Faragher        Jr.         States          Kathleen                          Faragher                        States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4264       Sibling                     4023 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      305, at P4261,
                                                                                                                                 United                                                                            United                                                             8397-1, at 9,
1150 Mary           F.                 Waterman                    William           Edward          Faragher        Sr.         States          Kathleen                          Faragher                        States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                            United                                                             1:02-cv-01616,
1151                                                               Mary              F.              Waterman                    States          Kathleen                          Faragher                        States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4265       Sibling                     4023 at 11      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                 United                                                                            United                                                             3, at 1101, 8397-
1152 Denise                            Farrelly                    Denis             M.              Farrelly                    States          Joseph                            Farrelly                        States         9/11/01     NY (Other)   03-cv-9849                 1, at 9, 8433       Sibling                     5138 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                            United                                                             1:02-cv-01616,
1153                                                               Devin             Frederick       Farrelly                    States          Joseph                            Farrelly                        States         9/11/01     NY (Other)   03-cv-9849                 3, at 1097          Child                       5087 at 8       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                 United                                                                            United                                                             3, at 1095, 8397-
1154 Michael                           Farrelly                    Joseph            D.              Farrelly                    States          Joseph                            Farrelly                        States         9/11/01     NY (Other)   03-cv-9849                 1, at 9, 8433       Parent                      5138 at 4       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                 United                                                                            United                                                             3, at 1094, 8393-
1155                                                               Julianne          Carlene         Farrelly                    States          Joseph                            Farrelly                        States         9/11/01     NY (Other)   03-cv-9849                 1, at 656, 8487     Child                       5848 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                            United                                                             1:02-cv-01616,
1156                                                               Michael                           Farrelly                    States          Joseph                            Farrelly                        States         9/11/01     NY (Other)   03-cv-9849                 3, at 1099          Sibling                     5061 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                            United                                                             1:02-cv-01616,
1157                                                               Patrick           M.              Farrelly                    States          Joseph                            Farrelly                        States         9/11/01     NY (Other)   03-cv-9849                 3, at 1100          Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                            United                                                             1:02-cv-01616,
1158                                                               Ryan              Ian             Farrelly                    States          Joseph                            Farrelly                        States         9/11/01     NY (Other)   03-cv-9849                 3, at 1098          Child                       5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                            United                                                             1:02-cv-01616,
1159                                                               Stacey            Ellen           Farrelly                    States          Joseph                            Farrelly                        States         9/11/01     NY (Other)   03-cv-9849                 3, at 1094          Spouse                      5061 at 5       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                 United                                                                            United                                                             3, at 1096, 8397-
1160 Denise                            Farrelly                    Theresa           M.              Farrelly                    States          Joseph                            Farrelly                        States         9/11/01     NY (Other)   03-cv-9849                 1, at 9, 8433       Parent                      5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
1161                                                               Gay               Lynette         Morris                      Australia       Wendy                 Ruth        Faulkner                        States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4838       Sibling                     4023 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      432, at P4836,
                                                                                                                                                                                                                   United                                                             8397-1, at 20,
1162 Jeanette       Esther             Morris-Friedrich            Lorna             C.              Morris                      Australia       Wendy                 Ruth        Faulkner                        States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      3666 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                     Morris-                     United                                                                            United                                                             1:02-cv-01616,
1163                                                               Jeanette          Esther          Friedrich                   States          Wendy                 Ruth        Faulkner                        States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4837       Sibling                     4126 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                 United                                                                            United                                                             1, at 210, 8393-
1164                                                               Frank             Joseph          Fava                        States          Shannon               Marie       Fava                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 75, 8487      Spouse                      5061 at 5       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                 United                                                                            United                                                             1, at 210, 8393-
1165                                                               Joseph            Anthony         Fava                        States          Shannon               Marie       Fava                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1213, 8487    Child                       5061 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                 United                                                                            United                                                             1, at 211, 8397-
1166 Rose           Jean               Nielsen                     Dennis            J.              Nielsen                     States          Shannon               Marie       Fava                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 21, 8433      Parent                      3666 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                            United                                                             1:02-cv-01616,
1167                                                               Dennis                            Nielsen         Jr.         States          Shannon               Marie       Fava                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 213           Sibling                     4023 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                            United                                                             1:02-cv-01616,
1168                                                               Rose              Jean            Nielsen                     States          Shannon               Marie       Fava                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 212           Parent                      3666 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                            United                                                             8679-1, at 104,
1169                                                               Laura             Denise          Bittel                      States          Bernard                           Favuzza                         States         9/11/01     NY (WTC)     03-cv-9849                 8696                Child                       7188 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      232, at P4058,
                                                                                                                                                                                                                   United                                                             8393-1, at 6,
1170                                                               Linda             Ann             Favuzza                     Unknown         Bernard                           Favuzza                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5848 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                 United                                                                            United                                                             8679-1, at 105,
1171                                                               Donna             Michelle        Posta                       States          Bernard                           Favuzza                         States         9/11/01     NY (WTC)     03-cv-9849                 8696                Child                       7188 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      305, at P4267,
                                                                                                                                 United                                                                            United                                                             8397-1, at 9,
1172 Carole                            Lovero                      Felicia           C.              Fazio                       States          Robert                            Fazio               Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8433                Parent                      5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      305, at P4266,
                                                                                                                                                                                                                   United                                                             8397-1, at 9,
1173 Carole                            Lovero                      Robert            A.              Fazio           Sr.         Unknown         Robert                            Fazio               Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8433                Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                                  Page 45 of 170
                                                                                                              Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                   Filed 04/23/24             Page 47 of 171
                                                                                                                                                                             EXHIBIT B-1
                                                                                                                                                          SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                                 Claimant                                                                                 9/11 Decedent                                                                Claim Information                                                    Solatium Damages




                                                                                                                          Nationality




                                                                                                                                                                                                             Nationality
                                                                                                                           on 9/11




                                                                                                                                                                                                              on 9/11
                                                                                                             Claimant                                                                                                        Date of                                            Amendments &                        Document
 #       First          Middle            Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                               Suffix                                                                                                        Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               305, at P4268,
                                                                                                                        United                                                                              United                                                             8393-1, at 69,
1174                                                      Carole                             Lovero                     States          Robert                              Fazio               Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8487                Sibling                     4126 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
1175                                                      Tara              Feehan           Davan                      States          William               M.            Feehan                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3129     Child                       5062 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
1176                                                      Elizabeth         Ann              Feehan                     States          William               M.            Feehan                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3128     Child                       5062 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
1177                                                      John              Desmond          Feehan                     States          William               M.            Feehan                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3127     Child                       5087 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
1178                                                      William           Bernard          Feehan                     States          William               M.            Feehan                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3126     Child                       4023 at 11       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
1179                                                      Allison           Mary             Fergus                     States          Edward                Thomas        Fergus              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2892       Sibling                     4023 at 11       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
1180                                                      Dorothy           Anna             Fergus                     States          Edward                Thomas        Fergus              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2893       Parent                      4126 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               155, at P2894,
                                                                                                                        United                                                                              United                                                             8397-1, at 9,
1181 Dorothy     Anna            Fergus                   Edward            Thomas           Fergus         Sr.         States          Edward                Thomas        Fergus              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      4126 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               155, at P2895,
                                                                                                                        United                                                                              United                                                             8393-1, at 23,
1182                                                      Linda             Jane             Fergus                     States          Edward                Thomas        Fergus              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5061 at 5        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               155, at P2895,
                                                                                                                        United                                                                              United                                                             8393-1, at 360,
1183                                                      Shannon           Marie            Fergus                     States          Edward                Thomas        Fergus              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               155, at P2895,
                                                                                                                        United                                                                              United                                                             8393-1, at 361,
1184                                                      Thomas            William          Fergus                     States          Edward                Thomas        Fergus              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
1185                                                      Anne              Marie Fergus     Rayhill                    States          Edward                Thomas        Fergus              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2896       Sibling                     4023 at 11       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
1186                                                      Maureen           Fergus           Sheehan                    States          Edward                Thomas        Fergus              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2897       Sibling                     5062 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                        United                                                                              United                                                             1, at 776, 5284-
1187                                                      Cirilo            Flores           Fernandez                  States          Judy                  Hazel         Fernandez                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 4, 5296       Parent                      3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:03-md-01570,
                                                                                                                                                                                                                                                                               3477, at 1143;
                                                                                                                        United                                                                              United                                                             8679-1, at 107,
1188                                                      Jacqueline                         DiVirgilio                 States          David                 Francis       Ferrugio                        States         9/11/01     NY (WTC)     03-cv-9849                 8696                Child                       5061 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
1189                                                      David             John             Ferrugio                   States          David                 Francis       Ferrugio                        States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3688       Child                       5061 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               232, at P3688,
                                                                                                                        United                                                                              United                                                             8393-1, at 16,
1190                                                      Rosanna           M.               Ferrugio                   States          David                 Francis       Ferrugio                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 8        $        12,500,000.00 $   37,500,000.00
                                                                                             Ferrugio-                  United                                                                              United                                                             1:02-cv-01616,
1191                                                      Gina              Marie            Hooker                     States          David                 Francis       Ferrugio                        States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3688       Child                       5061 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                              United                                                             8679-1, at 106,
1192                                                      Andrea                             Wanner                     States          David                 Francis       Ferrugio                        States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:03-md-01570,
                                                                                                                                                                                                                                                                               3477, at 1144;
                                                                                                                        United                                                                              United                                                             8679-1, at 108,
1193                                                      Minnie            Domenica         Ferro                      States          Louis                 V.            Fersini             Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8696                Parent                      4126 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
1194                                                      Brian             Tyler            Fersini                    States          Louis                 V.            Fersini             Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 217           Child                       5087 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                        United                                                                              United                                                             1, at 217, 8393-
1195                                                      Cathy             Lyn              Fersini                    States          Louis                 V.            Fersini             Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 50, 8487      Spouse                      5087 at 8        $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
1196                                                      Christopher       Michael          Fersini                    States          Louis                 V.            Fersini             Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 217           Child                       5087 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:03-cv-09849,
                                                                                                                        United                                                                              United                                                             839, at 3; 8679-
1197                                                      Joseph            Vito             Fersini        Sr.         States          Louis                 V.            Fersini             Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 111, 8696     Sibling                     4126 at 5        $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                               1:03-cv-09849,
                                                                                                                        United                                                                              United                                                             839, at 20; 8679-
1198                                                      Josephine         Nancy            Fersini                    States          Louis                 V.            Fersini             Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 110, 8696     Sibling                     4126 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
1199                                                      Katelyn           Elizabeth        Fersini                    States          Louis                 V.            Fersini             Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 217           Child                       5087 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                              United                                                             1:02-cv-01616,
1200                                                      Thomas            Jeffrey          Fersini                    States          Louis                 V.            Fersini             Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 217           Child                       5087 at 8        $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                           Page 46 of 170
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                                                                                                                                                                               EXHIBIT B-1
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                               Claimant                                                                                    9/11 Decedent                                                                 Claim Information                                                  Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                                Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                                 on 9/11
                                                                                                              Claimant                                                                                                          Date of                                            Amendments &                       Document
 #       First           Middle            Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle            Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                Suffix                                                                                                          Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                  1:03-cv-09849,
                                                                                                                         United                                                                                United                                                             839, at 7; 8679-
1201                                                       Frieda                            Green                       States          Louis                  V.            Fersini              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 109, 8696    Sibling                     4126 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
1202                                                       Andrew            Charles         Fialko                      States          Jennifer               Louise        Fialko                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3155    Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
1203 Andrew      Charles          Fialko                   Evelyn            L.              Fialko                      States          Jennifer               Louise        Fialko                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3153    Parent                      4023 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
1204 Andrew      Charles          Fialko                   Robert            John            Fialko                      States          Jennifer               Louise        Fialko                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3152    Parent                      4023 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United                                                             8679-1, at 112,
1205                                                       Craig             Scott           Fiedel                      Unknown         Kristen                Nicole        Fiedel                           States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  77, at P2590,
                                                                                                                                                                                                                                                                                  8397-1, at 9,
                                                                                                                         United                                                                                United                                                             8433, 8393-1, at
1206 Warren      Irwin            Fiedel                   Isabel            Marilyn         Fiedel                      States          Kristen                Nicole        Fiedel                           States         9/11/01     NY (WTC)     03-cv-9849                 47, 8487           Parent                      5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
1207                                                       Lindsey           Beth            Fiedel                      States          Kristen                Nicole        Fiedel                           States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2591       Child                       5061 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  77, at P2592,
                                                                                                                         United                                                                                United                                                             8393-1, at 47,
1208                                                       Warren            Irwin           Fiedel                      States          Kristen                Nicole        Fiedel                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      4023 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                          VA
                                                                                                                                                                                                               United                     (Pentagon                               8679-1, at 113,
1209                                                       Shantell          Renee           Fields                      Unknown         Amelia                 V.            Fields                           States         9/11/01     )            03-cv-9849                 8696               Child                       7188 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                          VA                                      432, at P4840,
                                                                                                                         United                                                                                United                     (Pentagon                               8393-1, at 2,
1210                                                       William           Howard          Fields          Sr.         States          Amelia                 V.            Fields                           States         9/11/01     )            03-cv-9849                 8487               Spouse                      5061 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                          VA
                                                                                                                                                                                                               United                     (Pentagon                               8679-1, at 117,
1211                                                       William           Howard          Fields          Jr.         Unknown         Amelia                 V.            Fields                           States         9/11/01     )            03-cv-9849                 8696               Child                       7188 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                          VA
                                                                                                                         United                                                                                United                     (Pentagon                               8679-1, at 115,
1212                                                       Donzell           Elizabeth       Walker                      States          Amelia                 V.            Fields                           States         9/11/01     )            03-cv-9849                 8696               Sibling                     8233 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                          VA
                                                                                                                         United                                                                                United                     (Pentagon                               8679-1, at 116,
1213                                                       Gregory           Anthony         Waters                      States          Amelia                 V.            Fields                           States         9/11/01     )            03-cv-9849                 8696               Sibling                     515 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                          VA
                                                                                                                         United                                                                                United                     (Pentagon                               8679-1, at 114,
1214                                                       Ophelia                           Waters                      States          Amelia                 V.            Fields                           States         9/11/01     )            03-cv-9849                 8696               Sibling                     515 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                                United                                                             8679-1, at 119,
1215                                                       Allan             James           Filipov                     States          Alexander              M.            Filipov                          States         9/11/01     NY (AA11)    03-cv-9849                 8696               Child                       5061 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                United                                                             8679-1, at 120,
1216                                                       David             Michael         Filipov                     States          Alexander              M.            Filipov                          States         9/11/01     NY (AA11)    03-cv-9849                 8696               Child                       5061 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                United                                                             8679-1, at 118,
1217                                                       Jeffrey           Thomas          Filipov                     States          Alexander              M.            Filipov                          States         9/11/01     NY (AA11)    03-cv-9849                 8696               Child                       5061 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  305, at P4274,
                                                                                                                         United                                                                                United                                                             8393-1, at 2,
1218                                                       Loretta           Jean            Filipov                     States          Alexander              M.            Filipov                          States         9/11/01     NY (AA11)    03-cv-9849                 8487               Spouse                      5061 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
1219                                                       Linda             Sarah           Fiore                       States          Michael                Curtis        Fiore                            States         9/11/01     NY (Other)   03-cv-9849                 232, at P3689      Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  232, at P3691,
                                                                                                                         United                                                                                United                                                             8397-1, at 9,
1220 Linda       Sarah            Fiore                    Michael                           Fiore                       States          Michael                Curtis        Fiore                            States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      4146 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 1964,
                                                                                                                         United                                                                                United                                                             8393-1, at 582,
1221                                                       John              Joseph          Fiorito                     States          John                   B.            Fiorito                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5848 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
1222                                                       Karen                             Fiorito                     States          John                   B.            Fiorito                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1964    Spouse                      5848 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
1223                                                       Jean              C.              Fischer                     States          John                   R.            Fischer                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3168    Spouse                      5087 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 3168,
                                                                                                                         United                                                                                United                                                             8393-1, at 630,
1224                                                       John              Corley          Fischer                     States          John                   R.            Fischer                          States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 3168,
                                                                                                                         United                                                                                United                                                             8393-1, at 631,
1225                                                       Timothy           Rudolph         Fischer                     States          John                   R.            Fischer                          States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 8       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                              Page 47 of 170
                                                                                                     Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                    Filed 04/23/24             Page 49 of 171
                                                                                                                                                                    EXHIBIT B-1
                                                                                                                                                 SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
               Personal Representative                                            Claimant                                                                              9/11 Decedent                                                                    Claim Information                                                   Solatium Damages




                                                                                                                  Nationality




                                                                                                                                                                                                     Nationality
                                                                                                                   on 9/11




                                                                                                                                                                                                      on 9/11
                                                                                                     Claimant                                                                                                        Date of                                            Amendments &                        Document
 #     First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                       First            Middle            Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                       Suffix                                                                                                        Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                       26, 29, at 3168,
                                                                                                                United                                                                              United                                                             8393-1, at 632,
1226                                               Laura             Jean            Nemeth                     States          John                 R.            Fischer                          States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                               VA
                                                                                                                United                                                                              United                     (Pentagon                               1:02-cv-01616,
1227                                               Serena            Fisher          Dugan                      States          Gerald               Paul          Fisher                           States         9/11/01     )            03-cv-9849                 3, at 1120          Child                       5062 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                              United                                                             8679-1, at 122,
1228                                               Linda             Marie           Fanene                     States          Thomas               Joseph        Fisher                           States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                               VA
                                                                                                                United                                                                              United                     (Pentagon                               1:02-cv-01616,
1229                                               Christine         Karas           Fisher                     States          Gerald               Paul          Fisher                           States         9/11/01     )            03-cv-9849                 3, at 1118          Spouse                      5062 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                               VA
                                                                                                                                                                                                    United                     (Pentagon                               8679-1, at 123,
1230                                               Elsa              Sue             Fisher                     Unknown         Gerald               Paul          Fisher                           States         9/11/01     )            03-cv-9849                 8696                Sibling                     5061 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                               VA
                                                                                                                                                                                                    United                     (Pentagon                               1:02-cv-01616,
1231                                               Jonathan          Michael         Fisher                     Unknown         Gerald               Paul          Fisher                           States         9/11/01     )            03-cv-9849                 3, at 1119          Child                       5062 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                       26, 29, at 1967,
                                                                                                                United                                                                              United                                                             8393-1, at 629,
1232                                               Sarah             Mary            Fisher                     States          Thomas               Joseph        Fisher                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                              United                                                             1:02-cv-01616,
1233                                               Susan             M.              Fisher                     States          Thomas               Joseph        Fisher                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1967     Spouse                      5087 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                    United                                                             1:02-cv-01616,
1234                                               Edward            Patrick         Bracken                    Unknown         Lucy                 A.            Fishman                          States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4642       Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00

                                                                                                                United                                                                              United                                                             1:03-md-01570,
1235                                               Mary              Frances         Bracken                    States          Lucy                 A.            Fishman                          States         9/11/01     NY (WTC)     03-cv-9849                 432, at P5354       Parent                      3666 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                     Bracken-                   United                                                                              United                                                             8679-1, at 124,
1236                                               Bertha            Mary            Gennaro                    States          Lucy                 A.            Fishman                          States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                       1:18-cv-11582,
                                                                                                                United                                                                              United                                                             1, at 6; 8679-1,
1237                                               Samantha          Beth            Cortes                     States          Lucy                 A.            Fishman                          States         9/11/01     NY (WTC)     03-cv-9849                 at 128, 8696        Child                       5104 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                       1:18-cv-11582,
                                                                                                                United                                                                              United                                                             1, at 22; 8679-1,
1238                                               Mary                              Dwyer                      States          Lucy                 A.            Fishman                          States         9/11/01     NY (WTC)     03-cv-9849                 at 127, 8696        Sibling                     5104 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                       1:18-cv-11582,
                                                                                                                United                                                                              United                                                             1, at 21; 8679-1,
1239                                               Jeanene                           McGregor                   States          Lucy                 A.            Fishman                          States         9/11/01     NY (WTC)     03-cv-9849                 at 126, 8696        Sibling                     5104 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                       1:18-cv-11582,
                                                                                                                United                                                                              United                                                             1, at 4; 8679-1,
1240                                               Eugene            Robert          Springer                   States          Lucy                 A.            Fishman                          States         9/11/01     NY (WTC)     03-cv-9849                 at 130, 8696        Spouse                      5087 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                       1:18-cv-11582,
                                                                                                                United                                                                              United                                                             1, at 5; 8679-1,
1241                                               Jason             Robert          Springer                   States          Lucy                 A.            Fishman                          States         9/11/01     NY (WTC)     03-cv-9849                 at 129, 8696        Child                       5087 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                       305, at P4275,
                                                                                                                United                                                                              United                                                             8393-1, at 73,
1242                                               Diane                             Keating                    States          Ryan                 D.            Fitzgerald                       States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                              United                                                             8679-1, at 131,
1243                                               Caroline                          Parks                      States          Ryan                 D.            Fitzgerald                       States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                United                                                                              United                                                             8679-1, at 132,
1244                                               Elizabeth                         Parks                      States          Ryan                 D.            Fitzgerald                       States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                United                                                                              United                                                             1:02-cv-01616,
1245                                               B.                T.              F.                         States          Thomas               James         Fitzpatrick                      States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3692       Child                       5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                              United                                                             1:02-cv-01616,
1246                                               C.                M.              F.                         States          Thomas               James         Fitzpatrick                      States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3692       Child                       5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                       232, at P3692,
                                                                                                                United                                                                              United                                                             8393-1, at 81,
1247                                               Marianne                          Fitzpatrick                States          Thomas               James         Fitzpatrick                      States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5061 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                United                                                                              United                                                             1:02-cv-01616,
1248                                               Michael           James           Fitzpatrick                States          Thomas               James         Fitzpatrick                      States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3693       Parent                      4023 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                              United                                                             1:02-cv-01616,
1249                                               Michael           S.              Fitzpatrick                States          Thomas               James         Fitzpatrick                      States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3694       Sibling                     5061 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                United                                                                              United                                                             1:02-cv-01616,
1250                                               Roseanna          Mary            Fitzpatrick                States          Thomas               James         Fitzpatrick                      States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3695       Parent                      4023 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                       432, at P4841,
                                                                                                                United                                                                              United                                                             8393-1, at 1183,
1251                                               Anthony           D.              Fiumefreddo                States          Salvatore            A.            Fiumefreddo                      States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5356 at 2       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                       432, at P4841,
                                                                                                                United                                                                              United                                                             8393-1, at 73,
1252                                               Joan                              Fiumefreddo                States          Salvatore            A.            Fiumefreddo                      States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5087 at 9       $        12,500,000.00 $   37,500,000.00




                                                                                                                                                                                   Page 48 of 170
                                                                                                                  Case 1:03-md-01570-GBD-SN                                        Document 9716-2                                   Filed 04/23/24             Page 50 of 171
                                                                                                                                                                                   EXHIBIT B-1
                                                                                                                                                                SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                         Personal Representative                                               Claimant                                                                                   9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                               Nationality




                                                                                                                                                                                                                    Nationality
                                                                                                                                on 9/11




                                                                                                                                                                                                                     on 9/11
                                                                                                                  Claimant                                                                                                          Date of                                            Amendments &                       Document
 #          First         Middle                Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First             Middle           Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                    Suffix                                                                                                          Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      26, 29, at 1969,
                                                                                                                             United                                                                                United                                                             8397-1, at 22,
1253 Lori           A.                 Schiavone                Loretta           A.              Palisay                    States          Salvatore              A.             Fiumefreddo                     States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      3666 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:03-cv-09849,
                                                                                                                             United                                                                                United                                                             844, at 2; 8679-
1254                                                            Marcus            Wilson          Flagg                      States          Darlene                Embree         Flagg                           States         9/11/01     VA (AA77)    03-cv-9849                 1, at 133, 8696    Child                       5061 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:18-cv-12322,
                                                                                                                             United                                                                                United                                                             1, at 2; 8679-1,
1255                                                            Marcus            Wilson          Flagg                      States          Wilson                 Falor          Flagg                           States         9/11/01     VA (AA77)    03-cv-9849                 at 133, 8696       Child                       5062 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      313, at P4643,
                                                                                                                             United                                                                                United                                                             8393-1, at 15,
1256                                                            Michael           Embree          Flagg                      States          Darlene                Embree         Flagg                           States         9/11/01     VA (AA77)    03-cv-9849                 8487               Child                       4023 at 11       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
1257                                                            Michael           Embree          Flagg                      States          Wilson                 Falor          Flagg                           States         9/11/01     VA (AA77)    03-cv-9849                 313, at P4644      Child                       4023 at 11       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                             United                                                                                United                                                             26, 29, at
1258                                                            Christian         Crane           Croner                     States          Joseph                 W.             Flounders                       States         9/11/01     NY (WTC)     03-cv-9849                 caption            Step-Child                  8293 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                   United                                                             26, 29, at
1259                                                            Patricia          V.              Flounders                  Unknown         Joseph                 W.             Flounders                       States         9/11/01     NY (WTC)     03-cv-9849                 caption            Spouse                      5848 at 5        $        12,500,000.00 $   37,500,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
1260                                                            Andrew            Steven          Fodor                      States          Michael                N.             Fodor                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3186    Child                       5356 at 2        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      26, 29, at 3184,
                                                                                                                             United                                                                                United                                                             8393-1, at 946,
1261                                                            Ashley            Elizabeth       Fodor                      States          Michael                N.             Fodor                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5356 at 2        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      26, 29, at 3184,
                                                                                                                             United                                                                                United                                                             8397-1, at 10,
1262 Michael        Thomas             Fodor                    Deborah           Ann             Fodor                      States          Michael                N.             Fodor                           States         9/11/01     NY (Other)   03-cv-9849                 8433               Spouse                      5138 at 4        $        12,500,000.00 $   37,500,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
1263                                                            Judith            Ann             Fodor                      States          Michael                N.             Fodor                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3187    Sibling                     4023 at 11       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
1264                                                            Michael           Thomas          Fodor                      States          Michael                N.             Fodor                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3185    Child                       5087 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                                                                                                   1:02-cv-01616,
1265                                                            Jason             Lee             Foo                        States          Chih                   Min            Foo                             China          9/11/01     NY (Other)   03-cv-9849                 305, at P4277      Child                       5087 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                                                                                                   1:02-cv-01616,
1266                                                            Samantha          Lee             Foo                        States          Chih                   Min            Foo                             China          9/11/01     NY (Other)   03-cv-9849                 305, at P4278      Child                       5087 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      305, at P4276,
                                                                                                                             United                                                                                                                                                   8393-1, at 9,
1267                                                            Mary              Lou             Lee                        States          Chih                   Min            Foo                             China          9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5087 at 9        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                   Forbes-                         United                                                             8679-1, at 136,
1268                                                            Auguland                          Forbes                     Jamaican        Del Rose                              Cheatham                        States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     6034 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:03-cv-9849,
                                                                                                                             United                                                Forbes-                         United                                                             HAND FILED, at
1269                                                            Carlton           Hugh            Forbes                     States          Del Rose                              Cheatham                        States         9/11/01     NY (WTC)     03-cv-9849                 P5057              Sibling                     5061 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:03-cv-9849,
                                                                                                                                                                                                                                                                                      HAND FILED, at
                                                                                                                             United                                                Forbes-                         United                                                             P5058, 8393-1,
1270                                                            Christopher       Rodrigues       Forbes                     States          Del Rose                              Cheatham                        States         9/11/01     NY (WTC)     03-cv-9849                 at 17, 8487        Sibling                     5138 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:03-cv-9849,
                                                                                                                                                                                   Forbes-                         United                                                             HAND FILED, at
1271                                                            Dorrette          Elaine          Williams                   Jamaica         Del Rose                              Cheatham                        States 9/11/01             NY (WTC)     03-cv-9849                 P5059              Sibling                     6035 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                Unknow                                                             1:02-cv-01616,
1272                                                            Cheryl            D.              Cooper                     States          Donald                 A.             Foreman                         n      9/11/01             NY (WTC)     03-cv-9849                 155, at P2899      Spouse                      5951 at 7        $        12,500,000.00 $   37,500,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
1273                                                            John              Alfred          Foster                     States          Noel                   John           Foster                          States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1128         Parent                      5062 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
1274 John           Alfred             Foster                   Marion            Rosette         Foster                     States          Noel                   John           Foster                          States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1129         Parent                      3387             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      26, 29, at 3192,
                                                                                                                             United                                                                                United                                                             8393-1, at 1130,
1275                                                            James             Robert          Foti                       States          Robert                 Joseph         Foti                            States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5848 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
1276                                                            Mary              Grace           Foti                       Unknown         Robert                 Joseph         Foti                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3192    Spouse                      5848 at 5        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                      1:03-cv-9849,
                                                                                                                                                                                                                                                                                      HAND FILED, at
                                                                                                                             United                                                                                United                                                             P5061, 8397-1,
1277 Rosa           Lee                Carter                   Annie Marie       Jones           Carter                     States          Virginia               E.             Fox                             States         9/11/01     NY (WTC)     03-cv-9849                 at 5, 8433         Sibling                     4023 at 11       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      26, 29, at 4816,
                                                                                                                             United                                                                                United                                                             5284-1, at 5,
1278                                                            Jessica                           Cashman                    States          Jeffrey                L.             Fox                             States         9/11/01     NY (WTC)     03-cv-9849                 5296               Child                       5138 at 4        $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                                  Page 49 of 170
                                                                                                            Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                 Filed 04/23/24             Page 51 of 171
                                                                                                                                                                           EXHIBIT B-1
                                                                                                                                                        SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                            Claimant                                                                                 9/11 Decedent                                                                Claim Information                                                   Solatium Damages




                                                                                                                        Nationality




                                                                                                                                                                                                         Nationality
                                                                                                                         on 9/11




                                                                                                                                                                                                          on 9/11
                                                                                                           Claimant                                                                                                      Date of                                            Amendments &                        Document
 #        First         Middle          Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle         Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                             Suffix                                                                                                      Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                           1:03-cv-09849,
                                                                                                                      United                                                                            United                                                             839, at 5; 8679-
1279                                                    Eleanor                           Fox                         States          Jeffrey               L.            Fox                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 137, 8696     Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 4816,
                                                                                                                      United                                                                            United                                                             5284-1, at 5,
1280                                                    Gregory           Evan            Fox                         States          Jeffrey               L.            Fox                           States         9/11/01     NY (WTC)     03-cv-9849                 5296                Child                       5356 at 2       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
1281                                                    Michael           Jay             Fox                         Unknown         Jeffrey               L.            Fox                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3194     Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 4816,
                                                                                                                      United                                                                            United                                                             5284-1, at 5,
1282                                                    Nancy             B.              Fox                         States          Jeffrey               L.            Fox                           States         9/11/01     NY (WTC)     03-cv-9849                 5296                Spouse                      5138 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 4816,
                                                                                                                      United                                                                            United                                                             5284-1, at 5,
1283                                                    Amanda                            Ogilby                      States          Jeffrey               L.            Fox                           States         9/11/01     NY (WTC)     03-cv-9849                 5296                Child                       5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                              Frederick-                    United                                                             8679-1, at 138,
1284                                                    Brian             Reginald        Daniels                     States          Lillian                             Lambert                       States         9/11/01     NY (WTC)     03-cv-9849                 8696                Child                       7188 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           232, at P3696,
                                                                                                                      United                                              Frederick-                    United                                                             8393-1, at 50,
1285                                                    Henry                             Lambert                     States          Lillian                             Lambert                       States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5061 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
1286                                                    Carol             M.              Freund                      States          Peter                 Louis         Freund                        States         9/11/01     NY (Other)   03-cv-9849                 432, at P4843       Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
1287                                                    Barbara           Freund          Salvadore                   States          Peter                 Louis         Freund                        States         9/11/01     NY (Other)   03-cv-9849                 432, at P4842       Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                                                             8679-1, at 139,
1288                                                    Anna              Mae             Froehner                    States          Gregg                 J.            Froehner                      States         9/11/01     NY (Other)   03-cv-9849                 8696                Parent                      7188 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           155, at P2900,
                                                                                                                      United                                                                            United                                                             8393-1, at 430,
1289                                                    Heather           Anne            Froehner                    States          Gregg                 J.            Froehner                      States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           155, at P2900,
                                                                                                                                                                                                        United                                                             8393-1, at 431,
1290                                                    Kathleen          Marie           Froehner                    Unknown         Gregg                 J.            Froehner                      States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             8679-1, at 141,
1291 Dorell                                             Kenneth           Henry           Froehner                    States          Gregg                 J.            Froehner                      States         9/11/01     NY (Other)   03-cv-9849                 8696                Parent                      7188 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             8679-1, at 142,
1292                                                    Kenneth           Arthur          Froehner                    States          Gregg                 J.            Froehner                      States         9/11/01     NY (Other)   03-cv-9849                 8696                Sibling                     7188 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           155, at P2900,
                                                                                                                      United                                                                            United                                                             8393-1, at 27,
1293                                                    Mary                              Froehner                    States          Gregg                 J.            Froehner                      States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5061 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           155, at P2900,
                                                                                                                      United                                                                            United                                                             8393-1, at 432,
1294                                                    Matthew           John            Froehner                    States          Gregg                 J.            Froehner                      States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           155, at P2900,
                                                                                                                      United                                                                            United                                                             8393-1, at 433,
1295                                                    Meghan            Elizabeth       Froehner                    States          Gregg                 J.            Froehner                      States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             8679-1, at 140,
1296                                                    Dorell            Froehner        McNamara                    States          Gregg                 J.            Froehner                      States         9/11/01     NY (Other)   03-cv-9849                 8696                Sibling                     7188 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
1297                                                    Carlo             Joseph          Fumando                     Unknown         Clement                             Fumando                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1136          Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
1298                                                    Gregory                           Fumando                     States          Clement                             Fumando                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1134          Child                       4023 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
1299                                                    Katherine         Marie           Fumando                     Unknown         Clement                             Fumando                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1132          Spouse                      5087 at 9       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                      United                                                                            United                                                             3, at 1133, 8397-
1300 Catherine    Ann             Marotte               Margaret                          Fumando                     States          Clement                             Fumando                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 10, 8433      Parent                      5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
1301                                                    Stephen                           Fumando                     Unknown         Clement                             Fumando                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1135          Child                       3666 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
1302                                                    Catherine         Ann             Marotte                     States          Clement                             Fumando                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1137          Sibling                     5087 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
1303                                                    Carol             Margaret        DeBenedictis                Unknown         Paul                  James         Furmato                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1146          Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
1304                                                    Joseph                            Furmato         Sr.         Unknown         Paul                  James         Furmato                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1141          Parent                      3666 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
1305                                                    Joseph                            Furmato         Jr.         States          Paul                  James         Furmato                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1144          Sibling                     3666 at 4       $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                       Page 50 of 170
                                                                                                          Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                  Filed 04/23/24             Page 52 of 171
                                                                                                                                                                        EXHIBIT B-1
                                                                                                                                                     SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                Personal Representative                                                Claimant                                                                                9/11 Decedent                                                                Claim Information                                                   Solatium Damages




                                                                                                                      Nationality




                                                                                                                                                                                                        Nationality
                                                                                                                       on 9/11




                                                                                                                                                                                                         on 9/11
                                                                                                         Claimant                                                                                                       Date of                                            Amendments &                        Document
 #      First    Middle             Last   Suffix     Claimant First   Claimant Middle Claimant Last                                         First             Middle          Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                           Suffix                                                                                                       Death                                               Substitutions                        ation

                                                                                                                                                                                                       United                                                             1:02-cv-01616,
1306                                                Margaret                             Furmato                    Unknown         Paul                 James          Furmato                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1142          Parent                      3666 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                       United                                                             1:02-cv-01616,
1307                                                Mark                                 Furmato                    Unknown         Paul                 James          Furmato                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1143          Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                    United                                                                             United                                                             3, at 1140, 8393-
1308                                                Paul               James             Furmato        Jr.         States          Paul                 James          Furmato                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1021, 8487    Child                       5087 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                       United                                                             1:02-cv-01616,
1309                                                Jill               Mary              Keough                     Unknown         Paul                 James          Furmato                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1145          Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                    United                                                                             United                                                             3, at 1140, 8393-
1310                                                Stephanie          Leigh             Kernasovic                 States          Paul                 James          Furmato                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1022, 8487    Child                       5087 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
1311                                                Cynthia            Anne              Velardi                    States          Paul                 James          Furmato                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1140          Spouse                      5087 at 9       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                    United                                                                             United                                                             3, at 1140, 8393-
1312                                                Theresa            Marie Furmato     Velardi                    States          Paul                 James          Furmato                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1020, 8487    Child                       5087 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                    United                                                                             United                                                             1, at 222, 8393-
1313                                                Jackson            A.                Fyfe                       States          Karleton             D.             Fyfe                           States         9/11/01     NY (AA11)    03-cv-9849                 1, at 718, 8487     Child                       5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
1314                                                Haven              A.                Fyfe-Kiernan               States          Karleton             D.             Fyfe                           States         9/11/01     NY (AA11)    03-cv-9849                 1, at 222           Spouse                      5087 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                    United                                                                             United                                                             1, at 222, 8393-
1315                                                Parker             Douglas           Fyfe-Kiernan               States          Karleton             D.             Fyfe                           States         9/11/01     NY (AA11)    03-cv-9849                 1, at 719, 8487     Child                       5087 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
1316                                                George             Langdon Warner    Gadiel                     States          James                Andrew         Gadiel                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 228           Sibling                     4126 at 5       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                          1:03-cv-09849,
                                                                                                                    United                                                                             United                                                             843, at 13; 8679-
1317                                                Kirstin            Warner            Gadiel                     States          James                Andrew         Gadiel                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 144, 8696     Sibling                     5061 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                    United                                                                             United                                                             1, at 227, 5284-
1318                                                Peter                                Gadiel                     States          James                Andrew         Gadiel                         States 9/11/01             NY (WTC)     03-cv-9849                 1, at 5, 5296       Parent                      4023 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
1319                                                Kevin              Richard           Gaff                       States          Pamela               Lee            Gaff                           States 9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 3213     Spouse                      5087 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                    United                                                                             Unknow                                                             1:02-cv-01616,
1320                                                Patricia           A.                Hill                       States          Irving               Vincent        Gailliard                      n      9/11/01             NY (Other)   03-cv-9849                 26, 29, at 3217     Sibling                     4023 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
1321                                                Cathy              Marie             Cava                       States          Grace                Catherine      Galante                        States 9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 3224     Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
1322                                                Anthony                              Galante                    States          Deanna               Micciulli      Galante                        States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1149          Spouse                      5848 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
1323                                                Giovanni                             Galante                    States          Grace                Catherine      Galante                        States 9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 3220     Spouse                      7188 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
1324                                                Joseph             Anthony           Micciulli                  States          Deanna               Micciulli      Galante                        States 9/11/01             NY (WTC)     03-cv-9849                 1, at 231           Parent                      3666 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
1325                                                Joseph             Christopher       Micciulli                  States          Deanna               Micciulli      Galante                        States 9/11/01             NY (WTC)     03-cv-9849                 26, at 213          Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
1326                                                Margaret           Ann               Micciulli                  States          Deanna               Micciulli      Galante                        States 9/11/01             NY (WTC)     03-cv-9849                 1, at 232           Parent                      3666 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
1327                                                Tina               Louise            Micciulli                  States          Deanna               Micciulli      Galante                        States 9/11/01             NY (WTC)     03-cv-9849                 1, at 233           Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
1328                                                Francesco                            Susca                      States          Grace                Catherine      Galante                        States 9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 3221     Parent                      3666 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
1329                                                Frank              Vito              Susca                      States          Grace                Catherine      Galante                        States 9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 3223     Sibling                     4023 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
1330                                                Lucrezia           Ida               Susca                      States          Grace                Catherine      Galante                        States 9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 3222     Parent                      3666 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          77, at P2594,
                                                                                                                                                                                                                                                                          8393-1, at 27,
                                                                                                                    United                                                                             United                                                             8487, 8397-1, at
1331 Maryann                  Gambale               Anthony            J.                Gambale                    States          Giovanna             G.             Gambale                        States         9/11/01     NY (WTC)     03-cv-9849                 10, 8433            Parent                      5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
1332                                                Maryann                              Gambale                    States          Giovanna             G.             Gambale                        States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2596        Parent                      5062 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
1333                                                Matthew            F                 Gambale                    States          Giovanna             G.             Gambale                        States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2597        Sibling                     4023 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
1334                                                Antonia            Marie             Landgraf                   States          Giovanna             G.             Gambale                        States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2595        Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          232, at AP246,
                                                                                                                    United                                                                             United                                                             8393-1, at 199,
1335                                                Paige              Marie             Rollison                   States          Claude               Michael        Gann                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Step-Child                  5949 at 8       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                      Page 51 of 170
                                                                                                                  Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                     Filed 04/23/24             Page 53 of 171
                                                                                                                                                                                  EXHIBIT B-1
                                                                                                                                                               SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                         Personal Representative                                               Claimant                                                                               9/11 Decedent                                                                     Claim Information                                                  Solatium Damages




                                                                                                                               Nationality




                                                                                                                                                                                                                    Nationality
                                                                                                                                on 9/11




                                                                                                                                                                                                                     on 9/11
                                                                                                                  Claimant                                                                                                          Date of                                            Amendments &                       Document
 #          First         Middle                Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle          Last              Suffix                              9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                    Suffix                                                                                                          Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      232, at AP246,
                                                                                                                             United                                                                                United                                                             8393-1, at 200,
1336                                                            Sarah             Elizabeth       Rollison                   States          Claude                Michael       Gann                              States         9/11/01     NY (WTC)     03-cv-9849                 8487               Step-Child                  5949 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      232, at AP246,
                                                                                                                                                                                                                                                                                      5284-1, at 5,
                                                                                                                             United                                                                                United                                                             5296, 8393-1, at
1337                                                            Robin             Marie           Wade                       States          Claude                Michael       Gann                              States         9/11/01     NY (WTC)     03-cv-9849                 12, 8487           Spouse                      5087 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
1338                                                            Joan                              Cuneo                      Unknown         Charles               William       Garbarini                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3240    Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      232, at P3698,
                                                                                                                             United                                                                                United                                                             8393-1, at 9,
1339                                                            Andrea            DeGeorge        Garbarini                  States          Charles               William       Garbarini                         States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5061 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      26, 29, at 3234,
                                                                                                                                                                                                                   United                                                             8397-1, at 10,
1340 Margaret       Mary               Garbarini                Charles           Andrew          Garbarini                  Unknown         Charles               William       Garbarini                         States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
1341                                                            Donna             Marie           Garbarini                  Unknown         Charles               William       Garbarini                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3242    Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      232, at P3698,
                                                                                                                             United                                                                                United                                                             8393-1, at 146,
1342                                                            Dylan             P.              Garbarini                  States          Charles               William       Garbarini                         States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
1343                                                            Janet                             Garbarini                  States          Charles               William       Garbarini                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3241    Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
1344                                                            Margaret          Mary            Garbarini                  States          Charles               William       Garbarini                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3237    Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      232, at P3698,
                                                                                                                             United                                                                                United                                                             8393-1, at 147,
1345                                                            Philip            C.              Garbarini                  States          Charles               William       Garbarini                         States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
1346                                                            Richard           M.              Garbarini                  States          Charles               William       Garbarini                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3236    Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      26, 29, at 3235,
                                                                                                                                                                                                                   United                                                             8397-1, at 10,
1347 Joan                              Cuneo                    Virginia          Gertrude        Garbarini                  Unknown         Charles               William       Garbarini                         States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
1348                                                            Cathy             Jean            Kostiw                     States          Charles               William       Garbarini                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3238    Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
1349                                                            Beryl             Ann             Zawatsky                   States          Charles               William       Garbarini                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3239    Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
1350                                                            Andrew            Thomas          Garcia                     States          Andrew                              Garcia             Jr.            States         9/11/01     PA (UA93)    03-cv-9849                 305, at P4286      Child                       4023 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
1351                                                            Celeste           Marino          Garcia                     States          Cesar                 R.            Garcia                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1976    Spouse                      5848 at 7       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      26, 29, at 3245,
                                                                                                                                                                                                                                                                                      8393-1, at 251,
                                                                                                                             United                                                                                United                                                             8487, 8397-1, at
1352 Dylan          Peter              Garcia                   Davin                             Garcia                     States          David                               Garcia                            States         9/11/01     NY (WTC)     03-cv-9849                 10, 8433           Child                       5356 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
1353                                                            Deborah           Ann             Garcia                     States          David                               Garcia                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3245    Spouse                      5356 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      26, 29, at 3245,
                                                                                                                             United                                                                                United                                                             8393-1, at 252,
1354                                                            Dylan             Peter           Garcia                     States          David                               Garcia                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5356 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      432, at P4844,
                                                                                                                             United                                                                                United                                                             8393-1, at 21,
1355                                                            M.                J.              G.                         States          Douglas               B.            Gardner                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
1356                                                            Anthony           M.              Gardner                    States          Harvey                Joseph        Gardner            III            States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2901      Sibling                     4023 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      305, at P4287,
                                                                                                                             United                                                                                United                                                             8397-1, at 10,
1357 Joseph         W.                 Gardner                  Harvey            J.              Gardner                    States          Harvey                Joseph        Gardner            III            States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      432, at P4844,
                                                                                                                             United                                                                                United                                                             8393-1, at 21,
1358                                                            Jennifer          Radding         Gardner                    States          Douglas               B.            Gardner                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5061 at 6       $        12,500,000.00 $   37,500,000.00




                                                                                                                                                                                               Page 52 of 170
                                                                                                                   Case 1:03-md-01570-GBD-SN                                  Document 9716-2                                     Filed 04/23/24             Page 54 of 171
                                                                                                                                                                               EXHIBIT B-1
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                               Claimant                                                                                   9/11 Decedent                                                                   Claim Information                                                   Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                               Claimant                                                                                                          Date of                                            Amendments &                        Document
 #        First         Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle          Last              Suffix                              9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                          Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                   1:03-md-01570,
                                                                                                                                                                                                                                                                                   3477, at 1255;
                                                                                                                          United                                                                                United                                                             8679-1, at 147,
1359                                                       Joseph            W.              Gardner                      States          Harvey                Joseph        Gardner            III            States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5104 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   432, at P4844,
                                                                                                                          United                                                                                United                                                             8393-1, at 328,
1360                                                       Julia             Sylvie          Gardner                      States          Douglas               B.            Gardner                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P4060,
                                                                                                                          United                                                                                United                                                             8393-1, at 33,
1361                                                       Amy               Beth            Kassan                       States          Jeffrey               B.            Gardner                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Sibling                     5087 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:03-md-01570,
                                                                                                                                                                                                                                                                                   3477, at 1256;
                                                                                                                          United                                                                                United                                                             8679-1, at 146,
1362                                                       Judith            Ann             Torea                        States          Harvey                Joseph        Gardner            III            States         9/11/01     NY (WTC)     03-cv-9849                 8696                Parent                      5087 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:03md-01570,
                                                                                                                                                                                                                                                                                   3477, at 1261,
                                                                                                                                                                                                                                                                                   5284-1, at 5,
                                                                                                                          United                                                                                United                                                             5296; 8679-1, at
1363                                                       Richard           Matthew         Gary                         States          Bruce                 Henry         Gary                              States         9/11/01     NY (Other)   03-cv-9849                 150, 8696           Child                       5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:03md-01570,
                                                                                                                                                                                                                                                                                   3477, at 1260,
                                                                                                                                                                                                                                                                                   5284-1, at 5,
                                                                                                                                                                                                                United                                                             5296; 8679-1, at
1364                                                       Jessica           Katherine       Kostaris                     Unknown         Bruce                 Henry         Gary                              States         9/11/01     NY (Other)   03-cv-9849                 151, 8696           Child                       7188 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 1979,
                                                                                                                          United                                                                                United                                                             8393-1, at 312,
1365                                                       Connor            Liam            Gavagan                      States          Donald                R.            Gavagan            Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                United                                                             1:02-cv-01616,
1366                                                       Donald            Richard         Gavagan                      States          Donald                R.            Gavagan            Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4288       Parent                      3666 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 1979,
                                                                                                                          United                                                                                United                                                             8393-1, at 310,
1367                                                       Donald            Richard         Gavagan         III          States          Donald                R.            Gavagan            Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                United                                                             1:02-cv-01616,
1368                                                       Jacqueline        S.              Gavagan                      States          Donald                R.            Gavagan            Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1979     Spouse                      5087 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
1369                                                       Joseph            Bernard         Gavagan                      Unknown         Donald                R.            Gavagan            Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4290       Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 1979,
                                                                                                                          United                                                                                United                                                             8393-1, at 311,
1370                                                       Lara              Suzanne         Gavagan                      States          Donald                R.            Gavagan            Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   305, at P4289,
                                                                                                                          United                                                                                United                                                             8397-1, at 10,
1371 Suzanne                      Mascitis                 Rosemarie                         Gavagan                      States          Donald                R.            Gavagan            Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      5062 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                United                                                             1:02-cv-01616,
1372                                                       Suzanne                           Mascitis                     States          Donald                R.            Gavagan            Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4291       Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P2902,
                                                                                                                          United                                                                                United                                                             8393-1, at 1052,
1373                                                       Larissa           Lynne           Gay                          States          Peter                 A.            Gay                Sr.            States         9/11/01     NY (AA11)    03-cv-9849                 8487                Child                       5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P2902,
                                                                                                                          United                                                                                United                                                             8393-1, at 65,
1374                                                       Linda             Rose            Gay                          States          Peter                 A.            Gay                Sr.            States         9/11/01     NY (AA11)    03-cv-9849                 8487                Spouse                      5087 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 1981,
                                                                                                                          United                                                                                United                                                             8393-1, at 415,
1375                                                       Mathilda          Charlotte       Conklin                      States          Gary                  Paul          Geidel                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                United                                                             1:02-cv-01616,
1376                                                       Mathilda          M.              Geidel                       States          Gary                  Paul          Geidel                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 1981     Spouse                      5848 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
1377                                                       Michael           George          Geidel                       Unknown         Gary                  Paul          Geidel                            States         9/11/01     NY (Other)   03-cv-9849                 3, at 1158          Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                          United                                                                                United                                                             3, at 1156, 8397-
1378 Christine    Ann             Norris                   Patricia          Marie           Geidel                       States          Gary                  Paul          Geidel                            States         9/11/01     NY (Other)   03-cv-9849                 1, at 10, 8433      Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                          United                                                                                United                                                             3, at 1155, 8397-
1379 Barbara                      Geidel                   Paul              Ernest          Geidel                       States          Gary                  Paul          Geidel                            States         9/11/01     NY (Other)   03-cv-9849                 1, at 10, 8433      Parent                      3666 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
1380                                                       Christine         Ann             Norris                       Unknown         Gary                  Paul          Geidel                            States         9/11/01     NY (Other)   03-cv-9849                 3, at 1159          Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                            Page 53 of 170
                                                                                                                     Case 1:03-md-01570-GBD-SN                                  Document 9716-2                                   Filed 04/23/24             Page 55 of 171
                                                                                                                                                                                 EXHIBIT B-1
                                                                                                                                                              SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                                Claimant                                                                                 9/11 Decedent                                                                   Claim Information                                                  Solatium Damages




                                                                                                                              Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                               on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                                 Claimant                                                                                                        Date of                                            Amendments &                       Document
 #        First        Middle            Last       Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                   Suffix                                                                                                        Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   432, at P4846,
                                                                                                                            United                                                                              Unknow                                                             8393-1, at 1252,
1381                                                         Jacqueline                        Genovese                     States          Steven                G.            Genovese                        n      9/11/01             NY (WTC)     03-cv-9849                 8487               Child                       5356 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              Unknow                                                             1:02-cv-01616,
1382                                                         Shelly            Rene            Genovese                     States          Steven                G.            Genovese                        n      9/11/01             NY (WTC)     03-cv-9849                 432, at P4846      Spouse                      5356 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
1383                                                         Carolyn           M.              George                       Canada          Linda                               George                          States 9/11/01             NY (AA11)    03-cv-9849                 313, at P4647      Parent                      4023 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   313, at P4646,
                                                                                                                            United                                                                              United                                                             8393-1, at 50,
1384                                                         Richard           Albert          George                       States          Linda                               George                          States         9/11/01     NY (AA11)    03-cv-9849                 8487               Parent                      4023 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
1385                                                         Daniel            Aaron           Gerlich                      States          Robert                J.            Gerlich                         States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4294      Child                       4023 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
1386                                                         Lorraine          Adele           Gerlich                      Unknown         Robert                J.            Gerlich                         States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4648      Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
1387                                                         Matthew           Evan            Gerlich                      States          Robert                J.            Gerlich                         States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4295      Child                       5848 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   305, at P4293,
                                                                                                                            United                                                                              United                                                             8393-1, at 69,
1388 Daniel       Aaron            Gerlich                   Rochelle                          Gerlich                      States          Robert                J.            Gerlich                         States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      7188 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 3258,
                                                                                                                            United                                                                              United                                                             8397-1, at 10,
1389 Roman                         Gertsberg                 Anna                              Gertsberg                    States          Marina                Romanovna     Gertsberg                       States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      4023 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
1390                                                         Roman                             Gertsberg                    States          Marina                Romanovna     Gertsberg                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3257    Parent                      4023 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
1391                                                         John              Edward          Geyer                        States          James                 G.            Geyer                           States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2599       Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
1392                                                         Philip            Joseph          Geyer                        States          James                 G.            Geyer                           States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2601       Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   77, at P2600,
                                                                                                                                                                                                                United                                                             8397-1, at 1,
1393 Geralyn; John Edward          Marasco; Geyer            Philip            G.              Geyer                        Unknown         James                 G.            Geyer                           States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
1394                                                         Geralyn                           Marasco                      Unknown         James                 G.            Geyer                           States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2656       Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 3268,
                                                                                                                            United                                                                              United                                                             8393-1, at 1363,
1395                                                         Daniella                          Giammona                     States          Vincent               F.            Giammona                        States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 3268,
                                                                                                                            United                                                                              United                                                             8393-1, at 1364,
1396                                                         Francesca         Paulina         Giammona                     States          Vincent               F.            Giammona                        States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 3268,
                                                                                                                            United                                                                              United                                                             8393-1, at 1365,
1397                                                         Nicolette                         Giammona                     States          Vincent               F.            Giammona                        States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 3268,
                                                                                                                            United                                                                              United                                                             8393-1, at 84,
1398                                                         Theresa                           Giammona                     States          Vincent               F.            Giammona                        States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5087 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 3268,
                                                                                                                            United                                                                              United                                                             8393-1, at 1366,
1399                                                         Toni-Ann                          Giammona                     States          Vincent               F.            Giammona                        States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 158,
1400                                                         Adam                              Fischer         Jr.          States          Debra                 Lynn          Gibbon                          States         9/11/01     NY (WTC)     03-cv-9849                 8696               Parent                      7182 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 157,
1401                                                         Adam                              Fischer         III          States          Debra                 Lynn          Gibbon                          States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7182 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 155,
1402                                                         Joan              Elizabeth       Fischer                      States          Debra                 Lynn          Gibbon                          States         9/11/01     NY (WTC)     03-cv-9849                 8696               Parent                      7182 at 3       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 3274,
                                                                                                                                                                                                                                                                                   8393-1, at 273,
                                                                                                                            United                                                                              United                                                             8487, 8397-1, at
1403 J.           Frederick        Gibbon                    Adam              Frederick       Gibbon                       States          Debra                 Lynn          Gibbon                          States         9/11/01     NY (WTC)     03-cv-9849                 11, 8433           Child                       5784 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
1404                                                         Zachary           Sanderson       Gibbon                       States          Debra                 Lynn          Gibbon                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3275    Child                       4023 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
1405                                                         Heather           L.              Masterson                    States          Debra                 Lynn          Gibbon                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3276    Child                       4023 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 156,
1406                                                         Karen             Anne            Zaccaria                     States          Debra                 Lynn          Gibbon                          States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5848 at 5       $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                               Page 54 of 170
                                                                                                                 Case 1:03-md-01570-GBD-SN                                  Document 9716-2                                    Filed 04/23/24             Page 56 of 171
                                                                                                                                                                             EXHIBIT B-1
                                                                                                                                                          SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                              Claimant                                                                                     9/11 Decedent                                                                Claim Information                                                  Solatium Damages




                                                                                                                          Nationality




                                                                                                                                                                                                              Nationality
                                                                                                                           on 9/11




                                                                                                                                                                                                               on 9/11
                                                                                                             Claimant                                                                                                         Date of                                            Amendments &                       Document
 #       First       Middle              Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle            Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                               Suffix                                                                                                         Death                                               Substitutions                       ation

                                                                                                                                                                                                                                        VA
                                                                                                                        United                                                                               United                     (Pentagon                               1:02-cv-01616,
1407                                                     Eric              Patrick         Gibson                       States          Brenda                Colbert       Gibson                           States         9/11/01     )            03-cv-9849                 232, at P3700      Child                       4023 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                        VA                                      155, at P2903,
                                                                                                                        United                                                                               United                     (Pentagon                               8393-1, at 6,
1408                                                     Joseph            Milton          Gibson          III          States          Brenda                Colbert       Gibson                           States         9/11/01     )            03-cv-9849                 8487               Spouse                      5061 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                             United                                                             26, 29, at 1987,
                                                                                                                        United                                                                               Kingdo                                                             8393-1, at 1031,
1409                                                     Mason             Moseley         Gilbey                       States          Paul                  Stuart        Gilbey                           m              9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                             United                                                             26, 29, at 1987,
                                                                                                                        United                                                                               Kingdo                                                             8393-1, at 1032,
1410                                                     Maxwell           Thornton        Gilbey                       States          Paul                  Stuart        Gilbey                           m              9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                155, at P2904,
                                                                                                                        United                                                                               United                                                             8397-1, at 14,
1411 Marie       Myriam          Jean-Gilles             Gisele                            Jean-Gilles                  States          Mark                  Y.            Gilles                           States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      5087 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                155, at P2905,
                                                                                                                        United                                                                               United                                                             8393-1, at 53,
1412                                                     Marie             Myriam          Jean-Gilles                  States          Mark                  Y.            Gilles                           States         9/11/01     NY (WTC)     03-cv-9849                 848                Sibling                     4023 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                             United
                                                                                                                        United                                                                               Kingdo                                                             1:02-cv-01616,
1413                                                     Dherran           William         Gilligan                     States          Ronald                L.            Gilligan                         m              9/11/01     NY (WTC)     03-cv-9849                 77, at P2608       Child                       7188 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                             United
                                                                                                                        United                                                                               Kingdo                                                             1:02-cv-01616,
1414                                                     Ashley            Elizabeth       Pastor                       States          Ronald                L.            Gilligan                         m              9/11/01     NY (WTC)     03-cv-9849                 77, at P2607       Child                       7188 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
1415                                                     Geraldine                         Gilliam                      States          Rodney                C.            Gillis                           States         9/11/01     NY (Other)   03-cv-9849                 77, at P2605       Parent                      4023 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
1416                                                     Ronald            C.              Gillis                       States          Rodney                C.            Gillis                           States         9/11/01     NY (Other)   03-cv-9849                 77, at P2610       Sibling                     5087 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
1417                                                     April             Grace           Ginley                       States          John                  F.            Ginley                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3285    Spouse                      5087 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 3285,
                                                                                                                        United                                                                               United                                                             8393-1, at 598,
1418                                                     Connor            Thomas          Ginley                       States          John                  F.            Ginley                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 3285,
                                                                                                                        United                                                                               United                                                             8393-1, at 599,
1419                                                     Taylor            Elizabeth       Ginley                       States          John                  F.            Ginley                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5356 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2514,
                                                                                                                                                                                                             United                                                             5284-1, at 5,
1420 Richard                     Giordano                Mario             Joseph          Giordano        Jr.          Unknown         Jeffrey                             Giordano                         States         9/11/01     NY (Other)   03-cv-9849                 5296               Parent                      3666 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                             United                                                             1:02-cv-01616,
1421                                                     Concetta                          Bonner                       Unknown         Martin                              Giovinazzo                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 246          Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                        United                                                                               United                                                             1, at 244, 8393-
1422                                                     Andrew            Dominick        Giovinazzo                   States          Martin                              Giovinazzo                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 855, 8487    Child                       5087 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                        United                                                                               United                                                             1, at 244, 8393-
1423                                                     Ashley            Marie           Giovinazzo                   States          Martin                              Giovinazzo                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 856, 8487    Child                       5087 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                        United                                                                               United                                                             1, at 243, 8397-
1424 Angela      Carmela         Quinn                   Domenica                          Giovinazzo                   States          Martin                              Giovinazzo                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 11, 8433     Parent                      5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                        United                                                                               United                                                             1, at 244, 8393-
1425                                                     Dorothy                           Giovinazzo                   States          Martin                              Giovinazzo                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 53, 848      Spouse                      5087 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                        United                                                                               United                                                             1, at 242, 8397-
1426 Angela      Carmela         Quinn                   Martin            F.              Giovinazzo      Sr.          States          Martin                              Giovinazzo                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 11, 8433     Parent                      5138 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
1427                                                     Rose              Marie           Giovinazzo                   States          Martin                              Giovinazzo                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 245          Sibling                     4023 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                        United                                                                               United                                                             1, at 244, 8393-
1428                                                     Theresa           Jean            Giovinazzo                   States          Martin                              Giovinazzo                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 857, 8487    Child                       5087 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
1429                                                     Angela            Carmela         Quinn                        States          Martin                              Giovinazzo                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 247          Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             8679-1, at 159,
1430                                                     Hanifa                            Djonbalic                    States          Mon                                 Gjonbalaj                        States         9/11/01     NY (WTC)     03-cv-9849                 8696               Spouse                      5087 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                               United                                                             8679-1, at 161,
1431                                                     Bekim                             Gjonbalaj                    States          Mon                                 Gjonbalaj                        States         9/11/01     NY (WTC)     03-cv-9849                 8696               Child                       5087 at 9       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                            Page 55 of 170
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                                                                                                                                                                     EXHIBIT B-1
                                                                                                                                                  SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
               Personal Representative                                            Claimant                                                                                   9/11 Decedent                                                                Claim Information                                                    Solatium Damages




                                                                                                                  Nationality




                                                                                                                                                                                                      Nationality
                                                                                                                   on 9/11




                                                                                                                                                                                                       on 9/11
                                                                                                     Claimant                                                                                                         Date of                                            Amendments &                        Document
 #     First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First             Middle           Last          Suffix                                9/11 Site       Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                       Suffix                                                                                                         Death                                               Substitutions                        ation

                                                                                                                United                                                                               United                                                             1:02-cv-01616,
1432                                               Sali                              Gjonbalaj                  States          Mon                                  Gjonbalaj                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 250           Child                       4023 at 11       $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                               United                                                             8679-1, at 162,
1433                                               Selim                             Gjonbalaj                  States          Mon                                  Gjonbalaj                       States         9/11/01     NY (WTC)     03-cv-9849                 8696                Child                       5087 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                               United                                                             8679-1, at 160,
1434                                               Shkurta                           Nikaj                      States          Mon                                  Gjonbalaj                       States         9/11/01     NY (WTC)     03-cv-9849                 8696                Child                       5087 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                               United                                                             1:02-cv-01616,
1435                                               Herbert                           Gladstone                  States          Dianne                               Gladstone                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 253           Spouse                      5087 at 9        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     United                                                             1:02-cv-01616,
1436                                               Jayne             Marie           Marx                       Unknown         Dianne                               Gladstone                       States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4296       Sibling                     3666 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                United                                                                               United                                                             1:02-cv-01616,
1437                                               Benjamin          Alexander       Glascoe                    States          Keith                 Alexander      Glascoe                         States         9/11/01     NY (Other)   03-cv-9849                 3, at 1173          Parent                      4023 at 11       $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                               United                                                             1:02-cv-01616,
1438                                               Gloria            Oliver          Glascoe                    States          Keith                 Alexander      Glascoe                         States         9/11/01     NY (Other)   03-cv-9849                 3, at 1174          Parent                      7188 at 8        $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                United                                                                               United                                                             3, at 1175, 8393-
1439                                               Keith             Alexander       Glascoe                    States          Keith                 Alexander      Glascoe                         States         9/11/01     NY (Other)   03-cv-9849                 1, at 726, 8487     Child                       5087 at 9        $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                United                                                                               United                                                             3, at 1175, 8393-
1440                                               Nolan             Sebastian       Glascoe                    States          Keith                 Alexander      Glascoe                         States         9/11/01     NY (Other)   03-cv-9849                 1, at 725, 8487     Child                       5087 at 9        $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                United                                                                               United                                                             3, at 1175, 8393-
1441                                               Owen              Alexander       Glascoe                    States          Keith                 Alexander      Glascoe                         States         9/11/01     NY (Other)   03-cv-9849                 1, at 724, 8487     Child                       5087 at 9        $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                United                                                                               United                                                             3, at 1175, 8393-
1442                                               Veronica          Andrea          Squef                      States          Keith                 Alexander      Glascoe                         States         9/11/01     NY (Other)   03-cv-9849                 1, at 45, 8487      Spouse                      5951 at 7        $        12,500,000.00 $   37,500,000.00
                                                                                                                United                                                                               United                                                             8679-1, at 163,
1443                                               Lee               Alexandra       Wright                     States          Keith                 Alexander      Glascoe                         States         9/11/01     NY (Other)   03-cv-9849                 8696                Sibling                     7188 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                United                                                                               United                                                             8679-1, at 165,
1444                                               Jeremy            Matthew         Glick                      States          Barry                 H.             Glick                           States         9/11/01     NY (WTC)     03-cv-9849                 8696                Child                       7188 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                        305, at P4297,
                                                                                                                United                                                                               United                                                             8393-1, at 5,
1445                                               Judith            Mechanic        Glick                      States          Barry                 H.             Glick                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      7188 at 8        $        12,500,000.00 $   37,500,000.00
                                                                                                                United                                                                               United                                                             8679-1, at 164,
1446                                               Jean              Faith           Neufeld                    States          Barry                 H.             Glick                           States         9/11/01     NY (WTC)     03-cv-9849                 8696                Child                       7188 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                               United                                                             1:02-cv-01616,
1447                                               Colin             Glick           Stuart                     States          Steven                L.             Glick                           States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4299       Child                       5104 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                               United                                                             1:02-cv-01616,
1448                                               Courtney          Glick           Stuart                     States          Steven                L.             Glick                           States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4300       Child                       5104 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                        305, at P4298,
                                                                                                                United                                                                               United                                                             8393-1, at 78,
1449                                               Mari              Glick           Stuart                     States          Steven                L.             Glick                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 10       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     United                                                             1:02-cv-01616,
1450                                               Aleese            Hartmann        Livesey                    Unknown         William               Robert         Godshalk                        States              9/11/01 NY (WTC)    03-cv-9849                 26, 29, at 3291     Fiancé                      3382 at 3        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                        432, at P4848,
                                                                                                                United                                                                               United                                                             8393-1, at 56,
1451                                               Daniela                           Gogliormella               States          Michael                              Gogliormella                    States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5061 at 6        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                        432, at P4848,
                                                                                                                United                                                                               United                                                             8393-1, at 918,
1452                                               Gillian                           Gogliormella               States          Michael                              Gogliormella                    States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                               United                                                             1:02-cv-01616,
1453                                               Gerald                            Goldberg                   States          Brian                 F.             Goldberg                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1177          Parent                      3666 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                               United                                                             1:02-cv-01616,
1454                                               Marilyn                           Goldberg                   States          Brian                 F.             Goldberg                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1178          Parent                      3666 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                               United                                                             1:02-cv-01616,
1455                                               Ashley            Goldflam        Bisman                     States          Jeffrey               Grant          Goldflam                        States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2613        Child                       5087 at 10       $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                               United                                                             1:02-cv-01616,
1456                                               Joshua            Garett          Goldflam                   States          Jeffrey               Grant          Goldflam                        States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2614        Child                       5087 at 10       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                        77, at P2615,
                                                                                                                United                                                                               United                                                             8393-1, at 33,
1457                                               Rise              Holly           Goldflam                   States          Jeffrey               Grant          Goldflam                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 10       $        12,500,000.00 $   37,500,000.00
                                                                                                                United                                                                               United                                                             8679-1, at 166,
1458                                               Gwen                              Opfell                     States          Jeffrey               Grant          Goldflam                        States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                United                                                                               United                                                             1:02-cv-01616,
1459                                               Alyce                             Goldstein                  States          Steven                Ian            Goldstein                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1989     Parent                      3387             $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                               United                                                             1:02-cv-01616,
1460                                               Cecilia                           Goldstein                  States          Monica                               Goldstein                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 256           Parent                      4023 at 11       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                    Page 56 of 170
                                                                                                                 Case 1:03-md-01570-GBD-SN                                  Document 9716-2                                 Filed 04/23/24             Page 58 of 171
                                                                                                                                                                            EXHIBIT B-1
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                            Claimant                                                                                 9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                          Nationality




                                                                                                                                                                                                           Nationality
                                                                                                                           on 9/11




                                                                                                                                                                                                            on 9/11
                                                                                                             Claimant                                                                                                      Date of                                            Amendments &                       Document
 #        First        Middle            Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First             Middle         Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award             Amount            Treble          Notes
                                                                                                               Suffix                                                                                                      Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             1, at 255, 8397-
                                                                                                                                                                                                                                                                             1, at 11, 8433,
                                                                                                                        United                                                                            United                                                             8393-1, at 60,
1461 Cecilia                       Goldstein             Morris            Sonny           Goldstein                    States          Monica                              Goldstein                     States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      4023 at 11       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                            United                                                             1:02-cv-01616,
1462                                                     Robert            Jay             Goldstein                    States          Steven               Ian            Goldstein                     States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 1990    Sibling                     3387             $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                            United                                                             1:02-cv-01616,
1463                                                     Adrienne                          Triggs                       States          Monica                              Goldstein                     States         9/11/01     NY (WTC)     03-cv-9849                 1, at 257          Sibling                     4023 at 11       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                     VA
                                                                                                                        United                                                                            United                     (Pentagon                               8679-1, at 168,
1464                                                     Michelle          Lynn            Bevevino                     States          Ronald               Franklin       Golinski                      States         9/11/01     )            03-cv-9849                 8696               Child                       515 at 4         $         8,500,000.00 $   25,500,000.00
                                                                                                                        United          Ronald               Franklin       Golinski                                                 VA
                                                                                                                        States
                                                                                                                                                                                                          United                     (Pentagon
                                                                                                                                                                                                                                                                             8679-1, at 170,
1465                                                     Paula             Mary            Carucci                                                                                                        States         9/11/01     )            03-cv-9849                 8696               Step-Child                  5949 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                     VA
                                                                                                                        United                                                                            United                     (Pentagon                               1:02-cv-01616,
1466                                                     Sara              Mary            Clark                        States          Ronald               Franklin       Golinski                      States         9/11/01     )            03-cv-9849                 155, at P2908      Child                       5062 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United          Ronald               Franklin       Golinski                                                 VA
                                                                                                                        States
                                                                                                                                                                                                          United                     (Pentagon
                                                                                                                                                                                                                                                                             8679-1, at 171,
1467                                                     David             Eugene          Eschenbaum                                                                                                     States         9/11/01     )            03-cv-9849                 8696               Step-Child                  5949 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                     VA                                      155, at P2907,
                                                                                                                        United                                                                            United                     (Pentagon                               8393-1, at 72,
1468                                                     Irene             Mary            Golinski                     States          Ronald               Franklin       Golinski                      States         9/11/01     )            03-cv-9849                 8487               Spouse                      5062 at 4        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                     VA
                                                                                                                        United                                                                            United                     (Pentagon                               8679-1, at 167,
1469                                                     Dawn              Marie           Megyeri                      States          Ronald               Franklin       Golinski                      States         9/11/01     )            03-cv-9849                 8696               Child                       515 at 4         $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                     VA
                                                                                                                        United                                                                            United                     (Pentagon                               1:02-cv-01616,
1470                                                     Amanda            Mary            Mullins                      States          Ronald               Franklin       Golinski                      States         9/11/01     )            03-cv-9849                 155, at P2906      Child                       5062 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                     VA
                                                                                                                        United                                                                            United                     (Pentagon                               1:02-cv-01616,
1471                                                     Marcellia         Mary            Potler                       States          Ronald               Franklin       Golinski                      States         9/11/01     )            03-cv-9849                 155, at P2909      Child                       5062 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                     VA
                                                                                                                        United                                                                            United                     (Pentagon                               8679-1, at 169,
1472                                                     Kristine          Ann             Reynolds                     States          Ronald               Franklin       Golinski                      States         9/11/01     )            03-cv-9849                 8696               Child                       515 at 4         $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             155, at P2910,
                                                                                                                        United                                                                            United                                                             8393-1, at 73,
1473                                                     Migdalia                          Coleman                      States          Rosa                 J.             Gonzalez                      States         9/11/01     NY (Other)   03-cv-9849                 8487               Sibling                     4023 at 11       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             155, at P2910,
                                                                                                                        United                                                                            United                                                             8393-1, at 1171,
1474                                                     Jennifer                          Hernandez                    States          Rosa                 J.             Gonzalez                      States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5061 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                            United                     NY                                      1:02-cv-01616,
1475                                                     Ellen             Reynolds        Goodchild                    States          Lynn                 Catherine      Goodchild                     States         9/11/01     (UA175)      03-cv-9849                 1, at 262          Parent                      4023 at 11       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                            United                     NY                                      1:02-cv-01616,
1476                                                     Neil              K.              Goodchild                    States          Lynn                 Catherine      Goodchild                     States         9/11/01     (UA175)      03-cv-9849                 1, at 263          Sibling                     4023 at 11       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                            United                     NY                                      1:02-cv-01616,
1477                                                     William           Clark           Goodchild       III          States          Lynn                 Catherine      Goodchild                     States         9/11/01     (UA175)      03-cv-9849                 1, at 260          Parent                      4023 at 11       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                            United                                                             1:02-cv-01616,
1478                                                     Andrew            T.              Gorayeb                      States          Catherine            C.             Gorayeb                       States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4650      Sibling                     4023 at 12       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                            United                                                             1:02-cv-01616,
1479                                                     Christopher       Joseph          Gorayeb                      States          Catherine            C.             Gorayeb                       States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4651      Sibling                     4023 at 12       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             232, at P3702,
                                                                                                                        United                                                                            United                                                             8393-1, at 8,
1480                                                     Claire            A.              Gorayeb                      States          Catherine            C.             Gorayeb                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Sibling                     4126 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
1481                                                     Joseph            George          Gorayeb                      Unknown         Catherine            C.             Gorayeb                       States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3703      Parent                      5848 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             232, at P3702,
                                                                                                                        United                                                                            United                                                             8393-1, at 127,
1482                                                     Katharine         Grace           Gorayeb                      States          Catherine            C.             Gorayeb                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5138 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             313, at P4649,
                                                                                                                        United                                                                            United                                                             8397-1, at 21,
1483 Christopher   Joseph          Gorayeb               Helene            W.              Nelson                       States          Catherine            C.             Gorayeb                       States 9/11/01             NY (WTC)     03-cv-9849                 8433               Parent                      7188 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                            Unknow                                                             1:02-cv-01616,
1484                                                     Theresa           Mary            Creedon                      States          Thomas               E.             Gorman                        n      9/11/01             NY (Other)   03-cv-9849                 155, at P2911      Sibling                     4126 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             155, at P2912,
                                                                                                                        United                                                                            Unknow                                                             8397-1, at 11,
1485 Theresa       Mary            Creedon               Edward            Thomas          Gorman                       States          Thomas               E.             Gorman                        n      9/11/01             NY (Other)   03-cv-9849                 8433               Parent                      4126 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                            Unknow                                                             1:02-cv-01616,
1486                                                     Theresa           Rachel          Gorman                       States          Thomas               E.             Gorman                        n      9/11/01             NY (Other)   03-cv-9849                 155, at P2914      Parent                      4126 at 5        $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                         Page 57 of 170
                                                                                                            Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                   Filed 04/23/24            Page 59 of 171
                                                                                                                                                                            EXHIBIT B-1
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                               Claimant                                                                                9/11 Decedent                                                                Claim Information                                                   Solatium Damages




                                                                                                                         Nationality




                                                                                                                                                                                                            Nationality
                                                                                                                          on 9/11




                                                                                                                                                                                                             on 9/11
                                                                                                            Claimant                                                                                                        Date of                                           Amendments &                        Document
 #        First       Middle              Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle           Last          Suffix                               9/11 Site       Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                              Suffix                                                                                                        Death                                              Substitutions                        ation

                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             155, at P2915,
                                                                                                                       United                                                                              United                                                            8393-1, at 56,
1487                                                      Kathryn           Gould           Anderson                   States          Michael               Edward        Gould                           States         9/11/01     NY (WTC)    03-cv-9849                 8487                Parent                      4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             432, at P4977,
                                                                                                                                                                                                           United                                                            8393-1, at 48,
1488                                                      Allison           Kristin         Beckler                    Unknown         Olga                  Kristin       Gould                           States         9/11/01     PA (UA93)   03-cv-9849                 8487                Child                       4023 at 26      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                              United                                                            1:02-cv-01616,
1489                                                      Robert            William         Gould                      States          Michael               Edward        Gould                           States         9/11/01     NY (WTC)    03-cv-9849                 155, at P2916       Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                              United                                                            8679-1, at 516,
1490                                                      William           Allison         Osterholm                  States          Olga                  Kristin       Gould                           States         9/11/01     PA (UA93)   03-cv-9849                 8696                Sibling                     5061 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                                                                                                                                                                             HAND FILED, at
                                                                                                                       United                                                                              United                     NY                                     P5072, 8393-1,
1491                                                      Barbara           Joan            Gowell                     States          Douglas               Alan          Gowell                          States         9/11/01     (UA175)     03-cv-9849                 at 20, 8487         Spouse                      8233 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                       United                                                                              United                     NY                                     HAND FILED, at
1492                                                      Michael           Douglas         Gowell                     States          Douglas               Alan          Gowell                          States         9/11/01     (UA175)     03-cv-9849                 P5073               Child                       8233 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                       United                                                                              United                     NY                                     HAND FILED, at
1493                                                      Jessica           Lee             Smithers                   States          Douglas               Alan          Gowell                          States         9/11/01     (UA175)     03-cv-9849                 P5074               Child                       8233 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           United                                                            1:02-cv-01616,
1494                                                      Brendan           Michael         Grady                      Unknown         Christopher           Michael       Grady                           States         9/11/01     NY (WTC)    03-cv-9849                 432, at P4851       Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           United                                                            1:02-cv-01616,
1495                                                      Deirdre           Marie           Grady                      Unknown         Christopher           Michael       Grady                           States         9/11/01     NY (WTC)    03-cv-9849                 432, at P4852       Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             26, 29, at 2475,
                                                                                                                       United                                                                              United                                                            8393-1, at 174,
1496                                                      Dylan             Michael         Grady                      States          Christopher           Michael       Grady                           States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             26, 29, at 2475,
                                                                                                                       United                                                                              United                                                            8393-1, at 175,
1497                                                      Kayla             Patricia        Grady                      States          Christopher           Michael       Grady                           States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5061 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           United                                                            1:02-cv-01616,
1498                                                      Patrick           Michael         Grady                      Unknown         Christopher           Michael       Grady                           States         9/11/01     NY (WTC)    03-cv-9849                 432, at P4850       Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             432, at P4849,
                                                                                                                       United                                                                              United                                                            8397-1, at 11,
1499 Patrick      Michael         Grady                   Rita              M.              Grady                      States          Christopher           Michael       Grady                           States         9/11/01     NY (WTC)    03-cv-9849                 8433                Parent                      5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                              United                                                            1:02-cv-01616,
1500                                                      Kelly             Ann             Green-Grady                States          Christopher           Michael       Grady                           States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2475     Spouse                      5061 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                       United                                                                              United                                                            1:02-cv-01616,
1501                                                      Brian             Dale            Graifman                   States          David                 Martin        Graifman                        States         9/11/01     NY (WTC)    03-cv-9849                 432, at P4855       Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                              United                                                            8679-1, at 172,
1502                                                      Gary              S.              Graifman                   States          David                 Martin        Graifman                        States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     5087 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           United                                                            1:02-cv-01616,
1503                                                      Julius                            Graifman                   Unknown         David                 Martin        Graifman                        States         9/11/01     NY (WTC)    03-cv-9849                 432, at P4853       Parent                      3666 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           United                                                            1:02-cv-01616,
1504                                                      Ruth                              Graifman                   Unknown         David                 Martin        Graifman                        States         9/11/01     NY (WTC)    03-cv-9849                 432, at P4854       Parent                      3666 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:03-md-01570,
                                                                                                                                                                                                                                                                             602, at P5485,
                                                                                                                       United                                                                              United                                                            8393-1, at 16,
1505                                                      Christine         R.              Huhn                       States          David                 Martin        Graifman                        States         9/11/01     NY (WTC)    03-cv-9849                 8487                Spouse                      5061 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                       United                                                                              United                                                            8679-1, at 174,
1506                                                      Barbara           Vaughn          Catuzzi                    States          Lauren                C.            Grandcolas                      States         9/11/01     PA (UA93)   03-cv-9849                 8696                Parent                      7188 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                              United                                                            8679-1, at 176,
1507                                                      Lawrence          Richard         Catuzzi                    States          Lauren                C.            Grandcolas                      States         9/11/01     PA (UA93)   03-cv-9849                 8696                Parent                      7188 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             232, at P3704,
                                                                                                                       United                                                                              United                                                            8393-1, at 48,
1508                                                      Jack              Andrew          Grandcolas                 States          Lauren                C.            Grandcolas                      States         9/11/01     PA (UA93)   03-cv-9849                 8487                Spouse                      5087 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                       United                                                                              United                                                            8679-1, at 173,
1509                                                      Vaughn            Ann Catuzzi     Lohec                      States          Lauren                C.            Grandcolas                      States         9/11/01     PA (UA93)   03-cv-9849                 8696                Sibling                     7188 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                              United                                                            8679-1, at 175,
1510                                                      Dara              Ann             Near                       States          Lauren                C.            Grandcolas                      States         9/11/01     PA (UA93)   03-cv-9849                 8696                Sibling                     7188 at 8       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                       United                                                                              United                                                            3, at 1791, 8393-
1511                                                      Caitlin           Ann             Gray                       States          James                 Michael       Gray                            States         9/11/01     NY (WTC)    03-cv-9849                 1, at 497, 8487     Child                       5061 at 7       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                       United                                                                              United                                                            3, at 1791, 8393-
1512                                                      Colleen           Elizabeth       Gray                       States          James                 Michael       Gray                            States         9/11/01     NY (WTC)    03-cv-9849                 1, at 498, 8487     Child                       5061 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United          James                 Michael       Gray                            United                     NY (WTC)                               8679-1, at 180,
1513                                                      Doreen            Julia           Gray                       States                                                                              States         9/11/01                 03-cv-9849                 8696                Step-Parent                 8293 at 6       $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                          Page 58 of 170
                                                                                                               Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                  Filed 04/23/24            Page 60 of 171
                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                       Personal Representative                                               Claimant                                                                               9/11 Decedent                                                               Claim Information                                                   Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                             Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                              on 9/11
                                                                                                               Claimant                                                                                                      Date of                                           Amendments &                        Document
 #       First          Middle               Last   Suffix    Claimant First   Claimant Middle Claimant Last                                       First            Middle          Last          Suffix                               9/11 Site       Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                      Death                                              Substitutions                        ation

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4063,
                                                                                                                                                                                                                                                                              8397-1, at 11,
                                                                                                                          United                                                                            United                                                            8433, 8393-1, at
1514 Janet        Walker             Gray                    James             Stewart         Gray                       States          Christopher          Stewart       Gray                           States         9/11/01     NY (WTC)    03-cv-9849                 11, 8487            Parent                      4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                            United                                                            8679-1, at 178,
1515                                                         James             Thomas          Gray                       States          Christopher          Stewart       Gray                           States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     515 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                            United                                                            8679-1, at 179,
1516                                                         Janet             Walker          Gray                       States          Christopher          Stewart       Gray                           States         9/11/01     NY (WTC)    03-cv-9849                 8696                Parent                      515 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              3, at 1791, 5284-
                                                                                                                                                                                                                                                                              1, at 5, 5296,
                                                                                                                          United                                                                            United                                                            8393-1, at 31,
1517                                                         Jean              Marie           Gray                       States          James                Michael       Gray                           States         9/11/01     NY (WTC)    03-cv-9849                 8487                Spouse                      5061 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                            United                                                            1:02-cv-01616,
1518                                                         Lisa              Anne            Gray                       States          Ian                  J.            Gray                           States         9/11/01     VA (AA77)   03-cv-9849                 432, at P4984       Child                       5062 at 4       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                            United                                                            3, at 1790, 5284-
1519                                                         Patrick                           Gray                       Unknown         James                Michael       Gray                           States         9/11/01     NY (WTC)    03-cv-9849                 1, at 5, 5296       Parent                      3666 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                            United                                                            8679-1, at 177,
1520                                                         Timothy           Walker          Gray                       States          Christopher          Stewart       Gray                           States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     515 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                            United                                                            1:02-cv-01616,
1521                                                         Mary                              Madden                     States          James                Michael       Gray                           States         9/11/01     NY (WTC)    03-cv-9849                 77, at P2654        Parent                      3666 at 5       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                            United                                                            3, at 1792, 5284-
1522                                                         Suzanne           Marie           Pitzal                     Unknown         James                Michael       Gray                           States         9/11/01     NY (WTC)    03-cv-9849                 1, at 5, 5296       Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              432, at P4983,
                                                                                                                          United                                                                            United                                                            8393-1, at 29,
1523                                                         Ana               M.              Raley                      States          Ian                  J.            Gray                           States         9/11/01     VA (AA77)   03-cv-9849                 8487                Spouse                      5087 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                            United                                                            1:02-cv-01616,
1524                                                         Anthony           Leon            Green                      States          Wade                 Brian         Green                          States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 1997     Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                            United                                                            1:02-cv-01616,
1525                                                         Barry             Vincent         Green                      Unknown         Wade                 Brian         Green                          States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 1998     Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                            United                                                            1:02-cv-01616,
1526                                                         Danielle          Tiffany         Green                      States          Wade                 Brian         Green                          States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 1996     Child                       5087 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                            United                                                            1:02-cv-01616,
1527                                                         Roxanne           E.              Green                      States          Wade                 Brian         Green                          States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 1993     Spouse                      5356 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 1994,
                                                                                                                          United                                                                            United                                                            8397-1, at 11,
1528 Wilhelmina   Mary               Green                   Thomas            Martin          Green                      States          Wade                 Brian         Green                          States         9/11/01     NY (WTC)    03-cv-9849                 8433                Parent                      5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                            United                                                            1:02-cv-01616,
1529                                                         Wilhelmina        Mary            Green                      Unknown         Wade                 Brian         Green                          States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 1995     Parent                      3666 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                            United                                                            1:02-cv-01616,
1530                                                         Edward            William         Greenstein                 States          Eileen                             Greenstein                     States         9/11/01     NY (WTC)    03-cv-9849                 77, at P2618        Sibling                     4023 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              77, at P2619,
                                                                                                                          United                                                                            United                                                            8397-1, at 11,
1531 Michael      J.                 Greenstein              Eva               Rebecca         Greenstein                 States          Eileen                             Greenstein                     States         9/11/01     NY (WTC)    03-cv-9849                 8433                Parent                      4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                            United                                                            1:02-cv-01616,
1532                                                         Howard            Allan           Greenstein                 States          Eileen                             Greenstein                     States         9/11/01     NY (WTC)    03-cv-9849                 77, at P2620        Sibling                     4023 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              77, at P2621,
                                                                                                                          United                                                                            United                                                            8393-1, at 23,
1533                                                         Michael           J.              Greenstein                 States          Eileen                             Greenstein                     States         9/11/01     NY (WTC)    03-cv-9849                 8487                Sibling                     4023 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3706,
                                                                                                                          United                                                                            United                                                            8393-1, at 20,
1534                                                         Maureen           A.              Gregory                    States          Donald               H.            Gregory                        States         9/11/01     NY (WTC)    03-cv-9849                 8487                Spouse                      5061 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                            United                                                            1:02-cv-01616,
1535                                                         Brian             Joseph          Grimner                    States          David                Joseph        Grimner                        States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1186          Child                       7188 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                            United                                                            1:02-cv-01616,
1536                                                         Charles           Gregory         Grimner                    Unknown         David                Joseph        Grimner                        States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1187          Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                            United                                                            3, at 1185, 8466-
1537                                                         David             Patrick         Grimner                    Unknown         David                Joseph        Grimner                        States         9/11/01     NY (WTC)    03-cv-9849                 1, at 2, 8487       Child                       7188 at 8       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                          United                                                                            United                                                            3, at 1185, 8393-
1538                                                         Judith            A.              Grimner                    States          David                Joseph        Grimner                        States         9/11/01     NY (WTC)    03-cv-9849                 1, at 16, 8487      Spouse                      5061 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                            United                                                            8679-1, at 181,
1539                                                         Michael           Christopher     Grimner                    States          David                Joseph        Grimner                        States         9/11/01     NY (WTC)    03-cv-9849                 8696                Child                       7188 at 8       $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                                                  EXHIBIT B-1
                                                                                                                                                               SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                          Personal Representative                                              Claimant                                                                               9/11 Decedent                                                                   Claim Information                                                   Solatium Damages




                                                                                                                               Nationality




                                                                                                                                                                                                                  Nationality
                                                                                                                                on 9/11




                                                                                                                                                                                                                   on 9/11
                                                                                                                  Claimant                                                                                                        Date of                                            Amendments &                        Document
 #           First         Middle             Last    Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                    Suffix                                                                                                        Death                                               Substitutions                        ation



                                                                                                                                                                                                                                                                                    1:02-cv-01616,
     Virginia; Mary Margaret;           Kwiatkoski;                                                                          United                                                                              United                                                             3, at 1184, 8397-
1540 Ann            Elizabeth           Peters                 Teresa            L.              Grimner                     States          David                 Joseph        Grimner                         States 9/11/01             NY (WTC)     03-cv-9849                 1, at 12, 8433      Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1541                                                           Virginia          Margaret        Kwiatkoski                  States          David                 Joseph        Grimner                         States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1188          Sibling                     3666 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1542                                                           Mary Ann          Elizabeth       Peters                      States          David                 Joseph        Grimner                         States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1189          Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                              Unknow                     NY                                      1:02-cv-01616,
1543                                                           Ann               Marie           Browne                      States          Francis               E.            Grogan                          n      9/11/01             (UA175)      03-cv-9849                 305, at P4302       Sibling                     4023 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                              United                                                             8679-1, at 182,
1544                                                           Christine         Marie           Galard                      States          Joseph                              Grzelak                         States 9/11/01             NY (Other)   03-cv-9849                 8696                Sibling                     5087 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1545                                                           Joanne                            Grzelak                     States          Joseph                              Grzelak                         States 9/11/01             NY (Other)   03-cv-9849                 26, 29, at 2004     Spouse                      5061 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                             United                                                                              United                                                             8679-1, at 184,
1546                                                           Debra             Ann             Lauro                       States          Joseph                              Grzelak                         States 9/11/01             NY (Other)   03-cv-9849                 8696                Child                       5087 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                              United                                                             8679-1, at 183,
1547                                                           Kristie           Lynn            Perrotta                    States          Joseph                              Grzelak                         States 9/11/01             NY (Other)   03-cv-9849                 8696                Child                       5087 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    232, at P3708,
                                                                                                                                                                                                                                                                                    8397-1, at 12,
                                                                                                                             United                                                                              United                                                             8433, 8393-1, at
1548 Patti           Ann                Valerio                Patricia                          Grzymalski                  States          Matthew               James         Grzymalski                      States         9/11/01     NY (WTC)     03-cv-9849                 54, 8487            Parent                      5848 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    232, at P3709,
                                                                                                                             United                                                                              United                                                             8397-1, at 12,
1549 Jerry           F.                 Guadagno               Beatrice          Josephine       Guadagno                    States          Richard               J.            Guadagno                        States         9/11/01     PA (UA93)    03-cv-9849                 8433                Parent                      5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    432, at P4857,
                                                                                                                             United                                                                              United                                                             8393-1, at 67,
1550                                                           Jerry             F.              Guadagno                    States          Richard               J.            Guadagno                        States         9/11/01     PA (UA93)    03-cv-9849                 8487                Parent                      4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1551                                                           Lori              Maria           Guadagno                    States          Richard               J.            Guadagno                        States         9/11/01     PA (UA93)    03-cv-9849                 232, at P3710       Sibling                     4023 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                 United                                                             1, at 265, 8393-
1552                                                           Edwin             H.              Yuen                        Unknown         Cindy                 Yanzhu        Guan                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 12, 8487      Spouse                      5848 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 3328,
                                                                                                                             United                                                                              United                                                             8393-1, at 676,
1553                                                           Amanda            Rose            Gullickson                  States          Joseph                P.            Gullickson                      States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5356 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 3328,
                                                                                                                             United                                                                              United                                                             8393-1, at 675,
1554                                                           Isabel            Leah            Gullickson                  States          Joseph                P.            Gullickson                      States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5356 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 3328,
                                                                                                                             United                                                                              United                                                             8393-1, at 42,
1555                                                           Naoemi            P.              Gullickson                  States          Joseph                P.            Gullickson                      States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5356 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                             United                                                                              United                                                             1, at 267, 8393-
1556                                                           Anthony           Domiano         Guzzardo        Sr.         States          Barbara                             Guzzardo                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 5, 8487       Spouse                      5087 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1557                                                           Anthony           Christopher     Guzzardo                    States          Barbara                             Guzzardo                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1193          Child                       7188 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    432, at P4858,
                                                                                                                                                                                                                                                                                    6886, at 2, 6903,
                                                                                                                             United                                                                              United                                                             8393-1, at 62,
1558 Lisa            Ann                Cenicola               Marjorie          Ann             Farley                      States          Paige                 Farley        Hackel                          States         9/11/01     NY (AA11)    03-cv-9849                 8487                Parent                      4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1559                                                           Allan             Richard         Hackel                      States          Paige                 Farley        Hackel                          States         9/11/01     NY (AA11)    03-cv-9849                 305, at P4304       Spouse                      5062 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1560                                                           Patricia          Ann             Thompson                    States          Philip                              Haentzler                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2008     Spouse                      515 at 4        $        12,500,000.00 $   37,500,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1561                                                           Stacy             Ann             Bruno                       States          Steven                Michael       Hagis                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2015     Sibling                     4023 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1562                                                           Christopher                       Hagis                       States          Steven                Michael       Hagis                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2014     Sibling                     4023 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 3343,
                                                                                                                             United                                                                              United                                                             8393-1, at 1257,
1563                                                           Daniel            Vito            Hagis                       States          Steven                Michael       Hagis                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       515 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                              United                                                             1:02-cv-01616,
1564                                                           Gloria            Janine          Hagis                       States          Steven                Michael       Hagis                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3343     Spouse                      515 at 4        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 3343,
                                                                                                                             United                                                                              United                                                             8393-1, at 1258,
1565                                                           Jaclyn            Elizabeth       Hagis                       States          Steven                Michael       Hagis                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       515 at 5        $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                                                 EXHIBIT B-1
                                                                                                                                                              SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                                Claimant                                                                                  9/11 Decedent                                                                 Claim Information                                                  Solatium Damages




                                                                                                                              Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                               on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                                 Claimant                                                                                                        Date of                                            Amendments &                       Document
 #       First         Middle               Last     Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                   Suffix                                                                                                        Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2013,
                                                                                                                            United                                                                              United                                                             8397-1, at 12,
1566 Stacy       Ann                Bruno                     Maryjane                          Hagis                       States          Steven                Michael       Hagis                           States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
1567                                                          Steven            John            Hagis                       States          Steven                Michael       Hagis                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2012    Parent                      4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P2923,
                                                                                                                            United                                                                              United                                                             8393-1, at 54,
1568                                                          Elizabeth         Jane            Adams                       States          Mary Lou                            Hague                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      5061 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   305, at P4305,
                                                                                                                            United                                                                              United                                                             8397-1, at 12,
1569 Eugene      T.                 Hague          III        Eugene            T.              Hague           Jr.         States          Mary Lou                            Hague                           States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
1570                                                          Geraldine         Eleanor         Halderman                   States          David                               Halderman                       States         9/11/01     NY (Other)   03-cv-9849                 3, at 1196         Parent                      4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 186,
1571                                                          Michael                           Halderman                   States          David                               Halderman                       States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     5087 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 188,
1572                                                          Steve                             Halderman                   States          David                               Halderman                       States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     5087 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 187,
1573                                                          Christine                         Olsen                       States          David                               Halderman                       States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     5087 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:03-md-01570,
                                                                                                                            United                                                                              United                                                             9528-1, at 1,
1574                                                          Marianne          Halterman       Tangel                      States          David                               Halderman                       States         9/11/01     NY (Other)   03-cv-9849                 9532               Sibling                     4023 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   305, at P4306,
                                                                                                                            United                                                                                                                                                 8393-1, at 84,
1575                                                          Beverly                           Hall                        States          Vaswald               George        Hall                            Jamaica 9/11/01            NY (WTC)     03-cv-9849                 8487               Spouse                      5848 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
1576                                                          Emma              Louise          Arro                        Kingdom         Robert                John          Halligan                        States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1205         Child                       5061 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2017,
                                                                                                                            United                                                                              United                                                             8397-1, at 12,
1577 David       Mitchell           Halligan                  Brenda            Olive           Halligan                    Kingdom         Robert                John          Halligan                        States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
1578                                                          David             Mitchell        Halligan                    Kingdom         Robert                John          Halligan                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2021    Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
1579                                                          James             E.              Halligan                    Kingdom         Robert                John          Halligan                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2018    Child                       5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
1580                                                          Jeraldine                         Halligan                    States          Robert                John          Halligan                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1203         Spouse                      5087 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 189,
1581                                                          Robert            David           Halligan                    Kingdom         Robert                John          Halligan                        States         9/11/01     NY (WTC)     03-cv-9849                 8696               Child                       7188 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
1582                                                          Trevor            Andrew          Halligan                    States          Robert                John          Halligan                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1204         Child                       5087 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
1583                                                          William           G.              Halligan                    Kingdom         Robert                John          Halligan                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2022    Sibling                     5061 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
1584                                                          Mary              Kathleen        Lynn                        Unknown         Robert                John          Halligan                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2023    Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
1585                                                          Sarah             Jane            Robbins                     Kingdom         Robert                John          Halligan                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2019    Child                       5062 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
1586                                                          Lara                              Stacey                      Unknown         Robert                John          Halligan                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2020    Child                       5087 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2025,
                                                                                                                            United                                                                              United                                                             8393-1, at 1148,
1587                                                          Christine         Mary            Hamilton                    States          Robert                W.            Hamilton                        States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2025,
                                                                                                                            United                                                                              United                                                             8393-1, at 71,
1588                                                          Elizabeth                         Hamilton                    States          Robert                W.            Hamilton                        States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5087 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2025,
                                                                                                                            United                                                                              United                                                             8393-1, at 1149,
1589                                                          Robert            William         Hamilton        Jr.         States          Robert                W.            Hamilton                        States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
1590                                                          Walter            E.              Hamilton                    States          Felicia                             Hamilton                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1207         Child                       4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   77, at P2734,
                                                                                                                            United                                                                              United                                                             8393-1, at 24,
1591                                                          Lisa              A.              Ventura                     States          Felicia                             Hamilton                        States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:03-md-01570,
                                                                                                                                                                                                                                                                                   3477, at 1454;
                                                                                                                                                                                                                United                     NY                                      8679-1, at 190,
1592 Cynthia     Sue                Sumner                    Carl              Max             Hammond         Sr.         Unknown         Carl                  Max           Hammond             Jr.         States         9/11/01     (UA175)      03-cv-9849                 8696               Parent                      5138 at 5       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                               Page 61 of 170
                                                                                                               Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                    Filed 04/23/24             Page 63 of 171
                                                                                                                                                                             EXHIBIT B-1
                                                                                                                                                          SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                       Personal Representative                                            Claimant                                                                                9/11 Decedent                                                                    Claim Information                                                    Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                              Claimant                                                                                                         Date of                                            Amendments &                        Document
 #          First         Middle           Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First             Middle            Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                Suffix                                                                                                         Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 77, at P2623,
                                                                                                                         United                                                                               United                     NY                                      8397-1, at 12,
1593 Cynthia        Sue              Sumner                Sue               M.              Hammond                     States          Carl                 Max            Hammond              Jr.         States         9/11/01     (UA175)      03-cv-9849                 8433                Parent                      4126 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                     NY                                      1:02-cv-01616,
1594                                                       Cynthia           Sue             Sumner                      States          Carl                 Max            Hammond              Jr.         States         9/11/01     (UA175)      03-cv-9849                 26, 29, at 3353     Sibling                     4023 at 12       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
1595                                                       Bryan             Thomas          Hanley                      States          Sean                                Hanley                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3356     Sibling                     4023 at 12       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
1596                                                       Gerald            Thomas          Hanley                      States          Sean                                Hanley                           States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2624        Parent                      4023 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
1597                                                       Gerald            T.              Hanley                      States          Sean                                Hanley                           States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2625        Sibling                     5062 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
1598                                                       Kevin             Edward          Hanley                      States          Sean                                Hanley                           States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2626        Sibling                     5062 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
1599                                                       Patricia          Rose            Hanley                      States          Sean                                Hanley                           States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2627        Parent                      4023 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
1600                                                       James             Joseph          Hannaford                   Unknown         Kevin                James          Hannaford                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 271           Parent                      3387             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
1601                                                       Nancy             Elizabeth       Hannaford                   Unknown         Kevin                James          Hannaford                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 273           Parent                      3387             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
1602                                                       Patrick           Gerard          Hannaford                   Unknown         Kevin                James          Hannaford                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 272           Sibling                     3387             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
1603                                                       Elizabeth         L.              Saraceno                    Unknown         Kevin                James          Hannaford                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 274           Sibling                     3387             $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
1604                                                       Kyle              Elizabeth       Bickford                    States          Dana                 Rey            Hannon                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3361     Sibling                     5848 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
1605                                                       Gaye              Arlene          Hannon                      States          Dana                 Rey            Hannon                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3360     Parent                      5087 at 10       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 3359,
                                                                                                                         United                                                                               United                                                             8397-1, at 12,
1606 Kyle           Elizabeth        Bickford              Thomas            P.              Hannon          Jr.         States          Dana                 Rey            Hannon                           States         9/11/01     NY (Other)   03-cv-9849                 8433                Parent                      515 at 5         $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                     NY                                      1:02-cv-01616,
1607                                                       Kathryn           Lee             Barrere                     States          Peter                Burton         Hanson                           States         9/11/01     (UA175)      03-cv-9849                 305, at P4308       Sibling                     5062 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3712,
                                                                                                                                                                                                                                                                                 8397-1, at 12,
                                                                                                                         United                                                                               United                     NY                                      8433, 8393-1, at
1608 Eunice         Katherine        Hanson                C.                Lee             Hanson                      States          Peter                Burton         Hanson                           States         9/11/01     (UA175)      03-cv-9849                 65, 8487            Parent                      4023 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                     NY                                      1:02-cv-01616,
1609                                                       Eunice            Katherine       Hanson                      States          Peter                Burton         Hanson                           States         9/11/01     (UA175)      03-cv-9849                 232, at P3713       Parent                      4023 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 3363,
                                                                                                                         United                                                                               United                     NY                                      8393-1, at 78,
1610                                                       John              Hyunsool        Kim                         States          Sue                  Ju             Hanson                           States         9/11/01     (UA175)      03-cv-9849                 8487                Sibling                     5087 at 10       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                     NY                                      8679-1, at 191,
1611                                                       Stanley           Hyun Ki         Kim                         States          Sue                  Ju             Hanson                           States         9/11/01     (UA175)      03-cv-9849                 8696                Sibling                     7188 at 8        $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                 1:03-cv-09849,
                                                                                                                         United                                                                               Unknow                     NY                                      839, at 10; 8679-
1612                                                       Colleen           Marie           Hardacre                    States          Gerald                              Hardacre                         n      9/11/01             (UA175)      03-cv-9849                 1, at 192, 8696     Child                       5062 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 305, at P4309,
                                                                                                                         United                                                                               United                                                             8393-1, at 1335,
1613                                                       Amy               P.              Hargrave                    States          Timothy              John           Hargrave                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 305, at P4309,
                                                                                                                         United                                                                               United                                                             8393-1, at 1336,
1614                                                       Casey             A.              Hargrave                    States          Timothy              John           Hargrave                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 305, at P4309,
                                                                                                                         United                                                                               United                                                             8393-1, at 1337,
1615                                                       Corinne           Elizabeth       Hargrave                    States          Timothy              John           Hargrave                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
1616                                                       Patricia          Ellen           Hargrave                    States          Timothy              John           Hargrave                         States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4309       Spouse                      5848 at 5        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 3377,
                                                                                                                         United                                                                               United                                                             8393-1, at 224,
1617                                                       Brian             Thomas          Harlin                      States          Daniel               Edward         Harlin                           States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 10       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
1618                                                       Caroline          Anna            Harlin                      Unknown         Daniel               Edward         Harlin                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3379     Parent                      3666 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 3377,
                                                                                                                         United                                                                               United                                                             8393-1, at 225,
1619                                                       Christopher       Edward          Harlin                      States          Daniel               Edward         Harlin                           States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 10       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                             Page 62 of 170
                                                                                                                Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                    Filed 04/23/24             Page 64 of 171
                                                                                                                                                                               EXHIBIT B-1
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                               Claimant                                                                                   9/11 Decedent                                                                  Claim Information                                                  Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                               Claimant                                                                                                          Date of                                            Amendments &                       Document
 #        First         Middle              Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First             Middle            Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                          Death                                               Substitutions                       ation

                                                                                                                                                                                                                United                                                             1:02-cv-01616,
1620                                                        Debra             A.              Harlin                      Unknown         Daniel                Edward         Harlin                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3377    Spouse                      5061 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                                United                                                             1:02-cv-01616,
1621                                                        James             Michael         Harlin                      States          Daniel                Edward         Harlin                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3380    Sibling                     4126 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
1622                                                        Joan              Patricia        Harlin                      Unknown         Daniel                Edward         Harlin                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3382    Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 3377,
                                                                                                                          United                                                                                United                                                             8393-1, at 226,
1623                                                        Katherine         Marie           Harlin                      States          Daniel                Edward         Harlin                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                United                                                             1:02-cv-01616,
1624                                                        Robert            W.              Harlin                      States          Daniel                Edward         Harlin                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3381    Sibling                     4023 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 3378,
                                                                                                                                                                                                                United                                                             8397-1, at 12,
1625 James        Michael          Harlin                   Wilbur            A.              Harlin                      Unknown         Daniel                Edward         Harlin                           States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 3387,
                                                                                                                          United                                                                                United                                                             8397-1, at 4,
1626 Maria        Ann              Galea                    Andrea                            Caldarella                  States          Frances                              Haros                            States         9/11/01     NY (WTC)     03-cv-9849                 8433               Child                       5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                United                                                             1:02-cv-01616,
1627                                                        Maria             Ann             Galea                       States          Frances                              Haros                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3385    Child                       4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                United                                                             1:02-cv-01616,
1628                                                        Nicholas                          Haros           Jr.         States          Frances                              Haros                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3386    Child                       4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   432, at P4861,
                                                                                                                          United                                                                                United                                                             8393-1, at 1,
1629                                                        Arvette           Denise          Harris                      States          Aisha                 Ann            Harris                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00

                                                                                                                          United                                                                                Unknow                                                             1:03-md-01570,
1630                                                        Lloyd                             Harris                      States          Stewart               D.             Harris                           n      9/11/01             NY (WTC)     03-cv-9849                 3477, at 1503      Sibling                     4880 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                                United                                                             1:02-cv-01616,
1631                                                        Marcus            J.              Harris                      States          Aisha                 Ann            Harris                           States 9/11/01             NY (WTC)     03-cv-9849                 432, at P4863      Sibling                     5087 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                          United                                                                                Unknow                                                             1, at 277, 8397-
1632 Lloyd                         Harris                   Mildred                           Harris                      States          Stewart               D.             Harris                           n      9/11/01             NY (WTC)     03-cv-9849                 1, at 12, 8433     Parent                      4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                          United                                                                                Unknow                                                             1, at 276, 8397-
1633 Lloyd                         Harris                   Rubin             Jay             Harris                      States          Stewart               D.             Harris                           n      9/11/01             NY (WTC)     03-cv-9849                 1, at 12, 8433     Parent                      5061 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P3714,
                                                                                                                          United                                                                                United                                                             8393-1, at 621,
1634                                                        Amy               Lynn            Gruver                      States          John                  P.             Hart                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       8233 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P3714,
                                                                                                                          United                                                                                United                                                             8393-1, at 622,
1635                                                        Emily             Christine       Hart                        States          John                  P.             Hart                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       8233 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   305, at P4312,
                                                                                                                          United                                                                                United                                                             8397-1, at 12,
1636 Joseph                        Hart                     James             Arthur          Hart            Jr.         States          John                  P.             Hart                             States         9/11/01     NY (WTC)     03-cv-9849                 8433               Sibling                     5061 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                                United                                                             8679-1, at 193,
1637                                                        Jeffrey           Scott           Hart                        States          John                  P.             Hart                             States         9/11/01     NY (WTC)     03-cv-9849                 8696               Child                       8233 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P3714,
                                                                                                                          United                                                                                United                                                             8393-1, at 39,
1638                                                        Laurie            Sue             Hart                        States          John                  P.             Hart                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      8233 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P3714,
                                                                                                                          United                                                                                United                                                             8393-1, at 623,
1639                                                        Westin            James           Hart                        States          John                  P.             Hart                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       8233 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   305, at P4311,
                                                                                                                          United                                                                                United                                                             8397-1, at 18,
1640 Christine    Louise           Reichert-Hart            Betty             Jane            Mathwig                     States          John                  P.             Hart                             States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
1641                                                        Mary              Elizabeth       Meixelsperger               Unknown         John                  P.             Hart                             States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4313      Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                                United                                                             1:02-cv-01616,
1642                                                        Christine         Louise          Reichert-Hart               States          John                  P.             Hart                             States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4314      Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                                United                                                             1:02-cv-01616,
1643                                                        Jeanine           Hart            Seaman                      States          John                  P.             Hart                             States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4316      Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                                United                                                             1:02-cv-01616,
1644                                                        Sandra            Ellen           Shelley                     States          John                  P.             Hart                             States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4315      Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00




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                                                                                                                                                                     EXHIBIT B-1
                                                                                                                                                  SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
               Personal Representative                                            Claimant                                                                                9/11 Decedent                                                                    Claim Information                                                  Solatium Damages




                                                                                                                  Nationality




                                                                                                                                                                                                       Nationality
                                                                                                                   on 9/11




                                                                                                                                                                                                        on 9/11
                                                                                                     Claimant                                                                                                          Date of                                            Amendments &                       Document
 #     First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First              Middle           Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                       Suffix                                                                                                          Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         155, at P2924,
                                                                                                                United                                                                                United                                                             8393-1, at 1060,
1645                                               Christopher       Paul            Hashem                     States          Peter                 Paul            Hashem                          States         9/11/01     NY (AA11)    03-cv-9849                 8487               Child                       5061 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                                United                                                             8679-1, at 194,
1646                                               Joseph            Paul            Hashem                     States          Peter                 Paul            Hashem                          States         9/11/01     NY (AA11)    03-cv-9849                 8696               Sibling                     5848 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         155, at P2924,
                                                                                                                United                                                                                United                                                             8393-1, at 1061,
1647                                               Patrick           James           Hashem                     States          Peter                 Paul            Hashem                          States         9/11/01     NY (AA11)    03-cv-9849                 8487               Child                       5061 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         155, at P2924,
                                                                                                                                                                                                      United                                                             8393-1, at 66,
1648                                               Rita              A.              Hashem                     Unknown         Peter                 Paul            Hashem                          States         9/11/01     NY (AA11)    03-cv-9849                 8487               Spouse                      5062 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                United                                                                                United                                                             1:02-cv-01616,
1649                                               Elizabeth         Petrone         Hatton                     States          Terence               Sean            Hatton                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3404    Spouse                      5848 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      United                                                             1:02-cv-01616,
1650                                               Grace             Susan           Hatton                     Unknown         Terence               Sean            Hatton                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3406    Parent                      3666 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                      United                                                             1:02-cv-01616,
1651                                               Grace             S.              Hatton                     Unknown         Terence               Sean            Hatton                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3407    Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                      United                                                             1:02-cv-01616,
1652                                               Kenneth           Roberts         Hatton                     Unknown         Terence               Sean            Hatton                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3405    Parent                      3666 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         26, 29, at 3404,
                                                                                                                United                                                                                United                                                             8393-1, at 1288,
1653                                               Terri             Elizabeth       Hatton                     States          Terence               Sean            Hatton                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:03-cv-9849,
                                                                                                                                                                                                                                                                         HAND FILED, at
                                                                                                                United                                                                                United                                                             P5084, 8393-1,
1654                                               Erika             Ann             Haub                       States          Michael               Helmut          Haub                            States         9/11/01     NY (Other)   03-cv-9849                 at 57, 8487        Spouse                      5087 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                      United                                                             8679-1, at 195,
1655                                               Helmut            W.              Haub                       Unknown         Michael               Helmut          Haub                            States         9/11/01     NY (Other)   03-cv-9849                 8696               Parent                      5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:03-cv-9849,
                                                                                                                                                                                                                                                                         HAND FILED, at
                                                                                                                United                                                                                United                                                             P5084, 8393-1,
1656                                               Kiersten          E.              Haub                       States          Michael               Helmut          Haub                            States         9/11/01     NY (Other)   03-cv-9849                 at 921, 8487       Child                       5087 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:03-cv-9849,
                                                                                                                                                                                                                                                                         HAND FILED, at
                                                                                                                United                                                                                United                                                             P5084, 8393-1,
1657                                               Michael           Andreas         Haub                       States          Michael               Helmut          Haub                            States         9/11/01     NY (Other)   03-cv-9849                 at 922, 8487       Child                       5087 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:03-cv-9849,
                                                                                                                                                                                                                                                                         HAND FILED, at
                                                                                                                United                                                                                United                     NY                                      P5085, 8393-1,
1658                                               Elizabeth         Gail            Hayden                     States          James                 Edward          Hayden                          States         9/11/01     (UA175)      03-cv-9849                 at 31, 8487        Spouse                      5061 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                         1:03-cv-9849,
                                                                                                                                                                                                                                                                         HAND FILED, at
                                                                                                                United                                                                                United                     NY                                      P5085, 8393-1,
1659                                               John              Alexander       Hayden                     States          James                 Edward          Hayden                          States         9/11/01     (UA175)      03-cv-9849                 at 489, 8487       Child                       5061 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                                United                     NY                                      8679-1, at 196,
1660                                               Elizabeth         Kaitlin         Klucznik                   States          James                 Edward          Hayden                          States         9/11/01     (UA175)      03-cv-9849                 8696               Child                       5061 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         305, at P4317,
                                                                                                                United                                                                                United                                                             8393-1, at 70,
1661                                               Debora            Lynn            Hayes                      States          Robert                Jay             Hayes                           States         9/11/01     NY (AA11)    03-cv-9849                 8487               Spouse                      5138 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         305, at P4317,
                                                                                                                United                                                                                United                                                             8393-1, at 1124,
1662                                               Robert            Joseph          Hayes                      States          Robert                Jay             Hayes                           States         9/11/01     NY (AA11)    03-cv-9849                 8487               Child                       5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         305, at P4317,
                                                                                                                United                                                                                United                                                             8393-1, at 1125,
1663                                               Ryan              Allan           Hayes                      States          Robert                Jay             Hayes                           States         9/11/01     NY (AA11)    03-cv-9849                 8487               Child                       5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         232, at P3715,
                                                                                                                United                                                                                United                                                             8393-1, at 74,
1664                                               Charles                           Hazelcorn                  States          Scott                                 Hazelcorn                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      5061 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                                United                                                             1:02-cv-01616,
1665                                               Eric              David           Hazelcorn                  States          Scott                                 Hazelcorn                       States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4318      Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                United                                                                                United                                                             1:02-cv-01616,
1666                                               Janice                            Hazelcorn                  States          Scott                                 Hazelcorn                       States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3716      Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                                United                                                             8679-1, at 197,
1667                                               Annemarie                         D'Emic                     States          Charles               F.X.            Heeran                          States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         432, at P4864,
                                                                                                                                                                                                      United                                                             8393-1, at 9,
1668                                               Bernard           James           Heeran                     Unknown         Charles               F.X.            Heeran                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                     Page 64 of 170
                                                                                                              Case 1:03-md-01570-GBD-SN                                        Document 9716-2                                   Filed 04/23/24             Page 66 of 171
                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                                 Claimant                                                                                9/11 Decedent                                                                    Claim Information                                                   Solatium Damages




                                                                                                                          Nationality




                                                                                                                                                                                                                Nationality
                                                                                                                           on 9/11




                                                                                                                                                                                                                 on 9/11
                                                                                                             Claimant                                                                                                           Date of                                            Amendments &                        Document
 #       First          Middle         Last      Suffix    Claimant First   Claimant Middle Claimant Last                                          First              Middle           Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                               Suffix                                                                                                           Death                                               Substitutions                        ation

                                                                                                                        United                                                                                 United                                                             8679-1, at 200,
1669                                                      Sean              Bernard          Heeran                     States          Charles                F.X.            Heeran                          States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             8679-1, at 199,
1670                                                      William           Daniel Kevin     Heeran                     States          Charles                F.X.            Heeran                          States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             8679-1, at 198,
1671                                                      Bernadette        Francine         McCann                     States          Charles                F.X.            Heeran                          States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
1672                                                      Thomas            P.               Heidenberger   Sr.         Germany         Michele                M.              Heidenberger                    States         9/11/01     VA (AA77)    03-cv-9849                 1, at 712           Spouse                      5087 at 10      $        12,500,000.00 $   37,500,000.00

                                                                                                                        United                                                                                 United                                                             1:03-md-01570,
1673                                                      David             C.               Hemschoot                  States          Mark                   Frederick       Hemschoot                       States         9/11/01     NY (WTC)     03-cv-9849                 602, at P5486       Child                       5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 3423,
                                                                                                                        United                                                                                 United                                                             8393-1, at 52,
1674                                                      Debora                             Hemschoot                  States          Mark                   Frederick       Hemschoot                       States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5848 at 6       $        12,500,000.00 $   37,500,000.00

                                                                                                                        United                                                                                 United                                                             1:03-md-01570,
1675                                                      Jeffrey           W.               Hemschoot                  States          Mark                   Frederick       Hemschoot                       States         9/11/01     NY (WTC)     03-cv-9849                 602, at P5487       Child                       5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                               United                                                             1, at 784, 5284-
1676                                                      Melanie           Wolcott          Salisbury                  Unknown         Edward                 R.              Hennessy            Jr.         States         9/11/01     NY (AA11)    03-cv-9849                 1, at 5, 5296       Spouse                      5087 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1677                                                      Christina         Suzanne          Henrique                   States          Michelle               Marie           Henrique                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1222          Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1678                                                      George            Anthony          Henrique                   States          Michelle               Marie           Henrique                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1218          Parent                      4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1679                                                      Michael           Leon             Henrique                   States          Michelle               Marie           Henrique                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1221          Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1680                                                      Patricia          Ann              Henrique                   States          Michelle               Marie           Henrique                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1219          Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1681                                                      Paul              Robert           Henrique                   States          Michelle               Marie           Henrique                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1220          Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1682                                                      Kathleen          Sarah            Amsterdam                  States          Joseph                 P.              Henry                           States         9/11/01     NY (Other)   03-cv-9849                 155, at P2930       Sibling                     4023 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  155, at P2926,
                                                                                                                        United                                                                                 United                                                             8393-1, at 42,
1683                                                      Alice             Anne             Henry                      States          Joseph                 P.              Henry                           States         9/11/01     NY (Other)   03-cv-9849                 8487                Parent                      4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1684                                                      Daniel            Joseph           Henry                      States          Joseph                 P.              Henry                           States         9/11/01     NY (Other)   03-cv-9849                 155, at P2927       Sibling                     4023 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  155, at P2928,
     Alice;                                                                                                                                                                                                                                                                       8397-1, at 13,
     Michael;                    Henry, Henry;                                                                          United                                                                                 United                                                             8433, 8393-1, at
1685 Edward      Anne            Henry, Jr.               Edward                             Henry                      States          Joseph                 P.              Henry                           States         9/11/01     NY (Other)   03-cv-9849                 42, 8487            Parent                      4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1686                                                      Edward                             Henry          Jr.         States          Joseph                 P.              Henry                           States         9/11/01     NY (Other)   03-cv-9849                 155, at P2929       Sibling                     4023 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 3431,
                                                                                                                        United                                                                                 United                                                             8393-1, at 88,
1687                                                      Ethel             M.               Henry                      States          William                Leon            Henry                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
1688                                                      Mary              Elizabeth        Henry                      Unknown         Joseph                 P.              Henry                           States         9/11/01     NY (Other)   03-cv-9849                 155, at P2931       Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1689                                                      Michael                            Henry                      States          Joseph                 P.              Henry                           States         9/11/01     NY (Other)   03-cv-9849                 155, at P2932       Sibling                     4023 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1690                                                      Joseph                             Herencia                   States          Mary                                   Herencia                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1226          Child                       5087 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1691                                                      Julio                              Herencia                   States          Mary                                   Herencia                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1227          Child                       5087 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             8679-1, at 203,
1692                                                      Mark                               Herencia                   States          Mary                                   Herencia                        States         9/11/01     NY (WTC)     03-cv-9849                 8696                Child                       5848 at 6       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                  1:03-cv-09849,
                                                                                                                        United                                                                                 United                                                             839, at 11; 8679-
1693                                                      Matthew                            Herencia                   States          Mary                                   Herencia                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 202, 8696     Child                       5062 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1694                                                      Margaret                           McGrane                    States          Mary                                   Herencia                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1225          Sibling                     5061 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1695                                                      Merquiades                         Diaz                       States          Norberto                               Hernandez                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3446     Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                        United                                                                                 United                                                             3, at 1232, 8393-
1696                                                      S.                M.               H.                         States          Claribel                               Hernandez                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 61, 8487      Child                       5087 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1697                                                      Alejandrina       Feliciano        Hernandez                  States          Norberto                               Hernandez                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3438     Parent                      3666 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1698                                                      Catherine                          Hernandez                  States          Norberto                               Hernandez                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1237          Child                       5061 at 7       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                              Page 65 of 170
                                                                                                              Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                     Filed 04/23/24             Page 67 of 171
                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                              Claimant                                                                                 9/11 Decedent                                                                     Claim Information                                                   Solatium Damages




                                                                                                                          Nationality




                                                                                                                                                                                                                Nationality
                                                                                                                           on 9/11




                                                                                                                                                                                                                 on 9/11
                                                                                                             Claimant                                                                                                           Date of                                            Amendments &                        Document
 #        First         Middle            Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle           Last             Suffix                              9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                               Suffix                                                                                                           Death                                               Substitutions                        ation

                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1699                                                      Eslyn                             Hernandez       Sr.         States          Norberto                             Hernandez                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3442     Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1700                                                      Eslyn                             Hernandez       Sr.         States          Claribel                             Hernandez                         States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1232          Spouse                      5061 at 7       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                        United                                                                                 United                                                             3, at 1232, 8393-
1701                                                      Eslyn             J.              Hernandez       Jr.         States          Claribel                             Hernandez                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 992, 8487     Child                       5087 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1702                                                      Eulogia                           Hernandez                   States          Norberto                             Hernandez                         States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1235          Spouse                      5061 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
1703                                                      Hector            Luis            Hernandez                   Unknown         Norberto                             Hernandez                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3441     Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1704                                                      Jacqueline        Patricia        Hernandez                   States          Norberto                             Hernandez                         States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1236          Child                       5061 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1705                                                      Marisol                           Hernandez                   States          Norberto                             Hernandez                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3447     Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
1706                                                      Pablo             Luis            Hernandez                   Unknown         Norberto                             Hernandez                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3439     Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                        United                                                                                 United                                                             3, at 1235, 8393-
1707                                                      Tatiana                           Hernandez                   States          Norberto                             Hernandez                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 994, 8487     Child                       5061 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1708                                                      Willy             Alberto         Hernandez                   States          Norberto                             Hernandez                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3440     Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                            Hernandez                   United                                                                                 United                                                             1:02-cv-01616,
1709                                                      Venancio                          Feliciano                   States          Norberto                             Hernandez                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3443     Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 3437,
                                  Hernandez                                                 Hernandez                   United                                                                                 United                                                             8397-1, at 13,
1710 Venancio                     Feliciano               Venancio                          Gonzalez                    States          Norberto                             Hernandez                         States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      3666 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1711                                                      Carmen            Eneida          Irizarry                    States          Claribel                             Hernandez                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3434     Parent                      3666 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1712                                                      Miriam            Luz             Khatri                      States          Norberto                             Hernandez                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3444     Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1713                                                      Luz               Milagros        Luna                        States          Norberto                             Hernandez                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3445     Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1714                                                      Maribel                           Topaltzas                   States          Claribel                             Hernandez                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3435     Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 3433,
                                                                                                                        United                                                                                 United                                                             8397-1, at 28,
1715 Maribel                      Topaltzas               Jaime                             Villalobos                  States          Claribel                             Hernandez                         States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1716                                                      Leslie            Sue             Hersch                      States          Jeffrey                A.            Hersch                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2036     Spouse                      5061 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                                 United                                                             8679-1, at 204,
1717                                                      Nathan            Jay             Hersch                      States          Jeffrey                A.            Hersch                            States         9/11/01     NY (WTC)     03-cv-9849                 8696                Child                       7188 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 2039,
                                                                                                                        United                                                                                 United                                                             8393-1, at 1310,
1718                                                      Amanda            Christina       Hetzel                      States          Thomas                 J.            Hetzel                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1719                                                      Barbara           Marille         Hetzel                      States          Thomas                 J.            Hetzel                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2041     Parent                      4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1720                                                      Daniel            Egon            Hetzel                      States          Thomas                 J.            Hetzel                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2042     Sibling                     4023 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1721                                                      Diana                             Hetzel                      States          Thomas                 J.            Hetzel                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2039     Spouse                      5087 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1722                                                      Egon              Hermann         Hetzel                      States          Thomas                 J.            Hetzel                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2040     Parent                      4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1723                                                      Dorine            Anita           Hetzel-Dand                 States          Thomas                 J.            Hetzel                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2043     Sibling                     4023 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1724                                                      John              Douglas         Higley                      States          Robert                 Dale Warren   Higley              II            States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1241          Parent                      3666 at 6       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                        United                                                                                 United                                                             3, at 1241, 8393-
1725                                                      Rachael           Celeste         Higley                      States          Robert                 Dale Warren   Higley              II            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1120, 8487    Sibling                     5976 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 2048,
                                                                                                                                                                                                               United                                                             8397-1, at 13,
1726 Virginia     Ann             Hindy                   George            V.              Hindy                       Unknown         Mark                   D.            Hindy                             States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      4023 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1727                                                      Gregory           J.              Hindy                       States          Mark                   D.            Hindy                             States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3718       Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
1728                                                      Virginia          Ann             Hindy                       States          Mark                   D.            Hindy                             States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3719       Parent                      4023 at 12      $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                            Page 66 of 170
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                                                                                                                                                                       EXHIBIT B-1
                                                                                                                                                    SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
               Personal Representative                                            Claimant                                                                                   9/11 Decedent                                                                   Claim Information                                                   Solatium Damages




                                                                                                                    Nationality




                                                                                                                                                                                                          Nationality
                                                                                                                     on 9/11




                                                                                                                                                                                                           on 9/11
                                                                                                       Claimant                                                                                                           Date of                                           Amendments &                       Document
 #     First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle           Last              Suffix                              9/11 Site       Case       Complaint                        Relationship                Prior Award             Amount            Treble          Notes
                                                                                                         Suffix                                                                                                           Death                                              Substitutions                       ation

                                                                                                                                                                                                                                                                           1:03-cv-9849,
                                                                                                                  United                                                                                 United                                                            HAND FILED, at
1729                                               Donna             Lee             Dietrich                     States          James                 J.            Hobin                              States         9/11/01     NY (WTC)    03-cv-9849                 P5088              Sibling                     4023 at 13       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                         United                                                            1:02-cv-01616,
1730                                               Derrick           J.              Hobin                        Unknown         James                 J.            Hobin                              States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4322      Child                       3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                                 United                                                            1:02-cv-01616,
1731                                               Sean              Michael         Hobin                        States          James                 J.            Hobin                              States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4323      Child                       5087 at 10       $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                                 United                                                            1:02-cv-01616,
1732                                               Laura             Jean            Decoster                     States          Robert                Wayne         Hobson              III            States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 3457    Sibling                     3666 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           232, at P3720,
                                                                                                                  United                                                                                 United                                                            8393-1, at 72,
1733                                               Cynthia           Palmieri        Hobson                       States          Robert                Wayne         Hobson              III            States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5848 at 6        $        12,500,000.00 $   37,500,000.00
                                                                                                                  United                                                                                 United                                                            1:02-cv-01616,
1734                                               Judith            Irene           Hobson                       States          Robert                Wayne         Hobson              III            States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 3455    Parent                      4023 at 13       $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                                 United                                                            1:02-cv-01616,
1735                                               Matthew           Caleb           Hobson                       States          Robert                Wayne         Hobson              III            States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 3456    Sibling                     4023 at 13       $         4,250,000.00 $   12,750,000.00
                                                                                                                  United                                                                                 United                                                            1:02-cv-01616,
1736                                               Lisa              Ann             Hopkins                      States          Robert                Wayne         Hobson              III            States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1243         Sibling                     4023 at 13       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           155, at P2933,
                                                                                                                  United                                                                                 United                                                            8393-1, at 72,
1737                                               Barbara           Ann             Hoerner                      States          Ronald                George        Hoerner                            States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5087 at 10       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                  United                                                                                 United                                                            3, at 712, 5284-
1738                                               Eileen            Mary            Byrne                        States          Patrick               Aloysius      Hoey                               States         9/11/01     NY (WTC)    03-cv-9849                 1, at 6, 5296      Sibling                     3666 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                  United                                                                                 United                                                            3, at 713, 5284-
1739                                               Kathleen                          Higgins                      States          Patrick               Aloysius      Hoey                               States         9/11/01     NY (WTC)    03-cv-9849                 1, at 5, 5296      Sibling                     3666 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                  United                                                                                 United                                                            3, at 706, 5284-
1740                                               Brian             Patrick         Hoey                         States          Patrick               Aloysius      Hoey                               States         9/11/01     NY (WTC)    03-cv-9849                 1, at 6, 5296      Child                       4023 at 13       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                         United                                                            1, at 756, 5284-
1741                                               Eileen            T.              Hoey                         Unknown         Patrick               Aloysius      Hoey                               States         9/11/01     NY (WTC)    03-cv-9849                 1, at 6, 5296      Spouse                      5087 at 10       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                  United                                                                                 United                                                            3, at 710, 5284-
1742                                               John              Vincent         Hoey            III          States          Patrick               Aloysius      Hoey                               States         9/11/01     NY (WTC)    03-cv-9849                 1, at 6, 5296      Sibling                     5062 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                  United                                                                                 United                                                            3, at 709, 5284-
1743                                               Lucille           Agnes           Hoey                         States          Patrick               Aloysius      Hoey                               States         9/11/01     NY (WTC)    03-cv-9849                 1, at 5, 5296      Parent                      3666 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                                 United                                                            1:02-cv-01616,
1744                                               Michael           T.              Hoey                         States          Patrick               Aloysius      Hoey                               States         9/11/01     NY (WTC)    03-cv-9849                 1, at 757          Child                       4023 at 13       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                  United                                                                                 United                                                            3, at 707, 5284-
1745                                               Robert            Timothy         Hoey                         States          Patrick               Aloysius      Hoey                               States         9/11/01     NY (WTC)    03-cv-9849                 1, at 6, 5296      Child                       5087 at 10       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                         United                                                            3, at 711, 5284-
1746                                               Timothy           Joseph          Hoey                         Unknown         Patrick               Aloysius      Hoey                               States         9/11/01     NY (WTC)    03-cv-9849                 1, at 6, 5296      Sibling                     3666 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                         United                                                            3, at 714, 5284-
1747                                               Theresa           Ann             Komlo                        Unknown         Patrick               Aloysius      Hoey                               States         9/11/01     NY (WTC)    03-cv-9849                 1, at 5, 5296      Sibling                     3666 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                  United                                                                                 United                                                            3, at 708, 5284-
1748                                               Sharon            M.              Reagan                       States          Patrick               Aloysius      Hoey                               States         9/11/01     NY (WTC)    03-cv-9849                 1, at 5, 5296      Child                       5061 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                                 United                                                            1:02-cv-01616,
1749                                               Susan             Rochelle        Caneso                       States          John                  Aaron         Hofer                              States         9/11/01     NY (AA11)   03-cv-9849                 305, at P4329      Sibling                     4023 at 13       $         4,250,000.00 $   12,750,000.00
                                                                                                                  United                                                                                 United                                                            1:02-cv-01616,
1750                                               Alicia            Marie           Hofer                        States          John                  Aaron         Hofer                              States         9/11/01     NY (AA11)   03-cv-9849                 305, at P4326      Child                       5087 at 11       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                         United                                                            1:02-cv-01616,
1751                                               Billie            Ann             Hofer                        Unknown         John                  Aaron         Hofer                              States         9/11/01     NY (AA11)   03-cv-9849                 305, at P4327      Parent                      3666 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           305, at P4325,
                                                                                                                  United                                                                                 United                                                            8393-1, at 36,
1752                                               Rebecca           Jean            Hofer                        States          John                  Aaron         Hofer                              States         9/11/01     NY (AA11)   03-cv-9849                 8487               Spouse                      5061 at 7        $        12,500,000.00 $   37,500,000.00
                                                                                                                  United                                                                                 United                                                            1:02-cv-01616,
1753                                               Richard           Robert          Hofer                        States          John                  Aaron         Hofer                              States         9/11/01     NY (AA11)   03-cv-9849                 305, at P4328      Sibling                     5061 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 2507,
                                                                                                                  United                                                                                 United                                                            5284-1, at 6,
1754                                               Kathryne          Lois            Hayde                        States          Stephen               G.            Hoffman                            States         9/11/01     NY (WTC)    03-cv-9849                 5296               Sibling                     3666 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 2504,
                                                                                                                  United                                                                                 United                                                            5284-1, at 6,
1755                                               Louise            Nancy           Heerey                       States          Stephen               G.            Hoffman                            States         9/11/01     NY (WTC)    03-cv-9849                 5296               Sibling                     4023 at 13       $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                     Page 67 of 170
                                                                                                             Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                Filed 04/23/24            Page 69 of 171
                                                                                                                                                                            EXHIBIT B-1
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                             Claimant                                                                              9/11 Decedent                                                                Claim Information                                                  Solatium Damages




                                                                                                                          Nationality




                                                                                                                                                                                                          Nationality
                                                                                                                           on 9/11




                                                                                                                                                                                                           on 9/11
                                                                                                             Claimant                                                                                                     Date of                                           Amendments &                       Document
 #        First        Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First             Middle        Last          Suffix                               9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                               Suffix                                                                                                     Death                                              Substitutions                       ation

                                                                                                                        United                                                                           United                                                            1:02-cv-01616,
1756                                                      Dorothy           Marie           Hoffman                     States          Stephen              G.             Hoffman                      States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2505    Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 2502,
                                                                                                                        United                                                                           United                                                            5284-1, at 6,
1757                                                      Francis           Matthew         Hoffman                     States          Stephen              G.             Hoffman                      States         9/11/01     NY (WTC)    03-cv-9849                 5296               Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 2495,
                                                                                                                        United                                                                           United                                                            5284-1, at 6,
1758                                                      Gabrielle                         Hoffman                     States          Stephen              G.             Hoffman                      States         9/11/01     NY (WTC)    03-cv-9849                 5296               Spouse                      5061 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 2496,
                                                                                                                        United                                                                           United                                                            5284-1, at 6,
1759                                                      Gregory           Andrew          Hoffman                     States          Stephen              G.             Hoffman                      States         9/11/01     NY (WTC)    03-cv-9849                 5296               Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 2506,
                                                                                                                        United                                                                           United                                                            5284-1, at 6,
1760                                                      Helen             Suzanne         Hoffman                     States          Stephen              G.             Hoffman                      States         9/11/01     NY (WTC)    03-cv-9849                 5296               Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 2503,
                                                                                                                                                                                                         United                                                            5284-1, at 6,
1761                                                      James             Aloysius        Hoffman                     Unknown         Stephen              G.             Hoffman                      States         9/11/01     NY (WTC)    03-cv-9849                 5296               Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 2498,
                                                                                                                                                                                                                                                                           5284-1, at 6,
                                    Hoffman;                                                                            United                                                                           United                                                            5296, 8397-1, at
1762 Helen; John   Suzanne; William Hoffman               Jean              L.              Hoffman                     States          Stephen              G.             Hoffman                      States         9/11/01     NY (WTC)    03-cv-9849                 13, 8433           Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 2499,
                                                                                                                        United                                                                           United                                                            5284-1, at 6,
1763                                                      Joe               A.              Hoffman                     States          Stephen              G.             Hoffman                      States         9/11/01     NY (WTC)    03-cv-9849                 5296               Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                           United                                                            1:02-cv-01616,
1764                                                      John              William         Hoffman                     States          Stephen              G.             Hoffman                      States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2500    Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 2495,
                                                                                                                        United                                                                           United                                                            8393-1, at 1230,
1765                                                      Madeline          Claire          Hoffman                     States          Stephen              G.             Hoffman                      States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5061 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 2508,
                                                                                                                        United                                                                           United                                                            5284-1, at 6,
1766                                                      Mary              Louise          Hoffman                     States          Stephen              G.             Hoffman                      States         9/11/01     NY (WTC)    03-cv-9849                 5296               Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                           United                                                            1:02-cv-01616,
1767                                                      Paul              Michael         Hoffman                     States          Stephen              G.             Hoffman                      States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2501    Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 2497,
                   Matthew;         Hoffman;                                                                            United                                                                           United                                                            8397-1, at 13,
1768 Francis; John William          Hoffman               Thomas            J.              Hoffman                     States          Stephen              G.             Hoffman                      States 9/11/01             NY (WTC)    03-cv-9849                 8433               Parent                      5061 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                           Unknow                                                            1:02-cv-01616,
1769                                                      Randolph          Thomas          Hohlweck                    States          Thomas               Warren         Hohlweck         Jr.         n      9/11/01             NY (WTC)    03-cv-9849                 1, at 289          Child                       5062 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                           Unknow                                                            1:02-cv-01616,
1770                                                      Robin             Anne            Hohlweck                    States          Thomas               Warren         Hohlweck         Jr.         n      9/11/01             NY (WTC)    03-cv-9849                 1, at 287          Child                       5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                           Unknow                                                            1:02-cv-01616,
1771                                                      Todd              Warren          Hohlweck                    States          Thomas               Warren         Hohlweck         Jr.         n      9/11/01             NY (WTC)    03-cv-9849                 1, at 288          Child                       5062 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                           United                                                            1:02-cv-01616,
1772                                                      Ernie (Ernesto)                   Hidalgo                     States          Cora                 Hidalgo        Holland                      States 9/11/01             NY (AA11)   03-cv-9849                 155, at P2935      Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                           United                                                            1:02-cv-01616,
1773                                                      Jessica           Lin Hidalgo     Holland                     States          Cora                 Hidalgo        Holland                      States 9/11/01             NY (AA11)   03-cv-9849                 155, at P2937      Child                       5062 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                         United                                                            1:02-cv-01616,
1774                                                      Joseph            Francis         Holland                     Unknown         Joseph                              Holland          Jr.         States 9/11/01             NY (WTC)    03-cv-9849                 26, 29, at 3463    Parent                      3666 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                           United                                                            1:02-cv-01616,
1775                                                      Nathaniel         Kenyon          Holland                     States          Cora                 Hidalgo        Holland                      States 9/11/01             NY (AA11)   03-cv-9849                 155, at P2938      Child                       5062 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                           United                                                            1:02-cv-01616,
1776                                                      Stephanie                         Holland                     States          Cora                 Hidalgo        Holland                      States 9/11/01             NY (AA11)   03-cv-9849                 155, at P2940      Child                       5061 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           155, at P2939,
                                                                                                                        United                                                                           United                                                            8393-1, at 13,
1777                                                      Stephen           Kenyon          Holland                     States          Cora                 Hidalgo        Holland                      States         9/11/01     NY (AA11)   03-cv-9849                 8487               Spouse                      5062 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                           United                                                            1:02-cv-01616,
1778                                                      Tara                              Holland-Hickey              States          Joseph                              Holland          Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 155, at P2941      Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                           United                                                            1:02-cv-01616,
1779                                                      Carol             Ann             O'Toole                     States          Joseph                              Holland          Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 155, at P2942      Parent                      3666 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                    VA                                     232, at P3722,
                                                                                                                        United                                                                           United                     (Pentagon                              8393-1, at 35,
1780                                                      Martha            Rebecca         Jackson-Holley              States          Jimmie               Ira            Holley                       States         9/11/01     )           03-cv-9849                 8487               Spouse                      7188 at 9       $        12,500,000.00 $   37,500,000.00




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                                                                                                               Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                  Filed 04/23/24            Page 70 of 171
                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                             Claimant                                                                                  9/11 Decedent                                                               Claim Information                                                  Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                             Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                              on 9/11
                                                                                                              Claimant                                                                                                       Date of                                           Amendments &                       Document
 #       First         Middle              Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle          Last          Suffix                               9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                Suffix                                                                                                       Death                                              Substitutions                       ation

                                                                                                                         United                                                                             United                                                            1:02-cv-01616,
1781                                                       Miles             Travis          Boyd                        States          Elizabeth                           Holmes                         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 1228    Child                       7188 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                             United                                                            1:02-cv-01616,
1782                                                       Vivian                            Byas                        States          Elizabeth                           Holmes                         States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1246         Sibling                     5087 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 2054,
                                                                                                                                                                                                            United                                                            8397-1, at 4,
1783 Paulette                       Byas                   Walter                            Byas                        Unknown         Elizabeth                           Holmes                         States         9/11/01     NY (WTC)    03-cv-9849                 8433               Sibling                     7188 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                             United                                                            1:02-cv-01616,
1784                                                       Louise            Ethel           Ellerbe                     States          Elizabeth                           Holmes                         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2056    Sibling                     5087 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                             United                                                            1:02-cv-01616,
1785                                                       Christopher                       Holmes          Jr.         States          Elizabeth                           Holmes                         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2055    Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                             United                                                            1:02-cv-01616,
1786                                                       Doris                             Holmes                      States          Elizabeth                           Holmes                         States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1247         Sibling                     5087 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                             United                                                            1:02-cv-01616,
1787                                                       Thomas                            Holmes, II                  States          Elizabeth                           Holmes                         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2053    Sibling                     5061 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3726,
                                                                                                                         United                                                                             United                                                            8393-1, at 503,
1788                                                       Lauren            M.              Cuttone                     States          James                 P.            Hopper                         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3726,
                                                                                                                         United                                                                             United                                                            8393-1, at 31,
1789                                                       Rita                              Hopper                      States          James                 P.            Hopper                         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5087 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 2059,
                                                                                                                         United                                                                             United                                                            8393-1, at 973,
1790                                                       Jackson           Sharp           Hord                        States          Montgomery            McCullough    Hord                           States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                             United                                                            1:02-cv-01616,
1791                                                       Lisa              Sharp           Hord                        States          Montgomery            McCullough    Hord                           States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2059    Spouse                      5848 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 2059,
                                                                                                                                                                                                            United                                                            8393-1, at 971,
1792                                                       Molly             Williams        Hord                        Unknown         Montgomery            McCullough    Hord                           States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 2059,
                                                                                                                         United                                                                             United                                                            8393-1, at 972,
1793                                                       Sophie            McCullough      Hord                        States          Montgomery            McCullough    Hord                           States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                             United                                                            1:02-cv-01616,
1794                                                       Christine         M.              Grauer                      States          Michael               Joseph        Horn                           States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3727      Sibling                     7188 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3728,
                                                                                                                         United                                                                             United                                                            8393-1, at 58,
1795                                                       Charles           H.              Horn                        States          Michael               Joseph        Horn                           States         9/11/01     NY (WTC)    03-cv-9849                 8487               Parent                      5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                             United                                                            8679-1, at 205,
1796                                                       Charles           Howard          Horn            Jr.         States          Michael               Joseph        Horn                           States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     7188 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                             United                                                            1:02-cv-01616,
1797                                                       Mary              A.              Horn                        States          Michael               Joseph        Horn                           States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3729      Parent                      5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                             United                                                            1:02-cv-01616,
1798                                                       Maureen           Ann             Horn                        States          Michael               Joseph        Horn                           States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3730      Sibling                     7188 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                             United                                                            1:02-cv-01616,
1799                                                       Dana              Horning         Crepeau                     States          Matthew               D.            Horning                        States         9/11/01     NY (WTC)    03-cv-9849                 232, at AP227      Sibling                     5087 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at AP226,
                                                                                                                                                                                                            United                                                            5284-1, at 6,
1800                                                       Diane             J.              Horning                     Chile           Matthew               D.            Horning                        States         9/11/01     NY (WTC)    03-cv-9849                 5296               Parent                      4023 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at AP225,
                                                                                                                                                                                                                                                                              5284-1, at 6,
                                                                                                                         United                                                                             United                                                            5296, 8393-1, at
1801                                                       Kurt              Douglas         Horning                     States          Matthew               D.            Horning                        States         9/11/01     NY (WTC)    03-cv-9849                 54, 8487           Parent                      4023 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                             United                                                            1:02-cv-01616,
1802                                                       Donna             Marie           Erskine                     States          Robert                L.            Horohoe            Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2065    Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                             United                                                            1:02-cv-01616,
1803                                                       Michael           E.              Horohoe                     States          Robert                L.            Horohoe            Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2063    Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                             United                                                            1:02-cv-01616,
1804                                                       Patricia          M.              Horohoe                     States          Robert                L.            Horohoe            Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2062    Parent                      4023 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4332,
                                                                                                                                                                                                                                                                              8397-1, at 13,
                                                                                                                         United                                                                             United                                                            8433, 8393-1, at
1805 Claudia     A.                 Horohoe                Robert            L.              Horohoe         Sr.         States          Robert                L.            Horohoe            Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 70, 8487           Parent                      4023 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                             United                                                            1:02-cv-01616,
1806                                                       Patricia          Margaret        Witschel                    States          Robert                L.            Horohoe            Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2064    Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                             United                     NY                                     8679-1, at 206,
1807                                                       Debra             Lynn            Brown                       States          Michael               Robert        Horrocks                       States         9/11/01     (UA175)     03-cv-9849                 8696               Sibling                     7188 at 9       $         4,250,000.00 $   12,750,000.00




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                                                                                                                    Case 1:03-md-01570-GBD-SN                                   Document 9716-2                                   Filed 04/23/24             Page 71 of 171
                                                                                                                                                                                   EXHIBIT B-1
                                                                                                                                                                SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                         Personal Representative                                               Claimant                                                                             9/11 Decedent                                                                    Claim Information                                                   Solatium Damages




                                                                                                                                Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                                 on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                                   Claimant                                                                                                      Date of                                            Amendments &                        Document
 #          First         Middle                Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First          Middle           Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                     Suffix                                                                                                      Death                                               Substitutions                        ation

                                                                                                                              United                                                                            United                     NY                                      8679-1, at 208,
1808                                                            Christian         John            Horrocks                    States          Michael               Robert      Horrocks                        States         9/11/01     (UA175)      03-cv-9849                 8696                Sibling                     7188 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                            United                     NY                                      8679-1, at 207,
1809                                                            Linda             Jane            Horrocks                    States          Michael               Robert      Horrocks                        States         9/11/01     (UA175)      03-cv-9849                 8696                Parent                      7188 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   313, at P4659,
                                                                                                                              United                                                                            United                     NY                                      8393-1, at 953,
1810                                                            Michael           Alan            Horrocks                    States          Michael               Robert      Horrocks                        States         9/11/01     (UA175)      03-cv-9849                 8487                Child                       6035 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   313, at P4659,
                                                                                                                              United                                                                            United                     NY                                      8393-1, at 59,
1811                                                            Miriam                            Horrocks                    States          Michael               Robert      Horrocks                        States         9/11/01     (UA175)      03-cv-9849                 8487                Spouse                      5356 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                              United                                                                            United                     NY                                      8679-1, at 210,
1812                                                            William           Lawrence        Horrocks        Sr.         States          Michael               Robert      Horrocks                        States         9/11/01     (UA175)      03-cv-9849                 8696                Parent                      7188 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                            United                     NY                                      8679-1, at 209,
1813                                                            William           Lawrence        Horrocks        Jr.         States          Michael               Robert      Horrocks                        States         9/11/01     (UA175)      03-cv-9849                 8696                Sibling                     7188 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   313, at P4659,
                                                                                                                              United                                                                            United                     NY                                      8393-1, at 954,
1814                                                            Christa           Leigh           Smith                       States          Michael               Robert      Horrocks                        States         9/11/01     (UA175)      03-cv-9849                 8487                Child                       6035 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P943,
                                                                                                                              United                                                                            United                                                             8393-1, at 1,
1815                                                            Allan                             Horwitz                     States          Aaron                             Horwitz                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                            United                                                             1:02-cv-01616,
1816                                                            Blake             Jeffrey         Horwitz                     States          Aaron                             Horwitz                         States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2944       Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P2945,
                                                                                                                              United                                                                            United                                                             8393-1, at 1,
1817                                                            Elizabeth         Ruth            Horwitz                     States          Aaron                             Horwitz                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                            United                                                             1:02-cv-01616,
1818                                                            Robert            Scott           Horwitz                     States          Aaron                             Horwitz                         States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2946       Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                  Horwitz-                    United                                                                            United                                                             1:02-cv-01616,
1819                                                            Tara              Zoe             Rodriguez                   States          Aaron                             Horwitz                         States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2947       Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P2948,
                                                                                                                              United                                                                            United                                                             8393-1, at 1351,
1820                                                            Hannah                            Houston                     States          Uhuru                 Gonja       Houston                         States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P2948,
                                                                                                                              United                                                                            United                                                             8393-1, at 1352,
1821                                                            Hasani                            Houston                     States          Uhuru                 Gonja       Houston                         States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P2948,
                                                                                                                              United                                                                            United                                                             8393-1, at 83,
1822                                                            Sonya             M.              Houston                     States          Uhuru                 Gonja       Houston                         States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5087 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                           VA
                                                                                                                              United                                                                            United                     (Pentagon                               8679-1, at 211,
1823                                                            Jamie             Elizabeth       Jackson                     States          Angela                Marie       Houtz                           States         9/11/01     )            03-cv-9849                 8696                Sibling                     515 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                              United          Angela                Marie       Houtz                                                      VA
                                                                                                                              States
                                                                                                                                                                                                                United                     (Pentagon
                                                                                                                                                                                                                                                                                   8679-1, at 213,
1824                                                            Joseph            Noel            Shontere                                                                                                      States         9/11/01     )            03-cv-9849                 8696                Step-Parent                 8293 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                           VA                                      232, at P3731,
                                                                                                                                                                                                                United                     (Pentagon                               8393-1, at 3,
1825                                                            Julia             P.              Shontere                    Unknown         Angela                Marie       Houtz                           States         9/11/01     )            03-cv-9849                 8487                Parent                      4126 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United          Angela                Marie       Houtz                                                      VA
                                                                                                                              States
                                                                                                                                                                                                                United                     (Pentagon
                                                                                                                                                                                                                                                                                   8679-1, at 212,
1826                                                            Tina              Marie           Wasielewski                                                                                                   States         9/11/01     )            03-cv-9849                 8696                Step-Sibling                8293 at 6       $         2,125,000.00 $    6,375,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 3472,
                                                                                                                              United                                                                            United                                                             8397-1, at 5,
1827 John                              Shanley                  Fay                               Caputo                      States          Steven                Leon        Howell                          States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      4023 at 13      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                              United                                                                            United                                                             3, at 1249, 8397-
1828 Arlene         T.                 Howell                   Ralph             Lawson          Howell                      States          Steven                Leon        Howell                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 13, 8433      Parent                      4023 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P3733,
                                                                                                                              United                                                                            United                                                             8393-1, at 1236,
1829                                                            Aidan             Patrick         Huczko                      States          Stephen                           Huczko              Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P3733,
                                                                                                                              United                                                                            United                                                             8393-1, at 1237,
1830                                                            Cullen                            Huczko                      States          Stephen                           Huczko              Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                            United                                                             1:02-cv-01616,
1831                                                            Katelyn           Ann             Huczko                      States          Stephen                           Huczko              Jr.         States         9/11/01     NY (Other)   03-cv-9849                 232, at P3732       Child                       5087 at 11      $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                               Page 70 of 170
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                                                                                                                                                                     EXHIBIT B-1
                                                                                                                                                  SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
               Personal Representative                                            Claimant                                                                                 9/11 Decedent                                                                Claim Information                                                   Solatium Damages




                                                                                                                  Nationality




                                                                                                                                                                                                    Nationality
                                                                                                                   on 9/11




                                                                                                                                                                                                     on 9/11
                                                                                                     Claimant                                                                                                       Date of                                            Amendments &                        Document
 #     First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle          Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                       Suffix                                                                                                       Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      232, at P3733,
                                                                                                                United                                                                             United                                                             8393-1, at 1238,
1832                                               Liam              James           Huczko                     States          Stephen                             Huczko             Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      232, at P3733,
                                                                                                                                                                                                   United                                                             8393-1, at 76,
1833                                               Kathleen          Clare           McGuire                    Unknown         Stephen                             Huczko             Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5087 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                United                                                                             United                                                             1:02-cv-01616,
1834                                               Kimberly                          Franco                     States          Kris                  Robert        Hughes                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2073     Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                      1:03-cv-09849,
                                                                                                                United                                                                             United                                                             843, at 5; 8679-
1835                                               Lynn              Marie           Hill                       States          Paul                  Rexford       Hughes                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 214, 8696     Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      305, at P4333,
                                                                                                                United                                                                             United                                                             8393-1, at 1028,
1836                                               Amanda            Lucia           Hughes                     States          Paul                  Rexford       Hughes                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:03-cv-09849,
                                                                                                                United                                                                             United                                                             842, at 5; 8679-
1837                                               Donald            William         Hughes                     States          Paul                  Rexford       Hughes                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 215, 8696     Sibling                     5062 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      305, at P4333,
                                                                                                                                                                                                   United                                                             8393-1, at 64,
1838                                               Donna             Sara            Hughes                     Unknown         Paul                  Rexford       Hughes                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5062 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                United                                                                             United                                                             1:02-cv-01616,
1839                                               Elaine            Loretta         Hughes                     States          Kris                  Robert        Hughes                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2071     Parent                      4023 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                             United                                                             1:02-cv-01616,
1840                                               Henry             Robert          Hughes                     States          Kris                  Robert        Hughes                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2070     Parent                      4023 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                             United                                                             1:02-cv-01616,
1841                                               Keith             Henry           Hughes                     States          Kris                  Robert        Hughes                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2072     Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                United                                                                             United                                                             1:02-cv-01616,
1842                                               Leigha                            Hughes                     States          Robert                T.            Hughes             Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4869       Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      432, at P4868,
                                                                                                                United                                                                             United                                                             8393-1, at 71,
1843                                               Louise                            Hughes                     States          Robert                T.            Hughes             Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      432, at P4867,
                                                                                                                United                                                                             United                                                             8393-1, at 1146,
1844                                               Lyndsey                           Hughes                     States          Robert                T.            Hughes             Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      26, 29, at 2076,
                                                                                                                United                                                                             United                                                             8393-1, at 1308,
1845                                               Patrick           Thomas          Hughes                     States          Thomas                F.            Hughes             Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      432, at P4867,
                                                                                                                United                                                                             United                                                             8393-1, at 71,
1846                                               Robert            T.              Hughes                     States          Robert                T.            Hughes             Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                             United                                                             1:02-cv-01616,
1847                                               Rosanne                           Hughes                     States          Thomas                F.            Hughes             Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2076     Spouse                      5087 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      26, 29, at 2076,
                                                                                                                United                                                                             United                                                             8393-1, at 1309,
1848                                               Ashley            Rose            Reid                       States          Thomas                F.            Hughes             Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                             United                                                             1:02-cv-01616,
1849                                               Shanin                            Roque                      States          Robert                T.            Hughes             Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4870       Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                United                                                                             United                                                             1:02-cv-01616,
1850                                               Gordon                            Huie                       States          Susan                               Huie                           States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4661       Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      313, at P4660,
                                                                                                                                                                                                   United                                                             8393-1, at 79,
1851                                               Tennyson                          Huie                       China           Susan                               Huie                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                             United                                                             1:02-cv-01616,
1852                                               Jennifer          Woodward        Hunt                       States          William               Christopher   Hunt                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1252          Spouse                      5087 at 11      $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                United                                                                             United                                                             3, at 1252, 8393-
1853                                               Emma              Kathryn         Hunt-Bauman                States          William               Christopher   Hunt                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1402, 8487    Child                       5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                              VA
                                                                                                                United                                                                             United                     (Pentagon                               1:02-cv-01616,
1854                                               Natalie           Christina       Conners                    States          Robert                Joseph        Hymel                          States         9/11/01     )            03-cv-9849                 26, 29, at 3481     Child                       4126 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                              VA
                                                                                                                United                                                                             United                     (Pentagon                               1:02-cv-01616,
1855                                               Beatriz           Hymel           Lipinski                   States          Robert                Joseph        Hymel                          States         9/11/01     )            03-cv-9849                 1, at 299           Spouse                      5062 at 4       $        12,500,000.00 $   37,500,000.00




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                                                                                                                                                                                    EXHIBIT B-1
                                                                                                                                                                 SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                         Personal Representative                                               Claimant                                                                                   9/11 Decedent                                                                   Claim Information                                                   Solatium Damages




                                                                                                                                Nationality




                                                                                                                                                                                                                      Nationality
                                                                                                                                 on 9/11




                                                                                                                                                                                                                       on 9/11
                                                                                                                   Claimant                                                                                                           Date of                                            Amendments &                        Document
 #          First         Middle                Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle             Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                     Suffix                                                                                                           Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 3485,
                                                                                                                              United                                                                                 United                                                             8393-1, at 80,
1856                                                            Carolyne          Yacoub          Hynes                       States          Thomas                 Edward        Hynes                             States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5848 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 3485,
                                                                                                                              United                                                                                 United                                                             8393-1, at 1302,
1857                                                            Olivia            Tommi           Hynes                       States          Thomas                 Edward        Hynes                             States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5356 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                                 United                                                             1:02-cv-01616,
1858                                                            Barbara           Ellen           Ianelli                     States          Joseph                 A.            Ianelli                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1256          Parent                      4023 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                                 United                                                             1:02-cv-01616,
1859                                                            Joseph                            Ianelli                     States          Joseph                 A.            Ianelli                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1255          Parent                      4023 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                     United                                                             1:02-cv-01616,
1860                                                            Monica                            Ianelli                     Unknown         Joseph                 A.            Ianelli                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2081     Spouse                      5951 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                              United                                                                                 United                                                             1:02-cv-01616,
1861                                                            Jennifer                          Thompson                    States          Joseph                 A.            Ianelli                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2080     Sibling                     5087 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                                 United                                                             1:02-cv-01616,
1862                                                            Ali                               Ibis                        States          Zuhtu                                Ibis                              States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2949       Parent                      5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                     United                                                             1:02-cv-01616,
1863                                                            Ayse                              Ibis                        Unknown         Zuhtu                                Ibis                              States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2950       Parent                      5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                     United                                                             1:02-cv-01616,
1864                                                            Hacer                             Ibis                        Turkey          Zuhtu                                Ibis                              States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2951       Sibling                     5848 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                     United                                                             1:02-cv-01616,
1865                                                            Mehmet                            Ibis                        Turkey          Zuhtu                                Ibis                              States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2952       Sibling                     5848 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        155, at P2953,
                                                                                                                              United                                                                                 United                                                             8393-1, at 1431,
1866                                                            Mert                              Ibis                        States          Zuhtu                                Ibis                              States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        155, at P2953,
                                                                                                                                                                                                                     United                                                             8393-1, at 88,
1867                                                            Leyla                             Uyar                        Turkey          Zuhtu                                Ibis                              States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5061 at 8       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                              United                                                                                 United                                                             3, at 1261, 8397-
1868 CarolAnn                          Habeeb-Kiel              Anne              Margaret        Habeeb                      States          Michael                Patrick       Iken                              States         9/11/01     NY (WTC)     03-cv-9849                 1, at 12, 8433      Sibling                     5979 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                     United                                                             1:02-cv-01616,
1869                                                            Gerard            Helmut          Iken                        Unknown         Michael                Patrick       Iken                              States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1260          Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                                 United                                                             1:02-cv-01616,
1870                                                            Monica                            Iken                        States          Michael                Patrick       Iken                              States         9/11/01     NY (WTC)     03-cv-9849                 1, at 302           Spouse                      5087 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 3489,
                                                                                                                              United                                                                                 United                                                             8397-1, at 13,
1871 Jane           Catherine          Ill                      Frederick         J.              Ill             Sr.         States          Frederick              J.            Ill                   Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8433                Parent                      5061 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                                 United                                                             1:02-cv-01616,
1872                                                            Jane              Catherine       Ill                         States          Frederick              J.            Ill                   Jr.         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3491     Sibling                     4023 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                                 United                                                             1:02-cv-01616,
1873                                                            Anthony           Arcangelo       Ingrassia                   States          Christopher            Noble         Ingrassia                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 306           Parent                      4023 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                                 United                                                             1:02-cv-01616,
1874                                                            Anthony           Wayne           Ingrassia                   States          Christopher            Noble         Ingrassia                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 307           Sibling                     4023 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                                 United                                                             1:02-cv-01616,
1875                                                            Elisa             Marie           Ingrassia                   States          Christopher            Noble         Ingrassia                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 309           Sibling                     4023 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                                 United                                                             1:02-cv-01616,
1876                                                            Gloria            Jean            Ingrassia                   States          Christopher            Noble         Ingrassia                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 305           Parent                      4023 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                                 United                                                             1:02-cv-01616,
1877                                                            Paul              B.              Ingrassia                   States          Christopher            Noble         Ingrassia                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 308           Sibling                     4023 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 2085,
                                                                                                                              United                                                                                 United                                                             8397-1, at 13,
1878 Steven         D.                 Irgang                   Joanne                            Irgang                      States          Douglas                Jason         Irgang                            States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      4023 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                                 United                                                             1:02-cv-01616,
1879                                                            Steven            D.              Irgang                      States          Douglas                Jason         Irgang                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2084     Sibling                     4023 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                                 United                                                             1:02-cv-01616,
1880                                                            Dirk              H.              Isbrandtsen                 States          Erik                   Hans          Isbrandtsen                       States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4336       Parent                      4023 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:03-md-01570,
                                                                                                                                                                                                                                                                                        432, at P5372,
                                                                                                                              United                                                                                 United                                                             8393-1, at 85,
1881                                                            May                               Marconet                    States          Waleed                               Iskandar                          States         9/11/01     NY (AA11)    03-cv-9849                 8487                Sibling                     4023 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                     United                                                             1:02-cv-01616,
1882                                                            Anthony                           DeTullio                    Unknown         Virginia               May           Jablonski                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3734       Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                                 United                                                             1:02-cv-01616,
1883                                                            Jennifer          Anne            Brady                       States          Michael                Grady         Jacobs                            States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2954       Child                       4023 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                                 United                                                             1:02-cv-01616,
1884                                                            Mary              Catherine       Brady                       States          Michael                Grady         Jacobs                            States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2955       Child                       4023 at 14      $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                                            EXHIBIT B-1
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                            Claimant                                                                                   9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                         Nationality




                                                                                                                                                                                                             Nationality
                                                                                                                          on 9/11




                                                                                                                                                                                                              on 9/11
                                                                                                            Claimant                                                                                                         Date of                                           Amendments &                        Document
 #       First       Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle            Last          Suffix                               9/11 Site       Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                              Suffix                                                                                                         Death                                              Substitutions                        ation

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              155, at P2956,
                                                                                                                       United                                                                               United                                                            8393-1, at 57,
1885                                                    Michael           John            Brady                        States          Michael               Grady         Jacobs                           States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       4023 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              155, at P2957,
                                                                                                                       United                                                                               United                                                            8393-1, at 57,
1886                                                    Peter                             Brady                        States          Michael               Grady         Jacobs                           States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       4023 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                                                                                                              602, at AP99,
                                                                                                                       United                                                                               United                                                            8393-1, at 519,
1887                                                    Zoe               Alexa           Jacobs                       States          Jason                 Kyle          Jacobs                           States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                                                                                                              602, at AP99,
                                                                                          Jacobs-                      United                                                                               United                                                            8393-1, at 32,
1888                                                    Jennifer          Jael            Deutsch                      States          Jason                 Kyle          Jacobs                           States         9/11/01     NY (WTC)    03-cv-9849                 8487                Spouse                      5061 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                                                                                                              432, at P5375,
     Miriam;                      Jacobson;                                                                            United                                                                               United                                                            8397-1, at 13,
1889 Rachel      Rose; Bess       Jacobson              Deborah           B.              Jacobson                     States          Steven                A.            Jacobson                         States         9/11/01     NY (WTC)    03-cv-9849                 8433                Spouse                      5848 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                                                                                                              432, at P5375,
                                                                                                                       United                                                                               United                                                            8393-1, at 1247,
1890                                                    Miriam            Rose            Jacobson                     States          Steven                A.            Jacobson                         States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       7188 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                                                                                                              432, at P5376,
                                                                                                                                                                                                            United                                                            8393-1, at 77,
1891                                                    Rachel            Bess            Jacobson                     Unknown         Steven                A.            Jacobson                         States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       7188 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3736,
                                                                                                                       United                                                                               United                                                            8393-1, at 77,
1892                                                    Kimberly          Jacoby          Dudgeon                      States          Steven                Donald        Jacoby                           States         9/11/01     VA (AA77)   03-cv-9849                 8487                Spouse                      5061 at 8       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3736,
                                                                                                                                                                                                                                                                              8393-1, at 1251,
                                                                                                                       United                                                                               United                                                            8487, 8397-1, at
1893 Kimberly    Jacoby           Dudgeon               Nicholas          Harrod          Jacoby                       States          Steven                Donald        Jacoby                           States         9/11/01     VA (AA77)   03-cv-9849                 14, 8433            Child                       7188 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4064,
                                                                                                                       United                                                                               United                                                            8393-1, at 30,
1894                                                    Anna              May             Jagoda                       States          Jake                  D.            Jagoda                           States         9/11/01     NY (WTC)    03-cv-9849                 8487                Parent                      4023 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4065,
                                                                                                                       United                                                                               United                                                            8393-1, at 30,
1895                                                    Louis             John            Jagoda                       States          Jake                  D.            Jagoda                           States         9/11/01     NY (WTC)    03-cv-9849                 8487                Parent                      4023 at 14      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                              1:03-cv-09849,
                                                                                                                       United                                                                               United                                                            839, at 13; 8679-
1896                                                    Sargam                            Jain                         States          Yudh                  VirSingh      Jain                             States         9/11/01     NY (WTC)    03-cv-9849                 1, at 216, 8696     Child                       4126 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3737,
                                                                                                                       United                                                                               United                                                            8393-1, at 88,
1897                                                    Sneh                              Jain                         States          Yudh                  VirSingh      Jain                             States         9/11/01     NY (WTC)    03-cv-9849                 8487                Spouse                      7188 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3737,
                                                                                                                       United                                                                               United                                                            8393-1, at 1428,
1898                                                    Vandna                            Jain                         States          Yudh                  VirSingh      Jain                             States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5356 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                               United                     NY                                     1:02-cv-01616,
1899                                                    Michael           A.              Jalbert                      States          Robert                A.            Jalbert                          States         9/11/01     (UA175)     03-cv-9849                 432, at P4872       Child                       4023 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                               United                     NY                                     1:02-cv-01616,
1900                                                    Paul              Henry           Jalbert                      States          Robert                A.            Jalbert                          States         9/11/01     (UA175)     03-cv-9849                 155, at P2960       Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                               United                     NY                                     1:02-cv-01616,
1901                                                    Suzanne           E.              McCormick                    States          Robert                A.            Jalbert                          States         9/11/01     (UA175)     03-cv-9849                 305, at P4337       Child                       4023 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                               United                     NY                                     1:02-cv-01616,
1902                                                    Julie             Ann             Pitt                         States          Robert                A.            Jalbert                          States         9/11/01     (UA175)     03-cv-9849                 155, at P2959       Child                       4023 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              155, at P2958,
                                                                                                                                                                                                            United                     NY                                     8393-1, at 68,
1903                                                    Catherine         Jalbert         Rothwell                     Canada          Robert                A.            Jalbert                          States         9/11/01     (UA175)     03-cv-9849                 8487                Spouse                      5062 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                       United                                                                               United                     NY                                     1:02-cv-01616,
1904                                                    Alicia            Noelle          Curran                       States          Amy                   Nicole        Jarret                           States         9/11/01     (UA175)     03-cv-9849                 3, at 1270          Sibling                     4023 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                               United                     NY                                     1:02-cv-01616,
1905                                                    Aram              Pothier         Jarret          Jr.          States          Amy                   Nicole        Jarret                           States         9/11/01     (UA175)     03-cv-9849                 3, at 1264          Parent                      4023 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                               United                     NY                                     1:02-cv-01616,
1906                                                    Aram              Pothier         Jarret          III          States          Amy                   Nicole        Jarret                           States         9/11/01     (UA175)     03-cv-9849                 3, at 1269          Sibling                     4023 at 14      $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                           Page 73 of 170
                                                                                                              Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                    Filed 04/23/24             Page 75 of 171
                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                       Personal Representative                                            Claimant                                                                                  9/11 Decedent                                                                  Claim Information                                                    Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                              Claimant                                                                                                         Date of                                            Amendments &                        Document
 #          First          Middle          Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle            Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                Suffix                                                                                                         Death                                               Substitutions                        ation

                                                                                                                         United                                                                               United                     NY                                      1:02-cv-01616,
1907                                                       Marc              Douglas         Jarret                      States          Amy                   Nicole        Jarret                           States         9/11/01     (UA175)      03-cv-9849                 3, at 1267          Sibling                     4023 at 14       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                     NY                                      1:02-cv-01616,
1908                                                       Matthew           Ryan            Jarret                      States          Amy                   Nicole        Jarret                           States         9/11/01     (UA175)      03-cv-9849                 3, at 1268          Sibling                     4023 at 14       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                     NY                                      1:02-cv-01616,
1909                                                       Marilyn           Ruth            Trudeau                     States          Amy                   Nicole        Jarret                           States         9/11/01     (UA175)      03-cv-9849                 3, at 1265          Parent                      4023 at 14       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
1910                                                       Debra             Anne            Jenkins                     States          Joseph                              Jenkins              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2090     Sibling                     4023 at 14       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
1911                                                       Gordon            Robert          Jenkins                     States          Joseph                              Jenkins              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2088     Sibling                     4023 at 14       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3738,
                                                                                                                         United                                                                               United                                                             8393-1, at 41,
1912                                                       Jennifer          Lynn            Jenkins                     States          Joseph                              Jenkins              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       4023 at 14       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
1913                                                       Michael           Patrick         Jenkins                     States          Joseph                              Jenkins              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2089     Sibling                     6035 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
1914                                                       Steven                            Jenkins                     States          Joseph                              Jenkins              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3501     Sibling                     4023 at 14       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
1915                                                       Aline             L.              Kanney-Jenkins              States          Joseph                              Jenkins              Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2087     Parent                      5087 at 11       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
1916                                                       Meena                             Jerath                      States          Prem                  N.            Jerath                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 807           Spouse                      5848 at 6        $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
1917                                                       Neel                              Jerath                      States          Prem                  N.            Jerath                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 808           Child                       5848 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 305, at P4338,
                                                                                                                                                                                                              United                                                             8393-1, at 29,
1918                                                       Ju-Hsiu                           Jian                        Unknown         Hweidar                             Jian                             States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      3382             $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                         VA                                      1:02-cv-01616,
                                                                                                                         United                                                                               United                     (Pentagon                               1, at 314, 8393-
1919                                                       Cassandra         Lee             Carter                      States          Dennis                Michael       Johnson                          States         9/11/01     )            03-cv-9849                 1, at 287, 8487     Child                       5061 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                         VA
                                                                                                                         United                                                                               United                     (Pentagon                               1:02-cv-01616,
1920                                                       Diane             Mary            Czlapinski                  States          Dennis                Michael       Johnson                          States         9/11/01     )            03-cv-9849                 305, at P4342       Sibling                     4023 at 14       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                         VA
                                                                                                                         United                                                                               United                     (Pentagon                               1:02-cv-01616,
1921                                                       Dawn              Marie           Johnson                     States          Dennis                Michael       Johnson                          States         9/11/01     )            03-cv-9849                 313, at P4669       Child                       5087 at 11       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                         VA                                      305, at P4340,
                                                                                                                         United                                                                               United                     (Pentagon                               8397-1, at 14,
1922 Gail           Sue              Lindner               Elva              Lorraine        Johnson                     States          Dennis                Michael       Johnson                          States         9/11/01     )            03-cv-9849                 8433                Parent                      5138 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                         VA
                                                                                                                         United                                                                               United                     (Pentagon                               1:02-cv-01616,
1923                                                       Joyce             Linda           Johnson                     States          Dennis                Michael       Johnson                          States         9/11/01     )            03-cv-9849                 1, at 314           Spouse                      5087 at 11       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                         VA                                      1:03-cv-09849,
                                                                                                                                                                                                              United                     (Pentagon                               839, at 15; 8679-
1924                                                       Richard           Allen           Johnson                     Unknown         Dennis                Michael       Johnson                          States         9/11/01     )            03-cv-9849                 1, at 217, 8696     Sibling                     5087 at 11       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                         VA                                      305, at P4339,
                                                                                                                         United                                                                               United                     (Pentagon                               8397-1, at 14,
1925 Gail           Sue              Lindner               Robert            E.              Johnson                     States          Dennis                Michael       Johnson                          States         9/11/01     )            03-cv-9849                 8433                Parent                      5061 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                         VA
                                                                                                                         United                                                                               United                     (Pentagon                               1:02-cv-01616,
1926                                                       Gail              Sue             Lindner                     States          Dennis                Michael       Johnson                          States         9/11/01     )            03-cv-9849                 305, at P4341       Sibling                     4023 at 14       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 155, at P2962,
                                                                                                                         United                                                                               United                                                             8393-1, at 9,
1927                                                       Mary              J.              Jones                       States          Charles               Edward        Jones                            States         9/11/01     NY (AA11)    03-cv-9849                 8487                Spouse                      5087 at 11       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:03-cv-9849,
                                                                                                                         United                                                                               Unknow                                                             HAND FILED, at
1928                                                       Bernadette        Marie           Giuliani                    States          Andrew                B.            Jordan                           n      9/11/01             NY (Other)   03-cv-9849                 P5102               Sibling                     4023 at 14       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:03-cv-9849,
                                                                                                                         United                                                                               Unknow                                                             HAND FILED, at
1929                                                       Ellen             Lucy            Green                       States          Andrew                B.            Jordan                           n      9/11/01             NY (Other)   03-cv-9849                 P5104               Sibling                     4023 at 14       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:03-cv-9849,
                                                                                                                         United                                                                               Unknow                                                             HAND FILED, at
1930                                                       Margaret          Jane            Gregory                     States          Andrew                B.            Jordan                           n      9/11/01             NY (Other)   03-cv-9849                 P5106               Sibling                     4023 at 14       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:03-cv-9849,
                                                                                                                                                                                                                                                                                 HAND FILED, at
                                                                                                                         United                                                                               Unknow                                                             P5099, 8397-1,
1931 Margaret       Jane             Gregory               Ellen                             Jordan                      States          Andrew                B.            Jordan                           n      9/11/01             NY (Other)   03-cv-9849                 at 14, 8433         Parent                      4023 at 14       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:03-cv-9849,
                                                                                                                         United                                                                               Unknow                                                             HAND FILED, at
1932                                                       Mary              Brigid          Jordan                      States          Andrew                B.            Jordan                           n      9/11/01             NY (Other)   03-cv-9849                 P5105               Sibling                     4023 at 14       $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                             Page 74 of 170
                                                                                                               Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                    Filed 04/23/24             Page 76 of 171
                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                              Claimant                                                                                    9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                                Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                                 on 9/11
                                                                                                              Claimant                                                                                                          Date of                                            Amendments &                        Document
 #        First          Middle            Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First             Middle            Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                Suffix                                                                                                          Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                                                                                                                                                                                  HAND FILED, at
                                                                                                                         United                                                                                Unknow                                                             P5098, 8397-1,
1933 Margaret     Jane             Gregory                 Thomas                            Jordan                      States          Andrew                B.             Jordan                           n      9/11/01             NY (Other)   03-cv-9849                 at 14, 8433         Parent                      4023 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                         United                                                                                Unknow                                                             HAND FILED, at
1934                                                       Thomas            Patrick         Jordan                      States          Andrew                B.             Jordan                           n      9/11/01             NY (Other)   03-cv-9849                 P5101               Sibling                     4023 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                         United                                                                                Unknow                                                             HAND FILED, at
1935                                                       Elizabeth         Ann             Kobel                       States          Andrew                B.             Jordan                           n      9/11/01             NY (Other)   03-cv-9849                 P5103               Sibling                     4023 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                                United                                                             8679-1, at 218,
1936                                                       James                             Hagan                       States          Jane                  Eileen         Josiah                           States 9/11/01             NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
1937                                                       Jennifer          Eileen          Josiah                      States          Jane                  Eileen         Josiah                           States 9/11/01             NY (WTC)     03-cv-9849                 1, at 317           Child                       4023 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
1938                                                       Kelly             Christine       Satish                      States          Jane                  Eileen         Josiah                           States 9/11/01             NY (WTC)     03-cv-9849                 1, at 319           Child                       4023 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                                                                                                                                                                                  HAND FILED, at
                                                                                                                         United                                                                                United                                                             P5107, 8393-1,
1939                                                       M.                A.              J.                          States          Anthony                              Jovic                            States         9/11/01     NY (Other)   03-cv-9849                 at 4, 8487          Child                       5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                                                                                                                                                                                  HAND FILED, at
                                                                                                                         United                                                                                United                                                             P5107, 8393-1,
1940                                                       P.                T.              J.                          States          Anthony                              Jovic                            States         9/11/01     NY (Other)   03-cv-9849                 at 4, 8487          Child                       5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                                                                                                                                                                                  HAND FILED, at
                                                                                                                                                                                                               United                                                             P5107, 8393-1,
1941                                                       Sentija                           Jovic                       Croatia         Anthony                              Jovic                            States         9/11/01     NY (Other)   03-cv-9849                 at 4, 8487          Spouse                      5087 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
1942                                                       Angel             L.              Juarbe          Sr.         States          Angel                 L.             Juarbe               Jr.         States         9/11/01     NY (Other)   03-cv-9849                 305, at P4344       Parent                      5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 2102,
                                                                                                                         United                                                                                United                                                             8397-1, at 14,
1943 Elizabeth    Kane             Reich                   Joan              C.              Kane                        States          Vincent               Dominick       Kane                 Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8433                Parent                      5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 2101,
                                                                                                                         United                                                                                United                                                             8397-1, at 14,
1944 Elizabeth    Kane             Reich                   Vincent           D.              Kane            Sr.         States          Vincent               Dominick       Kane                 Jr.         States 9/11/01             NY (Other)   03-cv-9849                 8433                Parent                      5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
1945                                                       Elizabeth         Kane            Reich                       States          Vincent               Dominick       Kane                 Jr.         States 9/11/01             NY (Other)   03-cv-9849                 26, 29, at 2104     Sibling                     4023 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                                Unknow                                                             1:02-cv-01616,
1946                                                       Rebecca           Sihyun          Hoang                       States          Joon                  Koo            Kang                             n      9/11/01             NY (WTC)     03-cv-9849                 3, at 1284          Sibling                     4023 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                                Unknow                                                             1:02-cv-01616,
1947                                                       Janet             Eun Young       Kang                        States          Joon                  Koo            Kang                             n      9/11/01             NY (WTC)     03-cv-9849                 3, at 1283          Sibling                     3666 at 6       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                         United                                                                                Unknow                                                             3, at 1282, 8397-
1948 Seong        Soon             Kang                    Pil Soon                          Kang                        States          Joon                  Koo            Kang                             n      9/11/01             NY (WTC)     03-cv-9849                 1, at 14, 8433      Parent                      4023 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                Unknow                                                             1:02-cv-01616,
1949                                                       Seong             Soon            Kang                        States          Joon                  Koo            Kang                             n      9/11/01             NY (WTC)     03-cv-9849                 3, at 1281          Parent                      4023 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                Unknow                                                             1:02-cv-01616,
1950                                                       Jamie             Kang            Sarracino                   States          Joon                  Koo            Kang                             n      9/11/01             NY (WTC)     03-cv-9849                 3, at 1285          Sibling                     4023 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                         United                                                                                United                                                             1, at 841, 5284-
1951                                                       Adam              Brent           Kanter                      States          Sheldon               Robert         Kanter                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 7, 5296       Child                       5061 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                         United                                                                                United                                                             1, at 842, 5284-
1952                                                       Evan              Morgan          Kanter                      States          Sheldon               Robert         Kanter                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 7, 5296       Child                       5061 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                         United                                                                                United                                                             1, at 840, 5284-
1953                                                       Tamara            Susan           Kanter                      States          Sheldon               Robert         Kanter                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 7, 5296       Spouse                      5061 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
1954                                                       Edward            Harvey          Kaplan                      States          Robin                                Kaplan                           States         9/11/01     NY (AA11)    03-cv-9849                 305, at P4348       Parent                      4023 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  305, at P4347,
                                                                                                                         United                                                                                United                                                             8393-1, at 72,
1955                                                       Francine          Charlotte       Kaplan                      States          Robin                                Kaplan                           States         9/11/01     NY (AA11)    03-cv-9849                 8487                Parent                      4023 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                United                                                             1:02-cv-01616,
1956                                                       Mark              Adam            Kaplan                      States          Robin                                Kaplan                           States         9/11/01     NY (AA11)    03-cv-9849                 305, at P4349       Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:03-md-01570,
                                                                                                                                                                                                                                                                                  432, at P5379,
                                                                                                                         United                                                                                United                                                             8393-1, at 87,
1957                                                       Brenda            Rowena          Vandever                    States          William               A.             Karnes                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Sibling                     4023 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                         United                                                                                United                                                             HAND FILED, at
1958                                                       Kara                              Kasper                      States          Charles               L.             Kasper                           States         9/11/01     NY (Other)   03-cv-9849                 P5111               Child                       4023 at 15      $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                                            EXHIBIT B-1
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                            Claimant                                                                                    9/11 Decedent                                                                   Claim Information                                                   Solatium Damages




                                                                                                                         Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                          on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                            Claimant                                                                                                             Date of                                            Amendments &                        Document
 #       First         Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First              Middle           Last              Suffix                              9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                              Suffix                                                                                                             Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                   1:03-cv-9849,
                                                                                                                       United                                                                                   United                                                             HAND FILED, at
1959                                                      Melissa                           Kasper                     States          Charles               L.              Kasper                             States         9/11/01     NY (Other)   03-cv-9849                 P5110               Child                       4023 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:03-cv-9849,
                                                                                                                       United                                                                                   United                                                             HAND FILED, at
1960                                                      Michael           Roman           Kasper                     States          Charles               L.              Kasper                             States         9/11/01     NY (Other)   03-cv-9849                 P5109               Child                       5356 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P3739,
                                                                                                                       United                                                                                   United                                                             8393-1, at 23,
1961                                                      Barbara           E.              Keane                      States          Edward                T.              Keane                              States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
1962                                                      Charlotte         Florence        Keane                      Unknown         Richard               Michael         Keane                              States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4357       Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
1963                                                      Constance         Anne            Keane                      Unknown         Richard               Michael         Keane                              States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4359       Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                                   United                                                             8679-1, at 220,
1964                                                      Daniel            Mark            Keane                      States          Richard               Michael         Keane                              States         9/11/01     NY (WTC)     03-cv-9849                 8696                Child                       5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
1965                                                      Garrett           Paul            Keane                      Unknown         Richard               Michael         Keane                              States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4354       Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P3740,
                                                                                                                       United                                                                                   United                                                             8393-1, at 68,
1966                                                      Judith            Ann             Keane                      States          Richard               Michael         Keane                              States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                       United                                                                                   United                                                             1:02-cv-01616,
1967                                                      Mark              Edward          Keane                      States          Edward                T.              Keane                              States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4350       Child                       5062 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                                   United                                                             1:02-cv-01616,
1968                                                      Matthew           Eamon           Keane                      States          Richard               Michael         Keane                              States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3741       Child                       3666 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                                   United                                                             1:02-cv-01616,
1969                                                      Patrick           James           Keane                      States          Richard               Michael         Keane                              States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3742       Child                       3666 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
1970                                                      Paul              Anthony         Keane                      Unknown         Richard               Michael         Keane                              States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4356       Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                                   United                                                             1:02-cv-01616,
1971                                                      Sean              Michael         Keane                      States          Richard               Michael         Keane                              States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4352       Child                       5062 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                                   United                                                             1:02-cv-01616,
1972                                                      Timothy           Brendan         Keane                      States          Richard               Michael         Keane                              States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3743       Child                       3666 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                                   United                                                             8679-1, at 219,
1973                                                      Mary              Denise          Lum                        States          Richard               Michael         Keane                              States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                                   United                                                             1:02-cv-01616,
1974                                                      Cynthia           Ann             Polo                       States          Edward                T.              Keane                              States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4351       Child                       4023 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
1975                                                      Theresa           Irene           Wilson                     Unknown         Richard               Michael         Keane                              States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4358       Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                       United                                                                                   United                                                             3, at 1288, 8397-
1976 Susan       K.                 Keasler               Denise            K.              Keasler                    States          Karol                 Ann             Keasler                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 14, 8433      Parent                      5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                                   United                                                             8679-1, at 221,
1977                                                      Susan             K.              Keasler                    States          Karol                 Ann             Keasler                            States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5138 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                                   United                                                             1:02-cv-01616,
1978                                                      Joann             Marie           Anderson                   States          Barbara               A.              Keating                            States         9/11/01     NY (AA11)    03-cv-9849                 313, at P4670       Child                       4023 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                                   United                                                             1:02-cv-01616,
1979                                                      John              Edward          Keating                    States          Barbara               A.              Keating                            States         9/11/01     NY (AA11)    03-cv-9849                 305, at P4361       Child                       4126 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   305, at P4360,
                                                                                                                       United                                                                                   United                                                             8393-1, at 4,
1980                                                      Michael           Lawrence        Keating                    States          Barbara               A.              Keating                            States         9/11/01     NY (AA11)    03-cv-9849                 8487                Child                       4023 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                                   United                                                             8679-1, at 222,
1981                                                      Patricia          Ann             Keating                    States          Barbara               A.              Keating                            States         9/11/01     NY (AA11)    03-cv-9849                 8696                Child                       7188 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                                   United                                                             1:02-cv-01616,
1982                                                      Paul              Joseph          Keating                    States          Barbara               A.              Keating                            States         9/11/01     NY (AA11)    03-cv-9849                 305, at P4362       Child                       4023 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                                   United                                                             1:02-cv-01616,
1983                                                      Jennifer          Keene           Clyde                      States          Leo                   Russell         Keene               III            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3744       Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                                   United                                                             1:02-cv-01616,
1984                                                      Martha            Susan           Grimm                      States          Leo                   Russell         Keene               III            States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2963       Parent                      3666 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P2965,
                                                                                                                       United                                                                                   United                                                             8393-1, at 49,
1985                                                      M.                M.              K.                         States          Leo                   Russell         Keene               III            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                                   United                                                             1:02-cv-01616,
1986                                                      Krista            Sue             Keene                      States          Leo                   Russell         Keene               III            States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2964       Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P2965,
                                                                                                                       United                                                                                   United                                                             8393-1, at 49,
1987                                                      Kristen           M.              Keene                      States          Leo                   Russell         Keene               III            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5062 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                       United                                                                                   United                                                             1:02-cv-01616,
1988                                                      Maureen           Kelly           Donegan                    States          William               Hill            Kelly               Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4671       Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                                   United                                                             1:02-cv-01616,
1989                                                      Kathleen          K.              Hamilton                   States          William               Hill            Kelly               Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3745       Sibling                     4023 at 15      $         4,250,000.00 $   12,750,000.00




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                                                                                                                                                       SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                            Claimant                                                                                     9/11 Decedent                                                                 Claim Information                                                     Solatium Damages




                                                                                                                       Nationality




                                                                                                                                                                                                             Nationality
                                                                                                                        on 9/11




                                                                                                                                                                                                              on 9/11
                                                                                                          Claimant                                                                                                           Date of                                            Amendments &                          Document
 #       First       Middle            Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First              Middle            Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                  Prior Award            Amount            Treble          Notes
                                                                                                            Suffix                                                                                                           Death                                               Substitutions                          ation

                                                                                                                     United                                                                                 United                                                             1:02-cv-01616,
1990                                                   Alice             Buchholz        Kelly                       States          Joseph                Anthony         Kelly                            States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1290          Parent                        3666 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               155, at P2968,
                                                                                                                     United                                                                                 United                                                             8393-1, at 87,
1991                                                   JoAnne            Marie           Kelly                       States          William               Hill            Kelly                Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                        4023 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                     United                                                                                 United                                                             1:02-cv-01616,
1992                                                   Meigan            Bennett         Kelly                       States          William               Hill            Kelly                Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3746       Sibling                       4023 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               155, at P2969,
                                                                                                                     United                                                                                 United                                                             8393-1, at 87,
1993                                                   William           Hill            Kelly           Sr.         States          William               Hill            Kelly                Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                        4023 at 15      $         8,500,000.00 $   25,500,000.00

                                                                                                                     United                                                                                 United                                                             1:03-md-01570,
1994                                                   Meredith          Carroll         Andrews                     States          Robert                C.              Kennedy                          States         9/11/01     NY (WTC)     03-cv-9849                 432, at P5385       Child                         5061 at 8       $         8,500,000.00 $   25,500,000.00

                                                                                                                     United                                                                                 United                                                             1:03-md-01570,
1995                                                   Catherine         Mary            Miller                      States          Robert                C.              Kennedy                          States         9/11/01     NY (WTC)     03-cv-9849                 432, at P5384       Child                         5061 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                     United                                                                                 United                                                             1:02-cv-01616,
1996                                                   Darlene           Marie           Keohane                     States          John                  Richard         Keohane                          States         9/11/01     NY (Other)   03-cv-9849                 155, at P2970       Sibling                       4023 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               155, at P2971,
                                                                                                                     United                                                                                 United                                                             8393-1, at 39,
1997 Darlene     Marie           Keohane               Donald            Edward          Keohane                     States          John                  Richard         Keohane                          States         9/11/01     NY (Other)   03-cv-9849                 8487                Parent                        4023 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               155, at P2972,
                                                                                                                     United                                                                                 United                                                             8393-1, at 39,
1998                                                   Mary              Ann             Keohane                     States          John                  Richard         Keohane                          States         9/11/01     NY (Other)   03-cv-9849                 8487                Parent                        4023 at 15      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                               1:03-cv-09849,
                                                                                                                     United                                                                                 United                     NY                                      839, at 16; 8679-
1999                                                   Jason             A.              Kershaw                     States          Ralph                 Francis         Kershaw                          States         9/11/01     (UA175)      03-cv-9849                 1, at 223, 8696     Child                         4023 at 15      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                               1:03-cv-09849,
                                                                                                                     United                                                                                 United                     NY                                      839, at 17; 8679-
2000                                                   Kristin           D.              Kershaw                     States          Ralph                 Francis         Kershaw                          States         9/11/01     (UA175)      03-cv-9849                 1, at 224, 8696     Child                         4023 at 15      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                               1:03-cv-09849,
                                                                                                                     United                                                                                 United                     NY                                      839, at 18; 8679-
2001                                                   Matthew           A.              Kershaw                     States          Ralph                 Francis         Kershaw                          States         9/11/01     (UA175)      03-cv-9849                 1, at 225, 8696     Child                         4023 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               26, 29, at 3541,
                                                                                                                     United                                                                                 United                                                             8393-1, at 1168,
2002                                                   Colleen           Elizabeth       Kerwin                      States          Ronald                T.              Kerwin                           States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                         5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               26, 29, at 3541,
                                                                                                                     United                                                                                 United                                                             8393-1, at 73,
2003                                                   Dianne            P.              Kerwin                      States          Ronald                T.              Kerwin                           States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                        5087 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               26, 29, at 3541,
                                                                                                                     United                                                                                 United                                                             8393-1, at 1169,
2004                                                   Keith             Walter          Kerwin                      States          Ronald                T.              Kerwin                           States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                         5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               26, 29, at 3541,
                                                                                                                     United                                                                                 United                                                             8393-1, at 1170,
2005                                                   Ryan              Thomas          Kerwin                      States          Ronald                T.              Kerwin                           States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                         5087 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               232, at P3747,
                                                                                                                     United                                                                                 United                                                             8393-1, at 29,
2006                                                   Granvilette       W.              Kestenbaum                  States          Howard                L.              Kestenbaum                       States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                        5087 at 11      $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                            United                                                             1:02-cv-01616,
2007                                                   Robert                            Dow                         Unknown         Ruth                  Ellen           Ketler                           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3748       Domestic Partner              5949 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                               1:18-cv-11582,
                                                                                                                     United                                                                                 United                                                             1, at 11; 8679-1,
2008                                                   Richard           Keith           Ketler                      States          Ruth                  Ellen           Ketler                           States         9/11/01     NY (WTC)     03-cv-9849                 at 228, 8696        Sibling                       5087 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                            United                                                             8679-1, at 232,
2009                                                   Kanhai                            Boodram                     Guyana          Sarah                                 Khan                             States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                       7188 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                            United                                                             8679-1, at 231,
2010                                                   Angad                             Budram                      Guyana          Sarah                                 Khan                             States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                       7188 at 9       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                            United                                                             1, at 321, 8393-
2011                                                   Ameiza                            Khan                        Guyana          Sarah                                 Khan                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1190, 8487    Child                         5061 at 8       $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                                                         EXHIBIT B-1
                                                                                                                                                                      SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                         Personal Representative                                                   Claimant                                                                                     9/11 Decedent                                                                 Claim Information                                                  Solatium Damages




                                                                                                                                      Nationality




                                                                                                                                                                                                                          Nationality
                                                                                                                                       on 9/11




                                                                                                                                                                                                                           on 9/11
                                                                                                                         Claimant                                                                                                         Date of                                            Amendments &                       Document
 #        First           Middle                Last       Suffix    Claimant First   Claimant Middle Claimant Last                                           First            Middle            Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                           Suffix                                                                                                         Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                    United                                                                               United                                                             1, at 321, 8393-
2012                                                                Nazam                             Khan                          States          Sarah                               Khan                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 74, 8487     Spouse                      5087 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                                    United                                                                               United                                                             1:02-cv-01616,
2013                                                                Tahira                            Khan                          States          Taimour                             Khan                             States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3544    Parent                      5061 at 8       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                         United                                                             1, at 321, 8393-
2014                                                                Shaneeza                          Periana-Pillai                Guyana          Sarah                               Khan                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1191, 8487   Child                       5061 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                         United                                                             8679-1, at 229,
2015                                                                Surujpattie                       Persaud                       guyana          Sarah                               Khan                             States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                    United                                                                               United                                                             8679-1, at 230,
2016                                                                Sybil                             Ramsaran                      States          Sarah                               Khan                             States         9/11/01     NY (WTC)     03-cv-9849                 8696               Parent                      7188 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                         United                                                             8679-1, at 233,
2017                                                                Dhanpaul          Budram          Takoor                        guyana          Sarah                               Khan                             States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                    United                                                                               United                                                             1:02-cv-01616,
2018                                                                Zara              Khan            Yedvarb                       States          Taimour                             Khan                             States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2638       Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            77, at P2639,
                                                                                                                                    United                                                                               United                                                             8393-1, at 60,
2019                                                                Henry             Francis         Kiefer           Jr.          States          Michael               Vernon        Kiefer                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Parent                      4023 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                    United                                                                               United                                                             1:02-cv-01616,
2020                                                                Patricia          Lynn            Kiefer                        States          Michael               Vernon        Kiefer                           States         9/11/01     NY (Other)   03-cv-9849                 77, at P2640       Parent                      4023 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                    United                                                                               United                     NY                                      1:02-cv-01616,
2021                                                                Darlene           Therese         Kinney                        States          Brian                 Kevin         Kinney                           States         9/11/01     (UA175)      03-cv-9849                 155, at P2975      Parent                      5087 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                    United                                                                               United                                                             1:02-cv-01616,
2022                                                                Brian             Patrick         Kirby                         States          Chris                 M.            Kirby                            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3749      Sibling                     4023 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                    United                                                                               United                                                             1:02-cv-01616,
2023                                                                Donna             Marie           Kirby                         States          Chris                 M.            Kirby                            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3750      Parent                      4023 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                    United                                                                               United                                                             1:02-cv-01616,
2024                                                                James             Michael         Kirby            III          States          Chris                 M.            Kirby                            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3752      Sibling                     4023 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at P3751,
                                                                                                                                                                                                                                                                                            8393-1, at 10,
                                                                                                                                    United                                                                               United                                                             8487, 8393-1, at
2025                                                                James             Michael         Kirby            Jr.          States          Chris                 M.            Kirby                            States         9/11/01     NY (WTC)     03-cv-9849                 10, 8487           Parent                      5061 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                    United                                                                               United                                                             1:02-cv-01616,
2026                                                                Jennifer          Marie           Kirby                         States          Chris                 M.            Kirby                            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3753      Sibling                     4023 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                    United                                                                               United                                                             1:02-cv-01616,
2027                                                                KellyAnn                          Racanelli                     States          Chris                 M.            Kirby                            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3754      Sibling                     4023 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                    United                                                                               United                                                             1:02-cv-01616,
2028                                                                Lauren                            Kirschbaum                    States          Howard                Barry         Kirschbaum                       States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4367      Child                       5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                    United                                                                               United                                                             1:02-cv-01616,
2029                                                                Matthew           Adam            Kirschbaum                    States          Howard                Barry         Kirschbaum                       States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4366      Child                       6034 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            305, at P4365,
                                                                                                                                    United                                                                               United                                                             8393-1, at 29,
2030                                                                Rochelle          Sara            Kirschbaum                    States          Howard                Barry         Kirschbaum                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      7188 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                                    United                                                                               United                                                             1:02-cv-01616,
2031                                                                Barbara           Davis           Kirwin                        States          Glenn                 Davis         Kirwin                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3551    Parent                      3666 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            26, 29, at 3550,
                                                                                                                                    United                                                                               United                                                             8397-1, at 14,
2032 Daniel         T.                 Kirwin                       Paul              Harris          Kirwin                        States          Glenn                 Davis         Kirwin                           States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      3666 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                    United                                                                               United                                                             1, at 763, 5284-
2033                                                                Debra             Joy             Foxx                          States          Alan                  David         Kleinberg                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 7, 5296      Sibling                     4023 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                    United                                                                               United                                                             1, at 762, 8393-
2034                                                                Jacob             R.              Kleinberg                     States          Alan                  David         Kleinberg                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 11, 8487     Child                       4023 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                    United                                                                               United                                                             1, at 762, 8393-
2035                                                                Lauren            N.              Kleinberg                     States          Alan                  David         Kleinberg                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 12, 8487     Child                       4023 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                    United                                                                               United                                                             1, at 762, 8393-
2036                                                                Mindy             S.              Kleinberg                     States          Alan                  David         Kleinberg                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1, 8487      Spouse                      4023 at 15      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                    United                                                                               United                                                             1, at 762, 8393-
2037                                                                Sam               E.              Kleinberg                     States          Alan                  David         Kleinberg                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 13, 8487     Child                       4023 at 15      $         8,500,000.00 $   25,500,000.00
                                       Kleinberg-                                                                                                                                                                                                                                           1:02-cv-01616,
     Marci; Marla;                     Bandelli; Parker;                                                                            United                                                                               United                                                             1, at 764, 8397-
2038 Debra         Alyse; H.; Joy      Foxx                         Stanley           L.              Kleinberg                     States          Alan                  David         Kleinberg                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 15, 8433     Parent                      4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                      Kleinberg-                    United                                                                               United                                                             1:02-cv-01616,
2039                                                                Marci             Alyse           Bandelli                      States          Alan                  David         Kleinberg                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3553    Sibling                     4023 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                    United                                                                               United                                                             1:02-cv-01616,
2040                                                                Marla             H.              Parker                        States          Alan                  David         Kleinberg                        States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2977      Sibling                     4023 at 15      $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                                        Page 78 of 170
                                                                                                             Case 1:03-md-01570-GBD-SN                                    Document 9716-2                                   Filed 04/23/24             Page 80 of 171
                                                                                                                                                                           EXHIBIT B-1
                                                                                                                                                        SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                              Claimant                                                                                 9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                         Nationality




                                                                                                                                                                                                           Nationality
                                                                                                                          on 9/11




                                                                                                                                                                                                            on 9/11
                                                                                                            Claimant                                                                                                       Date of                                            Amendments &                        Document
 #       First         Middle            Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                              Suffix                                                                                                       Death                                               Substitutions                        ation

                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2041                                                     Vivian            Lerner          Shoemaker                   States          Alan                 David         Kleinberg                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 325           Parent                      4023 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2042                                                     Kathleen          Ann             Doolan                      States          Thomas               Patrick       Knox                            States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1303          Sibling                     4023 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2043                                                     Denis             Mooney          Knox                        States          Thomas               Patrick       Knox                            States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1300          Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
2044                                                     James             John            Knox                        Unknown         Thomas               Patrick       Knox                            States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1299          Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2045                                                     Nancy             Sadie           Knox                        States          Thomas               Patrick       Knox                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 328           Spouse                      5848 at 6       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                       United                                                                             United                                                             3, at 1298, 8397-
2046 Kathleen    Ann             Doolan                  Patricia          B.              Knox                        States          Thomas               Patrick       Knox                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 15, 8433      Parent                      4023 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2047                                                     Patricia          Bridget         Lalley                      States          Thomas               Patrick       Knox                            States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1302          Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2048                                                     Mary              Ellen           Profita                     States          Thomas               Patrick       Knox                            States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1301          Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                       United                                                                             United                                                             3, at 1307, 8397-
2049 Robert                      Kobus                   Leokadia                          Kobus                       States          Deborah                            Kobus                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 15, 8433      Parent                      5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2050                                                     Robert                            Kobus                       States          Deborah                            Kobus                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1306          Sibling                     4023 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2051                                                     Michelle          Ann             Stabile                     States          Frank                J.            Koestner                        States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4672       Fiancée                     8293 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2052                                                     Adam              Prentiss        Kohart                      States          Ryan                 Ashley        Kohart                          States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2643        Sibling                     4023 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2053                                                     Brett             D.              Kohart                      States          Ryan                 Ashley        Kohart                          States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2644        Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2054                                                     Geoffrey          Adam            Kohart          Jr.         States          Ryan                 Ashley        Kohart                          States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2646        Sibling                     4023 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             77, at P2645,
                                                                                                                       United                                                                             United                                                             8393-1, at 73,
2055                                                     Geoffrey          Adam            Kohart          Sr.         States          Ryan                 Ashley        Kohart                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      5062 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2056                                                     Joy               A.              Kohart                      States          Ryan                 Ashley        Kohart                          States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2647        Parent                      5061 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                                                                                                                                                                             HAND FILED, at
                                                                                                                       United                                                                             United                                                             P5130, 8393-1,
2057                                                     Aimee             Elizabeth       Garrison                    States          Suzanne                            Kondratenko                     States         9/11/01     NY (WTC)     03-cv-9849                 at 79, 8487         Sibling                     4023 at 15      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                             1:03-cv-09849,
                                                                                                                       United                                                                             United                                                             839, at 19; 8679-
2058                                                     Elizabeth         Cristina        Kondratenko                 States          Suzanne                            Kondratenko                     States         9/11/01     NY (WTC)     03-cv-9849                 1, at 234, 8696     Sibling                     5356 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                       United                                                                             United                                                             HAND FILED, at
2059                                                     Eric                              Kondratenko                 States          Suzanne                            Kondratenko                     States         9/11/01     NY (WTC)     03-cv-9849                 P5131               Parent                      4023 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                       United                                                                             United                                                             HAND FILED, at
2060                                                     Patricia          Anne            Kondratenko                 States          Suzanne                            Kondratenko                     States         9/11/01     NY (WTC)     03-cv-9849                 P5132               Parent                      4023 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                       United                                                                             United                                                             HAND FILED, at
2061                                                     Sarah             M.              Kondratenko                 States          Suzanne                            Kondratenko                     States         9/11/01     NY (WTC)     03-cv-9849                 P5134               Sibling                     4023 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                           Kondratenko-                United                                                                             United                                                             HAND FILED, at
2062                                                     Patricia          Anne            Collins                     States          Suzanne                            Kondratenko                     States         9/11/01     NY (WTC)     03-cv-9849                 P5136               Sibling                     4023 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                       United                                                                             United                                                             HAND FILED, at
2063                                                     Katherine         J.              Marien                      States          Suzanne                            Kondratenko                     States         9/11/01     NY (WTC)     03-cv-9849                 P5133               Sibling                     4023 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                       United                                                                             United                                                             HAND FILED, at
2064                                                     Caroline          Megan           Ruestow                     States          Suzanne                            Kondratenko                     States         9/11/01     NY (WTC)     03-cv-9849                 P5135               Sibling                     4023 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
2065                                                     Christine         A.              Kopytko                     Unknown         Scott                              Kopytko                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3565     Sibling                     4023 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2066                                                     Joyce                             Mercer                      States          Scott                              Kopytko                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3564     Parent                      4023 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2067                                                     Faith             Kousoulis       Hagerty                     States          Danielle                           Kousoulis                       States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3756       Sibling                     4023 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2068                                                     Eleni                             Kousoulis                   States          Danielle                           Kousoulis                       States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3757       Sibling                     4023 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:03-md-01570,
                                                                                                                                                                                                                                                                             3477, at 1924;
                                                                                                                       United                                                                             United                                                             8679-1, at 235,
2069                                                     George            Panagiotes      Kousoulis                   States          Danielle                           Kousoulis                       States         9/11/01     NY (WTC)     03-cv-9849                 8696                Parent                      4023 at 16      $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                         Page 79 of 170
                                                                                                                Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                   Filed 04/23/24             Page 81 of 171
                                                                                                                                                                               EXHIBIT B-1
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                              Claimant                                                                                9/11 Decedent                                                                   Claim Information                                                    Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                               Claimant                                                                                                        Date of                                            Amendments &                        Document
 #       First         Middle               Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                        Death                                               Substitutions                        ation

                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
2070                                                        Peter             G.              Kousoulis                   States          Danielle                            Kousoulis                       States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3758       Sibling                     4126 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3759,
                                                                                                                          United                                                                              United                                                             8393-1, at 15,
2071                                                        Zoe               Pappas          Kousoulis                   States          Danielle                            Kousoulis                       States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 16       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 305, at P4368,
                                                                                                                          United                                                                              United                                                             8393-1, at 87,
2072                                                        Lisa              Maria           Inzerillo                   States          William               Edward        Krukowski                       States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5356 at 3        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 305, at P4368,
                                                                                                                          United                                                                              United                                                             8393-1, at 1406,
2073                                                        William           Lee             Krukowski                   States          William               Edward        Krukowski                       States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5356 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
2074                                                        Barry                             Ksido                       States          Lyudmila                            Ksido                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1798          Child                       5062 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
2075 Robert                         Ksido                   Felix                             Ksido                       States          Lyudmila                            Ksido                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1310          Spouse                      5061 at 8        $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                          United                                                                              United                                                             3, at 1310, 8393-
2076                                                        Lawrence          Irving          Ksido                       States          Lyudmila                            Ksido                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 812, 8487     Child                       5061 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
2077                                                        Robert                            Ksido                       States          Lyudmila                            Ksido                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1799          Child                       5062 at 5        $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                          United                                                                              United                                                             3, at 1313, 8393-
2078                                                        Carl              Philip          Kumpel                      States          Kenneth               B.            Kumpel                          States         9/11/01     NY (Other)   03-cv-9849                 1, at 731, 8487     Child                       5061 at 8        $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                          United                                                                              United                                                             3, at 1313, 8393-
2079                                                        Gregory           James           Kumpel                      States          Kenneth               B.            Kumpel                          States         9/11/01     NY (Other)   03-cv-9849                 1, at 732, 8487     Child                       5061 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
2080                                                        Nancy             Ada             Kumpel                      States          Kenneth               B.            Kumpel                          States         9/11/01     NY (Other)   03-cv-9849                 3, at 1313          Spouse                      5087 at 12       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:03-md-01570,
                                                                                                                                                                                                                                                                                 602, at P5490,
                                                                                                                          United                                                                              United                                                             8393-1, at 81,
2081                                                        James                             Kuveikis                    States          Thomas                J.            Kuveikis                        States         9/11/01     NY (Other)   03-cv-9849                 8487                Sibling                     5087 at 12       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 305, at P4369,
                                                                                                                          United                                                                              United                     NY                                      8393-1, at 45,
2082 Tracy                          Johnson                 Eric              Thomas          Laborie                     States          Kathryn               L.            Laborie                         States         9/11/01     (UA175)      03-cv-9849                 8487                Spouse                      5087 at 12       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:03-cv-09849,
                                                                                                                          United                                                                              United                     NY                                      841, at 6; 8679-
2083                                                        Florela           S.              Yancey                      States          Kathryn               L.            Laborie                         States         9/11/01     (UA175)      03-cv-9849                 1, at 236, 8696     Parent                      5062 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:03-md-01570,
                                                                                                                                                                                                                                                                                 3477, at 1936;
                                                                                                                          United                                                                              United                     NY                                      8679-1, at 237,
2084                                                        Harlan            Gene            Yancey                      States          Kathryn               L.            Laborie                         States         9/11/01     (UA175)      03-cv-9849                 8696                Parent                      4126 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:03-cv-09849,
                                                                                                                          United                                                                              United                     NY                                      841, at 5; 8679-
2085                                                        Kevin             Michael         Yancey                      States          Kathryn               L.            Laborie                         States         9/11/01     (UA175)      03-cv-9849                 1, at 239, 8696     Sibling                     5062 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:03-cv-09849,
                                                                                                                          United                                                                              United                     NY                                      841, at 4; 8679-
2086                                                        Mark              Anthony         Yancey                      States          Kathryn               L.            Laborie                         States         9/11/01     (UA175)      03-cv-9849                 1, at 238, 8696     Sibling                     5062 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
2087                                                        Daniel            Edward          Ladley                      States          James                 Patrick       Ladley                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2121     Sibling                     3666 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
2088                                                        Dolores                           Ladley                      States          James                 Patrick       Ladley                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2119     Parent                      3666 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
2089 Edward      James              Colligan                Eileen                            Ladley                      States          James                 Patrick       Ladley                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2122     Sibling                     3666 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
2090                                                        Patrick           John            Ladley                      States          James                 Patrick       Ladley                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2120     Sibling                     3666 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
2091                                                        Mary              Ann             Leach                       States          James                 Patrick       Ladley                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2123     Sibling                     3666 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 155, at P2982,
                                                                                                                          United                                                                              United                                                             8393-1, at 41,
2092 Dominick    R.                 LaFalce                 Dominick          Vincent         LaFalce         Jr.         States          Joseph                A.            LaFalce                         States 9/11/01             NY (WTC)     03-cv-9849                 8487                Sibling                     4126 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                              Lafond-                         Unknow                                                             1:02-cv-01616,
2093                                                        Anita             Lafond          Korsonsky                   States          Jeanette                            Menichino                       n      9/11/01             NY (WTC)     03-cv-9849                 313, at P4674       Sibling                     3382             $         4,250,000.00 $   12,750,000.00

                                                                                                                          United                                                                              United                                                             1:03-md-01570,
2094                                                        Madelyn           Beatrice        LaFrance                    States          Alan                  Charles       LaFrance                        States         9/11/01     NY (WTC)     03-cv-9849                 432, at P5388       Parent                      4023 at 16       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                             Page 80 of 170
                                                                                                             Case 1:03-md-01570-GBD-SN                                    Document 9716-2                                   Filed 04/23/24             Page 82 of 171
                                                                                                                                                                           EXHIBIT B-1
                                                                                                                                                        SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                             Claimant                                                                                 9/11 Decedent                                                                 Claim Information                                                  Solatium Damages




                                                                                                                         Nationality




                                                                                                                                                                                                           Nationality
                                                                                                                          on 9/11




                                                                                                                                                                                                            on 9/11
                                                                                                            Claimant                                                                                                       Date of                                            Amendments &                       Document
 #       First          Middle          Last    Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                              Suffix                                                                                                       Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             26, 29, at 3582,
                                                                                                                       United                                                                             United                                                             8393-1, at 980,
2095                                                     Jay               Wei             Lai                         States          Neil                 Kwong-Wah     Lai                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             26, 29, at 3582,
                                                                                                                       United                                                                             United                                                             8393-1, at 981,
2096                                                     Jean              Ya              Lai                         States          Neil                 Kwong-Wah     Lai                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2097                                                     Hui               Fen             Pan                         States          Neil                 Kwong-Wah     Lai                             States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3582    Spouse                      5087 at 12      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             232, at P3761,
                                                                                                                       United                                                                             United                                                             8393-1, at 25,
2098                                                     Linda                             Lalama                      States          Franco                             Lalama                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5087 at 12      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             232, at P3761,
                                                                                                                       United                                                                             United                                                             8393-1, at 391,
2099                                                     Katharine         Rose            Pereira                     States          Franco                             Lalama                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             232, at P3763,
                                                                                                                       United                                                                             United                                                             8393-1, at 150,
2100                                                     Alexander         Zhang           Lam                         States          Chow                 Kwan          Lam                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             232, at P3763,
                                                                                                                       United                                                                             United                                                             8393-1, at 9,
2101                                                     Amy               Zhang           Lam                         States          Chow                 Kwan          Lam                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5087 at 12      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             232, at P3763,
                                                                                                                       United                                                                             United                                                             8393-1, at 151,
2102                                                     Benjamin          Zhang           Lam                         States          Chow                 Kwan          Lam                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2103                                                     Chow              Leing           Lam                         States          Chow                 Kwan          Lam                             States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3764      Sibling                     5087 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2104                                                     Fong              P.              Lam                         States          Chow                 Kwan          Lam                             States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3762      Sibling                     5087 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2105                                                     Janet             Linda           Lane                        States          Robert               T.            Lane                            States         9/11/01     NY (Other)   03-cv-9849                 3, at 1317         Parent                      5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2106                                                     Jason             Mathew          Lane                        States          Robert               T.            Lane                            States         9/11/01     NY (Other)   03-cv-9849                 3, at 1318         Sibling                     5848 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2107                                                     Richard           Louis           Lane                        States          Robert               T.            Lane                            States         9/11/01     NY (Other)   03-cv-9849                 3, at 1316         Parent                      5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2108                                                     Suzanne           Renee           Stevenson                   States          Robert               T.            Lane                            States         9/11/01     NY (Other)   03-cv-9849                 3, at 1319         Sibling                     5848 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             305, at P4372,
                                                                                                                       United                                                                             United                                                             8393-1, at 6,
2109                                                     Sandra            Jean            Pangborn                    States          Brendan              Mark          Lang                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5087 at 12      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
2110                                                     Donna             Marsh           O'Connor                    Unknown         Vanessa              Lang          Langer                          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1321         Parent                      3666 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2111                                                     Albert            George          Chamberlain                 States          Michele              Bernadette    Lanza                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 334          Sibling                     4023 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                       United                                                                             United                                                             1, at 331, 8397-
2112 Susan       Gail             Chamberlain            Albert            Andrew          Chamberlain                 States          Michele              Bernadette    Lanza                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 5, 8433      Parent                      4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                       United                                                                             United                                                             1, at 330, 8397-
2113 Susan       Gail             Chamberlain            Ethel             R.              Chamberlain                 States          Michele              Bernadette    Lanza                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 5, 8433      Parent                      4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2114                                                     Susan             Gail            Chamberlain                 States          Michele              Bernadette    Lanza                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 332          Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             26, 29, at 2461,
                                                                                                                                                                                                                                                                             5284-1, at 7,
                                                                                                                       United                                                                             United                                                             5296, 8393-1, at
2115                                                     Nicholas          Joshua          Lanza                       States          Michele              Bernadette    Lanza                           States         9/11/01     NY (WTC)     03-cv-9849                 962, 8487          Child                       5087 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             26, 29, at 2461,
                                                                                                                       United                                                                             United                                                             5284-1, at 7,
2116                                                     Robert            Anthony         Lanza           Jr.         States          Michele              Bernadette    Lanza                           States         9/11/01     NY (WTC)     03-cv-9849                 5296               Spouse                      5061 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
2117                                                     Cynthia           Diane           Oricchio                    Unknown         Michele              Bernadette    Lanza                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 333          Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             305, at P4374,
                                                                                                                       United                                                                             United                                                             8393-1, at 44,
2118                                                     Carie             Anne            Lemack                      States          Judith               Camilla       Larocque                        States         9/11/01     NY (AA11)    03-cv-9849                 8487               Child                       4023 at 16      $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                                                 EXHIBIT B-1
                                                                                                                                                              SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                       Personal Representative                                                Claimant                                                                               9/11 Decedent                                                                   Claim Information                                                    Solatium Damages




                                                                                                                              Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                               on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                                 Claimant                                                                                                        Date of                                            Amendments &                        Document
 #        First         Middle                Last    Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                   Suffix                                                                                                        Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   305, at P4373,
                                                                                                                            United                                                                              United                                                             8393-1, at 44,
2119                                                           Danielle          Bette           Lemack                     States          Judith                Camilla       Larocque                        States         9/11/01     NY (AA11)    03-cv-9849                 8487                Child                       4023 at 16       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2120                                                           Jessica           Susan           Larrabee                   States          Christopher           R.            Larrabee                        States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3765       Sibling                     4023 at 16       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2121                                                           Paige             M.              Larrabee                   States          Christopher           R.            Larrabee                        States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3767       Sibling                     4023 at 16       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2122                                                           Scott             Michael         Larrabee                   States          Christopher           R.            Larrabee                        States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3768       Sibling                     4023 at 16       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P3769,
                                                                                                                            United                                                                              United                                                             8393-1, at 11,
2123                                                           Stephen           Randall         Larrabee                   States          Christopher           R.            Larrabee                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 16       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2124                                                           Nicole            Larrabee        Rodrigues                  States          Christopher           R.            Larrabee                        States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3766       Sibling                     4023 at 16       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2125                                                           Janet             Lu Anne         Satterfield                States          Christopher           R.            Larrabee                        States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3770       Parent                      4023 at 16       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   305, at P4375,
                                                                                                                            United                                                                              United                                                             8393-1, at 61,
2126                                                           Linda             Sue             LeBlanc                    States          Natalie               Janis         Lasden                          States         9/11/01     NY (AA11)    03-cv-9849                 8487                Sibling                     4023 at 16       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2127                                                           Barbara           Jean            Lasko                      States          Gary                  E.            Lasko                           States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4676       Parent                      3666 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   313, at P4675,
     Doreen;                                                                                                                United                                                                              United                                                             8397-1, at 15,
2128 Deborah                         Jurczyk; Lasko            Edward            R.              Lasko                      States          Gary                  E.            Lasko                           States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      4146 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2129                                                           Jennifer          Lynn            Halstead                   States          Paul                                Laszczynski                     States         9/11/01     NY (Other)   03-cv-9849                 155, at P2985       Child                       5848 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P2984,
                                                                                                                            United                                                                              United                                                             8393-1, at 64,
2130                                                           Amy               Melissa         Laszczynski                States          Paul                                Laszczynski                     States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:18-cv-11582,
                                                                                                                            United                                                                              United                                                             1, at 7; 8679-1,
2131                                                           Barbara           Ann             Laurencin                  States          Charles               Augustus      Laurencin                       States         9/11/01     NY (WTC)     03-cv-9849                 at 240, 8696        Spouse                      5087 at 12       $        12,500,000.00 $   37,500,000.00

                                                                                                                            United                                                                              United                                                             1:03-md-01570,
2132                                                           Jercienne                         Laurencin                  States          Charles               Augustus      Laurencin                       States         9/11/01     NY (WTC)     03-cv-9849                 432, at P5390       Child                       4023 at 16       $         8,500,000.00 $   25,500,000.00

                                                                                                 Laurencin-                 United                                                                              United                                                             1:03-md-01570,
2133                                                           Birther           Marie           Bannister                  States          Charles               Augustus      Laurencin                       States         9/11/01     NY (WTC)     03-cv-9849                 432, at P5389       Child                       4023 at 16       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:18-cv-11582,
                                                                                                                            United                                                                              United                                                             1, at 8; 8679-1,
2134                                                           Camille           Nicole          Martin                     States          Charles               Augustus      Laurencin                       States         9/11/01     NY (WTC)     03-cv-9849                 at 243, 8696        Child                       5951 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:18-cv-11582,
                                                                                                                            United                                                                              United                                                             1, at 13; 8679-1,
2135                                                           Francine          Michelle        Roman                      States          Charles               Augustus      Laurencin                       States         9/11/01     NY (WTC)     03-cv-9849                 at 242, 8696        Child                       5087 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:18-cv-11582,
2136                                                           Jacqueline        Yvonne          Steed                      States          Charles               Augustus      Laurencin                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 9             Step-Child                  5949 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2137                                                           Bernice           Maria           LaVache                    States          Maria                               LaVache                         States         9/11/01     NY (WTC)     03-cv-9849                 155, at P2987       Child                       4023 at 16       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P2988,
                                                                                                                                                                                                                United                                                             8397-1, at 15,
2138 Mary Jane                       LaVache                   Joseph            L.              LaVache                    Unknown         Maria                               LaVache                         States         9/11/01     NY (WTC)     03-cv-9849                 8433                Spouse                      5138 at 5        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P2989,
                                                                                                                            United                                                                              United                                                             8393-1, at 52,
2139                                                           Mary Jane                         LaVache                    States          Maria                               LaVache                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       4023 at 16       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2140                                                           Patricia                          Caloia                     States          Denis                               Lavelle                         States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4880       Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2141                                                           Barbara           Jean            Dziadek                    States          Denis                               Lavelle                         States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4881       Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   432, at P4878,
                                                                                                                                                                                                                United                                                             8397-1, at 15,
2142 Patricia                        Caloia                    Emily                             Lavelle                    Unknown         Denis                               Lavelle                         States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2143                                                           Kathleen          Cecelia         Palacio                    States          Denis                               Lavelle                         States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4879       Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2144 Thomas       A.                 LaVerde                   Dolores           Mary            LaVerde                    States          Jeannine                            LaVerde                         States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1324          Parent                      4023 at 16       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2145                                                           Thomas            A.              LaVerde                    States          Jeannine                            LaVerde                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2127     Sibling                     4023 at 16       $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                               Page 82 of 170
                                                                                                                Case 1:03-md-01570-GBD-SN                                 Document 9716-2                                   Filed 04/23/24             Page 84 of 171
                                                                                                                                                                           EXHIBIT B-1
                                                                                                                                                        SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                              Claimant                                                                              9/11 Decedent                                                                    Claim Information                                                   Solatium Damages




                                                                                                                         Nationality




                                                                                                                                                                                                           Nationality
                                                                                                                          on 9/11




                                                                                                                                                                                                            on 9/11
                                                                                                            Claimant                                                                                                       Date of                                            Amendments &                        Document
 #       First       Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                              Suffix                                                                                                       Death                                               Substitutions                        ation



                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                          United                                                             3, at 1324, 8393-
2146                                                    Christopher       Robert          Sodano                       Unknown         Jeannine                           LaVerde                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 522, 8487     Child                       5087 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             305, at P4378,
                                 Laverty-                                                                              United                                                                             United                                                             8397-1, at 15,
2147 Deena                       Castineira             Kevin             P.              Laverty                      States          Anna                 A.            Laverty                         States         9/11/01     NY (WTC)     03-cv-9849                 8433                Spouse                      5848 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             305, at P4377,
                                                                                          Laverty-                     United                                                                             United                                                             8393-1, at 3,
2148                                                    Deena                             Castineira                   States          Anna                 A.            Laverty                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5356 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
2149                                                    Elizabeth         E. Lawrence     Andersen                     Unknown         Robert               A.            Lawrence            Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1330          Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                       United                                                                             United                                                             3, at 1329, 8397-
2150 Suzanne     Burns           Lawrence               Eileen                            Lawrence                     States          Robert               A.            Lawrence            Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 15, 8433      Parent                      5087 at 12      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                       United                                                                             United                                                             3, at 1328, 8397-
2151 Suzanne     Burns           Lawrence               Robert            A.              Lawrence        Sr.          States          Robert               A.            Lawrence            Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 15, 8433      Parent                      5087 at 12      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                       United                                                                             United                                                             3, at 1327, 8393-
2152                                                    Robert            Appleton        Lawrence        III          States          Robert               A.            Lawrence            Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1132, 8487    Child                       5087 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2153                                                    Suzanne           Burns           Lawrence                     States          Robert               A.            Lawrence            Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1327          Spouse                      5061 at 8       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                       United                                                                             United                                                             3, at 1327, 8393-
2154                                                    Toland            Curry           Lawrence                     States          Robert               A.            Lawrence            Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1133, 8487    Child                       5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2155                                                    Walter            Edwards         Lawrence                     States          Robert               A.            Lawrence            Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2129     Sibling                     5087 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                     VA                                      313, at P4683,
                                                                                                                       United                                                                             United                     (Pentagon                               8393-1, at 266,
2156                                                    Jennifer          Lauren          Laychak                      States          David                William       Laychak                         States         9/11/01     )            03-cv-9849                 8487                Child                       5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                     VA                                      313, at P4683,
                                                                                                                       United                                                                             United                     (Pentagon                               8393-1, at 17,
2157                                                    Laurie            Miller          Laychak                      States          David                William       Laychak                         States         9/11/01     )            03-cv-9849                 8487                Spouse                      5848 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                     VA                                      313, at P4683,
                                                                                                                       United                                                                             United                     (Pentagon                               8393-1, at 267,
2158                                                    Zachary           David           Laychak                      States          David                William       Laychak                         States 9/11/01             )            03-cv-9849                 8487                Child                       5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             Unknow                                                             1:02-cv-01616,
2159                                                    Denise            L.              Henick                       States          James                P.            Leahy                           n      9/11/01             NY (Other)   03-cv-9849                 26, 29, at 3610     Sibling                     4023 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             Unknow                                                             1:02-cv-01616,
2160                                                    Arthur            Charles         Leahy           III          States          James                P.            Leahy                           n      9/11/01             NY (Other)   03-cv-9849                 3, at 1332          Sibling                     4023 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             Unknow                                                             1:02-cv-01616,
2161                                                    Jeanette          Elizabeth       Leahy                        States          James                P.            Leahy                           n      9/11/01             NY (Other)   03-cv-9849                 26, 29, at 3609     Parent                      5062 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             Unknow                                                             1:02-cv-01616,
2162                                                    Michele           E.              Safatle                      States          James                P.            Leahy                           n      9/11/01             NY (Other)   03-cv-9849                 26, 29, at 3612     Sibling                     4023 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             Unknow                                                             1:02-cv-01616,
2163                                                    Danielle          Ann             Vella                        States          James                P.            Leahy                           n      9/11/01             NY (Other)   03-cv-9849                 26, 29, at 3611     Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United          Joseph               Gerard        Leavey                          United                     NY (Other)                              8679-1, at 245,
2164                                                    Kerri                             Kelly                        States                                                                             States 9/11/01                          03-cv-9849                 8696                Step-Child                  5951 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                       United                                                                             United                                                             HAND FILED, at
2165                                                    Brian             Michael         Leavey                       States          Joseph               Gerard        Leavey                          States         9/11/01     NY (Other)   03-cv-9849                 P5146               Child                       5087 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                                                                                                                                                                             HAND FILED, at
                                                                                                                       United                                                                             United                                                             P5145, 8393-1,
2166                                                    Caitlin           Alexandra       Leavey                       States          Joseph               Gerard        Leavey                          States         9/11/01     NY (Other)   03-cv-9849                 at 658, 8487        Child                       5087 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                                                                                                                                                                             HAND FILED, at
                                                                                                                       United                                                                             United                                                             P5145, 8393-1,
2167                                                    Carole            Jeanne          Leavey                       States          Joseph               Gerard        Leavey                          States         9/11/01     NY (Other)   03-cv-9849                 at 41, 8487         Spouse                      5087 at 12      $        12,500,000.00 $   37,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2168                                                    Ann               I.              Leavy                        States          Neil                 J.            Leavy                           States         9/11/01     NY (Other)   03-cv-9849                 3, at 1335          Parent                      4023 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
2169                                                    John              P.              Leavy                        Unknown         Neil                 J.            Leavy                           States         9/11/01     NY (Other)   03-cv-9849                 3, at 1336          Parent                      4023 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                             1:02-cv-01616,
2170                                                    Mark              Joseph          Leavy                        States          Neil                 J.            Leavy                           States         9/11/01     NY (Other)   03-cv-9849                 3, at 1337          Sibling                     4023 at 16      $         4,250,000.00 $   12,750,000.00




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                                                                                                                 Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                 Filed 04/23/24             Page 85 of 171
                                                                                                                                                                                 EXHIBIT B-1
                                                                                                                                                              SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                          Personal Representative                                             Claimant                                                                                9/11 Decedent                                                                Claim Information                                                   Solatium Damages




                                                                                                                              Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                               on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                                 Claimant                                                                                                      Date of                                            Amendments &                        Document
 #          First           Middle            Last    Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle         Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                   Suffix                                                                                                      Death                                               Substitutions                        ation



                                                                                                                                                                                                                                                                                 1:02-cv-01616,
     Barbara;       Margaret;           Wentworth;                                                                          United                                                                            United                                                             3, at 1347, 8397-
2171 Thomas         Michael             Greene                 Joan                              Greene                     States          Lorraine                            Lee                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 11, 8433      Parent                      5062 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                            United                                                             1:02-cv-01616,
2172                                                           Terence           Joseph          Greene                     States          Lorraine                            Lee                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1349          Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                            United                                                             1:02-cv-01616,
2173                                                           Thomas            Michael         Greene                     States          Lorraine                            Lee                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1350          Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                            United                                                                            United                                                             3, at 1348, 8397-
2174 William        Louis               Meyerriecks            Timothy           R.              Greene                     States          Lorraine                            Lee                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 11, 8433      Sibling                     5061 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                            United                                                             1:02-cv-01616,
2175                                                           Anthony           Scott           Johnson                    States          Juanita                             Lee                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1341          Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                            United                                                             1:02-cv-01616,
2176                                                           Geneva                            Johnson                    States          Juanita                             Lee                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1339          Parent                      3666 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                            United                                                             1:02-cv-01616,
2177                                                           Janet             Lee             Johnson                    States          Juanita                             Lee                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1343          Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 432, at AP289,
                                                                                                                            United                                                                            United                                                             8393-1, at 231,
2178                                                           Amanda            Beth            Lee                        States          Daniel                John          Lee                           States         9/11/01     NY (AA11)    03-cv-9849                 8487                Child                       7188 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 4802,
                                                                                                                            United                                                                            United                                                             5284-1, at 7,
2179                                                           Angela            F.              Lee                        States          David                 S.            Lee                           States         9/11/01     NY (WTC)     03-cv-9849                 5296                Spouse                      5087 at 12      $        12,500,000.00 $   37,500,000.00
                                                                                                                            United                                                                            United                                                             1:02-cv-01616,
2180                                                           Hyong             O.              Lee                        States          Linda                 C.            Lee                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3620     Parent                      4023 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 432, at AP289,
                                                                                                                                                                                                                                                                                 5284-1, at 7,
                                                                                                                            United                                                                            United                                                             5296, 8393-1, at
2181                                                           Kellie                            Lee                        States          Daniel                John          Lee                           States         9/11/01     NY (AA11)    03-cv-9849                 14, 8487            Spouse                      5061 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                            United                                                                            United                                                             1:02-cv-01616,
2182                                                           Myong             H.              Lee                        States          Linda                 C.            Lee                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3619     Parent                      4023 at 16      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 4802,
                                                                                                                                                                                                                                                                                 5284-1, at 7,
                                                                                                                            United                                                                            United                                                             5296, 8393-1, at
2183                                                           Ryan              David           Lee                        States          David                 S.            Lee                           States         9/11/01     NY (WTC)     03-cv-9849                 263, 8487           Child                       5087 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                            United                                                             1:02-cv-01616,
2184                                                           Patricia          Marie           Reilly                     States          Lorraine                            Lee                           States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1352          Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 432, at AP289,
                                                                                                                            United                                                                            United                                                             8393-1, at 230,
2185                                                           Allison           Danielle        Roper                      States          Daniel                John          Lee                           States 9/11/01             NY (AA11)    03-cv-9849                 8487                Child                       5087 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                            United                                                             1:02-cv-01616,
2186                                                           Shirley           Ann             Walker                     States          Juanita                             Lee                           States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1345          Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                            United                                                             1:02-cv-01616,
2187                                                           Barbara           Margaret        Wentworth                  States          Lorraine                            Lee                           States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1351          Sibling                     4023 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                            United                                                             1:02-cv-01616,
2188                                                           Nichole                           Williams                   States          Juanita                             Lee                           States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1340          Child                       4023 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                            United                                                             1:02-cv-01616,
2189                                                           Cheryl            Renee           Witherspoon                States          Juanita                             Lee                           States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1344          Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                            Unknow                                                             1:02-cv-01616,
2190                                                           Daniel            Jay             Lefkowitz                  States          Stephen               Paul          Lefkowitz                     n      9/11/01             NY (WTC)     03-cv-9849                 155, at P2990       Sibling                     4023 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 155, at P2991,
                                                                                                                            United                                                                            Unknow                                                             8397-1, at 15,
2191 Daniel         Jay                 Lefkowitz              Lillian                           Lefkowitz                  States          Stephen               Paul          Lefkowitz                     n      9/11/01             NY (WTC)     03-cv-9849                 8433                Parent                      4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 155, at P2992,
                                                                                                                            United                                                                            Unknow                                                             8397-1, at 15,
2192 Daniel         Jay                 Lefkowitz              Rubin                             Lefkowitz                  States          Stephen               Paul          Lefkowitz                     n      9/11/01             NY (WTC)     03-cv-9849                 8433                Parent                      4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3771,
                                                                                                                            United                                                                            United                                                             8393-1, at 16,
2193                                                           Magaly            Jane            Lemagne                    States          David                 Prudencio     Lemagne                       States         9/11/01     NY (Other)   03-cv-9849                 8487                Sibling                     4023 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3772,
                                                                                                                                                                                                              United                                                             8397-1, at 16,
2194 Ruth           Myriam              Lemagne                Prudencio                         Lemagne                    CUBA            David                 Prudencio     Lemagne                       States         9/11/01     NY (Other)   03-cv-9849                 8433                Parent                      4023 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                            United                                                             1:02-cv-01616,
2195                                                           Ruth              Myriam          Lemagne                    States          David                 Prudencio     Lemagne                       States         9/11/01     NY (Other)   03-cv-9849                 232, at P3773       Parent                      4023 at 16      $         8,500,000.00 $   25,500,000.00




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                                                                                                                 Case 1:03-md-01570-GBD-SN                                    Document 9716-2                                   Filed 04/23/24             Page 86 of 171
                                                                                                                                                                               EXHIBIT B-1
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                       Personal Representative                                              Claimant                                                                                 9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                             Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                              on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                                Claimant                                                                                                       Date of                                            Amendments &                        Document
 #        First         Middle               Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                  Suffix                                                                                                       Death                                               Substitutions                        ation

                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2196                                                         Suzanne           Lenihan         Faulkner                    States          Joseph               A.            Lenihan                         States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4384       Sibling                     4023 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3774,
                                                                                                                           United                                                                             United                                                             8397-1, at 16,
2197 David                           Lenihan                 Ann               K.              Lenihan                     States          Joseph               A.            Lenihan                         States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2198                                                         John              Joseph          Lenihan                     States          Joseph               A.            Lenihan                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3775       Sibling                     4023 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2199                                                         Nancy             Lennon          Frain                       States          John                 J.            Lennon              Jr.         States         9/11/01     NY (Other)   03-cv-9849                 155, at P2993       Sibling                     4126 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2200                                                         James             Louis           Lennon                      States          John                 J.            Lennon              Jr.         States         9/11/01     NY (Other)   03-cv-9849                 155, at P2994       Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 155, at P2995,
                                                                                                                           United                                                                             United                                                             8397-1, at 16,
2201 Lucille                         Lennon                  John              J.              Lennon          Sr.         States          John                 J.            Lennon              Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8433                Parent                      5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2202                                                         Lucille                           Lennon                      States          John                 J.            Lennon              Jr.         States         9/11/01     NY (Other)   03-cv-9849                 155, at P2996       Parent                      4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 155, at P2998,
                                                                                                                           United                                                                             United                                                             8393-1, at 37,
2203                                                         Jennifer          Ann             Levi                        States          John                 Dennis        Levi                            States 9/11/01             NY (Other)   03-cv-9849                 8487                Child                       4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             Unknow                                                             1:02-cv-01616,
2204                                                         Charles           Jay             Lewin                       States          Daniel                             Lewin                           n      9/11/01             NY (AA11)    03-cv-9849                 232, at P3782       Parent                      3666 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             Unknow                                                             1:02-cv-01616,
2205                                                         Jonathan          Aaron           Lewin                       States          Daniel                             Lewin                           n      9/11/01             NY (AA11)    03-cv-9849                 232, at P3783       Sibling                     4126 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             Unknow                                                             1:02-cv-01616,
2206                                                         Michael           Noah            Lewin                       States          Daniel                             Lewin                           n      9/11/01             NY (AA11)    03-cv-9849                 232, at P3784       Sibling                     5087 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             Unknow                                                             1:02-cv-01616,
2207                                                         Peggy             Sue             Lewin                       States          Daniel                             Lewin                           n      9/11/01             NY (AA11)    03-cv-9849                 232, at P3785       Parent                      3666 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:03-cv-9849,
                                                                                                                                                                                                                                                                                 HAND FILED, at
                                                                                                                           United                                                                             United                                                             P5148, 8393-1,
2208                                                         Dolores           Marie           Libretti                    States          Daniel                             Libretti                        States         9/11/01     NY (Other)   03-cv-9849                 at 14, 8487         Spouse                      5848 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
2209                                                         Joseph                            Libretti                    Unknown         Daniel                             Libretti                        States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3631     Sibling                     4126 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2210                                                         Anthony           Mark            Licciardi                   States          Ralph                Michael       Licciardi                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1356          Sibling                     4023 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:03-md-01570,
                                                                                                                                                                                                                                                                                 3477, at 2081;
                                                                                                                           United                                                                             United                                                             8679-1, at 248,
2211                                                         Jennifer          Dawn            Licciardi                   States          Ralph                Michael       Licciardi                       States         9/11/01     NY (WTC)     03-cv-9849                 8696                Spouse                      5061 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:03-cv-09849,
                                                                                                                           United                                                                             United                                                             841, at 7; 8679-
2212                                                         Jo-Ann                            Licciardi                   States          Ralph                Michael       Licciardi                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 247, 8696     Parent                      5104 at 4       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                 1:03-md-01570,
                                                                                                                                                                                                                                                                                 3477, at 2081,
                                                                                                                                                                                                                                                                                 4311,Exh.A
                                                                                                                           United                                                                             United                                                             Pg.13; 8679-1, at
2213                                                         Michael           Sebastian       Licciardi                   States          Ralph                Michael       Licciardi                       States         9/11/01     NY (WTC)     03-cv-9849                 246, 8696           Child                       5061 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:03-md-01570,
                                                                                                                                                                                                                                                                                 3477, at 2082;
                                                                                                                           United                                                                             United                                                             8679-1, at 250,
2214                                                         Ralph             Rocco           Licciardi                   States          Ralph                Michael       Licciardi                       States         9/11/01     NY (WTC)     03-cv-9849                 8696                Child                       5061 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 3635,
                                                                                                                           United                                                                             United                                                             8397-1, at 16,
2215 Jo-Ann                          Licciardi               Sebastiano                        Licciardi                   States          Ralph                Michael       Licciardi                       States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2216                                                         Carmel-Ann                        Sullivan                    States          Ralph                Michael       Licciardi                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3636     Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             United                                                             8679-1, at 252,
2217                                                         Vera                              Glatt                       States          Edward                             Lichtschein                     States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             United                                                             8679-1, at 251,
2218                                                         Margit                            Lichtschein                 States          Edward                             Lichtschein                     States         9/11/01     NY (WTC)     03-cv-9849                 8696                Parent                      7188 at 10      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                           United                                                                             United                                                             3, at 1775, 5284-
2219                                                         Mark              Irving          Lichtschein                 States          Edward                             Lichtschein                     States 9/11/01             NY (WTC)     03-cv-9849                 1, at 7, 5296       Sibling                     4023 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             Unknow                                                             1:02-cv-01616,
2220                                                         Mindi             A.              Cohen                       States          Steven               Barry         Lillianthal                     n      9/11/01             NY (WTC)     03-cv-9849                 1, at 344           Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                           United                                                                             Unknow                                                             1, at 343, 8397-
2221 Mindi        A.                 Cohen                   Marcia                            Lillianthal                 States          Steven               Barry         Lillianthal                     n      9/11/01             NY (WTC)     03-cv-9849                 1, at 16, 8433      Parent                      5062 at 5       $         8,500,000.00 $   25,500,000.00




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                                                                                                                   Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                    Filed 04/23/24            Page 87 of 171
                                                                                                                                                                                  EXHIBIT B-1
                                                                                                                                                               SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                          Personal Representative                                               Claimant                                                                               9/11 Decedent                                                                  Claim Information                                                  Solatium Damages




                                                                                                                                Nationality




                                                                                                                                                                                                                   Nationality
                                                                                                                                 on 9/11




                                                                                                                                                                                                                    on 9/11
                                                                                                                   Claimant                                                                                                        Date of                                           Amendments &                       Document
 #           First         Middle                Last   Suffix    Claimant First   Claimant Middle Claimant Last                                       First            Middle            Last          Suffix                               9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                     Suffix                                                                                                        Death                                              Substitutions                       ation

                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                              United                                                                              Unknow                                                            1, at 342, 8397-
2222 Mindi           A.                 Cohen                    Sherman                           Lillianthal                States          Steven               Barry         Lillianthal                      n      9/11/01             NY (WTC)    03-cv-9849                 1, at 16, 8433     Parent                      5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                              United                                                            1:02-cv-01616,
2223                                                             Caroline                          Lilore                     States          Craig                Damian        Lilore                           States 9/11/01             NY (WTC)    03-cv-9849                 26, 29, at 3639    Spouse                      5087 at 12      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    232, at P3786,
                                                                                                                              United                                                                                                                                                8393-1, at 86,
2224                                                             Se                Jua             Au                         States          Wei Rong                           Lin                              China          9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5087 at 12      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    232, at P3786,
                                                                                                                              United                                                                                                                                                8393-1, at 1393,
2225                                                             Karoline          Yu Zheng        Lin                        States          Wei Rong                           Lin                              China          9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    232, at P3786,
                                                                                                                              United                                                                                                                                                8393-1, at 1394,
2226                                                             Katherine         Xue Xiao        Lin                        States          Wei Rong                           Lin                              China          9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                                                                                                1:02-cv-01616,
2227                                                             Zeng              Lu              Lin                        States          Wei Rong                           Lin                              China          9/11/01     NY (WTC)    03-cv-9849                 232, at P3788      Parent                      5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                              United                                                            1:02-cv-01616,
2228                                                             Carol             Ann             Linehan                    States          Thomas               V.            Linehan              Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 3642    Spouse                      5356 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 3642,
                                                                                                                              United                                                                              United                                                            8393-1, at 1318,
2229                                                             Melissa           Jane            Linehan                    States          Thomas               V.            Linehan              Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 3642,
                                                                                                                              United                                                                              United                                                            8393-1, at 1319,
2230                                                             Thomas            Benjamin        Linehan                    States          Thomas               V.            Linehan              Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                              United                                                            1:02-cv-01616,
2231                                                             Laura             Renee           Anspach                    States          Alan                 Patrick       Linton               Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 155, at P2999      Sibling                     5848 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    155, at P3000,
                                                                                                                              United                                                                              United                                                            8393-1, at 1,
2232                                                             Alan              Patrick         Linton                     States          Alan                 Patrick       Linton               Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Parent                      5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                              United                                                            1:02-cv-01616,
2233                                                             Scott             P.              Linton                     States          Alan                 Patrick       Linton               Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 155, at P3001      Sibling                     5848 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                              United                                                            1:02-cv-01616,
2234                                                             Sharon            L.              Linton                     States          Alan                 Patrick       Linton               Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 155, at P3002      Parent                      5848 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                                                                                                                    HAND FILED, at
                                                                                                                              United                                                                              United                                                            P5153, 8393-1,
2235                                                             Francesca         Ariana          Liriano                    States          Francisco            Alberto       Liriano                          States         9/11/01     NY (WTC)    03-cv-9849                 at 390, 8487       Child                       5356 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                                                                                                                    HAND FILED, at
                                                                                                                              United                                                                              United                                                            P5153, 8393-1,
2236                                                             Seelochini                        Liriano                    States          Francisco            Alberto       Liriano                          States         9/11/01     NY (WTC)    03-cv-9849                 at 25, 8487        Spouse                      5356 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    305, at P4387,
                                                                                                                              United                                                                              United                                                            8393-1, at 967,
2237                                                             Allen             H.              Liu                        States          Ming-Hao                           Liu                              States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    305, at P4387,
                                                                                                                              United                                                                              United                                                            8393-1, at 968,
2238                                                             Austin            H.              Liu                        States          Ming-Hao                           Liu                              States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    305, at P4387,
                                                                                                                              United                                                                              United                                                            8393-1, at 60,
2239                                                             Jiun-Min          H.              Liu                        States          Ming-Hao                           Liu                              States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5087 at 12      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    305, at AP258,
                                                                                                                              United                                                                              United                                                            5284-1, at 7,
2240                                                             Susan             Julia           Lauria                     States          Martin                             Lizzul                           States         9/11/01     NY (WTC)    03-cv-9849                 5296               Sibling                     3666 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                              United                                                            1:02-cv-01616,
2241                                                             Dana              Mary            Lizzul                     States          Martin                             Lizzul                           States         9/11/01     NY (WTC)    03-cv-9849                 305, at AP259      Sibling                     4126 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    305, at AP257,
                                                                                                                              United                                                                              United                                                            5284-1, at 7,
2242                                                             Julia             Ann             Lizzul                     States          Martin                             Lizzul                           States         9/11/01     NY (WTC)    03-cv-9849                 5296               Parent                      3666 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    305, at P4388,
                                                                                                                              United                                                                              United                                                            8397-1, at 16,
2243 Julia           Ann                Lizzul                   Leopold           Victor          Lizzul                     States          Martin                             Lizzul                           States         9/11/01     NY (WTC)    03-cv-9849                 8433               Parent                      5138 at 5       $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                                            EXHIBIT B-1
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                               Claimant                                                                                  9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                          Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                           on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                             Claimant                                                                                                          Date of                                           Amendments &                       Document
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                                                                                                               Suffix                                                                                                          Death                                              Substitutions                       ation

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                305, at AP256,
                                                                                                                        United                                                                                United                                                            8393-1, at 53,
2244                                                       Jean              Lucido          Prisco                     States          Martin                               Lizzul                           States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5848 at 6        $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                                United                                                            1:02-cv-01616,
2245                                                       Douglas           C.              Cleary                     States          Elizabeth            C.              Logler                           States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4389      Spouse                      5951 at 7        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3791,
                                                                                                                                                                                                                                                                                8393-1, at 23,
                                                                                                                        United                                                                                United                                                            8487, 8397-1, at
2246 Claire                       Logler                   Robert            Francis         Logler                     States          Elizabeth            C.              Logler                           States         9/11/01     NY (WTC)    03-cv-9849                 16, 8433           Parent                      4023 at 16       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3792,
                                                                                                                                                                                                                                                                                8393-1, at 8,
                                                                                                                        United                                                                                United                                                            8487, 8397-1, at
2247 Michael                      LoGuidice                Carmelo                           LoGuidice                  States          Catherine            Lisa            LoGuidice                        States         9/11/01     NY (WTC)    03-cv-9849                 16, 8433           Parent                      3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3793,
                                                                                                                        United                                                                                United                                                            8393-1, at 8,
2248                                                       Catherine                         Masak                      States          Catherine            Lisa            LoGuidice                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Parent                      4023 at 16       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:03-cv-09849,
                                                                                                                        United                                                                                United                                                            841, at 8; 8679-
2249                                                       Rosanne           L.              Spirito                    States          Catherine            Lisa            LoGuidice                        States         9/11/01     NY (WTC)    03-cv-9849                 1, at 253, 8696    Sibling                     4126 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                         VA
                                                                                                                        United                                                                                United                     (Pentagon                              1:02-cv-01616,
2250                                                       Nancy             Ann             Burcham                    States          Stephen              V.              Long                             States         9/11/01     )           03-cv-9849                 3, at 1365         Sibling                     4023 at 17       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                         VA
                                                                                                                        United                                                                                United                     (Pentagon                              1:02-cv-01616,
2251                                                       Cynthia           Sue             Long                       States          Stephen              V.              Long                             States         9/11/01     )           03-cv-9849                 3, at 1364         Sibling                     5087 at 13       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                         VA
                                                                                                                        United                                                                                United                     (Pentagon                              1:02-cv-01616,
2252                                                       George            Thomas          Long                       States          Stephen              V.              Long                             States         9/11/01     )           03-cv-9849                 3, at 1360         Parent                      4126 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                         VA
                                                                                                                        United                                                                                United                     (Pentagon                              1:02-cv-01616,
2253                                                       George            W.              Long                       States          Stephen              V.              Long                             States         9/11/01     )           03-cv-9849                 3, at 1363         Sibling                     4126 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                         VA
                                                                                                                        United                                                                                United                     (Pentagon                              1:02-cv-01616,
2254                                                       Tina              Roberson        Yarrow                     States          Stephen              V.              Long                             States         9/11/01     )           03-cv-9849                 26, 29, at 2463    Spouse                      5061 at 8        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3794,
                                                                                                                        United                                                                                United                                                            8393-1, at 770,
2255                                                       Bryan             C.              Longing                    States          Laura                M.              Longing                          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5061 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3794,
                                                                                                                        United                                                                                United                                                            8393-1, at 48,
2256                                                       Christopher                       Longing                    States          Laura                M.              Longing                          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5061 at 9        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3794,
                                                                                                                        United                                                                                United                                                            8393-1, at 769,
2257                                                       William           A.              Longing                    States          Laura                M.              Longing                          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5061 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                United                                                            1:02-cv-01616,
2258                                                       Anne              Maria           Pettus                     States          Laura                M.              Longing                          States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3795      Parent                      3666 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                            1:02-cv-01616,
2259                                                       Keith             Brian           Pettus                     Unknown         Laura                M.              Longing                          States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4390      Sibling                     3666 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3796,
                                                                                                                        United                                                                                United                                                            8397-1, at 23,
2260 Anne         Maria           Pettus                   Kevin             Russell         Pettus                     States          Laura                M.              Longing                          States         9/11/01     NY (WTC)    03-cv-9849                 8433               Parent                      3666 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                United                                                            8679-1, at 254,
2261                                                       Margaret          Anne            Pettus                     States          Laura                M.              Longing                          States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     5087 at 13       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                United                     NY                                     8679-1, at 261,
2262                                                       Cindy             Lou             Carlson                    States          Maclovio                             Lopez                Jr.         States         9/11/01     (UA175)     03-cv-9849                 8696               Sibling                     5848 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                313, at P4689,
                                                                                                                        United                                                                                United                                                            8393-1, at 15,
2263                                                       Elizabeth                         Davila-Lopez               States          Daniel                               Lopez                            States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      7188 at 10       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                              United                     NY                                     8679-1, at 260,
2264                                                       Dannette          Nicole          Fortin                     Unknown         Maclovio                             Lopez                Jr.         States         9/11/01     (UA175)     03-cv-9849                 8696               Child                       5061 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                313, at P4689,
                                                                                                                        United                                                                                United                                                            8393-1, at 233,
2265                                                       Brittany          Dani            Lopez                      States          Daniel                               Lopez                            States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       7188 at 10       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                United                                                            8679-1, at 255,
2266                                                       Daniel            Jeremy          Lopez                      States          Daniel                               Lopez                            States         9/11/01     NY (WTC)    03-cv-9849                 8696               Child                       7188 at 10       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                United                     NY                                     8679-1, at 258,
2267                                                       Francisco         Miguel          Lopez                      States          Maclovio                             Lopez                Jr.         States         9/11/01     (UA175)     03-cv-9849                 8696               Sibling                     5848 at 7        $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                             Page 87 of 170
                                                                                                            Case 1:03-md-01570-GBD-SN                                   Document 9716-2                                   Filed 04/23/24             Page 89 of 171
                                                                                                                                                                          EXHIBIT B-1
                                                                                                                                                       SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                 Personal Representative                                               Claimant                                                                               9/11 Decedent                                                                  Claim Information                                                   Solatium Damages




                                                                                                                        Nationality




                                                                                                                                                                                                         Nationality
                                                                                                                         on 9/11




                                                                                                                                                                                                          on 9/11
                                                                                                           Claimant                                                                                                      Date of                                            Amendments &                       Document
 #       First    Middle                Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First           Middle           Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award             Amount            Treble          Notes
                                                                                                             Suffix                                                                                                      Death                                               Substitutions                       ation

                                                                                                                                                                                                        United                     NY                                      8679-1, at 263,
2268                                                    John              Martin          Lopez                       Unknown         Maclovio                          Lopez               Jr.         States         9/11/01     (UA175)      03-cv-9849                 8696               Sibling                     7188 at 10       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                        United                     NY                                      8679-1, at 256,
2269                                                    Joseph            Juaquin         Lopez                       Unknown         Maclovio                          Lopez               Jr.         States         9/11/01     (UA175)      03-cv-9849                 8696               Parent                      5848 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                     NY                                      8679-1, at 264,
2270                                                    Martha                            Lopez                       States          Maclovio                          Lopez               Jr.         States         9/11/01     (UA175)      03-cv-9849                 8696               Child                       5061 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                        United                     NY                                      8679-1, at 262,
2271                                                    Susie             Levet           Lopez                       Unknown         Maclovio                          Lopez               Jr.         States         9/11/01     (UA175)      03-cv-9849                 8696               Sibling                     5848 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:03-cv-9849,
                                                                                                                                                                                                                                                                           HAND FILED, at
                                                                                                                      United                                                                            United                     NY                                      P5154, 8393-1,
2272                                                    Rhonda            Lyn             Lopez-Manley                States          Maclovio                          Lopez               Jr.         States         9/11/01     (UA175)      03-cv-9849                 at 51, 8487        Spouse                      5062 at 5        $        12,500,000.00 $   37,500,000.00
                                                                                                                      United                                                                            United                     NY                                      8679-1, at 259,
2273                                                    Rosa              Maria           Ramirez                     States          Maclovio                          Lopez               Jr.         States         9/11/01     (UA175)      03-cv-9849                 8696               Sibling                     5848 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                     NY                                      8679-1, at 257,
2274                                                    Libbet            Ann             Ward                        States          Maclovio                          Lopez               Jr.         States         9/11/01     (UA175)      03-cv-9849                 8696               Sibling                     5848 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2275                                                    James                             Lovero                      States          Joseph                            Lovero                          States         9/11/01     NY (Other)   03-cv-9849                 3, at 1370         Child                       4023 at 17       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2276                                                    Maxine            Elizabeth       McCormack                   States          Joseph                            Lovero                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2134    Child                       4023 at 17       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2277                                                    Bobbie            Jean            Low                         States          Sara                 Elizabeth    Low                             States         9/11/01     NY (AA11)    03-cv-9849                 1, at 351          Parent                      4023 at 17       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2278                                                    Gary              Michael         Low                         States          Sara                 Elizabeth    Low                             States         9/11/01     NY (AA11)    03-cv-9849                 1, at 349          Parent                      4023 at 17       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2279                                                    Rebecca           Alyson          Low                         States          Sara                 Elizabeth    Low                             States         9/11/01     NY (AA11)    03-cv-9849                 1, at 350          Sibling                     4023 at 17       $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2280                                                    Ashley            Michelle        Czak                        States          Lee                  Charles      Ludwig                          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1379         Child                       5356 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2281                                                    Christopher       Lee             Ludwig                      States          Lee                  Charles      Ludwig                          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1378         Child                       5848 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
2282                                                    Lawrence          Andrews         Ludwig                      Unknown         Lee                  Charles      Ludwig                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3660    Sibling                     3666 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2283                                                    Louis             Henry           Ludwig          Jr.         States          Lee                  Charles      Ludwig                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3661    Sibling                     3666 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 3659,
                                                                                                                      United                                                                            United                                                             8397-1, at 16,
2284 Luann                     Martin                   Louis             H.              Ludwig          Sr.         States          Lee                  Charles      Ludwig                          States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      5138 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2285                                                    Michelle                          Ludwig                      States          Lee                  Charles      Ludwig                          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1377         Spouse                      5087 at 13       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
2286                                                    Luann                             Martin                      Unknown         Lee                  Charles      Ludwig                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3662    Sibling                     3666 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2287                                                    John              Claude          Lugano                      States          Sean                 Thomas       Lugano                          States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3003      Sibling                     4126 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                                                             8679-1, at 265,
2288                                                    Kristen           Marie           Lugano                      States          Sean                 Thomas       Lugano                          States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 10       $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2289                                                    Michael                           Lugano                      States          Sean                 Thomas       Lugano                          States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3004      Sibling                     5848 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2290                                                    Stephanie         Anne            McCuin                      States          Sean                 Thomas       Lugano                          States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3005      Sibling                     5848 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           232, at P4067,
                                                                                                                      United                                                                            United                                                             8393-1, at 52,
2291                                                    Marie                             Lukas                       States          Marie                             Lukas                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      4023 at 17       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2292                                                    David             Owen            Lunder                      States          Christopher          Edmund       Lunder                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3669    Sibling                     3666 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
2293                                                    Edmund                            Lunder                      Unknown         Christopher          Edmund       Lunder                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3667    Parent                      3666 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           232, at P3797,
                                                                                                                                                                                                        United                                                             8393-1, at 10,
2294                                                    Karen             B.              Lunder                      Unknown         Christopher          Edmund       Lunder                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      3382             $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
2295                                                    Maureen           S.              Lunder                      Unknown         Christopher          Edmund       Lunder                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3668    Parent                      3666 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             8679-1, at 266,
2296                                                    Robert            J.              Lunder                      States          Christopher          Edmund       Lunder                          States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 13       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
2297                                                    Rosemary                          Sercia                      Unknown         Christopher          Edmund       Lunder                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3670    Sibling                     3666 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2298                                                    Geraldine                         Canillas                    States          Anthony                           Luparello                       States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3798      Child                       4023 at 17       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2299                                                    Maria                             Lipari                      States          Anthony                           Luparello                       States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3799      Child                       4023 at 17       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2300                                                    Anthony                           Luparello       Jr.         States          Anthony                           Luparello                       States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3800      Child                       4023 at 17       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                       Page 88 of 170
                                                                                                                 Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                      Filed 04/23/24             Page 90 of 171
                                                                                                                                                                                EXHIBIT B-1
                                                                                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                                 Claimant                                                                                   9/11 Decedent                                                                   Claim Information                                                  Solatium Damages




                                                                                                                             Nationality




                                                                                                                                                                                                                   Nationality
                                                                                                                              on 9/11




                                                                                                                                                                                                                    on 9/11
                                                                                                                Claimant                                                                                                           Date of                                            Amendments &                       Document
 #       First          Middle             Last     Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last              Suffix                              9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                  Suffix                                                                                                           Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     232, at P3801,
                                                                                                                           United                                                                                 United                                                             8393-1, at 4,
2301                                                         Geraldine                         Luparello                   States          Anthony                             Luparello                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5061 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                           United                                                                                 United                                                             1:02-cv-01616,
2302                                                         Edith             Marie           Lutnick                     States          Gary                  Frederick     Lutnick             III            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3802      Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     232, at P3803,
                                                                                                                           United                                                                                 United                                                             8393-1, at 26,
2303                                                         Howard            William         Lutnick                     States          Gary                  Frederick     Lutnick             III            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                           United                                                                                 United                                                             1, at 353, 8393-
2304                                                         Ralph                             Luzzicone                   States          Linda                 Anne          Luzzicone                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 50, 8487     Parent                      4023 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                                 United                                                             1:02-cv-01616,
2305                                                         Ralph                             Luzzicone       Jr.         States          Linda                 Anne          Luzzicone                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 355          Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                           United                                                                                 United                                                             1, at 354, 8397-
2306 Donald                       MacEwen         Jr.        Debra                             MacEwen                     States          Linda                 Anne          Luzzicone                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 17, 8433     Sibling                     5138 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                                 United                                                             1:02-cv-01616,
2307                                                         Cheryl            Anne            Zaffuto                     States          Linda                 Anne          Luzzicone                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 356          Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     26, 29, at 2136,
                                                                                                                                                                                                                  United                                                             8397-1, at 16,
2308 Valentina                    Lygina                     Vladimir                          Lygin                       Georgia         Alexander                           Lygin                              States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      5061 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                  United                                                             1:02-cv-01616,
2309                                                         Natalia                           Lygina                      Georgia         Alexander                           Lygin                              States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2142    Sibling                     5138 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                  United                                                             1:02-cv-01616,
2310                                                         Valentina                         Lygina                      Georgia         Alexander                           Lygin                              States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2140    Parent                      4023 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     26, 29, at 2145,
                                                                                                                           United                                                                                 United                                                             8393-1, at 133,
2311                                                         Jordan            Anthony         Lyles                       States          CeeCee                Louise        Lyles                              States         9/11/01     PA (UA93)    03-cv-9849                 8487               Step-Child                  8293 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     26, 29, at 2145,
                                                                                                                           United                                                                                 United                                                             8393-1, at 134,
2312                                                         Justin            Andrew          Lyles                       States          CeeCee                Louise        Lyles                              States         9/11/01     PA (UA93)    03-cv-9849                 8487               Step-Child                  8293 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                                 United                                                             1:02-cv-01616,
2313                                                         Lorne             Von             Lyles                       States          CeeCee                Louise        Lyles                              States         9/11/01     PA (UA93)    03-cv-9849                 26, 29, at 2145    Spouse                      5848 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                           United                                                                                 United                                                             1:02-cv-01616,
2314                                                         Maureen           Lynch           Baker                       States          Michael               Francis       Lynch                              States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2148    Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                                 United                                                             1:02-cv-01616,
2315                                                         William           Francis         Burns-Lynch                 States          James                 Francis       Lynch                              States         9/11/01     NY (Other)   03-cv-9849                 155, at P3006      Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                                 United                                                             1:02-cv-01616,
2316                                                         Mary              Margaret        Coster                      States          Michael               Francis       Lynch                              States         9/11/01     NY (Other)   03-cv-9849                 155, at P3011      Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                                 United                                                             1:02-cv-01616,
2317                                                         Barbara           Jean            Cotter                      States          Robert                H.            Lynch               Jr.            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2152    Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                  United                                                             1:02-cv-01616,
2318                                                         Patricia          Ann             Curry                       Unknown         Robert                H.            Lynch               Jr.            States         9/11/01     NY (Other)   03-cv-9849                 3, at 1389         Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                                 United                                                             1:02-cv-01616,
2319                                                         Margaret          Cathryn         Dugdale                     States          James                 Francis       Lynch                              States         9/11/01     NY (Other)   03-cv-9849                 155, at P3007      Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                                 United                                                             1:02-cv-01616,
2320                                                         Kathleen          A.              Hallstrom                   States          Sean                  Patrick       Lynch                              States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3804      Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                  United                                                             1:02-cv-01616,
2321                                                         Linda             Lynch           Helck                       Unknown         Robert                H.            Lynch               Jr.            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2151    Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                             VA
                                                                                                                                                                                                                  United                     (Pentagon                               1:02-cv-01616,
2322                                                         Ashley            Nicole          Lynch                       Unknown         Terence               M.            Lynch                              States         9/11/01     )            03-cv-9849                 232, at P3810      Child                       8310 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                                 United                                                             1:02-cv-01616,
2323 Daniel      Francis          Lynch                      Catherine         Theresa         Lynch                       States          Michael               Francis       Lynch                              States         9/11/01     NY (Other)   03-cv-9849                 155, at P3012      Parent                      3666 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                                 United                                                             1:02-cv-01616,
2324 Daniel      John             Lynch                      Daniel            Francis         Lynch                       States          Michael               Francis       Lynch                              States         9/11/01     NY (Other)   03-cv-9849                 155, at P3013      Parent                      3666 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                  United                                                             1:02-cv-01616,
2325                                                         Daniel            John            Lynch                       Unknown         Michael               Francis       Lynch                              States         9/11/01     NY (Other)   03-cv-9849                 432, at P4886      Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                                 United                                                             1:02-cv-01616,
2326                                                         David             W.              Lynch                       States          James                 Francis       Lynch                              States         9/11/01     NY (Other)   03-cv-9849                 155, at P3008      Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     305, at P4392,
                                                                                                                           United                                                                                 United                                                             8393-1, at 56,
2327                                                         Denise                            Lynch                       States          Michael               Francis       Lynch                              States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5356 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                           United                                                                                 United                                                             1:02-cv-01616,
2328                                                         Elisabeth                         Lynch                       States          Robert                H.            Lynch               Jr.            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2472    Spouse                      5138 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                           United                                                                                 United                                                             1:02-cv-01616,
2329                                                         Frederick         Joseph          Lynch                       States          Michael               Francis       Lynch                              States         9/11/01     NY (Other)   03-cv-9849                 3, at 1386         Sibling                     5979 at 3       $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                              Page 89 of 170
                                                                                                                  Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                   Filed 04/23/24             Page 91 of 171
                                                                                                                                                                                 EXHIBIT B-1
                                                                                                                                                              SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                       Personal Representative                                                Claimant                                                                              9/11 Decedent                                                                    Claim Information                                                  Solatium Damages




                                                                                                                              Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                               on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                                 Claimant                                                                                                        Date of                                            Amendments &                       Document
 #          First          Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                   Suffix                                                                                                        Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2472,
                                                                                                                                                                                                                United                                                             8466-1, at 2,
2330                                                          James             Richard         Lynch                       Unknown         Robert                H.            Lynch               Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       7188 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2331                                                          John              Brendan         Lynch           Sr.         States          Michael               Francis       Lynch                           States         9/11/01     NY (Other)   03-cv-9849                 3, at 1384         Parent                      4023 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2332                                                          John              J.              Lynch                       States          Sean                  Patrick       Lynch                           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3805      Parent                      4023 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2333                                                          John              Brendan         Lynch           Jr.         States          Michael               Francis       Lynch                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3672    Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   305, at P4392,
                                                                                                                            United                                                                              United                                                             8393-1, at 909,
2334                                                          John              Ryan            Lynch                       States          Michael               Francis       Lynch                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5356 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2472,
                                                                                                                                                                                                                United                                                             8466-1, at 3,
2335                                                          Jonathan          Robert          Lynch                       Unknown         Robert                H.            Lynch               Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       7188 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2336                                                          Kathleen          Ann             Lynch                       States          Michael               Francis       Lynch                           States         9/11/01     NY (Other)   03-cv-9849                 3, at 1387         Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2337                                                          Kathleen          Veronica        Lynch                       States          Michael               Francis       Lynch                           States         9/11/01     NY (Other)   03-cv-9849                 3, at 1385         Parent                      5087 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 269,
2338                                                          Kevin             Thomas          Lynch                       States          Michael               Francis       Lynch                           States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     5087 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2339                                                          Margaret          A.              Lynch                       States          Sean                  Patrick       Lynch                           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3806      Parent                      4023 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2150,
                                                                                                                                                                                                                United                                                             8397-1, at 16,
2340 Barbara        Jean             Cotter                   Marguerite                        Lynch                       Unknown         Robert                H.            Lynch               Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      5061 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2472,
                                                                                                                                                                                                                United                                                             8466-1, at 2,
2341                                                          Mark              Ryan            Lynch                       Unknown         Robert                H.            Lynch               Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       7188 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P3807,
                                                                                                                            United                                                                              United                                                             8393-1, at 75,
2342                                                          Michael           John            Lynch                       States          Sean                  Patrick       Lynch                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   305, at P4392,
                                                                                                                            United                                                                              United                                                             8393-1, at 910,
2343                                                          Michael           F.              Lynch           Jr.         States          Michael               Francis       Lynch                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5356 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:03-cv-09849,
                                                                                                                            United                                                                              United                                                             843, at 6; 8679-
2344                                                          Patrick           Gerard          Lynch                       States          Michael               Francis       Lynch                           States         9/11/01     NY (Other)   03-cv-9849                 1, at 268, 8696    Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2472,
                                                                                                                                                                                                                United                                                             8466-1, at 2,
2345                                                          Patrick           Robert          Lynch                       Unknown         Robert                H.            Lynch               Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       7188 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2147,
                                                                                                                            United                                                                              United                                                             8397-1, at 17,
2346 Joan           Marie            Paradis                  Paul              T.              Lynch                       States          Michael               Francis       Lynch                           States         9/11/01     NY (Other)   03-cv-9849                 8433               Sibling                     5087 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2347                                                          Peter             John            Lynch                       States          James                 Francis       Lynch                           States         9/11/01     NY (Other)   03-cv-9849                 155, at P3009      Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 267,
2348                                                          Thomas            Christopher     Lynch                       States          Michael               Francis       Lynch                           States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     5061 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                           VA
                                                                                                                            United                                                                              United                     (Pentagon                               1:02-cv-01616,
2349                                                          Tiffany           Marie           Lynch                       States          Terence               M.            Lynch                           States         9/11/01     )            03-cv-9849                 232, at P3812      Child                       8310 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2350                                                          Barbara           Ann             McManus                     States          Michael               Francis       Lynch                           States         9/11/01     NY (Other)   03-cv-9849                 155, at P3014      Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2351                                                          Colleen           Marie           Parigen                     States          Michael               Francis       Lynch                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3673    Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
2352                                                          Carol             Ann             Penna                       Unknown         James                 Francis       Lynch                           States         9/11/01     NY (Other)   03-cv-9849                 155, at P3010      Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2353                                                          Rosemary          Elizabeth       Pumilia                     States          Michael               Francis       Lynch                           States         9/11/01     NY (Other)   03-cv-9849                 155, at P3015      Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2354                                                          Bernadette        Terese          Rafferty                    States          Michael               Francis       Lynch                           States         9/11/01     NY (Other)   03-cv-9849                 155, at P3016      Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2355                                                          Laureen           Ann             Sutera                      States          Sean                  Patrick       Lynch                           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3808      Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 270,
2356                                                          Noelle            Robin           Tully                       States          Robert                H.            Lynch               Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8696               Child                       7188 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
2357                                                          Colleen           Mary            Watson                      States          Sean                  Patrick       Lynch                           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3809      Sibling                     4126 at 6       $         4,250,000.00 $   12,750,000.00




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                                                                                                                                                                                EXHIBIT B-1
                                                                                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                                Claimant                                                                                9/11 Decedent                                                                    Claim Information                                                   Solatium Damages




                                                                                                                             Nationality




                                                                                                                                                                                                                Nationality
                                                                                                                              on 9/11




                                                                                                                                                                                                                 on 9/11
                                                                                                                Claimant                                                                                                        Date of                                            Amendments &                        Document
 #       First           Middle         Last       Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                  Suffix                                                                                                        Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 3682,
                                                                                                                           United                                                                              United                                                             8393-1, at 62,
2358                                                        P.                M.              L.                           States          Patrick               John          Lyons                           States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5061 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                              United                                                             1:02-cv-01616,
2359                                                        Brian             Charles         Lyons                        States          Patrick               John          Lyons                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3686     Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                              United                                                             1:02-cv-01616,
2360                                                        Brian             Patrick         Lyons                        States          Patrick               John          Lyons                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3683     Parent                      5062 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
2361                                                        Kelly             Jean            Lyons                        Unknown         Patrick               John          Lyons                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3687     Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
2362                                                        Kristen           Elizabeth       Lyons                        Unknown         Patrick               John          Lyons                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3688     Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 3684,
                                                                                                                           United                                                                              United                                                             8397-1, at 17,
2363 Irene       Sofia            Lyons-Loeffler            Patricia          Ellen           Lyons                        States          Patrick               John          Lyons                           States         9/11/01     NY (Other)   03-cv-9849                 8433                Parent                      5062 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
2364                                                        Sean              Patrick         Lyons            Sr.         Unknown         Patrick               John          Lyons                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3685     Sibling                     5087 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                              United                                                             1:02-cv-01616,
2365                                                        Irene             Sofia           Lyons-Loeffler               States          Patrick               John          Lyons                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3682     Spouse                      5061 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
2366                                                        Kazimierz                         Maciejewski                  Unknown         Jan                                 Maciejewski                     States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3017       Parent                      3666 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
2367                                                        Pawel                             Maciejewski                  Unknown         Jan                                 Maciejewski                     States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3018       Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  155, at P3019,
                                                                                                                           United                                                                              United                                                             8393-1, at 79,
2368                                                        Douglas           Allen           Mackay                       States          Susan                 A.            Mackay                          States         9/11/01     NY (AA11)    03-cv-9849                 8487                Spouse                      5061 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  155, at P3019,
                                                                                                                           United                                                                              United                                                             8393-1, at 1275,
2369                                                        Lauren                            Mackay                       States          Susan                 A.            Mackay                          States         9/11/01     NY (AA11)    03-cv-9849                 8487                Child                       5979 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  155, at P3019,
                                                                                                                           United                                                                              United                                                             8393-1, at 1276,
2370                                                        Matthew                           Mackay                       States          Susan                 A.            Mackay                          States         9/11/01     NY (AA11)    03-cv-9849                 8487                Child                       5979 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                              United                                                             1:02-cv-01616,
2371                                                        Melissa           Madden          Crowley                      States          Richard               B.            Madden                          States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4691       Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                              United                                                             1:02-cv-01616,
2372                                                        Maura             Madden          Lezynski                     States          Richard               B.            Madden                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3695     Spouse                      5061 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 3695,
                                                                                                                                                                                                               United                                                             8393-1, at 1082,
2373                                                        Patricia          Madden          Lezynski                     Unknown         Richard               B.            Madden                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5979 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
2374                                                        Joshua            Powers          Madden                       Unknown         Richard               B.            Madden                          States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4395       Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                              United                                                             8679-1, at 271,
2375                                                        Mark              Loomis          Madden                       States          Richard               B.            Madden                          States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                              United                                                             1:02-cv-01616,
2376                                                        Michelle          Marie           Madden                       States          Richard               B.            Madden                          States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4393       Parent                      3666 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                              United                                                             1:02-cv-01616,
2377                                                        Robert            Twining         Madden           Jr.         States          Richard               B.            Madden                          States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4394       Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                              United                                                             8679-1, at 272,
2378                                                        Robert            Twining         Madden           Sr.         States          Richard               B.            Madden                          States         9/11/01     NY (WTC)     03-cv-9849                 8696                Parent                      5087 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United
                                                                                                                           United                                                                              Kingdo                                                             1:02-cv-01616,
2379                                                        Maureen           Marguerite      Maddison                     States          Simon                               Maddison                        m              9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2155     Spouse                      5848 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  432, at P4887,
                                                                                                                           United                                                                              United                                                             8393-1, at 61,
2380                                                        Jennifer          Lyn             Maerz                        States          Noell                 Charles       Maerz                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5848 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  432, at P4887,
                                                                                                                           United                                                                              United                                                             8393-1, at 991,
2381                                                        Noelle            Brianna         Maerz                        States          Noell                 Charles       Maerz                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                              United                                                             1:02-cv-01616,
2382                                                        Susan                             Drury                        States          Joseph                              Maffeo                          States         9/11/01     NY (Other)   03-cv-9849                 3, at 1397          Sibling                     4126 at 6       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                           United                                                                              United                                                             3, at 1392, 8393-
2383                                                        Christopher       Joseph          Maffeo                       States          Joseph                              Maffeo                          States         9/11/01     NY (Other)   03-cv-9849                 1, at 666, 8487     Child                       5087 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                              United                                                             1:02-cv-01616,
2384                                                        Donna                             Maffeo                       States          Joseph                              Maffeo                          States         9/11/01     NY (Other)   03-cv-9849                 3, at 1398          Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00




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                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                              Claimant                                                                               9/11 Decedent                                                                    Claim Information                                                   Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                              Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                               on 9/11
                                                                                                              Claimant                                                                                                        Date of                                            Amendments &                        Document
 #       First         Middle              Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                Suffix                                                                                                        Death                                               Substitutions                        ation



                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                             United                                                             3, at 1394, 8397-
2385 Donna                         Maffeo                  Jean              Mary            Maffeo                      Unknown         Joseph                              Maffeo                          States         9/11/01     NY (Other)   03-cv-9849                 1, at 17, 8433      Parent                      5062 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                             United                                                             1, at 358, 8397-
2386 Donna                         Maffeo                  Louis                             Maffeo                      Unknown         Joseph                              Maffeo                          States         9/11/01     NY (Other)   03-cv-9849                 1, at 17, 8433      Parent                      5062 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                             1:02-cv-01616,
2387                                                       Linda             Louise          Maffeo-Melloy               States          Joseph                              Maffeo                          States         9/11/01     NY (Other)   03-cv-9849                 3, at 1392          Spouse                      5087 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                              United                                                             1:02-cv-01616,
2388                                                       Linda                             Manfredi                    States          Joseph                              Maffeo                          States         9/11/01     NY (Other)   03-cv-9849                 3, at 1396          Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                              United                                                             1:02-cv-01616,
2389                                                       Debra                             Morri                       States          Joseph                              Maffeo                          States         9/11/01     NY (Other)   03-cv-9849                 3, at 1395          Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                305, at P4396,
                                                                                                                                                                                                             United                                                             8393-1, at 80,
2390                                                       Beth              A.              Mahon                       Unknown         Thomas                A.            Mahon                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5138 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                305, at P4396,
                                                                                                                         United                                                                              United                                                             8393-1, at 1296,
2391                                                       Shay              Elizabeth       Mahon                       States          Thomas                A.            Mahon                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5138 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 3705,
                                                                                                                         United                                                                              United                                                             8393-1, at 88,
2392                                                       Donna             Celeste         Mahoney                     States          William               James         Mahoney             Jr.         States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5138 at 6       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                         United                                                                              United                                                             3, at 1829, 8393-
2393                                                       Alfred            Royce           Maler                       States          Alfred                R.            Maler                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 24, 8487      Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 3708,
                                                                                                                         United                                                                              United                                                             8397-1, at 17,
2394 Keith       Elliott           Maler                   Beverly           M.              Maler                       States          Alfred                R.            Maler                           States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      4023 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                             1:02-cv-01616,
2395                                                       Beverly           Virginia        Maler                       States          Alfred                R.            Maler                           States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2655        Sibling                     4126 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                             United                                                             1:02-cv-01616,
2396                                                       Edward            Dwain           Maler                       Unknown         Alfred                R.            Maler                           States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3020       Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                              United                                                             1:02-cv-01616,
2397                                                       Keith             Elliott         Maler                       States          Alfred                R.            Maler                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3709     Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                         United                                                                              United                                                             3, at 1829, 5284-
2398                                                       Laura             A.              Maler                       States          Alfred                R.            Maler                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 7, 5296       Spouse                      5356 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 3707,
                                                                                                                         United                                                                              United                                                             8397-1, at 17,
2399 Keith       Elliott           Maler                   Michael           A.              Maler           Sr.         States          Alfred                R.            Maler                           States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      5087 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                             8679-1, at 273,
2400                                                       Michael           Alfred          Maler           Jr.         States          Alfred                R.            Maler                           States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                3, at 1829, 5284-
                                                                                                                                                                                                                                                                                1, at 7, 5296,
                                                                                                                         United                                                                              United                                                             8393-1, at 25,
2401                                                       Teegan                            Maler                       States          Alfred                R.            Maler                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                             1:02-cv-01616,
2402                                                       Jeanine           Michele         Sherman                     States          Alfred                R.            Maler                           States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3021       Sibling                     4126 at 6       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                         United                                                                              United                                                             3, at 1826, 5284-
2403                                                       Jane              Bernholz        Maltby                      States          Christian             H.            Maltby                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 7, 5296       Spouse                      5087 at 13      $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                         United                                                                              United                                                             3, at 1826, 8393-
2404                                                       Max               Walker          Maltby                      States          Christian             H.            Maltby                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 154, 8487     Child                       5848 at 7       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                         United                                                                              United                                                             3, at 1826, 8393-
2405                                                       Morgan            Durham          Maltby                      States          Christian             H.            Maltby                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 153, 8487     Child                       5061 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                3, at 1826, 5284-
                                                                                                                                                                                                                                                                                1, at 7, 5296,
                                                                                                                         United                                                                              United                                                             8393-1, at 155,
2406                                                       Samuel            Kesner          Maltby                      States          Christian             H.            Maltby                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                             8679-1, at 275,
2407                                                       Rosemarie                         Hoesly                      States          Joseph                              Mangano                         States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5848 at 7       $         4,250,000.00 $   12,750,000.00




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                                                                                                                                                                               EXHIBIT B-1
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                             Claimant                                                                                   9/11 Decedent                                                                    Claim Information                                                  Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                               Claimant                                                                                                        Date of                                            Amendments &                       Document
 #       First       Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                             First            Middle           Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                        Death                                               Substitutions                       ation

                                                                                                                          United                                                                              United                                                             8679-1, at 274,
2408                                                    Lisa                              Mahon                           States          Joseph                              Mangano                         States         9/11/01     NY (WTC)     03-cv-9849                 8696               Child                       5087 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
2409                                                    Kathleen                          Mangano                         States          Joseph                              Mangano                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3720    Spouse                      5087 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                              United                                                             8679-1, at 276,
2410                                                    Michael                           Mangano                         States          Joseph                              Mangano                         States         9/11/01     NY (WTC)     03-cv-9849                 8696               Child                       5087 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                             8679-1, at 277,
2411                                                    Philip                            Mangano                         States          Joseph                              Mangano                         States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5848 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3818,
                                                                                                                          United                                                                              United                                                             8393-1, at 73,
2412                                                    Robert            William         Harvey                          States          Sara                  Elizabeth     Manley                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5848 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                              United                                                             8679-1, at 278,
2413                                                    Laura             Louise          Manley                          States          Sara                  Elizabeth     Manley                          States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 3727,
                                                                                                                          United                                                                              United                                                             8397-1, at 14,
2414 Melissa                     Ezro                   Elizabeth         Anna            Kemmerer                        States          Hildegard             Marie         Marcin                          States 9/11/01      PA (UA93)           03-cv-9849                 8433               Child                       4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
2415                                                    Carole            M.              O'Hare                          States          Hildegard             Marie         Marcin                          States 9/11/01      PA (UA93)           03-cv-9849                 26, 29, at 3728    Child                       4023 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
2416                                                    Alexander         Paul            Mardikian                       Unknown         Peter                 Edward        Mardikian                       Staes       9/11/01 NY (WTC)            03-CV-9849                 1, at 361          Parent                      3666 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
2417                                                    Shakeh                            Mardikian                       Unknown         Peter                 Edward        Mardikian                       States      9/11/01 NY (WTC)            03-CV-9849                 1, at 360          Parent                      3666 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              Unknow                                                             1:02-cv-01616,
2418                                                    Monica            Natalie         Stahl                           States          Peter                 Edward        Mardikian                       n      9/11/01      NY (WTC)            03-cv-9849                 155, at P3022      Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                              United                                                             1, at 363, 8393-
2419                                                    Norma Jean                        Adams                           Unknown         Charles               Joseph        Margiotta                       States         9/11/01     NY (Other)   03-cv-9849                 1, at 138, 8487    Child                       5061 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
2420                                                    Amelia            Janine          Margiotta                       Unknown         Charles               Joseph        Margiotta                       States         9/11/01     NY (Other)   03-cv-9849                 1, at 364          Parent                      3666 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                              United                                                             1, at 363, 8393-
2421                                                    Charles           Vito            Margiotta       II              Unknown         Charles               Joseph        Margiotta                       States         9/11/01     NY (Other)   03-cv-9849                 1, at 139, 8487    Child                       5061 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                              United                                                             1, at 365, 8397-
2422 Michael                     Margiotta              Charles           V.              Margiotta                       Unknown         Charles               Joseph        Margiotta                       States         9/11/01     NY (Other)   03-cv-9849                 1, at 17, 8433     Parent                      5138 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
2423                                                    Michael                           Margiotta                       Unknown         Charles               Joseph        Margiotta                       States         9/11/01     NY (Other)   03-cv-9849                 1, at 366          Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                              United                                                             1, at 363, 8393-
2424                                                    Norma             I.              Margiotta                       Unknown         Charles               Joseph        Margiotta                       States         9/11/01     NY (Other)   03-cv-9849                 1, at 9, 8487      Spouse                      5061 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 305, at P4400,
                                                                                                                                                                                                              United                                                             8397-1, at 17,
2425 James       Martin          Marino                 Antonina          Joan            Marino                          Unknown         Vita                                Marino                          States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      3666 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
2426                                                    James             Martin          Marino                          Unknown         Vita                                Marino                          States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4402      Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 3733,
                                                                                                                          United                                                                              United                                                             8393-1, at 46,
2427                                                    Katrina           Margit          Marino                          States          Kenneth               Joseph        Marino                          States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5087 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 3733,
                                                                                                                          United                                                                              United                                                             8393-1, at 735,
2428                                                    Kristin           Marie           Marino                          States          Kenneth               Joseph        Marino                          States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
2429                                                    Martin            Anthony         Marino                          States          Vita                                Marino                          States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4401      Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
2430                                                    Mary Ann                          Marino                          Unknown         Kenneth               Joseph        Marino                          States         9/11/01     NY (Other)   03-cv-9849                 77, at P2659       Parent                      3666 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
2431                                                    Michael           Patrick         Marino                          States          Vita                                Marino                          States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4403      Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
2432                                                    Patrick           Anthony         Marino                          Unknown         Kenneth               Joseph        Marino                          States         9/11/01     NY (Other)   03-cv-9849                 77, at P2660       Parent                      3666 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 3733,
                                                                                                                          United                                                                              United                                                             8393-1, at 734,
2433                                                    Tyler             Kenneth         Marino                          States          Kenneth               Joseph        Marino                          States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
2434                                                    Lynda             Ann             Nislow                          Unknown         Kenneth               Joseph        Marino                          States         9/11/01     NY (Other)   03-cv-9849                 77, at P2658       Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
2435                                                    Dennis            S.              Marlo                           States          Kevin                 D.            Marlo                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3738    Parent                      4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                          Marlo-                          United                                                                              United                                                             8679-1, at 279,
2436                                                    Christine         Marie           Triemstra                       States          Kevin                 D.            Marlo                           States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                             1:02-cv-01616,
2437                                                    Rosemary          Claire          Meyer                           States          Kevin                 D.            Marlo                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3739    Parent                      4023 at 17      $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                            Claimant                                                                              9/11 Decedent                                                                Claim Information                                                   Solatium Damages




                                                                                                                         Nationality




                                                                                                                                                                                                         Nationality
                                                                                                                          on 9/11




                                                                                                                                                                                                          on 9/11
                                                                                                            Claimant                                                                                                     Date of                                           Amendments &                        Document
 #          First       Middle            Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle        Last          Suffix                               9/11 Site       Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                              Suffix                                                                                                     Death                                              Substitutions                        ation



                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                       United                                                                           United                                                            3, at 1413, 8393-
2438                                                      Jenna                             Marrero                    States          Jose                                Marrero                      States         9/11/01     NY (WTC)    03-cv-9849                 1, at 645, 8487     Child                       5138 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                           United                                                            1:02-cv-01616,
2439                                                      Jodi              A.              Marrero                    States          Jose                                Marrero                      States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1413          Spouse                      5138 at 6       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                       United                                                                           United                                                            3, at 1413, 8393-
2440                                                      Jonathan                          Marrero                    States          Jose                                Marrero                      States         9/11/01     NY (WTC)    03-cv-9849                 1, at 646, 8487     Child                       5138 at 6       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                       United                                                                           United                                                            3, at 1413, 8393-
2441                                                      Jordan                            Marrero                    States          Jose                                Marrero                      States         9/11/01     NY (WTC)    03-cv-9849                 1, at 647, 8487     Child                       5138 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                   VA                                     232, at P3819,
                                                                                                                       United                                                                           United                     (Pentagon                              8393-1, at 1217,
2442                                                      Chandler          Hope            Marshall                   States          Shelley               A.            Marshall                     States         9/11/01     )           03-cv-9849                 8487                Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                   VA                                     232, at P3819,
                                                                                                                       United                                                                           United                     (Pentagon                              8393-1, at 75,
2443                                                      Donn              E.              Marshall                   States          Shelley               A.            Marshall                     States         9/11/01     )           03-cv-9849                 8487                Spouse                      5356 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                   VA                                     232, at P3819,
                                                                                                                       United                                                                           United                     (Pentagon                              8393-1, at 1218,
2444                                                      Drake             Donovan         Marshall                   States          Shelley               A.            Marshall                     States         9/11/01     )           03-cv-9849                 8487                Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          232, at P3820,
                                                                                                                                                                                                                                                                          8393-1, at 88,
                                                                                                                       United                                                                           United                                                            8487, 8397-1, at
2445 Eric           Steven          Thieringer            Deborah           D.              Martin                     States          William               Joseph        Martin                       States         9/11/01     NY (WTC)    03-cv-9849                 17, 8433            Spouse                      7188 at 10      $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                          1:03-md-01570,
                                                                                                                                                                                                                                                                          3477, at 2283,
                                                                                                                                                                                                                                                                          4311, Exh.A
                                                                                                                       United                                                                           United                                                            Pg.15; 8679-1, at
2446                                                      Denise            Ann             Glaser                     States          Jose                  Angel         Martinez         Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 281, 8696           Child                       4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:03-cv-9849,
                                                                                                                       United                                                                           Unknow                                                            HAND FILED, at
2447                                                      Lourdes           Ivette          Lebron                     States          Waleska                             Martinez                     n      9/11/01             PA (UA93)   03-cv-9849                 P5165               Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          305, at AP247,
                                                                                                                                                                                                                                                                          5284-1, at 7,
                                                                                                                       United                                                                           United                                                            5296, 8393-1, at
2448                                                      Aida                              Martinez                   States          Jose                  Angel         Martinez         Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 40, 8487            Spouse                      5087 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          305, at AP247,
                                                                                                                       United                                                                           United                                                            8393-1, at 643,
2449                                                      Christopher       Michael         Martinez                   States          Jose                  Angel         Martinez         Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5087 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                           United                                                            8679-1, at 286,
2450                                                      David                             Martinez                   States          Jose                  Angel         Martinez         Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     7188 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                          1:03-md-01570,
                                                                                                                                                                                                                                                                          3477, at
                                                                                                                                                                                                                                                                          2283,4311,
                                                                                                                                                                                                                                                                          Exh.A Pg.15;
                                                                                                                       United                                                                           United                                                            8679-1, at 284,
2451                                                      Diane             Lynn            Martinez                   States          Jose                  Angel         Martinez         Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8696                Child                       4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                           United                                                            8679-1, at 280,
2452                                                      Dorothy                           Martinez                   States          Jose                  Angel         Martinez         Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     7188 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                          1:03-md-01570,
                                                                                                                                                                                                                                                                          3477, at
                                                                                                                                                                                                                                                                          2283,4311,
                                                                                                                                                                                                                                                                          Exh.A Pg.15;
                                                                                                                       United                                                                           United                                                            8679-1, at 283,
2453                                                      JoAnne                            Martinez                   States          Jose                  Angel         Martinez         Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8696                Child                       4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          305, at AP247,
                                                                                                                       United                                                                           United                                                            8393-1, at 642,
2454                                                      Michael           Jesse           Martinez                   States          Jose                  Angel         Martinez         Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5138 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                           United                                                            8679-1, at 285,
2455                                                      Wilson                            Martinez                   States          Jose                  Angel         Martinez         Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     7188 at 10      $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                       Page 94 of 170
                                                                                                               Case 1:03-md-01570-GBD-SN                                       Document 9716-2                                  Filed 04/23/24             Page 96 of 171
                                                                                                                                                                               EXHIBIT B-1
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                               Claimant                                                                                    9/11 Decedent                                                                Claim Information                                                   Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                              Claimant                                                                                                         Date of                                            Amendments &                        Document
 #        First       Middle               Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First             Middle          Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                Suffix                                                                                                         Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                 1:03-md-01570,
                                                                                                                                                                                                                                                                                 3477, at
                                                                                                                                                                                                                                                                                 2283,4311,
                                                                                                                                                                                                                                                                                 Exh.A Pg.15;
                                                                                                                         United                                                                               United                                                             8679-1, at 282,
2456                                                       Michele           Carrie          Melendez                    States          Jose                   Angel          Martinez           Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 8696                Child                       4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 3751,
                                                                                                                         United                                                                               United                                                             8393-1, at 1029,
2457                                                       Lindsay           K.              Martini                     States          Paul                   Richard        Martini                        States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 3751,
                                                                                                                         United                                                                               United                                                             8393-1, at 64,
2458                                                       Lisa                              Martini                     States          Paul                   Richard        Martini                        States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5061 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                Martino-                       United                                                             1:02-cv-01616,
2459                                                       Anthony           Demitrio        Martino                     States          Anne                   Marie          Cramer                         States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1419          Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                               Martino-                       United                                                             3, at 1418, 8397-
2460 Patricia                     Nilsen                   Mildred                           Martino                     Unknown         Anne                   Marie          Cramer                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 17, 8433      Parent                      5087 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                Martino-                       United                                                             1:02-cv-01616,
2461                                                       Patricia                          Nilsen                      States          Anne                   Marie          Cramer                         States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1421          Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00

                                                                                                                         United                                                                               United                                                             1:03-md-01570,
2462                                                       Theresa           Lynne           Bevilacqua                  States          Stephen                F.             Masi                           States 9/11/01             NY (WTC)     03-cv-9849                 3477, at 2292       Child                       5951 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United          Stephen                F.             Masi                           Unknow                     NY (WTC)                                8679-1, at 287,
2463                                                       Dawn              Marie           Curry                       States                                                                               n      9/11/01                          03-cv-9849                 8696                Step-Child                  8293 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P4069,
                                                                                                                                                                                                                                                                                 8397-1, at 17,
                                                                                                                         United                                                                               United                                                             8433, 8393-1, at
2464 Theresa      Lynne           Bevilacqua               Joan                              Masi                        States          Stephen                F.             Masi                           States         9/11/01     NY (WTC)     03-cv-9849                 76, 8487            Spouse                      7180 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P4069,
                                                                                                                         United                                                                               United                                                             8393-1, at 1229,
2465                                                       Stephen           J.              Masi                        States          Stephen                F.             Masi                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
2466                                                       Anna              Ella            Cimaroli                    States          Patricia               Ann            Massari                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2162     Parent                      3666 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
2467                                                       Joseph                            Cimaroli                    States          Patricia               Ann            Massari                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2163     Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
2468                                                       Richard           Patrick         Cimaroli                    States          Patricia               Ann            Massari                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2161     Parent                      3666 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
2469                                                       Joann                             Cleary                      States          Michael                               Massaroli                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 371           Sibling                     4023 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
2470                                                       Josephine                         Holubar                     States          Michael                               Massaroli                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 370           Parent                      4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                         United                                                                               United                                                             1, at 369, 8393-
2471                                                       Angelina          Nicole          Massaroli                   States          Michael                               Massaroli                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 942, 8487     Child                       5061 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
2472                                                       Diane                             Massaroli                   States          Michael                               Massaroli                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 369           Spouse                      5061 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                         United                                                                               United                                                             1, at 369, 8393-
2473                                                       Michael           Cesare          Massaroli                   States          Michael                               Massaroli                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 943, 8487     Child                       5061 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                         United                                                                               United                                                             1, at 373, 8393-
2474                                                       Karen             Elizabeth       Mastrandrea                 States          Philip                 William        Mastrandrea        Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 66, 8487      Spouse                      5061 at 9       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                         United                                                                               United                                                             1, at 373, 8393-
2475                                                       Paige             Elizabeth       Mastrandrea                 States          Philip                 William        Mastrandrea        Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1067, 8487    Child                       5061 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
2476                                                       Philip            William         Mastrandrea     Sr.         States          Philip                 William        Mastrandrea        Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3757     Parent                      3666 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
2477                                                       Robert            Michael         Mastrandrea                 Unknown         Philip                 William        Mastrandrea        Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3759     Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
2478                                                       Rosalie           Annette         Mastrandrea                 States          Philip                 William        Mastrandrea        Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3758     Parent                      3666 at 8       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                         United                                                                               United                                                             1, at 373, 8393-
2479                                                       Sydney            Kristen         Mastrandrea                 States          Philip                 William        Mastrandrea        Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1068, 8487    Child                       5061 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
2480                                                       Lynn              Marie           Paragano                    Unknown         Philip                 William        Mastrandrea        Jr.         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3760     Sibling                     4126 at 6       $         4,250,000.00 $   12,750,000.00




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                                                                                                                                                                                  EXHIBIT B-1
                                                                                                                                                               SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                                Claimant                                                                                  9/11 Decedent                                                               Claim Information                                                  Solatium Damages




                                                                                                                              Nationality




                                                                                                                                                                                                                Nationality
                                                                                                                               on 9/11




                                                                                                                                                                                                                 on 9/11
                                                                                                                 Claimant                                                                                                       Date of                                           Amendments &                       Document
 #       First         Middle             Last       Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle         Last          Suffix                               9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                   Suffix                                                                                                       Death                                              Substitutions                       ation

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 155, at P3024,
                                                                                                                                                                                                               United                                                            8397-1, at 17,
2481 Rudolfo     F.                 Mastrocinque   Sr.        Isabelle                          Mastrocinque                Unknown         Rudy                                 Mastrocinque      Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8433               Parent                      5138 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United                                                            1:02-cv-01616,
2482                                                          Rudolfo           F.              Mastrocinque Sr.            Unknown         Rudy                                 Mastrocinque      Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 155, at P3025      Parent                      4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                             United                                                            1:02-cv-01616,
2483                                                          Sharon            A.              Swailes                     States          Rudy                                 Mastrocinque      Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 155, at P3026      Sibling                     4126 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 305, at P4408,
                                                                                                                            United                                                                             United                                                            8393-1, at 42,
2484                                                          Teresa                            Mathai                      States          Joseph                               Mathai                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5087 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 305, at P4408,
                                                                                                                            United                                                                             United                                                            8393-1, at 670,
2485                                                          Michelle                          Van Niel                    States          Joseph                               Mathai                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                             United                                                            1:02-cv-01616,
2486                                                          Margaret          Louisa          Mathers                     States          Charles                W.            Mathers                       States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1425         Spouse                      5087 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                            United                                                                             United                                                            1:02-cv-01616,
2487                                                          Elizabeth         A.              Mattson                     States          Robert                 D.            Mattson                       States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1428         Spouse                      5356 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                            United                                                                             United                                                            1:02-cv-01616,
2488                                                          James             F.              Mattson                     States          Robert                 D.            Mattson                       States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1429         Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                             United                                                            1:02-cv-01616,
2489                                                          Jean              E.              Mattson                     States          Robert                 D.            Mattson                       States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1430         Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                             United                                                            1:02-cv-01616,
2490                                                          Denise                            Matuza                      States          Walter                 A.            Matuza                        States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2166    Spouse                      5356 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 2166,
                                                                                                                            United                                                                             United                                                            8393-1, at 1381,
2491                                                          Jesse             Anthony         Matuza                      States          Walter                 A.            Matuza                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 2166,
                                                                                                                            United                                                                             United                                                            8393-1, at 1382,
2492                                                          Nico              Salvatore       Matuza                      States          Walter                 A.            Matuza                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 2166,
                                                                                                                            United                                                                             United                                                            8393-1, at 1383,
2493                                                          Walter            Philip          Matuza                      States          Walter                 A.            Matuza                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                             United                                                            1:02-cv-01616,
2494                                                          Jeffrey           Michael         May                         States          Renee                  A.            May                           States         9/11/01     VA (AA77)   03-cv-9849                 1, at 378          Sibling                     4023 at 18      $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                             United                                                            1:02-cv-01616,
2495                                                          Kenneth           Ronald          May                         States          Renee                  A.            May                           States         9/11/01     VA (AA77)   03-cv-9849                 1, at 379          Sibling                     4023 at 18      $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                             United                                                            1:02-cv-01616,
2496                                                          Nancy             Ann             May                         States          Renee                  A.            May                           States         9/11/01     VA (AA77)   03-cv-9849                 1, at 377          Parent                      4023 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                             United                                                            1:02-cv-01616,
2497                                                          Ronald            Francis         May                         States          Renee                  A.            May                           States         9/11/01     VA (AA77)   03-cv-9849                 1, at 376          Parent                      4023 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                             United                                                            1:02-cv-01616,
2498                                                          David                             Spivock         Jr.         States          Renee                  A.            May                           States         9/11/01     VA (AA77)   03-cv-9849                 1, at 380          Fiancee                     5949 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 305, at P4410,
                                                                                                                            United                                                                             United                                                            8393-1, at 22,
2499                                                          Susan             M.              Brannigan                   States          Edward                               Mazzella          Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       4023 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3822,
                                                                                                                            United                                                                             United                                                            8393-1, at 22,
2500                                                          Catherine                         Mazzella                    States          Edward                               Mazzella          Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5848 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 305, at P4409,
                                                                                                                            United                                                                             United                                                            8393-1, at 22,
2501                                                          Michael           T.              Mazzella                    States          Edward                               Mazzella          Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       4023 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                             United                                                            1:02-cv-01616,
2502                                                          Michelle          Denise          Bonetti                     States          Jennifer               Lynn          Mazzotta                      States         9/11/01     NY (WTC)    03-cv-9849                 232, at P4070      Sibling                     4023 at 18      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P4071,
                                                                                                                            United                                                                             United                                                            8393-1, at 35,
2503                                                          Catherine         Eleanor         Mazzotta                    States          Jennifer               Lynn          Mazzotta                      States         9/11/01     NY (WTC)    03-cv-9849                 8487               Parent                      4023 at 18      $         8,500,000.00 $   25,500,000.00

                                                                                                                            United                                                                             United                                                            1:03-md-01570,
2504                                                          Charles           Michael         Mazzotta                    States          Jennifer               Lynn          Mazzotta                      States         9/11/01     NY (WTC)    03-cv-9849                 432, at P5469      Sibling                     4023 at 18      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P4072,
                                                                                                                            United                                                                             United                                                            8397-1, at 18,
2505 Catherine   Eleanor            Mazzotta                  Vito              Vincent         Mazzotta                    States          Jennifer               Lynn          Mazzotta                      States         9/11/01     NY (WTC)    03-cv-9849                 8433               Parent                      4023 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                             United                                                            1:02-cv-01616,
2506                                                          Kibabu            William         Mbaya                       States          Kaaria                 William       Mbaya                         States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1434         Sibling                     4023 at 18      $         4,250,000.00 $   12,750,000.00




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                                                                                                            Case 1:03-md-01570-GBD-SN                                       Document 9716-2                                Filed 04/23/24             Page 98 of 171
                                                                                                                                                                             EXHIBIT B-1
                                                                                                                                                          SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                            Claimant                                                                               9/11 Decedent                                                                 Claim Information                                                  Solatium Damages




                                                                                                                         Nationality




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                                                                                                                          on 9/11




                                                                                                                                                                                                           on 9/11
                                                                                                            Claimant                                                                                                      Date of                                            Amendments &                       Document
 #       First         Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle        Last          Suffix                               9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                              Suffix                                                                                                      Death                                               Substitutions                       ation

                                                                                                                       United                                                                            United                                                             1:02-cv-01616,
2507                                                      Vertistine        Beaman          Mbaya                      States          Kaaria                 William       Mbaya                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1433         Parent                      5979 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:03-cv-9849,
                                                                                                                                                                                                                                                                            HAND FILED, at
                                                                                                                       United                                                                            United                                                             P5169, 8393-1,
2508                                                      Aidan             James           McAleese                   States          Brian                  G.            McAleese                     States         9/11/01     NY (Other)   03-cv-9849                 at 106, 8487       Child                       8310 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:03-cv-9849,
                                                                                                                                                                                                                                                                            HAND FILED, at
                                                                                                                       United                                                                            United                                                             P5169, 8393-1,
2509                                                      Brianne           Marie           McAleese                   States          Brian                  G.            McAleese                     States         9/11/01     NY (Other)   03-cv-9849                 at 107, 8487       Child                       8310 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:03-cv-9849,
                                                                                                                                                                                                                                                                            HAND FILED, at
                                                                                                                       United                                                                            United                                                             P5169, 8393-1,
2510                                                      Dawn              Marie           McAleese                   States          Brian                  G.            McAleese                     States         9/11/01     NY (Other)   03-cv-9849                 at 7, 8487         Spouse                      8310 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                            1:03-cv-9849,
                                                                                                                                                                                                                                                                            HAND FILED, at
                                                                                                                       United                                                                            United                                                             P5169, 8393-1,
2511                                                      Jack              Ryan            McAleese                   States          Brian                  G.            McAleese                     States         9/11/01     NY (Other)   03-cv-9849                 at 108, 8487       Child                       8310 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:03-cv-9849,
                                                                                                                                                                                                                                                                            HAND FILED, at
                                                                                                                       United                                                                            United                                                             P5169, 8393-1,
2512                                                      Liam              Francis         McAleese                   States          Brian                  G.            McAleese                     States         9/11/01     NY (Other)   03-cv-9849                 at 109, 8487       Child                       8310 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                            United                                                             1:02-cv-01616,
2513                                                      Margaret          E.              Cruz                       States          Patricia               A.            McAneney                     States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4889      Spouse                      5951 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                       United                                                                            United                                                             1:02-cv-01616,
2514                                                      James                             McAneney                   States          Patricia               A.            McAneney                     States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3776    Sibling                     5848 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            26, 29, at 3782,
                                                                                                                       United                                                                            United                                                             8393-1, at 615,
2515                                                      Kate              Marie           Bryan                      States          John                   K.            McAvoy                       States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            26, 29, at 3782,
                                                                                                                       United                                                                            United                                                             8393-1, at 616,
2516                                                      Kevin             James           McAvoy                     States          John                   K.            McAvoy                       States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                            United                                                             1:02-cv-01616,
2517                                                      Michael           S.              McAvoy                     States          John                   K.            McAvoy                       States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3784    Sibling                     4126 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            26, 29, at 3782,
                                                                                                                       United                                                                            United                                                             8393-1, at 38,
2518                                                      Paula             M.              McAvoy                     States          John                   K.            McAvoy                       States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5356 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            26, 29, at 3783,
                                                                                                                       United                                                                            United                                                             8397-1, at 18,
2519 Michael     S.                 McAvoy                Philomena                         McAvoy                     States          John                   K.            McAvoy                       States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      5848 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            232, at P3823,
                                                                                                                       United                                                                            United                                                             8393-1, at 46,
2520                                                      Marsha            K.              McBrayer                   States          Kenneth                M.            McBrayer                     States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5848 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            232, at P3824,
                                                                                                                       United                                                                            United                                                             8393-1, at 923,
2521                                                      Cassidy                           McCabe                     States          Michael                J.            McCabe                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5848 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            232, at P3824,
                                                                                                                       United                                                                            United                                                             8393-1, at 924,
2522                                                      Liam              Patrick         McCabe                     States          Michael                J.            McCabe                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5848 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            232, at P3824,
                                                                                                                       United                                                                            United                                                             8393-1, at 57,
2523                                                      Lynn              C.              McCabe                     States          Michael                J.            McCabe                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5848 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            232, at P3824,
                                                                                                                       United                                                                            United                                                             8393-1, at 925,
2524                                                      Regan             Grace           McCabe                     States          Michael                J.            McCabe                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5848 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            26, 29, at 2168,
                                                                                                                       United                                                                            United                                                             8393-1, at 81,
2525                                                      Anne              Marie           McCann                     States          Thomas                 J.            McCann                       States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5087 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                         United                                                             1:02-cv-01616,
2526                                                      George            Gerard          McCann                     Unknown         Thomas                 J.            McCann                       States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3791    Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            26, 29, at 3790,
                                                                                                                       United                                                                            United                                                             8397-1, at 18,
2527 George      Gerard             McCann                Natalie           Mary            McCann                     States          Thomas                 J.            McCann                       States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      3666 at 8       $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                              SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                                Claimant                                                                               9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                              Nationality




                                                                                                                                                                                                              Nationality
                                                                                                                               on 9/11




                                                                                                                                                                                                               on 9/11
                                                                                                                 Claimant                                                                                                     Date of                                            Amendments &                        Document
 #       First         Middle               Last     Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle        Last          Suffix                               9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                   Suffix                                                                                                     Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2168,
                                                                                                                            United                                                                           United                                                             8393-1, at 1312,
2528                                                          Sean              Thomas          McCann                      States          Thomas                J.            McCann                       States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                           United                                                             1:02-cv-01616,
2529                                                          Natalie           Mary            Moriarty                    States          Thomas                J.            McCann                       States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3792     Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2168,
                                                                                                                            United                                                                           United                                                             8393-1, at 1313,
2530                                                          Courtney          Erin            Sosna                       States          Thomas                J.            McCann                       States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                           United                                                             8679-1, at 291,
2531                                                          Maureen           Rose            Baumgartel                  States          Kevin                 Michael       McCarthy                     States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                            United                                                                           United                                                             1, at 383, 8393-
2532                                                          Andrew            Michael         McCarthy                    States          Kevin                 Michael       McCarthy                     States         9/11/01     NY (WTC)     03-cv-9849                 1, at 751, 8487     Child                       5087 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3826,
                                                                                                                                                                                                             United                                                             8397-1, at 18,
2533 Charles     Emmett             McCarthy       Jr.        Charles           Emmett          McCarthy        Sr.         Unknown         Kevin                 Michael       McCarthy                     States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                             United                                                             1:02-cv-01616,
2534                                                          Charles           Emmett          McCarthy        Jr.         Unknown         Kevin                 Michael       McCarthy                     States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4413       Sibling                     4126 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                            United                                                                           United                                                             1, at 383, 8393-
2535                                                          Chelsea           Rhea            McCarthy                    States          Kevin                 Michael       McCarthy                     States         9/11/01     NY (WTC)     03-cv-9849                 1, at 752, 8487     Child                       5951 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3827,
                                                                                                                            United                                                                           United                                                             8397-1, at 18,
2536 Charles     Emmett             McCarthy       Jr.        Marie             Phyllis         McCarthy                    States          Kevin                 Michael       McCarthy                     States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                            United                                                                           United                                                             1, at 383, 8393-
2537                                                          Stephanie         Marie           McCarthy                    States          Kevin                 Michael       McCarthy                     States         9/11/01     NY (WTC)     03-cv-9849                 1, at 753, 8487     Child                       5087 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                           United                                                             1:02-cv-01616,
2538                                                          Debra             Diane           Menich                      States          Kevin                 Michael       McCarthy                     States         9/11/01     NY (WTC)     03-cv-9849                 1, at 383           Spouse                      5087 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                            United                                                                           United                                                             8679-1, at 290,
2539                                                          MaryEllen         McCarthy        Rice                        States          Kevin                 Michael       McCarthy                     States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                           United                                                             1:02-cv-01616,
2540 Richard     J.                 Sullivan                  Kathleen          M.              Sullivan                    States          Kevin                 Michael       McCarthy                     States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3828       Sibling                     3666 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                           United                                                             8679-1, at 289,
2541                                                          Karen             Ann             Toomey                      States          Kevin                 Michael       McCarthy                     States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                305, at P4414,
                                                                                                                                                                                                                                                                                8397-1, at 18,
                                                                                                                            United                                                                           United                                                             8433, 8393-1, at
2542 Rufus       J.                 McDay          Jr.        Cynthia           Elaine          McDay                       States          Tonyell               F.            McDay                        States         9/11/01     NY (WTC)     03-cv-9849                 83, 8487            Parent                      5087 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                           United                                                             1:02-cv-01616,
2543                                                          Rufus             J.              McDay           Jr.         States          Tonyell               F.            McDay                        States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4415       Parent                      4023 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                           United                                                             1:02-cv-01616,
2544                                                          Ruvaughn          Leemar          McDay                       States          Tonyell               F.            McDay                        States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4416       Sibling                     4023 at 18      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                313, at P4694,
                                                                                                                            United                                                                           United                                                             8397-1, at 18,
2545 Suzanne     P.                 McDermott                 Jacqueline        A.              McDermott                   States          Matthew               Thomas        McDermott                    States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      3666 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                           United                                                             1:02-cv-01616,
2546                                                          John              Charles         McDermott                   States          Matthew               Thomas        McDermott                    States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4695       Sibling                     4023 at 18      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                313, at P4693,
                                                                                                                            United                                                                           United                                                             8397-1, at 18,
2547 Suzanne     P.                 McDermott                 John              Edward          McDermott                   States          Matthew               Thomas        McDermott                    States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      5061 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                           United                                                             1:02-cv-01616,
2548                                                          Margaret                          McDermott                   States          Matthew               Thomas        McDermott                    States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4696       Sibling                     5138 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                           United                                                             1:02-cv-01616,
2549                                                          Suzanne           P.              McDermott                   States          Matthew               Thomas        McDermott                    States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4697       Sibling                     5061 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                432, at AP290,
                                                                                                                            United                                                                           United                                                             8393-1, at 683,
2550                                                          Brigid            A.              McDonald                    States          Joseph                Paul          McDonald                     States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5138 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                432, at AP290,
                                                                                                                                                                                                                                                                                6888, at 2, 6904,
                                                                                                                            United                                                                           United                                                             8393-1, at 43,
2551                                                          Denise            Eileen          McDonald                    States          Joseph                Paul          McDonald                     States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                432, at AP290,
                                                                                                                            United                                                                           United                                                             8393-1, at 684,
2552                                                          Kathleen          E.              McDonald                    States          Joseph                Paul          McDonald                     States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 13      $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                       Personal Representative                                            Claimant                                                                               9/11 Decedent                                                                Claim Information                                                  Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                           Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                            on 9/11
                                                                                                              Claimant                                                                                                     Date of                                           Amendments &                       Document
 #        First         Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle        Last          Suffix                               9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                Suffix                                                                                                     Death                                              Substitutions                       ation

                                                                                                                         United                                                                           United                                                            1:02-cv-01616,
2553                                                       Alicia            A.              Arancibia                   States          Brian                 Grady         McDonnell                    States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 3815    Sibling                     4023 at 18      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                             Walter                                      United                                                                           United                                                            1, at 385, 8393-
2554                                                       Heath             McDonnell       Heberlein                   States          Brian                 Grady         McDonnell                    States         9/11/01     NY (WTC)    03-cv-9849                 1, at 111, 8487    Child                       5061 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                           United                                                            1:02-cv-01616,
2555 Alicia       A.                 Arancibia             Ann               Claire          McDonnell                   States          Brian                 Grady         McDonnell                    States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 3812    Parent                      4023 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            26, 29, at 3818,
                                                                                                                         United                                                                           United                                                            8393-1, at 951,
2556                                                       Brian             Michael         McDonnell                   States          Michael               Patrick       McDonnell                    States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5061 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                           United                                                            1:02-cv-01616,
2557                                                       Cheryl            Ann             McDonnell                   States          Michael               Patrick       McDonnell                    States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 3818    Spouse                      5061 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                         United                                                                           United                                                            1, at 385, 8393-
2558                                                       Katharine         Ann             McDonnell                   States          Brian                 Grady         McDonnell                    States         9/11/01     NY (WTC)    03-cv-9849                 1, at 110, 8487    Child                       5087 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                          United                                                            1:02-cv-01616,
2559                                                       Kevin             Walter          McDonnell                   Unknown         Brian                 Grady         McDonnell                    States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 3814    Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            26, 29, at 3818,
                                                                                                                         United                                                                           United                                                            8393-1, at 950,
2560                                                       Kevin             Michael         McDonnell                   States          Michael               Patrick       McDonnell                    States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5061 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                           United                                                            1:02-cv-01616,
2561                                                       Robert            Charles         McDonnell                   States          Brian                 Grady         McDonnell                    States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 3813    Sibling                     4023 at 18      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                             McDonnell-                  United                                                                           United                                                            1, at 385, 8393-
2562                                                       Margaret                          Tiberio                     States          Brian                 Grady         McDonnell                    States         9/11/01     NY (WTC)    03-cv-9849                 1, at 7, 8487      Spouse                      5087 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                           United                                                            8679-1, at 293,
2563                                                       Maureen           McEneaney       Eckman                      States          Eamon                 James         McEneaney                    States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     7188 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                            1:03-cv-09849,
                                                                                                                         United                                                                           United                                                            845, at 1; 8679-
2564                                                       Susan             Mary            Lum                         States          Eamon                 James         McEneaney                    States         9/11/01     NY (WTC)    03-cv-9849                 1, at 294, 8696    Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                            1:03-cv-09849,
                                                                                                                         United                                                                           United                                                            848, at 1; 8679-
2565                                                       Blayney           Peter           McEneaney                   States          Eamon                 James         McEneaney                    States         9/11/01     NY (WTC)    03-cv-9849                 1, at 292, 8696    Sibling                     5061 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            232, at P3831,
                                                                                                                         United                                                                           United                                                            8393-1, at 337,
2566                                                       Brendan                           McEneaney                   States          Eamon                 James         McEneaney                    States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5848 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            232, at P3831,
                                                                                                                         United                                                                           United                                                            8393-1, at 334,
2567                                                       Jennifer          Jeanne          McEneaney                   States          Eamon                 James         McEneaney                    States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5848 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:03-cv-09849,
                                                                                                                         United                                                                           United                                                            845, at 5; 8679-
2568                                                       Kevin             Edward          McEneaney                   States          Eamon                 James         McEneaney                    States         9/11/01     NY (WTC)    03-cv-9849                 1, at 296, 8696    Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            232, at P3831,
                                                                                                                         United                                                                           United                                                            8393-1, at 335,
2569                                                       Kevin             Blayney         McEneaney                   States          Eamon                 James         McEneaney                    States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5848 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            232, at P3831,
                                                                                                                         United                                                                           United                                                            8393-1, at 336,
2570                                                       Kyle              MacDonald       McEneaney                   States          Eamon                 James         McEneaney                    States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5848 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                           United                                                            8679-1, at 295,
2571                                                       Patrick           Bernard         McEneaney                   States          Eamon                 James         McEneaney                    States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     515 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            232, at P3831,
                                                                                                                                                                                                          United                                                            8393-1, at 21,
2572                                                       Bonnie            McEneaney       McNamara                    Unknown         Eamon                 James         McEneaney                    States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5848 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          United                                                            1:02-cv-01616,
2573                                                       Agnes             Marie           Duhamel                     Unknown         John                  T.            McErlean         Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4421      Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                          United                                                            1:02-cv-01616,
2574                                                       Catherine                         Francese                    Unknown         John                  T.            McErlean         Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4420      Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                           United                                                            1:02-cv-01616,
2575                                                       Marie             McErlean        Hunter                      States          John                  T.            McErlean         Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4422      Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                           United                                                            1:02-cv-01616,
2576 Catherine                       Francese              Agnes             Marie           McErlean                    States          John                  T.            McErlean         Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4418      Parent                      3666 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                           United                                                            1:02-cv-01616,
2577 Catherine                       Francese              John              Thomas          McErlean        Sr.         States          John                  T.            McErlean         Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4417      Parent                      3666 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            305, at P4419,
                                                                                                                         United                                                                           United                                                            8397-1, at 18,
2578 Kathy                           McErlean              Thomas            M.              McErlean                    States          John                  T.            McErlean         Jr.         States         9/11/01     NY (WTC)    03-cv-9849                 8433               Sibling                     4880 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                           United                                                            1:02-cv-01616,
2579                                                       Andrew            Michael         McGinly                     States          Mark                  Ryan          McGinly                      States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 3836    Sibling                     4023 at 18      $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                         Page 99 of 170
                                                                                                           Case 1:03-md-01570-GBD-SN                                       Document 9716-2                                 Filed 04/23/24              Page 101 of 171
                                                                                                                                                                            EXHIBIT B-1
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                            Claimant                                                                                9/11 Decedent                                                                    Claim Information                                                    Solatium Damages




                                                                                                                         Nationality




                                                                                                                                                                                                            Nationality
                                                                                                                          on 9/11




                                                                                                                                                                                                             on 9/11
                                                                                                            Claimant                                                                                                        Date of                                            Amendments &                        Document
 #       First           Middle         Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle        Last              Suffix                              9/11 Site        Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                              Suffix                                                                                                        Death                                               Substitutions                        ation

                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
2580                                                    Patricia          Denise          McGinly                      States          Mark                  Ryan          McGinly                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3834     Parent                      4126 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
2581                                                    Sean              Matthew         Mcginly                      States          Mark                  Ryan          McGinly                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3835     Sibling                     4023 at 18       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
2582                                                    William           Cornelius       McGinly         III          States          Mark                  Ryan          McGinly                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3833     Parent                      4023 at 18       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 2171,
                                                                                                                       United                                                                              United                                                             8393-1, at 1420,
2583                                                    Katherine         Julia           Athey                        States          William               J.            McGovern                        States 9/11/01             NY (Other)   03-cv-9849                 8487                Child                       5087 at 13       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United          William               J.            McGovern                        United                     NY (Other)                              8679-1, at 298,
2584                                                    John              Vincent         Cuccinello                   States                                                                              States 9/11/01                          03-cv-9849                 8696                Step-Child                  5951 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                              United                                                             8679-1, at 297,
2585 Raymond                                            Kathleen          E.              DeCasper                     States          William               J.            McGovern                        States 9/11/01             NY (Other)   03-cv-9849                 8696                Sibling                     5087 at 13       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
2586                                                    Mary              Sue             McGovern                     States          William               J.            McGovern                        States 9/11/01             NY (Other)   03-cv-9849                 26, 29, at 2171     Spouse                      5087 at 13       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
2587                                                    Marilyn Ann       M.              Zurica                       Unknown         William               J.            McGovern                        States 9/11/01             NY (Other)   03-cv-9849                 3, at 1437          Sibling                     3666 at 9        $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                              Unknow                                                             1:02-cv-01616,
2588                                                    Frances           Ellen           Sennas                       States          Stacey                Sennas        McGowan                         n      9/11/01             NY (WTC)     03-cv-9849                 3, at 1440          Parent                      4023 at 18       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                       United                                                                              Unknow                                                             3, at 1439, 8397-
2589 Frances     Ellen            Sennas                Semo              Peter           Sennas                       States          Stacey                Sennas        McGowan                         n      9/11/01             NY (WTC)     03-cv-9849                 1, at 25, 8433      Parent                      4023 at 18       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3833,
                                                                                                                       United                                                                              United                                                             8393-1, at 388,
2590                                                    Carolyne          Sheehan         McGuinn                      States          Francis               Noel          McGuinn                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 13       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
2591                                                    Danielle          Terese          McGuinn                      States          Francis               Noel          McGuinn                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3832       Child                       5087 at 14       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3833,
                                                                                                                       United                                                                              United                                                             8393-1, at 389,
2592                                                    Elizabeth         Francis         McGuinn                      States          Francis               Noel          McGuinn                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 13       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3833,
                                                                                                                       United                                                                              United                                                             8393-1, at 25,
2593                                                    Lynn              Sofia           McGuinn                      States          Francis               Noel          McGuinn                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 14       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                                                                                                              432, at P5402,
                                                                                                                       United                                                                              United                                                             8393-1, at 63,
2594                                                    Danielle                          McGuire                      States          Patrick                             McGuire                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5985             $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                                                                                                              432, at P5402,
                                                                                                                       United                                                                              United                                                             8393-1, at 1008,
2595                                                    Mara              Moran           McGuire                      States          Patrick                             McGuire                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5985             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                                                                                                              432, at P5402,
                                                                                                                       United                                                                              United                                                             8393-1, at 1009,
2596                                                    Ryan              Patrick         McGuire                      States          Patrick                             McGuire                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5985             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                                                                                                              432, at P5402,
                                                                                                                       United                                                                              United                                                             8393-1, at 1010,
2597                                                    Sean              Patrick         McGuire                      States          Patrick                             McGuire                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5985             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                                                                                                              432, at P5402,
                                                                                                                       United                                                                              United                                                             8393-1, at 1011,
2598                                                    Shea              Elizabeth       McGuire                      States          Patrick                             McGuire                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5985             $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                       United                                                                              United                                                             3, at 1822, 5284-
2599                                                    Amanda            Laura           Kennedy                      States          Keith                               McHeffey                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 8, 5296       Sibling                     4023 at 18       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                       United                                                                              United                                                             3, at 1821, 5284-
2600                                                    Sherry            Lynn            McHeffey                     States          Keith                               McHeffey                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 8, 5296       Parent                      4023 at 18       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                       United                                                                              United                                                             3, at 1823, 5284-
2601                                                    Leigh             McHeffey        Squillante                   States          Keith                               McHeffey                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 8, 5296       Sibling                     4023 at 18       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                              United                                                             1:02-cv-01616,
2602                                                    Bernadette        Marie           McHugh                       States          Denis                 J.            McHugh           III            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 867           Parent                      4023 at 18       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 3853,
                                                                                                                       United                                                                              United                                                             8393-1, at 291,
2603                                                    Chloe             Beth            McHugh                       States          Dennis                P.            McHugh                          States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 14       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                       Page 100 of 170
                                                                                                         Case 1:03-md-01570-GBD-SN                                       Document 9716-2                                 Filed 04/23/24              Page 102 of 171
                                                                                                                                                                          EXHIBIT B-1
                                                                                                                                                       SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                  Personal Representative                                            Claimant                                                                                9/11 Decedent                                                                    Claim Information                                                  Solatium Damages




                                                                                                                       Nationality




                                                                                                                                                                                                          Nationality
                                                                                                                        on 9/11




                                                                                                                                                                                                           on 9/11
                                                                                                          Claimant                                                                                                        Date of                                            Amendments &                       Document
 #        First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle        Last              Suffix                              9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                            Suffix                                                                                                        Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            155, at P3029,
                                                                                                                     United                                                                              United                                                             8393-1, at 902,
2604                                                  Christian         Salvatore       McHugh                       States          Michael               E.            McHugh           Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            155, at P3029,
                                                                                                                     United                                                                              United                                                             8393-1, at 900,
2605                                                  Connor            Joseph          McHugh                       States          Michael               E.            McHugh           Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                     United                                                                              United                                                             8679-1, at 302,
2606                                                  Darby             Anne            McHugh                       States          Michael               E.            McHugh           Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5848 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                     United                                                                              United                                                             8679-1, at 303,
2607                                                  Eileen            Higgins         McHugh                       States          Michael               E.            McHugh           Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 8696               Parent                      5848 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            26, 29, at 3853,
                                                                                                                     United                                                                              United                                                             8393-1, at 289,
2608                                                  Joseph            Michael         McHugh                       States          Dennis                P.            McHugh                          States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            155, at P3029,
                                                                                                                     United                                                                              United                                                             8393-1, at 901,
2609                                                  Michael           Edward          McHugh          III          States          Michael               E.            McHugh           Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                     United                                                                              United                                                             8679-1, at 301,
2610                                                  Michael           J.              McHugh                       States          Dennis                P.            McHugh                          States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     5087 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                         United                                                             8679-1, at 300,
2611                                                  Michael                           McHugh                       Ireland         Dennis                P.            McHugh                          States         9/11/01     NY (Other)   03-cv-9849                 8696               Parent                      8233 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                     United                                                                              United                                                             8679-1, at 299,
2612                                                  Olivia            Mary            McHugh                       States          Dennis                P.            McHugh                          States         9/11/01     NY (Other)   03-cv-9849                 8696               Parent                      8233 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            26, 29, at 3853,
                                                                                                                     United                                                                              United                                                             8393-1, at 290,
2613                                                  Sophia                            McHugh                       States          Dennis                P.            McHugh                          States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                     United                                                                              United                                                             1:02-cv-01616,
2614                                                  Timothy           S.              McHugh                       States          Denis                 J.            McHugh           III            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 866          Sibling                     4023 at 18      $         4,250,000.00 $   12,750,000.00
                                                                                                                     United                                                                              United                                                             1:02-cv-01616,
2615                                                  Una               Margaret        McHugh                       States          Dennis                P.            McHugh                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3853    Spouse                      5087 at 14      $        12,500,000.00 $   37,500,000.00
                                                                                        McHugh                       United                                                                              United                                                             1:02-cv-01616,
2616                                                  Bernadette        Marie           Torres                       States          Denis                 J.            McHugh           III            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 865          Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                     United                                                                              United                                                             8679-1, at 304,
2617                                                  Michael           Edward          McHugh, Sr.                  States          Michael               E.            McHugh           Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 8696               Parent                      5848 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            155, at P3029,
                                                                                                                     United                                                                              United                                                             8393-1, at 56,
2618                                                  Maria             Amalia          Sayegh                       States          Michael               E.            McHugh           Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5087 at 14      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            155, at P3030,
                                                                                                                     United                                                                              United                                                             8393-1, at 314,
2619                                                  Caitlyn           Marie           McIntyre                     States          Donald                J.            McIntyre                        States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            155, at P3030,
                                                                                                                     United                                                                              United                                                             8393-1, at 315,
2620                                                  Donald            James           McIntyre        Jr.          States          Donald                J.            McIntyre                        States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            155, at P3030,
                                                                                                                     United                                                                              United                                                             8393-1, at 20,
2621                                                  Jeannine          Marie           McIntyre                     States          Donald                J.            McIntyre                        States         9/11/01     NY (Other)   03-cv-9849                 848                Spouse                      5138 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            155, at P3030,
                                                                                                                     United                                                                              United                                                             8393-1, at 316,
2622                                                  Lauren                            McIntyre                     States          Donald                J.            McIntyre                        States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5138 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                     United                                                                              United                                                             1:02-cv-01616,
2623 Patricia                   McKenna               Eugene            Francis         McKenna                      States          Stephanie             Marie         McKenna                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3859    Parent                      5087 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            26, 29, at 2174,
                                                                                                                     United                                                                              United                                                             8393-1, at 76,
2624                                                  Patricia                          McKenna                      States          Stephanie             Marie         McKenna                         States         9/11/01     NY (WTC)     03-cv-9849                 8487               Sibling                     5087 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            26, 29, at 2174,
                                                                                                                     United                                                                              United                                                             8393-1, at 1226,
2625                                                  Brian                             Terzian                      States          Stephanie             Marie         McKenna                         States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                     United                                                                              United                                                             1:02-cv-01616,
2626                                                  Kathryn           Walker          McNeal                       States          Daniel                Walker        McNeal                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3874    Parent                      4023 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                     United                                                                              United                                                             8679-1, at 305,
2627                                                  Kathleen          McNeal          Sheeler                      States          Daniel                Walker        McNeal                          States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5848 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                            1:03-md-01570,
                                                                                                                                                                                                                                                                            3477, at 2412;
                                                                                                                     United                                                                              United                                                             8679-1, at 309,
2628                                                  Bridgette         Ann             McNulty                      States          Sean                  Peter         McNulty                         States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     4023 at 18      $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                     Page 101 of 170
                                                                                                          Case 1:03-md-01570-GBD-SN                                       Document 9716-2                               Filed 04/23/24              Page 103 of 171
                                                                                                                                                                           EXHIBIT B-1
                                                                                                                                                        SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                              Claimant                                                                              9/11 Decedent                                                                  Claim Information                                                  Solatium Damages




                                                                                                                        Nationality




                                                                                                                                                                                                         Nationality
                                                                                                                         on 9/11




                                                                                                                                                                                                          on 9/11
                                                                                                           Claimant                                                                                                      Date of                                            Amendments &                       Document
 #       First      Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle        Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                             Suffix                                                                                                      Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           232, at P3834,
                                                                                                                      United                                                                            United                                                             8397-1, at 19,
2629 Richard     Thomas          McNulty               Gerald            Russell          McNulty        III          States          Sean                  Peter         McNulty                       States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      4023 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:03-md-01570,
                                                                                                                                                                                                                                                                           3477, at 2413;
                                                                                                                      United                                                                            United                                                             8679-1, at 306,
2630                                                   Michelle          Ann              McNulty                     States          Sean                  Peter         McNulty                       States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     4023 at 18      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:03-md-01570,
                                                                                                                                                                                                                                                                           3477, at 2410;
                                                                                                                      United                                                                            United                                                             8679-1, at 307,
2631                                                   Richard           Thomas           McNulty                     States          Sean                  Peter         McNulty                       States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     4023 at 18      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           232, at P3835,
                                                                                                                      United                                                                            United                                                             8397-1, at 19,
2632 Richard     Thomas          McNulty               Rosanne           Atchue           McNulty                     States          Sean                  Peter         McNulty                       States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      4023 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:03-md-01570,
                                                                                                                                                                                                                                                                           3477, at 2411;
                                                                                                                      United                                                                            United                                                             8679-1, at 308,
2633                                                   Sara              Ann              Schultz                     States          Sean                  Peter         McNulty                       States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     4023 at 18      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           77, at P2665,
                                                                                                                      United                                                                            United                                                             8393-1, at 71,
2634                                                   Katherine         M.               Richardson                  States          Robert                W.            McPadden                      States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5138 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 4785,
                                                                                          Goldberg-                   United                                                                            United                                                             5284-1, at 8,
2635                                                   Lisa              Corinne          McWilliams                  States          Martin                Edward        McWilliams                    States         9/11/01     NY (Other)   03-cv-9849                 5296               Spouse                      5951 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 4786,
                                                                                                                      United                                                                            United                                                             5284-1, at 8,
2636                                                   S.                R.               M.                          States          Martin                Edward        McWilliams                    States         9/11/01     NY (Other)   03-cv-9849                 5296               Child                       5061 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2637                                                   Lynn              Mary             McWilliams                  States          Martin                Edward        McWilliams                    States         9/11/01     NY (Other)   03-cv-9849                 3, at 1444         Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2638                                                   Barbara           Ann              Parrett                     States          Martin                Edward        McWilliams                    States         9/11/01     NY (Other)   03-cv-9849                 3, at 1445         Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           232, at P3836,
                                                                                                                      United                                                                            United                     NY                                      8393-1, at 272,
2639                                                   Cassandra         Hansen           Tavolarella                 States          Deborah                             Medwig                        States         9/11/01     (UA175)      03-cv-9849                 8487               Child                       7188 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           232, at P3836,
                                                                                                                      United                                                                            United                     NY                                      8393-1, at 17,
2640                                                   Michael                            Tavolarella                 States          Deborah                             Medwig                        States         9/11/01     (UA175)      03-cv-9849                 8487               Spouse                      5087 at 14      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           232, at P3838,
                                                                                                                      United                                                                            United                                                             8393-1, at 1416,
2641                                                   Kathryn           Meehan           Beaulieu                    States          William               J.            Meehan           Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       6034 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2642                                                   Daniel            A.               Meehan                      States          William               J.            Meehan           Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3837      Child                       6034 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           232, at P3838,
                                                                                                                      United                                                                            United                                                             8393-1, at 88,
2643                                                   Maureen           E.               Meehan                      States          William               J.            Meehan           Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      6034 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                      United                                                                            United                                                             1:02-cv-01616,
2644                                                   William                            Meehan         III          States          William               J.            Meehan           Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3839      Child                       7188 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:03-md-01570,
                                                                                                                                                                                                                                                                           432, at P5404,
                                                                                                                      United                                                                            United                                                             8393-1, at 2,
2645                                                   Gopal             Krishna          Mehta                       States          Alok                  K.            Mehta                         States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      5087 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:03-cv-9849,
                                                                                                                                                                                                                                                                           HAND FILED, at
                                                                         Nicole                                       United                                                                            United                                                             P5178, 8393-1,
2646                                                   Lauren            Meisenheimer     Fletcher                    States          Raymond                             Meisenheimer                  States         9/11/01     NY (Other)   03-cv-9849                 at 1076, 8487      Child                       5087 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:03-cv-9849,
                                                                                                                                                                                                                                                                           HAND FILED, at
                                                                                                                      United                                                                            United                                                             P5178, 8393-1,
2647                                                   Joanne                             Meisenheimer                States          Raymond                             Meisenheimer                  States         9/11/01     NY (Other)   03-cv-9849                 at 67, 8487        Spouse                      5087 at 14      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                           1:03-cv-9849,
                                                                                                                                                                                                                                                                           HAND FILED, at
                                                                                                                      United                                                                            United                                                             P5178, 8393-1,
2648                                                   Kaitlynn          Rose             Meisenheimer                States          Raymond                             Meisenheimer                  States         9/11/01     NY (Other)   03-cv-9849                 at 1077, 8487      Child                       5087 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           305, at P4432,
                                                                                                                      United                                                                            United                                                             8393-1, at 1264,
2649                                                   Dylan             Ross             Meltzer                     States          Stuart                Todd          Meltzer                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5848 at 8       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                      Page 102 of 170
                                                                                                           Case 1:03-md-01570-GBD-SN                                       Document 9716-2                                 Filed 04/23/24              Page 104 of 171
                                                                                                                                                                            EXHIBIT B-1
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                             Claimant                                                                                9/11 Decedent                                                                    Claim Information                                                  Solatium Damages




                                                                                                                        Nationality




                                                                                                                                                                                                            Nationality
                                                                                                                         on 9/11




                                                                                                                                                                                                             on 9/11
                                                                                                           Claimant                                                                                                         Date of                                            Amendments &                       Document
 #       First       Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle          Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                             Suffix                                                                                                         Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4432,
                                                                                                                      United                                                                               United                                                             8393-1, at 1265,
2650                                                    Jacob             Andrew          Meltzer                     States          Stuart                 Todd          Meltzer                         States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5848 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
2651                                                    Joyce             Linda           Meltzer                     States          Stuart                 Todd          Meltzer                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3840      Parent                      5061 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
2652                                                    Kenneth           Robb            Meltzer                     States          Stuart                 Todd          Meltzer                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3841      Sibling                     7188 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
2653                                                    Lawrence                          Meltzer                     States          Stuart                 Todd          Meltzer                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3842      Sibling                     5979 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4432,
                                                                                                                      United                                                                               United                                                             8393-1, at 78,
2654                                                    Lisa                              Meltzer                     States          Stuart                 Todd          Meltzer                         States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5848 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
2655                                                    Zachary                           Meltzer                     States          Stuart                 Todd          Meltzer                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3843      Parent                      5061 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4433,
                                                                                                                      United                                                                               United                                                             8393-1, at 303,
2656                                                    Karelia           A.              Barahona                    States          Diarelia               J.            Mena                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5848 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4433,
                                                                                                                                                                                                           United                                                             8393-1, at 19,
2657                                                    Victor                            Barahona                    Unknown         Diarelia               J.            Mena                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5848 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4434,
                                                                                                                      United                                                                               United                                                             8393-1, at 20,
2658                                                    Earl              Alexander       Dorsey                      States          Dora                   Marie         Menchaca                        States         9/11/01     VA (AA77)    03-cv-9849                 8487               Spouse                      5062 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                      United                                                                               United                                                             8679-1, at 314,
2659                                                    Imani             Marie           Dorsey                      States          Dora                   Marie         Menchaca                        States         9/11/01     VA (AA77)    03-cv-9849                 8696               Child                       5061 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4434,
                                                                                                                      United                                                                               United                                                             8393-1, at 322,
2660                                                    Jaryd             Alexander       Dorsey                      States          Dora                   Marie         Menchaca                        States         9/11/01     VA (AA77)    03-cv-9849                 8487               Child                       5061 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             8679-1, at 312,
2661                                                    Jacqueline        Menchaca        Karastamatis                States          Dora                   Marie         Menchaca                        States         9/11/01     VA (AA77)    03-cv-9849                 8696               Sibling                     5061 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                               United                                                             8679-1, at 313,
2662                                                    Ignacia           R.              Menchaca                    States          Dora                   Marie         Menchaca                        States         9/11/01     VA (AA77)    03-cv-9849                 8696               Parent                      5061 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             8679-1, at 316,
2663                                                    John              J.              Menchaca                    States          Dora                   Marie         Menchaca                        States         9/11/01     VA (AA77)    03-cv-9849                 8696               Sibling                     5061 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                               United                                                             8679-1, at 317,
2664                                                    Jose                              Menchaca        Jr.         States          Dora                   Marie         Menchaca                        States         9/11/01     VA (AA77)    03-cv-9849                 8696               Sibling                     5061 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                               United                                                             8679-1, at 315,
2665                                                    Mark              Anthony         Menchaca                    States          Dora                   Marie         Menchaca                        States         9/11/01     VA (AA77)    03-cv-9849                 8696               Sibling                     5061 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                               United                                                             8679-1, at 311,
2666                                                    Nancy             Jo              Menchaca                    States          Dora                   Marie         Menchaca                        States         9/11/01     VA (AA77)    03-cv-9849                 8696               Sibling                     5061 at 10      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 3884,
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                           United                                                             1, at 363, 8393-
2667                                                    Kerri             Ann             Mendez                      Unknown         Charles                              Mendez                          States         9/11/01     NY (Other)   03-cv-9849                 1, at 9, 8487      Spouse                      5138 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              77, at P2532,
                                                                                                                      United                                                                                                                                                  8393-1, at 75,
2668                                                    Myrtle                            Bazil                       States          Shevonne               Olicia        Mentis                          Guyana 9/11/01             NY (WTC)     03-cv-9849                 8487               Parent                      4023 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4074,
                                                                                                                      United                                                                               United                                                             8393-1, at 66,
2669                                                    Debra                             Mercurio                    States          Ralph                                Mercurio                        States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5848 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                      United                                                                               United                                                             8679-1, at 318,
2670                                                    Genevieve                         Mercurio                    States          Ralph                                Mercurio                        States         9/11/01     NY (WTC)     03-cv-9849                 8696               Child                       5848 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4074,
                                                                                                                      United                                                                               United                                                             8393-1, at 1417,
2671                                                    Joseph                            Mercurio                    States          Ralph                                Mercurio                        States 9/11/01      NY (WTC)            03-cv-9849                 8487               Child                       5848 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
2672                                                    Maria             Lourdes         Lehr                        States          George                               Merino                          States      9/11/01 NY (WTC)            03-CV-9849                 232, at P3844      Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                               Unknow                                                             1:02-cv-01616,
2673                                                    Luis              Eugenio         Merino                      States          George                               Merino                          n      9/11/01      NY (WTC)            03-cv-9849                 232, at P3845      Parent                      4023 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3846,
                                                                                                                      United                                                                               Unknow                                                             8397-1, at 19,
2674 Maria       Lourdes         Lehr                   Zenaida                           Merino                      States          George                               Merino                          n      9/11/01             NY (WTC)     03-cv-9849                 8433               Parent                      5138 at 6       $         8,500,000.00 $   25,500,000.00




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                                                                                                               Case 1:03-md-01570-GBD-SN                                       Document 9716-2                                     Filed 04/23/24              Page 105 of 171
                                                                                                                                                                                EXHIBIT B-1
                                                                                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                               Claimant                                                                                    9/11 Decedent                                                                    Claim Information                                                    Solatium Damages




                                                                                                                             Nationality




                                                                                                                                                                                                                    Nationality
                                                                                                                              on 9/11




                                                                                                                                                                                                                     on 9/11
                                                                                                                Claimant                                                                                                            Date of                                            Amendments &                        Document
 #        First           Middle            Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle            Last              Suffix                              9/11 Site        Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                  Suffix                                                                                                            Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                      1:18-cv-11582,
                                                                                                                           United                                                                                  Unknow                                                             1, at 20; 8679-1,
2675                                                        Margaret          Quinn           Metz                         States          Raymond               Joseph        Metz                 III            n      9/11/01             NY (WTC)     03-cv-9849                 at 319, 8696        Parent                      5087 at 14       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      77, at P2667,
                                                                                                                           United                                                                                  Unknow                                                             8397-1, at 19,
2676 Wendy        Anne             Metz                     Raymond           Joseph          Metz            Jr.          States          Raymond               Joseph        Metz                 III            n      9/11/01             NY (WTC)     03-cv-9849                 8433                Parent                      3666 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                                  Unknow                                                             1:02-cv-01616,
2677                                                        Wendy             Anne            Metz                         States          Raymond               Joseph        Metz                 III            n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 3892     Sibling                     3666 at 9        $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                                  United                                                             1:02-cv-01616,
2678                                                        Alfred                            Milano                       States          Peter                 T.            Milano                              States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1453          Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
2679                                                        Frank                             Milano                       Unknown         Peter                 T.            Milano                              States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1454          Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                                  United                                                             1:02-cv-01616,
2680                                                        Thomas                            Milano                       States          Peter                 T.            Milano                              States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1455          Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
2681                                                        Maureen                           Racioppi                     Unknown         Peter                 T.            Milano                              States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1456          Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                                  United                                                             1:02-cv-01616,
2682                                                        Adele                             Milanowycz                   States          Gregory                             Milanowycz                          States 9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 3900     Parent                      4023 at 18       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                                  United                                                             1:02-cv-01616,
2683                                                        Joseph            Michael         Milanowycz                   States          Gregory                             Milanowycz                          States 9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 3899     Parent                      4023 at 18       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                                  United                                                             1:02-cv-01616,
2684                                                        Steven                            Milanowycz                   States          Gregory                             Milanowycz                          States 9/11/01             NY (WTC)     03-cv-9849                 77, at P2668        Sibling                     4023 at 18       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                                  United                                                             1:02-cv-01616,
2685                                                        Tiffney           Marie           de Vries                     States          Nicole                Carol         Miller                              States 9/11/01             PA (UA93)    03-cv-9849                 26, 29, at 3910     Sibling                     4023 at 18       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                                  Unknow                                                             1:02-cv-01616,
2686                                                        Sondra            Beverly         Foner                        States          Joel                                Miller                              n      9/11/01             NY (WTC)     03-cv-9849                 3, at 1459          Sibling                     3666 at 9        $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                           United                                                                                  Unknow                                                             3, at 1458, 8397-
2687 Sondra       Beverly          Foner                    Stella                            Lazzara                      States          Joel                                Miller                              n      9/11/01             NY (WTC)     03-cv-9849                 1, at 15, 8433      Parent                      5061 at 10       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                                  Unknow                                                             1:02-cv-01616,
2688                                                        Adam              Eric            Miller                       States          Joel                                Miller                              n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 3904     Child                       5062 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      26, 29, at 3907,
                                                                                                                                                                                                                   United                                                             8397-1, at 19,
2689 Tiffney      Marie            de Vries                 David             James           Miller                       Unknown         Nicole                Carol         Miller                              States         9/11/01     PA (UA93)    03-cv-9849                 8433                Parent                      5087 at 14       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                      1:03-cv-09849,
                                                                                                                           United                                                                                  United                                                             843, at 14; 8679-
2690                                                        David             Scott           Miller                       States          Nicole                Carol         Miller                              States         9/11/01     PA (UA93)    03-cv-9849                 1, at 320, 8696     Sibling                     5848 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      26, 29, at 3917,
                                                                                                                           United                                                                                  United                                                             8397-1, at 19,
2691 Clara        Belle            Miller                   James             Ronald          Miller                       States          Robert                C.            Miller               Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 8433                Sibling                     3666 at 9        $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                                  United                                                             1:02-cv-01616,
2692                                                        Mitoko                            Miller                       States          Robert                C.            Miller               Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3915     Spouse                      5061 at 10       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
2693                                                        Terry             Richard         Miller                       Unknown         Robert                C.            Miller               Jr.            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3916     Sibling                     3666 at 9        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:03-md-01570,
                                                                                                                                                                                                                                                                                      432, at P5406,
                                                                                                                           United                                                                                  United                                                             8393-1, at 216,
2694                                                        Colton            Miller          Penrod                       States          Craig                 James         Miller                              States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:03-md-01570,
                                                                                                                                                                                                                                                                                      432, at P5406,
                                                                                                                           United                                                                                  United                                                             8393-1, at 217,
2695                                                        Curt              Miller          Penrod                       States          Craig                 James         Miller                              States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:03-md-01570,
                                                                                                                                                                                                                                                                                      432, at P5406,
                                                                                                                           United                                                                                  United                                                             8393-1, at 13,
2696                                                        Holly             Miller          Penrod                       States          Craig                 James         Miller                              States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5848 at 8        $        12,500,000.00 $   37,500,000.00
                                                                                                                           United                                                                                  United                                                             1:02-cv-01616,
2697                                                        Patricia          Anne            Skic                         States          Michael               Matthew       Miller                              States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2182     Spouse                      5951 at 8        $        12,500,000.00 $   37,500,000.00
                                                                                                                           United                                                                                  United                                                             1:02-cv-01616,
2698                                                        Catherine         Marie           Stefani                      States          Nicole                Carol         Miller                              States         9/11/01     PA (UA93)    03-cv-9849                 26, 29, at 3908     Parent                      4023 at 18       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                      1:03-cv-09849,
                                                                                                                           United                                                                                  United                                                             842, at 19; 8679-
2699                                                        Wayne             S.              Stefani         Jr.          States          Nicole                Carol         Miller                              States 9/11/01             PA (UA93)    03-cv-9849                 1, at 321, 8696     Sibling                     4126 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                                  Unknow                                                             1:02-cv-01616,
2700                                                        Charles           M.              Mills           III          States          Charles               M.            Mills                II             n      9/11/01             NY (WTC)     03-cv-9849                 155, at P3033       Child                       8233 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                                  United                                                             1:02-cv-01616,
2701                                                        Christian                         Minara                       States          Robert                              Minara                              States 9/11/01             NY (Other)   03-cv-9849                 3, at 1468          Child                       5087 at 14       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                               Page 104 of 170
                                                                                                              Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                Filed 04/23/24              Page 106 of 171
                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                               Claimant                                                                                9/11 Decedent                                                                  Claim Information                                                    Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                             Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                              on 9/11
                                                                                                              Claimant                                                                                                       Date of                                            Amendments &                        Document
 #       First           Middle          Last     Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle         Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                Suffix                                                                                                       Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               26, 29, at 3920,
                                                                                                                         United                                                                             United                                                             8397-1, at 19,
2702 Peter       Joseph           Porcelli                 Paula             A.              Minara                      States          Robert                              Minara                         States 9/11/01             NY (Other)   03-cv-9849                 8433                Spouse                      5848 at 8        $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                             United                                                             1:02-cv-01616,
2703                                                       Ryan              Paul            Minara                      States          Robert                              Minara                         States 9/11/01             NY (Other)   03-cv-9849                 3, at 1467          Child                       5087 at 14       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                             Unknow                                                             1:02-cv-01616,
2704                                                       Antonina                          Mingione                    States          Thomas                              Mingione                       n      9/11/01             NY (Other)   03-cv-9849                 26, 29, at 2185     Parent                      5138 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                             Unknow                                                             1:02-cv-01616,
2705                                                       Gerald                            Mingione                    States          Thomas                              Mingione                       n      9/11/01             NY (Other)   03-cv-9849                 26, 29, at 2184     Parent                      5138 at 6        $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                            United                                                             1:03-md-01570,
2706                                                       Joseph            J.              Mistrulli                   Unknown         Joseph                D.            Mistrulli                      States         9/11/01     NY (WTC)     03-cv-9849                 3477, at 2477       Child                       3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               232, at P3849,
                                                                                                                                                                                                            United                                                             8393-1, at 41,
2707                                                       Philomena                         Mistrulli                   Unknown         Joseph                D.            Mistrulli                      States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      3382             $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               232, at P3849,
                                                                                             Mistrulli-                  United                                                                             United                                                             8393-1, at 655,
2708                                                       Angela            Marie           Cantone                     States          Joseph                D.            Mistrulli                      States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       3382             $         8,500,000.00 $   25,500,000.00

                                                                                             Mistrulli-                  United                                                                             United                                                             1:03-md-01570,
2709                                                       Mary              Ann             Rosser                      States          Joseph                D.            Mistrulli                      States         9/11/01     NY (WTC)     03-cv-9849                 3477, at 2478       Child                       3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                             United                                                             1:02-cv-01616,
2710                                                       Christine         Diane           Mitchell                    States          Paul                  T.            Mitchell                       States         9/11/01     NY (Other)   03-cv-9849                 1, at 391           Child                       5087 at 14       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                             United                                                             1:02-cv-01616,
2711                                                       Jennifer          Maureen         Mitchell                    States          Paul                  T.            Mitchell                       States         9/11/01     NY (Other)   03-cv-9849                 1, at 392           Child                       5061 at 10       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                             United                                                             1:02-cv-01616,
2712                                                       Marie             D.              Mitchell                    States          Paul                  T.            Mitchell                       States         9/11/01     NY (Other)   03-cv-9849                 432, at P4892       Sibling                     4126 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                         United                                                                             United                                                             1, at 390, 8393-
2713                                                       Maureen           Frances         Mitchell                    States          Paul                  T.            Mitchell                       States         9/11/01     NY (Other)   03-cv-9849                 1, at 64, 8487      Spouse                      5087 at 14       $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                             United                                                             1:02-cv-01616,
2714                                                       Laura             Marie           Lopez                       States          Richard               P.            Miuccio                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 396           Child                       4023 at 18       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                         United                                                                             United                                                             1, at 394, 8393-
2715                                                       Joyce                             Miuccio                     States          Richard               P.            Miuccio                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 68, 8487      Spouse                      5087 at 14       $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                             United                                                             1:02-cv-01616,
2716                                                       Owen              Richard         Miuccio                     States          Richard               P.            Miuccio                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 395           Child                       4023 at 18       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                                                                                                               HAND FILED, at
                                                                                                                                                                                                            United                                                             P5186, 8397-1,
2717 Robert                       Miuccio       Jr.        Robert            Peter           Miuccio         Sr.         Unknown         Richard               P.            Miuccio                        States         9/11/01     NY (WTC)     03-cv-9849                 at 19, 8433         Sibling                     5138 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                             United                                                             1:02-cv-01616,
2718                                                       Thomas            Paul            Miuccio                     States          Richard               P.            Miuccio                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 397           Child                       5848 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                         United                                                                             United                                                             HAND FILED, at
2719                                                       Mary              Susan           Urs                         States          Richard               P.            Miuccio                        States         9/11/01     NY (WTC)     03-cv-9849                 P5187               Sibling                     5087 at 14       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               305, at P4436,
                                                                                                                         United                                                                             United                                                             8393-1, at 543,
2720                                                       Daniel            Joseph          Mladenik                    States          Jeffrey               P.            Mladenik                       States         9/11/01     NY (AA11)    03-cv-9849                 8487                Child                       5062 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               305, at P4436,
                                                                                                                         United                                                                             United                                                             8393-1, at 544,
2721                                                       Grace             Fu Youjuan      Mladenik                    States          Jeffrey               P.            Mladenik                       States         9/11/01     NY (AA11)    03-cv-9849                 8487                Child                       5062 at 5        $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                               1:03-cv-09849,
                                                                                                                         United                                                                             United                                                             843, at 17; 8679-
2722                                                       Joshua            J.              Mladenik                    States          Jeffrey               P.            Mladenik                       States         9/11/01     NY (AA11)    03-cv-9849                 1, at 323, 8696     Child                       5061 at 10       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               305, at P4438,
                                                                                                                         United                                                                             United                                                             8397-1, at 19,
2723 Scott       Louis            Mladenik                 Kathleen                          Mladenik                    States          Jeffrey               P.            Mladenik                       States         9/11/01     NY (AA11)    03-cv-9849                 8433                Parent                      5138 at 6        $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                               1:03-cv-09849,
                                                                                                                         United                                                                             United                                                             843, at 16; 8679-
2724                                                       Kelly             Suzanne         Mladenik                    States          Jeffrey               P.            Mladenik                       States         9/11/01     NY (AA11)    03-cv-9849                 1, at 322, 8696     Child                       5061 at 10       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                             United                                                             1:02-cv-01616,
2725                                                       Michael           Richard         Mladenik                    States          Jeffrey               P.            Mladenik                       States         9/11/01     NY (AA11)    03-cv-9849                 305, at P4440       Sibling                     4023 at 18       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               305, at P4437,
                                                                                                                         United                                                                             United                                                             8397-1, at 19,
2726 Scott       Louis            Mladenik                 Richard                           Mladenik                    States          Jeffrey               P.            Mladenik                       States         9/11/01     NY (AA11)    03-cv-9849                 8433                Parent                      5138 at 6        $         8,500,000.00 $   25,500,000.00




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                                                                                                      Case 1:03-md-01570-GBD-SN                                      Document 9716-2                               Filed 04/23/24              Page 107 of 171
                                                                                                                                                                      EXHIBIT B-1
                                                                                                                                                   SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
               Personal Representative                                            Claimant                                                                               9/11 Decedent                                                                  Claim Information                                                  Solatium Damages




                                                                                                                   Nationality




                                                                                                                                                                                                    Nationality
                                                                                                                    on 9/11




                                                                                                                                                                                                     on 9/11
                                                                                                      Claimant                                                                                                      Date of                                            Amendments &                       Document
 #     First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle        Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                        Suffix                                                                                                      Death                                               Substitutions                       ation

                                                                                                                 United                                                                            United                                                             1:02-cv-01616,
2727                                               Scott             Louis           Mladenik                    States          Jeffrey               P.            Mladenik                      States         9/11/01     NY (AA11)    03-cv-9849                 305, at P4439      Sibling                     4126 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      305, at P4436,
                                                                                                                 United                                                                            United                                                             8393-1, at 34,
2728                                               Suzanne           S.              Mladenik                    States          Jeffrey               P.            Mladenik                      States         9/11/01     NY (AA11)    03-cv-9849                 8487               Spouse                      5062 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                 United                                                                            United                                                             1:02-cv-01616,
2729                                               Deborah           Ann             Atchley                     States          Carl                  Eugene        Molinaro                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 402          Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                   United                                                             1:02-cv-01616,
2730                                               Lisa              Jean            Hojnacki                    Unknown         Carl                  Eugene        Molinaro                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 899          Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                 United                                                                            United                                                             1, at 897, 8393-
2731                                               Carl              E.              Molinaro                    States          Carl                  Eugene        Molinaro                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 123, 8487    Child                       5138 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                 United                                                                            United                                                             1, at 897, 8393-
2732                                               Donna                             Molinaro                    States          Carl                  Eugene        Molinaro                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 8, 8487      Spouse                      5087 at 14      $        12,500,000.00 $   37,500,000.00
2733                                               Eugene                            Molinaro                    Unknown         Carl                  Eugene        Molinaro                      United         9/11/01     NY (WTC)     03-cv-9849                 1:02-cv-01616,     Parent                      3666 at 9       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                   United                                                             1:02-cv-01616,
2734                                               Joan              Olivia          Molinaro                    Unknown         Carl                  Eugene        Molinaro                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 399          Parent                      3666 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                   United                                                             1:02-cv-01616,
2735                                               Lawrence          Charles         Molinaro                    Unknown         Carl                  Eugene        Molinaro                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 401          Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                 United                                                                            United                                                             1, at 897, 8393-
2736                                               Sabrina           Rose            Molinaro                    States          Carl                  Eugene        Molinaro                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 124, 8487    Child                       5087 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                   United                                                             1:02-cv-01616,
2737                                               Trudi             Jean            Venditti                    Unknown         Carl                  Eugene        Molinaro                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 898          Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                 United                                                                            United                                                             1:02-cv-01616,
2738                                               Bernard           J.              Monaghan                    States          Brian                 Patrick       Monaghan                      States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2196    Parent                      4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                            United                                                             1:02-cv-01616,
2739                                               Jeanne            Ann             Monaghan                    States          Brian                 Patrick       Monaghan                      States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3851      Parent                      4126 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                            United                                                             1:02-cv-01616,
2740                                               Danielle          M.              Tiboni                      States          Brian                 Patrick       Monaghan                      States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2197    Sibling                     4126 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                      26, 29, at 2200,
                                                                                                                                                                                                   United                                                             8466-1, at 3,
2741                                               Franklyn                          Monahan         Jr.         Unknown         Franklyn                            Monahan                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       7188 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                            United                                                             8679-1, at 325,
2742                                               James                             Monahan                     States          Franklyn                            Monahan                       States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                 United                                                                            United                                                             8679-1, at 326,
2743                                               Kevin             Brian           Monahan                     States          Franklyn                            Monahan                       States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                 United                                                                            United                                                             1:02-cv-01616,
2744                                               Matthew                           Monahan                     States          Franklyn                            Monahan                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2200
                                                                                                                                                                                                                                                                      1:02-cv-01616,     Child                       5061 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      26, 29, at 2200,
                                                                                                                                                                                                   United                                                             8466-1, at 3,
2745                                               Megan                             Monahan                     Unknown         Franklyn                            Monahan                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       7188 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                            United                                                             8679-1, at 324,
2746                                               Timothy                           Monahan                     States          Franklyn                            Monahan                       States         9/11/01     NY (WTC)     03-cv-9849                 8696               Child                       7188 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      26, 29, at 2492,
                                                                                                                 United                                                                            United                                                             5284-1, at 8,
2747                                               Caren             A.              Montano                     States          Craig                 D.            Montano                       States         9/11/01     NY (WTC)     03-cv-9849                 5296               Spouse                      5087 at 14      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      26, 29, at 2492,
                                                                                                                 United                                                                            United                                                             8393-1, at 212,
2748                                               Christa           Anna            Montano                     States          Craig                 D.            Montano                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      26, 29, at 2492,
                                                                                                                 United                                                                            United                                                             8393-1, at 213,
2749                                               Liam              Frederick       Montano                     States          Craig                 D.            Montano                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      26, 29, at 2492,
                                                                                                                 United                                                                            United                                                             8393-1, at 214,
2750                                               Lukas             Richard         Montano                     States          Craig                 D.            Montano                       States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                            United                                                             8679-1, at 327,
2751                                               Richard           Louis           Montano         Jr.         States          Craig                 D.            Montano                       States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      26, 29, at 3945,
                                                                                                                 United                                                                            United                                                             8393-1, at 915,
2752                                               Ian                               Montesi                     States          Michael               G.            Montesi                       States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5138 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      26, 29, at 3945,
                                                                                                                 United                                                                            United                                                             8393-1, at 916,
2753                                               Matthew           J.              Montesi                     States          Michael               G.            Montesi                       States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5138 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                            United                                                             1:02-cv-01616,
2754                                               Nancy             Eileen          Montesi                     States          Michael               G.            Montesi                       States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3945    Spouse                      5138 at 6       $        12,500,000.00 $   37,500,000.00




                                                                                                                                                                                 Page 106 of 170
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                                                                                                                                                                                EXHIBIT B-1
                                                                                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                                Claimant                                                                                9/11 Decedent                                                                  Claim Information                                                   Solatium Damages




                                                                                                                             Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                              on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                                Claimant                                                                                                       Date of                                            Amendments &                        Document
 #      First         Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                             First             Middle        Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                  Suffix                                                                                                       Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 3945,
                                                                                                                           United                                                                             United                                                             8393-1, at 917,
2755                                                     Ryan                                 Montesi                      States          Michael               G.             Montesi                       States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5138 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2756                                                     Maria             E.                 Montesi-Lauria               States          Michael               G.             Montesi                       States         9/11/01     NY (Other)   03-cv-9849                 155, at P3034       Sibling                     5848 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2757                                                     Doris             Marie              Monyak                       States          Cheryl                Ann            Monyak                        States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4894       Parent                      4023 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 432, at P4893,
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                           United                                                                             United                                                             1, at 363, 8393-
2758                                                     Michael           Joseph             Monyak                       States          Cheryl                Ann            Monyak                        States 9/11/01             NY (WTC)     03-cv-9849                 1, at 9, 8487       Sibling                     4023 at 18      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2759                                                     Arina             Pebbles            Bridges                      States          Sharon                               Moore                         States 9/11/01             NY (WTC)     03-cv-9849                 432, at P4899       Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2760                                                     Barbara           Anne               Bridges                      States          Sharon                               Moore                         States 9/11/01             NY (WTC)     03-cv-9849                 432, at P4896       Parent                      4023 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2761                                                     Violet                               Maddix                       States          Sharon                               Moore                         States 9/11/01             NY (WTC)     03-cv-9849                 432, at P4900       Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2762                                                     Eugene                               Moore                        States          Sharon                               Moore                         States 9/11/01             NY (WTC)     03-cv-9849                 432, at P4895       Parent                      5062 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2763                                                     Rayburn                              Moore                        States          Sharon                               Moore                         States 9/11/01             NY (WTC)     03-cv-9849                 432, at P4897       Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             Unknow                                                             1:02-cv-01616,
2764                                                     Mary Ann                             Moran                        States          Kathleen                             Moran                         n      9/11/01             NY (WTC)     03-cv-9849                 155, at P3036       Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                              United                                                             1, at 405, 8393-
2765                                                     Kathleen          Stapleton          Maycen                       Unknown         Lindsay               S.             Morehouse                     States         9/11/01     NY (WTC)     03-cv-9849                 1, at 50, 8487      Parent                      4023 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2766                                                     Theodore          C.                 Morehouse                    States          Lindsay               S.             Morehouse                     States         9/11/01     NY (WTC)     03-cv-9849                 1, at 404           Parent                      5061 at 10      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                           United                                                                             Unknow                                                             3, at 1788, 5284-
2767                                                     Catherine         Marie              Morgan                       States          Richard               J.             Morgan                        n      9/11/01             NY (Other)   03-cv-9849                 1, at 8, 5296       Child                       4126 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             Unknow                                                             1:02-cv-01616,
2768                                                     Glenn             Patrick            Morgan                       States          Richard               J.             Morgan                        n      9/11/01             NY (Other)   03-cv-9849                 3, at 1473          Child                       5062 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             Unknow                                                             1:02-cv-01616,
2769                                                     Kevin             Jude               Morgan                       States          Richard               J.             Morgan                        n      9/11/01             NY (Other)   03-cv-9849                 3, at 1474          Child                       4023 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2770                                                     Nykiah            Noelle             Morgan                       States          Dorothy               R.             Morgan                        States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1471          Child                       4023 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2771                                                     Christine         Marie              Morris                       States          Lynne                 Irene          Morris                        States 9/11/01             NY (WTC)     03-cv-9849                 232, at P3854       Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2772                                                     Edward            Gerard Charles     Morris                       States          Lynne                 Irene          Morris                        States 9/11/01             NY (WTC)     03-cv-9849                 232, at P3855       Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3856,
                                                                                                                           United                                                                             United                                                             8393-1, at 51,
2773                                                     Harold            Charles            Morris           Jr.         States          Lynne                 Irene          Morris                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 3954,
                                                                                                                           United                                                                             United                                                             8393-1, at 1209,
2774                                                     Hayley            Shaw               Morris                       States          Seth                  A.             Morris                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 3954,
                                                                                                                           United                                                                             United                                                             8393-1, at 1210,
2775                                                     Kyle              Bailey             Morris                       States          Seth                  A.             Morris                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 3954,
                                                                                                                           United                                                                             United                                                             8393-1, at 1211,
2776                                                     Madilynn          Elizabeth          Morris                       States          Seth                  A.             Morris                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3857,
                                                                                                                           United                                                                             United                                                             8393-1, at 51,
2777                                                     Patricia          Marie              Morris                       States          Lynne                 Irene          Morris                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
2778                                                     Lynn                                 Morris-Piccolo               States          Seth                  A.             Morris                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3954     Spouse                      5138 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 4806,
                                                                                                                           United                                                                             Unknow                                                             8397-1, at 19,
2779 Mark       W.                 Merritt               Marianne          Cathleen           Merritt                      States          Christopher           Martel         Morrison                      n      9/11/01             NY (WTC)     03-cv-9849                 8433                Sibling                     4126 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 4807,
                                                                                                                           United                                                                             Unknow                                                             5284-1, at 8,
2780                                                     Cara              Ann                Morrison                     States          Christopher           Martel         Morrison                      n      9/11/01             NY (WTC)     03-cv-9849                 5296                Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00




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                                                                                                                  Case 1:03-md-01570-GBD-SN                                       Document 9716-2                               Filed 04/23/24              Page 109 of 171
                                                                                                                                                                                  EXHIBIT B-1
                                                                                                                                                               SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                         Personal Representative                                               Claimant                                                                               9/11 Decedent                                                                  Claim Information                                                   Solatium Damages




                                                                                                                               Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                                on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                                  Claimant                                                                                                       Date of                                            Amendments &                        Document
 #          First          Middle               Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First             Middle        Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                    Suffix                                                                                                       Death                                               Substitutions                        ation


                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 4804,
                                                                                                                                                                                                                                                                                   5284-1, at 8,
                                                                                                                             United                                                                             Unknow                                                             5296, 8397-1, at
2781 Mark           W.                 Merritt                  Joseph            Edward          Morrison                   States          Christopher           Martel         Morrison                      n      9/11/01             NY (WTC)     03-cv-9849                 20, 8433            Parent                      4126 at 7       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 4805,
                                                                                                                                                                                                                                                                                   5284-1, at 8,
                                                                                                                             United                                                                             Unknow                                                             5296, 8397-1, at
2782 Mark           W.                 Merritt                  Maureen           Ann             Morrison                   States          Christopher           Martel         Morrison                      n      9/11/01             NY (WTC)     03-cv-9849                 20, 8433            Parent                      4023 at 19      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                             United                                                                             United                                                             1, at 408, 8393-
2783                                                            Andrew            Robert          Moskal                     States          William               David          Moskal                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1405, 8487    Child                       5061 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                             United                                                             8679-1, at 329,
2784                                                            Jessica           Ann             Moskal                     States          William               David          Moskal                        States         9/11/01     NY (WTC)     03-cv-9849                 8696                Child                       5848 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                             United                                                             1:02-cv-01616,
2785                                                            Lorraine                          Moskal                     States          William               David          Moskal                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 408           Spouse                      5087 at 14      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 4799,
                                                                                                                             United                                                                             United                                                             5284-1, at 8,
2786                                                            Mary              M.              Belding                    States          Peter                 C.             Moutos                        States         9/11/01     NY (WTC)     03-cv-9849                 5296                Spouse                      5061 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                             United                                                                             United                                                             1:02-cv-01616,
2787                                                            Daniel                            Mozzillo                   States          Christopher           Michael        Mozzillo                      States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 3965     Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                             United                                                             1:02-cv-01616,
2788                                                            Lydia             Theresa         Mozzillo                   States          Christopher           Michael        Mozzillo                      States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2205     Parent                      5062 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2204,
                                                                                                                             United                                                                             United                                                             8393-1, at 11,
2789                                                            Michael                           Mozzillo                   States          Christopher           Michael        Mozzillo                      States         9/11/01     NY (Other)   03-cv-9849                 8487                Parent                      5062 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2516,
                                                                                                  Mozzillo-                  United                                                                             United                                                             5284-1, at 8,
2790                                                            Pamela                            Yarosz                     States          Christopher           Michael        Mozzillo                      States         9/11/01     NY (Other)   03-cv-9849                 5296                Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:03-cv-9849,
                                                                                                                                                                                                                                                                                   HAND FILED, at
                                                                                                                             United                                                                             United                                                             P5199, 8393-1,
2791                                                            Constance                         Muldowney                  States          Richard                              Muldowney                     States         9/11/01     NY (Other)   03-cv-9849                 at 68, 8487         Spouse                      5087 at 14      $        12,500,000.00 $   37,500,000.00
                                                                                                                             United                                                                             United                                                             1:02-cv-01616,
2792                                                            Nancy             Jeanne          Mulligan                   States          Peter                 James          Mulligan                      States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1482          Parent                      4023 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                  Mulligan                   United                                                                             United                                                             1:02-cv-01616,
2793                                                            Sara              Kavanagh        Wightman                   States          Peter                 James          Mulligan                      States         9/11/01     NY (WTC)     03-cv-9849                 1, at 409           Spouse                      5061 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
2794 Lynn           Anne               Mullin                   Fredric           J.              Mullin                     Unknown         Michael               Joseph         Mullin                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3979     Parent                      5138 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
2795                                                            Lynn              Anne            Mullin                     Unknown         Michael               Joseph         Mullin                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 3978     Parent                      5138 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2208,
                                                                                                                             United                                                                             United                                                             8393-1, at 30,
2796                                                            Lauren            Elizabeth       Munhall                    States          James                 Donald         Munhall                       States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       7188 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2208,
                                                                                                                             United                                                                             United                                                             8393-1, at 30,
2797                                                            Susan             King            Munhall                    States          James                 Donald         Munhall                       States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5061 at 10      $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                United                                                             3, at 1484, 8393-
2798                                                            Maritza                           Arzayus                    Colombia        Carlos                               Munoz                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 8, 8487       Spouse                      5087 at 14      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:03-cv-9849,
                                                                                                                                                                                                                                                                                   HAND FILED, at
                                                                                                                             United                                                                             United                                                             P5201, 8393-1,
2799                                                            Christine         M.              Munson                     States          Theresa               Ann            Munson                        States         9/11/01     NY (WTC)     03-cv-9849                 at 80, 8487         Child                       4023 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P3858,
                                                                                                                             United                                                                             United                                                             8393-1, at 1136,
2800                                                            Hayley            Noelle          Murach                     States          Robert                               Murach                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P3858,
                                                                                                                             United                                                                             United                                                             8393-1, at 70,
2801                                                            Laurie            Ann             Murach                     States          Robert                               Murach                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5848 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P3858,
                                                                                                                             United                                                                             United                                                             8393-1, at 1137,
2802                                                            Madison           Zoe             Murach                     States          Robert                               Murach                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                              Page 108 of 170
                                                                                                               Case 1:03-md-01570-GBD-SN                                      Document 9716-2                               Filed 04/23/24              Page 110 of 171
                                                                                                                                                                               EXHIBIT B-1
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                                    Claimant                                                                            9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                             Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                              on 9/11
                                                                                                               Claimant                                                                                                      Date of                                            Amendments &                        Document
 #        First       Middle            Last       Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle        Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                      Death                                               Substitutions                        ation

                                                                                                                          United                                                                            Unknow                                                             1:02-cv-01616,
2803                                                        Carolyn           Marchesa Xenia     Alderman                 States          Cesar                 A.            Murillo                       n      9/11/01             NY (WTC)     03-cv-9849                 232, at P3860       Sibling                     5848 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                            Unknow                                                             1:02-cv-01616,
2804                                                        Nilvia                               Mitchell                 States          Cesar                 A.            Murillo                       n      9/11/01             NY (WTC)     03-cv-9849                 232, at P3859       Parent                      3666 at 9       $         8,500,000.00 $   25,500,000.00

                                                                                                                          United                                                                            Unknow                                                             1:03-md-01570,
2805                                                        Elizabeth         Murphy             Cooke                    States          James                 Francis       Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 432, at P5417       Sibling                     5087 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                            Unknow                                                             1:02-cv-01616,
2806                                                        Mary              L.                 Middleton                States          James                 Thomas        Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 3, at 1486          Spouse                      5848 at 8       $        12,500,000.00 $   37,500,000.00

                                                                                                                          United                                                                            United                                                             Pending Motion
2807                                                        Ann               M.                 Murphy                   States          Brian                 J.            Murphy                        States         9/11/01     NY           03-cv-9849                 at ECF No. 9533     Sibling                     5139 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               155, at P3038,
                                                                              Goldsborough                                United                                                                            United                                                             8393-1, at 12,
2808                                                        Catherine         White              Murphy                   States          Christopher           W.            Murphy                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 14      $        12,500,000.00 $   37,500,000.00

                                                                                                                          United                                                                            United                                                             Pending Motion
2809                                                        Cynthia           L.                 Murphy                   States          Brian                 J.            Murphy                        States         9/11/01     NY           03-cv-9849                 at ECF No. 9533     Sibling                     5139 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                            United                                                             1:02-cv-01616,
2810                                                        Daniel            William            Murphy                   States          Edward                Charles       Murphy                        States         9/11/01     NY (WTC)     03-cv-9849                 232, at P4076       Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                                                                                                               HAND FILED, at
                                                                                                                          United                                                                            Unknow                                                             P5203, 8397-1,
2811 Lori-Jean                    Murphy                    Dolores           Barbara            Murphy                   States          Patrick               Sean          Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 at 20, 8433         Parent                      3666 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:18-cv-11515,
                                                                                                                                                                                                            United                                                             1, at 59; 8679-1,
2812                                                        Edward            Joseph             Murphy                   Unknown         Raymond               E.            Murphy           Sr.          States         9/11/01     NY (Other)   03-cv-9849                 at 338, 8696        Sibling                     5848 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               232, at P3861,
     Daniel;                                                                                                              United                                                                            United                                                             8397-1, at 20,
2813 Richard      William; Edward Murphy; Murphy            Evelyn            M.                 Murphy                   States          Edward                Charles       Murphy                        States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      5138 at 6       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                               1:03-cv-09849,
                                                                                                                          United                                                                            Unknow                                                             841, at 13; 8679-
2814                                                        Francis           Gerard             Murphy                   States          James                 Thomas        Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 1, at 335, 8696     Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               155, at P3038,
                                                                                                                          United                                                                            United                                                             8393-1, at 190,
2815                                                        Hannah                               Murphy                   States          Christopher           W.            Murphy                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 14      $         8,500,000.00 $   25,500,000.00

                                                                                                                          United                                                                            United                                                             Pending Motion
2816                                                        Harold            A.                 Murphy                   States          Brian                 J.            Murphy                        States         9/11/01     NY           03-cv-9849                 at ECF No. 9533     Sibling                     5139 at 3       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               155, at P3038,
                                                                                                                          United                                                                            United                                                             8393-1, at 189,
2817                                                        Hopewell                             Murphy                   States          Christopher           W.            Murphy                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 14      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                          United                                                                            Unknow                                                             3, at 1486, 8393-
2818                                                        James             Thomas             Murphy       Jr.         States          James                 Thomas        Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 1, at 508, 8487     Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                            Unknow                                                             1:02-cv-01616,
2819                                                        Joan              Virginia           Murphy                   States          James                 Thomas        Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 3986     Parent                      5062 at 5       $         8,500,000.00 $   25,500,000.00

                                                                                                                          United                                                                            United                                                             Pending Motion
2820                                                        Judith            Bram               Murphy                   States          Brian                 J.            Murphy                        States         9/11/01     NY           03-cv-9849                 at ECF No. 9533     Spouse                      4880 at 622     $        12,500,000.00 $   37,500,000.00

                                                                                                                          United                                                                            Unknow                                                             1:03-md-01570,
2821                                                        Kathleen          Marie              Murphy                   States          James                 Francis       Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 432, at P5414       Sibling                     5061 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                            United                                                             8679-1, at 337,
2822                                                        Kenneth           George             Murphy                   States          Raymond               E.            Murphy           Sr.          States 9/11/01             NY (Other)   03-cv-9849                 8696                Sibling                     5848 at 8       $         4,250,000.00 $   12,750,000.00

                                                                                                                          United                                                                            Unknow                                                             1:03-md-01570,
2823                                                        Kristin           M.                 Murphy                   States          James                 Francis       Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 432, at P5416       Sibling                     5356 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               26, 29, at 3990,
                                                                                                                          United                                                                            United                                                             8393-1, at 67,
2824                                                        Linda             Marie              Murphy                   States          Raymond               E.            Murphy           Sr.          States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5061 at 10      $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                               1:03-cv-09849,
                                                                                                                          United                                                                            Unknow                                                             841, at 14; 8679-
2825                                                        Mark              Eugene             Murphy                   States          James                 Thomas        Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 1, at 330, 8696     Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                          United                                                                            Unknow                                                             3, at 1486, 8393-
2826                                                        Meredith          James              Murphy                   States          James                 Thomas        Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 1, at 509, 8487     Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00




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                                                                                                                   Case 1:03-md-01570-GBD-SN                                       Document 9716-2                               Filed 04/23/24              Page 111 of 171
                                                                                                                                                                                    EXHIBIT B-1
                                                                                                                                                                 SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                       Personal Representative                                                  Claimant                                                                               9/11 Decedent                                                                  Claim Information                                                   Solatium Damages




                                                                                                                                 Nationality




                                                                                                                                                                                                                  Nationality
                                                                                                                                  on 9/11




                                                                                                                                                                                                                   on 9/11
                                                                                                                    Claimant                                                                                                      Date of                                            Amendments &                        Document
 #          First        Middle             Last       Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle        Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                      Suffix                                                                                                      Death                                               Substitutions                        ation



                                                                                                                                                                                                                                                                                    1:03-cv-09849,
                                                                                                                               United                                                                            Unknow                                                             841, at 15; 8679-
2827                                                            Michael           Thomas          Murphy                       States          James                 Thomas        Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 1, at 334, 8696     Sibling                     5848 at 8       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                               United                                                                            Unknow                                                             3, at 1486, 8393-
2828                                                            Morgan            Shay            Murphy                       States          James                 Thomas        Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 1, at 510, 8487     Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 3991,
                                                                                                                               United                                                                            United                                                             8397-1, at 20,
2829 Linda          Marie             Murphy                    Raymond                           Murphy          Jr.          States          Raymond               E.            Murphy           Sr.          States         9/11/01     NY (Other)   03-cv-9849                 8433                Child                       5061 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                            United                                                             1:02-cv-01616,
2830                                                            Richard           Edward          Murphy                       States          Edward                Charles       Murphy                        States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3862       Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                               United                                                                            United                                                             8679-1, at 336,
2831                                                            Robert            Edward          Murphy                       States          Raymond               E.            Murphy           Sr.          States         9/11/01     NY (Other)   03-cv-9849                 8696                Sibling                     5848 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 3990,
                                                                                                                               United                                                                            United                                                             8393-1, at 1075,
2832                                                            Sean              Michael         Murphy                       States          Raymond               E.            Murphy           Sr.          States 9/11/01             NY (Other)   03-cv-9849                 8487                Child                       5087 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                            Unknow                                                             8679-1, at 333,
2833                                                            Sean              Patrick         Murphy                       States          James                 Thomas        Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 8696                Sibling                     515 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                                                                                                                    HAND FILED, at
                                                                                                                               United                                                                            Unknow                                                             P5202, 8397-1,
2834 Lori-Jean                        Murphy                    Thomas            Joseph          Murphy                       States          Patrick               Sean          Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 at 20, 8433         Parent                      3666 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                            Unknow                                                             1:02-cv-01616,
2835                                                            Thomas            Joseph          Murphy                       States          James                 Thomas        Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 3988     Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                               United                                                                            Unknow                                                             1:02-cv-01616,
2836 Joan           Virginia          Murphy                    William           Charles         Murphy          Jr.          States          James                 Thomas        Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 3985     Parent                      5062 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                            Unknow                                                             1:02-cv-01616,
2837                                                            William           C.              Murphy          III          States          James                 Thomas        Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 3987     Sibling                     7188 at 11      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                    1:03-cv-09849,
                                                                                                  Murphy-                      United                                                                            Unknow                                                             841, at 17; 8679-
2838                                                            Diane             Virginia        Boiven                       States          James                 Thomas        Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 1, at 332, 8696     Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                    1:03-cv-09849,
                                                                                                                               United                                                                            Unknow                                                             841, at 16; 8679-
2839                                                            Joan              Patricia        Murphy-Wolf                  States          James                 Thomas        Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 1, at 331, 8696     Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00

                                                                                                                               United                                                                            Unknow                                                             1:03-md-01570,
2840                                                            Helen             Marie           Sweeney                      States          James                 Francis       Murphy                        n      9/11/01             NY (WTC)     03-cv-9849                 432, at P5415       Sibling                     5356 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                 United                                                             1:02-cv-01616,
2841                                                            Catherine         Marie           Datz                         Unknown         John                  J.            Murray                        States 9/11/01             NY (WTC)     03-cv-9849                 155, at P3039       Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                               United                                                                            United                                                             1:02-cv-01616,
2842                                                            Jayne             Ellen           Dellose                      States          John                  J.            Murray                        States 9/11/01             NY (WTC)     03-cv-9849                 232, at P3864       Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 2213,
                                                                                                                               United                                                                            United                                                             8393-1, at 613,
2843                                                            Alyson            Rose            Murray                       States          John                  J.            Murray                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5356 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                            United                                                             1:02-cv-01616,
2844                                                            Mary              Louise          Murray                       States          John                  J.            Murray                        States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3040       Parent                      5138 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                            United                                                             1:02-cv-01616,
2845                                                            Michael           Christopher     Murray                       States          John                  J.            Murray                        States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3041       Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    1, at 770, 7964,
                                                                                                                               United                                                                            United                                                             at 2, 7980, 8397-
2846 John                             Murray                    Patricia          Helen           Murray                       States          John                  Joseph        Murray           Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 20, 8433      Spouse                      8233 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                               United                                                                            United                                                             1:02-cv-01616,
2847                                                            Philip            J.              Murray                       States          John                  J.            Murray                        States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3865       Sibling                     4126 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    155, at P3042,
     Michael;                                                                                                                  United                                                                            United                                                             8397-1, at 20,
2848 Philip         Christopher; J.   Murray; Murray            Philip            C.              Murray                       States          John                  J.            Murray                        States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      5061 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                            United                                                             1:02-cv-01616,
2849                                                            Rosemary          Owens           Murray                       States          John                  J.            Murray                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2213     Spouse                      5356 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                               United                                                                            United                                                             1:02-cv-01616,
2850                                                            Virginia          Mary            Regan                        States          John                  J.            Murray                        States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3866       Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                               United                                                                            United                                                             1:02-cv-01616,
2851                                                            Baldev                            Narula                       States          Manika                              Narula                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1489          Parent                      5151 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                            United                                                             1:02-cv-01616,
2852                                                            Madhu             Kaur            Narula                       States          Manika                              Narula                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1490          Parent                      5087 at 14      $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                               Page 110 of 170
                                                                                                                    Case 1:03-md-01570-GBD-SN                                       Document 9716-2                                  Filed 04/23/24              Page 112 of 171
                                                                                                                                                                                    EXHIBIT B-1
                                                                                                                                                                 SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                         Personal Representative                                                Claimant                                                                                   9/11 Decedent                                                                  Claim Information                                                  Solatium Damages




                                                                                                                                 Nationality




                                                                                                                                                                                                                      Nationality
                                                                                                                                  on 9/11




                                                                                                                                                                                                                       on 9/11
                                                                                                                    Claimant                                                                                                          Date of                                            Amendments &                       Document
 #        First           Middle                Last    Suffix    Claimant First   Claimant Middle Claimant Last                                         First             Middle           Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                      Suffix                                                                                                          Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        155, at P3043,
                                                                                                                               United                                                                                United                     NY                                      8393-1, at 75,
2853                                                             Margaret          Marion          Nassaney                    States          Shawn                 Michael        Nassaney                         States         9/11/01     (UA175)      03-cv-9849                 8487               Parent                      4023 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                               United                                                                                United                     NY                                      1, at 787, 8393-
2854                                                             Patrick           John            Nassaney        Sr.         States          Shawn                 Michael        Nassaney                         States         9/11/01     (UA175)      03-cv-9849                 1, at 75, 8487     Parent                      4023 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                                United                     NY                                      1:02-cv-01616,
2855                                                             Patrick           John            Nassaney        Jr.         States          Shawn                 Michael        Nassaney                         States         9/11/01     (UA175)      03-cv-9849                 155, at P3044      Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                               United                                                                                United                     NY                                      1:02-cv-01616,
2856                                                             Ryan              Albert          Nassaney                    States          Shawn                 Michael        Nassaney                         States         9/11/01     (UA175)      03-cv-9849                 155, at P3045      Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        232, at P3867,
                                                                                                                               United                                                                                                                                                   8393-1, at 61,
2857                                                             Keolahmatie                       Nath                        States          Narender                             Nath                             India  9/11/01             NY (WTC)     03-cv-9849                 8487               Spouse                      5087 at 14      $        12,500,000.00 $   37,500,000.00
                                                                                                                               United                                                                                Unknow                                                             1:02-cv-01616,
2858                                                             Lisa              Ann             Lopiccolo                   States          Joseph                Michael        Navas                            n      9/11/01             NY (Other)   03-cv-9849                 155, at P3046      Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        155, at P3047,
                                                                                                                               United                                                                                Unknow                                                             8397-1, at 20,
2859 Rosemarie                         Navas                     Joseph            N.              Navas                       States          Joseph                Michael        Navas                            n      9/11/01             NY (Other)   03-cv-9849                 8433               Parent                      4126 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                                Unknow                                                             1:02-cv-01616,
2860                                                             Rosemarie                         Navas                       States          Joseph                Michael        Navas                            n      9/11/01             NY (Other)   03-cv-9849                 155, at P3048      Parent                      3666 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                                United                                                             1:02-cv-01616,
2861                                                             Julianne          Nazario         Hilbert                     States          Francis               J.             Nazario                          States 9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 2216    Spouse                      8233 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 2216,
                                                                                                                               United                                                                                United                                                             8393-1, at 387,
2862                                                             Lena              Maryann         Nazario                     States          Francis               J.             Nazario                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       8233 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                               United                                                                                United                                                             1, at 412, 8397-
2863 Mary           Nee                Reilly                    John              G.              Nee                         States          Luke                  G.             Nee                              States         9/11/01     NY (WTC)     03-cv-9849                 1, at 20, 8433     Parent                      5138 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                                United                                                             1:02-cv-01616,
2864                                                             Patricia          Nee             O'Keefe                     States          Luke                  G.             Nee                              States         9/11/01     NY (WTC)     03-cv-9849                 1, at 415          Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                               United                                                                                United                                                             1:02-cv-01616,
2865                                                             Mary              Nee             Reilly                      States          Luke                  G.             Nee                              States         9/11/01     NY (WTC)     03-cv-9849                 1, at 414          Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        305, at P4445,
                                                                                                                               United                                                                                United                                                             8393-1, at 1050,
2866                                                             Austin                            Negron                      States          Pete                                 Negron                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        305, at P4445,
                                                                                                                               United                                                                                United                                                             8393-1, at 65,
2867                                                             Leila                             Negron                      States          Pete                                 Negron                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5087 at 15      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        305, at P4445,
                                                                                                                               United                                                                                United                                                             8393-1, at 1051,
2868                                                             Peter             William         Negron                      States          Pete                                 Negron                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                                United                                                             1:02-cv-01616,
2869                                                             Christopher       Olaf            Neira                       States          Laurie                Ann            Neira                            States         9/11/01     NY (AA11)    03-cv-9849                 305, at P4447      Child                       5061 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        305, at P4446,
                                                                                                                                                                                                                     United                                                             8397-1, at 20,
2870 Francisca      A.                 Wester                    Gilberto          A.              Neira                       Unknown         Laurie                Ann            Neira                            States         9/11/01     NY (AA11)    03-cv-9849                 8433               Spouse                      5138 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        305, at P4448,
                                                                                                                               United                                                                                United                                                             8393-1, at 48,
2871                                                             Francisca         A.              Wester                      States          Laurie                Ann            Neira                            States         9/11/01     NY (AA11)    03-cv-9849                 8487               Child                       4023 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        155, at P3049,
                                                                                                                               United                                                                                United                                                             8393-1, at 479,
2872                                                             Anne              Catherine       Nelson                      States          James                 Arthur         Nelson                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5848 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        155, at P3049;
                                                                                                                                                                                                                                                                                        8393-1, at 30,
                                                                                                                               United                                                                                United                                                             8487, 8397-1, at
2873 Rosanne                           Nelson                    Caitlin           Mary            Nelson                      States          James                 Arthur         Nelson                           States         9/11/01     NY (Other)   03-cv-9849                 21, 8433           Child                       5848 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        232, at P3868,
                                                                                                                                                                                                                                                                                        8393-1, at 3,
                                                                                                                               United                                                                                United                                                             8487, 8397-1, at
2874 Jenette; Scott Carole; Travis     Nelson; Nelson            Gary              Stanley         Nelson                      States          Ann                   Nicole         Nelson                           States         9/11/01     NY (WTC)     03-cv-9849                 21, 8433           Parent                      4126 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                                United                                                             1:02-cv-01616,
2875                                                             Jenette           Carole          Nelson                      States          Ann                   Nicole         Nelson                           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3869      Parent                      4126 at 7       $         8,500,000.00 $   25,500,000.00




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                                                                                                            Case 1:03-md-01570-GBD-SN                                       Document 9716-2                                  Filed 04/23/24              Page 113 of 171
                                                                                                                                                                             EXHIBIT B-1
                                                                                                                                                          SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                  Personal Representative                                                Claimant                                                                                9/11 Decedent                                                                    Claim Information                                                  Solatium Damages




                                                                                                                          Nationality




                                                                                                                                                                                                              Nationality
                                                                                                                           on 9/11




                                                                                                                                                                                                               on 9/11
                                                                                                             Claimant                                                                                                         Date of                                            Amendments &                       Document
 #        First    Middle             Last   Suffix        Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                               Suffix                                                                                                         Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                155, at P3049,
                                                                                                                        United                                                                               United                                                             8393-1, at 30,
2876                                                  Rosanne                               Nelson                      States          James                 Arthur        Nelson                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5087 at 15      $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
2877                                                  Scott                 Travis          Nelson                      States          Ann                   Nicole        Nelson                           States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4904      Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
2878                                                  Ronnie                R.              Tetreault                   States          Renee                 Tetreault     Newell                           States         9/11/01     NY (AA11)    03-cv-9849                 155, at P3051      Sibling                     5087 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                        VA                                      432, at P4905,
                                                                                                                        United                                                                               United                     (Pentagon                               8393-1, at 47,
2879                                                  Tu                    Anh             Honguyen                    States          Khang                 N.            Nguyen                           States         9/11/01     )            03-cv-9849                 8487               Spouse                      5087 at 15      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                        VA                                      432, at P4905,
                                                                                                                        United                                                                               United                     (Pentagon                               8393-1, at 759,
2880                                                  An                    Ho-Ngoc         Nguyen                      States          Khang                 N.            Nguyen                           States         9/11/01     )            03-cv-9849                 8487               Child                       5061 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             8679-1, at 340,
2881                                                  Brian                 Charles         Niederer                    States          Martin                Stewart       Niederer                         States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3870,
                                                                                                                        United                                                                               United                                                             8393-1, at 53,
2882                                                  Charles               W.              Niederer                    States          Martin                Stewart       Niederer                         States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      4023 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             8679-1, at 339,
2883                                                  Marilyn                               Niederer                    States          Martin                Stewart       Niederer                         States         9/11/01     NY (WTC)     03-cv-9849                 8696               Parent                      5087 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                155, at P3054,
                                                                                                                        United                                                                               United                                                             8393-1, at 23,
2884                                                  Alfonse               Joseph          Niedermeyer     IV          States          Alfonse               J.            Niedermeyer                      States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5061 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                155, at P3054,
                                                                                                                        United                                                                               United                                                             8393-1, at 22,
2885                                                  Angelica              J.              Niedermeyer                 States          Alfonse               J.            Niedermeyer                      States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
2886                                                  Carol                 Ann             Niedermeyer                 States          Alfonse               J.            Niedermeyer                      States         9/11/01     NY (Other)   03-cv-9849                 155, at P3053      Parent                      5062 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             8679-1, at 342,
2887                                                  Jack                  Edward          Niedermeyer                 States          Alfonse               J.            Niedermeyer                      States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     7188 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                155, at P3054,
                                                                                                                        United                                                                               United                                                             8393-1, at 2,
2888                                                  Nancy                 Susan           Niedermeyer                 States          Alfonse               J.            Niedermeyer                      States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5087 at 15      $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                               United                                                             8679-1, at 343,
2889                                                  Richard               John            Niedermeyer                 States          Alfonse               J.            Niedermeyer                      States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     7188 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             8679-1, at 341,
2890                                                  Denise                M.              Tracey                      States          Alfonse               J.            Niedermeyer                      States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     5087 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 4019,
                                                                                                                        United                                                                               United                                                             8393-1, at 702,
2891                                                  Christine             Lee             Nieves                      States          Juan                                Nieves              Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5061 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
2892                                                  David                                 Nieves                      States          Juan                                Nieves              Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4020    Child                       5061 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
2893                                                  Irma                  Luz             Nieves                      States          Juan                                Nieves              Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4019    Spouse                      5061 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
2894                                                  John                                  Nieves                      States          Juan                                Nieves              Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4021    Child                       5061 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 4022,
                                                                                                                        United                                                                               United                                                             8393-1, at 44,
2895                                                  Michelle                              Nieves                      States          Juan                                Nieves              Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5062 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                             United                                                             1:02-cv-01616,
2896                                                  Adelma                                Reyes-Jiminez               Colombia        Gloria                Reyes         Nieves                           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2305    Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
2897                                                  Edward                Carl            Nilsen                      States          Troy                  Edward        Nilsen                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4026    Parent                      4126 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
2898                                                  Jennifer              Anne            Nilsen                      States          Troy                  Edward        Nilsen                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4025    Spouse                      5138 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
2899                                                  Ryan                  Thomas          Nilsen                      States          Troy                  Edward        Nilsen                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4025    Child                       515 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
2900                                                  Scott                 Edward          Nilsen                      States          Troy                  Edward        Nilsen                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4025    Child                       515 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
2901                                                  J.                    B.              N.                          States          John                  B.            Niven                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2223    Child                       8233 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
2902                                                  Ellen                 C.              Niven                       States          John                  B.            Niven                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2223    Spouse                      7188 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 4029,
                                                                                                                        United                                                                               United                                                             8397-1, at 18,
2903 Patrick                    McGarry               Kathryn               Marie           McGarry                     States          Katherine             McGarry       Noack                            States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      4126 at 7       $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                                                EXHIBIT B-1
                                                                                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                                  Claimant                                                                                 9/11 Decedent                                                                 Claim Information                                                    Solatium Damages




                                                                                                                             Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                              on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                                Claimant                                                                                                         Date of                                           Amendments &                        Document
 #        First         Middle              Last   Suffix     Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                                9/11 Site       Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                  Suffix                                                                                                         Death                                              Substitutions                        ation

                                                                                                                           United                                                                               United                                                            8679-1, at 344,
2904                                                        Abigail            Michelle        Noel                        States          Curtis                T.            Noel                             States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     7188 at 11       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                                                                                                                                                                                  HAND FILED, at
                                                                                                                           United                                                                               United                                                            P5209, 8393-1,
2905                                                        Michael            Thomas          Noel                        States          Curtis                T.            Noel                             States         9/11/01     NY (WTC)    03-cv-9849                 at 14, 8487         Parent                      4023 at 19       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                               United                                                            8679-1, at 345,
2906                                                        Michael            Thomas          Noel            Jr.         States          Curtis                T.            Noel                             States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     7188 at 11       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                                                                                                                                                                                  HAND FILED, at
                                                                                                                           United                                                                               United                                                            P5210, 8393-1,
2907                                                        Theresa            Martha          Noel                        States          Curtis                T.            Noel                             States         9/11/01     NY (WTC)    03-cv-9849                 at 14, 8487         Parent                      4023 at 19       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  155, at P3055,
                                                                                                                           United                                                                               United                                                            8393-1, at 236,
2908                                                        Jonathan           Daniel          Nolan                       States          Daniel                R.            Nolan                            States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5087 at 15       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  155, at P3055,
                                                                                                                           United                                                                               United                                                            8393-1, at 237,
2909                                                        Kaitlyn            Renee           Nolan                       States          Daniel                R.            Nolan                            States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5087 at 15       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  155, at P3055,
                                                                                                                           United                                                                               United                                                            8393-1, at 15,
2910                                                        Renee              E.              Nolan                       States          Daniel                R.            Nolan                            States         9/11/01     NY (WTC)    03-cv-9849                 8487                Spouse                      5087 at 15       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                United                                                            1:02-cv-01616,
2911                                                        Neal                               Green                       Unknown         Brian                               Nunez                            States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4450       Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                United                                                            1:02-cv-01616,
2912                                                        Eric               Paul            Nunez                       Unknown         Brian                               Nunez                            States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4449       Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  155, at P3056,
                                                                                                                           United                                                                               United                                                            8393-1, at 476,
2913                                                        Kristin            Kathleen        Bennett                     States          James                 A.            Oakley                           States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       515 at 5         $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                               United                                                            8679-1, at 346,
2914                                                        Heather            Elizabeth       Ferreira                    States          James                 A.            Oakley                           States         9/11/01     NY (WTC)    03-cv-9849                 8696                Child                       515 at 5         $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  155, at P3056,
                                                                                                                           United                                                                               United                                                            8393-1, at 477,
2915                                                        Allison            Irene           Oakley                      States          James                 A.            Oakley                           States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       515 at 5         $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  155, at P3056,
                                                                                                                           United                                                                               United                                                            8393-1, at 30,
2916                                                        Denise             I.              Oakley                      States          James                 A.            Oakley                           States         9/11/01     NY (WTC)    03-cv-9849                 8487                Spouse                      5848 at 8        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  155, at P3056,
                                                                                                                                                                                                                United                                                            8393-1, at 478,
2917                                                        Jill                               Oakley                      Unknown         James                 A.            Oakley                           States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5138 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                United                                                            1:02-cv-01616,
2918                                                        Mary               Kathleen        Dishaw                      Unknown         Michael               P.            O'Brien                          States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1502          Sibling                     3666 at 9        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                United                                                            1:02-cv-01616,
2919                                                        Andrew             Thomas          O'Brien                     Unknown         Michael               P.            O'Brien                          States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1500          Sibling                     3666 at 9        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 4038,
                                                                                                                           United                                                                               Unknow                                                            8397-1, at 21,
2920 Marilyn      Jeanne          O'Brien                   Bernard            Joseph          O'Brien                     States          Timothy               M.            O'Brien                          n      9/11/01             NY (WTC)    03-cv-9849                 8433                Parent                      3666 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                               United                                                            8679-1, at 347,
2921                                                        Dennis             Christopher     O'Brien                     States          Michael               P.            O'Brien                          States 9/11/01             NY (WTC)    03-cv-9849                 8696                Sibling                     7188 at 11       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                           United                                                                               United                                                            3, at 1497, 8393-
2922                                                        Derek              Michael         O'Brien                     States          Michael               P.            O'Brien                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 947, 8487     Child                       5087 at 15       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  432, at P4906,
                                                                                                                           United                                                                               United                                                            8397-1, at 21,
2923 Karen        Marie           Collins                   James              P.              O'Brien                     States          James                               O'Brien             Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 8433                Parent                      7188 at 11       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                           United                                                                               United                                                            3, at 1497, 8393-
2924                                                        Kevin              Patrick         O'Brien                     States          Michael               P.            O'Brien                          States 9/11/01             NY (WTC)    03-cv-9849                 1, at 948, 8487     Child                       5087 at 15       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                               Unknow                                                            8679-1, at 349,
2925                                                        Kevin              J.              O'Brien                     States          Timothy               M.            O'Brien                          n      9/11/01             NY (WTC)    03-cv-9849                 8696                Sibling                     5087 at 15       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                               Unknow                                                            1:02-cv-01616,
2926                                                        Marilyn            Jeanne          O'Brien                     States          Timothy               M.            O'Brien                          n      9/11/01             NY (WTC)    03-cv-9849                 26, 29, at 4039     Parent                      3666 at 9        $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                           United                                                                               United                                                            3, at 1499, 8397-
2927 Bridget      Ann             Paluzzi                   Mary               Louise          O'Brien                     States          Michael               P.            O'Brien                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 21, 8433      Parent                      4023 at 19       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                              Page 113 of 170
                                                                                                              Case 1:03-md-01570-GBD-SN                                      Document 9716-2                               Filed 04/23/24              Page 115 of 171
                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                                Claimant                                                                              9/11 Decedent                                                                  Claim Information                                                   Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                            Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                             on 9/11
                                                                                                              Claimant                                                                                                      Date of                                            Amendments &                        Document
 #        First         Middle              Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle        Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                Suffix                                                                                                      Death                                               Substitutions                        ation

                                                                                                                         United                                                                            Unknow                                                             1:02-cv-01616,
2928                                                        Patrick           Denis           O'Brien                    States          Timothy               M.            O'Brien                       n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 4040     Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                            United                                                             1:02-cv-01616,
2929                                                        Rachel                            O'Brien                    States          Michael               P.            O'Brien                       States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1497          Spouse                      5087 at 15      $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                         United                                                                            United                                                             3, at 1498, 8397-
2930 Bridget      Ann             Paluzzi                   Robert            Thomas          O'Brien                    States          Michael               P.            O'Brien                       States 9/11/01             NY (WTC)     03-cv-9849                 1, at 21, 8433      Parent                      5087 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                            Unknow                                                             1:02-cv-01616,
2931                                                        Robert            L.              O'Brien                    States          Timothy               M.            O'Brien                       n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 4041     Sibling                     5087 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:18-cv-11582,
                                                                                                                         United                                                                            Unknow                                                             1, at 18; 8679-1,
2932                                                        Sean              Patrick         O'Brien                    States          Timothy               M.            O'Brien                       n      9/11/01             NY (WTC)     03-cv-9849                 at 348, 8696        Sibling                     5104 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
2933                                                        Bridget           Ann             Paluzzi                    Unknown         Michael               P.            O'Brien                       States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1501          Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                            Unknow                                                             1:02-cv-01616,
2934                                                        Kathleen          Marie           Tighe                      States          Timothy               M.            O'Brien                       n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 2227     Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                              Van                        United                                                                            United                                                             3, at 1497, 8393-
2935                                                        Sarah             O'Brien         Oudenaren                  States          Michael               P.            O'Brien                       States 9/11/01             NY (WTC)     03-cv-9849                 1, at 949, 8487     Child                       5087 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                            Unknow                                                             1:02-cv-01616,
2936                                                        Therese           Anne            Visconti                   States          Timothy               M.            O'Brien                       n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 2228     Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 4044,
                                                                                                                         United                                                                            United                                                             8393-1, at 234,
2937                                                        Connor            Daniel          O'Callaghan                States          Daniel                              O'Callaghan                   States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5061 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 4044,
                                                                                                                         United                                                                            United                                                             8393-1, at 235,
2938                                                        Rhiannon          Rose            O'Callaghan                States          Daniel                              O'Callaghan                   States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5061 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                            United                                                             1:02-cv-01616,
2939                                                        Rhonda            Lee             O'Callaghan                States          Daniel                              O'Callaghan                   States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4044     Spouse                      5061 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                         United                                                                            United                                                             1, at 821, 8393-
2940                                                        Brittany          Paige           Oelschlager                States          Douglas               E.            Oelschlager                   States         9/11/01     NY (Other)   03-cv-9849                 1, at 330, 8487     Child                       5087 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                         United                                                                            United                                                             1, at 821, 8393-
2941                                                        Kayla             Ryan            Oelschlager                States          Douglas               E.            Oelschlager                   States         9/11/01     NY (Other)   03-cv-9849                 1, at 331, 8487     Child                       5087 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                            United                                                             1:02-cv-01616,
2942                                                        Suzanne                           Oelschlager                States          Douglas               E.            Oelschlager                   States         9/11/01     NY (Other)   03-cv-9849                 1, at 821           Spouse                      5061 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                            United                                                             8679-1, at 350,
2943                                                        Teri              S.              Oelschlager                States          Douglas               E.            Oelschlager                   States         9/11/01     NY (Other)   03-cv-9849                 8696                Parent                      7188 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              432, at P4908,
                                                                                                                         United                                                                            United                                                             8393-1, at 36,
2944                                                        Margaret          Mary            Hatch                      States          John                  Alexander     Ogonowski                     States         9/11/01     NY (AA11)    03-cv-9849                 8487                Spouse                      5061 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                            United                                                             1:02-cv-01616,
2945                                                        Carol             A.              Ogonowski                  States          John                  Alexander     Ogonowski                     States         9/11/01     NY (AA11)    03-cv-9849                 432, at P4912       Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              432, at P4908,
                                                                                                                         United                                                                            United                                                             8393-1, at 575,
2946                                                        Caroline          Jane            Ogonowski                  States          John                  Alexander     Ogonowski                     States         9/11/01     NY (AA11)    03-cv-9849                 8487                Child                       5061 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                            United                                                             1:02-cv-01616,
2947                                                        James                             Ogonowski                  States          John                  Alexander     Ogonowski                     States         9/11/01     NY (AA11)    03-cv-9849                 432, at P4911       Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                            United                                                             1:02-cv-01616,
2948                                                        Joseph                            Ogonowski                  States          John                  Alexander     Ogonowski                     States         9/11/01     NY (AA11)    03-cv-9849                 432, at P4910       Sibling                     4126 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              432, at P4908,
                                                                                                                         United                                                                            United                                                             8393-1, at 576,
2949                                                        Laura             Elizabeth       Ogonowski                  States          John                  Alexander     Ogonowski                     States         9/11/01     NY (AA11)    03-cv-9849                 8487                Child                       5061 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              432, at P4908,
                                                                                                                         United                                                                            United                                                             8393-1, at 577,
2950                                                        Mary              Katharine       Ogonowski                  States          John                  Alexander     Ogonowski                     States         9/11/01     NY (AA11)    03-cv-9849                 8487                Child                       5061 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                            United                                                             1:02-cv-01616,
2951                                                        Theresa                           Ogonowski                  States          John                  Alexander     Ogonowski                     States         9/11/01     NY (AA11)    03-cv-9849                 432, at P4909       Parent                      4023 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                            United                                                             8679-1, at 351,
2952                                                        Dolores           Carol           Quigley                    States          John                  Alexander     Ogonowski                     States         9/11/01     NY (AA11)    03-cv-9849                 8696                Sibling                     7188 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                            United                                                             1:02-cv-01616,
2953                                                        Kathleen          Brigid          Gaetano                    States          Thomas                Gerard        O'Hagan                       States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4061     Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                            United                                                             8679-1, at 352,
2954                                                        Bernadette        M.              Hart                       States          Thomas                Gerard        O'Hagan                       States         9/11/01     NY (Other)   03-cv-9849                 8696                Sibling                     5061 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                            United                                                             1:02-cv-01616,
2955                                                        Mary              Ellen           Malone                     States          Thomas                Gerard        O'Hagan                       States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4062     Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                         Page 114 of 170
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                                                                                                                                                                               EXHIBIT B-1
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                               Claimant                                                                                9/11 Decedent                                                                    Claim Information                                                  Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                                Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                                 on 9/11
                                                                                                               Claimant                                                                                                         Date of                                            Amendments &                       Document
 #        First        Middle              Last   Suffix     Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                         Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                  1:03-md-01570,
                                                                                                                                                                                                                                                                                  3477, at 2684;
                                                                                                                          United                                                                               United                                                             8679-1, at 353,
2956                                                       Clare              Regina          Mayer                       States          Thomas                Gerard        O'Hagan                          States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
2957                                                       Jeanne             Theresa         McCabe                      States          Thomas                Gerard        O'Hagan                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4060    Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
2958                                                       Anne               Marie           Moran                       States          Thomas                Gerard        O'Hagan                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4063    Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
2959                                                       Francis            Patrick         O'Hagan         Jr.         States          Thomas                Gerard        O'Hagan                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2230    Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 4058,
                                                                                                                          United                                                                               United                                                             8397-1, at 21,
2960 Jeanne       Theresa          McCabe                  Francis            P.              O'Hagan         Sr.         States          Thomas                Gerard        O'Hagan                          States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      4126 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:03-md-01570,
                                                                                                                                                                                                                                                                                  3477, at 2686;
                                                                                                                          United                                                                               United                                                             8679-1, at 354,
2961                                                       John               Joseph          O'Hagan                     States          Thomas                Gerard        O'Hagan                          States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
2962                                                       Joseph             Edward          O'Hagan                     States          Thomas                Gerard        O'Hagan                          States         9/11/01     NY (Other)   03-cv-9849                 77, at P2674       Sibling                     4023 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
2963                                                       Raymond            Thomas          O'Hagan                     Unknown         Thomas                Gerard        O'Hagan                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4059    Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             8679-1, at 355,
2964                                                       Tara               O'Keefe         Kurella                     States          William               S.            O'Keefe                          States         9/11/01     NY (Other)   03-cv-9849                 8696               Child                       5356 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  232, at P3871,
                                                                                                                          United                                                                               United                                                             8393-1, at 1426,
2965                                                       Kaitlin                            O'Keefe                     States          William               S.            O'Keefe                          States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5356 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  232, at P3871,
                                                                                                                                                                                                               United                                                             8393-1, at 88,
2966                                                       Virginia           M.              O'Keefe                     Unknown         William               S.            O'Keefe                          States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5848 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                                                                                                                                                                                  HAND FILED, at
                                                                                                                          United                                                                               United                                                             P5218, 8393-1,
2967                                                       Christopher        Graig           Olcott                      States          Gerald                M.            Olcott                           States         9/11/01     NY (WTC)     03-cv-9849                 at 421, 8487       Child                       4126 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:03-md-01570,
                                                                                                                                                                                                                                                                                  3477, at 2694;
                                                                                                                          United                                                                               United                                                             8679-1, at 357,
2968                                                       Graig              Aaron           Olcott                      States          Gerald                M.            Olcott                           States         9/11/01     NY (WTC)     03-cv-9849                 8696               Child                       4126 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                               United                                                             8679-1, at 356,
2969                                                       Jill               Stefanie        Olcott                      States          Gerald                M.            Olcott                           States         9/11/01     NY (WTC)     03-cv-9849                 8696               Child                       8233 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                                                                                                                                                                                  HAND FILED, at
                                                                                                                          United                                                                               United                                                             P5218, 8393-1,
2970                                                       Lynn               A.              Olcott                      States          Gerald                M.            Olcott                           States         9/11/01     NY (WTC)     03-cv-9849                 at 27, 8487        Spouse                      5087 at 15      $        12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
2971 Stella                        Olender                 John               Casimir         Olender                     States          Christine                           Olender                          States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4914      Parent                      4126 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  305, at P4457,
                                                                                                                                                                                                                                                                                  8393-1, at 10,
     Alexandra;                    Brzezinski;                                                                            United                                                                               United                                                             8487, 8397-1, at
2972 Wieslaw                       Olender                 Stella                             Olender                     States          Christine                           Olender                          States         9/11/01     NY (WTC)     03-cv-9849                 21, 8433           Parent                      4126 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                               United                                                             8679-1, at 359,
2973                                                       Mary               Olsen           Olesky                      States          Jeffrey               James         Olsen                            States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     5087 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
2974 Clifford     Irving           Olsen                   Barbara            Anne            Olsen                       States          Eric                  Taube         Olsen                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2238    Parent                      4023 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
2975                                                       Carol              Ann             Olsen                       States          Jeffrey               James         Olsen                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2520    Parent                      5062 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
2976                                                       Clifford           Irving          Olsen                       States          Eric                  Taube         Olsen                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4087    Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
2977                                                       Denise             Marie           Olsen                       States          Jeffrey               James         Olsen                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4090    Spouse                      5087 at 15      $        12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
2978                                                       John               Peter           Olsen                       States          Jeffrey               James         Olsen                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2522    Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
2979                                                       Kenneth            Olaf            Olsen                       States          Eric                  Taube         Olsen                            States         9/11/01     NY (Other)   03-cv-9849                 77, at P2677       Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 2521,
                                                                                                                          United                                                                               United                                                             5284-1, at 8,
2980                                                       Neil               Charles         Olsen                       States          Jeffrey               James         Olsen                            States         9/11/01     NY (Other)   03-cv-9849                 5296               Sibling                     5061 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 4090,
                                                                                                                                                                                                               United                                                             8393-1, at 532,
2981                                                       Noah               D.              Olsen                       Unknown         Jeffrey               James         Olsen                            States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 15      $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                             Page 115 of 170
                                                                                                              Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                  Filed 04/23/24              Page 117 of 171
                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                              Claimant                                                                                9/11 Decedent                                                                    Claim Information                                                   Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                              Claimant                                                                                                         Date of                                            Amendments &                        Document
 #        First        Middle              Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                Suffix                                                                                                         Death                                               Substitutions                        ation

                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
2982 Clifford     Irving           Olsen                   Taube             E.              Olsen                       States          Eric                  Taube         Olsen                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2237     Parent                      4126 at 7       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                 1:03-md-01570,
                                                                                                                                                                                                                                                                                 ; 8679-1, at 358,
                                                                                                                                                                                                              United                                                             86963477, at
2983                                                       Todd              Keith           Olsen                       Unknown         Eric                  Taube         Olsen                            States         9/11/01     NY (Other)   03-cv-9849                 2705                Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 4090,
                                                                                                                                                                                                              United                                                             8393-1, at 531,
2984                                                       Tori              R.              Olsen                       Unknown         Jeffrey               James         Olsen                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             8679-1, at 360,
2985                                                       Cynthia           A.              Olsen-Dinkins               States          Jeffrey               James         Olsen                            States         9/11/01     NY (Other)   03-cv-9849                 8696                Sibling                     5087 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 4090,
                                                                                                                                                                                                              United                                                             8393-1, at 533,
2986                                                       Vincent                           Tranchina                   Unknown         Jeffrey               James         Olsen                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 2523,
                                                                                                                         United                                                                               United                                                             5284-1, at 8,
2987                                                       Jane              C.              Wilson                      States          Jeffrey               James         Olsen                            States         9/11/01     NY (Other)   03-cv-9849                 5296                Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                         United                                                                               United                                                             1, at 426, 8393-
2988                                                       Jaclyn            Suzanne         Olson                       States          Steven                J.            Olson                            States         9/11/01     NY (Other)   03-cv-9849                 1, at 1253, 8487    Child                       7180 at 3       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                         United                                                                               United                                                             1, at 426, 8393-
2989                                                       Jessica           Grace           Olson                       States          Steven                J.            Olson                            States         9/11/01     NY (Other)   03-cv-9849                 1, at 1254, 8487    Child                       7180 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
2990                                                       Kenneth           Donald          Olson                       States          Steven                J.            Olson                            States         9/11/01     NY (Other)   03-cv-9849                 3, at 1504          Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                         United                                                                               United                                                             1, at 426, 8393-
2991                                                       Patricia          Anne            Olson                       States          Steven                J.            Olson                            States 9/11/01             NY (Other)   03-cv-9849                 1, at 78, 8487      Spouse                      515 at 5        $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                               Unknow                                                             1:02-cv-01616,
2992                                                       Helen             O'Mahony        Bradley                     States          Matthew               T.            O'Mahony                         n      9/11/01             NY (WTC)     03-cv-9849                 305, at P4452       Parent                      4023 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               Unknow                                                             1:02-cv-01616,
2993                                                       John              Patrick         O'Mahony                    States          Matthew               T.            O'Mahony                         n      9/11/01             NY (WTC)     03-cv-9849                 305, at P4453       Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               Unknow                                                             1:02-cv-01616,
2994                                                       Robert            Joseph          O'Mahony                    States          Matthew               T.            O'Mahony                         n      9/11/01             NY (WTC)     03-cv-9849                 305, at P4455       Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               Unknow                                                             1:02-cv-01616,
2995                                                       Stephen           Thomas          O'Mahony                    States          Matthew               T.            O'Mahony                         n      9/11/01             NY (WTC)     03-cv-9849                 305, at P4454       Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               Unknow                                                             1:02-cv-01616,
2996                                                       Karen             O'Mahony        Speidell                    States          Matthew               T.            O'Mahony                         n      9/11/01             NY (WTC)     03-cv-9849                 305, at P4456       Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
2997                                                       Bridie            McDonough       Ledwell                     States          Peter                 J.            O'Neill             Jr.          States 9/11/01             NY (WTC)     03-cv-9849                 232, at P4078       Sibling                     5061 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P4079,
                                                                                                                         United                                                                               United                                                             8393-1, at 65,
2998                                                       Jeanne            M.              O'Neill                     States          Peter                 J.            O'Neill             Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      5087 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P4080,
                                                                                                                         United                                                                               United                                                             8393-1, at 66,
2999                                                       Peter             James           O'Neill         Sr.         States          Peter                 J.            O'Neill             Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
3000                                                       Thomas            Walter          O'Neill                     States          Peter                 J.            O'Neill             Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P4081       Sibling                     5087 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
3001                                                       Carol             Ann             Smee                        States          Michael               C.            Opperman                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4092     Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
3002                                                       Joyce                             Christopher                 States          Christopher           T.            Orgielewicz                      States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4458       Parent                      3666 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
3003                                                       Laurie            Ann             Christopher                 Unknown         Christopher           T.            Orgielewicz                      States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4459       Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 2241,
                                                                                                                         United                                                                               United                                                             8393-1, at 184,
3004                                                       Katherine         Chris           Orgielewicz                 States          Christopher           T.            Orgielewicz                      States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                         Montenegr                                                                            United                                                             1:02-cv-01616,
3005                                                       Olga                              Orgielewicz                 o               Christopher           T.            Orgielewicz                      States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2241     Spouse                      5087 at 15      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 2241,
                                                                                                                         United                                                                               United                                                             8393-1, at 185,
3006                                                       Ryan              Edward          Orgielewicz                 States          Christopher           T.            Orgielewicz                      States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 2241,
                                                                                                                         United                                                                               United                                                             8393-1, at 186,
3007                                                       Thomas            George          Orgielewicz                 States          Christopher           T.            Orgielewicz                      States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 11      $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                            Page 116 of 170
                                                                                                                  Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                  Filed 04/23/24              Page 118 of 171
                                                                                                                                                                                  EXHIBIT B-1
                                                                                                                                                               SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                                    Claimant                                                                                9/11 Decedent                                                                 Claim Information                                                  Solatium Damages




                                                                                                                               Nationality




                                                                                                                                                                                                                   Nationality
                                                                                                                                on 9/11




                                                                                                                                                                                                                    on 9/11
                                                                                                                  Claimant                                                                                                         Date of                                            Amendments &                       Document
 #       First         Middle               Last   Suffix     Claimant First   Claimant Middle Claimant Last                                           First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                    Suffix                                                                                                         Death                                               Substitutions                       ation

                                                                                                                             United                                                                               United                                                             1:02-cv-01616,
3008                                                        Patricia           Mary                Deechan                   States          Kevin                 M.            O'Rourke                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4081    Sibling                     5062 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                               United                                                             1:02-cv-01616,
3009                                                        Dennis             Patrick Michael     O'Rourke                  States          Kevin                 M.            O'Rourke                         States         9/11/01     NY (Other)   03-cv-9849                 77, at P2676       Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     26, 29, at 4079,
                                                                                                                             United                                                                               United                                                             8397-1, at 21,
3010 Hannah      Elizabeth          O'Rourke                Dennis             Martin              O'Rourke                  States          Kevin                 M.            O'Rourke                         States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      4126 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                  United                                                             1:02-cv-01616,
3011                                                        Hannah             Elizabeth           O'Rourke                  Unknown         Kevin                 M.            O'Rourke                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4080    Parent                      5062 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                               United                                                             1:02-cv-01616,
3012                                                        Jamie              Ann                 O'Rourke                  States          Kevin                 M.            O'Rourke                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4077    Child                       5356 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                               United                                                             1:02-cv-01616,
3013                                                        Maryann            J.                  O'Rourke                  States          Kevin                 M.            O'Rourke                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4076    Spouse                      5356 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                             United                                                                               United                                                             1:02-cv-01616,
3014                                                        Corinne            O'Rourke            Strome                    States          Kevin                 M.            O'Rourke                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4078    Child                       5356 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                               United                                                             1:02-cv-01616,
3015                                                        Gilbert            Gabriel             Ortale                    States          Peter                 Keith         Ortale                           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3872      Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     305, at P4460,
                                                                                                                             United                                                                               United                                                             8393-1, at 23,
3016                                                        Wanda                                  Garcia-Ortiz              States          Emilio                              Ortiz                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5087 at 15      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     305, at P4460,
                                                                                                                             United                                                                               United                                                             8393-1, at 365,
3017                                                        Amanda                                 Ortiz                     States          Emilio                              Ortiz                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5138 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     305, at P4460,
                                                                                                                             United                                                                               United                                                             8393-1, at 366,
3018                                                        Emily                                  Ortiz                     States          Emilio                              Ortiz                            States 9/11/01             NY (WTC)     03-cv-9849                 8487               Child                       5138 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                  United                                                             1:02-cv-01616,
3019                                                        Edna               Iris                Velez                     Unknown         Pablo                               Ortiz                            States 9/11/01             NY (Other)   03-cv-9849                 26, 29, at 4098    Spouse                      5061 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                             United                                                                               Unknow                                                             1:02-cv-01616,
3020                                                        Elizabeth                              Sherry                    States          Robert                              O'Shea                           n      9/11/01             NY (Other)   03-cv-9849                 26, 29, at 2232    Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                               Unknow                                                             1:02-cv-01616,
3021                                                        Jill               Anne                McCullough                States          James                 Robert        Ostrowski                        n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 2518    Sibling                     4126 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                               Unknow                                                             1:02-cv-01616,
3022                                                        Beverly            Ann                 Ostrowski                 States          James                 Robert        Ostrowski                        n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 2244    Parent                      4023 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                               Unknow                                                             1:02-cv-01616,
3023                                                        Stephen            William             Ostrowski                 States          James                 Robert        Ostrowski                        n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 4100    Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     232, at P3873,
                                                                                                                                                                                                                  United                                                             8393-1, at 926,
3024                                                        Christopher        Michael             Otten                     Unknown         Michael               J.            Otten                            States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     232, at P3873,
                                                                                                                                                                                                                  United                                                             8393-1, at 927,
3025                                                        Jason              Robert              Otten                     Unknown         Michael               J.            Otten                            States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     232, at P3873,
                                                                                                                                                                                                                  United                                                             8393-1, at 928,
3026                                                        Jonathan           Daniel              Otten                     Unknown         Michael               J.            Otten                            States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     232, at P3873,
                                                                                                                             United                                                                               United                                                             8393-1, at 57,
3027                                                        Marion             Susan               Otten                     States          Michael               J.            Otten                            States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5087 at 15      $        12,500,000.00 $   37,500,000.00
                                                                                                                             United                                                                               United                                                             1:02-cv-01616,
3028                                                        Amy                Ruth                Morik                     States          Todd                  Joseph        Ouida                            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3874      Sibling                     4126 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                               United                                                             1:02-cv-01616,
3029                                                        Andrea             Lee                 Ouida                     States          Todd                  Joseph        Ouida                            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3875      Parent                      4023 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     232, at P3876,
                                                                                                                             United                                                                               United                                                             8393-1, at 83,
3030 Andrea      Lee                Ouida                   Herbert                                Ouida                     States          Todd                  Joseph        Ouida                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      4023 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                               United                                                             1:02-cv-01616,
3031                                                        Jordan             Daniel              Ouida                     States          Todd                  Joseph        Ouida                            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3877      Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     232, at P3879,
                                                                                                                             United                                                                               United                                                             8393-1, at 55,
3032 Michael     N.                 Delgass                 Rekha              D.                  Packer                    States          Michael               B.            Packer                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5979 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                     232, at P3879,
                                                                                                                             United                                                                               United                                                             8393-1, at 893,
3033                                                        Sarita             Emily               Packer                    States          Michael               B.            Packer                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 15      $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                                               EXHIBIT B-1
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                               Claimant                                                                                 9/11 Decedent                                                                    Claim Information                                                   Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                                  Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                                   on 9/11
                                                                                                               Claimant                                                                                                           Date of                                            Amendments &                        Document
 #       First         Middle             Last      Suffix    Claimant First   Claimant Middle Claimant Last                                        First              Middle           Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                           Death                                               Substitutions                        ation

                                                                                                                                                                                                                                            VA
                                                                                                                          United                                                                                 United                     (Pentagon                               1:02-cv-01616,
3034                                                         Lillian                           Borrero                    States          Diana                 B.              Padro                            States         9/11/01     )            03-cv-9849                 155, at P3058       Sibling                     4126 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                            VA
                                                                                                                          United                                                                                 United                     (Pentagon                               1:02-cv-01616,
3035                                                         Jose              Javier          Padro                      States          Diana                 B.              Padro                            States         9/11/01     )            03-cv-9849                 77, at P2678        Child                       5061 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                            VA
                                                                                                                          United                                                                                 United                     (Pentagon                               1:02-cv-01616,
3036                                                         Juan              Carlos          Padro                      States          Diana                 B.              Padro                            States         9/11/01     )            03-cv-9849                 77, at P2679        Child                       5087 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                            VA                                      77, at P2680,
                                                                                                                          United                                                                                 United                     (Pentagon                               8393-1, at 19,
3037                                                         Jose              E.              Padro-Lebron               States          Diana                 B.              Padro                            States         9/11/01     )            03-cv-9849                 8487                Spouse                      5087 at 15      $        12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                                 United                                                             8679-1, at 361,
3038                                                         Maria             R.              Alfano                     States          Richard               A.              Palazzolo                        States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    432, at P4918,
                                                                                                                                                                                                                                                                                    8397-1, at 22,
                                                                                                                          United                                                                                 United                                                             8433, 8393-1, at
3039 Ronald      J.                 Palazzolo                Annette           M.              Palazzolo                  States          Richard               A.              Palazzolo                        States         9/11/01     NY (WTC)     03-cv-9849                 67, 8487            Parent                      5062 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                 United                                                             8679-1, at 362,
3040                                                         Ronald            J.              Palazzolo                  States          Richard               A.              Palazzolo                        States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 15      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                          United                                                                                 United                                                             3, at 1811, 5284-
3041                                                         Agnes             Marie           McCaffrey                  States          Orio                  Joseph          Palmer                           States         9/11/01     NY (Other)   03-cv-9849                 1, at 8, 5296       Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                 United                                                             3, at 1808, 5284-
3042 Mary        Frances            Palmer-Murphy            Agnes             Louise          Palmer                     Unknown         Orio                  Joseph          Palmer                           States         9/11/01     NY (Other)   03-cv-9849                 1, at 8, 5296       Parent                      3666 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                 United                                                             1:02-cv-01616,
3043                                                         Katherine         Ann             Palmer                     States          Orio                  Joseph          Palmer                           States         9/11/01     NY (Other)   03-cv-9849                 3, at 1813          Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    3, at 1807, 5284-
                                                                                                                                                                                                                                                                                    1, at 9, 5296,
                                                                                                                          United                                                                                 United                                                             8397-1, at 22,
3044 Mary        Frances            Palmer-Murphy            Orio              A.              Palmer                     States          Orio                  Joseph          Palmer                           States         9/11/01     NY (Other)   03-cv-9849                 8433                Parent                      4023 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    3, at 1809, 5284-
                                                                                                                                                                                                                                                                                    1, at 9, 5296,
                                                                                                                                                                                                                 United                                                             8397-1, at 22,
3045 Suzanne                        Palmer                   Stephen           Orio            Palmer                     Unknown         Orio                  Joseph          Palmer                           States         9/11/01     NY (Other)   03-cv-9849                 8433                Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                          United                                                                                 United                                                             3, at 1810, 5284-
3046                                                         Vincent           Alanson         Palmer                     States          Orio                  Joseph          Palmer                           States         9/11/01     NY (Other)   03-cv-9849                 1, at 9, 5296       Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                               Palmer-                    United                                                                                 United                                                             3, at 1812, 5284-
3047                                                         Mary              Frances         Murphy                     States          Orio                  Joseph          Palmer                           States         9/11/01     NY (Other)   03-cv-9849                 1, at 8, 5296       Sibling                     3666 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                 United                                                             1:02-cv-01616,
3048                                                         Fortunata                         Palombo                    Unknown         Frank                                 Palombo                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2246     Parent                      3666 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                 United                                                             1:02-cv-01616,
3049                                                         Marie             Anne            Palombo                    States          Frank                                 Palombo                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2247     Sibling                     6035 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                                 United                                                             1:02-cv-01616,
3050                                                         Barbara                           Polisar                    States          Frank                                 Palombo                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2248     Sibling                     6034 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    155, at P3060,
                                                                                                                          United                                                                                 United                                                             8393-1, at 19,
3051                                                         Barbara                           Pandolfo                   States          Dominique             Lisa            Pandolfo                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                 United                                                             1:02-cv-01616,
3052                                                         Loretta           Ann             Halpert                    States          Paul                  John            Pansini                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2253     Sibling                     8233 at 5       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 2251,
                                                                                                                          United                                                                                 United                                                             8393-1, at 1023,
3053                                                         Anna              Mary            Pansini                    States          Paul                  John            Pansini                          States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5848 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 2251,
                                                                                                                          United                                                                                 United                                                             8393-1, at 1024,
3054                                                         Claire            Adele           Pansini                    States          Paul                  John            Pansini                          States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5848 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                 United                                                             1:02-cv-01616,
3055                                                         Janice                            Pansini                    States          Paul                  John            Pansini                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2251     Spouse                      5848 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                                 United                                                             1:02-cv-01616,
3056                                                         Joseph            Lawrence        Pansini                    States          Paul                  John            Pansini                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2252     Sibling                     4126 at 7       $         4,250,000.00 $   12,750,000.00




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                                                                                                                                                                                EXHIBIT B-1
                                                                                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                         Personal Representative                                             Claimant                                                                                  9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                              Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                               on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                                 Claimant                                                                                                        Date of                                            Amendments &                       Document
 #          First          Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                   Suffix                                                                                                        Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2251,
                                                                                                                            United                                                                              United                                                             8393-1, at 1025,
3057                                                          Paul              Jack            Pansini                     States          Paul                 John          Pansini                          States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5848 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
3058                                                          Robert            Joseph          Pansini         Sr.         States          Paul                 John          Pansini                          States         9/11/01     NY (Other)   03-cv-9849                 305, at P4462      Sibling                     3666 at 10       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 367,
3059                                                          Marianne          Katherine       Carpenter                   States          Edward               J.            Papa                             States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 12       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 366,
3060                                                          Catherine         Mary            Papa                        States          Edward               J.            Papa                             States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 12       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   432, at P4919,
                                                                                                                                                                                                                United                                                             8466-1, at 3,
3061                                                          Kathleen          Christine       Papa                        Unknown         Edward               J.            Papa                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       7188 at 11       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 365,
3062                                                          Margaret          Kathleen        Papa                        States          Edward               J.            Papa                             States         9/11/01     NY (WTC)     03-cv-9849                 8696               Child                       7188 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 368,
3063                                                          Michael           J.              Papa                        States          Edward               J.            Papa                             States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 12       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 363,
3064                                                          Michelle          Rivera          Papa                        States          Edward               J.            Papa                             States         9/11/01     NY (WTC)     03-cv-9849                 8696               Child                       7188 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   432, at P4919,
                                                                                                                            United                                                                              United                                                             8393-1, at 22,
3065                                                          Patricia          N.              Papa                        States          Edward               J.            Papa                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5356 at 5        $        12,500,000.00 $   37,500,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 364,
3066                                                          Elizabeth         Papa            Simons                      States          Edward               J.            Papa                             States         9/11/01     NY (WTC)     03-cv-9849                 8696               Child                       7188 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
3067                                                          Salvatore                         Papasso                     Unknown         Salvatore            T.            Papasso                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2257    Parent                      3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
3068                                                          Theresa                           Papasso                     Unknown         Salvatore            T.            Papasso                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2258    Parent                      3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
3069                                                          Vincent                           Papasso                     Unknown         Salvatore            T.            Papasso                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4106    Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 4108,
                                                                                                                            United                                                                              United                                                             8393-1, at 499,
3070                                                          Justin            Nicholas        Benitez                     States          James                N.            Pappageorge                      States         9/11/01     NY (Other)   03-cv-9849                 8487               Step-Child                  5949 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
3071                                                          Helen             Olga            Carlucci                    States          James                N.            Pappageorge                      States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4109    Sibling                     5848 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 4108,
                                                                                                                            United                                                                              United                                                             8393-1, at 31,
3072 Helen          Olga               Carlucci               Juana             Olga            Pappageorge                 States          James                N.            Pappageorge                      States         9/11/01     NY (Other)   03-cv-9849                 8487               Parent                      5848 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
3073                                                          Gina                              Pinos                       States          James                N.            Pappageorge                      States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4110    Spouse                      5951 at 7        $        12,500,000.00 $   37,500,000.00
                                                                                                                            United                                                                              United                     NY                                      1:02-cv-01616,
3074                                                          Maria             Lisa            Koutny                      States          Marie                              Pappalardo                       States         9/11/01     (UA175)      03-cv-9849                 1, at 429          Child                       4023 at 20       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   305, at P4464,
                                                                                                                            United                                                                              United                     NY                                      8397-1, at 22,
3075 Sara           S.                 Fogg                   Gary              Charles         Pappalardo                  States          Marie                              Pappalardo                       States         9/11/01     (UA175)      03-cv-9849                 8433               Sibling                     4126 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                     NY                                      1:02-cv-01616,
3076                                                          Vernon            Alfred          Randlett                    States          Marie                              Pappalardo                       States         9/11/01     (UA175)      03-cv-9849                 305, at P4465      Sibling                     4146 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 369,
3077                                                          Michael                           Gritsipis                   States          George                             Paris                            States         9/11/01     NY (WTC)     03-cv-9849                 8696               Parent                      7188 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
3078                                                          Christina         Mary            Paris                       Unknown         George                             Paris                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4115    Spouse                      5087 at 16       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 4115,
                                                                                                                            United                                                                              United                                                             8393-1, at 419,
3079                                                          Constantina       Maria           Paris                       States          George                             Paris                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 15       $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
3080                                                          Rose                              Paris                       States          George                             Paris                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4116    Parent                      5087 at 16       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P3887,
                                                                                                                            United                                                                              United                                                             8393-1, at 28,
3081                                                          Jin               Han             Park                        States          Gye                  Hyong         Park                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Sibling                     5848 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
3082                                                          Myong             Kyu             Park                        Korea           Gye                  Hyong         Park                             States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3888      Parent                      5848 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P3889,
                                                                                                                            United                                                                              United                                                             8397-1, at 25,
3083 Jin            Han                Park                   Jung              Hea             Shin                        States          Gye                  Hyong         Park                             States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      5848 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:18-cv-12322,
                                                                                                                            United                                                                              Unknow                                                             1, at 1; 8679-1,
3084                                                          Elizabeth         Anne            Parks                       States          Robert               Emmet         Parks               Jr.          n      9/11/01             NY (WTC)     03-cv-9849                 at 370, 8696       Sibling                     5087 at 16       $         4,250,000.00 $   12,750,000.00




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                                                                                                                                                                                   EXHIBIT B-1
                                                                                                                                                                SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                          Personal Representative                                                Claimant                                                                                 9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                                Nationality




                                                                                                                                                                                                                    Nationality
                                                                                                                                 on 9/11




                                                                                                                                                                                                                     on 9/11
                                                                                                                   Claimant                                                                                                         Date of                                            Amendments &                        Document
 #           First         Middle               Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                     Suffix                                                                                                         Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      305, at P4466,
                                                                                                                              United                                                                               United                                                             8393-1, at 28,
3085                                                            Bharti                             Parmar                     States          Hashmukhrai           C.            Parmar                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5848 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      313, at AP268,
                                                                                                                              United                                                                               United                                                             5284-1, at 9,
3086                                                            Dhirajlal                          Parmar                     Kingdom         Hashmukhrai           C.            Parmar                           States         9/11/01     NY (WTC)     03-cv-9849                 5296                Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      305, at P4466,
                                                                                                                              United                                                                               United                                                             8393-1, at 448,
3087                                                            Rishi                              Parmar                     States          Hashmukhrai           C.            Parmar                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       7188 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      305, at P4466,
                                                                                                                              United                                                                               United                                                             8393-1, at 449,
3088                                                            Shamir                             Parmar                     States          Hashmukhrai           C.            Parmar                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       7188 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      26, 29, at 4120,
                                                                                                                              United                                                                               United                                                             8393-1, at 1138,
3089                                                            John              Robert           Parro                      States          Robert                              Parro                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5969 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      26, 29, at 4120,
                                                                                                                              United                                                                               United                                                             8393-1, at 71,
3090                                                            Karen                              Parro                      States          Robert                              Parro                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5848 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3091                                                            Frank             Michael          Tatum                      States          Diane                 Marie         Parsons                          States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4467       Child                       6203 at 2       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3092                                                            Karen             Marie            Tatum                      States          Diane                 Marie         Parsons                          States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4701       Child                       4023 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3093                                                            Robert            R.               Paskins                    States          Jerrold               H.            Paskins                          States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4469       Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3094                                                            Sarah             P.               Rubinstein                 States          Jerrold               H.            Paskins                          States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4470       Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      305, at P4468,
                                                                                                                              United                                                                               United                                                             8393-1, at 35,
3095                                                            Inez                               Slick                      States          Jerrold               H.            Paskins                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 16      $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                   United                                                             3, at 1518, 8397-
3096 Niraj           J.                 Patel                   Jayant            Ranchhodbhai     Patel                      India           Dipti                               Patel                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 22, 8433      Parent                      4023 at 20      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                              United                                                                               United                                                             3, at 1519, 8397-
3097 Niraj           J.                 Patel                   Kapila            J.               Patel                      States          Dipti                               Patel                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 22, 8433      Parent                      4023 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3098                                                            Nimisha           J.               Patel                      India           Dipti                               Patel                            States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1522          Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                   United                                                             3, at 1520, 8393-
3099                                                            Niraj             J.               Patel                      India           Dipti                               Patel                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 19, 8487      Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3100                                                            Rantik            J.               Patel                      India           Dipti                               Patel                            States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1521          Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3101                                                            Vibhuti           K.               Patel                      India           Dipti                               Patel                            States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1523          Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                   United
                                                                                                                              United                                                                               Kingdo                                                             1:02-cv-01616,
3102                                                            Yogesh            R.               Patel                      States          Avnish                Ramanbhai     Patel                            m              9/11/01     NY (WTC)     03-cv-9849                 3, at 1514          Sibling                     4126 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3103                                                            Lois              Paterson         Gallo                      States          Steven                Bennett       Paterson                         States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2593        Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3104                                                            George            Joseph           Paterson       Jr.         States          Steven                Bennett       Paterson                         States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3062       Sibling                     4023 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3105                                                            Joseph            James            Paterson                   States          Steven                Bennett       Paterson                         States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3063       Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3106                                                            Lisa              Anne             Paterson                   States          Steven                Bennett       Paterson                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4127     Spouse                      5061 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      26, 29, at 4127,
                                                                                                                              United                                                                               United                                                             8393-1, at 1249,
3107                                                            Lucy              Belle            Paterson                   States          Steven                Bennett       Paterson                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      26, 29, at 4127,
                                                                                                                              United                                                                               United                                                             8393-1, at 1250,
3108                                                            Wyatt             James            Paterson                   States          Steven                Bennett       Paterson                         States 9/11/01             NY (WTC)     03-cv-9849                 8487                Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               Unknow                                                             1:02-cv-01616,
3109                                                            Alicia            Marie            Patrick                    States          James                 Matthew       Patrick                          n      9/11/01             NY (WTC)     03-cv-9849                 1, at 436           Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                                 Page 120 of 170
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                                                                                                                                                                          EXHIBIT B-1
                                                                                                                                                       SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                            Claimant                                                                                   9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                        Nationality




                                                                                                                                                                                                           Nationality
                                                                                                                         on 9/11




                                                                                                                                                                                                            on 9/11
                                                                                                           Claimant                                                                                                        Date of                                            Amendments &                       Document
 #       First       Middle            Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award             Amount            Treble          Notes
                                                                                                             Suffix                                                                                                        Death                                               Substitutions                       ation

                                                                                                                      United                                                                              Unknow                                                             1:02-cv-01616,
3110                                                   Barbara           Ann             Patrick                      States          James                Matthew       Patrick                          n      9/11/01             NY (WTC)     03-cv-9849                 1, at 433          Parent                      4023 at 20       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                              Unknow                                                             1:02-cv-01616,
3111                                                   Jerry             Gale            Patrick                      States          James                Matthew       Patrick                          n      9/11/01             NY (WTC)     03-cv-9849                 1, at 434          Parent                      4023 at 20       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                              Unknow                                                             1:02-cv-01616,
3112                                                   Kathryn           Marie           Patrick                      States          James                Matthew       Patrick                          n      9/11/01             NY (WTC)     03-cv-9849                 1, at 437          Sibling                     5062 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                              Unknow                                                             1:02-cv-01616,
3113                                                   Kevin             Michael         Patrick                      States          James                Matthew       Patrick                          n      9/11/01             NY (WTC)     03-cv-9849                 1, at 435          Sibling                     4023 at 20       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                      United                                                                              United                                                             1, at 442, 8393-
3114                                                   Frances                           Patti                        States          Cira                 Marie         Patti                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 12, 8487     Parent                      4023 at 20       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3115                                                   Michael                           Patti                        States          Cira                 Marie         Patti                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 440          Parent                      4023 at 20       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3116                                                   Michael                           Patti            Jr.         States          Cira                 Marie         Patti                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 444          Sibling                     4126 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3117                                                   Richard           Paul            Patti                        States          Cira                 Marie         Patti                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 445          Sibling                     4023 at 20       $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3118                                                   Juliann           Frances         Patti-Andolpho               States          Cira                 Marie         Patti                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 443          Sibling                     4023 at 20       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             77, at P2682,
                                                                                                                                                                                                          United                                                             8393-1, at 81,
3119                                                   Kia               Polyxena        Pavloff                      Unknown         Thomas                             Pecorelli                        States         9/11/01     NY (AA11)    03-cv-9849                 8487               Spouse                      5061 at 11       $        12,500,000.00 $   37,500,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3120                                                   Natalie                           Pecorelli                    States          Thomas                             Pecorelli                        States         9/11/01     NY (AA11)    03-cv-9849                 305, at P4476      Sibling                     4023 at 20       $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3121                                                   Nicolas           Thomas          Pecorelli                    States          Thomas                             Pecorelli                        States         9/11/01     NY (AA11)    03-cv-9849                 77, at P2684       Child                       5061 at 11       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3122                                                   June              Elizabeth       Coppola                      States          Thomas                             Pedicini                         States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4480      Sibling                     5061 at 4        $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3123                                                   Pamela            Marie           Morace                       States          Thomas                             Pedicini                         States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4481      Sibling                     4023 at 20       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             305, at P4478,
                                                                                                                      United                                                                              United                                                             8397-1, at 22,
3124 Pamela      Marie           Morace                Albert            Anthony         Pedicini                     States          Thomas                             Pedicini                         States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      4126 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             305, at P4477,
                                                                                                                                                                                                                                                                             8397-1, at 22,
                                                                                                                      United                                                                              United                                                             8433, 8393-1, at
3125 Pamela      Marie           Morace                Nancy             N.              Pedicini                     States          Thomas                             Pedicini                         States         9/11/01     NY (WTC)     03-cv-9849                 82, 8487           Parent                      4126 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             26, 29, at 4134,
                                                                                                                      United                                                                              United                                                             8393-1, at 43,
3126                                                   Melissa           Mil             Pena                         States          Angel                R.            Pena                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5356 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3127                                                   Michele           Taglieri        Pena                         States          Angel                R.            Pena                             States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4134    Spouse                      5356 at 5        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             26, 29, at 4134,
                                                                                                                      United                                                                              United                                                             8393-1, at 44,
3128                                                   Sara              Jaye            Pena                         States          Angel                R.            Pena                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5356 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             232, at P3894,
                                                                                                                      United                                                                              United                                                             8393-1, at 8,
3129                                                   Cielita           Barber          Peralta                      States          Carl                 Allen         Peralta                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      4023 at 20       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3130                                                   Oscar             Figueras        Peralta                      States          Carl                 Allen         Peralta                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3895      Parent                      4023 at 20       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             26, 29, at 2263,
                                                                                                                      United                                                                              United                                                             8393-1, at 639,
3131                                                   Julia             Amelia          Perconti                     States          Jon                  A.            Perconti                         States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5848 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             26, 29, at 2264,
                                                                                                                      United                                                                              United                                                             8397-1, at 22,
3132 Tammy                       Perconti              Lucia                             Perconti                     States          Jon                  A.            Perconti                         States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      5087 at 16       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3133                                                   Tammy                             Perconti                     States          Jon                  A.            Perconti                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2263    Spouse                      5061 at 11       $        12,500,000.00 $   37,500,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3134                                                   Ramon             Luis            Rodriguez                    States          Angel                              Perez               Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4922      Sibling                     4023 at 20       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
3135                                                   Janice            Lynn            Montoya                      Unknown         John                 William       Perry                            States         9/11/01     NY (Other)   03-cv-9849                 432, at P4925      Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
3136                                                   Joel              R.              Perry                        Unknown         John                 William       Perry                            States         9/11/01     NY (Other)   03-cv-9849                 432, at P4924      Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3137                                                   Angela                            Pesce                        States          Danny                              Pesce                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 452          Sibling                     4146 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
3138                                                   Chiara                            Pesce                        Unknown         Danny                              Pesce                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 450          Parent                      4146 at 3        $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                        Page 121 of 170
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                                                                                                                                                                                   EXHIBIT B-1
                                                                                                                                                                SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                        Personal Representative                                                Claimant                                                                                   9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                                Nationality




                                                                                                                                                                                                                    Nationality
                                                                                                                                 on 9/11




                                                                                                                                                                                                                     on 9/11
                                                                                                                   Claimant                                                                                                         Date of                                            Amendments &                        Document
 #        First           Middle             Last      Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                     Suffix                                                                                                         Death                                               Substitutions                        ation

                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3139                                                            Frank                             Pesce                       States          Danny                               Pesce                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 451           Sibling                     4126 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                              United                                                                               United                                                             1, at 448, 8397-
3140 Angela; Frank                    Pesce; Pesce              Paolo                             Pesce                       States          Danny                               Pesce                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 23, 8433      Parent                      515 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3141                                                            Nancy             Kathleen        Gionco                      States          Michael               John          Pescherine                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1533          Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3142                                                            Anne              Marie           Pescherine                  States          Michael               John          Pescherine                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1531          Parent                      4023 at 21      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                              United                                                                               United                                                             3, at 1530, 8397-
3143 Anne            Marie            Pescherine                Thomas            Francis         Pescherine      Sr.         States          Michael               John          Pescherine                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 23, 8433      Parent                      5061 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3144                                                            William           Kevin           Pescherine                  States          Michael               John          Pescherine                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1532          Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:03-cv-9849,
                                                                                                                              United                                                                               United                                                             HAND FILED, at
3145                                                            Charles           R.              Peterson                    States          Donald                A.            Peterson                         States         9/11/01     PA (UA93)    03-cv-9849                 P5223               Child                       4126 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      313, at P4702,
                                                                                                                              United                                                                               United                                                             8393-1, at 19,
3146                                                            D.                Hamilton        Peterson                    States          Donald                A.            Peterson                         States         9/11/01     PA (UA93)    03-cv-9849                 8487                Child                       4126 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             8679-1, at 371,
3147                                                            David             S               Peterson                    States          Donald                A.            Peterson                         States         9/11/01     PA (UA93)    03-cv-9849                 8696                Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3148                                                            Derek             Earle           Peterson                    States          Davin                 N.            Peterson                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 804           Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                   United                                                             1, at 802, 5284-
3149                                                            Marta             Elisabeth       Peterson                    Norway          Davin                 N.            Peterson                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 9, 5296       Parent                      4023 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                              United                                                                               United                                                             1, at 803, 5284-
3150                                                            Annelise          Peterson        Winter                      States          Davin                 N.            Peterson                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 9, 5296       Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3151                                                            Nicole                            LaMorte                     States          Mark                  James         Petrocelli                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 455           Spouse                      5087 at 16      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                              United                                                                               United                                                             1, at 456, 8397-
3152 Albert          Peter            Petrocelli     Jr.        Albert            Peter           Petrocelli      Sr.         States          Mark                  James         Petrocelli                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 23, 8433      Parent                      3666 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3153                                                            Albert            Peter           Petrocelli      Jr.         Unknown         Mark                  James         Petrocelli                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 457           Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3154                                                            Virginia          Ann             Petrocelli                  States          Mark                  James         Petrocelli                       States         9/11/01     NY (WTC)     03-cv-9849                 1, at 458           Parent                      3666 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3155                                                            Jacqueline        Lee             Butt                        States          Philip                Scott         Petti                            States         9/11/01     NY (Other)   03-cv-9849                 305, at P4489       Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3156                                                            Adrian            Lee             Foran                       States          Philip                Scott         Petti                            States         9/11/01     NY (Other)   03-cv-9849                 305, at P4488       Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      305, at P4486,
     Adrian;                                                                                                                                                                                                       United                                                             8397-1, at 23,
3157 Thomas          Lee; Daniel      Foran; Petti              Catherine                         Petti                       Unknown         Philip                Scott         Petti                            States         9/11/01     NY (Other)   03-cv-9849                 8433                Parent                      3666 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:03-cv-9849,
                                                                                                                                                                                                                                                                                      HAND FILED, at
                                                                                                                              United                                                                               United                                                             P5225, 8393-1,
3158                                                            Eileen            Regina          Petti                       States          Philip                Scott         Petti                            States         9/11/01     NY (Other)   03-cv-9849                 at 66, 8487         Spouse                      5087 at 16      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                      1:03-cv-9849,
                                                                                                                              United                                                                               United                                                             HAND FILED, at
3159                                                            Philip            Anthony         Petti                       States          Philip                Scott         Petti                            States         9/11/01     NY (Other)   03-cv-9849                 P5226               Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3160                                                            Thomas            Daniel          Petti                       Unknown         Philip                Scott         Petti                            States         9/11/01     NY (Other)   03-cv-9849                 305, at P4487       Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:03-cv-9849,
                                                                                                                              United                                                                               United                                                             HAND FILED, at
3161                                                            Lauren            Eileen          Verhey                      States          Philip                Scott         Petti                            States         9/11/01     NY (Other)   03-cv-9849                 P5227               Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3162                                                            Susan             L.              Picarro                     States          Ludwig                John          Picarro                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 461           Spouse                      5087 at 16      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      432, at P4926,
                                                                                                                              United                                                                               United                                                             8393-1, at 878,
3163                                                            Anthony           Joseph          Picerno                     States          Matthew               Martin        Picerno                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      432, at P4926,
                                                                                                                              United                                                                               United                                                             8393-1, at 879,
3164                                                            Francesca         Marie           Picerno                     States          Matthew               Martin        Picerno                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      432, at P4926,
                                                                                                                              United                                                                               United                                                             8393-1, at 880,
3165                                                            Matthew           Michael         Picerno                     States          Matthew               Martin        Picerno                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 11      $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                                 Page 122 of 170
                                                                                                      Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                  Filed 04/23/24             Page 124 of 171
                                                                                                                                                                      EXHIBIT B-1
                                                                                                                                                   SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
               Personal Representative                                            Claimant                                                                                   9/11 Decedent                                                                Claim Information                                                  Solatium Damages




                                                                                                                   Nationality




                                                                                                                                                                                                       Nationality
                                                                                                                    on 9/11




                                                                                                                                                                                                        on 9/11
                                                                                                      Claimant                                                                                                         Date of                                           Amendments &                       Document
 #     First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                                9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                        Suffix                                                                                                         Death                                              Substitutions                       ation

                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                        432, at P4926,
                                                                                                                 United                                                                               United                                                            8393-1, at 54,
3166                                               Petrina           M.              Picerno                     States          Matthew               Martin        Picerno                          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5087 at 16      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                        26, 29, at 4147,
                                                                                                                 United                                                                               United                                                            8393-1, at 672,
3167                                               Jeannette         Marie           Puccio-Pick                 States          Joseph                Oswald        Pick                             States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       6034 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                               United                                                            1:02-cv-01616,
3168                                               Marie             E.              Puccio-Pick                 States          Joseph                Oswald        Pick                             States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4147    Spouse                      6034 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                 United                                                                               United                                                            1:02-cv-01616,
3169                                               Patricia                          Keelan                      States          Bernard                             Pietronico                       States         9/11/01     NY (WTC)    03-cv-9849                 155, at P3065      Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                        155, at P3066,
                                                                                                                 United                                                                               United                                                            8393-1, at 93,
3170                                               Alexis                            Pietronico                  States          Bernard                             Pietronico                       States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                        155, at P3066,
                                                                                                                 United                                                                               United                                                            8393-1, at 6,
3171                                               Jacqueline                        Pietronico                  States          Bernard                             Pietronico                       States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5087 at 16      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                        155, at P3066,
                                                                                                                 United                                                                               United                                                            8393-1, at 94,
3172                                               Joseph            B.              Pietronico                  States          Bernard                             Pietronico                       States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                      United                                                            1:02-cv-01616,
3173                                               Michael                           Pietronico                  Unknown         Bernard                             Pietronico                       States         9/11/01     NY (WTC)    03-cv-9849                 155, at P3067      Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                      United                                                            1:02-cv-01616,
3174                                               Patricia          Marie           Pietronico                  Unknown         Bernard                             Pietronico                       States         9/11/01     NY (WTC)    03-cv-9849                 155, at P3068      Parent                      3666 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                               United                                                            1:02-cv-01616,
3175                                               Janet                             Ciaramello                  States          Nicholas              P.            Pietrunti                        States         9/11/01     NY (WTC)    03-cv-9849                 155, at P3069      Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                        155, at P3070,
                                                                                                                 United                                                                               United                                                            8393-1, at 61,
3176                                               John              Joseph          Pietrunti       Jr.         States          Nicholas              P.            Pietrunti                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                 United                                                                               United                                                            1:02-cv-01616,
3177                                               Barbara           F.              Gray                        States          Susan                               Pinto                            States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4152    Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                 United                                                                               United                                                            1:02-cv-01616,
3178                                               Douglas           Arthur          Pinto                       States          Susan                               Pinto                            States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2271    Spouse                      6035 at 4       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                        26, 29, at 2271,
                                                                                                                 United                                                                               United                                                            8393-1, at 1270,
3179                                               Joseph            Arthur          Pinto                       States          Susan                               Pinto                            States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       6035 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                        26, 29, at 2271,
                                                                                                                 United                                                                               United                                                            8393-1, at 1271,
3180                                               Nicholas          Douglas         Pinto                       States          Susan                               Pinto                            States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       6035 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                               United                                                            1:02-cv-01616,
3181                                               Laura             Marie           Del Corral                  States          Joseph                              Piskadlo                         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4162    Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                               United                                                            1:02-cv-01616,
3182                                               Brian             Joseph          Piskadlo                    States          Joseph                              Piskadlo                         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4161    Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                               United                                                            8679-1, at 373,
3183                                               Edward            S.              Piskadlo                    States          Joseph                              Piskadlo                         States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     7188 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                 United                                                                               United                                                            8679-1, at 372,
3184                                               John                              Piskadlo                    States          Joseph                              Piskadlo                         States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     7188 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                 United                                                                               United                                                            1:02-cv-01616,
3185                                               Rosemary                          Piskadlo                    States          Joseph                              Piskadlo                         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4159    Spouse                      5087 at 16      $        12,500,000.00 $   37,500,000.00
                                                                                                                 United                                                                               United                                                            1:02-cv-01616,
3186                                               Steven            John            Piskadlo                    States          Joseph                              Piskadlo                         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4160    Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                        432, at P4932,
                                                                                                                 United                                                                               United                                                            8393-1, at 12,
3187                                               Eric              J.              Pitman                      States          Christopher           Todd          Pitman                           States         9/11/01     NY (WTC)    03-cv-9849                 8487               Parent                      5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                               United                                                            8679-1, at 374,
3188                                               Erika             Leigh           Piver                       States          Joshua                Michael       Piver                            States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     7188 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                        155, at P3071,
                                                                                                                 United                                                                               United                                                            8393-1, at 43,
3189                                               Susan             S.              Piver                       States          Joshua                Michael       Piver                            States         9/11/01     NY (WTC)    03-cv-9849                 8487               Parent                      4126 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                               United                                                            8679-1, at 377,
3190                                               Nancy                             Brady                       States          Joseph                              Plumitallo                       States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     5087 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                 United                                                                               United                                                            8679-1, at 376,
3191                                               Joan                              Pecoraro                    States          Joseph                              Plumitallo                       States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     5087 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                        232, at P4082,
                                                                                                                 United                                                                               United                                                            8393-1, at 43,
3192                                               Doreen                            Plumitallo                  States          Joseph                              Plumitallo                       States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5087 at 16      $        12,500,000.00 $   37,500,000.00




                                                                                                                                                                                    Page 123 of 170
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                                                                                                                                                                                    EXHIBIT B-1
                                                                                                                                                                 SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                        Personal Representative                                                 Claimant                                                                                9/11 Decedent                                                                    Claim Information                                                  Solatium Damages




                                                                                                                                 Nationality




                                                                                                                                                                                                                      Nationality
                                                                                                                                  on 9/11




                                                                                                                                                                                                                       on 9/11
                                                                                                                    Claimant                                                                                                          Date of                                           Amendments &                       Document
 #        First           Middle             Last       Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle            Last          Suffix                                9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                      Suffix                                                                                                          Death                                              Substitutions                       ation

                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       232, at P4082,
                                                                                                                               United                                                                                United                                                            8393-1, at 685,
3193                                                             Genna             Rose            Plumitallo                  States          Joseph                              Plumitallo                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5061 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       232, at P4082,
                                                                                                                               United                                                                                United                                                            8393-1, at 686,
3194                                                             Joseph            Frank           Plumitallo                  States          Joseph                              Plumitallo                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5061 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       232, at P4082,
                                                                                                                               United                                                                                United                                                            8393-1, at 687,
3195                                                             Lisa              Grace           Plumitallo                  States          Joseph                              Plumitallo                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5061 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                                United                                                            8679-1, at 378,
3196                                                             Louis             Joseph          Plumitallo      Jr.         States          Joseph                              Plumitallo                        States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     5087 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                               United                                                                                United                                                            8679-1, at 375,
3197                                                             Phyllis           Frances         Volpe                       States          Joseph                              Plumitallo                        States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     5087 at 16      $         4,250,000.00 $   12,750,000.00
                                                                                                                               United                                                                                United                                                            1:02-cv-01616,
3198                                                             Dorothy           Gail            McGrath                     States          Thomas                H.            Polhemus                          States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4492      Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                     United                                                            1:02-cv-01616,
3199                                                             Barbara           L.              Polhemus                    Unknown         Thomas                H.            Polhemus                          States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1538         Spouse                      5087 at 16      $        12,500,000.00 $   37,500,000.00
                                                                                                                               United                                                                                United                                                            1:02-cv-01616,
3200                                                             Harold            Lowe            Polhemus                    States          Thomas                H.            Polhemus                          States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4490      Parent                      3666 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       305, at P4491,
                                                                                                                               United                                                                                United                                                            8397-1, at 23,
3201 Dorothy       Gail               McGrath                    Olga              L.              Polhemus                    States          Thomas                H.            Polhemus                          States         9/11/01     NY (WTC)    03-cv-9849                 8433               Parent                      4126 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                     United                                                            1:02-cv-01616,
3202                                                             Jane              Lynn            Skrzyniarz                  Unknown         Thomas                H.            Polhemus                          States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4493      Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                               United                                                                                United                                                            1:02-cv-01616,
3203                                                             Sandra                            Gidman                      States          Susan                 M.            Pollio                            States         9/11/01     NY (WTC)    03-cv-9849                 432, at P4934      Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       432, at P4935,
                                                                                                                               United                                                                                United                                                            8397-1, at 22,
3204 Eileen        Marie              Kosinski-Piszko            Joyce             Frances         Oxley                       States          Susan                 M.            Pollio                            States         9/11/01     NY (WTC)    03-cv-9849                 8433               Sibling                     5138 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       432, at P4933,
                                                                                                                                                                                                                                                                                       8397-1, at 23,
                                                                                                                               United                                                                                United                                                            8433, 8393-1, at
3205 Joyce; Sandra Frances            Oxley; Gidman              Phyllis                           Pollio                      States          Susan                 M.            Pollio                            States         9/11/01     NY (WTC)    03-cv-9849                 79, 8487           Parent                      5136 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                VA
                                                                                                                               United                                                                                United                     (Pentagon                              1:02-cv-01616,
3206                                                             Devora            Wolk            Kirschner                   States          Darin                 Howard        Pontell                           States         9/11/01     )           03-cv-9849                 313, at P4703      Spouse                      5087 at 16      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       77, at P2688,
                                                                                                                               United                                                                                United                                                            8393-1, at 43,
3207                                                             Vasile                            Poptean                     States          Joshua                I.            Poptean                           States         9/11/01     NY (WTC)    03-cv-9849                 8487               Sibling                     5061 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       232, at P3900,
                                                                                                                               United                                                                                United                                                            8393-1, at 31,
3208                                                             Nikki             L.              Stern                       States          James                 E.            Potorti                           States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5848 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                               United                                                                                United                                                            1:02-cv-01616,
3209                                                             Erin              Poulos          McCormack                   States          Richard               N.            Poulos                            States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3901      Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       232, at P3902,
                                                                                                                               United                                                                                United                                                            8393-1, at 68,
3210                                                             Margaret                          Poulos                      States          Richard               N.            Poulos                            States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5087 at 16      $        12,500,000.00 $   37,500,000.00
                                                                                                                               United                                                                                United                                                            1:02-cv-01616,
3211                                                             Richard           J.              Poulos                      States          Richard               N.            Poulos                            States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3903      Child                       4023 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                                United                                                            1:02-cv-01616,
3212                                                             Lisa              Margaret        Sarni                       States          Richard               N.            Poulos                            States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3904      Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                VA
                                                                                                                               United                                                                                United                     (Pentagon                              1:02-cv-01616,
3213                                                             Catherine         M.              Powell                      States          Scott                 Allen         Powell                            States         9/11/01     )           03-cv-9849                 1, at 464          Parent                      4023 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:03-cv-9849,
                                                                                                                                                                                                                                                                                       HAND FILED, at
                                                                                                                                                                                                                     United                                                            P5231, 8393-1,
3214                                                             Harry             James           Powell                      Unknown         Brandon               Jerome        Powell                            States         9/11/01     NY (WTC)    03-cv-9849                 at 6, 8487         Parent                      4023 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:03-cv-9849,
                                                                                                                               United                                                                                United                                                            HAND FILED, at
3215 Gerald        E.                 McCollin                   Norma                             Powell                      States          Brandon               Jerome        Powell                            States         9/11/01     NY (WTC)    03-cv-9849                 P5232              Parent                      4023 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       232, at P3906,
                                                                                                                               United                                                                                United                                                            8397-1, at 23,
3216 Dolores       Alba               Preziose                   Alexander                         Preziose                    States          Gregory               M.            Preziose                          States         9/11/01     NY (WTC)    03-cv-9849                 8433               Parent                      5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                                United                                                            1:02-cv-01616,
3217                                                             Anthony           G.              Preziose                    States          Gregory               M.            Preziose                          States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3907      Child                       5104 at 4       $         8,500,000.00 $   25,500,000.00




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                                                                                                     Case 1:03-md-01570-GBD-SN                                        Document 9716-2                                   Filed 04/23/24              Page 126 of 171
                                                                                                                                                                      EXHIBIT B-1
                                                                                                                                                   SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
               Personal Representative                                            Claimant                                                                                    9/11 Decedent                                                                  Claim Information                                                  Solatium Damages




                                                                                                                  Nationality




                                                                                                                                                                                                         Nationality
                                                                                                                   on 9/11




                                                                                                                                                                                                          on 9/11
                                                                                                     Claimant                                                                                                            Date of                                            Amendments &                       Document
 #     First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First             Middle            Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                       Suffix                                                                                                            Death                                               Substitutions                       ation

                                                                                                                United                                                                                  United                                                             1:02-cv-01616,
3218                                               Christopher       Paul            Preziose                   States          Gregory                M.             Preziose                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3908      Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                United                                                                                  United                                                             1:02-cv-01616,
3219                                               Dolores           Alba            Preziose                   States          Gregory                M.             Preziose                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3909      Parent                      3666 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                                  United                                                             1:02-cv-01616,
3220                                               Gabrielle         M.              Preziose                   States          Gregory                M.             Preziose                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3910      Child                       5104 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                                  United                                                             1:02-cv-01616,
3221                                               Jake              D.              Preziose                   States          Gregory                M.             Preziose                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3911      Child                       5104 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
3222                                               James             Alexander       Preziose                   Unknown         Gregory                M.             Preziose                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3912      Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                United                                                                                  United                                                             1:02-cv-01616,
3223                                               John              Michael         Preziose                   States          Gregory                M.             Preziose                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3913      Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           232, at P3914,
                                                                                                                United                                                                                  United                                                             8393-1, at 28,
3224                                               Lori              A.              Preziose                   States          Gregory                M.             Preziose                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5087 at 16      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                           1:03-cv-9849,
                                                                                                                                                                                                                                                                           HAND FILED, at
                                                                                                                United                                                                                  United                                                             P5234, 8393-1,
3225                                               Edward            Joseph          Prince                     States          Wanda                  Ivelisse       Prince                            States         9/11/01     NY (WTC)     03-cv-9849                 at 86, 8487        Spouse                      5848 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                     Noone                      United          Kevin                  M.             Prior                             United                     NY (Other)                              8679-1, at 379,
3226                                               Doreen            Patricia        Wheeler                    States                                                                                  States         9/11/01                  03-cv-9849                 8696               Fiancee                     8293 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 4176,
                                                                                                                United                                                                                  United                                                             8393-1, at 47,
3227                                               Gerard            John            Prior                      States          Kevin                  M.             Prior                             States         9/11/01     NY (Other)   03-cv-9849                 8487               Parent                      4023 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                                  United                                                             1:02-cv-01616,
3228                                               Marian            Anna            Prior                      States          Kevin                  M.             Prior                             States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4177    Parent                      4023 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                                  United                                                             1:02-cv-01616,
3229                                               Donald            Henry           Progen                     States          Carrie                 Beth           Progen                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 474          Parent                      4023 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                                  United                                                             1:02-cv-01616,
3230                                               Kathleen          Ann             Progen                     States          Carrie                 Beth           Progen                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 475          Parent                      4023 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                                  United                                                             1:02-cv-01616,
3231                                               Matthew           Eric            Progen                     States          Carrie                 Beth           Progen                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 476          Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                United                                                                                  United                                                             1, at 479, 5284-
3232                                               Michael           John            Puckett                    States          John                   F.             Puckett                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 9, 5296      Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                     Puckett-                   United                                                                                  United                                                             1, at 480, 8393-
3233                                               Michele                           Formolo                    States          John                   F.             Puckett                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 600, 8487    Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           155, at P3072,
                                                                                                                United                                                                                  United                                                             8393-1, at 343,
3234                                               Anthony                           Pullis                     States          Edward                 Frank          Pullis                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           155, at P3072,
                                                                                                                United                                                                                  United                                                             8393-1, at 344,
3235                                               Edward                            Pullis                     States          Edward                 Frank          Pullis                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           155, at P3072,
                                                                                                                United                                                                                  United                                                             8393-1, at 345,
3236                                               Maria             F.              Pullis                     States          Edward                 Frank          Pullis                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           155, at P3072,
                                                                                                                United                                                                                  United                                                             8393-1, at 22,
3237                                               Melissa                           Pullis                     States          Edward                 Frank          Pullis                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5848 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                United                                                                                  United                                                             1:02-cv-01616,
3238                                               Antoinette                        Nicholasi                  States          Patricia               Ann            Puma                              States         9/11/01     NY (WTC)     03-cv-9849                 1, at 485          Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                United                                                                                  United                                                             1, at 482, 8393-
3239                                               Brianna                           Puma                       States          Patricia               Ann            Puma                              States         9/11/01     NY (WTC)     03-cv-9849                 1, at 999, 8487    Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                United                                                                                  United                                                             1, at 482, 8393-
3240                                               Dylan                             Puma                       States          Patricia               Ann            Puma                              States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1000, 8487   Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                United                                                                                  United                                                             1, at 482, 8393-
3241                                               Kevin                             Puma                       States          Patricia               Ann            Puma                              States         9/11/01     NY (WTC)     03-cv-9849                 1, at 62, 8487     Spouse                      5848 at 9       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                United                                                                                  United                                                             1, at 482, 8393-
3242                                               Kiefer                            Puma                       States          Patricia               Ann            Puma                              States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1001, 8487   Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
3243                                               Eleanor                           Wilson                     Unknown         Patricia               Ann            Puma                              States         9/11/01     NY (WTC)     03-cv-9849                 1, at 483          Parent                      3666 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                United                                                                                  United                                                             1:02-cv-01616,
3244                                               Robert                            Wilson                     States          Patricia               Ann            Puma                              States         9/11/01     NY (WTC)     03-cv-9849                 1, at 486          Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00




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                                                                                                                                                                               EXHIBIT B-1
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                              Claimant                                                                                 9/11 Decedent                                                                     Claim Information                                                    Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                                  Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                                   on 9/11
                                                                                                               Claimant                                                                                                           Date of                                            Amendments &                        Document
 #       First          Middle              Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First             Middle           Last             Suffix                              9/11 Site        Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                           Death                                               Substitutions                        ation



                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                          United                                                                                 United                                                             3, at 1780, 5284-
3245                                                        David             Alan            Pykon                       States          Edward                R.             Pykon                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 9, 5296       Sibling                     3666 at 10       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                          United                                                                                 United                                                             3, at 1779, 8397-
3246 David       Alan               Pykon                   Francis           Henry           Pykon                       States          Edward                R.             Pykon                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 23, 8433      Parent                      5061 at 11       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                          United                                                                                 United                                                             3, at 1778, 5284-
3247                                                        Jacqueline        Amy             Pykon                       States          Edward                R.             Pykon                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 9, 5296       Spouse                      5061 at 11       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                          United                                                                                 United                                                             3, at 1778, 8393-
3248                                                        Jordyn            B.              Pykon                       States          Edward                R.             Pykon                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 358, 8487     Child                       5061 at 11       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                 United                                                             8679-1, at 380,
3249                                                        Diane             Frances         Majtan                      States          Christopher                          Quackenbush                       States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 12       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                                 United                                                             8679-1, at 384,
3250                                                        Christopher       James           Quackenbush                 States          Christopher                          Quackenbush                       States         9/11/01     NY (WTC)     03-cv-9849                 8696                Child                       7188 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                 United                                                             1:02-cv-01616,
3251                                                        Gail              Elizabeth       Quackenbush                 Unknown         Christopher                          Quackenbush                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1543          Sibling                     3666 at 10       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                                 United                                                             8679-1, at 382,
3252                                                        Kelsey            Newsome         Quackenbush                 States          Christopher                          Quackenbush                       States         9/11/01     NY (WTC)     03-cv-9849                 8696                Child                       7188 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                 United                                                             1:02-cv-01616,
3253                                                        Michael           Allen           Quackenbush                 States          Christopher                          Quackenbush                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1542          Sibling                     3666 at 10       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                                 United                                                             8679-1, at 381,
3254                                                        Whitney           Strine          Quackenbush                 States          Christopher                          Quackenbush                       States         9/11/01     NY (WTC)     03-cv-9849                 8696                Child                       7188 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                 United                                                             8679-1, at 383,
3255                                                        Traci             Lee             Viklund                     States          Christopher                          Quackenbush                       States         9/11/01     NY (WTC)     03-cv-9849                 8696                Spouse                      7188 at 12       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                 United                     NY                                      1:02-cv-01616,
3256                                                        John              V.              Quigley                     Unknown         Patrick               J              Quigley             IV            States         9/11/01     (UA175)      03-cv-9849                 1, at 494           Sibling                     3300             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    232, at P3915,
                                                                                                                          United                                                                                 United                                                             8393-1, at 6,
3257                                                        John              Eugene          Quigley                     States          Beth                  Ann            Quigley                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 21       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                 United                                                             1:02-cv-01616,
3258                                                        Louella           Jean            Quigley                     States          Beth                  Ann            Quigley                           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3916       Parent                      4023 at 21       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                 United                     NY                                      1:02-cv-01616,
3259                                                        Mi Ja             K.              Quigley                     Unknown         Patrick               J              Quigley             IV            States         9/11/01     (UA175)      03-cv-9849                 1, at 493           Parent                      3300             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                 United                     NY                                      1, at 492, 8397-
3260 Mi Ja       K.                 Quigley                 Patrick           J.              Quigley         Jr.         Unknown         Patrick               J              Quigley             IV            States         9/11/01     (UA175)      03-cv-9849                 1, at 23, 8433      Parent                      3300             $         8,500,000.00 $   25,500,000.00
                                                                                              Quigley-                                                                                                           United                     NY                                      1:02-cv-01616,
3261                                                        Ruth                              Lawrence                    Unknown         Patrick               J              Quigley             IV            States         9/11/01     (UA175)      03-cv-9849                 77, at P2694        Sibling                     3300             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                 United                                                             1:02-cv-01616,
3262                                                        Annamaria                         Morales                     Unknown         Ricardo               J.             Quinn                             States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4707       Parent                      3666 at 10       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                 United                                                             1:02-cv-01616,
3263                                                        Adam                              Quinn                       States          Ricardo               J.             Quinn                             States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4706       Child                       5087 at 16       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                 United                                                             1:02-cv-01616,
3264                                                        Bernard           Joseph          Quinn                       States          Ricardo               J.             Quinn                             States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4708       Sibling                     4126 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                                 United                                                             1:02-cv-01616,
3265                                                        Gregory           Vincent         Quinn                       States          Ricardo               J.             Quinn                             States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4709       Sibling                     4023 at 21       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    313, at P4704,
                                                                                                                          United                                                                                 United                                                             8393-1, at 1079,
3266                                                        Kevin                             Quinn                       States          Ricardo               J.             Quinn                             States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 16       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    313, at P4704,
                                                                                                                          United                                                                                 United                                                             8393-1, at 67,
3267                                                        Virginia          A.              Quinn                       States          Ricardo               J.             Quinn                             States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 16       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    232, at P3917,
                                                                                                                          United                                                                                 United                                                             8393-1, at 10,
3268 Sandra      Lusardi            Racaniello              Frank             V.              Racaniello                  States          Christopher           Anthony Peter Racaniello                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 21       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                                 United                                                             1:02-cv-01616,
3269                                                        Sandra            Lusardi         Racaniello                  States          Christopher           Anthony Peter Racaniello                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3918       Parent                      4023 at 21       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                 United                                                             1:02-cv-01616,
3270                                                        Christine         Teresa          Durante                     Unknown         Leonard               J.             Ragaglia                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2292     Sibling                     3666 at 10       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                                 United                                                             1:02-cv-01616,
3271                                                        Lauren            Pietrina        LaCapria                    States          Leonard               J.             Ragaglia                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2289     Sibling                     4023 at 21       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                                 United                                                             1:02-cv-01616,
3272                                                        Janice            Lynn            Pucciarelli                 States          Leonard               J.             Ragaglia                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2293     Sibling                     5062 at 6        $         4,250,000.00 $   12,750,000.00




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                                                                                                                                                                           EXHIBIT B-1
                                                                                                                                                        SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                 Personal Representative                                               Claimant                                                                                   9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                        Nationality




                                                                                                                                                                                                            Nationality
                                                                                                                         on 9/11




                                                                                                                                                                                                             on 9/11
                                                                                                           Claimant                                                                                                         Date of                                            Amendments &                        Document
 #       First    Middle                Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First             Middle          Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                             Suffix                                                                                                         Death                                               Substitutions                        ation



                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                      United                                                                               United                                                             3, at 1547, 8393-
3273                                                    Anthony           Salvatore       Ragaglia                    States          Leonard               J.             Ragaglia                        States         9/11/01     NY (Other)   03-cv-9849                 1, at 786, 8487     Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
3274                                                    Colleen           Patricia        Ragaglia                    States          Leonard               J.             Ragaglia                        States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2290     Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
3275                                                    Daniel            James           Ragaglia                    States          Leonard               J.             Ragaglia                        States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2286     Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
3276                                                    Debra             Ann             Ragaglia                    Unknown         Leonard               J.             Ragaglia                        States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2291     Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                      United                                                                               United                                                             3, at 1547, 8393-
3277                                                    Donna                             Ragaglia                    States          Leonard               J.             Ragaglia                        States         9/11/01     NY (Other)   03-cv-9849                 1, at 49, 8487      Spouse                      5087 at 16      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
3278                                                    Leonard           Salvatore       Ragaglia                    Unknown         Leonard               J.             Ragaglia                        States         9/11/01     NY (Other)   03-cv-9849                 3, at 1545          Parent                      3666 at 10      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                      United                                                                               United                                                             3, at 1547, 8393-
3279                                                    Leonard           John            Ragaglia        Jr.         States          Leonard               J.             Ragaglia                        States         9/11/01     NY (Other)   03-cv-9849                 1, at 787, 8487     Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
3280                                                    Maureen           Frances         Ragaglia                    Unknown         Leonard               J.             Ragaglia                        States         9/11/01     NY (Other)   03-cv-9849                 3, at 1546          Parent                      3666 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
3281                                                    Paul              Joseph          Ragaglia                    Unknown         Leonard               J.             Ragaglia                        States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2288     Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                           United                                                             3, at 1545, 8393-
3282                                                    Stephen           Anthony         Ragaglia                    Unknown         Leonard               J.             Ragaglia                        States         9/11/01     NY (Other)   03-cv-9849                 1, at 788, 8487     Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                      United                                                                               United                                                             3, at 1545, 8393-
3283                                                    Maureen           Elizabeth       Scparta                     States          Leonard               J.             Ragaglia                        States         9/11/01     NY (Other)   03-cv-9849                 1, at 789, 8487     Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
3284                                                    Linda             Marie           Taccetta                    Unknown         Leonard               J.             Ragaglia                        States         9/11/01     NY (Other)   03-cv-9849                 3, at 1548          Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
3285                                                    Domenica                          Ragusa                      States          Michael               Paul           Ragusa                          States         9/11/01     NY (Other)   03-cv-9849                 3, at 1552          Parent                      4023 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
3286                                                    Kenneth           Joseph          Ragusa                      States          Michael               Paul           Ragusa                          States         9/11/01     NY (Other)   03-cv-9849                 3, at 1553          Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
3287                                                    Vincent           Joseph          Ragusa                      States          Michael               Paul           Ragusa                          States         9/11/01     NY (Other)   03-cv-9849                 3, at 1551          Parent                      4023 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
3288                                                    Vincent           Carl            Ragusa                      States          Michael               Paul           Ragusa                          States         9/11/01     NY (Other)   03-cv-9849                 3, at 1554          Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
3289                                                    Christine         Marie           Saladeen                    States          Michael               Paul           Ragusa                          States         9/11/01     NY (Other)   03-cv-9849                 3, at 1555          Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
3290                                                    Lenore            Clare           Raimondi                    States          Peter                 Frank          Raimondi                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1558          Spouse                      5848 at 9       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                      United                                                                               United                                                             3, at 1558, 8393-
3291                                                    Peter             Mathew          Raimondi                    States          Peter                 Frank          Raimondi                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1054, 8487    Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                      United                                                                               United                                                             3, at 1558, 8393-
3292                                                    Philip            Warren          Raimondi                    States          Peter                 Frank          Raimondi                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1055, 8487    Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3920,
                                                                                                                      United                                                                               United                                                             8393-1, at 444,
3293                                                    Jillian           M.              Raines                      States          Harry                 A.             Raines                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
3294                                                    Kimberly          Christine       Raines                      States          Harry                 A.             Raines                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3919       Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3920,
                                                                                                                      United                                                                               United                                                             8393-1, at 445,
3295                                                    Kyle              C.              Raines                      States          Harry                 A.             Raines                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P3920,
                                                                                                                      United                                                                               United                                                             8393-1, at 28,
3296                                                    Lauren            Christine       Raines                      States          Harry                 A.             Raines                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 16      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:03-md-01570,
                                                                                                                                                                                                                                                                              432, at P5426,
                                                                                                                      United                                                                               United                                                             8397-1, at 23,
3297 Douglas                   Raines                   Marilyn                           Raines                      States          Lisa                  Joy            Raines                          States         9/11/01     VA (AA77)    03-cv-9849                 8433                Parent                      5138 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
3298                                                    Ammini            George          Abraham                     India           Valsa                                Raju                            States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4712       Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                               United                                                             8679-1, at 386,
3299                                                    Sagil                             George                      States          Valsa                                Raju                            States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 12      $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                         Page 127 of 170
                                                                                                         Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                 Filed 04/23/24              Page 129 of 171
                                                                                                                                                                        EXHIBIT B-1
                                                                                                                                                     SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                            Claimant                                                                                9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                      Nationality




                                                                                                                                                                                                        Nationality
                                                                                                                       on 9/11




                                                                                                                                                                                                         on 9/11
                                                                                                         Claimant                                                                                                       Date of                                            Amendments &                        Document
 #       First       Middle            Last   Suffix    Claimant First   Claimant Middle Claimant Last                                       First            Middle          Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                           Suffix                                                                                                       Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          313, at P4710,
                                                                                                                                                                                                       United                                                             8397-1, at 10,
3300 Ammini      George          Abraham               Sosamma                           George                     India           Valsa                              Raju                            States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      7188 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                             United                                                             8679-1, at 387,
3301                                                   Sunny                             George                     States          Valsa                              Raju                            States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                       United                                                             1:02-cv-01616,
3302                                                   Saramma                           John                       India           Valsa                              Raju                            States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4714       Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                       United                                                             1:02-cv-01616,
3303                                                   Sosamma                           Mukkadan                   Unknown         Valsa                              Raju                            States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4713       Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          305, at P4494,
                                                                                                                    United                                                                             United                                                             8393-1, at 1353,
3304                                                   Sanjay                            Raju                       States          Valsa                              Raju                            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          305, at P4494,
                                                                                                                    United                                                                             United                                                             8393-1, at 1354,
3305                                                   Soniya            Susan           Raju                       States          Valsa                              Raju                            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 16      $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
3306                                                   Annamma                           Thomas                     States          Valsa                              Raju                            States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4711       Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                       United                                                             8679-1, at 100,
3307                                                   Marykutty                         Thomas                     India           Valsa                              Raju                            States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          26, 29, at 4209,
                                                                                                                    United                                                                             United                                                             8393-1, at 347,
3308                                                   Daniel                            Rall                       States          Edward               J.            Rall                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                             United                                                             1:02-cv-01616,
3309                                                   Darlene           G.              Rall                       States          Edward               J.            Rall                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4209     Spouse                      5848 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                       United                                                             1:02-cv-01616,
3310                                                   Edward            A.              Rall                       Unknown         Edward               J.            Rall                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4210     Parent                      3666 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                       United                                                             1:02-cv-01616,
3311                                                   Joan              P.              Rall                       Unknown         Edward               J.            Rall                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4211     Parent                      3666 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          26, 29, at 4209,
                                                                                                                    United                                                                             United                                                             8393-1, at 348,
3312                                                   Joseph                            Rall                       States          Edward               J.            Rall                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                       United                                                             1:02-cv-01616,
3313                                                   Keith             George          Rall                       Unknown         Edward               J.            Rall                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4212     Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          26, 29, at 4209,
                                                                                                                    United                                                                             United                                                             8393-1, at 349,
3314                                                   Matthew           William         Rall                       States          Edward               J.            Rall                            States 9/11/01             NY (Other)   03-cv-9849                 8487                Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                       United                                                             1:02-cv-01616,
3315                                                   William           Francis         Rall                       Unknown         Edward               J.            Rall                            States 9/11/01             NY (Other)   03-cv-9849                 26, 29, at 4213     Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                       United                                                             1:02-cv-01616,
3316                                                   Jessica           Ramsaroop       Bors                       Canada          Vishnoo                            Ramsaroop                       States 9/11/01             NY (WTC)     03-cv-9849                 305, at P4496       Sibling                     8238 at 4       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                             Unknow                                                             1:02-cv-01616,
3317                                                   Cynthia           Rancke          Bienemann                  States          Alfred               Todd          Rancke                          n      9/11/01             NY (WTC)     03-cv-9849                 3, at 1564          Sibling                     5087 at 17      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                    United                                                                             Unknow                                                             3, at 1562, 8397-
3318 Pamela      Rancke          Schroeder             Alfred            Edward          Rancke                     States          Alfred               Todd          Rancke                          n      9/11/01             NY (WTC)     03-cv-9849                 1, at 23, 8433      Parent                      5138 at 7       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                    United                                                                             Unknow                                                             3, at 1563, 8397-
3319 Pamela      Rancke          Schroeder             Barbara           B.              Rancke                     States          Alfred               Todd          Rancke                          n      9/11/01             NY (WTC)     03-cv-9849                 1, at 23, 8433      Parent                      5138 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                             Unknow                                                             1:02-cv-01616,
3320                                                   Barbara           R.              Speni                      States          Alfred               Todd          Rancke                          n      9/11/01             NY (WTC)     03-cv-9849                 77, at P2706        Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                    United                                                                             United                                                             3, at 1782, 8393-
3321                                                   Aleksandr                         Rapoport                   States          Faina                Aronovna      Rapoport                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 24, 8487      Child                       4023 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                       United                                                             1:02-cv-01616,
3322                                                   Elena             Yuryevna        Rapoport                   Russia          Faina                Aronovna      Rapoport                        States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1783          Child                       5087 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          26, 29, at 2447,
                                                                                                                                                                                                       United                                                             5284-1, at 9,
3323                                                   Yuriy             Semenovich      Rapoport                   Ukraine         Faina                Aronovna      Rapoport                        States         9/11/01     NY (WTC)     03-cv-9849                 5296                Spouse                      5087 at 17      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                          1:03-cv-9849,
                                                                                                                                                                                                                                                                          HAND FILED, at
                                                                                                                    United                                                                             United                                                             P5238, 8393-1,
3324                                                   Robert            Jack            Rasmussen                  States          Robert               A.            Rasmussen                       States         9/11/01     NY (WTC)     03-cv-9849                 at 1101, 8487       Child                       5087 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:03-cv-9849,
                                                                                                                                                                                                                                                                          HAND FILED, at
                                                                                                                    United                                                                             United                                                             P5238, 8393-1,
3325                                                   Samuel            Robert          Rasmussen                  States          Robert               A.            Rasmussen                       States         9/11/01     NY (WTC)     03-cv-9849                 at 1102, 8487       Child                       5087 at 17      $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                     Page 128 of 170
                                                                                                             Case 1:03-md-01570-GBD-SN                                        Document 9716-2                                  Filed 04/23/24              Page 130 of 171
                                                                                                                                                                             EXHIBIT B-1
                                                                                                                                                          SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                              Claimant                                                                                    9/11 Decedent                                                                  Claim Information                                                   Solatium Damages




                                                                                                                          Nationality




                                                                                                                                                                                                                Nationality
                                                                                                                           on 9/11




                                                                                                                                                                                                                 on 9/11
                                                                                                             Claimant                                                                                                           Date of                                            Amendments &                       Document
 #       First        Middle              Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First              Middle           Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award             Amount            Treble          Notes
                                                                                                               Suffix                                                                                                           Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                                                                                                                                                                                  HAND FILED, at
                                                                                                                        United                                                                                 United                                                             P5238, 8393-1,
3326                                                      Taylor            Marie            Rasmussen                  States          Robert                A.              Rasmussen                        States         9/11/01     NY (WTC)     03-cv-9849                 at 1103, 8487      Child                       5848 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                                                                                                                                                                                  HAND FILED, at
                                                                                                                        United                                                                                 United                                                             P5238, 8393-1,
3327                                                      Anna              Rasmussen        Stansbury                  States          Robert                A.              Rasmussen                        States         9/11/01     NY (WTC)     03-cv-9849                 at 68, 8487        Spouse                      5087 at 17       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                          VA
                                                                                                                                                                                                               United                     (Pentagon                               1:02-cv-01616,
3328                                                      Angelia           Stallworth       Blunt                      Unknown         Marsha                                Ratchford                        States         9/11/01     )            03-cv-9849                 26, 29, at 4223    Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                          VA
                                                                                                                                                                                                               United                     (Pentagon                               1:02-cv-01616,
3329                                                      Reginald                           Simpson                    Unknown         Marsha                                Ratchford                        States         9/11/01     )            03-cv-9849                 26, 29, at 4221    Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                          VA
                                                                                                                        United                                                                                 United                     (Pentagon                               1:03-cv-09849,
3330                                                      Carl              Jerome           Stallworth                 States          Marsha                                Ratchford                        States         9/11/01     )            03-cv-9849                 842, at 17         Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                          VA                                      155, at P3073,
                                                                                                                                                                                                               United                     (Pentagon                               8397-1, at 26,
3331 Angelia     Stallworth       Blunt                   Claudia           Marie            Stallworth                 Unknown         Marsha                                Ratchford                        States         9/11/01     )            03-cv-9849                 8433               Parent                      3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                          VA
                                                                                                                        United                                                                                 United                     (Pentagon                               1:03-cv-09849,
3332                                                      Roosevelt                          Stallworth     Jr.         States          Marsha                                Ratchford                        States         9/11/01     )            03-cv-9849                 842, at 18         Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                          VA
                                                                                                                        United                                                                                 United                     (Pentagon                               1:02-cv-01616,
3333                                                      Cynthia                            Watts                      States          Marsha                                Ratchford                        States         9/11/01     )            03-cv-9849                 26, 29, at 4222    Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                               United                                                             155, at AP220,
                                                                                                                        United                                                                                 Kingdo                                                             8393-1, at 245,
3334                                                      Emma              Smiley           Rathkey                    States          David                 A.J.            Rathkey                          m              9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 17       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                               United                                                             155, at AP220,
                                                                                                                        United                                                                                 Kingdo                                                             8393-1, at 246,
3335                                                      Ian               David Bray       Rathkey                    States          David                 A.J.            Rathkey                          m              9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 17       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  155, at AP220,
                                                                                                                                                                                                               United                                                             5284-1, at 9,
                                                                                                                        United                                                                                 Kingdo                                                             5296, 8393-1, at
3336                                                      Julia             S.W.             Rathkey                    States          David                 A.J.            Rathkey                          m              9/11/01     NY (WTC)     03-cv-9849                 15, 8487           Spouse                      5087 at 17       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                               United                                                             155, at AP220,
                                                                                                                        United                                                                                 Kingdo                                                             8393-1, at 247,
3337                                                      Matthew           James Cusworth   Rathkey                    States          David                 A.J.            Rathkey                          m              9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 17       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                        United                                                                                 United                                                             1, at 497, 8393-
3338                                                      Liam              Matthew          Raub                       States          William               Ralph           Raub                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1424, 8487   Child                       5087 at 17       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
3339                                                      Maureen           A.               Raub                       States          William               Ralph           Raub                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 497          Spouse                      5087 at 17       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                        United                                                                                 United                                                             1, at 497, 8393-
3340                                                      Rebecca           Anne             Raub                       States          William               Ralph           Raub                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1425, 8487   Child                       5087 at 17       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                                 United                                                             8679-1, at 388,
3341                                                      Marie             Le Jeune         Scott                      States          William               Ralph           Raub                             States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 13       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:03-md-01570,
                                                                                                                                                                                                                                                                                  3477, at 3035;
     Eileen;                                                                                                                                                                                                   United                                                             8679-1, at 390,
3342 Maureen                      Regan; Regan            Alice             R.               Regan                      Canada          Donald                                Regan                            States         9/11/01     NY (Other)   03-cv-9849                 8696               Parent                      5061 at 11       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
3343                                                      Eileen                             Regan                      Unknown         Donald                                Regan                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2298    Sibling                     4126 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:03-md-01570,
                                                                                                                                                                                                                                                                                  3477, at 3036;
                                                                                                                        United                                                                                 United                                                             8679-1, at 389,
3344                                                      Joseph            William          Regan                      States          Donald                                Regan                            States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     5062 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
3345                                                      Margaret                           Regan                      States          Donald                                Regan                            States         9/11/01     NY (Other)   03-cv-9849                 432, at P4936      Sibling                     4126 at 7        $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
3346                                                      Katherine                          Regan-Dey                  States          Donald                                Regan                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2299    Sibling                     5061 at 11       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             8679-1, at 391,
3347                                                      Ann                                Curti                      States          Gregg                                 Reidy                            States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5848 at 9        $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                                 United                                                             1:02-cv-01616,
3348                                                      Mary              L.               Reidy                      States          Gregg                                 Reidy                            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3923      Parent                      5087 at 17       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                             Page 129 of 170
                                                                                                                   Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                   Filed 04/23/24              Page 131 of 171
                                                                                                                                                                                  EXHIBIT B-1
                                                                                                                                                               SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                         Personal Representative                                               Claimant                                                                               9/11 Decedent                                                                     Claim Information                                                  Solatium Damages




                                                                                                                                Nationality




                                                                                                                                                                                                                    Nationality
                                                                                                                                 on 9/11




                                                                                                                                                                                                                     on 9/11
                                                                                                                   Claimant                                                                                                         Date of                                            Amendments &                       Document
 #          First         Middle                Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle            Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                     Suffix                                                                                                         Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      232, at P3924,
                                                                                                                              United                                                                               United                                                             8393-1, at 28,
3349                                                            Thomas            J.              Reidy                       States          Gregg                              Reidy                             States 9/11/01             NY (WTC)     03-cv-9849                 8487               Parent                      5087 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             8679-1, at 392,
3350                                                            Maureen                           Yetman                      States          Gregg                              Reidy                             States 9/11/01             NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                               Unknow                                                             1:02-cv-01616,
3351                                                            Regina            T.              Madigan                     States          Kevin                Owen          Reilly                            n      9/11/01             NY (Other)   03-cv-9849                 26, 29, at 2301    Sibling                     3666 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                               Unknow                                                             1:02-cv-01616,
3352                                                            Brendan           Hughes          Reilly                      States          Timothy              E.            Reilly                            n      9/11/01             NY (WTC)     03-cv-9849                 432, at P4937      Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      232, at P3925,
                                                                                                                              United                                                                               Unknow                                                             8397-1, at 24,
3353 Joan           E.                 Reilly                   George            M.              Reilly                      States          Kevin                Owen          Reilly                            n      9/11/01             NY (Other)   03-cv-9849                 8433               Parent                      4146 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               Unknow                                                             1:02-cv-01616,
3354                                                            Joan              E.              Reilly                      States          Kevin                Owen          Reilly                            n      9/11/01             NY (Other)   03-cv-9849                 232, at P3926      Parent                      3666 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3355                                                            Joann                             O'Keefe                     Unknown         Joseph                             Reina                Jr.          States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1567         Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3356                                                            Joseph                            Reina           Sr.         Unknown         Joseph                             Reina                Jr.          States 9/11/01             NY (WTC)     03-cv-9849                 1, at 501          Parent                      3666 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                              United                                                                               United                                                             1, at 499, 8393-
3357                                                            Joseph            Robert          Reina                       States          Joseph                             Reina                Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 688, 8487    Child                       5061 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                              United                                                                               United                                                             1, at 499, 8393-
3358                                                            Lisa              Ann             Reina                       States          Joseph                             Reina                Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 43, 8487     Spouse                      5061 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3359                                                            Michael           John            Reina                       States          Joseph                             Reina                Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1566         Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3360                                                            Rosemarie                         Reina                       Unknown         Joseph                             Reina                Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 500          Parent                      3666 at 11      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                              United                                                                               United                                                             1, at 830, 7257,
3361                                                            Christopher       Barnes          Reinig                      States          Thomas               Barnes        Reinig                            States         9/11/01     NY (WTC)     03-cv-9849                 at 2, 7267         Child                       515 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3362                                                            Scott             Thomas          Reinig                      States          Thomas               Barnes        Reinig                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 831          Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                              United                                                                               United                                                             1, at 829, 5284-
3363                                                            Jeanne            Fattori         Reinig-Smith                States          Thomas               Barnes        Reinig                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 9, 5296      Spouse                      5087 at 17      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      232, at P3927,
                                                                                                                              United                                                                               United                                                             8393-1, at 401,
3364                                                            Dillon            Scott           Reisman                     States          Frank                              Reisman                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5138 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      232, at P3927,
                                                                                                                              United                                                                               United                                                             8393-1, at 25,
3365                                                            Gayle                             Reisman                     States          Frank                              Reisman                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5138 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      232, at P3927,
                                                                                                                              United                                                                               United                                                             8393-1, at 402,
3366                                                            Kasey             Michelle        Reisman                     States          Frank                              Reisman                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5138 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             8679-1, at 393,
3367                                                            Dana              Henry           Gargano                     States          Karen                C.            Renda                             States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5848 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                              United                                                                               United                                                             1, at 503, 8393-
3368                                                            Charles                           Renda                       States          Karen                C.            Renda                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 44, 8487     Spouse                      5061 at 12      $        12,500,000.00 $   37,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3369                                                            Daniel            Charles         Renda                       States          Karen                C.            Renda                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 504          Child                       5061 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                              United                                                                               United                                                             1, at 503, 8393-
3370                                                            Matthew           Thomas          Renda                       States          Karen                C.            Renda                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 715, 8487    Child                       5061 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3371                                                            Dawn              Marie           Angrisani                   Unknown         John                 Thomas        Resta                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 511          Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3372                                                            Christine         Ann             Mazzeo                      Unknown         John                 Thomas        Resta                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 512          Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3373                                                            Bernard           Thomas          Resta                       Unknown         John                 Thomas        Resta                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 508          Parent                      3666 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3374                                                            Christina         Ann             Resta                       States          John                 Thomas        Resta                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 507          Parent                      5062 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3375                                                            Michael           Thomas          Resta                       Unknown         John                 Thomas        Resta                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 509          Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3376                                                            Thomas            Bernard         Resta                       Unknown         John                 Thomas        Resta                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 510          Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3377                                                            Janine                            Passelis                    States          Ann Marie                          Riccoboni                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4254    Child                       4126 at 7       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                                 Page 130 of 170
                                                                                                           Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                  Filed 04/23/24              Page 132 of 171
                                                                                                                                                                          EXHIBIT B-1
                                                                                                                                                       SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                  Personal Representative                                            Claimant                                                                                    9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                        Nationality




                                                                                                                                                                                                           Nationality
                                                                                                                         on 9/11




                                                                                                                                                                                                            on 9/11
                                                                                                           Claimant                                                                                                        Date of                                            Amendments &                        Document
 #        First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                             Suffix                                                                                                        Death                                               Substitutions                        ation

                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3378 Cecilia                    Riccoboni             John                              Riccoboni                     States          Ann Marie                          Riccoboni                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4253     Spouse                      5138 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3379                                                  Maria-Elena                       Santorelli                    States          Ann Marie                          Riccoboni                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4255     Child                       4126 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3380                                                  Cynthia           Jane            Rice                          States          David                H.            Rice                             States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4259     Parent                      4023 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3381                                                  Hugh              David           Rice                          States          David                H.            Rice                             States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4258     Parent                      4126 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             155, at AP217,
                                                                                                                      United                                                                              United                                                             5284-1, at 9,
3382                                                  Deborah           J.              Popadiuk                      States          Claude               Daniel        Richards                         States         9/11/01     NY (Other)   03-cv-9849                 5296                Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             155, at AP214,
                                                                                                                      United                                                                              United                                                             5284-1, at 9,
3383                                                  Carroll           Thomas          Richards                      States          Claude               Daniel        Richards                         States         9/11/01     NY (Other)   03-cv-9849                 5296                Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             155, at AP213,
                                                                                                                                                                                                                                                                             5284-1, at 10,
                                                                                                                      United                                                                              United                                                             5296, 8393-1, at
3384 Karen                      Richards              Jim               D.              Richards                      States          Claude               Daniel        Richards                         States         9/11/01     NY (Other)   03-cv-9849                 12, 8487            Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             155, at AP215,
                                                                                                                      United                                                                              United                                                             5284-1, at 9,
3385                                                  Helen             Kay             Rochler                       States          Claude               Daniel        Richards                         States         9/11/01     NY (Other)   03-cv-9849                 5296                Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             155, at AP216,
                                                                                                                      United                                                                              United                                                             5284-1, at 9,
3386                                                  Linda             Mae             Zupo                          States          Claude               Daniel        Richards                         States 9/11/01             NY (Other)   03-cv-9849                 5296                Sibling                     5087 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                              Unknow                                                             1:02-cv-01616,
3387                                                  Paula             A.              Rigo                          States          John                 Matthews      Rigo                             n      9/11/01             NY (WTC)     03-cv-9849                 232, at P3929       Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                              Unknow                                                             1:02-cv-01616,
3388                                                  Theodore          Paul            Rigo                          States          John                 Matthews      Rigo                             n      9/11/01             NY (WTC)     03-cv-9849                 232, at P3930       Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3389                                                  Gloria            E.              Gonzalez                      States          Isaias                             Rivera                           States 9/11/01             NY (WTC)     03-cv-9849                 1, at 518           Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                      United                                                                              United                                                             1, at 515, 8393-
3390                                                  A.                I.              R.                            States          Isaias                             Rivera                           States 9/11/01             NY (WTC)     03-cv-9849                 1, at 29, 8487      Child                       5087 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3391                                                  Adrian            Isaac           Rivera                        States          Isaias                             Rivera                           States 9/11/01             NY (WTC)     03-cv-9849                 1, at 519           Child                       5062 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3392                                                  Carmen            Virginia        Rivera                        States          Isaias                             Rivera                           States 9/11/01             NY (WTC)     03-cv-9849                 1, at 517           Sibling                     4023 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                              United                                                             8679-1, at 395,
3393                                                  Isaias                            Rivera            Jr.         States          Isaias                             Rivera                           States 9/11/01             NY (WTC)     03-cv-9849                 8696                Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                              United                                                             8679-1, at 394,
3394                                                  Lynnette                          Rivera                        States          Isaias                             Rivera                           States 9/11/01             NY (WTC)     03-cv-9849                 8696                Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3395                                                  Moises                            Rivera                        States          Isaias                             Rivera                           States 9/11/01             NY (WTC)     03-cv-9849                 1, at 516           Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3396                                                  Nilsa             Milagros        Rivera                        States          Isaias                             Rivera                           States 9/11/01             NY (WTC)     03-cv-9849                 1, at 515           Spouse                      5087 at 17      $        12,500,000.00 $   37,500,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3397                                                  Josue                             Rivera Trujillo               States          Isaias                             Rivera                           States 9/11/01             NY (WTC)     03-cv-9849                 1, at 520           Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                              Unknow                                                             1:02-cv-01616,
3398                                                  Domenico                          Riverso                       States          Joseph               R.            Riverso                          n      9/11/01             NY (WTC)     03-cv-9849                 3, at 1573          Parent                      4023 at 22      $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                              Unknow                                                             1:02-cv-01616,
3399                                                  Maria             Emilia          Riverso                       States          Joseph               R.            Riverso                          n      9/11/01             NY (WTC)     03-cv-9849                 3, at 1574          Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                              Unknow                                                             1:02-cv-01616,
3400                                                  Ralph             J.              Riverso                       States          Joseph               R.            Riverso                          n      9/11/01             NY (WTC)     03-cv-9849                 3, at 1575          Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                              Unknow                                                             1:02-cv-01616,
3401                                                  Teresa                            Riverso                       States          Joseph               R.            Riverso                          n      9/11/01             NY (WTC)     03-cv-9849                 3, at 1572          Parent                      4023 at 22      $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                              Unknow                                                             1:02-cv-01616,
3402                                                  William           D.              Riverso                       States          Joseph               R.            Riverso                          n      9/11/01             NY (WTC)     03-cv-9849                 3, at 1571          Sibling                     4126 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                              United                                                             8679-1, at 396,
3403                                                  Christine                         Nippes                        States          Paul                 V.            Rizza                            States 9/11/01             NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3404                                                  Paul                              Rizza                         States          Paul                 V.            Rizza                            States 9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 4271     Parent                      5087 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                              United                                                             1:02-cv-01616,
3405                                                  Vivian                            Rizza                         States          Paul                 V.            Rizza                            States 9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 4272     Parent                      5087 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             155, at P3076,
                                                                                                                      United                                                                              United                                                             8393-1, at 64,
3406                                                  Elaine            Marie           Rizza Brophy                  States          Paul                 V.            Rizza                            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5848 at 9       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                      United                                                                              United                                                             3, at 1577, 8393-
3407                                                  Concetta                          Rizzo                         States          John                 Frank         Rizzo                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 38, 8487      Spouse                      5087 at 17      $        12,500,000.00 $   37,500,000.00




                                                                                                                                                                                        Page 131 of 170
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                                                                                                                                                                      EXHIBIT B-1
                                                                                                                                                   SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
               Personal Representative                                              Claimant                                                                                 9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                   Nationality




                                                                                                                                                                                                       Nationality
                                                                                                                    on 9/11




                                                                                                                                                                                                        on 9/11
                                                                                                      Claimant                                                                                                         Date of                                            Amendments &                        Document
 #     First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                        Suffix                                                                                                         Death                                               Substitutions                        ation

                                                                                                                 United                                                                               United                                                             8679-1, at 397,
3408                                               Giuseppe          Salvatore        Rizzo                      States          John                  Frank         Rizzo                            States         9/11/01     NY (WTC)     03-cv-9849                 8696                Child                       7188 at 13      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                      United                                                             3, at 1577, 8466-
3409                                               Luigi             Anthony          Rizzo                      Unknown         John                  Frank         Rizzo                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1, 8487       Child                       7188 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                               United                                                             1:02-cv-01616,
3410                                               Lorraine                           Caiazzo                    States          Joseph                              Roberto                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4277     Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                      United                                                             1:02-cv-01616,
3411                                               Lucy                               Roberto                    Unknown         Joseph                              Roberto                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4275     Parent                      3666 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                      United                                                             1:02-cv-01616,
3412                                               Robert                             Roberto        Sr.         Unknown         Joseph                              Roberto                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4274     Parent                      3666 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                               United                                                             1:02-cv-01616,
3413                                               Robert                             Roberto        Jr.         States          Joseph                              Roberto                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4276     Sibling                     4126 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                 United                                                                               United                                                             1:02-cv-01616,
3414                                               Daniel            Alexander        Roberts                    States          Leo                   A.            Roberts                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3931       Child                       5061 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         232, at P3931,
                                                                                                                 United                                                                               United                                                             8393-1, at 49,
3415                                               Debra                              Roberts                    States          Leo                   A.            Roberts                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5061 at 12      $        12,500,000.00 $   37,500,000.00
                                                                                                                 United                                                                               United                                                             8679-1, at 398,
3416                                               Hunter            Everett          Roberts                    States          Leo                   A.            Roberts                          States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                 United                                                                               United                                                             1:02-cv-01616,
3417                                               Jeffrey                            Roberts                    States          Leo                   A.            Roberts                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3931       Child                       5087 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                               United                                                             1:02-cv-01616,
3418                                               John              J.               Roberts                    States          Michael               Edward        Roberts                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2308     Parent                      5151 at 3       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                         1:03-cv-09849,
                                                                                                                 United                                                                               United                                                             842, at 12; 8679-
3419                                               Lisa              Ann              Roberts                    States          Michael               E.            Roberts                          States         9/11/01     NY (Other)   03-cv-9849                 1, at 399, 8696     Sibling                     4126 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                 United                                                                               United                                                             1:02-cv-01616,
3420                                               Michael           Leo              Roberts                    States          Leo                   A.            Roberts                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3931       Child                       5061 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                               United                                                             1:02-cv-01616,
3421                                               Paulette          Marie            Roberts                    States          Michael               E.            Roberts                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4280     Parent                      4126 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                               United                                                             1:02-cv-01616,
3422                                               Taylor            Nicole           Roberts                    States          Leo                   A.            Roberts                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3931       Child                       5061 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                               United                                                             1:02-cv-01616,
3423                                               Thomas            Edward           Roberts                    States          Michael               E.            Roberts                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4281     Parent                      4023 at 22      $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                               United                                                             1:02-cv-01616,
3424                                               Veronica          M.               Roberts                    States          Michael               Edward        Roberts                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 2309     Parent                      5151 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                 United                                                                               United                                                             1:02-cv-01616,
3425                                               Kathleen          Robertson        Cunningham                 States          Donald                W.            Robertson           Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4285     Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                      United                                                             1:02-cv-01616,
3426                                               Donald            Walter           Robertson      Sr.         Unknown         Donald                W.            Robertson           Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4283     Parent                      3666 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                      United                                                             1:02-cv-01616,
3427                                               Elizabeth         Ann              Robertson                  Unknown         Donald                W.            Robertson           Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4286     Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                      United                                                             1:02-cv-01616,
3428                                               Marcee            Elizabeth        Robertson                  Unknown         Donald                W.            Robertson           Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4284     Parent                      3666 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         155, at P3077,
                                                                                                                 United                                                                               United                                                             8393-1, at 60,
3429                                               Alyssa            Marie            Rocha                      States          Antonio               A.            Rocha                            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         155, at P3077,
                                                                                                                 United                                                                               United                                                             8393-1, at 61,
3430                                               Ethan             Agustus          Rocha                      States          Antonio               A.            Rocha                            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         155, at P3077,
                                                                                                                 United                                                                               United                                                             8393-1, at 4,
3431                                               Marilyn           Marques          Rocha                      States          Antonio               A.            Rocha                            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5061 at 12      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         232, at P3933,
                                                                                                                 United                                                                               United                                                             8393-1, at 63,
3432                                               Adam              Alexandre        Rodrigues                  States          Antonio               J.            Rodrigues                        States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5356 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         232, at P3933,
                                                                                                                 United                                                                               United                                                             8393-1, at 4,
3433                                               Cristina                           Rodrigues                  States          Antonio               J.            Rodrigues                        States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5356 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         232, at P3933,
                                                                     Alexandre de                                United                                                                               United                                                             8393-1, at 62,
3434                                               Sara              Carrusca         Rodrigues                  States          Antonio               J.            Rodrigues                        States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5356 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         432, at P4939,
                                                                                                                 United                                                                               United                                                             8393-1, at 68,
3435                                               Cindy                              Rodriguez                  States          Richard                             Rodriguez                        States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5087 at 17      $        12,500,000.00 $   37,500,000.00




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                                                                                                             Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                  Filed 04/23/24              Page 134 of 171
                                                                                                                                                                             EXHIBIT B-1
                                                                                                                                                          SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                            Claimant                                                                                9/11 Decedent                                                                    Claim Information                                                  Solatium Damages




                                                                                                                          Nationality




                                                                                                                                                                                                              Nationality
                                                                                                                           on 9/11




                                                                                                                                                                                                               on 9/11
                                                                                                             Claimant                                                                                                         Date of                                            Amendments &                       Document
 #       First         Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                               Suffix                                                                                                         Death                                               Substitutions                       ation

                                                                                                                                                                                                             United                                                             1:02-cv-01616,
3436                                                      Julia             Emilia          Rodriguez                   Unknown         Gregory               E.            Rodriguez                        States         9/11/01     NY (WTC)     03-cv-9849                 77, at AP209       Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:03-md-01570,
                                                                                                                                                                                                                                                                                3477, at 3120;
                                                                                                                        United                                                                               United                                                             8679-1, at 400,
3437                                                      Elizabeth         A.              Soudant                     States          Gregory               E.            Rodriguez                        States         9/11/01     NY (WTC)     03-cv-9849                 8696               Spouse                      5848 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                        United                                                                               United                                                             1, at 792, 5284-
3438                                                      Eileen            Schaefer        Roger                       States          Jean                  Destrehan     Roger                            States         9/11/01     NY (AA11)    03-cv-9849                 1, at 10, 5296     Parent                      4023 at 22      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                        United                                                                               United                                                             1, at 791, 5284-
3439                                                      James             Merle           Roger                       States          Jean                  Destrehan     Roger                            States         9/11/01     NY (AA11)    03-cv-9849                 1, at 10, 5296     Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                        United                                                                               United                                                             1, at 790, 5284-
3440                                                      Thomas            Harvey          Roger                       States          Jean                  Destrehan     Roger                            States 9/11/01             NY (AA11)    03-cv-9849                 1, at 10, 5296     Parent                      4023 at 22      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               Unknow                                                             1:02-cv-01616,
3441                                                      Katherine         Rohner          Merhige                     States          Scott                 W.            Rohner                           n      9/11/01             NY (WTC)     03-cv-9849                 432, at P4940      Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               Unknow                                                             1:02-cv-01616,
3442                                                      Kristin           Katherine       Nepola                      States          Scott                 W.            Rohner                           n      9/11/01             NY (WTC)     03-cv-9849                 305, at P4503      Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               Unknow                                                             1:02-cv-01616,
3443                                                      Michael           Ronald          Rohner                      States          Scott                 W.            Rohner                           n      9/11/01             NY (WTC)     03-cv-9849                 305, at P4501      Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               Unknow                                                             1:02-cv-01616,
3444                                                      Stephen           John            Rohner                      States          Scott                 W.            Rohner                           n      9/11/01             NY (WTC)     03-cv-9849                 305, at P4502      Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               Unknow                                                             1:02-cv-01616,
3445                                                      Thomas            Garrett         Rohner                      States          Scott                 W.            Rohner                           n      9/11/01             NY (WTC)     03-cv-9849                 305, at P4500      Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               Unknow                                                             1:02-cv-01616,
3446                                                      Arnold            John            Roma            Jr.         States          Keith                               Roma                             n      9/11/01             NY (Other)   03-cv-9849                 1, at 530          Parent                      4023 at 22      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               Unknow                                                             1:02-cv-01616,
3447                                                      Kevin             Paul            Roma                        States          Keith                               Roma                             n      9/11/01             NY (Other)   03-cv-9849                 26, 29, at 4303    Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               Unknow                                                             1:02-cv-01616,
3448                                                      Maureen           Elizabeth       Roma                        States          Keith                               Roma                             n      9/11/01             NY (Other)   03-cv-9849                 26, 29, at 4302    Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               Unknow                                                             1:02-cv-01616,
3449                                                      Rosemary                          Roma                        States          Keith                               Roma                             n      9/11/01             NY (Other)   03-cv-9849                 26, 29, at 2317    Parent                      4023 at 22      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
3450                                                      Patricia                          Rosen                       States          Mark                  H.            Rosen                            States 9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 2321    Spouse                      5087 at 17      $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                               Unknow                                                             1:02-cv-01616,
3451                                                      Barry             Alan            Rosner                      States          Sheryl                              Rosenbaum                        n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 4313    Parent                      3666 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               Unknow                                                             1:02-cv-01616,
3452                                                      Bobbi             Sara            Rosner                      States          Sheryl                              Rosenbaum                        n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 4314    Parent                      3666 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             8679-1, at 403,
3453                                                      Adam              Mark            Rosenblum                   States          Joshua                M.            Rosenblum                        States 9/11/01             NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:03-cv-9849,
                                                                                                                        United                                                                               United                                                             HAND FILED, at
3454                                                      Dean              Russell         Rosenblum                   States          Joshua                M.            Rosenblum                        States         9/11/01     NY (WTC)     03-cv-9849                 P5247              Sibling                     5061 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             8679-1, at 404,
3455                                                      Lawrence          A.              Rosenblum                   States          Joshua                M.            Rosenblum                        States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3934,
                                                                                                                                                                                                                                                                                8397-1, at 24,
                                                                                                                        United                                                                               United                                                             8433, 8393-1, at
3456 Susan       S.                 Rosenblum             Richard           M.              Rosenblum                   States          Joshua                M.            Rosenblum                        States         9/11/01     NY (WTC)     03-cv-9849                 43, 8487           Parent                      5087 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             8679-1, at 402,
3457                                                      Ruth              Anne            Rosenblum                   States          Joshua                M.            Rosenblum                        States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 17      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3935,
                                                                                                                        United                                                                               United                                                             8393-1, at 43,
3458                                                      Susan             S.              Rosenblum                   States          Joshua                M.            Rosenblum                        States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      4023 at 22      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:03-cv-9849,
                                                                                                                                                                                                                                                                                HAND FILED, at
                                                                                                                                                                                                                                                                                P5248, 8397-1,
                                                                                                                                                                                                                                                                                at 24, 8433,
                                                                                                                                                                                                             United                                                             8393-1, at 43,
3459 Helen       K.                 Rosenthal             Marilynn          M.              Rosenthal                   Unknown         Joshua                Alan          Rosenthal                        States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      5848 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
3460                                                      Cheryl            Ann             Rosetti                     States          Daniel                James         Rosetti                          States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3078      Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
3461                                                      Darlene                           Rosetti                     States          Daniel                James         Rosetti                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3937      Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3938,
                                                                                                                        United                                                                               United                                                             8397-1, at 24,
3462 Joseph      A.                 Rosetti               Ricki             Allen           Rosetti                     States          Daniel                James         Rosetti                          States         9/11/01     NY (WTC)     03-cv-9849                 8433               Sibling                     4126 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
3463                                                      Robert            Guy             Rosetti         Sr.         States          Daniel                James         Rosetti                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3939      Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
3464                                                      Shirley           Ann             Rosetti                     States          Daniel                James         Rosetti                          States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3079      Parent                      4023 at 22      $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                                                EXHIBIT B-1
                                                                                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                       Personal Representative                                              Claimant                                                                                  9/11 Decedent                                                                  Claim Information                                                    Solatium Damages




                                                                                                                             Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                              on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                                Claimant                                                                                                         Date of                                            Amendments &                        Document
 #          First          Middle           Last   Suffix     Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                  Suffix                                                                                                         Death                                               Substitutions                        ation

                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
3465                                                        Donna              Lynn            Mattera                     States          Nicholas              Peter         Rossomando                       States         9/11/01     NY (Other)   03-cv-9849                 3, at 1588          Sibling                     4023 at 22       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
3466                                                        Christopher        Paul            Rossomando                  States          Nicholas              Peter         Rossomando                       States         9/11/01     NY (Other)   03-cv-9849                 1, at 535           Sibling                     4023 at 22       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
3467                                                        Peter              Charles         Rossomando                  States          Nicholas              Peter         Rossomando                       States         9/11/01     NY (Other)   03-cv-9849                 3, at 1587          Sibling                     4023 at 22       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
3468                                                        Rhonda             Beth            Dizney                      States          Michael               C.            Rothberg                         States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1593          Sibling                     5062 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
3469                                                        Iris               Estelle         Rothberg                    States          Michael               C.            Rothberg                         States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1592          Parent                      5062 at 6        $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                           United                                                                               United                                                             3, at 1591, 8397-
3470 Iris           Estelle          Rothberg               Jason                              Rothberg                    States          Michael               C.            Rothberg                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 24, 8433      Parent                      5062 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   313, at P4720,
                                                                                                                           United                                                                               United                                                             8393-1, at 52,
3471                                                        Meredith           Harris          Rothenberg                  States          Mark                  D.            Rothenberg                       States         9/11/01     PA (UA93)    03-cv-9849                 8487                Spouse                      5061 at 12       $        12,500,000.00 $   37,500,000.00
                                                                                                                           United                                                                               United                                                             8679-1, at 405,
3472                                                        Rachel             Susan           Rothenberg                  States          Mark                  D.            Rothenberg                       States         9/11/01     PA (UA93)    03-cv-9849                 8696                Child                       5138 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                               United                                                             8679-1, at 406,
3473                                                        Sara               Jan             Rothenberg                  States          Mark                  D.            Rothenberg                       States         9/11/01     PA (UA93)    03-cv-9849                 8696                Child                       5061 at 12       $         8,500,000.00 $   25,500,000.00

                                                                                                                           United                                                                               Unknow                                                             1:03-md-01570,
3474                                                        Maureen                            Most                        States          David                 Michael       Ruddle                           n      9/11/01             NY (WTC)     03-cv-9849                 432, at P5436       Sibling                     4023 at 22       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P4083,
                                                                                                                           United                                                                               United                                                             8393-1, at 5,
3475                                                        Danica             Taylor          Calderone                   States          Adam                  Keith         Ruhalter                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5138 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P4083,
                                                                                                                           United                                                                               United                                                             8393-1, at 6,
3476                                                        Ethan              Myles           Ruhalter                    States          Adam                  Keith         Ruhalter                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P4083,
                                                                                                                           United                                                                               United                                                             8393-1, at 1,
3477                                                        Fern               Gayle           Ruhalter                    States          Adam                  Keith         Ruhalter                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5061 at 12       $        12,500,000.00 $   37,500,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
3478                                                        Clifford           Stephen         Russell         Jr.         States          Stephen               P.            Russell                          States         9/11/01     NY (Other)   03-cv-9849                 232, at P3940       Sibling                     4023 at 22       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P4942,
                                                                                                                           United                                                                               United                                                             8393-1, at 77,
3479                                                        Marie                              Russell                     States          Stephen               P.            Russell                          States 9/11/01             NY (Other)   03-cv-9849                 8487                Parent                      5087 at 17       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
3480                                                        William            Gerard          Russell                     States          Stephen               P.            Russell                          States 9/11/01             NY (Other)   03-cv-9849                 232, at P3941       Sibling                     4023 at 22       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
3481                                                        Arlene             Beverly         Russo                       States          Wayne                 A.            Russo                            States 9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 2324     Parent                      6035 at 4        $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                               Unknow                                                             1:02-cv-01616,
3482                                                        Aileen             Anne            Ryan                        States          John                  Joseph        Ryan                Jr.          n      9/11/01             NY (WTC)     03-cv-9849                 313, at P4726       Sibling                     3387             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   313, at P4727,
                                                                                                                           United                                                                               Unknow                                                             8397-1, at 24,
3483 Aileen         Anne             Ryan                   Colleen            M.              Ryan                        States          John                  Joseph        Ryan                Jr.          n      9/11/01             NY (WTC)     03-cv-9849                 8433                Sibling                     3387             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   313, at P4722,
                                                                                                                           United                                                                               Unknow                                                             8397-1, at 24,
3484 Aileen         Anne             Ryan                   John               Joseph          Ryan            Sr.         States          John                  Joseph        Ryan                Jr.          n      9/11/01             NY (WTC)     03-cv-9849                 8433                Parent                      3387             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   313, at P4723,
                                                                                                                           United                                                                               Unknow                                                             8397-1, at 24,
3485 Aileen         Anne             Ryan                   Mary               V.              Ryan                        States          John                  Joseph        Ryan                Jr.          n      9/11/01             NY (WTC)     03-cv-9849                 8433                Parent                      3387             $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                               Unknow                                                             1:02-cv-01616,
3486                                                        Patrick                            Ryan                        States          John                  Joseph        Ryan                Jr.          n      9/11/01             NY (WTC)     03-cv-9849                 313, at P4725       Sibling                     3387             $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                               Unknow                                                             1:02-cv-01616,
3487                                                        Teague             M.              Ryan                        States          John                  Joseph        Ryan                Jr.          n      9/11/01             NY (WTC)     03-cv-9849                 313, at P4724       Sibling                     3387             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
3488                                                        Laurence           Alice           Hagan                       Morocco         Jason                 Elazar        Sabbag                           States 9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 4336     Sibling                     5062 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
3489                                                        Brigitte                           Sabbag                      Germany         Jason                 Elazar        Sabbag                           States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1597          Parent                      4023 at 22       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
3490                                                        Clifton            Fritz           Sabbag                      States          Jason                 Elazar        Sabbag                           States 9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 4335     Sibling                     4023 at 22       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
3491                                                        Ralph              Raphael         Sabbag                      Morocco         Jason                 Elazar        Sabbag                           States 9/11/01             NY (WTC)     03-cv-9849                 3, at 1596          Parent                      4023 at 22       $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                                                EXHIBIT B-1
                                                                                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                       Personal Representative                                              Claimant                                                                                   9/11 Decedent                                                                 Claim Information                                                  Solatium Damages




                                                                                                                             Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                              on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                                Claimant                                                                                                         Date of                                            Amendments &                       Document
 #        First         Middle             Last     Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                  Suffix                                                                                                         Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 4340,
                                                                                                                           United                                                                               United                                                             8397-1, at 24,
3492 Charles        Thomas           Sabella                 Angelina                          Sabella                     States          Thomas                E.            Sabella                          States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      5138 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
3493                                                         Charles           Thomas          Sabella                     Unknown         Thomas                E.            Sabella                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4341    Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 4338,
                                                                                                                           United                                                                               United                                                             8393-1, at 80,
3494                                                         Diana                             Sabella                     States          Thomas                E.            Sabella                          States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5061 at 12      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 4339,
                                                                                                                           United                                                                               United                                                             8397-1, at 24,
3495 Charles        Thomas           Sabella                 Edward            N.              Sabella                     States          Thomas                E.            Sabella                          States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      5138 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                               Sabella-                                                                                                         United                                                             1:02-cv-01616,
3496                                                         Loretta           S.              Viglione                    Unknown         Thomas                E.            Sabella                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4342    Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P3080,
                                                                                                                           United                                                                               United                                                             8393-1, at 74,
3497                                                         Brian             W.              Saber                       States          Scott                 Howard        Saber                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
3498                                                         Bruce             David           Saber                       States          Scott                 Howard        Saber                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2327    Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
3499 Brian; Bruce   W.; David        Saber; Saber            Elaine            P.              Saber                       Unknown         Scott                 Howard        Saber                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2328    Parent                      5356 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                           VA
                                                                                                                           United                                                                               Unknow                     (Pentagon                               1:02-cv-01616,
3500                                                         Charles           Edward          Sabin           Jr.         States          Charles               E.            Sabin                            n      9/11/01             )            03-cv-9849                 432, at P4945      Child                       4023 at 22      $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
3501                                                         Andrea                            Sacerdote                   States          Joseph                Francis       Sacerdote                        States 9/11/01             NY (WTC)     03-cv-9849                 305, at P4507      Child                       5087 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   305, at P4506,
                                                                                                                           United                                                                               United                                                             8393-1, at 41,
3502                                                         Arlene                            Sacerdote                   States          Joseph                Francis       Sacerdote                        States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5087 at 17      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:03-cv-9849,
                                                                                                                           United                                                                               United                                                             HAND FILED, at
3503                                                         Eric              M.              Sachs                       States          Jessica               Leigh         Sachs                            States         9/11/01     NY (AA11)    03-cv-9849                 P5250              Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
3504                                                         Karen             Ann             Sachs                       States          Jessica               Leigh         Sachs                            States         9/11/01     NY (AA11)    03-cv-9849                 155, at P3081      Parent                      5062 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P3082,
                                                                                                                           United                                                                               United                                                             8393-1, at 35,
3505                                                         Stephen           Richard         Sachs                       States          Jessica               Leigh         Sachs                            States         9/11/01     NY (AA11)    03-cv-9849                 8487               Parent                      5062 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
3506                                                         Katherine         Ann             Scovill                     States          Jessica               Leigh         Sachs                            States         9/11/01     NY (AA11)    03-cv-9849                 155, at P3083      Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
3507                                                         John              Stephen         Sadocha                     Unknown         Francis               John          Sadocha                          States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4510      Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
3508 Sabine                          Sadocha                 Norma             Teresa          Sadocha                     States          Francis               John          Sadocha                          States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4509      Parent                      3666 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
3509 Sabine                          Sadocha                 Susan             T.              Sadocha                     States          Francis               John          Sadocha                          States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4511      Sibling                     4126 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
3510                                                         Ahlam                             Safi                        States          Jude                  Elias         Safi                             States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4346    Parent                      5061 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
3511                                                         Elias                             Safi                        States          Jude                  Elias         Safi                             States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4347    Parent                      5061 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
3512                                                         John                              Safi                        States          Jude                  Elias         Safi                             States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4345    Sibling                     4126 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                Dominic                                                            26, 29, at 2330,
                                                                                                                           United                                                                               an                                                                 8393-1, at 700,
3513                                                         Jennifer                          Salas                       States          Juan                  G.            Salas                            Republic 9/11/01           NY (WTC)     03-cv-9849                 8487               Child                       5087 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                Dominic                                                            26, 29, at 2330,
                                                                                                                           United                                                                               an                                                                 8393-1, at 701,
3514                                                         Juan              Luiz            Salas                       States          Juan                  G.            Salas                            Republic 9/11/01           NY (WTC)     03-cv-9849                 8487               Child                       5087 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                Dominic                                                            26, 29, at 2330,
                                                                                                                           United                                                                               an                                                                 8393-1, at 44,
3515                                                         Silveria                          Segura                      States          Juan                  G.            Salas                            Republic 9/11/01           NY (WTC)     03-cv-9849                 8487               Spouse                      5951 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                           United                                                                               United                                                             8679-1, at 407,
3516                                                         Virginia          Ann             Gecewicz                    States          Wayne                 J.            Saloman                          States 9/11/01             NY (WTC)     03-cv-9849                 8696               Sibling                     515 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                               United                                                             8679-1, at 408,
3517                                                         Craig             William         Saloman                     States          Wayne                 J.            Saloman                          States 9/11/01             NY (WTC)     03-cv-9849                 8696               Sibling                     515 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P3942,
                                                                                                                           United                                                                               United                                                             8393-1, at 86,
3518                                                         Debra             Ann             Saloman                     States          Wayne                 J.            Saloman                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      515 at 5        $        12,500,000.00 $   37,500,000.00




                                                                                                                                                                                              Page 135 of 170
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                                                                                                                                                                             EXHIBIT B-1
                                                                                                                                                          SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                              Claimant                                                                                9/11 Decedent                                                                    Claim Information                                                   Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                              Claimant                                                                                                         Date of                                           Amendments &                        Document
 #       First       Middle               Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle            Last          Suffix                                9/11 Site       Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                Suffix                                                                                                         Death                                              Substitutions                        ation

                                                                                                                         United                                                                               United                                                            8679-1, at 409,
3519                                                      Jay               Charles         Saloman                      States          Wayne                J.            Saloman                           States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     515 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3942,
                                                                                                                         United                                                                               United                                                            8393-1, at 1392,
3520                                                      Justin            Charles         Saloman                      States          Wayne                J.            Saloman                           States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       515 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                            1:02-cv-01616,
3521                                                      Dina                              Giallombardo                 States          Paul                 Richard       Salvio                            States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1603          Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                            1:02-cv-01616,
3522                                                      Robert                            Giallombardo     Jr.         States          Paul                 Richard       Salvio                            States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1602          Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                            1:03-cv-09849,
3523                                                      Robert                            Giallombardo                 States          Paul                 Richard       Salvio                            States         9/11/01     NY (WTC)    03-cv-9849                 842, at 3           Parent                      5951 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                            1:02-cv-01616,
3524                                                      Rosemarie                         Giallombardo                 States          Paul                 Richard       Salvio                            States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1600          Parent                      4023 at 22      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                            1:02-cv-01616,
3525                                                      Vincent                           Giallombardo                 States          Paul                 Richard       Salvio                            States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1601          Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:03-cv-09849,
                                                                                                                         United                                                                               United                                                            842, at 4; 8679-
3526                                                      Susan             Salvo           Glick                        States          Samuel               Robert        Salvo                Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 412, 8696     Child                       4126 at 8       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                1:03-cv-09849,
                                                                                                                         United                                                                               United                                                            842, at 13; 8679-
3527                                                      David             Robert          Salvo                        States          Samuel               Robert        Salvo                Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 413, 8696     Child                       4126 at 8       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                1:03-md-01570,
                                                                                                                                                                                                                                                                                602, at P5502,
                                                                                                                                                                                                                                                                                8397-1, at 24,
                                                                                                                         United                                                                               United                                                            8433, 8393-1, at
3528 David       Robert           Salvo                   Gladys            H.              Salvo                        States          Samuel               Robert        Salvo                Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 73, 8487            Spouse                      4126 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                               United                                                            8679-1, at 411,
3529                                                      Pamela            Rae             Salvo                        States          Samuel               Robert        Salvo                Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     7188 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                            1:02-cv-01616,
3530                                                      Jennifer          Lynn            Agresto                      States          James                K.            Samuel               Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1613          Sibling                     4023 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                            1:02-cv-01616,
3531                                                      James             K.              Samuel           Sr.         States          James                K.            Samuel               Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1612          Parent                      4023 at 22      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                            1:02-cv-01616,
3532                                                      Linda             J.              Samuel                       States          James                K.            Samuel               Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1611          Parent                      4023 at 22      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                            8679-1, at 418,
3533                                                      Emiliano                          Perez                        States          Sylvia                             San Pio                           States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     7188 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                            8679-1, at 416,
3534                                                      Joseph            Francis         Perez                        States          Sylvia                             San Pio                           States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     7188 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                            8679-1, at 415,
3535                                                      Laura                             Perez                        States          Sylvia                             San Pio                           States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     7188 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                            8679-1, at 417,
3536                                                      Edward            Jack            San Pio                      States          Sylvia                             San Pio                           States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     7188 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                            8679-1, at 414,
3537                                                      Maria             Jose            San Pio                      States          Sylvia                             San Pio                           States         9/11/01     NY (WTC)    03-cv-9849                 8696                Parent                      7188 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                     NY                                     8679-1, at 421,
3538                                                      Maria             Mercedes        Declet                       States          Jesus                              Sanchez                           States         9/11/01     (UA175)     03-cv-9849                 8696                Parent                      515 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                305, at P4512,
                                                                                                                         United                                                                               United                     NY                                     8393-1, at 35,
3539                                                      Felicita          Maria           Sanchez                      States          Jesus                              Sanchez                           States         9/11/01     (UA175)     03-cv-9849                 8487                Child                       5061 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                     NY                                     8679-1, at 420,
3540                                                      Lourdes                           Sanchez                      States          Jesus                              Sanchez                           States         9/11/01     (UA175)     03-cv-9849                 8696                Sibling                     515 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                305, at P4512,
                                                                                                                         United                                                                               United                     NY                                     8393-1, at 561,
3541                                                      Marc              Antoni          Sanchez                      States          Jesus                              Sanchez                           States         9/11/01     (UA175)     03-cv-9849                 8487                Child                       5087 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                     NY                                     8679-1, at 423,
3542                                                      Miguel            Angel           Sanchez                      States          Jesus                              Sanchez                           States         9/11/01     (UA175)     03-cv-9849                 8696                Sibling                     515 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                     NY                                     8679-1, at 422,
3543                                                      Jesus             Manuel          Sanchez Declet               States          Jesus                              Sanchez                           States         9/11/01     (UA175)     03-cv-9849                 8696                Sibling                     515 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                     NY                                     8679-1, at 419,
3544                                                      Maria             Mercedes        Sanchez Declet               States          Jesus                              Sanchez                           States         9/11/01     (UA175)     03-cv-9849                 8696                Sibling                     515 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                     NY                                     8679-1, at 424,
3545                                                      Jesus             Francisco       Sanchez-Declet               States          Jesus                              Sanchez                           States         9/11/01     (UA175)     03-cv-9849                 8696                Sibling                     515 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                            8679-1, at 426,
3546                                                      Jordana           Sandler         Manzano                      States          Herman               Samuel        Sandler                           States         9/11/01     NY (WTC)    03-cv-9849                 8696                Child                       7188 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                            1:02-cv-01616,
3547                                                      Carol             Sue             Sandler                      States          Herman               Samuel        Sandler                           States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2333     Spouse                      5087 at 17      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                              United                                                            8679-1, at 425,
3548                                                      Pamela                            Sandler                      Korea           Herman               Samuel        Sandler                           States         9/11/01     NY (WTC)    03-cv-9849                 8696                Child                       7188 at 13      $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                            Page 136 of 170
                                                                                                         Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                  Filed 04/23/24              Page 138 of 171
                                                                                                                                                                        EXHIBIT B-1
                                                                                                                                                     SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                 Personal Representative                                             Claimant                                                                               9/11 Decedent                                                                    Claim Information                                                   Solatium Damages




                                                                                                                      Nationality




                                                                                                                                                                                                         Nationality
                                                                                                                       on 9/11




                                                                                                                                                                                                          on 9/11
                                                                                                         Claimant                                                                                                        Date of                                            Amendments &                        Document
 #       First    Middle              Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                           Suffix                                                                                                        Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           232, at P3943,
                                                                                                                    United                                                                              United                                                             8393-1, at 32,
3549                                                  Jennifer          Ann             Sands                       States          James                              Sands               Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5061 at 12      $        12,500,000.00 $   37,500,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
3550                                                  Patricia          Ann             Cardona                     States          Christopher          A.            Santora                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4360     Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                    United                                                                              United                                                             1, at 554, 8393-
3551                                                  Alexander         William         Santora                     States          Christopher          A.            Santora                          States         9/11/01     NY (Other)   03-cv-9849                 1, at 10, 8487      Parent                      4023 at 23      $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
3552                                                  Jennifer          Maureen         Santora                     States          Christopher          A.            Santora                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4361     Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
3553                                                  Kathleen          Marie           Santora                     States          Christopher          A.            Santora                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4362     Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
3554                                                  Maureen           Marilyn         Santora                     States          Christopher          A.            Santora                          States         9/11/01     NY (Other)   03-cv-9849                 1, at 555           Parent                      4023 at 23      $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                              United                                                             8679-1, at 427,
3555                                                  Karen             Ann             Miller                      States          John                 A.            Santore                          States         9/11/01     NY (Other)   03-cv-9849                 8696                Sibling                     7188 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           313, at P4729,
                                                                                                                    United                                                                              United                                                             8393-1, at 36,
3556                                                  Frances                           Santore                     States          John                 A.            Santore                          States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5087 at 17      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           313, at P4729,
                                                                                                                    United                                                                              United                                                             8393-1, at 570,
3557                                                  Tiana Marie       Argia           Santore                     States          John                 A.            Santore                          States 9/11/01             NY (Other)   03-cv-9849                 8487                Child                       5087 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                              Unknow                                                             1:02-cv-01616,
3558                                                  Alberto           Angel           Santoro                     States          Mario                L.            Santoro                          n      9/11/01             NY (Other)   03-cv-9849                 3, at 1623          Parent                      3666 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
3559                                                  Anarkali                          Sarkar                      States          Kalyan               K.            Sarkar                           States 9/11/01             NY (WTC)     03-cv-9849                 1, at 760           Spouse                      5087 at 17      $        12,500,000.00 $   37,500,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
3560                                                  Kishan            Kumar           Sarkar                      States          Kalyan               K.            Sarkar                           States 9/11/01             NY (WTC)     03-cv-9849                 313, at P4730       Child                       5087 at 17      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                    United                                                                              United                                                             1, at 760, 8393-
3561                                                  Sujoy                             Sarkar                      States          Kalyan               K.            Sarkar                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1361, 8487    Child                       5087 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
3562                                                  Christopher       J.              Scandole                    States          Robert               Louis         Scandole            Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4951       Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           432, at P4948,
                                                                                                                    United                                                                              United                                                             8393-1, at 1134,
3563                                                  Emma                              Scandole                    States          Robert               Louis         Scandole            Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           432, at P4948,
                                                                                                                    United                                                                              United                                                             8393-1, at 1135,
3564                                                  Katie             O'Grady         Scandole                    States          Robert               Louis         Scandole            Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 17      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
3565                                                  Margaret          Mary            Scandole                    Ireland         Robert               Louis         Scandole            Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4950       Parent                      4023 at 23      $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
3566                                                  Robert            Louis           Scandole        Sr.         States          Robert               Louis         Scandole            Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4949       Parent                      4023 at 23      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           432, at P4948,
                                                                                                                    United                                                                              United                                                             8393-1, at 70,
3567                                                  Sheila            Marie           Scandole                    States          Robert               Louis         Scandole            Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 17      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 4370,
                                                                                                                                                                                                                                                                           6949, at 2, 6955,
                                                                                                                    United                                                                              United                                                             8397-1, at 25,
3568 Steven                    Scarpitta              Julie                             Scarpitta                   States          Michelle                           Scarpitta                        States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      7188 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                           1:03-md-01570,
                                                                                                                                                                                                                                                                           3477, at 3261;
                                                                                                                    United                                                                              United                                                             8679-1, at 428,
3569                                                  Steven                            Scarpitta                   States          Michelle                           Scarpitta                        States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     4126 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
3570                                                  Debra             Marie           Sacco                       Unknown         John                 Albert        Schardt                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4379     Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 4375,
                                                                                                                                                                                                        United                                                             8393-1, at 573,
3571                                                  Christopher                       Schardt                     Unknown         John                 Albert        Schardt                          States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                        United                                                             1:02-cv-01616,
3572                                                  Jeanette          DeVito          Schardt                     Unknown         John                 Albert        Schardt                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4375     Spouse                      5087 at 18      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                                                                                                                           26, 29, at 4375,
                                                                                                                                                                                                        United                                                             8393-1, at 574,
3573                                                  John                              Schardt         Jr.         Unknown         John                 Albert        Schardt                          States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                              United                                                             1:02-cv-01616,
3574                                                  Kenneth           Robert          Schardt                     States          John                 Albert        Schardt                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4378     Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00




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                                                                                                             Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                  Filed 04/23/24              Page 139 of 171
                                                                                                                                                                             EXHIBIT B-1
                                                                                                                                                          SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                              Claimant                                                                                  9/11 Decedent                                                                 Claim Information                                                    Solatium Damages




                                                                                                                          Nationality




                                                                                                                                                                                                              Nationality
                                                                                                                           on 9/11




                                                                                                                                                                                                               on 9/11
                                                                                                             Claimant                                                                                                         Date of                                            Amendments &                        Document
 #           First    Middle               Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                               Suffix                                                                                                         Death                                               Substitutions                        ation

                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
3575                                                       Margaret          Tolman          Schardt                    States          John                  Albert        Schardt                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4377     Parent                      4023 at 23       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
3576                                                       Robert            Albert          Schardt                    States          John                  Albert        Schardt                          States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4376     Parent                      4023 at 23       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 4375,
                                                                                                                                                                                                             United                                                             8393-1, at 572,
3577                                                       Robert                            Schardt                    Unknown         John                  Albert        Schardt                          States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 18       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
3578                                                       Elliott                           Scheinberg                 States          Angela                Susan         Scheinberg                       States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2338     Spouse                      5061 at 12       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                        United                                                                               United                                                             1, at 846, 5284-
3579                                                       Lori              Stacey          Brody                      States          Scott                 Mitchell      Schertzer                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 10, 5296      Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                        United                                                                               United                                                             1, at 847, 5284-
3580                                                       Ellen                             Schertzer                  States          Scott                 Mitchell      Schertzer                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 10, 5296      Parent                      3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:03-cv-9849,
                                                                                                                                                                                                                                                                                HAND FILED, at
                                                                                                                        United                                                                               United                                                             P5258, 8393-1,
3581                                                       Dina              Marie           Schott                     States          Frank                 G.            Schott              Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 at 25, 8487         Spouse                      5061 at 12       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:03-cv-9849,
                                                                                                                                                                                                                                                                                HAND FILED, at
                                                                                                                        United                                                                               United                                                             P5258, 8393-1,
3582                                                       Erica             Anne            Schott                     States          Frank                 G.            Schott              Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 at 392, 8487        Child                       5061 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:03-cv-9849,
                                                                                                                                                                                                                                                                                HAND FILED, at
                                                                                                                        United                                                                               United                                                             P5258, 8393-1,
3583                                                       Jonathan          Michael         Schott                     States          Frank                 G.            Schott              Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 at 393, 8487        Child                       5087 at 18       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:03-cv-9849,
                                                                                                                                                                                                                                                                                HAND FILED, at
                                                                                                                        United                                                                               United                                                             P5258, 8393-1,
3584                                                       Robert            Frank           Schott                     States          Frank                 G.            Schott              Jr.          States 9/11/01             NY (WTC)     03-cv-9849                 at 394, 8487        Child                       5061 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               Unknow                                                             1:02-cv-01616,
3585                                                       Lisa              A.              Schunk                     States          Edward                W.            Schunk                           n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 4395     Spouse                      5356 at 5        $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
3586                                                       Jennifer          Abbe            Levine                     States          Mark                                Schwartz                         States 9/11/01             NY (Other)   03-cv-9849                 3, at 1632          Child                       5087 at 18       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                               United                                                             1:02-cv-01616,
3587                                                       Andrew            David           Schwartz                   States          Mark                                Schwartz                         States 9/11/01             NY (Other)   03-cv-9849                 3, at 1631          Child                       5061 at 12       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                        United                                                                               United                                                             3, at 1630, 8393-
3588                                                       Patricia                          Schwartz                   States          Mark                                Schwartz                         States         9/11/01     NY (Other)   03-cv-9849                 1, at 53, 8487      Spouse                      5087 at 18       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:03-cv-9849,
                                                                                                                                                                                                                                                                                HAND FILED, at
                                                                                                                        United                                                                               United                                                             P5259, 8393-1,
3589                                                       Charles                           Scibetta                   States          Adriana                             Scibetta                         States         9/11/01     NY (WTC)     03-cv-9849                 at 1, 8487          Spouse                      5087 at 18       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:03-cv-9849,
                                                                                                                                                                                                                                                                                HAND FILED, at
                                                                                                                        United                                                                               United                                                             P5259, 8393-1,
3590                                                       Vincenzo          P.              Scibetta                   States          Adriana                             Scibetta                         States         9/11/01     NY (WTC)     03-cv-9849                 at 8, 8487          Child                       5087 at 18       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                        VA
                                                                                                                        United                                                                               United                     (Pentagon                               1:02-cv-01616,
3591                                                       Darlene           Bonita          Caldwell                   States          Janice                Marie         Scott                            States         9/11/01     )            03-cv-9849                 305, at P4521       Sibling                     3666 at 11       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                        VA
                                                                                                                        United                                                                               United                     (Pentagon                               1:02-cv-01616,
3592                                                       Denise            Marie           Holmes                     States          Janice                Marie         Scott                            States         9/11/01     )            03-cv-9849                 305, at P4523       Sibling                     3666 at 11       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                        VA                                      305, at P4518,
                                                                                                                        United                                                                               United                     (Pentagon                               8397-1, at 13,
3593 Kelly                         Holmes                  George            Arnold          Holmes                     States          Janice                Marie         Scott                            States         9/11/01     )            03-cv-9849                 8433                Sibling                     5848 at 9        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                        VA                                      305, at P4517,
                                                                                                                        United                                                                               United                     (Pentagon                               8397-1, at 13,
3594 Nicole                        James                   Geraldine                         Holmes                     States          Janice                Marie         Scott                            States         9/11/01     )            03-cv-9849                 8433                Parent                      3666 at 11       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                        VA
                                                                                                                        United                                                                               United                     (Pentagon                               1:02-cv-01616,
3595                                                       Delores           Diane           James                      States          Janice                Marie         Scott                            States         9/11/01     )            03-cv-9849                 305, at P4522       Sibling                     3666 at 11       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                        VA                                      305, at P4515,
                                                                                                                        United                                                                               United                     (Pentagon                               8393-1, at 32,
3596                                                       Abraham                           Scott                      States          Janice                Marie         Scott                            States         9/11/01     )            03-cv-9849                 8487                Spouse                      5087 at 18       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                1, at 878, 5284-
                                                                                                                                                                                                                                                                                1, at 10, 5296,
                                                                                                                        United                                                                               United                                                             8393-1, at 1073,
3597                                                       Alexandra         Nicole          Scott                      States          Randolph                            Scott                            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 12       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                           Page 138 of 170
                                                                                                            Case 1:03-md-01570-GBD-SN                                    Document 9716-2                                  Filed 04/23/24             Page 140 of 171
                                                                                                                                                                            EXHIBIT B-1
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                            Claimant                                                                                9/11 Decedent                                                                Claim Information                                                  Solatium Damages




                                                                                                                         Nationality




                                                                                                                                                                                                           Nationality
                                                                                                                          on 9/11




                                                                                                                                                                                                            on 9/11
                                                                                                            Claimant                                                                                                       Date of                                           Amendments &                       Document
 #       First         Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First          Middle           Last          Suffix                                9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                              Suffix                                                                                                       Death                                              Substitutions                       ation

                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                     VA                                     305, at P4515,
                                                                                                                       United                                                                             United                     (Pentagon                              8393-1, at 517,
3598                                                      Angel             Marie           Scott                      States          Janice                Marie       Scott                            States         9/11/01     )           03-cv-9849                 8487               Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                     VA
                                                                                                                       United                                                                             United                     (Pentagon                              1:02-cv-01616,
3599                                                      Crystal           Marie           Scott                      States          Janice                Marie       Scott                            States         9/11/01     )           03-cv-9849                 305, at P4516      Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                       United                                                                             United                                                            1, at 878, 5284-
3600                                                      Denise            Marie           Scott                      States          Randolph                          Scott                            States         9/11/01     NY (WTC)    03-cv-9849                 1, at 10, 5296     Spouse                      5061 at 12      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                            1:03-cv-9849,
                                                                                                                                                                                                                                                                            HAND FILED, at
                                                                                                                       United                                                                             United                                                            AP293, 5284-1,
3601                                                      Jessica           Frances         Scott                      States          Randolph                          Scott                            States         9/11/01     NY (WTC)    03-cv-9849                 at 10, 5296        Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                       United                                                                             United                                                            3, at 837, 5284-
3602                                                      Rebecca           Elizabeth       Scott                      States          Randolph                          Scott                            States         9/11/01     NY (WTC)    03-cv-9849                 1, at 10, 5296     Child                       5061 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                     VA
                                                                                                                       United                                                                             United                     (Pentagon                              1:02-cv-01616,
3603                                                      Claudette         McKahn          Staley                     States          Janice                Marie       Scott                            States         9/11/01     )           03-cv-9849                 305, at P4519      Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                     VA
                                                                                                                                                                                                          United                     (Pentagon                              1:02-cv-01616,
3604                                                      Willette                          Wages                      Unknown         Janice                Marie       Scott                            States         9/11/01     )           03-cv-9849                 305, at P4520      Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                          United                                                            1:03-md-01570,
3605                                                      Daniel            Paul            Seaman                     Unknown         Michael               Herman      Seaman                           States         9/11/01     NY (WTC)    03-cv-9849                 432, at P5445      Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                    Stackland-                                                                         United                                                                             United                                                            1, at 560, 8397-
3606 Andrea      M.                 Winterer              Jonathan          DiGiovanni      Sellitto                   States          Matthew               Carmen      Sellitto                         States         9/11/01     NY (WTC)    03-cv-9849                 1, at 25, 8433     Sibling                     4126 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             United                                                            1:02-cv-01616,
3607                                                      Loreen                            Sellitto                   States          Matthew               Carmen      Sellitto                         States         9/11/01     NY (WTC)    03-cv-9849                 1, at 558          Parent                      4023 at 23      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                       United                                                                             United                                                            1, at 559, 8393-
3608                                                      Matthew           Thomas          Sellitto                   States          Matthew               Carmen      Sellitto                         States         9/11/01     NY (WTC)    03-cv-9849                 1, at 54, 8487     Parent                      4023 at 23      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                            1:02-cv-01616,
3609                                                      James             Matthew         Selwyn                     States          Howard                            Selwyn                           States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3945      Child                       5062 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            232, at P3946,
                                                                                                                       United                                                                             United                                                            8393-1, at 765,
3610                                                      Tyler             Jay Senko       Goldman                    States          Larry                 John        Senko                            States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5356 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            232, at P3946,
                                                                                            Senko-                     United                                                                             United                                                            8393-1, at 48,
3611                                                      Debbi             Ellen           Goldman                    States          Larry                 John        Senko                            States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5848 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                     VA
                                                                                                                       United                                                                             United                     (Pentagon                              1:02-cv-01616,
3612                                                      Bruce             E.              Serva                      States          Marian                Teresa      Serva                            States         9/11/01     )           03-cv-9849                 1, at 568          Spouse                      5087 at 18      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                     VA
                                                                                                                       United                                                                             United                     (Pentagon                              1:02-cv-01616,
3613                                                      Christina         Lyn             Serva                      States          Marian                Teresa      Serva                            States         9/11/01     )           03-cv-9849                 155, at P3086      Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                            1:02-cv-01616,
3614                                                      Christine         Anne            Patterson                  States          Adele                             Sessa                            States         9/11/01     NY (WTC)    03-cv-9849                 1, at 574          Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                          United                                                            1:02-cv-01616,
3615                                                      Elena             Marie           Sandberg                   Unknown         Adele                             Sessa                            States         9/11/01     NY (WTC)    03-cv-9849                 1, at 573          Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                             United                                                            1:02-cv-01616,
3616                                                      Alberico          Joseph          Sessa                      States          Adele                             Sessa                            States         9/11/01     NY (WTC)    03-cv-9849                 1, at 572          Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                          United                                                            1:02-cv-01616,
3617                                                      Irene             Mary            Sessa                      Unknown         Adele                             Sessa                            States         9/11/01     NY (WTC)    03-cv-9849                 1, at 571          Parent                      4023 at 23      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                             United                                                            8679-1, at 430,
3618                                                      Debra             J.              Anderson                   States          Karen                 Lynn        Seymour                          States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     5848 at 9       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            26, 29, at 2487,
                                                                                                                                                                                                                                                                            5284-1, at 10,
                                                                                                                       United                                                                             United                                                            5296, 8393-1, at
3619                                                      Sarah             Elizabeth       Dietrich                   States          Karen                 Lynn        Seymour                          States         9/11/01     NY (WTC)    03-cv-9849                 714, 8487          Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            26, 29, at 2487,
                                                                                                                       United                                                                             United                                                            8393-1, at 713,
3620                                                      William           Charles         Dietrich                   States          Karen                 Lynn        Seymour                          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                            26, 29, at 2487,
                                                                                                                       United                                                                             United                                                            5284-1, at 10,
3621                                                      William           Gary            Dietrich                   States          Karen                 Lynn        Seymour                          States         9/11/01     NY (WTC)    03-cv-9849                 5296               Spouse                      5951 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                       United                                                                             United                                                            8679-1, at 429,
3622                                                      Catherine         Jean            Seymour                    States          Karen                 Lynn        Seymour                          States         9/11/01     NY (WTC)    03-cv-9849                 8696               Parent                      7188 at 13      $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                        Page 139 of 170
                                                                                                              Case 1:03-md-01570-GBD-SN                                       Document 9716-2                                 Filed 04/23/24             Page 141 of 171
                                                                                                                                                                               EXHIBIT B-1
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                              Claimant                                                                                  9/11 Decedent                                                                Claim Information                                                   Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                               Claimant                                                                                                        Date of                                           Amendments &                        Document
 #       First         Middle              Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle          Last          Suffix                                9/11 Site       Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                        Death                                              Substitutions                        ation

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3948,
                                                                                                                          United                                                                              United                                                            8393-1, at 534,
3623                                                       Nicole            Mary            McCabe                       States          Jeffrey               James         Shaw                            States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5848 at 10      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                1:03-cv-09849,
                                                                                                                          United                                                                              United                                                            844, at 14; 8679-
3624                                                       Brian             Patrick         Shaw                         States          Jeffrey               James         Shaw                            States         9/11/01     NY (WTC)    03-cv-9849                 1, at 431, 8696     Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3948,
                                                                                                                          United                                                                              United                                                            8393-1, at 33,
3625                                                       Debra                             Shaw                         States          Jeffrey               James         Shaw                            States         9/11/01     NY (WTC)    03-cv-9849                 8487                Spouse                      5848 at 9       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3948,
                                                                                                                          United                                                                              United                                                            8393-1, at 535,
3626                                                       Michael           Christopher     Shaw                         States          Jeffrey               James         Shaw                            States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5848 at 9       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                1:03-cv-09849,
                                                                                                                          United                                                                              United                                                            844, at 15; 8679-
3627                                                       Richard           Charles         Shaw                         States          Jeffrey               James         Shaw                            States         9/11/01     NY (WTC)    03-cv-9849                 1, at 433, 8696     Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                1:03-cv-09849,
                                                                                                                          United                                                                              United                                                            844, at 17; 8679-
3628                                                       Geraldine         T.              Tobia                        States          Jeffrey               James         Shaw                            States         9/11/01     NY (WTC)    03-cv-9849                 1, at 432, 8696     Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                305, at P4525,
                                                                                                                          United                                                                              United                                                            8393-1, at 4,
3629                                                       Janine            Louise          Van Riper                    States          Barbara               A.            Shaw                            States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       8233 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
3630                                                       Carolyn           A.              Shay                         States          Robert                J.            Shay               Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2355     Sibling                     4126 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
3631                                                       Dawn              Marie           Shay                         States          Robert                J.            Shay               Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1635          Spouse                      5848 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
3632                                                       James             Edward          Shay                         States          Robert                J.            Shay               Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2349     Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                          United                                                                              United                                                            3, at 1635, 8393-
3633                                                       Jonathan          Robert          Shay                         States          Robert                J.            Shay               Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 1142, 8487    Child                       5848 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
3634                                                       Kathleen          Patricia        Shay                         States          Robert                J.            Shay               Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2353     Sibling                     4126 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
3635                                                       Leanne            Mary            Shay                         States          Robert                J.            Shay               Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2352     Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
3636 Carolyn     A.                 Shay                   Maureen                           Shay                         States          Robert                J.            Shay               Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2348     Parent                      3666 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
3637                                                       Michael           Andrew          Shay                         States          Robert                J.            Shay               Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2350     Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2347,
                                                                                                                          United                                                                              United                                                            8397-1, at 25,
3638                                                       Robert            John            Shay            Sr.          States          Robert                J.            Shay               Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 8433                Parent                      3666 at 11      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                          United                                                                              United                                                            3, at 1635, 8393-
3639                                                       Robert            John            Shay            III          States          Robert                J.            Shay               Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 1144, 8487    Child                       5848 at 10      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                          United                                                                              United                                                            3, at 1635, 8393-
3640                                                       Ryan              Patrick         Shay                         States          Robert                J.            Shay               Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 1143, 8487    Child                       5848 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
3641                                                       Eileen            M               Shay-Martinez                States          Robert                J.            Shay               Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2351     Sibling                     4126 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                             Surko-                       United                                                                              United                                                            1:02-cv-01616,
3642                                                       Maureen                           Pomante                      States          Robert                J.            Shay               Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2354     Sibling                     4126 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                              United                                                            1, at 577, 8397-
3643 Robert      Daniel             Sheehan                Daniel            John            Sheehan                      Unknown         Linda                 June          Sheehan                         States         9/11/01     NY (WTC)    03-cv-9849                 1, at 25, 8433      Parent                      4126 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                          United                                                                              United                                                            1, at 578, 8393-
3644                                                       Robert            Daniel          Sheehan                      States          Linda                 June          Sheehan                         States         9/11/01     NY (WTC)    03-cv-9849                 1, at 50, 8487      Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                              United                                                            1:02-cv-01616,
3645                                                       Kristine          Camille         DiLullo                      States          John                  Anthony       Sherry                          States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2482     Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2480,
                                                                                                                          United                                                                              United                                                            5284-1, at 11,
3646                                                       Denise            Marie           Holmes                       States          John                  Anthony       Sherry                          States         9/11/01     NY (WTC)    03-cv-9849                 5296                Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                            Page 140 of 170
                                                                                                            Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                   Filed 04/23/24              Page 142 of 171
                                                                                                                                                                            EXHIBIT B-1
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                  Personal Representative                                               Claimant                                                                                    9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                         Nationality




                                                                                                                                                                                                              Nationality
                                                                                                                          on 9/11




                                                                                                                                                                                                               on 9/11
                                                                                                            Claimant                                                                                                          Date of                                            Amendments &                        Document
 #      First         Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle            Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                              Suffix                                                                                                          Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2481,
                                                                                                                       United                                                                                United                                                             5284-1, at 11,
3647                                                     Michele           Sherry          Mosca                       States          John                  Anthony       Sherry                            States         9/11/01     NY (WTC)     03-cv-9849                 5296                Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2479,
                                                                                                                       United                                                                                United                                                             5284-1, at 11,
3648                                                     Debra                             Sherry                      States          John                  Anthony       Sherry                            States         9/11/01     NY (WTC)     03-cv-9849                 5296                Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 4412,
                                                                                                                       United                                                                                United                                                             8397-1, at 25,
3649 Mary       Ann             Sherry                   Frank                             Sherry                      States          John                  Anthony       Sherry                            States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      4023 at 23      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2476,
                                                                                                                       United                                                                                United                                                             8393-1, at 578,
3650                                                     James             Thomas          Sherry                      States          John                  Anthony       Sherry                            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5151 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2476,
                                                                                                                       United                                                                                United                                                             8393-1, at 579,
3651 Maureen                    Sherry                   John              Michael         Sherry                      States          John                  Anthony       Sherry                            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5151 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2478,
                                                                                                                       United                                                                                United                                                             5284-1, at 11,
3652                                                     Mary              Ann             Sherry                      States          John                  Anthony       Sherry                            States         9/11/01     NY (WTC)     03-cv-9849                 5296                Parent                      4023 at 23      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2476,
                                                                                                                       United                                                                                United                                                             5284-1, at 11,
3653                                                     Maureen                           Sherry                      States          John                  Anthony       Sherry                            States 9/11/01             NY (WTC)     03-cv-9849                 5296                Spouse                      5087 at 18      $        12,500,000.00 $   37,500,000.00
                                                                                                                       United                                                                                United                                                             8679-1, at 434,
3654                                                     Robert                            Sherry                      States          John                  Anthony       Sherry                            States 9/11/01             NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 18      $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                                Unknow                                                             1:02-cv-01616,
3655                                                     Ahuva                             Shwartzstein                States          Allan                 Abraham       Shwartzstein                      n      9/11/01             NY (WTC)     03-cv-9849                 3, at 1640          Parent                      3666 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                                Unknow                                                             1:02-cv-01616,
3656                                                     Michael                           Shwartzstein                States          Allan                 Abraham       Shwartzstein                      n      9/11/01             NY (WTC)     03-cv-9849                 3, at 1641          Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                                Unknow                                                             1:02-cv-01616,
3657                                                     Orly                              Small                       States          Allan                 Abraham       Shwartzstein                      n      9/11/01             NY (WTC)     03-cv-9849                 3, at 1642          Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                77, at AP210,
                                                                                                                       United                                                                                United                                                             8393-1, at 1231,
3658                                                     Genevieve         E.              Siller                      States          Stephen               G.            Siller                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                77, at AP210,
                                                                                                                       United                                                                                United                                                             8393-1, at 1232,
3659                                                     Jake              A.              Siller                      States          Stephen               G.            Siller                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                77, at AP210,
                                                                                                                       United                                                                                United                                                             8393-1, at 1233,
3660                                                     Katherine         M.              Siller                      States          Stephen               G.            Siller                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                77, at AP210,
                                                                                                                       United                                                                                United                                                             8393-1, at 1234,
3661                                                     Olivia            A.              Siller                      States          Stephen               G.            Siller                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                77, at AP210,
                                                                                                                       United                                                                                United                                                             8393-1, at 76,
3662                                                     Sarah             Elizabeth       Siller                      States          Stephen               G.            Siller                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5087 at 18      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                77, at AP210,
                                                                                                                       United                                                                                United                                                             8393-1, at 1235,
3663                                                     Stephen           A.              Siller                      States          Stephen               G.            Siller                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5138 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:03-md-01570,
                                                                                                                                                                                                                                                                                3477, at 3345;
                                                                                                                                                                                                             United                                                             8679-1, at 435,
3664                                                     Christopher       Walter          Simmons                     Unknown         George                W.            Simmons              Sr.          States         9/11/01     VA (AA77)    03-cv-9849                 8696                Child                       4023 at 23      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:03-md-01570,
                                                                                                                                                                                                                                                                                3477, at 3346;
                                                                                                                                                                                                             United                                                             8679-1, at 436,
3665                                                     George            Washington      Simmons         Jr.         Unknown         George                W.            Simmons              Sr.          States         9/11/01     VA (AA77)    03-cv-9849                 8696                Child                       4023 at 23      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                       United                                                                                United                                                             3, at pg 3, 5284-
3666                                                     Deanna            Joyce           Whoriskey                   States          George                W.            Simmons              Sr.          States         9/11/01     VA (AA77)    03-cv-9849                 1, at 11, 5296      Child                       4023 at 23      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                             United                                                             1:02-cv-01616,
3667                                                     Scott             Stephen         Simon                       Unknown         Michael               John          Simon                             States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4527       Sibling                     3666 at 11      $         4,250,000.00 $   12,750,000.00




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                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                              Claimant                                                                                   9/11 Decedent                                                                Claim Information                                                    Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                              Claimant                                                                                                         Date of                                           Amendments &                        Document
 #        First         Middle           Last     Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                                9/11 Site       Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                Suffix                                                                                                         Death                                              Substitutions                        ation

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                              United                                                            1, at 582, 8393-
3668                                                       Shelley                           Simon                       Unknown         Paul                  J.            Simon                            States         9/11/01     NY (WTC)    03-cv-9849                 1, at 63, 8487      Spouse                      5061 at 12       $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                               United                                                            1:02-cv-01616,
3669                                                       Lucille           Ann             Bleimann                    States          Marianne                            Simone                           States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1650          Sibling                     4023 at 23       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                            1:02-cv-01616,
3670                                                       Lisa              Ann             Cardinali                   States          Marianne                            Simone                           States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1648          Child                       4023 at 23       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                         United                                                                               United                                                            3, at 1647, 8393-
3671                                                       Teresa            M.              Hargrave                    States          Marianne                            Simone                           States         9/11/01     NY (WTC)    03-cv-9849                 1, at 52, 8487      Child                       4023 at 23       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                         United                                                                               United                                                            3, at 1649, 8397-
3672 Lucille      Ann              Bleimann                Virginia          M.              Liquori                     States          Marianne                            Simone                           States         9/11/01     NY (WTC)    03-cv-9849                 1, at 16, 8433      Sibling                     5061 at 12       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                            1:02-cv-01616,
3673                                                       Stephen           Vincent         Simone                      States          Marianne                            Simone                           States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1646          Child                       4023 at 23       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                155, at P3090,
                                                                                                                         United                                                                               United                                                            8393-1, at 33,
3674                                                       Diane             Elizabeth       Cass                        States          Jeff                  L.            Simpson                          States         9/11/01     NY (WTC)    03-cv-9849                 8487                Spouse                      5848 at 10       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                155, at P3090,
                                                                                                                         United                                                                               United                                                            8393-1, at 523,
3675                                                       Elaina            Simpson         Grant                       States          Jeff                  L.            Simpson                          States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5848 at 10       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                155, at P3090,
                                                                                                                         United                                                                               United                                                            8393-1, at 524,
3676                                                       Leeann            M.              Simpson                     States          Jeff                  L.            Simpson                          States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5848 at 10       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                155, at P3090,
                                                                                                                         United                                                                               United                                                            8393-1, at 525,
3677                                                       Maxwell           James           Simpson                     States          Jeff                  L.            Simpson                          States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5848 at 10       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                         VA
                                                                                                                         United                                                                               United                     (Pentagon                              1:02-cv-01616,
3678                                                       Craig             William         Sincock                     States          Cheryle               D.            Sincock                          States         9/11/01     )           03-cv-9849                 26, 29, at 4420     Spouse                      5848 at 10       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P4086,
                                                                                                                                                                                                              United                                                            8393-1, at 66,
3679                                                       Alana                             Siracuse-Spera              Unknown         Peter                 A.            Siracuse                         States         9/11/01     NY (WTC)    03-cv-9849                 8487                Spouse                      5087 at 18       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                313, at P4733,
                                                                                                                         United                                                                               United                                                            8393-1, at 39,
3680                                                       Irene             Ann             Lesiw                       States          John                  P.            Skala                            States         9/11/01     NY (WTC)    03-cv-9849                 8487                Sibling                     4023 at 23       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                313, at P4734,
     Irene;                                                                                                              United                                                                               United                                                            8397-1, at 25,
3681 Michael      Ann; John        Lesiw; Skala            Jaroslawa                         Skala                       States          John                  P.            Skala                            States         9/11/01     NY (WTC)    03-cv-9849                 8433                Parent                      4171 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                            1:02-cv-01616,
3682                                                       Michael           John            Skala                       States          John                  P.            Skala                            States         9/11/01     NY (WTC)    03-cv-9849                 313, at P4735       Sibling                     4023 at 23       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                              United                                                            1:02-cv-01616,
3683                                                       Patricia          B.              Sloan                       Unknown         Paul                  Kenneth       Sloan                            States         9/11/01     NY (WTC)    03-cv-9849                 313, at P4737       Parent                      3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                432, at P4953,
                                                                                                                         United                                                                               United                                                            8393-1, at 1400,
3684                                                       Tyreek            Dexter          Nurse                       States          Wendy                 L.            Small                            States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5061 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                432, at P4953,
                                                                                                                         United                                                                               United                                                            8393-1, at 87,
3685                                                       Lawanda           Sandina         Simmons                     States          Wendy                 L.            Small                            States         9/11/01     NY (WTC)    03-cv-9849                 8487                Sibling                     4023 at 23       $         4,250,000.00 $   12,750,000.00

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                                                                                                                         United                                                                               United                                                            3, at 1835, 5284-
3686                                                       Ellen             Shaw            Bakalian                    States          Jeffrey               R.            Smith                            States         9/11/01     NY (WTC)    03-cv-9849                 1, at 11, 5296      Spouse                      5138 at 7        $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                               United                                                            1:02-cv-01616,
3687                                                       Elba              Iris            Cedeno                      States          Catherine             T.            Smith                            States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1653          Spouse                      4175 at 7        $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                               United                                                            1:02-cv-01616,
3688                                                       Brenda            Smith           Clark                       States          Jeffrey               R.            Smith                            States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1661          Sibling                     3666 at 11       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                            1:02-cv-01616,
3689                                                       Lisa              Ann             Ethredge                    States          Catherine             T.            Smith                            States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1657          Sibling                     4023 at 23       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                            1:02-cv-01616,
3690                                                       Barbara           Ann             Schielzo                    States          Catherine             T.            Smith                            States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1658          Sibling                     4023 at 23       $         4,250,000.00 $   12,750,000.00

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                                                                                                                         United                                                                               United                                                            3, at 1654, 8397-
3691 Barbara      Ann              Schielzo                Annette                           Smith                       States          Catherine             T.            Smith                            States         9/11/01     NY (WTC)    03-cv-9849                 1, at 25, 8433      Parent                      4023 at 23       $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                                                     EXHIBIT B-1
                                                                                                                                                                  SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                                     Claimant                                                                                     9/11 Decedent                                                                Claim Information                                                   Solatium Damages




                                                                                                                                  Nationality




                                                                                                                                                                                                                       Nationality
                                                                                                                                   on 9/11




                                                                                                                                                                                                                        on 9/11
                                                                                                                     Claimant                                                                                                          Date of                                           Amendments &                        Document
 #       First        Middle                Last        Suffix    Claimant First   Claimant Middle Claimant Last                                          First             Middle           Last          Suffix                                9/11 Site       Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                       Suffix                                                                                                          Death                                              Substitutions                        ation

     Brenda;                                                                                                                    United                                                                                United                                                            1:02-cv-01616,
3692 Jerrald     Smith              Clark; Smith                 Arthur            A.              Smith                        States          Jeffrey               R.             Smith                            States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1659          Parent                      3666 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 4792,
                                                                                                                                United                                                                                United                                                            8393-1, at 716,
3693                                                             Bradford          William         Smith                        States          Karl                  T.             Smith                            States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5062 at 6       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                United                                                                                Unknow                                                            3, at 1801, 5284-
3694                                                             Charles           Anthony         Smith                        States          Rosemary              Ann            Smith                            n      9/11/01             NY (WTC)    03-cv-9849                 1, at 11, 5296      Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                United                                                                                United                                                            3, at 1835, 8393-
3695                                                             Charlotte         Bakalian        Smith                        States          Jeffrey               R.             Smith                            States         9/11/01     NY (WTC)    03-cv-9849                 1, at 547, 8487     Child                       5356 at 5       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                United                                                                                Unknow                                                            3, at 1802, 5284-
3696                                                             Georgeann         Marie           Smith                        States          Rosemary              Ann            Smith                            n      9/11/01             NY (WTC)    03-cv-9849                 1, at 11, 5296      Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00
     Matthew;                                                                                                                   United                                                                                United                                                            1:02-cv-01616,
3697 Philip      G.; Trumbull       Smith; Smith, III            Georgia           K.              Smith                        States          Karl                  T.             Smith                            States 9/11/01             NY (WTC)    03-cv-9849                 26, 29, at 4431     Parent                      3666 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                United                                                                                United                                                            8679-1, at 437,
3698                                                             Jerrald                           Smith                        States          Jeffrey               R.             Smith                            States 9/11/01             NY (WTC)    03-cv-9849                 8696                Sibling                     5087 at 18      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 4792,
                                                                                                                                United                                                                                United                                                            5284-1, at 11,
3699                                                             Joanne            Elizabeth       Smith                        States          Karl                  T.             Smith                            States         9/11/01     NY (WTC)    03-cv-9849                 5296                Spouse                      5356 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 4793,
                                                                                                                                United                                                                                United                                                            5284-1, at 11,
3700                                                             Karl              Trumbull        Smith           Jr.          States          Karl                  T.             Smith                            States         9/11/01     NY (WTC)    03-cv-9849                 5296                Child                       5062 at 6       $         8,500,000.00 $   25,500,000.00
     Brenda;                                                                                                                    United                                                                                United                                                            1:02-cv-01616,
3701 Jerrald     Smith              Clark; Smith                 Madeline          W.              Smith                        States          Jeffrey               R.             Smith                            States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1660          Parent                      3666 at 12      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                United                                                                                United                                                            3, at 1835, 8393-
3702                                                             Margaret          Shaw            Smith                        States          Jeffrey               R.             Smith                            States         9/11/01     NY (WTC)    03-cv-9849                 1, at 548, 8487     Child                       5356 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 4775,
                                                                                                                                United                                                                                Unknow                                                            8397-1, at 25,
3703 Charles     Anthony            Smith                        Mary              Rose            Smith                        States          Rosemary              Ann            Smith                            n      9/11/01             NY (WTC)    03-cv-9849                 8433                Parent                      5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                United                                                                                United                                                            1:02-cv-01616,
3704                                                             Matthew           G.              Smith                        States          Karl                  T.             Smith                            States 9/11/01             NY (WTC)    03-cv-9849                 26, 29, at 4433     Sibling                     5087 at 18      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                      United                                                            1:02-cv-01616,
3705                                                             Peter             Hibbard         Smith                        Unknown         Karl                  T.             Smith                            States 9/11/01             NY (WTC)    03-cv-9849                 26, 29, at 4432     Sibling                     3666 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 4794,
                                                                                                                                United                                                                                United                                                            5284-1, at 11,
3706                                                             Philip            Trumbull        Smith           III          States          Karl                  T.             Smith                            States         9/11/01     NY (WTC)    03-cv-9849                 5296                Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
     Georgia;                                                                                                                                                                                                                                                                           26, 29, at 4430,
     Matthew;                       Smith; Smith;                                                                               United                                                                                United                                                            8397-1, at 25,
3707 Philip      K.; G.; Trumbull   Smith, III                   Philip            Trumbull        Smith           Jr.          States          Karl                  T.             Smith                            States         9/11/01     NY (WTC)    03-cv-9849                 8433                Parent                      5138 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                United                                                                                United                                                            1:02-cv-01616,
3708                                                             Vincent           J.              Smith                        States          Catherine             T.             Smith                            States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1655          Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00
                                                                                                                                United                                                                                United                                                            1:02-cv-01616,
3709                                                             Walter            T.              Smith           Jr.          States          Catherine             T.             Smith                            States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1656          Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        313, at P4738,
                                                                                                                                United                                                                                United                                                            8393-1, at 72,
3710                                                             Jennifer          Ann             Tucker                       States          Rochelle              Monique        Snell                            States         9/11/01     NY (WTC)    03-cv-9849                 8487                Parent                      4023 at 23      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        305, at P4530,
                                                                                                                                United                                                                                United                                                            8393-1, at 301,
3711                                                             Blakeslee         Elizabeth       Snyder                       States          Dianne                Bullis         Snyder                           States         9/11/01     NY (AA11)   03-cv-9849                 8487                Child                       5848 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        432, at P4954,
                                                                                                                                United                                                                                United                                                            8393-1, at 10,
3712                                                             Charles           O'Neal          Snyder                       States          Christine             Ann            Snyder                           States         9/11/01     PA (UA93)   03-cv-9849                 8487                Parent                      5356 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        305, at P4530,
                                                                                                                                United                                                                                United                                                            8393-1, at 19,
3713                                                             John              Bishop          Snyder                       States          Dianne                Bullis         Snyder                           States         9/11/01     NY (AA11)   03-cv-9849                 8487                Spouse                      5848 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        305, at P4530,
                                                                                                                                United                                                                                United                                                            8393-1, at 302,
3714                                                             Leland            Joseph          Snyder                       States          Dianne                Bullis         Snyder                           States         9/11/01     NY (AA11)   03-cv-9849                 8487                Child                       5848 at 10      $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                                    Page 143 of 170
                                                                                                                    Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                  Filed 04/23/24              Page 145 of 171
                                                                                                                                                                                    EXHIBIT B-1
                                                                                                                                                                 SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                                   Claimant                                                                                9/11 Decedent                                                                    Claim Information                                                   Solatium Damages




                                                                                                                                 Nationality




                                                                                                                                                                                                                     Nationality
                                                                                                                                  on 9/11




                                                                                                                                                                                                                      on 9/11
                                                                                                                    Claimant                                                                                                         Date of                                            Amendments &                        Document
 #       First         Middle               Last        Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                      Suffix                                                                                                         Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       305, at P4531,
                                                                                                                               United                                                                               United                                                             8393-1, at 52,
3715                                                             Christina         Louise          Kminek                      States          Mari-Rae                            Sopper                           States         9/11/01     VA (AA77)    03-cv-9849                 8487                Sibling                     4175 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                               United                                                                               United                                                             1:02-cv-01616,
3716                                                             Marion            Elaine          Kminek                      States          Mari-Rae                            Sopper                           States         9/11/01     VA (AA77)    03-cv-9849                 305, at P4533       Parent                      4023 at 23      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       305, at P4532,
     Tammy;                         Sopper-Segovia;                                                                            United                                                                               United                                                             8397-1, at 26,
3717 Suzanne     Lynn; T.           Sopper                       Raymond           William         Sopper                      States          Mari-Rae                            Sopper                           States         9/11/01     VA (AA77)    03-cv-9849                 8433                Parent                      4126 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                   Sopper-                     United                                                                               United                                                             1:02-cv-01616,
3718                                                             Tammy             Lynn            Segovia                     States          Mari-Rae                            Sopper                           States         9/11/01     VA (AA77)    03-cv-9849                 313, at P4741       Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00
                                                                                                                               United                                                                               United                                                             8679-1, at 441,
3719                                                             Christopher       Richard         Spagnoletti     Sr.         States          Gregory               T.            Spagnoletti                      States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     515 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                               United                                                                               United                                                             8679-1, at 438,
3720                                                             Maria             S.              Spagnoletti                 States          Gregory               T.            Spagnoletti                      States         9/11/01     NY (WTC)     03-cv-9849                 8696                Parent                      8233 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                               United                                                             8679-1, at 440,
3721                                                             Mark              Anthony         Spagnoletti                 States          Gregory               T.            Spagnoletti                      States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     515 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       305, at P4534,
                                                                                                                               United                                                                               United                                                             8393-1, at 28,
3722                                                             Paul              Andrew          Spagnoletti                 States          Gregory               T.            Spagnoletti                      States         9/11/01     NY (WTC)     03-cv-9849                 8487                Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00
                                                                                                                               United                                                                               United                                                             8679-1, at 439,
3723                                                             Richard                           Spagnoletti                 States          Gregory               T.            Spagnoletti                      States         9/11/01     NY (WTC)     03-cv-9849                 8696                Parent                      515 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                    United                                                             1:02-cv-01616,
3724                                                             Deborah           Ann             Klemowitz                   Unknown         Thomas                              Sparacio                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 587           Sibling                     3666 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                               United                                                                               United                                                             1, at 585, 8397-
3725 Anthony     R.                 Lanza             Sr.        Doreen            Ann             Lanza                       States          Thomas                              Sparacio                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 15, 8433      Sibling                     5138 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                   Magnus-                                                                                                          United                                                             1:02-cv-01616,
3726                                                             Cheri             Lynn            Sparacio                    Unknown         Thomas                              Sparacio                         States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1666          Spouse                      5087 at 18      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                    United                                                             1:02-cv-01616,
3727                                                             Edith             Aloicia         Sparacio                    Unknown         Thomas                              Sparacio                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 584           Parent                      3666 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                               United                                                             8679-1, at 442,
3728                                                             Edward                            Sparacio                    States          Thomas                              Sparacio                         States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 18      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                               United                                                                               United                                                             3, at 1666, 8393-
3729                                                             Eric              Thomas          Sparacio                    States          Thomas                              Sparacio                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1322, 8487    Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                    United                                                             1:02-cv-01616,
3730                                                             Jack              Joseph          Sparacio        Sr.         Unknown         Thomas                              Sparacio                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 588           Parent                      3666 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                               United                                                             8679-1, at 443,
3731                                                             Jack                              Sparacio        Jr.         States          Thomas                              Sparacio                         States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 18      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                               United                                                                               United                                                             3, at 1666, 8393-
3732                                                             Jonathan          Philip          Sparacio                    States          Thomas                              Sparacio                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1323, 8487    Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                               United                                                                               United                                                             1, at 590, 8393-
3733                                                             Patricia          Ellen           Wellington                  States          John                  Anthony       Spataro                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 36, 8487      Spouse                      5848 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       77, at P2705,
                                                                                                                               United                                                                               United                                                             8393-1, at 71,
3734                                                             Lorraine                          Catalano                    States          Robert                W.            Spear               Jr.          States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5087 at 18      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       77, at P2580,
                                                                                                                                                                                                                    United                                                             8397-1, at 7,
3735 Barbara     P.                 Keane                        Irene             A.              DeSantis                    Unknown         Robert                W.            Spear               Jr.          States         9/11/01     NY (Other)   03-cv-9849                 8433                Parent                      7188 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                               United                                                             1:02-cv-01616,
3736                                                             Barbara           P.              Keane                       States          Robert                W.            Spear               Jr.          States         9/11/01     NY (Other)   03-cv-9849                 77, at P2637        Sibling                     5087 at 18      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       313, at AP285,
                                                                                                                               United                                                                               United                                                             5284-1, at 11,
3737                                                             Tara              Rae             Allison                     States          Robert                S.            Speisman                         States         9/11/01     VA (AA77)    03-cv-9849                 5296                Child                       5062 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       77, at AP211,
                                                                                                                                                                                                                                                                                       5284-1, at 11,
                                                                                                                               United                                                                               United                                                             5296, 8393-1, at
3738                                                             Brittany          Belle           Kugler                      States          Robert                S.            Speisman                         States         9/11/01     VA (AA77)    03-cv-9849                 1140, 8487          Child                       5062 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                                                                                                                       77, at AP211,
                                                                                                                                                                                                                                                                                       5284-1, at 11,
                                                                                                                               United                                                                               United                                                             5296, 8393-1, at
3739                                                             Hayley            Rose            Speisman                    States          Robert                S.            Speisman                         States         9/11/01     VA (AA77)    03-cv-9849                 1141, 8487          Child                       5062 at 6       $         8,500,000.00 $   25,500,000.00




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                                                                                                      Case 1:03-md-01570-GBD-SN                                       Document 9716-2                                  Filed 04/23/24             Page 146 of 171
                                                                                                                                                                       EXHIBIT B-1
                                                                                                                                                    SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
               Personal Representative                                            Claimant                                                                                    9/11 Decedent                                                                Claim Information                                                  Solatium Damages




                                                                                                                    Nationality




                                                                                                                                                                                                        Nationality
                                                                                                                     on 9/11




                                                                                                                                                                                                         on 9/11
                                                                                                       Claimant                                                                                                         Date of                                           Amendments &                       Document
 #     First    Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle           Last          Suffix                                9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                         Suffix                                                                                                         Death                                              Substitutions                       ation

                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         77, at AP211,
                                                                                                                                                                                                                                                                         5284-1, at 11,
                                                                                                                  United                                                                               United                                                            5296, 8393-1, at
3740                                               Rena              Tempelsman      Speisman                     States          Robert                S.            Speisman                         States         9/11/01     VA (AA77)   03-cv-9849                 71, 8487           Spouse                      5062 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                  United                                                                               United                                                            1:02-cv-01616,
3741                                               Irene                             Spina                        States          Lisa                  L.            Spina-Trerotola                  States         9/11/01     NY (WTC)    03-cv-9849                 1, at 592          Parent                      3666 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                               United                                                            1:02-cv-01616,
3742                                               Mario             Francis         Spina                        States          Lisa                  L.            Spina-Trerotola                  States         9/11/01     NY (WTC)    03-cv-9849                 1, at 593          Parent                      3666 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                               United                                                            1:02-cv-01616,
3743                                               Paul              Mario           Spina                        States          Lisa                  L.            Spina-Trerotola                  States         9/11/01     NY (WTC)    03-cv-9849                 1, at 594          Sibling                     3666 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         232, at P3953,
                                                                                                                  United                                                                               United                                                            8393-1, at 396,
3744                                               Christopher       Francis         Spinelli                     States          Frank                 J.            Spinelli            Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5848 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         232, at P3953,
                                                                                                                  United                                                                               United                                                            8393-1, at 397,
3745                                               Danielle          Marie           Spinelli                     States          Frank                 J.            Spinelli            Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5848 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         232, at P3953,
                                                                                                                  United                                                                               United                                                            8393-1, at 25,
3746                                               Michelle                          Spinelli                     States          Frank                 J.            Spinelli            Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5848 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         232, at P3953,
                                                                                                                  United                                                                               United                                                            8393-1, at 398,
3747                                               Nicole            Lauren          Spinelli                     States          Frank                 J.            Spinelli            Jr.          States 9/11/01             NY (WTC)    03-cv-9849                 8487               Child                       5848 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                               Unknow                                                            1:02-cv-01616,
3748                                               Pamela            Morgan          Bogdanoff                    States          William               Edward        Spitz               Jr.          n      9/11/01             NY (WTC)    03-cv-9849                 305, at P4535      Child                       5061 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                               Unknow                                                            1:02-cv-01616,
3749                                               Lauren            Rachel          Spitz                        States          William               Edward        Spitz               Jr.          n      9/11/01             NY (WTC)    03-cv-9849                 305, at P4536      Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                               Unknow                                                            1:02-cv-01616,
3750                                               Michael           J.              Spitz                        States          William               Edward        Spitz               Jr.          n      9/11/01             NY (WTC)    03-cv-9849                 77, at P2707       Sibling                     4023 at 23      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         155, at P3094,
                                                                                                                  United                                                                               United                                                            8393-1, at 679,
3751                                               Caitlin           Marie           Spor                         States          Joseph                P.            Spor                Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         155, at P3094,
                                                                                                                  United                                                                               United                                                            8393-1, at 680,
3752                                               Casey             Ann             Spor                         States          Joseph                P.            Spor                Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         155, at P3094,
                                                                                                                  United                                                                               United                                                            8393-1, at 42,
3753                                               Colleen           Casey           Spor                         States          Joseph                P.            Spor                Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5087 at 18      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         155, at P3094,
                                                                                                                  United                                                                               United                                                            8393-1, at 681,
3754                                               Joseph            Patrick         Spor            III          States          Joseph                P.            Spor                Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         155, at P3094,
                                                                                                                  United                                                                               United                                                            8393-1, at 682,
3755                                               Shannon           Catherine       Spor                         States          Joseph                P.            Spor                Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                               United                                                            1:02-cv-01616,
3756                                               Lauren            Marie           Stabile                      States          Michael               F.            Stabile                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 597          Child                       5138 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                               United                                                            1:02-cv-01616,
3757                                               Michele                           Stabile                      States          Michael               F.            Stabile                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 599          Child                       5138 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                  United                                                                               United                                                            1:02-cv-01616,
3758                                               Robert                            Stabile                      States          Michael               F.            Stabile                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 598          Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                  United                                                                               United                                                            1, at 596, 8393-
3759                                               Roseanna                          Stabile                      States          Michael               F.            Stabile                          States         9/11/01     NY (WTC)    03-cv-9849                 1, at 56, 8487     Spouse                      5138 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                  United          Richard               J.            Stadelberger                     United                     NY (WTC)                               8679-1, at 444,
3760                                               Bryant            Taylor          Mitchell                     States                                                                               States         9/11/01                 03-cv-9849                 8696               Step-Child                  8293 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         305, at P4537,
                                                                                                                  United                                                                               United                                                            8393-1, at 1090,
3761                                               Andrew            R.              Stadelberger                 States          Richard               J.            Stadelberger                     States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5356 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         305, at P4537,
                                                                                                                  United                                                                               United                                                            8393-1, at 68,
3762                                               Vee                               Stadelberger                 States          Richard               J.            Stadelberger                     States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5087 at 18      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                                                                                         313, at P4742,
                                                                                                                  United                                                                               United                                                            8393-1, at 368,
3763                                               Allison           Nicole          Stahlman                     States          Eric                                Stahlman                         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 18      $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                                                   EXHIBIT B-1
                                                                                                                                                                SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                               Claimant                                                                                      9/11 Decedent                                                                 Claim Information                                                    Solatium Damages




                                                                                                                                Nationality




                                                                                                                                                                                                                    Nationality
                                                                                                                                 on 9/11




                                                                                                                                                                                                                     on 9/11
                                                                                                                   Claimant                                                                                                         Date of                                            Amendments &                        Document
 #       First         Middle               Last   Suffix    Claimant First   Claimant Middle Claimant Last                                             First            Middle           Last          Suffix                                 9/11 Site       Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                     Suffix                                                                                                         Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      313, at P4742,
                                                                                                                              United                                                                               United                                                             8393-1, at 23,
3764                                                        Blanca                            Stahlman                        States          Eric                                Stahlman                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 19       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      313, at P4742,
                                                                                                                              United                                                                               United                                                             8393-1, at 369,
3765                                                        Jacob             Evan            Stahlman                        States          Eric                                Stahlman                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 18       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             8679-1, at 445,
3766                                                        Kathy             Roseann         Stahlman                        States          Eric                                Stahlman                         States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     5087 at 19       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3767                                                        Renee                             Stahlman                        Unknown         Eric                                Stahlman                         States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4744       Parent                      3666 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3768                                                        Samuel                            Stahlman                        Unknown         Eric                                Stahlman                         States         9/11/01     NY (WTC)     03-cv-9849                 313, at P4743       Parent                      3666 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3769                                                        Ellen             Stajk           Shelnutt                        States          Gregory                             Stajk                            States         9/11/01     NY (Other)   03-cv-9849                 305, at P4538       Sibling                     4023 at 24       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      232, at P3954,
                                                                                                                              United                                                                               United                                                             8393-1, at 28,
3770                                                        Jeanie            Mary            Somerville                      States          Gregory                             Stajk                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Sibling                     4023 at 24       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                               United                                                             8679-1, at 446,
3771                                                        Edward            C.              Stajk                           States          Gregory                             Stajk                            States         9/11/01     NY (Other)   03-cv-9849                 8696                Sibling                     5087 at 19       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3772                                                        Lucia             Agnes           Balzan                          Canada          Mary                  Domenica      Stanley                          States              9/11/01 NY (WTC)    03-CV-9849                 305, at P4540       Sibling                     3666 at 12       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3773                                                        John                              Stark                           States          Jeffrey                             Stark                            States         9/11/01     NY (Other)   03-cv-9849                 232, at P3953       Sibling                     4126 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3774                                                        Joseph            Christian       Stark                           States          Jeffrey                             Stark                            States         9/11/01     NY (Other)   03-cv-9849                 155, at P3095       Sibling                     4023 at 24       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3775                                                        Kathleen          Ann             Stark                           States          Jeffrey                             Stark                            States         9/11/01     NY (Other)   03-cv-9849                 155, at P3095       Sibling                     5087 at 19       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      26, 29, at 4453,
                                                                                                                              United                                                                               United                                                             8397-1, at 26,
3776 Therese                        Stark                   Rosemary          Ann             Stark                           States          Jeffrey                             Stark                            States         9/11/01     NY (Other)   03-cv-9849                 8433                Parent                      4126 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      232, at P3956,
                                                                                                                              United                                                                               United                                                             8393-1, at 34,
3777                                                        Therese                           Stark                           States          Jeffrey                             Stark                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Sibling                     4126 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3778                                                        Joel              Marc            Statkevicus                     Unknown         Derek                 James         Statkevicus                      States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4543       Sibling                     3666 at 12       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3779                                                        Joseph            R.              Statkevicus                     Unknown         Derek                 James         Statkevicus                      States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4541       Parent                      3666 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3780                                                        Nancy                             Statkevicus                     Unknown         Derek                 James         Statkevicus                      States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4542       Parent                      3666 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3781                                                        Carolyn           Staub           Bilelis                         States          Craig                 William       Staub                            States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4547       Sibling                     4023 at 24       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3782                                                        Kenneth           Michael         Donohue                         States          Craig                 William       Staub                            States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4545       Sibling                     4023 at 24       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3783                                                        Barbara           Anne            Maneja                          States          Craig                 William       Staub                            States         9/11/01     NY (WTC)     03-cv-9849                 305, at P4546       Sibling                     4023 at 24       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                              United                                                                               United                                                             3, at 1671, 8393-
3784                                                        Juliette-Craig    William         Staub                           States          Craig                 William       Staub                            States         9/11/01     NY (WTC)     03-cv-9849                 1, at 219, 8487     Child                       5087 at 19       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3785                                                        Stacey            Allison         Staub                           Unknown         Craig                 William       Staub                            States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1671          Spouse                      5087 at 19       $        12,500,000.00 $   37,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3786                                                        Blanche                           Steen                           States          Eric                  Thomas        Steen                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2371     Parent                      5087 at 19       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3787                                                        George            David           Steen           II              States          Eric                  Thomas        Steen                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2372     Sibling                     4023 at 24       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3788                                                        Darren            Alexander       Steiner                         States          William               R.            Steiner                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3957       Child                       3382             $         8,500,000.00 $   25,500,000.00

                                                                                                                              United                                                                               United                                                             1:03-md-01570,
3789                                                        George            William         Steiner                         States          William               R.            Steiner                          States         9/11/01     NY (WTC)     03-cv-9849                 3477, at 3453       Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                              Christofer-                                     United                                                                               United                                                             1:02-cv-01616,
3790                                                        Jordan            William         Steiner                         States          William               R.            Steiner                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3958       Child                       3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3791                                                        Meredith          Alayne          Steiner                         States          William               R.            Steiner                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3959       Child                       3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                               United                                                             1:02-cv-01616,
3792                                                        Robert            F.              Steiner                         States          William               R.            Steiner                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3960       Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3793 Robert      F.                 Steiner                 Wilma             E.              Steiner                         Unknown         William               R.            Steiner                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3961       Parent                      3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
3794                                                        George                            Stergiopoulos   Jr.             Unknown         Andrew                              Stergiopoulos                    States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2378     Sibling                     3382             $         4,250,000.00 $   12,750,000.00




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                                                                                                                                                                                    EXHIBIT B-1
                                                                                                                                                                 SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                                    Claimant                                                                                  9/11 Decedent                                                                    Claim Information                                                     Solatium Damages




                                                                                                                                 Nationality




                                                                                                                                                                                                                      Nationality
                                                                                                                                  on 9/11




                                                                                                                                                                                                                       on 9/11
                                                                                                                    Claimant                                                                                                          Date of                                            Amendments &                         Document
 #       First       Middle                 Last     Suffix    Claimant First   Claimant Middle Claimant Last                                            First             Middle           Last          Suffix                                9/11 Site        Case       Complaint                          Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                      Suffix                                                                                                          Death                                               Substitutions                         ation

                                                                                                                               United                                                                                United                                                             1:02-cv-01616,
3795                                                          Kathleen                            Stergiopoulos                States          Andrew                               Stergiopoulos                    States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2379      Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                               United                                                                                United                                                             8679-1, at 448,
3796                                                          Lisa              S.                Burch                        States          Andrew                Jay            Stern                            States         9/11/01     NY (Other)   03-cv-9849                 8696                 Sibling                     5087 at 19       $         4,250,000.00 $   12,750,000.00
                                                                                                                               United                                                                                United                                                             8679-1, at 447,
3797                                                          Barbara           H.                Stern                        States          Andrew                Jay            Stern                            States         9/11/01     NY (Other)   03-cv-9849                 8696                 Parent                      5087 at 19       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        232, at P3962,
                                                                                                                               United                                                                                United                                                             8393-1, at 39,
3798                                                          Daniel            C.                Stern                        States          Andrew                Jay            Stern                            States         9/11/01     NY (Other)   03-cv-9849                 8487                 Child                       5138 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        232, at P3962,
                                                                                                                               United                                                                                United                                                             8393-1, at 40,
3799                                                          Emma              Florence          Stern                        States          Andrew                Jay            Stern                            States         9/11/01     NY (Other)   03-cv-9849                 8487                 Child                       5138 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        232, at P3962,
                                                                                                                               United                                                                                United                                                             8393-1, at 3,
3800                                                          Katherine                           Stern                        States          Andrew                Jay            Stern                            States         9/11/01     NY (Other)   03-cv-9849                 8487                 Spouse                      5138 at 7        $        12,500,000.00 $   37,500,000.00
                                                                                                                               United                                                                                United                                                             8679-1, at 449,
3801                                                          Michael           H.                Stern                        States          Andrew                Jay            Stern                            States         9/11/01     NY (Other)   03-cv-9849                 8696                 Sibling                     5087 at 19       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 1735; ,
                                                                                                                               United                                                                                United                                                             8393-1, at 929,
3802                                                          Eamon             Pedro Dominicci   Stewart                      States          Michael               James          Stewart                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                 Child                       5784 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 1735; ,
                                                                                                                               United                                                                                United                                                             8393-1, at 930,
3803                                                          Francisco         Patrick Dominicci Stewart                      States          Michael               James          Stewart                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                 Child                       5784 at 3        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        155, at P3097,
                                                                                                                               United                                                                                United                                                             8393-1, at 68,
3804                                                          Joan              Bernard           Stewart                      States          Richard               H.             Stewart             Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487                 Parent                      4023 at 24       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        155, at P3098,
                                                                                                                                                                                                                                                                                        8397-1, at 26,
                                                                                                                               United                                                                                United                                                             8433, 8393-1, at
3805 Susan       Stewart          Tillier                     Richard           H.                Stewart          Sr.         States          Richard               H.             Stewart             Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 68, 8487             Parent                      5138 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                     United                                                             1:02-cv-01616,
3806                                                          Janet             Susan             Stewart-Davies               Ireland         Michael               James          Stewart                          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3964        Sibling                     4126 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                               United                                                                                United                                                             1:02-cv-01616,
3807                                                          Susan             Stewart           Tillier                      States          Richard               H.             Stewart             Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3099        Sibling                     5062 at 6        $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                               United                                                                                United                                                             1, at 753, 8393-
3808                                                          Justin            Thomas            Strada                       States          Thomas                               Strada                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1325, 8487     Child                       5087 at 19       $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                                United                                                             1:02-cv-01616,
3809                                                          Terry                               Strada                       States          Thomas                               Strada                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 753            Spouse                      5087 at 19       $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                               United                                                                                United                                                             1, at 753, 8393-
3810                                                          Thomas            Joseph            Strada                       States          Thomas                               Strada                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1324, 8487     Child                       5087 at 19       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                               United                                                                                United                                                             1, at 753, 8393-
3811                                                          Kaitlyn           Strada            Wallace                      States          Thomas                               Strada                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1326, 8487     Child                       5087 at 19       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:03-cv-09849,
                                                                                                                               United                                                                                United                                                             842, at 9; 8679-
3812                                                          Kathleen                            O'Hara                       States          James                 J.             Straine             Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 450, 8696      Sibling                     4126 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 4470,
                                                                                                                               United                                                                                United                                                             8393-1, at 506,
3813                                                          Charles           J.                Straine                      States          James                 J.             Straine             Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487                 Child                       5087 at 19       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                     United                                                             1:02-cv-01616,
3814                                                          Daniel            Matthew           Straine                      Unknown         James                 J.             Straine             Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2381      Sibling                     3666 at 12       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        26, 29, at 4470,
                                                                                                                               United                                                                                United                                                             8393-1, at 507,
3815                                                          Finn              P.                Straine                      States          James                 J.             Straine             Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487                 Child                       5061 at 13       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                        1:02-cv-01616,
     Kevin;                                                                                                                    United                                                                                United                                                             3, at 1675, 8397-
3816 Michael     Joseph           Straine; Straine            James             Joseph            Straine                      States          James                 J.             Straine             Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 26, 8433       Parent                      3666 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                               United                                                                                United                                                             1:02-cv-01616,
3817                                                          Kevin             Joseph            Straine                      States          James                 J.             Straine             Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1677           Sibling                     3666 at 12       $         4,250,000.00 $   12,750,000.00




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                                                                                                               Case 1:03-md-01570-GBD-SN                                       Document 9716-2                                   Filed 04/23/24              Page 149 of 171
                                                                                                                                                                               EXHIBIT B-1
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                                  Claimant                                                                                  9/11 Decedent                                                                   Claim Information                                                    Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                                  Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                                   on 9/11
                                                                                                               Claimant                                                                                                           Date of                                            Amendments &                        Document
 #       First       Middle             Last        Suffix    Claimant First   Claimant Middle Claimant Last                                        First             Middle            Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                           Death                                               Substitutions                        ation



                                                                                                                                                                                                                                                                                    1:02-cv-01616,
     Kevin;                                                                                                               United                                                                                 United                                                             3, at 1676, 8397-
3818 Michael     Joseph          Straine; Straine            Mary              Emma            Straine                    States          James                 J.             Straine              Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 26, 8433      Parent                      3666 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                 United                                                             1:02-cv-01616,
3819                                                         Michael                           Straine                    Unknown         James                 J.             Straine              Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2382     Sibling                     3666 at 12       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                                 United                                                             1:02-cv-01616,
3820                                                         Patricia          A.              Straine                    States          James                 J.             Straine              Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4470     Spouse                      5087 at 19       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                 United                                                             1:02-cv-01616,
3821                                                         Samuel            E.              Straub                     Unknown         Edward                W.             Straub                            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3965       Child                       3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                            VA
                                                                                                                          United                                                                                 United                     (Pentagon                               1:02-cv-01616,
3822                                                         Donna             Marie           McBride                    States          Larry                 Lee            Strickland                        States         9/11/01     )            03-cv-9849                 155, at P3102       Sibling                     4023 at 24       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                            VA
                                                                                                                          United                                                                                 United                     (Pentagon                               1:02-cv-01616,
3823                                                         Julia             Anne            Regan                      States          Larry                 Lee            Strickland                        States         9/11/01     )            03-cv-9849                 155, at P3101       Child                       4023 at 24       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                            VA
                                                                                                                          United                                                                                 United                     (Pentagon                               1:02-cv-01616,
3824                                                         Christopher       Robert          Strickland                 States          Larry                 Lee            Strickland                        States         9/11/01     )            03-cv-9849                 155, at P3103       Child                       4023 at 24       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                            VA                                      155, at P3104,
                                                                                                                          United                                                                                 United                     (Pentagon                               8393-1, at 48,
3825                                                         Debra             Louise          Strickland                 States          Larry                 Lee            Strickland                        States         9/11/01     )            03-cv-9849                 8487                Spouse                      4023 at 24       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                            VA
                                                                                                                          United                                                                                 United                     (Pentagon                               1:03-md-01570,
3826                                                         Matthew           Lee             Strickland                 States          Larry                 Lee            Strickland                        States         9/11/01     )            03-cv-9849                 602, at P5505       Child                       4023 at 24       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    155, at P3107,
                                                                                                                          United                                                                                 United                                                             8393-1, at 1389,
3827                                                         Amanda            Camille         Stuart                     States          Walwyn                W.             Stuart               Jr.          States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5356 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    155, at P3107,
                                                                                                                          United                                                                                 United                                                             8393-1, at 86,
3828                                                         Thelma            Corinne         Stuart                     States          Walwyn                W.             Stuart               Jr.          States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5356 at 5        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 4476,
                                                                                                                          United                                                                                 United                                                             8393-1, at 85,
3829                                                         Joscelyn          C.              Franco-Suarez              States          Benjamin                             Suarez                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5951 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 4476,
                                                                                                                          United                                                                                 United                                                             8393-1, at 86,
3830                                                         Jose              A.              Franco-Suarez              States          Benjamin                             Suarez                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5951 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 4476,
                                                                                                                          United                                                                                 United                                                             8393-1, at 88,
3831                                                         Christian         B.              Suarez                     States          Benjamin                             Suarez                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5087 at 19       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 4476,
                                                                                                                          United                                                                                 United                                                             8393-1, at 5,
3832                                                         Sally             Ann             Suarez                     States          Benjamin                             Suarez                            States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5062 at 6        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    232, at P4087,
                                                                                                                          United                                                                                 United                                                             8393-1, at 87,
3833                                                         Elma              Ava             Sugra                      States          William               Christopher    Sugra                             States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 24       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    232, at P4088,
                                                                                                                          United                                                                                 United                                                             8393-1, at 87,
3834                                                         William           J.              Sugra                      States          William               Christopher    Sugra                             States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 24       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                          United                                                                                 United                                                             HAND FILED, at
3835                                                         Jean              Marie           Ryan                       States          Daniel                               Suhr                              States         9/11/01     NY (Other)   03-cv-9849                 P5275               Sibling                     4023 at 24       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    26, 29, at 4481,
                                                                                                                          United                                                                                 United                                                             8393-1, at 239,
3836                                                         Briana                            Suhr                       States          Daniel                               Suhr                              States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5138 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                 United                                                             1:02-cv-01616,
3837                                                         Christopher       Gerald          Suhr                       Unknown         Daniel                               Suhr                              States         9/11/01     NY (Other)   03-cv-9849                 305, at P4549       Sibling                     3666 at 12       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                                 United                                                             1:02-cv-01616,
3838                                                         Nancy                             Suhr                       States          Daniel                               Suhr                              States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4481     Spouse                      5087 at 19       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                                                 United                                                             HAND FILED, at
3839                                                         Leeann            M.              Suhr Klein                 Unknown         Daniel                               Suhr                              States         9/11/01     NY (Other)   03-cv-9849                 P5274               Sibling                     5087 at 19       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    232, at P3966,
                                                                                                                          United                                                                                 United                                                             8393-1, at 257,
3840                                                         Cristian          Marc            Sullins                    States          David                 Marc           Sullins                           States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5061 at 13       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                               Page 148 of 170
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                                                                                                                                                                                EXHIBIT B-1
                                                                                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                       Personal Representative                                               Claimant                                                                               9/11 Decedent                                                                  Claim Information                                                   Solatium Damages




                                                                                                                             Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                              on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                                Claimant                                                                                                       Date of                                            Amendments &                        Document
 #          First       Middle                Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle         Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                  Suffix                                                                                                       Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3966,
                                                                                                                           United                                                                             United                                                             8393-1, at 16,
3841                                                          Evelyn                            Sullins                    States          David                 Marc          Sullins                        States         9/11/01     NY (Other)   03-cv-9849                 8487                Spouse                      5061 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3966,
                                                                                                                           United                                                                             United                                                             8393-1, at 258,
3842                                                          Julian            Alexander       Sullins                    States          David                 Marc          Sullins                        States         9/11/01     NY (Other)   03-cv-9849                 8487                Child                       5061 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
3843                                                          Norene            Mary            Schneider                  States          Thomas                G.            Sullivan                       States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3108       Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
3844                                                          Arlene            R.              Sullivan                   Unknown         Thomas                G.            Sullivan                       States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3109       Parent                      3666 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 155, at P3110,
                                                                                                                           United                                                                             United                                                             8393-1, at 776,
3845                                                          Conor             Lawrence        Sullivan                   States          Thomas                G.            Sullivan                       States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 155, at P3110,
                                                                                                                           United                                                                             United                                                             8393-1, at 81,
3846                                                          Deirdre           Dickinson       Sullivan                   States          Thomas                G.            Sullivan                       States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 19      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 155, at P3110,
                                                                                                                           United                                                                             United                                                             8393-1, at 777,
3847                                                          Dermot            Joseph          Sullivan                   States          Thomas                G.            Sullivan                       States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
3848                                                          Gerald                            Sullivan                   States          Patrick                             Sullivan                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1690          Sibling                     4023 at 24      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
3849                                                          Gregory                           Sullivan                   Unknown         Patrick                             Sullivan                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1689          Sibling                     4023 at 24      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
3850                                                          Mary                              Sullivan                   States          Patrick                             Sullivan                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1688          Parent                      4023 at 24      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
3851                                                          Patrick           J.              Sullivan                   Unknown         Patrick                             Sullivan                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1687          Parent                      4023 at 24      $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
3852                                                          Marivel           Verzosa         Passacantando              States          Hilario               Soriano       Sumaya            Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1697          Sibling                     4023 at 24      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                           United                                                                             United                                                             3, at 1696, 8397-
3853 Lisa           Verzosa          Sumaya                   Charito           Verzosa         Sumaya                     States          Hilario               Soriano       Sumaya            Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 26, 8433      Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                           United                                                                             United                                                             3, at 1692, 8393-
3854 Christine      Verzosa          Trotta                   Estrella          V.              Sumaya                     States          Hilario               Soriano       Sumaya            Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 29, 8487      Parent                      5062 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
3855                                                          Lisa              Verzosa         Sumaya                     States          Hilario               Soriano       Sumaya            Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1694          Sibling                     4023 at 24      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
3856                                                          Reynaldo          Soriano         Sumaya                     States          Hilario               Soriano       Sumaya            Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1693          Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             United                                                             1:02-cv-01616,
3857                                                          Christine         Verzosa         Trotta                     States          Hilario               Soriano       Sumaya            Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1695          Sibling                     4023 at 24      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:03-cv-9849,
                                                                                                                           United                                                                             United                                                             HAND FILED, at
3858                                                          Benjamin                          Supinski                   States          Colleen               M.            Supinski                       States         9/11/01     NY (WTC)     03-cv-9849                 P5281               Sibling                     5138 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:03-cv-9849,
                                                                                                                           United                                                                             United                                                             HAND FILED, at
3859                                                          Nathan            A.              Supinski                   States          Colleen               M.            Supinski                       States         9/11/01     NY (WTC)     03-cv-9849                 P5280               Sibling                     5848 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3967,
                                                                                                                           United                                                                             United                                                             8393-1, at 1114,
3860                                                          Brett             R.              Sutcliffe                  States          Robert                E.            Sutcliffe         Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3967,
                                                                                                                           United                                                                             United                                                             8393-1, at 1115,
3861                                                          Kara              P.              Sutcliffe                  States          Robert                E.            Sutcliffe         Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3967,
                                                                                                                           United                                                                             United                                                             8393-1, at 1116,
3862                                                          Kyle              R.              Sutcliffe                  States          Robert                E.            Sutcliffe         Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3967,
                                                                                                                           United                                                                             United                                                             8393-1, at 69,
3863                                                          Margaret                          Sutcliffe                  States          Robert                E.            Sutcliffe         Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5061 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
3864                                                          Patricia          Ellen           Sutcliffe                  Unknown         Robert                E.            Sutcliffe         Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3968       Parent                      3666 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 155, at P3111,
                                                                                                                                                                                                              United                                                             8393-1, at 13,
3865                                                          Bernell           Anthony         Sutton                     Other           Claudia                             Sutton                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5848 at 10      $        12,500,000.00 $   37,500,000.00




                                                                                                                                                                                            Page 149 of 170
                                                                                                          Case 1:03-md-01570-GBD-SN                                       Document 9716-2                               Filed 04/23/24             Page 151 of 171
                                                                                                                                                                           EXHIBIT B-1
                                                                                                                                                        SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                 Personal Representative                                              Claimant                                                                                9/11 Decedent                                                                 Claim Information                                                  Solatium Damages




                                                                                                                        Nationality




                                                                                                                                                                                                         Nationality
                                                                                                                         on 9/11




                                                                                                                                                                                                          on 9/11
                                                                                                           Claimant                                                                                                      Date of                                           Amendments &                       Document
 #       First    Middle               Last   Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle        Last          Suffix                                9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                             Suffix                                                                                                      Death                                              Substitutions                       ation

                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          155, at P3111,
                                                                                                                      United                                                                            United                                                            8393-1, at 201,
3866                                                   Kadijah           Imani           Sutton                       States          Claudia                             Sutton                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5138 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          155, at P3111,
                                                                                                                      United                                                                            United                                                            8393-1, at 202,
3867                                                   Kyle              Jamal           Sutton                       States          Claudia                             Sutton                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5138 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          155, at P3112,
                                                                                                                      United                                                                            United                     NY                                     8393-1, at 7,
3868                                                   Julie             Sweeney         Roth                         States          Brian                 D.            Sweeney                       States         9/11/01     (UA175)     03-cv-9849                 8487               Spouse                      5061 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                      United                                                                            United                                                            8679-1, at 455,
3869                                                   Eleanor                           Stice                        States          Madeline              Amy           Sweeney                       States         9/11/01     NY (AA11)   03-cv-9849                 8696               Parent                      5848 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          232, at P3970,
                                                                                                                      United                                                                            United                                                            8393-1, at 814,
3870                                                   Anna              Elizabeth       Sweeney                      States          Madeline              Amy           Sweeney                       States         9/11/01     NY (AA11)   03-cv-9849                 8487               Child                       5061 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                     NY                                     8679-1, at 451,
3871                                                   Anne              Elizabeth       Sweeney                      States          Brian                 D.            Sweeney                       States         9/11/01     (UA175)     03-cv-9849                 8696               Sibling                     7188 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          232, at P3970,
                                                                                                                      United                                                                            United                                                            8393-1, at 815,
3872                                                   Jack              Michael         Sweeney                      States          Madeline              Amy           Sweeney                       States         9/11/01     NY (AA11)   03-cv-9849                 8487               Child                       5061 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                     NY                                     8679-1, at 454,
3873                                                   John              Patrick         Sweeney                      States          Brian                 D.            Sweeney                       States         9/11/01     (UA175)     03-cv-9849                 8696               Sibling                     7188 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                     NY                                     8679-1, at 453,
3874                                                   Leonard           H.              Sweeney                      States          Brian                 D.            Sweeney                       States         9/11/01     (UA175)     03-cv-9849                 8696               Parent                      7188 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                     NY                                     8679-1, at 452,
3875                                                   Luise             Anne            Sweeney                      States          Brian                 D.            Sweeney                       States         9/11/01     (UA175)     03-cv-9849                 8696               Parent                      7188 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          232, at P3970,
                                                                                                                      United                                                                            United                                                            8393-1, at 51,
3876                                                   Michael           Gerard          Sweeney                      States          Madeline              Amy           Sweeney                       States         9/11/01     NY (AA11)   03-cv-9849                 8487               Spouse                      5061 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                      United                                                                            United                                                            8679-1, at 456,
3877                                                   William           Addison         Todd            III          States          Madeline              Amy           Sweeney                       States         9/11/01     NY (AA11)   03-cv-9849                 8696               Sibling                     5848 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                                                            8679-1, at 457,
3878                                                   Julia             Deborah         LaFlamme                     States          Gina                                Sztejnberg                    States         9/11/01     NY (WTC)    03-cv-9849                 8696               Child                       7188 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                            8679-1, at 458,
3879                                                   Laura             Rachel          Sztejnberg                   States          Gina                                Sztejnberg                    States         9/11/01     NY (WTC)    03-cv-9849                 8696               Child                       7188 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:03-md-01570,
                                                                                                                                                                                                                                                                          602, at P5506,
                                                                                                                                                                                                        United                                                            8393-1, at 27,
3880                                                   Michael                           Sztejnberg                   Russia          Gina                                Sztejnberg                    States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5979 at 3       $        12,500,000.00 $   37,500,000.00
                                                                                                                      United                                                                            United                                                            1:02-cv-01616,
3881                                                   Patricia          A.              Heyne                        States          Joann                               Tabeek                        States         9/11/01     NY (WTC)    03-cv-9849                 1, at 608          Sibling                     5087 at 19      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                                                            1:02-cv-01616,
3882                                                   Vincent           A.              Milotta                      States          Joann                               Tabeek                        States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4511    Spouse                      5951 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                      United                                                                            United                                                            1, at 603, 8397-
3883 Eileen                    Smith                   Eleanor                           Neville                      States          Joann                               Tabeek                        States         9/11/01     NY (WTC)    03-cv-9849                 1, at 21, 8433     Parent                      4126 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          232, at P3971,
                                                                                                                      United                                                                            United                                                            8393-1, at 565,
3884                                                   Krystal           Marie           Oliva                        States          Joann                               Tabeek                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5061 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                            United                                                            1:02-cv-01616,
3885                                                   James             E.              Smith                        States          Joann                               Tabeek                        States         9/11/01     NY (WTC)    03-cv-9849                 1, at 605          Sibling                     5848 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                                                            1:02-cv-01616,
3886                                                   Michael                           Smith                        States          Joann                               Tabeek                        States         9/11/01     NY (WTC)    03-cv-9849                 1, at 609          Sibling                     4126 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                      United                                                                            United                                                            1, at 606, 8397-
3887 Eileen                    Smith                   William           J.              Smith           Jr.          States          Joann                               Tabeek                        States         9/11/01     NY (WTC)    03-cv-9849                 1, at 25, 8433     Sibling                     4126 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                                                            1:02-cv-01616,
3888                                                   Denise                            Taddonio                     States          Michael                             Taddonio                      States         9/11/01     NY (WTC)    03-cv-9849                 77, at P2713       Spouse                      5848 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          232, at P3972,
                                                                                                                      United                                                                            United                                                            8393-1, at 66,
3889                                                   Joseph            Keith           Talbot                       States          Phyllis               G.            Talbot                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       4023 at 24      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                          232, at P4089,
                                                                                                                      United                                                                            United                                                            8393-1, at 71,
3890                                                   Diana             M.              Talhami                      States          Robert                R.            Talhami                       States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5356 at 5       $        12,500,000.00 $   37,500,000.00
                                                                                                                      United                                                                            United                                                            8679-1, at 459,
3891                                                   George            Elias           Talhami                      States          Robert                R.            Talhami                       States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     5848 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                            United                                                            1:02-cv-01616,
3892                                                   Jake              Elias           Talhami                      States          Robert                R.            Talhami                       States         9/11/01     NY (WTC)    03-cv-9849                 232, at P4090      Child                       5356 at 5       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                      Page 150 of 170
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                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                             Claimant                                                                                   9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                              Claimant                                                                                                         Date of                                            Amendments &                        Document
 #       First         Middle              Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                Suffix                                                                                                         Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P4089,
                                                                                                                         United                                                                               United                                                             8393-1, at 1139,
3893                                                       Noah                              Talhami                     States          Robert                R.            Talhami                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5356 at 5       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
3894 Eileen      M.                 Bertorelli             Alice             M.              Bertorelli                  States          John                  Marcy         Talignani                        States         9/11/01     PA (UA93)    03-cv-9849                 155, at P3114       Sibling                     4023 at 24      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 155, at P3116,
                                                                                                                         United                                                                               United                                                             8397-1, at 26,
3895 Laura       J.                 Troccoli               Armand            M.              Talignani                   States          John                  Marcy         Talignani                        States         9/11/01     PA (UA93)    03-cv-9849                 8433                Sibling                     4126 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
3896                                                       Patricia                          Dougan                      States          Paul                                Talty                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4520     Sibling                     4023 at 24      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
3897                                                       Kerry             Ann             McCall                      Unknown         Paul                                Talty                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4521     Sibling                     4023 at 24      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                         United                                                                               United                                                             1, at 611, 8393-
3898                                                       Barbara           Marie           Talty                       States          Paul                                Talty                            States         9/11/01     NY (Other)   03-cv-9849                 1, at 64, 8487      Spouse                      5061 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
3899                                                       Gloria                            Talty                       States          Paul                                Talty                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4516     Parent                      4023 at 24      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
3900                                                       John              Paul            Talty           Sr.         States          Paul                                Talty                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4515     Parent                      4023 at 24      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                 1:03-cv-09849,
                                                                                                                         United                                                                               United                                                             842, at 20; 8679-
3901                                                       John              Paul            Talty                       States          Paul                                Talty                            States         9/11/01     NY (Other)   03-cv-9849                 1, at 460, 8696     Sibling                     5087 at 19      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                         United                                                                               United                                                             1, at 611, 8393-
3902                                                       Kelly             Michelle        Talty                       States          Paul                                Talty                            States         9/11/01     NY (Other)   03-cv-9849                 1, at 1035, 8487    Child                       5087 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
3903                                                       Kevin             Sean            Talty                       States          Paul                                Talty                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4518     Sibling                     4023 at 24      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                         United                                                                               United                                                             1, at 611, 8393-
3904                                                       Lauren            Nicole          Talty                       States          Paul                                Talty                            States         9/11/01     NY (Other)   03-cv-9849                 1, at 1036, 8487    Child                       5061 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
3905                                                       Mark                              Talty                       States          Paul                                Talty                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4517     Sibling                     4023 at 24      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                         United                                                                               United                                                             1, at 611, 8393-
3906                                                       Paul              Richard         Talty           Jr.         States          Paul                                Talty                            States         9/11/01     NY (Other)   03-cv-9849                 1, at 1037, 8487    Child                       5061 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
3907                                                       Steven                            Talty                       States          Paul                                Talty                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4519     Sibling                     4023 at 24      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
3908                                                       Stephanie         Tam             Maldonado                   States          Maurita                             Tam                              States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4525     Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
3909                                                       Donald                            Tam                         States          Maurita                             Tam                              States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4524     Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 2386,
                                                                                                                         United                                                                               United                                                             8393-1, at 55,
3910                                                       Jin               Ark             Tam                         States          Maurita                             Tam                              States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      5062 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
3911                                                       Julie             Man Yee         Tam                         States          Maurita                             Tam                              States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4523     Parent                      5062 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
3912                                                       Evangeline        Tamayo          Iquina                      Philippines     Hector                R.            Tamayo                           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3976       Sibling                     4023 at 24      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
3913                                                       Sheila            Tamayo          Punzalan                    States          Hector                R.            Tamayo                           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3978       Sibling                     4023 at 24      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 77, at P2717,
                                                                                                                         United                                                                               United                                                             8393-1, at 28,
3914                                                       Evelyn            Mercene         Tamayo                      States          Hector                R.            Tamayo                           States 9/11/01             NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 19      $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
3915                                                       Jullian           Ian             Tamayo                      States          Hector                R.            Tamayo                           States 9/11/01             NY (WTC)     03-cv-9849                 77, at P2718        Child                       5087 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
3916                                                       Luther            Rogan           Tamayo                      Unknown         Hector                R.            Tamayo                           States 9/11/01             NY (WTC)     03-cv-9849                 232, at P3973       Sibling                     3666 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
3917                                                       Pamela            Mercene         Tamayo                      States          Hector                R.            Tamayo                           States 9/11/01             NY (WTC)     03-cv-9849                 77, at P2719        Child                       5087 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
3918                                                       Severino          Rogan           Tamayo          Jr.         States          Hector                R.            Tamayo                           States 9/11/01             NY (WTC)     03-cv-9849                 232, at P3975       Sibling                     4023 at 24      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               United                                                             1:02-cv-01616,
3919                                                       Elna              R.              Tamayo-Prado                States          Hector                R.            Tamayo                           States 9/11/01             NY (WTC)     03-cv-9849                 232, at P3977       Sibling                     4023 at 24      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               Unknow                                                             1:02-cv-01616,
3920                                                       Dana              M.              Tamuccio                    States          Michael               Andrew        Tamuccio                         n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 4530     Sibling                     4023 at 24      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                               Unknow                                                             1:02-cv-01616,
3921                                                       James             William         Tamuccio        Sr.         States          Michael               Andrew        Tamuccio                         n      9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 4527     Parent                      4023 at 24      $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                                                   EXHIBIT B-1
                                                                                                                                                                SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                     Personal Representative                                                Claimant                                                                                   9/11 Decedent                                                                Claim Information                                                   Solatium Damages




                                                                                                                                Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                                 on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                                   Claimant                                                                                                      Date of                                           Amendments &                       Document
 #        First          Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                             First            Middle        Last          Suffix                                9/11 Site       Case       Complaint                        Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                     Suffix                                                                                                      Death                                              Substitutions                       ation

                                                                                                                              United                                                                            Unknow                                                            1:02-cv-01616,
3922                                                        James             W.              Tamuccio        II              States          Michael               Andrew        Tamuccio                      n      9/11/01             NY (WTC)    03-cv-9849                 26, 29, at 4529    Sibling                     4023 at 24       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                            Unknow                                                            1:02-cv-01616,
3923                                                        Patricia          Ellen           Tamuccio                        States          Michael               Andrew        Tamuccio                      n      9/11/01             NY (WTC)    03-cv-9849                 26, 29, at 4528    Parent                      4023 at 24       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                            United                                                            1:02-cv-01616,
3924                                                        Diane                             Taormina                        States          Dennis                Gerard        Taormina         Jr.          States 9/11/01             NY (WTC)    03-cv-9849                 26, 29, at 4533    Spouse                      5356 at 6        $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 4533,
                                                                                                                              United                                                                            United                                                            8393-1, at 282,
3925                                                        Jenna             L.              Taormina                        States          Dennis                Gerard        Taormina         Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5356 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 4533,
                                                                                                                              United                                                                            United                                                            8393-1, at 283,
3926                                                        Meghan            J.              Taormina                        States          Dennis                Gerard        Taormina         Jr.          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5356 at 5        $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                            United                                                            1:02-cv-01616,
3927                                                        Victoria          Jane            Melone                          States          Kenneth               Joseph        Tarantino                     States         9/11/01     NY (WTC)    03-cv-9849                 1, at 615          Sibling                     3387             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                              United                                                                            United                                                            1, at 613, 8397-
3928 Victoria     Jane             Melone                   Kenneth           Thomas          Tarantino                       States          Kenneth               Joseph        Tarantino                     States 9/11/01             NY (WTC)    03-cv-9849                 1, at 26, 8433     Parent                      3387             $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                            United                                                            1:02-cv-01616,
3929                                                        Theresa           Marie           Tarantino                       States          Kenneth               Joseph        Tarantino                     States 9/11/01             NY (WTC)    03-cv-9849                 1, at 614          Parent                      3387             $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                            Unknow                     NY                                     1:02-cv-01616,
3930                                                        Gigi              T.              Hintz                           States          Michael               C.            Tarrou                        n      9/11/01             (UA175)     03-cv-9849                 155, at P3118      Sibling                     4126 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                            Unknow                     NY                                     1:02-cv-01616,
3931                                                        Demetra           Tarrou          Lumia                           States          Michael               C.            Tarrou                        n      9/11/01             (UA175)     03-cv-9849                 155, at P3119      Sibling                     5062 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                            Unknow                     NY                                     1:02-cv-01616,
3932                                                        Charles           John            Tarrou                          States          Michael               C.            Tarrou                        n      9/11/01             (UA175)     03-cv-9849                 155, at P3119      Sibling                     5087 at 19       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  155, at P3120,
                                                                                                                              United                                                                            Unknow                     NY                                     8397-1, at 26,
3933 Charles      John             Tarrou                   James                             Tarrou                          States          Michael               C.            Tarrou                        n      9/11/01             (UA175)     03-cv-9849                 8433               Parent                      5138 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  155, at P3121,
                                                                                                                              United                                                                            Unknow                     NY                                     8397-1, at 26,
3934 Charles      John             Tarrou                   Patricia          Peterson        Tarrou                          States          Michael               C.            Tarrou                        n      9/11/01             (UA175)     03-cv-9849                 8433               Parent                      4126 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  313, at P4746,
                                                                                                                              United                                                                            United                                                            8393-1, at 72,
3935                                                        Karen             Ann             Reilly                          States          Ronald                G.            Tartaro                       States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5061 at 13       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  313, at P4746,
                                                                                                                              United                                                                            United                                                            8393-1, at 1162,
3936                                                        Alana                             Tartaro                         States          Ronald                G.            Tartaro                       States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5061 at 13       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  313, at P4746,
                                                                                                                              United                                                                            United                                                            8393-1, at 1163,
3937                                                        Andrew            Christopher     Tartaro                         States          Ronald                G.            Tartaro                       States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5061 at 13       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  313, at P4746,
                                                                                                                              United                                                                            United                                                            8393-1, at 1164,
3938                                                        Danielle                          Tartaro                         States          Ronald                G.            Tartaro                       States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5061 at 13       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                            United                                                            1:02-cv-01616,
3939                                                        Rosanna           Patricia        Tartaro                         States          Ronald                G.            Tartaro                       States         9/11/01     NY (WTC)    03-cv-9849                 313, at P4749      Sibling                     3666 at 12       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                United                                                            1:02-cv-01616,
3940                                                        Teresa                            Tartaro                         Croatia         Ronald                G.            Tartaro                       States         9/11/01     NY (WTC)    03-cv-9849                 313, at P4748      Parent                      3666 at 12       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  313, at P4747,
                                                                                                                              United                                                                            United                                                            8397-1, at 26,
3941 Rosanna      Patricia         Tartaro                  William                           Tartaro                         States          Ronald                G.            Tartaro                       States         9/11/01     NY (WTC)    03-cv-9849                 8433               Parent                      5138 at 7        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  232, at P4091,
                                                                                                                              United                                                                            United                                                            8393-1, at 58,
3942                                                        Mary              Kaye            Crenshaw                        States          Michael               M.            Taylor                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Sibling                     4126 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                            United                                                            1:02-cv-01616,
3943                                                        Clara             Shute           Taylor                          States          Michael               M.            Taylor                        States         9/11/01     NY (WTC)    03-cv-9849                 232, at P4092      Parent                      4126 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                            United                                                            1:02-cv-01616,
3944                                                        James             Jay             Taylor                          States          Michael               M.            Taylor                        States         9/11/01     NY (WTC)    03-cv-9849                 232, at P4094      Sibling                     4126 at 8        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  232, at P4093,
                                                                                                                              United                                                                            United                                                            8397-1, at 26,
3945 Mary         Kaye             Crenshaw                 James             H.              Taylor                          States          Michael               M.            Taylor                        States         9/11/01     NY (WTC)    03-cv-9849                 8433               Parent                      8233 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                            United                                                            1:02-cv-01616,
3946                                                        Kathryn           Taylor          Teare                           States          Michael               M.            Taylor                        States         9/11/01     NY (WTC)    03-cv-9849                 232, at P4095      Sibling                     4023 at 24       $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                            United                                                            8679-1, at 461,
3947                                                        Jennifer          Teague          Ayers                           States          Sandra                D.            Teague                        States         9/11/01     VA (AA77)   03-cv-9849                 8696               Sibling                     5087 at 19       $         4,250,000.00 $   12,750,000.00




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                                                                                                               Case 1:03-md-01570-GBD-SN                                     Document 9716-2                               Filed 04/23/24             Page 154 of 171
                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                       Personal Representative                                              Claimant                                                                             9/11 Decedent                                                                 Claim Information                                                  Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                            Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                             on 9/11
                                                                                                               Claimant                                                                                                     Date of                                           Amendments &                       Document
 #        First         Middle               Last   Suffix    Claimant First   Claimant Middle Claimant Last                                       First            Middle        Last          Suffix                                9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                     Death                                              Substitutions                       ation

                                                                                                                          United                                                                           United                                                            8679-1, at 463,
3948                                                         Christopher       Lee             Teague                     States          Sandra               D.            Teague                        States         9/11/01     VA (AA77)   03-cv-9849                 8696               Sibling                     5061 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                                                                                                                                                                             HAND FILED, at
                                                                                                                          United                                                                           United                                                            P5283, 8393-1,
3949                                                         Elaine            Sherrill        Teague                     States          Sandra               D.            Teague                        States         9/11/01     VA (AA77)   03-cv-9849                 at 73, 8487        Parent                      5087 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                           United                                                            8679-1, at 462,
3950                                                         James             Stephen         Teague                     States          Sandra               D.            Teague                        States         9/11/01     VA (AA77)   03-cv-9849                 8696               Parent                      5061 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                      VA
                                                                                                                          United                                                                           United                     (Pentagon                              1:02-cv-01616,
3951                                                         Wendy             Teepe           Green                      States          Karl                 W.            Teepe                         States         9/11/01     )           03-cv-9849                 313, at P4752      Child                       4023 at 24      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                      VA
                                                                                                                          United                                                                           United                     (Pentagon                              1:02-cv-01616,
3952                                                         Adam              Karl            Teepe                      States          Karl                 W.            Teepe                         States         9/11/01     )           03-cv-9849                 313, at P4751      Child                       5356 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                      VA                                     313, at P4750,
                                                                                                                          United                                                                           United                     (Pentagon                              8393-1, at 45,
3953                                                         Donna             Diane           Teepe                      States          Karl                 W.            Teepe                         States         9/11/01     )           03-cv-9849                 8487               Spouse                      5061 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             26, 29, at 2389,
                                                                                                                          United                                                                           United                                                            8393-1, at 58,
3954                                                         Amanda                            Tempesta                   States          Anthony                            Tempesta                      States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5138 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                           United                                                            1:02-cv-01616,
3955                                                         Clifford          Daniel          Tempesta                   States          Anthony                            Tempesta                      States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1701         Parent                      3666 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                           United                                                            1:02-cv-01616,
3956                                                         Clifford          Michael         Tempesta                   States          Anthony                            Tempesta                      States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4539    Sibling                     4023 at 24      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                           United                                                            1:02-cv-01616,
3957                                                         Dorothy           Maria           Tempesta                   States          Anthony                            Tempesta                      States         9/11/01     NY (WTC)    03-cv-9849                 1, at 617          Parent                      3666 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             26, 29, at 2389,
                                                                                                                          United                                                                           United                                                            8393-1, at 59,
3958                                                         Matthew                           Tempesta                   States          Anthony                            Tempesta                      States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5138 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           United                                                            1:02-cv-01616,
3959                                                         Michael                           Tempesta                   Unknown         Anthony                            Tempesta                      States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2390    Sibling                     3666 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                           United                                                            1:02-cv-01616,
3960                                                         Jacqueline        Faye            Temple                     States          Dorothy              Pearl         Temple                        States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2392    Sibling                     4126 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                           United                                                            1:02-cv-01616,
3961                                                         Larry             J.              Temple                     States          Dorothy              Pearl         Temple                        States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2393    Sibling                     4126 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             232, at P4096,
                                                                                                                          United                                                                           United                                                            8393-1, at 27,
3962                                                         Kai                               Hernandez                  States          Glenn                Edward        Thompson                      States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5061 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             305, at P4550,
                                                                                                                          United                                                                           United                                                            8393-1, at 1048,
3963                                                         Ashley            Nicole          Thompson                   States          Perry                              Thompson                      States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       7188 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             305, at P4550,
                                                                                                                          United                                                                           United                                                            8393-1, at 65,
3964 Monte        S.                 Payne                   Charlette         M.              Thompson                   States          Perry                              Thompson                      States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5087 at 19      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             305, at P4550,
                                                                                                                          United                                                                           United                                                            8393-1, at 1049,
3965                                                         Chelsea           Lorraine        Thompson                   States          Perry                              Thompson                      States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       7188 at 14      $         8,500,000.00 $   25,500,000.00

                                                                                                                          United                                                                           United                                                            1:03-md-01570,
3966                                                         Christine         Elizabeth       Thompson                   States          Glenn                Edward        Thompson                      States         9/11/01     NY (WTC)    03-cv-9849                 432, at P5458      Sibling                     4023 at 25      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:03-md-01570,
                                                                                                                                                                                                                                                                             432, at P5455,
                                                                                                                          United                                                                           United                                                            8397-1, at 26,
3967 Christine    Elizabeth          Thompson                Edward                            Thompson                   States          Glenn                Edward        Thompson                      States         9/11/01     NY (WTC)    03-cv-9849                 8433               Parent                      5061 at 13      $         8,500,000.00 $   25,500,000.00

                                                                                                                          United                                                                           United                                                            1:03-md-01570,
3968                                                         Scott             Morton          Thompson                   States          Glenn                Edward        Thompson                      States         9/11/01     NY (WTC)    03-cv-9849                 432, at P5457      Sibling                     3666 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:03-md-01570,
                                                                                                                                                                                                                                                                             432, at P5456,
                                                                                                                          United                                                                           United                                                            8397-1, at 27,
3969 Christine    Elizabeth          Thompson                Violet            Morton          Thompson                   States          Glenn                Edward        Thompson                      States         9/11/01     NY (WTC)    03-cv-9849                 8433               Parent                      5061 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           United                                                            1:02-cv-01616,
3970                                                         Susan             Thorpe          Burghouwt                  Unknown         Eric                 R.            Thorpe                        States         9/11/01     NY (WTC)    03-cv-9849                 155, at P3122      Sibling                     3666 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:03-md-01570,
                                                                                                                                                                                                                                                                             602, at P5507,
                                                                                                                          United                                                                           United                                                            8393-1, at 371,
3971                                                         Alexis            Michelle        Thorpe                     States          Eric                 R.            Thorpe                        States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 19      $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                                         EXHIBIT B-1
                                                                                                                                                      SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                            Claimant                                                                               9/11 Decedent                                                                     Claim Information                                                  Solatium Damages




                                                                                                                      Nationality




                                                                                                                                                                                                           Nationality
                                                                                                                       on 9/11




                                                                                                                                                                                                            on 9/11
                                                                                                         Claimant                                                                                                          Date of                                            Amendments &                       Document
 #       First      Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle            Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                           Suffix                                                                                                          Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                             1:03-md-01570,
                                                                                                                                                                                                                                                                             602, at P5507,
                                                                                                                    United                                                                                United                                                             8393-1, at 24,
3972                                                   Linda             Perry           Thorpe                     States          Eric                  R.            Thorpe                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5087 at 19      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
3973                                                   Marilyn           Williams        Thorpe                     Unknown         Eric                  R.            Thorpe                            States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3123      Parent                      3666 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
3974                                                   Raymond           R.              Thorpe                     Unknown         Eric                  R.            Thorpe                            States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3124      Parent                      3666 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                                United                                                             1:02-cv-01616,
3975                                                   Mary              E.              Digiacomo                  States          John                  P.            Tierney                           States         9/11/01     NY (Other)   03-cv-9849                 155, at P3125      Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                                United                                                             1:02-cv-01616,
3976                                                   Jeanne            Marie           Neumeyer                   States          John                  P.            Tierney                           States         9/11/01     NY (Other)   03-cv-9849                 155, at P3126      Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             155, at P3127,
                                                                                                                    United                                                                                United                                                             8393-1, at 39,
3977                                                   Helen             Mary            Tierney                    States          John                  P.            Tierney                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Parent                      4023 at 25      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             155, at P3128,
                                                                                                                    United                                                                                United                                                             8397-1, at 27,
3978 Helen       Mary            Tierney               John                              Tierney                    States          John                  P.            Tierney                           States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      4126 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                                United                                                             1:02-cv-01616,
3979                                                   Thomas            Michael         Tierney                    States          John                  P.            Tierney                           States         9/11/01     NY (Other)   03-cv-9849                 155, at P3129      Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                                United                                                             1:02-cv-01616,
3980                                                   Debra             Anne            Tieste                     States          William               R.            Tieste                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4548    Spouse                      5061 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                    United                                                                                United                                                             1:02-cv-01616,
3981                                                   Keith             Edward          Tieste                     States          William               R.            Tieste                            States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4956      Child                       5087 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
3982                                                   Linda             Gail            Tieste                     Unknown         William               R.            Tieste                            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3985      Sibling                     3666 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                                United                                                             1:02-cv-01616,
3983                                                   William           Charles         Tieste                     States          William               R.            Tieste                            States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4957      Child                       5087 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                                United                                                             1:02-cv-01616,
3984                                                   Cindy             Marie           Metz                       States          Kenneth               F.            Tietjen                           States         9/11/01     NY (Other)   03-cv-9849                 155, at P3130      Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                    United                                                                                United                                                             1:02-cv-01616,
3985                                                   Janice            A.              Tietjen                    States          Kenneth               F.            Tietjen                           States         9/11/01     NY (Other)   03-cv-9849                 155, at P3131      Parent                      4126 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                    United                                                                                United                                                             1:02-cv-01616,
3986                                                   Kenneth           A.              Tietjen                    States          Kenneth               F.            Tietjen                           States         9/11/01     NY (Other)   03-cv-9849                 155, at P3132      Parent                      4126 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             155, at P3133,
                                                                                                                    United                                                                                United                                                             8393-1, at 46,
3987                                                   Laurie            Ann             Tietjen                    States          Kenneth               F.            Tietjen                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Sibling                     7188 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
3988                                                   Roberta           L.              Shea                       Unknown         Stephen               Edward        Tighe                             States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2400    Sibling                     3666 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             26, 29, at 2398,
                                                                                                                    United                                                                                United                                                             8393-1, at 1338,
3989                                                   Elizabeth         Anne            Tighe                      States          Stephen               Edward        Tighe                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
3990                                                   James             H.              Tighe                      Unknown         Stephen               Edward        Tighe                             States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4552    Sibling                     5087 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             26, 29, at 2398,
                                                                                                                    United                                                                                United                                                             8393-1, at 76,
3991                                                   Kathleen          Marie           Tighe                      States          Stephen               Edward        Tighe                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5087 at 20      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             26, 29, at 2398,
                                                                                                                    United                                                                                United                                                             8393-1, at 1339,
3992                                                   Lindsay           Grace           Tighe                      States          Stephen               Edward        Tighe                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 19      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             26, 29, at 2398,
                                                                                                                    United                                                                                United                                                             8393-1, at 1340,
3993                                                   Michael           Joseph          Tighe                      States          Stephen               Edward        Tighe                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             26, 29, at 2398,
                                                                                                                    United                                                                                United                                                             8393-1, at 1341,
3994                                                   Patrick           James           Tighe                      States          Stephen               Edward        Tighe                             States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                          United                                                             1:02-cv-01616,
3995                                                   Kristine                          Timmes                     Unknown         Scott                 Charles       Timmes                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4555    Spouse                      5138 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             26, 29, at 4555,
                                                                                                                    United                                                                                United                                                             8393-1, at 1193,
3996                                                   Sydney            Ellyn           Timmes                     States          Scott                 Charles       Timmes                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5138 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                             232, at P4097,
                                                                                                                    United                                                                                United                                                             8393-1, at 69,
3997                                                   Richard                           Tipaldi                    States          Robert                Frank         Tipaldi                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      4023 at 25      $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                 Personal Representative                                               Claimant                                                                                        9/11 Decedent                                                                  Claim Information                                                   Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                                  Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                                   on 9/11
                                                                                                              Claimant                                                                                                            Date of                                            Amendments &                        Document
 #       First    Middle                Last   Suffix    Claimant First   Claimant Middle Claimant Last                                            First              Middle           Last             Suffix                              9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                Suffix                                                                                                            Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    77, at P2722,
                                                                                                                         United                                                                                  United                                                             8393-1, at 38,
3998                                                    Arlene            M.              Tipping                        States          John                  J.              Tipping             II            States         9/11/01     NY (Other)   03-cv-9849                 8487                Parent                      4023 at 25      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                  United                                                             1:02-cv-01616,
3999                                                    John              James           Tipping                        States          John                  J.              Tipping             II            States         9/11/01     NY (Other)   03-cv-9849                 77, at P2723        Parent                      5062 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                  United                                                             1:02-cv-01616,
4000                                                    Stephanie         L.              Tipping                        States          John                  J.              Tipping             II            States         9/11/01     NY (Other)   03-cv-9849                 432, at P4958       Sibling                     4023 at 25      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                                  United                                                             8679-1, at 465,
4001                                                    Arlene            A.              Tipping-Cestari                States          John                  J.              Tipping             II            States         9/11/01     NY (Other)   03-cv-9849                 8696                Sibling                     5087 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                                  United                                                             8679-1, at 464,
4002                                                    Maureen                           Tipping-Lipshie                States          John                  J.              Tipping             II            States         9/11/01     NY (Other)   03-cv-9849                 8696                Sibling                     5087 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                 United                                                             1:02-cv-01616,
4003                                                    Sheneque          Tirado          Jackson                        Unknown         Hector                Luis            Tirado              Jr.           States         9/11/01     NY (Other)   03-cv-9849                 77, at P2730        Spouse                      5087 at 20      $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                                  United                                                             1:02-cv-01616,
4004                                                    Angel             Luis            Tirado                         States          Hector                Luis            Tirado              Jr.           States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4558     Child                       4023 at 25      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    77, at P2724,
                                                                                                                         United                                                                                  United                                                             8397-1, at 27,
4005 Omaira                    Tirado                   Ashley                            Tirado                         States          Hector                Luis            Tirado              Jr.           States         9/11/01     NY (Other)   03-cv-9849                 8433                Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                  United                                                             1:02-cv-01616,
4006                                                    Davon                             Tirado                         States          Hector                Luis            Tirado              Jr.           States         9/11/01     NY (Other)   03-cv-9849                 77, at P2725        Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                  United                                                             1:02-cv-01616,
4007                                                    Denzel                            Tirado                         States          Hector                Luis            Tirado              Jr.           States         9/11/01     NY (Other)   03-cv-9849                 77, at P2726        Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                  United                                                             1:02-cv-01616,
4008                                                    Hector                            Tirado            III          States          Hector                Luis            Tirado              Jr.           States         9/11/01     NY (Other)   03-cv-9849                 77, at P2727        Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                  United                                                             1:02-cv-01616,
4009                                                    Marina            Irene           Tirado                         States          Hector                Luis            Tirado              Jr.           States         9/11/01     NY (Other)   03-cv-9849                 232, at P3986       Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                  United                                                             1:02-cv-01616,
4010                                                    Roberto           Anthony         Tirado                         States          Hector                Luis            Tirado              Jr.           States         9/11/01     NY (Other)   03-cv-9849                 77, at P2728        Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                  United                                                             1:02-cv-01616,
4011                                                    Ronald            Jaquan          Tirado                         States          Hector                Luis            Tirado              Jr.           States         9/11/01     NY (Other)   03-cv-9849                 77, at P2729        Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                  United                                                             8679-1, at 466,
4012                                                    Sean              Smiley          Tirado                         States          Hector                Luis            Tirado              Jr.           States         9/11/01     NY (Other)   03-cv-9849                 8696                Sibling                     5848 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    155, at P3134,
                                                                                                                         United                                                                                  United                     NY                                      8393-1, at 2,
4013                                                    Beverly           Jean            Titus                          States          Alicia                Nicole          Titus                             States         9/11/01     (UA175)      03-cv-9849                 8487                Parent                      4126 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                  United                     NY                                      8679-1, at 468,
4014                                                    Elijah            Zane            Titus                          States          Alicia                Nicole          Titus                             States         9/11/01     (UA175)      03-cv-9849                 8696                Sibling                     5061 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                 United                     NY                                      1:02-cv-01616,
4015                                                    John              Larry           Titus                          Unknown         Alicia                Nicole          Titus                             States         9/11/01     (UA175)      03-cv-9849                 155, at P3135       Parent                      4126 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                                  United                     NY                                      8679-1, at 469,
4016                                                    Zachery           Ian             Titus                          States          Alicia                Nicole          Titus                             States         9/11/01     (UA175)      03-cv-9849                 8696                Sibling                     5061 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                 United                     NY                                      8679-1, at 467,
4017                                                    Shanoa            Dawn            Titus-Poston                   Unknown         Alicia                Nicole          Titus                             States         9/11/01     (UA175)      03-cv-9849                 8696                Sibling                     5061 at 13      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                    1:03-cv-09849,
                                                                                                                         United                                                                                  United                                                             843, at 10; 8679-
4018                                                    Dorine            Ellen           Toyen                          States          Amy                   E.              Toyen                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 471, 8696     Parent                      5062 at 6       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                    1:03-cv-09849,
                                                                                                                         United                                                                                  United                                                             843, at 11; 8679-
4019                                                    Heather           Beth            Toyen                          States          Amy                   E.              Toyen                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 470, 8696     Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                                  United                                                             1:02-cv-01616,
4020                                                    Martin                            Toyen                          States          Amy                   E.              Toyen                             States         9/11/01     NY (WTC)     03-cv-9849                 1, at 626           Parent                      4126 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    305, at P4556,
                                                                                                                         United                                                                                  United                                                             8393-1, at 1388,
4021                                                    Brian             Francis         Travers                        States          Walter                P.              Travers                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    305, at P4556,
                                                                                                                         United                                                                                  United                                                             8393-1, at 1386,
4022                                                    Elyse             Virginia        Travers                        States          Walter                P.              Travers                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    305, at P4556,
                                                                                                                         United                                                                                  United                                                             8393-1, at 1387,
4023                                                    Kevin                             Travers                        States          Walter                P.              Travers                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5138 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                    305, at P4556,
                                                                                                                         United                                                                                  United                                                             8393-1, at 86,
4024                                                    Rosemary                          Travers                        States          Walter                P.              Travers                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 20      $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                                                                                                     1:02-cv-01616,
4025                                                    Sharon            B.              Schultz                        States          Karamo                                Trerra                            Gambia 9/11/01             NY (WTC)     03-cv-9849                 26, 29, at 2408     Spouse                      5356 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                          Cortez-                        United                                                                                  United                                                             8679-1, at 472,
4026                                                    Doreen                            Trinidad                       States          Michael               A.              Trinidad                          States 9/11/01             NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 14      $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                              Page 155 of 170
                                                                                                              Case 1:03-md-01570-GBD-SN                                           Document 9716-2                                  Filed 04/23/24              Page 157 of 171
                                                                                                                                                                                   EXHIBIT B-1
                                                                                                                                                                SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                                 Claimant                                                                                      9/11 Decedent                                                                 Claim Information                                                  Solatium Damages




                                                                                                                               Nationality




                                                                                                                                                                                                                    Nationality
                                                                                                                                on 9/11




                                                                                                                                                                                                                     on 9/11
                                                                                                                  Claimant                                                                                                          Date of                                            Amendments &                       Document
 #       First       Middle                Last   Suffix    Claimant First   Claimant Middle Claimant Last                                              First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                    Suffix                                                                                                          Death                                               Substitutions                       ation

                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4027                                                       Carol                              Perla                          States          Michael                A.            Trinidad                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4575    Sibling                     5848 at 10      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4028                                                       Jeanette          Trinidad         Rzek                           States          Michael                A.            Trinidad                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4574    Sibling                     7188 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4029                                                       Millie            Caseres          Schifano                       States          Michael                A.            Trinidad                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4579    Sibling                     4023 at 25      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4030                                                       Brenda                             Trinidad                       States          Michael                A.            Trinidad                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4573    Sibling                     5087 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4031                                                       Denise                             Trinidad                       States          Michael                A.            Trinidad                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4576    Sibling                     7188 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4032                                                       Robert                             Trinidad                       States          Michael                A.            Trinidad                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4572    Sibling                     7188 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      155, at P3136,
                                                                                                                             United                                                                                United                                                             8393-1, at 889,
4033                                                       Thea              Megan            Trinidad                       States          Michael                A.            Trinidad                         States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5848 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      155, at P3136,
                                                                                                                             United                                                                                United                                                             8393-1, at 890,
4034                                                       Timothy           Michael          Trinidad                       States          Michael                A.            Trinidad                         States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5848 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                              Trinidad-                      United                                                                                United                                                             1:02-cv-01616,
4035                                                       Jane                               Hennes                         States          Michael                A.            Trinidad                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4577    Sibling                     5087 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4036                                                       Jeanne            Marie            Loonam                         States          Gregory                J.            Trost                            States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2732       Sibling                     5087 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      77, at P2731,
                                                                                                                             United                                                                                United                                                             8393-1, at 28,
4037                                                       George            Daniel           Trost                          States          Gregory                J.            Trost                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      4023 at 25      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      77, at P2733,
                                                                                                                             United                                                                                United                                                             8397-1, at 27,
4038 George      Daniel           Trost                    Marie             C.               Trost                          States          Gregory                J.            Trost                            States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      4023 at 25      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                              VA
                                                                                                                                                                                                                   United                     (Pentagon                               1:02-cv-01616,
4039                                                       Judy              S.               Troy                           Unknown         Willie                 Quincy        Troy                             States         9/11/01     )            03-cv-9849                 3, at 1708         Spouse                      5848 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                              VA
                                                                                                                             United                                                                                United                     (Pentagon                               1:02-cv-01616,
4040                                                       Renee             Mechelle         Troy-Mebane                    States          Willie                 Quincy        Troy                             States         9/11/01     )            03-cv-9849                 3, at 1709         Child                       5848 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                             United                                                                                United                                                             1, at 631, 8397-
4041 Stamatios   Konstantinos     Tzemis                   Nancy             Doris            Tzemis                         States          Jennifer               Lynn          Tzemis                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 27, 8433     Parent                      4126 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4042                                                       Nicole            Doreen           Tzemis                         States          Jennifer               Lynn          Tzemis                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 633          Sibling                     4023 at 25      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4043                                                       Sophia            Eugenia          Tzemis                         States          Jennifer               Lynn          Tzemis                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 632          Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      232, at P3988,
                                                                                                                             United                                                                                United                                                             8393-1, at 35,
4044                                                       Stamatios         Konstantinos     Tzemis                         States          Jennifer               Lynn          Tzemis                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Parent                      4023 at 25      $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                                United                                                             8679-1, at 481,
4045                                                       Edward            Joseph           Callahan       II              States          Michael                A.            Uliano                           States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     515 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             8679-1, at 473,
4046                                                       Gail              Marie            Callahan                       States          Michael                A.            Uliano                           States         9/11/01     NY (WTC)     03-cv-9849                 8696               Parent                      5848 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                                United                                                             8679-1, at 476,
4047                                                       Martha            Marie            King                           States          Michael                A.            Uliano                           States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     515 at 5        $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             8679-1, at 475,
4048                                                       Marianne                           Krueger                        States          Michael                A.            Uliano                           States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:03-cv-09849,
                                                                                                                             United                                                                                United                                                             842, at 8; 8679-
4049                                                       Melissa           Ann              McGrath                        States          Michael                A.            Uliano                           States         9/11/01     NY (WTC)     03-cv-9849                 1, at 477, 8696    Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             8679-1, at 474,
4050                                                       Michele           Teresa           Piper                          States          Michael                A.            Uliano                           States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      305, at P4557,
                                                                                                                             United                                                                                United                                                             8393-1, at 55,
4051                                                       Linda             Buffa            Uliano                         States          Michael                A.            Uliano                           States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5356 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                             United                                                                                United                                                             8679-1, at 478,
4052                                                       Mark              Thomas           Uliano                         States          Michael                A.            Uliano                           States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             8679-1, at 479,
4053                                                       Matthew           P.               Uliano                         States          Michael                A.            Uliano                           States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             8679-1, at 480,
4054                                                       Nathan            Detroit          Uliano                         States          Michael                A.            Uliano                           States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     7188 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4055                                                       Susan             Ruth             Blomberg                       States          Jonathan                             Uman                             States         9/11/01     NY (Other)   03-cv-9849                 432, at P4960      Parent                      3666 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4056                                                       Anne              Marie            Vaccacio                       States          John                   Damien        Vaccacio                         States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4602    Parent                      4126 at 8       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                                 Page 156 of 170
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                                                                                                                                                                                EXHIBIT B-1
                                                                                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                       Personal Representative                                               Claimant                                                                               9/11 Decedent                                                                 Claim Information                                                  Solatium Damages




                                                                                                                             Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                              on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                                Claimant                                                                                                       Date of                                           Amendments &                       Document
 #        First         Middle             Last      Suffix    Claimant First   Claimant Middle Claimant Last                                        First          Middle           Last          Suffix                                9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                  Suffix                                                                                                       Death                                              Substitutions                       ation

                                                                                                                                                                                                              United                                                            1:02-cv-01616,
4057                                                          Christopher       J.              Vaccacio                   Unknown         John                  Damien      Vaccacio                         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4604    Sibling                     5087 at 20       $        4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             United                                                            1:02-cv-01616,
4058                                                          James             Richard         Vaccacio                   States          John                  Damien      Vaccacio                         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4603    Parent                      4126 at 8        $        8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                            8679-1, at 483,
4059                                                          Melissa           Mary            Prevey                     States          Bradley               Hodges      Vadas                            States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     5087 at 20       $        4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             United                                                            8679-1, at 482,
4060                                                          Constance         Myer            Taylor                     States          Bradley               Hodges      Vadas                            States         9/11/01     NY (WTC)    03-cv-9849                 8696               Parent                      7188 at 14       $        8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                            8679-1, at 484,
4061                                                          Christopher       Scott           Vadas                      States          Bradley               Hodges      Vadas                            States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     5087 at 20       $        4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3989,
     Melissa;                                                                                                              United                                                                             United                                                            8397-1, at 27,
4062 Christopher   Mary; Scott       Prevey; Vadas            Donald            Joseph          Vadas                      States          Bradley               Hodges      Vadas                            States 9/11/01             NY (WTC)    03-cv-9849                 8433               Parent                      4126 at 8        $        8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             Unknow                                                            1:02-cv-01616,
4063                                                          Carmen            I.              Garcia                     States          Ivan                              Vale                             n      9/11/01             NY (WTC)    03-cv-9849                 232, at P3991      Parent                      5061 at 13       $        8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                232, at P3990,
                                                                                                                           United                                                                             United                                                            8393-1, at 24,
4064                                                          Carmen            I.              Garcia                     States          Felix                 Antonio     Vale                             States 9/11/01             NY (WTC)    03-cv-9849                 8487               Parent                      5062 at 6        $        8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                            8679-1, at 485,
4065                                                          Carmen            Noemi           Quintana                   States          Felix                 Antonio     Vale                             States 9/11/01             NY (WTC)    03-cv-9849                 8696               Sibling                     7188 at 14, 15   $        4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             Unknow                                                            8679-1, at 485,
4066                                                          Carmen            Noemi           Quintana                   States          Ivan                              Vale                             n      9/11/01             NY (WTC)    03-cv-9849                 8696               Sibling                     7188 at 14, 15   $        4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             United                                                            8679-1, at 487,
4067                                                          Jose              Ruben           Quintana                   States          Felix                 Antonio     Vale                             States 9/11/01             NY (WTC)    03-cv-9849                 8696               Sibling                     7188 at 14, 15   $        4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             Unknow                                                            8679-1, at 487,
4068                                                          Jose              Ruben           Quintana                   States          Ivan                              Vale                             n      9/11/01             NY (WTC)    03-cv-9849                 8696               Sibling                     7188 at 14, 15   $        4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             United                                                            8679-1, at 486,
4069                                                          Rubencio                          Quintana                   States          Felix                 Antonio     Vale                             States 9/11/01             NY (WTC)    03-cv-9849                 8696               Sibling                     7188 at 15       $        4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                             Unknow                                                            8679-1, at 486,
4070                                                          Rubencio                          Quintana                   States          Ivan                              Vale                             n      9/11/01             NY (WTC)    03-cv-9849                 8696               Sibling                     7188 at 15       $        4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 4606,
                                                                                                                           United                                                                             United                                                            8393-1, at 77,
4071                                                          Alyssa            N.              Valentin                   States          Benito                            Valentin                         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5138 at 8        $        8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 4606,
                                                                                                                           United                                                                             United                                                            8393-1, at 78,
4072                                                          Danyelle          M.              Valentin                   States          Benito                            Valentin                         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5138 at 8        $        8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                            1:02-cv-01616,
4073                                                          Grissel           Rodriguez       Valentin                   States          Benito                            Valentin                         States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4606    Spouse                      5138 at 8        $       12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 4606,
                                                                                                                           United                                                                             United                                                            8393-1, at 79,
4074                                                          Jailene           A.              Valentin                   States          Benito                            Valentin                         States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5138 at 8        $        8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2445,
                                                                                                                           United                                                                             United                                                            5284-1, at 11,
4075                                                          Janice            Lynne           Booth                      States          Kenneth               Warren      Van Auken                        States         9/11/01     NY (WTC)    03-cv-9849                 5296               Sibling                     3666 at 12       $        4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2444,
                                                                                                                                                                                                              United                                                            5284-1, at 11,
4076                                                          Karen             Ellen           Renzo                      Unknown         Kenneth               Warren      Van Auken                        States         9/11/01     NY (WTC)    03-cv-9849                 5296               Sibling                     3666 at 12       $        4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2443,
                                                                                                                           United                                                                             United                                                            8397-1, at 27,
4077 Janice; Karen Lynne; Ellen      Booth; Renzo             Eleanor                           Van Auken                  States          Kenneth               Warren      Van Auken                        States         9/11/01     NY (WTC)    03-cv-9849                 8433               Parent                      5087 at 20       $        8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                            1:02-cv-01616,
4078                                                          Lorie             Jill            Van Auken                  States          Kenneth               Warren      Van Auken                        States         9/11/01     NY (WTC)    03-cv-9849                 1, at 773          Spouse                      4023 at 25       $       12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                           United                                                                             United                                                            1, at 773, 8393-
4079                                                          Matthew           D.              Van Auken                  States          Kenneth               Warren      Van Auken                        States         9/11/01     NY (WTC)    03-cv-9849                 1, at 740, 8487    Child                       4023 at 25       $        8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                           United                                                                             United                                                            1, at 773, 8393-
4080                                                          Sarah             B.              Van Auken                  States          Kenneth               Warren      Van Auken                        States         9/11/01     NY (WTC)    03-cv-9849                 1, at 739, 8487    Child                       4023 at 25       $        8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                                                                                                                                26, 29, at 2442,
                                                                                                                           United                                                                             United                                                            8397-1, at 27,
4081 Janice; Karen Lynne; Ellen      Booth; Renzo             Warren            Gordon          Van Auken                  States          Kenneth               Warren      Van Auken                        States         9/11/01     NY (WTC)    03-cv-9849                 8433               Parent                      5087 at 20       $        8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                             United                                                            1:02-cv-01616,
4082                                                          Cheryl                            Rinbrand                   States          Daniel                Maurice     Van Laere                        States         9/11/01     NY (WTC)    03-cv-9849                 77, at P2695       Spouse                      5951 at 7        $       12,500,000.00 $   37,500,000.00
                                                                                                                           United                                                                             United                                                            1:02-cv-01616,
4083                                                          Jacqueline                        Van Laere                  States          Daniel                Maurice     Van Laere                        States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4612    Sibling                     4023 at 25       $        4,250,000.00 $   12,750,000.00




                                                                                                                                                                                            Page 157 of 170
                                                                                                                Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                 Filed 04/23/24             Page 159 of 171
                                                                                                                                                                                EXHIBIT B-1
                                                                                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                                  Claimant                                                                                 9/11 Decedent                                                                Claim Information                                                   Solatium Damages




                                                                                                                             Nationality




                                                                                                                                                                                                                Nationality
                                                                                                                              on 9/11




                                                                                                                                                                                                                 on 9/11
                                                                                                                Claimant                                                                                                        Date of                                           Amendments &                        Document
 #        First       Middle            Last         Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle          Last          Suffix                                9/11 Site       Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                  Suffix                                                                                                        Death                                              Substitutions                        ation



                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                           United                                                                              United                                                            3, at 1718, 8397-
4084 Rita; Paul   Marie; Edward   Wiley; Van Laere            Margaret          Rita            Van Laere                  States          Daniel                Maurice       Van Laere                       States         9/11/01     NY (WTC)    03-cv-9849                 1, at 27, 8433      Parent                      4126 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                              United                                                            1:02-cv-01616,
4085                                                          Paul              Edward          Van Laere                  States          Daniel                Maurice       Van Laere                       States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4610     Sibling                     4023 at 25      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                              United                                                            1:02-cv-01616,
4086                                                          Rita              Marie           Wiley                      States          Daniel                Maurice       Van Laere                       States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4611     Sibling                     4023 at 25      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3993,
                                                                                                                           United                                                                              United                                                            8393-1, at 408,
4087                                                          Corinne           Eileen          Varacchi                   States          Frederick             Thomas        Varacchi                        States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5061 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3993,
                                                                                                                           United                                                                              United                                                            8393-1, at 26,
4088                                                          Eileen                            Varacchi                   States          Frederick             Thomas        Varacchi                        States         9/11/01     NY (WTC)    03-cv-9849                 8487                Spouse                      5061 at 13      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3993,
                                                                                                                           United                                                                              United                                                            8393-1, at 409,
4089                                                          Thomas            Frederick       Varacchi                   States          Frederick             Thomas        Varacchi                        States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5061 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3993,
                                                                                                                           United                                                                              United                                                            8393-1, at 410,
4090                                                          Tyler             Louis           Varacchi                   States          Frederick             Thomas        Varacchi                        States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5061 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3994,
                                                                                                                                                                                                               United                                                            8393-1, at 27,
4091                                                          Srinivasa         S.R.            Varadhan                   India           Gopalakrishnan                      Varadhan                        States         9/11/01     NY (WTC)    03-cv-9849                 8487                Parent                      5848 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United                                                            1:02-cv-01616,
4092                                                          Vasundara                         Varadhan                   India           Gopalakrishnan                      Varadhan                        States         9/11/01     NY (WTC)    03-cv-9849                 232, at P3995       Parent                      5848 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 2410,
                                                                                                                           United                                                                                                                                                8393-1, at 264,
4093                                                          Kevin             Robert          Vargas                     States          David                               Vargas                          Bolivia        9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 26, 29, at 2410,
                                                                                                                           United                                                                                                                                                8393-1, at 265,
4094                                                          Leslie            Michelle        Vargas                     States          David                               Vargas                          Bolivia        9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5138 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United                                                            1:02-cv-01616,
4095                                                          Marcella          Jean            Tuohy                      Unknown         Lawrence              Gerard        Veling                          States         9/11/01     NY (WTC)    03-cv-9849                 313, at P4758       Sibling                     3666 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 313, at P4755,
                                                                                                                           United                                                                              United                                                            8393-1, at 773,
4096                                                          Cynthia                           Veling                     States          Lawrence              Gerard        Veling                          States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5848 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 313, at P4755,
                                                                                                                           United                                                                              United                                                            8393-1, at 48,
4097                                                          Dianne            J.              Veling                     States          Lawrence              Gerard        Veling                          States         9/11/01     NY (WTC)    03-cv-9849                 8487                Spouse                      5848 at 10      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 313, at P4755,
                                                                                                                           United                                                                              United                                                            8393-1, at 774,
4098                                                          Kevin                             Veling                     States          Lawrence              Gerard        Veling                          States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5848 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 313, at P4755,
                                                                                                                           United                                                                              United                                                            8393-1, at 775,
4099                                                          Ryan                              Veling                     States          Lawrence              Gerard        Veling                          States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5848 at 10      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3997,
                                                                                                                           United                                                                              United                                                            8393-1, at 379,
4100                                                          Jessica                           Ventura                    States          Anthony               M.            Ventura                         States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3997,
                                                                                                                           United                                                                              United                                                            8393-1, at 4,
4101                                                          Lisa              A.              Ventura                    States          Anthony               M.            Ventura                         States         9/11/01     NY (WTC)    03-cv-9849                 8487                Spouse                      5061 at 14      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3997,
                                                                                                                           United                                                                              United                                                            8393-1, at 380,
4102                                                          Nicole                            Ventura                    States          Anthony               M.            Ventura                         States         9/11/01     NY (WTC)    03-cv-9849                 8487                Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                              United                                                            1:02-cv-01616,
4103                                                          Catherine         Louise          Pedersen                   States          Loretta               A.            Vero                            States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 2413     Sibling                     4023 at 25      $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                              United                                                            8679-1, at 491,
4104                                                          Douglas                           Vialonga                   States          Christopher                         Vialonga                        States         9/11/01     NY (WTC)    03-cv-9849                 8696                Sibling                     5087 at 20      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P3998,
                                                                                                                           United                                                                              United                                                            8393-1, at 12,
4105                                                          Gary              J.              Vialonga                   States          Christopher                         Vialonga                        States         9/11/01     NY (WTC)    03-cv-9849                 8487                Sibling                     5087 at 20      $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                             Page 158 of 170
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                                                                                                                                                                            EXHIBIT B-1
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                             Claimant                                                                                9/11 Decedent                                                                   Claim Information                                                   Solatium Damages




                                                                                                                          Nationality




                                                                                                                                                                                                            Nationality
                                                                                                                           on 9/11




                                                                                                                                                                                                             on 9/11
                                                                                                             Claimant                                                                                                       Date of                                            Amendments &                        Document
 #       First       Middle             Last   Suffix     Claimant First   Claimant Middle Claimant Last                                         First            Middle         Last             Suffix                              9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                               Suffix                                                                                                       Death                                               Substitutions                        ation

                                                                                                                        United                                                                             United                                                             1:02-cv-01616,
4106                                                    Katherine                          Vialonga                     States          Christopher                        Vialonga                        States         9/11/01     NY (WTC)     03-cv-9849                 232, at P3999       Parent                      4023 at 25      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4000,
                                                                                                                        United                                                                             United                                                             8393-1, at 71,
4107                                                    Jill               Robin           Vicario                      States          Robert                             Vicario                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5848 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4000,
                                                                                                                        United                                                                             United                                                             8393-1, at 1147,
4108                                                    Savannah           Rose            Vicario                      States          Robert                             Vicario                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:18-cv-11582,
                                                                                                                        United                                                                             United                                                             1, at 16; 8679-1,
4109                                                    Ariana                             Vigiano                      States          John                 Thomas        Vigiano           II            States         9/11/01     NY (Other)   03-cv-9849                 at 494, 8696        Child                       5088 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                        United                                                                             United                                                             1, at 637, 8393-
4110                                                    James              Vincent         Vigiano                      States          Joseph               Vincent       Vigiano                         States         9/11/01     NY (Other)   03-cv-9849                 1, at 689, 8487     Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
4111                                                    Jeanette                           Vigiano                      Unknown         John                 Thomas        Vigiano           II            States         9/11/01     NY (Other)   03-cv-9849                 432, at P4962       Parent                      3666 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
4112                                                    Jeanette                           Vigiano                      Unknown         Joseph               Vincent       Vigiano                         States         9/11/01     NY (Other)   03-cv-9849                 432, at P4962       Parent                      3666 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              432, at P4961,
                                                                                                                        United                                                                             United                                                             8397-1, at 27,
4113 Jeanette                     Vigiano               John               Thomas          Vigiano                      States          John                 Thomas        Vigiano           II            States         9/11/01     NY (Other)   03-cv-9849                 8433                Parent                      3666 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                             United                                                             1:02-cv-01616,
4114 Jeanette                     Vigiano               John               Thomas          Vigiano                      States          Joseph               Vincent       Vigiano                         States         9/11/01     NY (Other)   03-cv-9849                 432, at P4963       Parent                      3666 at 12      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                        United                                                                             United                                                             1, at 637, 8393-
4115                                                    John               Michael         Vigiano                      States          Joseph               Vincent       Vigiano                         States         9/11/01     NY (Other)   03-cv-9849                 1, at 690, 8487     Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                        United                                                                             United                                                             1, at 637, 8393-
4116                                                    Joseph             John            Vigiano                      States          Joseph               Vincent       Vigiano                         States         9/11/01     NY (Other)   03-cv-9849                 1, at 691, 8487     Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                        United                                                                             United                                                             1, at 637, 8393-
4117                                                    Kathleen           M.              Vigiano                      States          Joseph               Vincent       Vigiano                         States         9/11/01     NY (Other)   03-cv-9849                 1, at 43, 8487      Spouse                      5087 at 20      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:18-cv-11582,
                                                                                                                        United                                                                             United                                                             1, at 17; 8679-1,
4118                                                    Nicolette          Maria           Vigiano                      States          John                 Thomas        Vigiano           II            States         9/11/01     NY (Other)   03-cv-9849                 at 492, 8696        Child                       5088 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:18-cv-11582,
                                                                                                                                                                                                           United                                                             1, at 15; 8679-1,
4119                                                    Maria                              Vigiano-Trapp                Unknown         John                 Thomas        Vigiano           II            States         9/11/01     NY (Other)   03-cv-9849                 at 493, 8696        Spouse                      5087 at 20      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
4120                                                    Diane              Frances         Antolos                      Unknown         Frank                J.            Vignola           Jr.           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P4001       Sibling                     3666 at 12      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4002,
                                                                                                                        United                                                                             United                                                             8393-1, at 399,
4121                                                    Anthony            Frank           Vignola                      States          Frank                J.            Vignola           Jr.           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4002,
                                                                                                                        United                                                                             United                                                             8393-1, at 25,
4122                                                    Ellen              Barbara         Vignola                      States          Frank                J.            Vignola           Jr.           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 20      $        12,500,000.00 $   37,500,000.00
                                                                                                                        United                                                                             United                                                             1:02-cv-01616,
4123 Diane       Frances          Antolos               Frances                            Vignola                      States          Frank                J.            Vignola           Jr.           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P4003       Parent                      3666 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
4124                                                    James              Anthony         Vignola                      Unknown         Frank                J.            Vignola           Jr.           States         9/11/01     NY (WTC)     03-cv-9849                 232, at P4004       Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4002,
                                                                                                                        United                                                                             United                                                             8393-1, at 400,
4125                                                    Sarah              Catherine       Vignola                      States          Frank                J.            Vignola           Jr.           States 9/11/01             NY (WTC)     03-cv-9849                 8487                Child                       5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                             Unknow                                                             1:02-cv-01616,
4126                                                    Diane                              Braitsch                     States          Joseph               B.            Vilardo                         n      9/11/01             NY (WTC)     03-cv-9849                 155, at P3137       Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                             Unknow                                                             1:02-cv-01616,
4127                                                    Margaret           Rose            McLean                       States          Joseph               B.            Vilardo                         n      9/11/01             NY (WTC)     03-cv-9849                 155, at P3138       Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              155, at P3139,
                                                                                                                        United                                                                             Unknow                                                             8397-1, at 27,
4128 Diane                        Braitsch              Antoinette                         Vilardo                      States          Joseph               B.            Vilardo                         n      9/11/01             NY (WTC)     03-cv-9849                 8433                Parent                      4126 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              155, at P3140,
                                                                                                                        United                                                                             Unknow                                                             8397-1, at 27,
4129 Diane                        Braitsch              Benedict           J.              Vilardo                      States          Joseph               B.            Vilardo                         n      9/11/01             NY (WTC)     03-cv-9849                 8433                Parent                      4126 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                        United                                                                             Unknow                                                             1:02-cv-01616,
4130                                                    Janet                              Vilardo-Farrell              States          Joseph               B.            Vilardo                         n      9/11/01             NY (WTC)     03-cv-9849                 155, at P3141       Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                        United                                                                             United                                                             1:02-cv-01616,
4131                                                    Maria              Celia           Suarez                       States          Sergio                             Villanueva                      States 9/11/01             NY (Other)   03-cv-9849                 26, 29, at 4641     Sibling                     5087 at 20      $         4,250,000.00 $   12,750,000.00




                                                                                                                                                                                        Page 159 of 170
                                                                                                            Case 1:03-md-01570-GBD-SN                                       Document 9716-2                                   Filed 04/23/24              Page 161 of 171
                                                                                                                                                                            EXHIBIT B-1
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                      Personal Representative                                            Claimant                                                                                9/11 Decedent                                                                     Claim Information                                                   Solatium Damages




                                                                                                                         Nationality




                                                                                                                                                                                                               Nationality
                                                                                                                          on 9/11




                                                                                                                                                                                                                on 9/11
                                                                                                            Claimant                                                                                                           Date of                                            Amendments &                        Document
 #       First         Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                        First             Middle            Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                              Suffix                                                                                                           Death                                               Substitutions                        ation

                                                                                                                       United                                                                                 United                                                             1:02-cv-01616,
4132                                                      Tanya             Villanueva      Tepper                     States          Sergio                               Villanueva                        States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4639     Fiancee                     5949 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                       United                                                                                 United                                                             1:02-cv-01616,
4133                                                      Delia                             Villanueva                 States          Sergio                               Villanueva                        States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4638     Parent                      5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                                 United                                                             1:02-cv-01616,
4134                                                      Steve                             Villanueva                 States          Sergio                               Villanueva                        States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4640     Sibling                     5087 at 20      $         4,250,000.00 $   12,750,000.00

                                                                                                                       United                                                                                 United                                                             1:03-md-01570,
4135                                                      Carrie            Beth            Vincent                    States          Melissa                              Vincent                           States         9/11/01     NY (WTC)     03-cv-9849                 602, at P5512       Sibling                     4023 at 25      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:03-md-01570,
                                                                                                                                                                                                                                                                                 602, at P5509,
                                                                                                                       United                                                                                 United                                                             8393-1, at 55,
4136                                                      David             Relf            Vincent                    States          Melissa                              Vincent                           States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 25      $         8,500,000.00 $   25,500,000.00

                                                                                                                       United                                                                                 United                                                             1:03-md-01570,
4137                                                      Lucille           Anne            Vincent                    States          Melissa                              Vincent                           States         9/11/01     NY (WTC)     03-cv-9849                 602, at P5510       Parent                      4023 at 25      $         8,500,000.00 $   25,500,000.00

                                                                                                                       United                                                                                 United                                                             1:03-md-01570,
4138                                                      Matthew           David           Vincent                    States          Melissa                              Vincent                           States         9/11/01     NY (WTC)     03-cv-9849                 602, at P5511       Sibling                     4023 at 25      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 305, at P4558,
                                                                                                                       United                                                                                 United                                                             8393-1, at 24,
4139                                                      Nunzio            G.              Virgilio                   States          Francine              Ann            Virgilio                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Sibling                     5848 at 11      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                       United                                                                                 United                                                             3, at 1722, 8397-
4140 Maria       Ann                Visciano              Frank                             Visciano                   States          Joseph                Gerard         Visciano                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 28, 8433      Parent                      5062 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                                 United                                                             1:02-cv-01616,
4141                                                      Jason             Robert          Visciano                   States          Joseph                Gerard         Visciano                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 641           Sibling                     4023 at 25      $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                                 United                                                             1:02-cv-01616,
4142                                                      Maria             Ann             Visciano                   States          Joseph                Gerard         Visciano                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 640           Parent                      4023 at 25      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                                 United                                                             1:02-cv-01616,
4143                                                      Robert            Thomas          Visciano                   States          Joseph                Gerard         Visciano                          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 642           Sibling                     4023 at 25      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
4144                                                      Ina                               Leventhal                  Unknown         Joshua                S.             Vitale                            States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2754        Spouse                      5951 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 155, at P3142,
                                                                                                                       United                                                                                 United                                                             8393-1, at 43,
4145                                                      Susan             R.              Rosen                      States          Joshua                S.             Vitale                            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 25      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at AP224,
                                                                                                                       United                                                                                 United                                                             5284-1, at 11,
4146                                                      Brian             Peter           Vitale                     States          Joshua                S.             Vitale                            States         9/11/01     NY (WTC)     03-cv-9849                 5296                Sibling                     5061 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                       United                                                                                 United                                                             8679-1, at 496,
4147                                                      Michael           B.              Vitale                     States          Joshua                S.             Vitale                            States         9/11/01     NY (WTC)     03-cv-9849                 8696                Parent                      5087 at 20      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 77, at P2739,
                                                                                                                       United                                                                                 United                                                             8393-1, at 2,
4148                                                      Shirimattie                       Lalman                     States          Alfred                               Vukosa                            States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5087 at 21      $        12,500,000.00 $   37,500,000.00
                                                                                                                       United                                                                                 United                                                             1:02-cv-01616,
4149                                                      Adam              Steven          Vukosa                     States          Alfred                               Vukosa                            States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2736        Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                       United                                                                                 United                                                             1:02-cv-01616,
4150                                                      Austin            A.              Vukosa                     States          Alfred                               Vukosa                            States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2737        Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 77, at P2738,
                                                                                                                       United                                                                                 United                                                             8397-1, at 28,
4151 Sonja       M.                 Vukosa                Irma                              Vukosa                     States          Alfred                               Vukosa                            States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      4146 at 3       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 77, at P2740,
                                                                                                                       United                                                                                 United                                                             8397-1, at 28,
4152 Sonja       M.                 Vukosa                Sime                              Vukosa                     States          Alfred                               Vukosa                            States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      5848 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                              United                                                             1:02-cv-01616,
4153                                                      Sonja             M.              Vukosa                     Unknown         Alfred                               Vukosa                            States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2741        Sibling                     4023 at 25      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P4006,
                                                                                                                       United                                                                                 United                                                             8393-1, at 28,
4154                                                      Nassima           Moulfi          Wachtler                   States          Gregory               Kamal Bruno    Wachtler                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 25      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 232, at P4007,
                                                                                                                       United                                                                                 United                                                             8397-1, at 28,
4155 Nassima     Moulfi             Wachtler              Paul              William         Wachtler                   States          Gregory               Kamal Bruno    Wachtler                          States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      4023 at 25      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                 305, at P4559,
                                                                                                                       United                                                                                 United                                                             8393-1, at 54,
4156                                                      Michael           Owen            Wahlstrom                  States          Mary                  Alice          Wahlstrom                         States         9/11/01     NY (AA11)    03-cv-9849                 8487                Child                       4023 at 25      $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                            Page 160 of 170
                                                                                                                 Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                 Filed 04/23/24              Page 162 of 171
                                                                                                                                                                                 EXHIBIT B-1
                                                                                                                                                              SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                       Personal Representative                                               Claimant                                                                                  9/11 Decedent                                                                 Claim Information                                                 Solatium Damages




                                                                                                                              Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                               on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                                 Claimant                                                                                                        Date of                                            Amendments &                      Document
 #       First          Middle                Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle          Last          Suffix                                9/11 Site        Case       Complaint                       Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                   Suffix                                                                                                        Death                                               Substitutions                      ation

                                                                                                                                                                                                                United                                                             8679-1, at 498,
4157                                                          Norman            Oliver          Wahlstrom       Jr.         Germany         Mary                  Alice         Wahlstrom                       States         9/11/01     NY (AA11)    03-cv-9849                 8696              Child                       7188 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             8679-1, at 497,
4158                                                          Phillip           Andrew          Wahlstrom                   States          Mary                  Alice         Wahlstrom                       States         9/11/01     NY (AA11)    03-cv-9849                 8696              Child                       5061 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:03-cv-9849,
                                                                                                                            United                                                                              United                                                             HAND FILED, at
4159                                                          Scott             Eric            Wahlstrom                   States          Mary                  Alice         Wahlstrom                       States         9/11/01     NY (AA11)    03-cv-9849                 P5294             Child                       4023 at 25      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   305, at P4560,
                                                                                                                            United                                                                              United                                                             8393-1, at 29,
4160                                                          Mary              Louise          White                       States          Honor                 Elizabeth     Wainio                          States         9/11/01     PA (UA93)    03-cv-9849                 8487              Parent                      4023 at 25      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
4161                                                          Ada               Esther          Dolch                       States          Wendy                 A.            Wakeford                        States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4971     Sibling                     4023 at 25      $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
4162                                                          Raquel                            Negron                      States          Wendy                 A.            Wakeford                        States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4970     Sibling                     5062 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   432, at P4966,
                                                                                                                            United                                                                              United                                                             8393-1, at 86,
4163                                                          Clara             L.              Pachomski                   States          Wendy                 A.            Wakeford                        States         9/11/01     NY (WTC)     03-cv-9849                 8487              Sibling                     4126 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
4164                                                          Miriam                            Paine                       States          Wendy                 A.            Wakeford                        States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4969     Sibling                     4023 at 25      $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
4165                                                          Clara             Luz             Rosario                     States          Wendy                 A.            Wakeford                        States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4967     Parent                      4023 at 25      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
4166                                                          Edwin                             Rosario                     States          Wendy                 A.            Wakeford                        States         9/11/01     NY (WTC)     03-cv-9849                 432, at P4968     Sibling                     4023 at 25      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                United                                                             305, at P4561,
                                                                                                                            United                                                                              Kingdo                                                             8393-1, at 80,
4167                                                          Christopher       Thomas          Walker                      States          Benjamin              James         Walker                          m              9/11/01     NY (WTC)     03-cv-9849                 8487              Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                United                                                             305, at P4561,
                                                                                                                            United                                                                              Kingdo                                                             8393-1, at 81,
4168                                                          Henry             George          Walker                      States          Benjamin              James         Walker                          m              9/11/01     NY (WTC)     03-cv-9849                 8487              Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                United                                                             305, at P4561,
                                                                                                                            United                                                                              Kingdo                                                             8393-1, at 5,
4169                                                          Laura             Theresa         Walker                      States          Benjamin              James         Walker                          m              9/11/01     NY (WTC)     03-cv-9849                 8487              Spouse                      5087 at 21      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                United                                                             305, at P4561,
                                                                                                                            United                                                                              Kingdo                                                             8393-1, at 82,
4170                                                          Samantha          Nicole          Walker                      States          Benjamin              James         Walker                          m              9/11/01     NY (WTC)     03-cv-9849                 8487              Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
4171                                                          Noreen            V.              McDonough                   States          Mitchel               Scott         Wallace                         States         9/11/01     NY (Other)   03-cv-9849                 77, at P2664      Spouse                      5951 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   432, at P4972,
                                                                                                                            United                                                                              United                                                             8393-1, at 60,
4172                                                          Michele           Jan             Miller                      States          Mitchel               Scott         Wallace                         States         9/11/01     NY (Other)   03-cv-9849                 8487              Sibling                     4023 at 25      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   432, at P4973,
                                                                                                                            United                                                                              United                                                             8397-1, at 28,
4173 Michele     Jan                 Miller                   Kenneth                           Wallace                     States          Mitchel               Scott         Wallace                         States         9/11/01     NY (Other)   03-cv-9849                 8433              Parent                      7188 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
4174                                                          Rita              Elaine          Wallace                     States          Mitchel               Scott         Wallace                         States         9/11/01     NY (Other)   03-cv-9849                 432, at P4974     Parent                      5062 at 6       $         8,500,000.00 $   25,500,000.00

                                                                                                                            United                                                                              United                                                             1:03-md-01570,
4175                                                          Ashley            Jordan          Wallens                     States          Matthew               Blake         Wallens                         States         9/11/01     NY (WTC)     03-cv-9849                 432, at P5463     Sibling                     5087 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   432, at P4975,
                                                                                                                            United                                                                              United                                                             8393-1, at 54,
4176                                                          Raina             Allison         Wallens                     States          Matthew               Blake         Wallens                         States         9/11/01     NY (WTC)     03-cv-9849                 8487              Spouse                      5061 at 14      $        12,500,000.00 $   37,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
4177                                                          Allison           Ann             Dimarzio                    States          Barbara               P.            Walsh                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2418   Child                       4023 at 25      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
4178                                                          Jennifer          Lynn            Landstrom                   States          Barbara               P.            Walsh                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2419   Child                       4023 at 25      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
4179                                                          James             Joseph          Walsh           Jr.         States          Barbara               P.            Walsh                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4658   Child                       4023 at 25      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
4180                                                          James             Joseph          Walsh                       States          Barbara               P.            Walsh                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2417   Spouse                      5061 at 14      $        12,500,000.00 $   37,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
4181                                                          Jeffrey           Michael         Walsh                       States          Barbara               P.            Walsh                           States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4657   Child                       4023 at 25      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
4182                                                          Karen             L.              Ciaccio                     States          Jeffrey               P.            Walz                            States         9/11/01     NY (Other)   03-cv-9849                 3, at 1727        Sibling                     4023 at 25      $         4,250,000.00 $   12,750,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
4183                                                          Bradley           Matthew         Walz                        States          Jeffrey               P.            Walz                            States         9/11/01     NY (Other)   03-cv-9849                 77, at P2747      Child                       5061 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                            United                                                                              United                                                             1:02-cv-01616,
4184 Karen       L.                  Ciaccio                  Jennie                            Walz                        States          Jeffrey               P.            Walz                            States         9/11/01     NY (Other)   03-cv-9849                 3, at 1725        Parent                      3666 at 13      $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                                           EXHIBIT B-1
                                                                                                                                                        SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                   Personal Representative                                             Claimant                                                                                   9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                        Nationality




                                                                                                                                                                                                            Nationality
                                                                                                                         on 9/11




                                                                                                                                                                                                             on 9/11
                                                                                                           Claimant                                                                                                         Date of                                            Amendments &                       Document
 #       First       Middle             Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First             Middle          Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award             Amount            Treble          Notes
                                                                                                             Suffix                                                                                                         Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              77, at P2748,
                                                                                                                      United                                                                               United                                                             8393-1, at 34,
4185                                                    Rani              Deborah         Walz                        States          Jeffrey               P.             Walz                            States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5061 at 14       $        12,500,000.00 $   37,500,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
4186 Jennie                      Walz                   Raymond           George          Walz                        States          Jeffrey               P.             Walz                            States         9/11/01     NY (Other)   03-cv-9849                 3, at 1724         Parent                      3666 at 13       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
4187                                                    Raymond           Edward          Walz                        States          Jeffrey               P.             Walz                            States         9/11/01     NY (Other)   03-cv-9849                 3, at 1726         Sibling                     5062 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              155, at P3143,
                                                                                                                      United                                                                               United                                                             8393-1, at 86,
4188                                                    Wen                               Shi                         States          Weibin                               Wang                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5087 at 21       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              155, at P3143,
                                                                                                                      United                                                                               United                                                             8393-1, at 1395,
4189                                                    Marina                            Wang                        States          Weibin                               Wang                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 21       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              155, at P3143,
                                                                                                                      United                                                                               United                                                             8393-1, at 1396,
4190                                                    Raymond                           Wang                        States          Weibin                               Wang                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 21       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              155, at P3143,
                                                                                                                      United                                                                               United                                                             8393-1, at 1397,
4191                                                    Richard                           Wang                        States          Weibin                               Wang                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 21       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             8679-1, at 500,
4192                                                    Aaron             Scott           Warchola                    States          Michael                              Warchola                        States         9/11/01     NY (Other)   03-cv-9849                 8696               Child                       7188 at 15       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             8679-1, at 499,
4193                                                    Amy               Sarah           Warchola                    States          Michael                              Warchola                        States         9/11/01     NY (Other)   03-cv-9849                 8696               Child                       7188 at 15       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4008,
                                                                                                                      United                                                                               United                                                             8393-1, at 60,
4194                                                    Denis             Andrew          Warchola                    States          Michael                              Warchola                        States         9/11/01     NY (Other)   03-cv-9849                 8487               Sibling                     4023 at 25       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              432, at P4976,
                                                                                                                      United                                                                               United                                                             8397-1, at 28,
4195 Denis       Andrew          Warchola               Michael                           Warchola        Sr.         States          Michael                              Warchola                        States         9/11/01     NY (Other)   03-cv-9849                 8433               Parent                      5138 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:03-cv-9849,
                                                                                                                                                                                                                                                                              HAND FILED, at
                                                                                                                                                                                                           United                     NY                                      P5299, 8393-1,
4196                                                    Susanne           Ward            Baker                       Unknown         Timothy               Ray            Ward                            States         9/11/01     (UA175)      03-cv-9849                 at 83, 8487        Parent                      3382             $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
4197                                                    Susan                             Moore                       States          Stephen               Gordon         Ward                            States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4665    Sibling                     5979 at 3        $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
4198                                                    Gordon            Malon           Ward                        States          Stephen               Gordon         Ward                            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P4010      Parent                      4126 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             8679-1, at 503,
4199                                                    Mary              Jane            Edgar                       States          James                 Arthur         Waring                          States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 21       $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                               United                                                             8679-1, at 502,
4200                                                    Helen             Jean            Feola                       States          James                 Arthur         Waring                          States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5087 at 21       $         4,250,000.00 $   12,750,000.00
                                                                                                                      United                                                                               United                                                             8679-1, at 501,
4201                                                    Catherine         Mary            Waring                      States          James                 Arthur         Waring                          States         9/11/01     NY (WTC)     03-cv-9849                 8696               Parent                      5061 at 14       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4011,
                                                                                                                      United                                                                               United                                                             8393-1, at 481,
4202                                                    Jamie             Rose            Waring                      States          James                 Arthur         Waring                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 21       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4011,
                                                                                                                      United                                                                               United                                                             8393-1, at 482,
4203                                                    Jessica           Marie           Waring                      States          James                 Arthur         Waring                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 21       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4011,
                                                                                                                      United                                                                               United                                                             8393-1, at 483,
4204                                                    Maria             Catherine       Waring                      States          James                 Arthur         Waring                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 21       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4011,
                                                                                                                      United                                                                               United                                                             8393-1, at 30,
4205                                                    Maria             Ann             Waring                      States          James                 Arthur         Waring                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5087 at 21       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4011,
                                                                                                                      United                                                                               United                                                             8393-1, at 484,
4206                                                    Stephanie         Ann             Waring                      States          James                 Arthur         Waring                          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5087 at 21       $         8,500,000.00 $   25,500,000.00
                                                                                                                      United                                                                               United                                                             1:02-cv-01616,
4207                                                    Brandon           Lamont          Washington                  States          Derrick               Christopher    Washington                      States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2424    Sibling                     7188 at 15       $         4,250,000.00 $   12,750,000.00




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                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                       Personal Representative                                             Claimant                                                                              9/11 Decedent                                                                  Claim Information                                                  Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                            Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                             on 9/11
                                                                                                              Claimant                                                                                                      Date of                                            Amendments &                       Document
 #        First         Middle             Last    Suffix    Claimant First   Claimant Middle Claimant Last                                        First            Middle        Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                Suffix                                                                                                      Death                                               Substitutions                       ation


                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 2423,
                                     Washington-                                                                                                                                                                                                                              8393-1, at 297,
                                     Dean;                                                                               United                                                                            United                                                             8487, 8397-1, at
4208 Kiesha; Malik Laneen; Ziaire    Washington             Christopher       Shawn           Washington                 States          Derrick               Christopher   Washington                    States         9/11/01     NY (WTC)     03-cv-9849                 28, 8433           Child                       5061 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 2423,
                                                                                                                         United                                                                            United                                                             8393-1, at 295,
4209                                                        Devin             T.              Washington                 States          Derrick               Christopher   Washington                    States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5061 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                            United                                                             1:02-cv-01616,
4210                                                        Lettie            Mae             Washington                 States          Derrick               Christopher   Washington                    States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2422    Parent                      5848 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 2423,
                                                                                                                         United                                                                            United                                                             8393-1, at 296,
4211                                                        Malik             Ziaire          Washington                 States          Derrick               Christopher   Washington                    States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5061 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                            United                                                             1:02-cv-01616,
4212                                                        Tracey            Lamar           Washington                 States          Derrick               Christopher   Washington                    States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2425    Sibling                     7188 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 2423,
                                                                                              Washington-                United                                                                            United                                                             8393-1, at 19,
4213                                                        Kiesha            Laneen          Dean                       States          Derrick               Christopher   Washington                    States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      5062 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              155, at P3146,
                                                                                                                         United                                                                            United                                                             8393-1, at 143,
4214                                                        Jaclyn            Irene           Sforza                     States          Charles                             Waters                        States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5848 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              232, at P4012,
                                                                                                                         United                                                                            United                                                             8393-1, at 32,
4215                                                        Karen             Marie           Smart                      States          James                 Thomas        Waters           Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487               Sibling                     4023 at 26      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              155, at P3146,
                                                                                                                         United                                                                            United                                                             8393-1, at 144,
4216                                                        Allison           Marie           Waters                     States          Charles                             Waters                        States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5138 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              155, at P3146,
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                           United                                                             1, at 363, 8393-
4217                                                        Barbara                           Waters                     Unknown         Charles                             Waters                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 9, 8487      Spouse                      5138 at 8       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              155, at P3146,
                                                                                                                         United                                                                            United                                                             8393-1, at 145,
4218                                                        Charles           Edward          Waters                     States          Charles                             Waters                        States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       5848 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 4672,
                                                                                                                         United                                                                            United                                                             8393-1, at 1004,
4219                                                        Christopher       Patrick         Waters                     States          Patrick               J.            Waters                        States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 4672,
                                                                                                                                                                                                           United                                                             8393-1, at 1005,
4220                                                        Daniel            Joseph          Waters                     Unknown         Patrick               J.            Waters                        States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00

                                                                                                                         United                                                                            United                                                             1:02-cv-01616,
4221                                                        Janice            Ann             Waters                     States          Patrick               J.            Waters                        States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4672    Spouse                      5087 at 21      $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                            United                                                             1:02-cv-01616,
4222                                                        Joanne            Marie           Waters                     States          James                 Thomas        Waters           Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P4013      Parent                      4023 at 26      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                            United                                                             1:02-cv-01616,
4223                                                        Kristopher        Thomas          Waters                     States          James                 Thomas        Waters           Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 232, at P4014      Sibling                     4023 at 26      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              26, 29, at 2488,
                                                                                                                         United                                                                            Unknow                                                             5284-1, at 11,
4224                                                        Brian             Joseph          Weaver                     States          Walter                              Weaver                        n      9/11/01             NY (Other)   03-cv-9849                 5296               Sibling                     4023 at 26      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              305, at P4569,
                                                                                                                                                                                                           United                     NY                                      8393-1, at 88,
4225                                                        Lisa              Anne            Weems                      Unknown         William               Michael       Weems                         States         9/11/01     (UA175)      03-cv-9849                 8487               Spouse                      5848 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                            United                                                             1:02-cv-01616,
4226                                                        Patricia          Mary            Wangerman                  States          Michael               T.            Weinberg                      States         9/11/01     NY (Other)   03-cv-9849                 1, at 648          Sibling                     4023 at 26      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                            United                                                             1:02-cv-01616,
4227                                                        John              Francis         Weinberg                   States          Michael               T.            Weinberg                      States         9/11/01     NY (Other)   03-cv-9849                 1, at 647          Sibling                     4023 at 26      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                              1:02-cv-01616,
                                                                                                                                                                                                                                                                              77, at P2751,
                                                                                                                         United                                                                            United                                                             8397-1, at 28,
4228 Marilyn        Hope             Weinberg               Leonard                           Weinberg                   States          Steven                              Weinberg                      States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      4126 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                           United                                                             1:02-cv-01616,
4229                                                        Marilyn           Hope            Weinberg                   Unknown         Steven                              Weinberg                      States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2752       Parent                      3666 at 13      $         8,500,000.00 $   25,500,000.00




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                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                       Personal Representative                                             Claimant                                                                               9/11 Decedent                                                                     Claim Information                                                  Solatium Damages




                                                                                                                            Nationality




                                                                                                                                                                                                                Nationality
                                                                                                                             on 9/11




                                                                                                                                                                                                                 on 9/11
                                                                                                               Claimant                                                                                                         Date of                                            Amendments &                       Document
 #       First          Middle              Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle           Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                 Suffix                                                                                                         Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                     Weinberg;                                                                                                                                                                 United                                                             1, at 646, 8397-
4230 John; Morton Francis            Weinberg               Mary              P.              Weinberg                    Unknown         Michael               T.            Weinberg                         States         9/11/01     NY (Other)   03-cv-9849                 1, at 28, 8433     Parent                      5138 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
4231                                                        Morton                            Weinberg                    States          Michael               T.            Weinberg                         States         9/11/01     NY (Other)   03-cv-9849                 1, at 645          Parent                      5062 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
4232                                                        Paul              Howard          Weinberg                    Unknown         Steven                              Weinberg                         States         9/11/01     NY (WTC)     03-cv-9849                 77, at P2753       Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
4233                                                        Kathlyn           Mae             Carriker                    States          Steven                George        Weinstein                        States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4679    Spouse                      5848 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                  1:03-md-01570,
                                                                                                                                                                                                                                                                                  3477, at 3829;
                                                                                                                          United                                                                               United                                                             8679-1, at 504,
4234                                                        A.                R.              T.                          States          Steven                George        Weinstein                        States         9/11/01     NY (WTC)     03-cv-9849                 8696               Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
4235                                                        Joan              Weiss           Prowler                     States          David                 Martin        Weiss                            States         9/11/01     NY (Other)   03-cv-9849                 77, at P2689       Parent                      4023 at 26      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
4236                                                        Alissa            Loriann         Weiss                       States          David                 Martin        Weiss                            States         9/11/01     NY (Other)   03-cv-9849                 77, at P2755       Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
4237                                                        Barry             Todd            Weiss                       States          David                 Martin        Weiss                            States         9/11/01     NY (Other)   03-cv-9849                 77, at P2756       Sibling                     5061 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
4238                                                        Michael           Paul            Weiss                       States          David                 Martin        Weiss                            States         9/11/01     NY (Other)   03-cv-9849                 77, at P2758       Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
4239                                                        Michele                           Weiss-Little                States          David                 Martin        Weiss                            States         9/11/01     NY (Other)   03-cv-9849                 77, at P2759       Sibling                     5061 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
4240                                                        Adele             Nina            Welty                       States          Timothy                             Welty                            States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4683    Parent                      3666 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
4241                                                        Mary              Louise          Ball                        Unknown         Peter                 Matthew       West                             States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4694    Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
4242                                                        Catherine         Cecilia         McLaughlin                  States          Peter                 Matthew       West                             States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4693    Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
4243                                                        Meredith          West            Nelson                      States          Peter                 Matthew       West                             States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4689    Child                       5062 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
4244                                                        Regina            Marie           Townsend                    Unknown         Peter                 Matthew       West                             States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4695    Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 4691,
                                                                                                                          United                                                                               United                                                             8397-1, at 28,
4245 Thomas       A.                 West                   Arthur            H.              West            Jr.         States          Peter                 Matthew       West                             States         9/11/01     NY (WTC)     03-cv-9849                 8433               Sibling                     5138 at 8       $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
4246                                                        Eileen            Kuntz           West                        States          Peter                 Matthew       West                             States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4688    Spouse                      5087 at 21      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
4247                                                        Gregory           John            West                        Unknown         Peter                 Matthew       West                             States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4690    Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
4248                                                        Matthew           Peter           West                        States          Peter                 Matthew       West                             States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2427    Child                       4023 at 26      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
4249                                                        Vincent           Matthew         West                        Unknown         Peter                 Matthew       West                             States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4692    Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             8679-1, at 506,
4250                                                        Barbara           Ann             Arthur                      States          Eugene                              Whelan                           States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     7188 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             8679-1, at 505,
4251                                                        Donna             Marie           McEwan                      States          Eugene                              Whelan                           States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     7188 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             8679-1, at 512,
4252                                                        Alfred            Lawrence        Whelan          Jr.         States          Eugene                              Whelan                           States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     7188 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             8679-1, at 511,
4253                                                        Christopher       Michael         Whelan                      States          Eugene                              Whelan                           States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     8233 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  26, 29, at 4709,
                                                                                                                          United                                                                               United                                                             8393-1, at 24,
4254                                                        Joan              Ann             Whelan                      States          Eugene                              Whelan                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Parent                      4126 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                               United                                                             8679-1, at 510,
4255                                                        John              Andrew          Whelan                      States          Eugene                              Whelan                           States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     7188 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             8679-1, at 507,
4256                                                        Robert            Thomas          Whelan                      States          Eugene                              Whelan                           States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     7188 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             8679-1, at 508,
4257                                                        Thomas            Michael         Whelan                      States          Eugene                              Whelan                           States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     7188 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             8679-1, at 509,
4258                                                        William           Kenneth         Whelan                      States          Eugene                              Whelan                           States         9/11/01     NY (Other)   03-cv-9849                 8696               Sibling                     7188 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             1:02-cv-01616,
4259                                                        Elizabeth         Ann             Alverson                    States          Kenneth               Wilburn       White                            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P4018      Sibling                     4023 at 26      $         4,250,000.00 $   12,750,000.00
                                                                                                                          United                                                                               United                                                             8679-1, at 513,
4260                                                        Debra             Ann             Cameron                     States          James                 Patrick       White                            States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5356 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                  232, at P4021,
                                                                                                                          United                                                                               United                                                             8393-1, at 741,
4261                                                        Allison           Sarah           Fekete                      States          Kenneth               Wilburn       White                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Child                       7188 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                          United                                                                               United                                                             8679-1, at 514,
4262                                                        Rachel            W.              Glavis                      States          James                 Patrick       White                            States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5848 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                               United                                                             1:02-cv-01616,
4263                                                        Laura             Jeanne          Kenny                       Unknown         Kenneth               Wilburn       White                            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P4020      Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00



                                                                                                                                                                                             Page 164 of 170
                                                                                                                  Case 1:03-md-01570-GBD-SN                                       Document 9716-2                                  Filed 04/23/24              Page 166 of 171
                                                                                                                                                                                  EXHIBIT B-1
                                                                                                                                                               SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                         Personal Representative                                              Claimant                                                                                9/11 Decedent                                                                     Claim Information                                                  Solatium Damages




                                                                                                                               Nationality




                                                                                                                                                                                                                    Nationality
                                                                                                                                on 9/11




                                                                                                                                                                                                                     on 9/11
                                                                                                                  Claimant                                                                                                          Date of                                            Amendments &                       Document
 #          First         Middle               Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First             Middle           Last          Suffix                                9/11 Site        Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                    Suffix                                                                                                          Death                                               Substitutions                       ation

                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      232, at P4015,
                                                                                                                                                                                                                   United                                                             8397-1, at 28,
4264 Joan           A.                 White                   Alphonse          J.              White           Jr.         Unknown         James                 Patrick        White                            States         9/11/01     NY (WTC)     03-cv-9849                 8433               Parent                      5138 at 8       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      232, at P4021,
                                                                                                                                                                                                                   United                                                             8393-1, at 46,
4265                                                           Catherine         Christina       White                       Ireland         Kenneth               Wilburn        White                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Spouse                      7188 at 15      $        12,500,000.00 $   37,500,000.00
                                                                                                                             United                                                                                United                                                             8679-1, at 515,
4266                                                           Gregory           John            White                       States          James                 Patrick        White                            States         9/11/01     NY (WTC)     03-cv-9849                 8696               Sibling                     5848 at 11      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4267                                                           Joan              A.              White                       States          James                 Patrick        White                            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P4016      Parent                      5087 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      232, at P4017,
                                                                                                                             United                                                                                United                                                             8393-1, at 31,
4268                                                           Michael           John            White                       States          James                 Patrick        White                            States         9/11/01     NY (WTC)     03-cv-9849                 8487               Sibling                     5087 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
4269                                                           Thomas            George          White                       Unknown         Kenneth               Wilburn        White                            States         9/11/01     NY (WTC)     03-cv-9849                 232, at P4022      Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4270                                                           Lisa              A.              Walker                      States          Mark                  P.             Whitford                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4717    Sibling                     4023 at 26      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
4271                                                           Carol             Ann             Whitford                    Unknown         Mark                  P.             Whitford                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4714    Parent                      3666 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4272                                                           Christopher                       Whitford                    States          Mark                  P.             Whitford                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4716    Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4273                                                           Dennis                            Whitford                    States          Mark                  P.             Whitford                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4715    Sibling                     4023 at 26      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      26, 29, at 4712,
                                                                                                                             United                                                                                United                                                             8393-1, at 844,
4274                                                           Matthew           Ryan            Whitford                    States          Mark                  P.             Whitford                         States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5061 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4275                                                           Renee                             Whitford                    States          Mark                  P.             Whitford                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4712    Spouse                      5061 at 14      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
4276                                                           Roger             Paul            Whitford                    Unknown         Mark                  P.             Whitford                         States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4713    Parent                      3666 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      26, 29, at 4712,
                                                                                                                             United                                                                                United                                                             8393-1, at 845,
4277                                                           Timothy           Jay             Whitford                    States          Mark                  P.             Whitford                         States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5061 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
4278                                                           Sara              Helen           Guest                       Unknown         Leslie                Ann            Whittington                      States         9/11/01     VA (AA77)    03-cv-9849                 232, at P4023      Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      232, at P4025,
                                                                                                                             United                                                                                United                                                             8397-1, at 29,
4279 Natalie        M.                 Whittington             Horace            Greeley         Whittington                 States          Leslie                Ann            Whittington                      States         9/11/01     VA (AA77)    03-cv-9849                 8433               Parent                      4126 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4280                                                           Kirk              Monroe          Whittington                 States          Leslie                Ann            Whittington                      States         9/11/01     VA (AA77)    03-cv-9849                 232, at P4026      Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4281                                                           Michael           Thomas          Whittington                 States          Leslie                Ann            Whittington                      States         9/11/01     VA (AA77)    03-cv-9849                 305, at P4571      Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4282                                                           Diane             Wholey          Blackman                    States          Michael               T.             Wholey                           States         9/11/01     NY (Other)   03-cv-9849                 232, at P4027      Sibling                     5062 at 7       $         4,250,000.00 $   12,750,000.00
                                                                                                                             United                                                                                United                                                             1:02-cv-01616,
4283                                                           Bernadette                        Wholey                      States          Michael               T.             Wholey                           States         9/11/01     NY (Other)   03-cv-9849                 232, at P4029      Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      155, at P3148,
                                                                                                                             United                                                                                United                                                             8393-1, at 957,
4284                                                           Erin              Elizabeth       Wholey                      States          Michael               T.             Wholey                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5356 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      155, at P3148,
                                                                                                                                                                                                                   United                                                             8393-1, at 59,
4285                                                           Jennifer                          Wholey                      Unknown         Michael               T.             Wholey                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Spouse                      5356 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
4286                                                           Margaret          Winifred        Wholey                      Unknown         Michael               T.             Wholey                           States         9/11/01     NY (Other)   03-cv-9849                 232, at P4030      Parent                      3666 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
4287                                                           Maryann                           Wholey                      Unknown         Michael               T.             Wholey                           States         9/11/01     NY (Other)   03-cv-9849                 232, at P4028      Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      155, at P3148,
                                                                                                                             United                                                                                United                                                             8393-1, at 958,
4288                                                           Meagan            Rose            Wholey                      States          Michael               T.             Wholey                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5356 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                   United                                                             1:02-cv-01616,
4289                                                           Michael           Joseph          Wholey                      Unknown         Michael               T.             Wholey                           States         9/11/01     NY (Other)   03-cv-9849                 232, at P4031      Parent                      3666 at 13      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                      155, at P3148,
                                                                                                                             United                                                                                United                                                             8393-1, at 959,
4290                                                           Patrick           Thomas          Wholey                      States          Michael               T.             Wholey                           States         9/11/01     NY (Other)   03-cv-9849                 8487               Child                       5356 at 6       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                                 Page 165 of 170
                                                                                                                     Case 1:03-md-01570-GBD-SN                                        Document 9716-2                                Filed 04/23/24              Page 167 of 171
                                                                                                                                                                                      EXHIBIT B-1
                                                                                                                                                                   SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                         Personal Representative                                                 Claimant                                                                                  9/11 Decedent                                                                  Claim Information                                                   Solatium Damages




                                                                                                                                   Nationality




                                                                                                                                                                                                                      Nationality
                                                                                                                                    on 9/11




                                                                                                                                                                                                                       on 9/11
                                                                                                                      Claimant                                                                                                        Date of                                            Amendments &                        Document
 #          First          Middle              Last     Suffix     Claimant First   Claimant Middle Claimant Last                                          First             Middle         Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                        Suffix                                                                                                        Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        232, at P4032,
                                                                                                                                 United                                                                              United                                                             8393-1, at 54,
4291                                                             Marc               Elmo            Wieman                       States          Mary                                 Wieman                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5848 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                 United                                                                              Unknow                                                             1, at 650, 8397-
4292 Wilma          Rose               Wiener                    Donald             Stewart         Wiener                       States          Jeffrey               David          Wiener                         n      9/11/01             NY (WTC)     03-cv-9849                 1, at 29, 8433      Parent                      4023 at 26      $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                              Unknow                                                             1:02-cv-01616,
4293                                                             Robin              Kim             Wiener                       States          Jeffrey               David          Wiener                         n      9/11/01             NY (WTC)     03-cv-9849                 1, at 652           Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                              Unknow                                                             1:02-cv-01616,
4294                                                             Wilma              Rose            Wiener                       States          Jeffrey               David          Wiener                         n      9/11/01             NY (WTC)     03-cv-9849                 1, at 651           Parent                      4023 at 26      $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                              United                                                             1:02-cv-01616,
4295                                                             Richard            Michael         Borquist                     States          Alison                M.             Wildman                        States 9/11/01             NY (WTC)     03-cv-9849                 155, at P3149       Sibling                     4023 at 26      $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                              United                                                             1:02-cv-01616,
4296                                                             Jill               Karen           Saladino                     States          Alison                M.             Wildman                        States 9/11/01             NY (WTC)     03-cv-9849                 155, at P3150       Sibling                     4023 at 26      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        155, at P3151,
                                                                                                                                 United                                                                              United                                                             8397-1. at 2,
4297                                                             Arthur             Stephen         Wildman         Jr.          States          Alison                M.             Wildman                        States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4126 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        155, at P3152,
                                                                                                                                 United                                                                              United                                                             8397-1, at 29,
4298 Arthur         Stephen            Wildman        Jr.        Arthur             S.              Wildman         III          States          Alison                M.             Wildman                        States         9/11/01     NY (WTC)     03-cv-9849                 8433                Sibling                     5087 at 21      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        155, at P3153,
                                                                                                                                 United                                                                              United                                                             8397-1, at 29,
4299 Arthur         Stephen            Wildman        Jr.        June               M.              Wildman                      States          Alison                M.             Wildman                        States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      5087 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                              United                                                             1:02-cv-01616,
4300                                                             Robert             Edward          Wildman                      States          Alison                M.             Wildman                        States         9/11/01     NY (WTC)     03-cv-9849                 155, at P3154       Sibling                     4023 at 26      $         4,250,000.00 $   12,750,000.00
                                                                                                                                 United                                                                              United                                                             1:02-cv-01616,
4301                                                             Margaret           Ellen           Wilkinson                    States          Glenn                 E.             Wilkinson                      States         9/11/01     NY (Other)   03-cv-9849                 26, 29, at 4724     Spouse                      5061 at 14      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                VA
                                                                                                                                 United                                                                              United                     (Pentagon                               1:02-cv-01616,
4302                                                             Benjamin           Jacob           Willcher                     States          Ernest                M.             Willcher                       States         9/11/01     )            03-cv-9849                 155, at P3155       Child                       5062 at 7       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                VA
                                                                                                                                 United                                                                              United                     (Pentagon                               1:02-cv-01616,
4303                                                             Joel               Avi             Willcher                     States          Ernest                M.             Willcher                       States         9/11/01     )            03-cv-9849                 155, at P3156       Child                       5061 at 14      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                VA                                      155, at P3157,
                                                                                                                                                                                                                     United                     (Pentagon                               8393-1, at 24,
4304                                                             Shirley            N.              Willcher                     Germany         Ernest                M.             Willcher                       States         9/11/01     )            03-cv-9849                 8487                Spouse                      5062 at 7       $        12,500,000.00 $   37,500,000.00
                                                                                                                                 United                                                                              United                                                             1:02-cv-01616,
4305                                                             Lucille            Cummings        Willett                      States          John                  Charles        Willett                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 656           Parent                      4023 at 26      $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                              United                                                             8679-1, at 518,
4306                                                             Kelly              Ann             Abrams                       States          Kevin                 Michael        Williams                       States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:03-md-01570,
                                                                                                                                                                                                                                                                                        3477, at 3900;
                                                                                                                                 United                                                                              United                                                             8679-1, at 517,
4307                                                             Corey              Gregory         Gaudioso                     States          Candace               Lee            Williams                       States         9/11/01     NY (AA11)    03-cv-9849                 8696                Sibling                     5356 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                VA                                      305, at P4572,
                                                                                                                                 United                                                                              United                     (Pentagon                               8393-1, at 333,
4308                                                             Kelsie             Sarae           Minor                        States          Dwayne                               Williams                       States         9/11/01     )            03-cv-9849                 8487                Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                 United                                                                              United                                                             3, at 1733, 8393-
4309                                                             Crossley           Richard         Williams        Sr.          States          Crossley              R.             Williams          Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 13, 8487      Parent                      4023 at 26      $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                              United                                                             8679-1, at 519,
4310                                                             James              Patrick         Williams                     States          Kevin                 Michael        Williams                       States         9/11/01     NY (WTC)     03-cv-9849                 8696                Sibling                     7188 at 15      $         4,250,000.00 $   12,750,000.00

                                                                                                                                                                                                                                                                                        1:03-md-01570,
                                                                                                                                                                                                                                                                                        432, at P5468,
                                                                                                                                                                                                                                                                                        8397-1, at 29,
                                                                                                                                 United                                                                              United                                                             8433, 8393-1, at
4311 Toya                              Williams                  Murna              T.              Williams                     States          Louie                 Anthony        Williams                       States         9/11/01     NY (WTC)     03-cv-9849                 50, 8487            Parent                      4023 at 26      $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                              United                                                             1:02-cv-01616,
4312                                                             Patricia           Ann             Williams                     States          Kevin                 Michael        Williams                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1737          Parent                      4023 at 26      $         8,500,000.00 $   25,500,000.00
                                                                                                                                 United                                                                              United                                                             1:02-cv-01616,
4313                                                             Roger              Michael         Williams                     States          Kevin                 Michael        Williams                       States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1736          Parent                      4023 at 26      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                VA
                                                                                                                                 United                                                                              United                     (Pentagon                               1:02-cv-01616,
4314                                                             Shelby             Tyler           Williams                     States          Dwayne                               Williams                       States         9/11/01     )            03-cv-9849                 313, at P4765       Child                       5356 at 6       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                        155, at P3158,
                                                                                                                                 United                                                                              United                                                             8397-1, at 29,
4315 Wendy          M.                 Brown                     Sherri             A.              Williams                     States          Candace               Lee            Williams                       States         9/11/01     NY (AA11)    03-cv-9849                 8433                Parent                      5969 at 3       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                                   Page 166 of 170
                                                                                                                Case 1:03-md-01570-GBD-SN                                       Document 9716-2                                 Filed 04/23/24              Page 168 of 171
                                                                                                                                                                                 EXHIBIT B-1
                                                                                                                                                              SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                       Personal Representative                                               Claimant                                                                               9/11 Decedent                                                                    Claim Information                                                    Solatium Damages




                                                                                                                             Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                              on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                                Claimant                                                                                                         Date of                                            Amendments &                        Document
 #          First       Middle                Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle          Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                  Suffix                                                                                                         Death                                               Substitutions                        ation

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                           VA                                      305, at P4572,
                                                                                                                           United                                                                               United                     (Pentagon                               8393-1, at 21,
4316                                                          Tammy             Gesiele         Williams                   States          Dwayne                               Williams                        States         9/11/01     )            03-cv-9849                 8487                Spouse                      5848 at 11       $        12,500,000.00 $   37,500,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
4317                                                          Valrie            May             Williams                   States          Crossley               R.            Williams           Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2429     Parent                      4023 at 26       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                           United                                                                               United                                                             3, at 1741, 8393-
4318                                                          Jessica                           Williamson                 States          John                   P.            Williamson                      States         9/11/01     NY (Other)   03-cv-9849                 1, at 625, 8487     Child                       5848 at 11       $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                           United                                                                               United                                                             3, at 1741, 8393-
4319                                                          Marc                              Williamson                 States          John                   P.            Williamson                      States         9/11/01     NY (Other)   03-cv-9849                 1, at 626, 8487     Child                       5848 at 11       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
4320                                                          Mary              Brigid          Williamson                 States          John                   P.            Williamson                      States         9/11/01     NY (Other)   03-cv-9849                 3, at 1741          Spouse                      5087 at 21       $        12,500,000.00 $   37,500,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
4321                                                          Jeanne                            McDermott                  States          William                Eben          Wilson                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4731     Sibling                     3382             $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
4322                                                          Elizabeth         Ann             Payne                      States          William                Eben          Wilson                          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 4729     Spouse                      5087 at 21       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   432, at P4979,
                                                                                                                           United                                                                               United                                                             8393-1, at 16,
4323                                                          Sara              Winton          Coffey                     States          David                  Harold        Winton                          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Sibling                     4023 at 26       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   432, at P4978,
                                                                                                                           United                                                                               United                                                             8397-1, at 29,
4324 Sara           Winton           Coffey                   Joan              W.              Winton                     States          David                  Harold        Winton                          States         9/11/01     NY (WTC)     03-cv-9849                 8433                Parent                      5138 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P3159,
                                                                                                                           United                                                                               United                                                             8397-1, at 29,
4325 Jay; Jeff      Steven; M.       Winuk; Winuk             Elaine            Shirley         Winuk                      States          Glenn                  J.            Winuk                           States         9/11/01     NY (Other)   03-cv-9849                 8433                Parent                      4023 at 26       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P3160,
                                                                                                                           United                                                                               United                                                             8393-1, at 27,
4326                                                          Jay               Steven          Winuk                      States          Glenn                  J.            Winuk                           States         9/11/01     NY (Other)   03-cv-9849                 8487                Sibling                     4023 at 26       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
4327                                                          Jeff              M.              Winuk                      States          Glenn                  J.            Winuk                           States         9/11/01     NY (Other)   03-cv-9849                 155, at P3161       Sibling                     4023 at 26       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   155, at P3162,
                                                                                                                                                                                                                                                                                   8393-1, at 27,
                                                                                                                           United                                                                               United                                                             8487, 8397-1, at
4328 Jay            Steven           Winuk                    Seymour                           Winuk                      States          Glenn                  J.            Winuk                           States         9/11/01     NY (Other)   03-cv-9849                 29, 8433            Parent                      4126 at 9        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P4100,
                                                                                                                           United                                                                               United                                                             8393-1, at 404,
4329                                                          Alexandra         Ashley          Wisniewski                 States          Frank                  Thomas        Wisniewski                      States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5061 at 14       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P4100,
                                                                                                                           United                                                                               United                                                             8393-1, at 26,
4330                                                          Carol             D.              Wisniewski                 States          Frank                  Thomas        Wisniewski                      States         9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5061 at 14       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P4100,
                                                                                                                           United                                                                               United                                                             8393-1, at 405,
4331                                                          Jonathan          Paul            Wisniewski                 States          Frank                  Thomas        Wisniewski                      States 9/11/01             NY (WTC)     03-cv-9849                 8487                Child                       5848 at 11       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
4332                                                          Caryn             Jill            Hinson                     States          Michael                Robert        Wittenstein                     States 9/11/01             NY (WTC)     03-cv-9849                 1, at 661           Sibling                     5356 at 6        $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
4333                                                          Barbara           E.              Wittenstein                States          Michael                Robert        Wittenstein                     States 9/11/01             NY (WTC)     03-cv-9849                 1, at 663           Parent                      5356 at 6        $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                               United                                                             1:02-cv-01616,
4334                                                          Jeffrey           Alan            Wittenstein                States          Michael                Robert        Wittenstein                     States 9/11/01             NY (WTC)     03-cv-9849                 1, at 662           Sibling                     4023 at 26       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
4335                                                          Benjamin          C.              Wong                       China           Jennifer               Y.            Wong                            States 9/11/01             NY (WTC)     03-cv-9849                 1, at 836           Parent                      5087 at 21       $         8,500,000.00 $   25,500,000.00
                                                                                                                           United                                                                               Unknow                                                             1:02-cv-01616,
4336                                                          Erin              Elizabeth       Konstantinow               States          Brent                  James         Woodall                         n      9/11/01             NY (WTC)     03-cv-9849                 305, at P4580       Sibling                     3666 at 13       $         4,250,000.00 $   12,750,000.00
                                                                                                                           United                                                                               Unknow                                                             1:02-cv-01616,
4337                                                          Craig             Walker          Woodall                    States          Brent                  James         Woodall                         n      9/11/01             NY (WTC)     03-cv-9849                 305, at P4579       Sibling                     3666 at 13       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   305, at P4577,
                                                                                                                           United                                                                               Unknow                                                             8397-1, at 29,
4338 Craig          Walker           Woodall                  John              W.              Woodall                    States          Brent                  James         Woodall                         n      9/11/01             NY (WTC)     03-cv-9849                 8433                Parent                      5138 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   305, at P4578,
                                                                                                                           United                                                                               Unknow                                                             8397-1, at 29,
4339 Craig          Walker           Woodall                  Mary              Elizabeth       Woodall                    States          Brent                  James         Woodall                         n      9/11/01             NY (WTC)     03-cv-9849                 8433                Parent                      3666 at 13       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                              Page 167 of 170
                                                                                                                  Case 1:03-md-01570-GBD-SN                                       Document 9716-2                               Filed 04/23/24              Page 169 of 171
                                                                                                                                                                                   EXHIBIT B-1
                                                                                                                                                                SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                         Personal Representative                                              Claimant                                                                                9/11 Decedent                                                                  Claim Information                                                   Solatium Damages




                                                                                                                                Nationality




                                                                                                                                                                                                                 Nationality
                                                                                                                                 on 9/11




                                                                                                                                                                                                                  on 9/11
                                                                                                                   Claimant                                                                                                      Date of                                            Amendments &                        Document
 #          First         Middle             Last     Suffix    Claimant First   Claimant Middle Claimant Last                                          First            Middle        Last          Suffix                                9/11 Site        Case       Complaint                         Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                     Suffix                                                                                                      Death                                               Substitutions                        ation

                                                                                                                              United                                                                            United                                                             1:02-cv-01616,
4340                                                           Eileen            Mary            Hendrickson                  States          Patrick                             Woods                         States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1744          Parent                      4126 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                            United                                                             1:02-cv-01616,
4341                                                           Eileen            J.              Staker                       States          James                 John          Woods                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P4033       Sibling                     4023 at 26      $         4,250,000.00 $   12,750,000.00
                                                                                                                              United                                                                            United                                                             1:02-cv-01616,
4342 Phyllis                           Woods                   Christopher       Edward          Woods                        States          Patrick                             Woods                         States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1746          Sibling                     4126 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P4034,
                                                                                                                              United                                                                            United                                                             8393-1, at 32,
4343                                                           John              F.              Woods           Jr.          States          James                 John          Woods                         States         9/11/01     NY (WTC)     03-cv-9849                 8487                Parent                      4023 at 26      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   232, at P4035,
                                                                                                                                                                                                                                                                                   8397-1, at 29,
                                                                                                                              United                                                                            United                                                             8433, 8393-1, at
4344 John           F.                 Woods        Jr.        Joyce             A.              Woods                        States          James                 John          Woods                         States         9/11/01     NY (WTC)     03-cv-9849                 32, 8487            Parent                      4023 at 26      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                              United                                                                            United                                                             3, at 1743, 8393-
4345                                                           Patrick           Joseph          Woods           Sr.          States          Patrick                             Woods                         States         9/11/01     NY (WTC)     03-cv-9849                 1, at 63, 8487      Parent                      4126 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                            United                                                             1:02-cv-01616,
4346                                                           Thomas            Robert          Woods                        States          Patrick                             Woods                         States         9/11/01     NY (WTC)     03-cv-9849                 3, at 1745          Sibling                     4126 at 9       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2432,
                                                                                                                              United                                                                            United                                                             8393-1, at 1086,
4347                                                           Eleanor           McCullough      Woodwell                     States          Richard               H.            Woodwell                      States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                            United                                                             1:02-cv-01616,
4348                                                           Linda             Preston         Woodwell                     States          Richard               H.            Woodwell                      States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2432     Spouse                      5848 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2432,
                                                                                                                              United                                                                            United                                                             8393-1, at 1084,
4349                                                           Margaret          Preston         Woodwell                     States          Richard               H.            Woodwell                      States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2432,
                                                                                                                              United                                                                            United                                                             8393-1, at 1085,
4350                                                           Richard           Herron          Woodwell        Jr.          States          Richard               H.            Woodwell                      States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5848 at 11      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:03-cv-9849,
                                                                                                                                                                                                                                                                                   HAND FILED, at
                                                                                                                              United                                                                            United                                                             P5305, 8397-1,
4351 Edgar          Bertram            Wooley       III        Mary              A.              Otto                         States          David                 T.            Wooley                        States         9/11/01     NY (Other)   03-cv-9849                 at 22, 8433         Parent                      7188 at 15      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:03-cv-9849,
                                                                                                                                                                                                                United                                                             HAND FILED, at
4352                                                           Edgar             Bertram         Wooley          III          Unknown         David                 T.            Wooley                        States         9/11/01     NY (Other)   03-cv-9849                 P5306               Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                United                                                             1:02-cv-01616,
4353                                                           Timothy           Edwin           Works                        Unknown         John                  Bentley       Works                         States         9/11/01     NY (WTC)     03-cv-9849                 232, at P4036       Sibling                     3666 at 13      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                United                                                             155, at P3164,
                                                                                                                              United                                                                            Kingdo                                                             8393-1, at 54,
4354                                                           Karen             L.              Beetel                       States          Martin                Michael       Wortley                       m              9/11/01     NY (WTC)     03-cv-9849                 8487                Spouse                      5848 at 11      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                 Greene-                      United                                                                            United                                                             1, at 750, 5284-
4355                                                           Patricia          M.              Wotton                       States          Rodney                James         Wotton                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 12, 5296      Spouse                      5087 at 21      $        12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                              United                                                                            United                                                             1, at 750, 8393-
4356                                                           Rodney            Patrick         Wotton                       States          Rodney                James         Wotton                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1158, 8487    Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00

                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                              United                                                                            United                                                             1, at 750, 8393-
4357                                                           Theo              Maxwell         Wotton                       States          Rodney                James         Wotton                        States         9/11/01     NY (WTC)     03-cv-9849                 1, at 1157, 8487    Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:03-cv-09849,
                                                                                                                              United                                                                            United                                                             842, at 1; 8679-
4358                                                           Melissa           Ann             Barrett                      States          John                  Wayne         Wright           Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 1, at 521, 8696     Sibling                     5061 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2437,
                                                                                                                              United                                                                            United                                                             8393-1, at 635,
4359                                                           Emily             Virginia        Wright                       States          John                  Wayne         Wright           Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2437,
                                                                                                                              United                                                                            United                                                             8393-1, at 636,
4360                                                           John              Wayne           Wright          III          States          John                  Wayne         Wright           Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                              United                                                                            United                                                             1:02-cv-01616,
4361                                                           Martha            Oliverio        Wright                       States          John                  Wayne         Wright           Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 26, 29, at 2437     Spouse                      5087 at 21      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                   26, 29, at 2437,
                                                                                                                              United                                                                            United                                                             8393-1, at 637,
4362                                                           Robert            John            Wright                       States          John                  Wayne         Wright           Jr.          States         9/11/01     NY (WTC)     03-cv-9849                 8487                Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                              Page 168 of 170
                                                                                                              Case 1:03-md-01570-GBD-SN                                      Document 9716-2                                 Filed 04/23/24             Page 170 of 171
                                                                                                                                                                              EXHIBIT B-1
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                    Personal Representative                                               Claimant                                                                                  9/11 Decedent                                                                Claim Information                                                  Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                              Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                               on 9/11
                                                                                                              Claimant                                                                                                        Date of                                           Amendments &                       Document
 #          First    Middle                Last   Suffix    Claimant First   Claimant Middle Claimant Last                                         First            Middle          Last          Suffix                                9/11 Site       Case       Complaint                        Relationship                Prior Award            Amount            Treble          Notes
                                                                                                                Suffix                                                                                                        Death                                              Substitutions                       ation

                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               432, at P4981,
                                                                                                                         United                                                                                                                                                8393-1, at 44,
4363                                                       Nancy             McCardle        Yambem                      States          Jupiter                             Yambem                          India          9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5087 at 21      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               432, at P4981,
                                                                                                                         United                                                                                                                                                8393-1, at 709,
4364                                                       Santi             McCardle        Yambem                      States          Jupiter                             Yambem                          India          9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
4365                                                       Lorraine          Yamnicky        Dixon                       States          John                  David         Yamnicky           Sr.          States         9/11/01     VA (AA77)   03-cv-9849                 155, at P3166      Child                       4023 at 26      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
4366                                                       Janet             Arbelin         Yamnicky                    States          John                  David         Yamnicky           Sr.          States         9/11/01     VA (AA77)   03-cv-9849                 155, at P3167      Spouse                      5356 at 6       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                               1:03-md-01570,
                                                                                                                                                                                                                                                                               3477, at 3953;
                                                                                                                         United                                                                              United                                                            8679-1, at 522,
4367                                                       Jennifer          Lynn            Yamnicky                    States          John                  David         Yamnicky           Sr.          States         9/11/01     VA (AA77)   03-cv-9849                 8696               Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:03-md-01570,
                                                                                                                                                                                                                                                                               3477, at 3956;
                                                                                                                         United                                                                              United                                                            8679-1, at 524,
4368                                                       John              David           Yamnicky        Jr.         States          John                  David         Yamnicky           Sr.          States         9/11/01     VA (AA77)   03-cv-9849                 8696               Child                       5088 at 4       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:03-md-01570,
                                                                                                                                                                                                                                                                               3477, at 3955;
                                                                                                                         United                                                                              United                                                            8679-1, at 523,
4369                                                       Mark              S.              Yamnicky                    States          John                  David         Yamnicky           Sr.          States         9/11/01     VA (AA77)   03-cv-9849                 8696               Child                       5087 at 21      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               432, at P4982,
                                                                                                                         United                                                                              United                                                            8393-1, at 84,
4370                                                       David             Mauzy           Yancey                      States          Vicki                 L.            Yancey                          States         9/11/01     VA (AA77)   03-cv-9849                 8487               Spouse                      7188 at 15      $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                              United                                                            8679-1, at 527,
4371                                                       Lindsey           Marissa         Hill                        States          Matthew               David         Yarnell                         States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     7188 at 15      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                              United                                                            8679-1, at 526,
4372                                                       Brian             Eric            Yarnell                     States          Matthew               David         Yarnell                         States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     5087 at 22      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
4373                                                       Michele           Ellen           Yarnell                     States          Matthew               David         Yarnell                         States         9/11/01     NY (WTC)    03-cv-9849                 1, at 667          Parent                      4023 at 26      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
4374                                                       Ted                               Yarnell                     States          Matthew               David         Yarnell                         States         9/11/01     NY (WTC)    03-cv-9849                 1, at 666          Parent                      4023 at 26      $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
4375                                                       Lorna                             Kaye                        States          Myrna                               Yaskulka                        States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4756    Sibling                     4023 at 26      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               26, 29, at 4751,
                                                                                                                                                                                                             United                                                            8397-1, at 22,
4376 Lorna                        Kaye                     Adele                             Pearl                       Unknown         Myrna                               Yaskulka                        States         9/11/01     NY (WTC)    03-cv-9849                 8433               Parent                      5087 at 22      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               26, 29, at 4754,
                                                                                                                         United                                                                              United                                                            8397-1, at 22,
4377 Philip                       Pearl                    Ivan                              Pearl                       States          Myrna                               Yaskulka                        States         9/11/01     NY (WTC)    03-cv-9849                 8433               Sibling                     5061 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                              United                                                            8679-1, at 528,
4378                                                       Jeffrey           J.              Pearl                       States          Myrna                               Yaskulka                        States         9/11/01     NY (WTC)    03-cv-9849                 8696               Sibling                     8233 at 6       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
4379                                                       Philip                            Pearl                       States          Myrna                               Yaskulka                        States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4753    Sibling                     4023 at 26      $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                             United                                                            1:02-cv-01616,
4380                                                       Shawn             Brett           Pearl                       Unknown         Myrna                               Yaskulka                        States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4752    Sibling                     5061 at 14      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
4381                                                       Bonnie            G.              Shimel                      States          Myrna                               Yaskulka                        States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4755    Sibling                     4023 at 26      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
4382 Alan                         Shimel                   Ina                               Stanley                     States          Myrna                               Yaskulka                        States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4757    Sibling                     4023 at 26      $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
4383                                                       Brian             Glenn           Yaskulka                    States          Myrna                               Yaskulka                        States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4750    Child                       4126 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
4384                                                       Hal                               Yaskulka                    States          Myrna                               Yaskulka                        States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4749    Child                       4126 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                             United                                                            1:02-cv-01616,
4385                                                       Jay               Evan            Yaskulka                    Unknown         Myrna                               Yaskulka                        States         9/11/01     NY (WTC)    03-cv-9849                 3, at 1749         Child                       4126 at 9       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               232, at P4101,
                                                                                                                         United                                                                              United                                                            8393-1, at 355,
4386                                                       Katelyn           Elyse           Marut                       States          Edward                Philip        York                            States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 22      $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               232, at P4101,
                                                                                                                         United                                                                              United                                                            8393-1, at 22,
4387                                                       Kimberly          Gordish         York                        States          Edward                Philip        York                            States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5087 at 22      $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               232, at P4101,
                                                                                                                         United                                                                              United                                                            8393-1, at 356,
4388                                                       Patrick           Evan            York                        States          Edward                Philip        York                            States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 22      $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                           Page 169 of 170
                                                                                                              Case 1:03-md-01570-GBD-SN                                     Document 9716-2                                  Filed 04/23/24             Page 171 of 171
                                                                                                                                                                             EXHIBIT B-1
                                                                                                                                                          SOLATIUM CLAIMS UNDER THE ATA WITH PRIOR JUDGMENT
                       Personal Representative                                              Claimant                                                                               9/11 Decedent                                                                 Claim Information                                                   Solatium Damages




                                                                                                                           Nationality




                                                                                                                                                                                                              Nationality
                                                                                                                            on 9/11




                                                                                                                                                                                                               on 9/11
                                                                                                              Claimant                                                                                                        Date of                                           Amendments &                       Document
 #        First         Middle             Last   Suffix     Claimant First   Claimant Middle Claimant Last                                       First            Middle           Last          Suffix                                9/11 Site       Case       Complaint                        Relationship                Prior Award             Amount            Treble          Notes
                                                                                                                Suffix                                                                                                        Death                                              Substitutions                       ation

                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               232, at P4101,
                                                                                                                         United                                                                              United                                                            8393-1, at 357,
4389                                                       Peter              M.              York                       States          Edward               Philip        York                             States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 22       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                             United                                                            1:02-cv-01616,
4390                                                       Susan                              York                       Unknown         Kevin                Patrick       York                             States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4582      Sibling                     3387             $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
4391                                                       Mary               E.              York Peled                 States          Kevin                Patrick       York                             States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4581      Sibling                     3387             $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                        VA
                                                                                                                         United                                                                              United                     (Pentagon                              1:02-cv-01616,
4392                                                       Felicia            Ann             Young                      States          Donald               McArthur      Young                            States         9/11/01     )           03-cv-9849                 3, at 1754         Spouse                      5848 at 11       $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
4393                                                       George             Adel Agaiby     Zakhary                    States          Adel                 A.            Zakhary                          States         9/11/01     NY (WTC)    03-cv-9849                 155, at P3170      Child                       5087 at 22       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               155, at P3173,
                                                                                                                                                                                                             United                                                            8393-1, at 7,
4394                                                       Mariam             Adel            Zakhary                    Unknown         Adel                 A.            Zakhary                          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Child                       5087 at 22       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               155, at P3173,
                                                                                                                                                                                                             United                                                            8393-1, at 1,
4395                                                       Nagat              H.              Zakhary                    Unknown         Adel                 A.            Zakhary                          States         9/11/01     NY (WTC)    03-cv-9849                 8487               Spouse                      5087 at 22       $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
4396                                                       Patricia           A.              Zampieri                   States          Robert               Alan          Zampieri                         States         9/11/01     NY (WTC)    03-cv-9849                 232, at P4038      Parent                      5061 at 14       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               232, at P4039,
                                                                                                                                                                                                                                                                               8397-1, at 29,
                                                                                                                         United                                                                              United                                                            8433, 8393-1, at
4397 Patricia     A.                 Zampieri              Robert             Albert          Zampieri                   States          Robert               Alan          Zampieri                         States         9/11/01     NY (WTC)    03-cv-9849                 68, 8487           Parent                      5138 at 8        $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                                                                                                               HAND FILED, at
                                                                                                                         United                                                                              United                                                            P5308, 8393-1,
4398                                                       Alexander          Mark            Zangrilli                  States          Mark                               Zangrilli                        States         9/11/01     NY (WTC)    03-cv-9849                 at 848, 8487       Child                       5061 at 14       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                                                                                                               HAND FILED, at
                                                                                                                         United                                                                              United                                                            P5308, 8393-1,
4399                                                       Jill                               Zangrilli                  States          Mark                               Zangrilli                        States         9/11/01     NY (WTC)    03-cv-9849                 at 53, 848         Spouse                      5087 at 22       $        12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                                                                                                               HAND FILED, at
                                                                                                                         United                                                                              United                                                            P5308, 8393-1,
4400                                                       Nicholas                           Zangrilli                  States          Mark                               Zangrilli                        States         9/11/01     NY (WTC)    03-cv-9849                 at 849, 8487       Child                       5061 at 14       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                                                                                                               HAND FILED, at
                                                                                                                         United                                                                              United                                                            P5309, 8393-1,
4401                                                       Christopher        James           Zarba                      States          Christopher          Rudolph       Zarba               Jr.          States         9/11/01     NY (AA11)   03-cv-9849                 at 178, 8487       Child                       5061 at 14       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            8679-1, at 529,
4402                                                       Joseph             R.              Zarba                      States          Christopher          Rudolph       Zarba               Jr.          States         9/11/01     NY (AA11)   03-cv-9849                 8696               Sibling                     5848 at 11       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:03-cv-9849,
                                                                                                                                                                                                                                                                               HAND FILED, at
                                                                                              Zarba-                     United                                                                              United                                                            P5309, 8393-1,
4403                                                       Sheila             Ann             Campbell                   States          Christopher          Rudolph       Zarba               Jr.          States         9/11/01     NY (AA11)   03-cv-9849                 at 11, 8487        Spouse                      5061 at 14       $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
4404                                                       Adam               Mathew          Zaslow                     States          Ira                                Zaslow                           States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4584      Child                       5087 at 22       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
4405                                                       Bryan              Jonathan        Zaslow                     States          Ira                                Zaslow                           States         9/11/01     NY (WTC)    03-cv-9849                 305, at P4585      Child                       5087 at 22       $         8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               305, at P4583,
                                                                                                                         United                                                                              United                                                            8393-1, at 29,
4406                                                       Felice             Roberta         Zaslow                     States          Ira                                Zaslow                           States 9/11/01             NY (WTC)    03-cv-9849                 8487               Spouse                      5061 at 14       $        12,500,000.00 $   37,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
4407                                                       Barry              Ezra            Zelman                     States          Kenneth              Albert        Zelman                           States 9/11/01             NY (WTC)    03-cv-9849                 3, at 1758         Sibling                     4023 at 26       $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                              Unknow                                                            1:02-cv-01616,
4408                                                       Rosemarie          C.              Martie                     States          Salvatore            J.            Zisa                             n      9/11/01             NY (WTC)    03-cv-9849                 1, at 673          Sibling                     3387             $         4,250,000.00 $   12,750,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
4409                                                       Gayle              Michelle        Mosenson                   States          Andrew               Steven        Zucker                           States 9/11/01             NY (WTC)    03-cv-9849                 26, 29, at 4770    Sibling                     3666 at 13       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                             United                                                            1:02-cv-01616,
4410                                                       Cheryl             Dianne          Shames                     Unknown         Andrew               Steven        Zucker                           States 9/11/01             NY (WTC)    03-cv-9849                 26, 29, at 4771    Sibling                     3666 at 13       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               26, 29, at 4767,
                                                                                                                         United                                                                              United                                                            8397-1, at 30,
4411 Gayle        Michelle           Mosenson              Saul                               Zucker                     States          Andrew               Steven        Zucker                           States         9/11/01     NY (WTC)    03-cv-9849                 8433               Parent                      5087 at 22       $         8,500,000.00 $   25,500,000.00
                                                                                                                         United                                                                              United                                                            1:02-cv-01616,
4412                                                       Stuart             Craig           Zucker                     States          Andrew               Steven        Zucker                           States         9/11/01     NY (WTC)    03-cv-9849                 26, 29, at 4769    Sibling                     3666 at 13       $         4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                               26, 29, at 4768,
                                                                                                                         United                                                                              United                                                            8397-1, at 30,
4413 Gayle        Michelle           Mosenson              Sue                                Zucker                     States          Andrew               Steven        Zucker                           States         9/11/01     NY (WTC)    03-cv-9849                 8433               Parent                      5087 at 22       $         8,500,000.00 $   25,500,000.00




                                                                                                                                                                                           Page 170 of 170
